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                       Vol. III of IV (Appx12136-19916)
                             Nos. 24-1324, 24-1409

                 UNITED STATES COURT OF APPEALS
                    FOR THE FEDERAL CIRCUIT

                                    NATERA, INC.,
                                                    Plaintiff-Appellee,
                                         v.

                      NEOGENOMICS LABORATORIES, INC.,
                                                    Defendant-Appellant.

  Appeals from the United States District Court for the Middle District of North
             Carolina, No. 1:23-cv-00629; Hon. Catherine C. Eagles

                 NON-CONFIDENTIAL JOINT APPENDIX

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NOTE: Documents filed under seal in the district court used both green and yellow
highlighting to indicate confidentiality. But the yellow highlighting at Appx7624,
Appx7926-7929, Appx10490-10492, and Appx12169-12170 has been unsealed in
the district court and does not indicate confidential information; at Appx7624 and
Appx7926-7929 only the green highlighting indicates confidentiality. The slides at
Appx21068-21319 also includes non-confidential markings; only the full-page
yellow rectangular markings indicate relevant confidentiality. The redaction
appearing at Appx20714 was part of the underlying document as originally filed in
the district court. Appx12169 of the non-confidential addendum contains a
paragraph number that is highlighted but not redacted; the highlighting does not
indicate confidentiality.
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                  CONFIDENTIAL MATERIAL OMITTED
The non-confidential version of this appendix redacts material filed under seal
pursuant to the protective order issued by the district court. As required by Federal
Circuit Rule 25.1(e)(1)(B), the table below notes the specific pages with redacted
material in the non-confidential appendix and the general nature of that material.
        Description of Redacted Material in Non-Confidential Appendix
 Document           Pages              Description
 Metzker            Appx7624           Natera’s confidential product
 Declaration                           information
 (Dkt. 17)
 Moshkevich         Appx7926-7929      Natera’s confidential product
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 NeoGenomics’       Appx10480-         NeoGenomics’ confidential financial,
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 Excerpts from      Appx10774-10787 The material omitted from page
 Moshkevich                            Appx10777 includes information
 Deposition                            relating to Natera’s internal business
 (Dkt. 108-6)                          structure. The material omitted from
                                       pages Appx10778-79 includes
                                       information relating to Natera’s internal
                                       market analyses and marketing strategy.
                                       The material omitted from pages
                                       Appx10780-83 and Appx10785
                                       includes information relating to
                                       Natera’s business development efforts
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                                       material omitted from pages
                                       Appx10786-87 includes information
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 Injunction (Dkt. Appx19200-19204 omitted from page Appx19198 includes
 144)                               a summary of a confidential
                                    communication regarding inventorship
                                    of the ’454 patent. The material omitted
                                    from pages Appx19200-19204 includes
                                    information relating to Natera’s
                                    customer relationships and
                                    NeoGenomics’ clinical research.
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       342.     It is my opinion that the Asserted Claims of the ’035 patent are “methods-of-

detection” claims. Claim 1 of the ’035 patent recites methods for detecting the presence of SNPs

(DNA code variants) “associated with cancer.” The methods disclosed in asserted claim 1 of the

’035 patent include the following steps:

              a. tagging isolated cfDNA;

              b. amplifying the tagged cfDNA, including targeted amplification of a

                 plurality of single nucleotide polymorphism (SNP); and

              c. sequencing the plurality of SNP loci on the cfDNA.

       343.     The Asserted Claims of the ’035 patent detect or measure the amount of certain

genetic data (SNPs associated with cancer)—in other words, the Asserted Claims detect a natural

phenomenon. Natera did not invent or discover cfDNA associated with cancer, the relationship

between cfDNA and cancer, or the correlation cfDNA has with cancer. Further, the disclosures of

the ’035 patent are generic and fail to provide guidance as to which SNPs are associated with any

particular type of cancer or cancer in general, or even what SNPs are associated with healthy cells.

The user is left to figure this information out for themselves.

       344.     The prosecution and allowance of the ’035 patent confirm that the Asserted Claims

are directed to generic detection of DNA code associated with cancer. In response to a rejection

for obviousness, the Applicant amended the claims to recite sequencing SNP loci comprising 25-

2000 loci “associated with cancer.” Ex. D.I. 53-1, Ex. D.I. 53-2 at 2. Further, the Applicant

claimed that the prior art Chuu reference “fails to teach or suggest targeted amplification of 25-

2,000 target loci associated with cancer in a single reaction volume.” Ex. D.I. 53-2 at 5. Following

this amendment and argument, the claims of the ’035 patent were allowed by the Examiner, who

explained that the amendment to add the “associated with cancer” limitation, to the exclusion of

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testing fetal cfDNA, led to allowance. Ex. D.I. 52-3 at 3. In my opinion, this confirms that the

’035 patent is directed to a natural phenomenon.

       345.    Additionally, I understand that Natera and its inventors have repeatedly asserted

that detecting tumor-derived cfDNA is an “equivalent condition” to detecting fetus-derived

cfDNA. D.I. 53-3 ¶ 10 (Natera inventor arguing in affidavit that “it should be noted that cfDNA

from a fetus in the plasma or serum is considered by a person of ordinary skill in the art as an

‘equivalent condition’ to the presence of ctDNA in the relevant art.”), Ex. D.I. 53-4 at 5 (Natera

arguing during patent prosecution that “the same lab techniques including extraction of cell-free

DNA, amplification of targeted loci, and sequencing of the amplicons can be used in both the fetal

DNA context and cancer DNA context.”); see also Ex. D.I. 53-5 at 1, 3, 6. Even if detecting SNPs

associated with cancer was patent eligible, Natera has repeatedly argued that this is the same

concept as detecting variants from a fetus, which Natera has also argued cannot be an inventive

concept.

       346.    I also understand that Natera previously argued that (1) cfDNA occurs naturally as

a result of cell death in a transplant recipient’s body; and (2) correlating the detected quantity of

donor-specific cfDNA to transplant health, are both natural phenomenon that are not patent

eligible. Ex. 10 at 14 (arguing that “[t]he Claims are directed to detecting a natural phenomenon—

donor-specific cfDNA from a transplanted organ that circulates in the blood of a transplant

recipient. The ’652 patent claims are directed to the additional unpatentable concept of correlating

the detected quantity of donor-specific cfDNA to transplant health—another natural

phenomenon”). I have reviewed the claims of the ’652 patent, and it is my opinion that the

“detecting” steps recited by the Asserted Claims of the ’035 patent are broader, more generic, and

recite less technical detail than the “determining” or “quantifying” steps of the ’652 patent.

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Therefore, to the extent the ’652 patent is characterized as being directed to detecting natural

phenomenon, the Asserted Claims of the ’035 patent are even more so.

       347.    Therefore, the Asserted Claims of the ’035 patent are directed to detecting a natural

phenomenon, and are hence, patent ineligible under §101.

               2.     The ’035 Patent, Natera’s Expert Witnesses, and Natera’s Own
                      Admissions State That the Techniques Recited by the Asserted Claim
                      Are Standard, Routine, and Conventional

       348.    In my opinion, the claims of the ’035 patent identify the recited steps only at a high

level of generalization. The claims do not identify any particular approach for performing the

steps. The written description states how different ways of carrying out the techniques recited in

those steps, and the combinations of them, are conventional, common, or already in use.

       349.    Neither the ’035 patent’s written description nor the claims identify anything as

being nonconventional or innovative about the limitations recited in the claims.

       350.    The ’035 patent incorporates by reference a 2008 publication by Varley et al., which

demonstrates that the claims were known in the art well in advance of the claimed inventions. D.I.

52-4 at 93:41-58 (citing D.I. 52-5), 250:9-11; D.I. 52-5 at Abstract, 1845.

                      a.      The ’035 Patent and Natera’s Expert Witness State that Tagging
                              DNA Was a Well-Understood, Routine, and Conventional
                              Technique by 2011

       351.    Claim 1 of the ’035 patent recites “tagging isolated cell free DNA with one or more

universal tail adaptors to generate tagged products.” D.I. 1-2 at claim 1. Tagging DNA was well

known to a POSA.

       352.    Nowhere does the ’035 patent state that the methods for tagging described in the

patent specification involve anything new, innovative, or novel. To the contrary, the specification



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of the ’035 patent makes clear that DNA tagging and part of amplification and sequencing was

known in the art:

        As is known in the art, the term “sequence tag” refers to a relatively short (e.g., 15-
        100) nucleic acid sequence that can be used to identify a certain larger sequence,
        e.g., be mapped to a chromosome or genomic region or gene.

D.I. 1-2 at 187:16-20.

        353.    Likewise, the ’035 patent cites to prior art publications describing routine, standard,

tagging techniques known in the art, including barcoding (all emphases below are added):

        ’035 patent at 9:
           • Craig, D. W. et al., “Identification of genetic variants using barcoded multiplexed
               sequencing”, Nature Methods, vol. 5, Oct. 2008, 887-893.

        ’035 patent at 13:
           • McCloskey, M. L. et al., “Encoding PCR Products with Batchstamps and
               Barcodes”, Biochem Genet., vol. 45, Oct. 23, 2007, 761-767.

        ’035 patent at 14:
           • Miner, B. E. et al., “Molecular barcodes detect redundancy and contamination in
               hairpin-bisulfite PCR”, Nucleic Acids Research, vol. 32, No. 17, Sep. 30, 2004, 1-
               4.

        ’035 patent at 19:
           • Parameswaran, P., et al., “A pyrosequencing-tailored nucleotide barcode design
               unveils opportunities for large-scale sample multiplexing”, Nucleic Acids
               Research, Oct. 11, 2007, 9 pages.

        354.    Further, Natera’s expert, Dr. Michael Metzker, has repeatedly acknowledged that

tagging was well known in the art by 2011:

        Solexa’s next generation sequencer was released in late 2006 and achieved
        widespread commercial use by 2007. Barcoding or sample tagging was equally
        prevalent.

Ex. 12 ¶ 115; see also Ex. 6 at 114:24-115:1 (“Ligation would be -- or PCR -- the two most common

ways of [tagging cfDNA].”); Ex. 37 (“It has been well known for many years that barcodes can be added

to target nucleic acid sequences either using PCR primers or using ligated adaptors”).

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       Next generation sequencers could sequence millions of DNA molecules in a single
       run and thereby made feasible sequencing DNA from different individuals at the
       same time. To distinguish samples from different individuals, DNA from a
       particular individual was “tagged” or “indexed” such that each individual sample
       had a separate tag, index or barcode. Thus, a “tagged” or “indexed” library of that
       individual’s DNA fragments could be created and the “tag” or “index” could be
       used to associate a particular DNA with an individual. The advantage of “indexing”
       was that DNA from different individuals could be pooled and sequenced together
       in a single reaction.

Ex. 12 ¶ 55.

       [The 2010 Fluidigm reference] states: “[i]f desired, tagged target nucleotide
       sequences generated as described herein may be analyzed by DNA sequencing.”

Id. ¶ 94. Further, Dr. Metzker has opined that the “use of indexed DNA library for multiplexed

next generation sequencing was widespread in the art,” and that the use of an “indexed DNA

library” is the same as the use of tags. Id. at 38, ¶ 59 (“In addition to the term barcode, these

molecular codes have been referred to as tags, multiplex identifiers, and indexes”). In a case before

the Patent Trial and Appeal Board, Dr. Metzker provided an expert declaration on behalf of Natera

in which he provided nine paragraphs of examples of the use of barcoding in the art:

       •    He cites to McKenna, who used barcoded primers for sequencing. These
            barcoded primers had a structure of Sequencing Primer-Barcode-Targeted
            primer, and serve the function to uniquely tag a given sample. Id. ¶¶ 60-61, 65.
       •    As another example, Dr. Metzker describes the Illumina GA sequencer, which
            he described as “the most commonly used next-generation sequencer” as of
            2010. The first step of the workflow of the Illumina GA sequencer was DNA
            library preparation, which would have included barcoding. Id. ¶ 62.
       •    As yet another example, Dr. Metzker describes Bentley, which ligated adaptors
            to sheared DNA fragments for amplification and sequencing. Id. ¶ 63.
       •    As yet another example, Dr. Metzker cited to Quail, which used the Illumina
            GA system with barcoded primers to analyze DNA fragments and generate an
            indexed library. Id. ¶ 64.
       •    As yet another example, Dr. Metzker describes Craig, which provided a
            generalized framework for multiplexed resequencing of targeted genome
            regions. In the described protocol, “a unique indexed-adaptor sequences [sic]
            was ligated” to DNA fragments. Id. ¶ 67.

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       355.      In addition to the Illumina GA sequencer system from 2010, Dr. Metzker described

even earlier systems wherein barcoding was widespread and used in the art:

       As discussed above, in the relevant timeframe, next-generation sequencing was in
       widespread use. In fact, 454 Life Sciences Corporation’s sequencer, known as
       Genome Sequencer 20, was commercially in use by 2005. Likewise, Solexa’s next
       generation sequencer was released in late 2006 and achieved widespread
       commercial use by 2007. Barcoding or sample tagging was equally prevalent.

Id. ¶ 115.

       356.      As yet another example, as early as 2009, it was known that a universal PCR could

be used with primers that included sequencing oligos and barcodes, such as what was taught by

Varley and Mitra. D.I. 52-5 at 1849 (“The universal PCR used primers tailed with 454 Life

Sciences A or B oligo at the 5’ end, followed by a sample-specific DNA sequence and ending at

the 3’ end with the same universal primer sequence ligated to the amplicons in the Nested Patch

PCR procedure.”).

       357.      In sum, the ’035 patent and Natera’s expert witness show that the technique of

tagging cfDNA as claimed in the ’035 patent was well-known, routine, and conventional in 2011.

                        b.     The ’035 Patent, Natera’s Expert Witnesses, and Natera’s Own
                               Admissions State That DNA Amplification Was a Well-
                               Understood, Routine, and Conventional Technique by 2011

       358.      Claim 1 of the ’035 patent recites methods for “amplifying the tagged products one

or more times to generate final amplification products.” D.I. 1-2 at claim 1. DNA amplification,

including PCR, was well known to a POSA.

       359.      The written description of the ’035 patent includes the following exemplary

disclosures, describing various amplification techniques, including PCR, that it characterizes as

routine, and available at the time of the filing to perform the claimed methods:

       Performing a highly multiplexed PCR amplification using methods known in the
       art results in the generation of primer dimer products that are in excess of the
                                              137




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       desired amplification products and not suitable for sequencing.

Id. at 86:10-13 (emphasis added).

       In some embodiments, the preparation of the DNA may involve amplification,
       separation, purification by chromatography, liquid separation, isolation,
       preferential enrichment, preferential amplification, targeted amplification, or any
       of a number of other techniques either known in the art or described herein.

Id. at 131:32-37 (emphasis added).

       If desired, any of the PCR conditions disclosed herein or 35 any standard PCR
       conditions can be used to test a primer library to determine, e.g., the percent of
       primer dimers, percent of target amplicons, and percent of target loci that are
       amplified. If desired, standard methods can be used to optimize the reaction
       conditions to improve the performance of a primer library.

Id. at 125:35-41 (emphasis added).

       [S]imultaneous amplification of many target nucleic acids in a sample of interest
       can be carried out by combining many oligonucleotide primers with the sample and
       then subjecting the sample to polymerase chain reaction (PCR) conditions in a
       process known in the art as multiplex PCR.

Id.at 2:66-3:4.

       Some embodiments of the present disclosure involve the use of “Linked Inverted
       Probes” (LIPs), which have been previously described in the literature, to amplify
       the target loci before or after amplification using primers that are not LIPs in the
       multiplex PCR methods of the invention.

Id. at 111:11-15.

       In some embodiments, the PCR products are sequenced as described 60 in Example
       15 or using standard sequencing methods.

Id. at 129:59-61.

       There are also sequencing methods, for example the ILLUMINA SO LEXA
       GENOME SEQUENCER or the ABI SOLID GENOME SEQUENCER, wherein
       the genetic sequence of fragments of DNA are sequenced; upon extension of the
       strand of DNA complementary to the strand being sequenced, the identity of the
       extended nucleotide is typically detected via a fluorescent or radio tag appended to
       the complementary nucleotide.


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Id. at 184:26-34.

       The following protocol was used for 800-plex amplification of DNA isolated from
       maternal plasma from a euploid pregnancy and also genomic DNA from a triploidy
       21 cell line using standard PCR (meaning no nesting was used).

Id. at 210:26-34.

       An aliquot of the STA products was then amplified by standard PCR for 10 cycles
       with 1 uM of tag-specific forward and barcoded reverse primers to generate
       barcoded sequencing libraries.

Id. at 214:33-36.

       An aliquot of the STA products was then amplified by standard PCR for 15 cycles
       with 1 uM of tag-specific forward and barcoded reverse primers to generate
       barcoded 45 sequencing libraries.

Id. at 214:41-43.

       An aliquot of the STAR 2 products was then amplified by standard PCR for 12
       cycles with 1 uM of tag-specific forward and barcoded reverse primers to generate
       barcoded sequencing libraries.

Id. at 218:12-16.

       360.    Likewise, the ’035 patent cites to a wealth of prior art publications describing

routine, standard, amplification techniques known in the art, including PCR (all emphases below

are added):

       ’035 patent at 7:
          • Binladen, J. et al., “The Use of Coded PCR Primers Enables High-Throughput
              Sequencing of Multiple Homolog Amplification Products by 454 Parallel
              Sequencing”, PLOS One, Issue 2, Feb. 2007, 9 pages.
          • Siebert, P. D. et al., “An improved PCR method for walking in uncloned genomic
              DNA”, Nucleic Acids Research, vol. 23, No. 6, 1995, 1087-1088.
          • Tewhey, R. et al., “Microdroplet-based PCR enrichment for largescale targeted
              sequencing”, Nature Biotechnology, vol. 27, No. 11, Nov. 2009, 1025-1031.

       ’035 patent at 9:
          • Cheung, V. G. et al., “Whole genome amplification using a degenerate
              oligonucleotide primer allows hundreds of genotypes to be performed on less than

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         one nanogram of genomic DNA”, Proceedings of the National Academy of
         Sciences, USA, vol. 93, Dec. 1996, 14676-14679.

  ’035 patent at 10:
     • D’Aquila, Richard et al., “Maximizing sensitivity and specificity of PCR by pre-
         amplification heating”, Nucleic Acids Research, 19(13), 1991, p. 3749.
     • Dietmaier, W. et al., “Multiple Mutation Analyses in Single Tumor Cells with
         Improved Whole Genome Amplification”, American Journal of Pathology, vol.
         154, No. 1, Jan. 1999, 83-95.
     • Fredriksson, et al., “Multiplex amplification of all coding sequences within 10
         cancer genes by Gene-Collector”, Nucleic Acids Research, 2007, vol. 35, No. 7
         e47, 1-6.

  ’035 patent at 11:
     • Handyside, et al., “Isothermal whole genome amplification from single and small
         numbers of cells: a new era for preimplantation genetic diagnosis of inherited
         disease”, Molecular Human Reproduction vol. 10, No. 10 pp. 767-772, 2004.
     • Harismendy, O. et al., “Method for Improving Sequence Coverage Uniformity of
         Targeted Genomic Intervals Amplified by LR-PCR Using Illumina GA
         Sequencing-By-Synthesis Technology”, Bio Techniques, 46(3), 2009, 229-231.
     • Hawkins, T. et al., “Whole genome amplification-applications and advances”,
         Current Opinion in Biotechnology, 13, 2002, 65-67.
     • Hayden, et al., “Multiplex-Ready PCR: A new method for multiplexed SSR AND
         SNP genotyping”, BMC Genomics 2008, 9(80), 1-12.
     • Hellani, A. et al., “Clinical Application of Multiple Displacement Amplification in
         Preimplantation Genetic Diagnosis”, Reproductive BioMedicine Online, 10 (3),
         2005, 376-380.
     • Hellani, Ali et al., “Multiple displacement amplification on single cell and possible
         PGD applications”, Molecular Human Reproduction, 10(11), 2004 847-852.

  ’035 patent at 13:
     • Liao, J. et al., “An Alternative Linker-Mediated Polymerase Chain Reaction
         Method Using a Dideoxynucleotide to Reduce Amplification Background”,
         Analytical Biochemistry 253, 137-139 (1997).
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         Peripheral Blood”, The Lancet, 2, 8676, 1989, 1363-1365.
     • Lo, Y-M.D et al., “Prenatal Determination of Fetal Rhesus D Status by DNA
         Amplification of Peripheral Blood of Rhesus-Negative Mothers”, Annals New
         York Academy of Sciences, 731, 1994, 229-236.
     • Mamon, H. et al., “Letters to the Editor: Preferential Amplification of Apoptotic
         DNA from Plasma: Potential for Enhancing Detection of Minor DNA Alterations
         in Circulating DNA”, Clinical Chemistry, vol. 54, No. 9, 2008, 1582-1584.

  ’035 patent at 14:

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     •   Paez, Guillermo J. et al., “Genome coverage and sequence fidelity of cp29
         polymerase-based multiple strand displacement whole genome amplification”,
         Nucleic Acids Research, 32(9), 2004, 1-11.

  ’035 patent at 15:
     • Pertl, B. et al., “Detection of Male and Female Fetal DNA in Maternal Plasma by
         Multiplex Fluorescent Polymerase Chain Reaction Amplification of Short
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     • Pirker, C. et al., “Whole Genome Amplification for CGH Analysis: Linker-Adapter
         PCR as the Method of Choice for Difficult and Limited Samples”, Cytometry Part
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     • Porreca, Gregory J et al., “Multiplex Amplification of Large Sets of Human
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  ’035 patent at 16:
     • Rychlik, et al., “Optimization of the annealing temperature for DNA amplification
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     • Spertini, D. et al., “Screening of Transgenic Plants by Amplification of Unknown
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     • Spits, C et al., “Optimization and Evaluation of Single-Cell Whole Genome
         Multiple Displacement Amplification”, Human Mutation, 27(5), 496-503, 2006.

  ’035 patent at 17:
     • Wang, W. P. et al., “Multiplex single nucleotide polymorphism genotyping by
         adapter ligation-mediated allele-specific amplification”, Analytical Biochemistry,
         vol. 355, May 5, 2006, 240-248.

  ’035 patent at 18:
     • Wells, Dagan, “Detailed Chromosomal and Molecular Genetic Analysis of Single
         Cells by Whole Genome Amplification and Comparative Genomic Hybridisation”,
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     • Wong, K. K. et al., “Allelic imbalance analysis by high-density single nucleotide
         polymorphic allele (SNP) array with whole genome amplified DNA”, Nucleic
         Acids Research, vol. 32, No. 9, May 17, 2004, 8 pages.
     • Zhang, L. et al., “Whole genome amplification from a single cell: Implications for
         genetic analysis”, Proc. Nat’l. Acad. Sci. USA, vol. 89, Jul. 1992, 5847-5851.

  ’035 patent at 19:
     • Lasken, R. S., et al., “Whole genome amplification: abundant supplies of DNA
         from precious samples or clinical specimens”, Trends in Biotechnology, Dec. 2003,
         531-535.

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     •   Pask, R., et al., “Investigating the utility of combining whole genome amplification
         and highly multiplexed single nucleotide polymorphism BeadArray TM
         genotyping”, BMC Biotechnology, Jul. 27, 2004, 8 pages.
     •   Paunio, T., et al., “Preimplantation diagnosis by whole-genome amplification,
         PCR amplification, and solid-phase minisequencing of blastomere DNA”, Clinical
         Chemistry, 1996, 1382-1390.
     •   Ruano, G., et al., “Haplotype of multiple polymorphisms resolved by enzymatic
         amplification of single DNA molecules”, Proc. Nati. Acad. Sci. USA, Aug. 1990,
         6296-6300.

  ’035 patent at 20:
     • Fortina, P. et al., “DOP-PCR Amplification of Whole Genomic DNA and
         Microchip-Based Capillary Electrophoresis”, Methods in Molecular Biology:
         Capillary Electrophoresis of Nucleic Acids, vol. II Practical Applications of
         Capillary Electrophoresis, 2001, 211-219.
     • Hosono, S. et al., “Unbiased Whole-Genome Amplification Directly From Clinical
         Samples”, Genome Research, vol. 13, 2003, 954-964.
     • Nishigaki, K. et al., “Random PCR-Based Genome Sequencing: A Non-Divide-
         and-Conquer Strategy”, DNA Research, vol. 7, 2000, 19-26.
     • Zheng, S. et al., “Whole Genome Amplification Increases the Efficiency and
         Validity of Buccal Cell Genotyping in Pediatric Populations”, Cancer
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  ’035 patent at 21:
     • Bergen, A. W. et al., “Effects of DNA mass on multiple displacement whole
         genome amplification and genotyping performance”, BMC Biotechnology, vol. 5,
         No. 24, Sep. 16, 2005, 11 pgs.

  ’035 patent at 22:
     • Lovmar, L. et al., “Quantitative evaluation by minisequencing and microarrays
         reveals accurate multiplexed SNP genotyping of whole genome amplified DNA”,
         Nucleic Acids Research, vol. 31, No. 21, 2003, 9 pgs.
     • McDonald, J. P. et al., “Novel thermostable Y-family polymerases: applications for
         the PCR amplification of damaged or ancient DNAs”, Nucleic Acids Research,
         vol. 34, No. 4, 2006, 1102-1111.
     • Broude, N. E., et al., “High Multiplexity PCR Based on PCR Suppression”, DNA
         Amplification Current Technologies and Applications, 2004, 61-76.
     • Broude, N E, et al., “High-Level Multiplex DNA Amplification”, Antisense &
         Nucleic Acid Drug Development, vol. 11, 2001, 327-332.
     • Broude, N. E., et al., “Multiplex Allele-specific Target Amplification based on
         PCR Suppression”, PNAS, vol. 98, No. 1, Jan. 2, 2001, 206-211.
     • Frohman, M A, et al., “On Beyond Classic RACE (Rapid Amplification of cDNA
         Ends)”, Genome Research, vol. 4, 1994, S40-S58.


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  ’035 patent at 23:
     • Kuhn, H., et al., “Rolling-circle amplification under topological constraints”,
         Nucleic Acids Research, 2002, 574-580.
     • Schoske, R., et al., “Multiplex PCR Design Strategy used for the Simultaneous
         Amplification of 10 Y Chromosome Short Tandem Repeat (STR) Loci”, Analytical
         and Bioanalytical Chemistry, vol. 375, 2003, 333-343.
     • Dhara, O., et al., “One-sided Polymerase Chain Reaction: The Amplification of
         cDNA”, Proceedings of the National Academy of Sciences, vol. 86, 1989, 5673-
         5677.
     • Treff, N. R., et al., “Single Cell Whole Genome Amplification Technique
         Significantly Impacts the Accuracy and Precision of Microarray Based 23
         Chromosome Aneuploidy Screening”, Poster Presentations Preimplantation
         Genetic Diagnosis, Sep. 01 2007, S231.
     • Troutt, et al., “Ligation-anchored PCR: A Simple Amplification Technique with
         Single-sided Specificity”, Proceedings of the National Academy of Sciences, vol.
         89, Oct. 1992, 9823-9825.

  ’035 patent at 24:
     • Dorit, D. L., “cDNA Amplification Using One-sided (Anchored) PCR", Current
         Protocols in Molecular Biology, vol. 17, 1992, pp. 15.6.1-15.6.10.
     • Dorit, Robert L. et al., “One-sided Anchored Polymerase Chain Reaction for
         Amplification and Sequencing of Complementary DNA”, Methods in
         Enzymology, vol. 218, 1993, pp. 36-47.
     • Loh, Elwyn, “Anchored PCR: Amplification with Single-sided Specificity”,
         Methods, vol. 2, 1991, pp. 11-19.
     • Meuzelaar, Linda S. et al., “Megaplex b: A Strategy for Multiplex Amplification”,
         Nature Methods, vol. 4, 2007, pp. 835-837.

  ’035 patent at 25:
     • Vallone, Peter M. et al., “Demonstration of Rapid Multiplex PCR Amplification
         Involving 16 Genetic Loci”, Forensic Science International: Genetics, vol. 3, 2008,
         pp. 42-45.
     • Watt, Heather L., “Sex Diagnosis of Preimplantation Porcine Embryos through
         PCR Amplification of The SRY Gene”, Sex Diagnosis of Preimplantation Porcine
         Embryos Through PCR Amplification of the Sry Gene (1998) 1998, 151 pages.

  ’035 patent at 26:
     • Olerup, O. et al., “HLA-DR typing by PCR amplification with sequence-specific
         primers (PCR-SSP) in 2 hours: an alternative to serological Dr typing in clinical
         practice including donor-recipient matching in cadaveric transplantation”, Tissue
         Antigens, vol. 39, No. 5, May 1992, 225-235.
     • Dahl, et al., “Multigene Amplification and Massively Parallel Sequencing for
         Cancer Mutation Discovery”, Proceedings of the National Academy of Sciences,
         vol. 104, No. 22, May 29, 2007, 9387-9392.

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             •   Paruzynski, A. et al., “Genome-wide high-throughput integrome analyses by
                 nrLAM-PCR and next-generation sequencing”, Nature Protocols, vol. 5, No. 8, Jul.
                 8, 2010, 1379-1395.

       ’035 patent at 28:
          • Pinard, et al., “Assessment of Whole Genome Amplification induced Bias Through
              High-throughput, Massively Parallel Whole Genome Sequencing”, BMC
              Genomics, vol. 7:216, Aug. 23, 2006, 1-21.

       ’035 patent at 29:
          • Glaab, W. E. et al., “A novel assay for allelic discrimination that combines the
              fluorogenic 5’ nuclease polymerase chain reaction (TaqMan) and mismatch
              amplification mutation assay”, Mutation Research, vol. 430, 1999, 12 pgs.

       361.      Likewise, Varley states:

       This is the first method that couples multiplex PCR with sample-specific DNA
       barcodes and next-generation sequencing to enable highly multiplex mutation
       discovery in candidate genes for multiple samples in parallel.

Id. at Abstract.

       Sample-specific DNA barcodes are then incorporated into the primers used for the
       final universal PCR by tailing the 5’ end with sample-specific DNA sequences and
       454 sequencing primers.

Id. at 1845.

       362.      Further, Natera’s expert, Dr. Michael Metzker, has repeatedly acknowledged that

amplification, including PCR, was well known in the art by 2011:

       It was further well-known by 2008 that one could isolate, amplify and sequence
       cell-free genomic DNA from maternal blood to detect aneuploidy, including fetal
       trisomy 21….As such, one of ordinary skill would have had a reasonable
       expectation of success in using cell-free DNA from maternal blood in a multi-step
       PCR method (such as Fluidigm’s).

Ex. 12 ¶ 116 (emphasis added).

       To perform NGS, sequencing libraries were often created from samples using PCR
       amplification. PCR-based library preparation was well-known and widely-used by
       the time the first application leading to the ’831 Patent was filed.

Id. ¶ 54.
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        As described above in this declaration, indexed sequences were routinely added by
        PCR as well. For example, Illumina described adding index sequences to its
        adaptor-ligated DNA fragments using a PCR enrichment step. Following
        additional library steps, each HapMap sample was pooled into a single tube and
        subjected to a PCR enrichment step using Illumina compatible primers.

Id. ¶ 67. Likewise, at deposition, Dr. Metzker admitted that the 2010 Fluidigm reference discloses

multiplex PCR of over 9,000 targets, that a “person of ordinary skill in the art would understand how PCR

works,” “one of ordinary skill would have understood how the PCR cycle works,” and that “[l]igation

would be -- or PCR -- the two most common ways of [tagging cfDNA].” Ex. 6 at 87:24-88:6, 93:1-2,

94:6-7, 99:4-5, 114:24-115:1. Dr. Metzker acknowledged at trial that PCR “make copies of your

target,” in other words, PCR is an amplification technique. Ex. 36 at 902:19-21.

        363.    Additionally, Natera’s expert, Dr. Quackenbush, testified that amplification was

routine and conventional as early as 1985, well before 2011:

        Q. And how far back were persons of skill in the art using PCR to do selected
           amplification?

        A. So Kary Mullis, I described in 1985 Kary Mullis was doing it in 1985. It was a
           rapidly adopted technology because it was so powerful.

Ex. 11 at 88:14-18.

        364.    Dr. Quackenbush, also opined that the claimed amplification technique had been

“universally adopted” as a standard tool by 2000:

        PCR-based tools for genotyping SNPs, including for genotyping up to hundreds of
        thousands of SNPs, were commercially available as far back as 1995. By 2000,
        PCR had been universally adopted as a standard tool in applications of molecular
        biology, and it was already successful in the simultaneous detection of thousands
        of SNPs...PCR was a well-established, conventional and indispensable tool for
        genetic testing that was routinely used to target and amplify specific, pre- selected
        genes for further study.

Ex. 20 ¶¶ 82-83 (emphasis added).



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       365.    Dr. Quackenbush has also stated that he had significant experience with PCR

techniques in the 1990s:

       Starting in 1992, I ran a large program at the Salk Institute using PCR to assay
       polymorphic genetic markers to produce a map of human chromosome 11, a project
       that required tens of thousands of multiplexed PCR reactions. Between 1994 and
       1996, while at Stanford University, I was responsible for the design and conduct of
       hundreds of thousands of PCR reactions for mapping the entire human genome and
       as part of developing a strategy for sequencing regions of human chromosomes 4
       and 21. After joining The Institute for Genomic Research in 1997, I was responsible
       for projects involving hundreds of thousands of PCR reactions for genome
       sequencing and microarray analysis. And after joining the faculty at the Dana-
       Farber Cancer Institute and Harvard School of Public Health, I led large-scale
       projects analyzing gene expression in cancer and establishing high-throughput
       genome sequencing that required PCR and other amplification reactions from
       diverse biological samples, including cell lines, human tissue samples, circulating
       tumor cells, and circulating cell-free DNA. In all of these projects, I used standard
       and routine PCR applications for genotyping.

Id. ¶ 87. Further, Dr. Quackenbush has opined that “well before 2013 several techniques had been

developed to generate or isolate copies of DNA molecules of interest to facilitate sequencing.” Ex. 7 ¶

66. Likewise, Dr. Quackenbush cites to a document he describes as stating that PCR is among

the most widely used approaches to target enrichment. Id. at ¶ 68.

       366.    Nor is multiplexing more than 25 loci in a single volume an inventive concept. The

’035 patent acknowledges that it was known in the art that up to 100 loci could be multiplexed in

a single volume. D.I. 1-2 at 85:14-16 (“Methods described in the prior art used to multiplex more

than 50 or 100 [loci] in one reaction volume followed by sequencing….”), 48:25-29 (“Also note

that the general belief in the art is that multiplexing PCR for sequencing is limited to about 100

assays in the same well. Fluidigm and Rain Dance offer platforms to perform 48 or 1000s of PCR

assays in parallel reactions for one sample.”). Likewise, the ’035 patent states that it was built on

prior art, which included “fundamental methods” that “underlie the methods disclosed.” Id. at

93:41-58 (citing D.I. 52-5, D.I. 52-6, and D.I. 53-6). Varley provides an example of these

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“fundamental methods,” and teaches multiplexing of 90 loci in a single volume. D.I. 52-5 at 1845

(“we designed oligonucleotides for 94 exons from six genes that cause cancer when mutated in

the germline (TP53, APC, MLH1, RB1, BRCA1, VHL)”). The ’035 patent mischaracterizes

Varley as only teaching multiplexing of 9 loci in a single volume. D.I. 1-2 at 53-58 (“A method

comprising multiplexing of an average of 9 assays for sequencing is described in” Varley.). As the

’035 patent acknowledges that 90- and 100-plexes were in the prior art, the use of 25-plexes cannot

be an inventive concept.

       367.    Natera has twice taken the position that selective multiplex amplification was a well-

understood, routine, and conventional method by 2009. Ex. 20 ¶ 8; Ex. D.I. 52-9 at 50 (“There is

a good reason for this: the patentee admitted selective amplification was routine and

conventional—so much so that it was unnecessary to provide any guidance on how to apply it to

1,000 SNPs.”) (citations omitted). Additionally, in Illumina, Inc. v. Natera, Inc., Natera argued

that methods of DNA amplification were known in the art by 2010. Ex. 34 at 5. If such techniques

were conventional in 2009 and 2010, they were surely conventional by 2011.

       368.    In sum, the ’035 patent, Natera’s expert witnesses, and Natera’s own admissions

show that the technique of amplifying cfDNA as claimed in the ’454 patent was well-known,

routine, and conventional in 2011.

                      c.      The ’035 Patent, Natera’s Expert Witnesses, and Natera’s Own
                              Admissions State That DNA Sequencing Was a Well-
                              Understood, Routine, and Conventional Method in 2011

       369.    Claim 1 of the ’035 patent recites “sequencing the plurality of SNP loci on the cell

free DNA by conducting massively parallel sequencing on the final amplification products,

wherein the plurality of SNP loci comprises 25-2,000 loci associated with cancer.” D.I. 1-2 at

claim 1. Gene sequencing was well known to a POSA.

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       370.    Nowhere does the ’035 patent state that the methods for sequencing described in

the patent specification involve anything new, innovative, or novel. To the contrary, the ’035

patent cites to a wealth of prior art publications describing routine, standard, sequencing techniques

known in the art (all emphases below are added):

       ’035 patent at 7:
          • Binladen, J. et al., “The Use of Coded PCR Primers Enables High-Throughput
              Sequencing of Multiple Homolog Amplification Products by 454 Parallel
              Sequencing”, PLOS One, Issue 2, Feb. 2007, 9 pages.
          • Gnirke, A. et al., “Solution hybrid selection with ultra-long oligonucleotides for
              massively parallel targeted sequencing”, Nature Biotechnology, vol. 27, No. 2,
              Feb. 2009, 182-189.
          • Tewhey, R. et al., “Microdroplet-based PCR enrichment for largescale targeted
              sequencing”, Nature Biotechnology, vol. 27, No. 11, Nov. 2009, 1025-1031.

       ’035 patent at 8:
          • Bentley, David R et al., “Accurate Whole Human Genome Sequencing Using
              Reversible Terminator Chemistry”, Nature, 456, 6, 2008, 53-59.
          • Bermudez, M. et al., “Single-cell sequencing and mini-sequencing for
              preimplantation genetic diagnosis”, Prenatal Diagnosis, 23, 2003, 669-677.
          • Alkan, Can et al., “Personalized Copy Number and Segmental Duplication Maps
              Using Next-Generation Sequencing”, Nature Genetics, 41, 10, 2009, 1061-1068.

       ’035 patent at 9:
          • Chiu, Rossa W.K. et al., “Maternal Plasma DNA Analysis with Massively Parallel
              Sequencing by Litigation for Noninvasive Prenatal Diagnosis of Trisomy 21”,
              Clinical Chemistry, 56, 3, 2010, 459-463.
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              Aneuploidy by Massively Parallel Genomic Sequencing of DNA in Maternal
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       371.     Further, Varley states:

       This is the first method that couples multiplex PCR with sample-specific DNA
       barcodes and next-generation sequencing to enable highly multiplex mutation
       discovery in candidate genes for multiple samples in parallel.

D.I. 52-5 at Abstract.

       Sample-specific DNA barcodes are then incorporated into the primers used for the
       final universal PCR by tailing the 5’ end with sample-specific DNA sequences and
       454 sequencing primers.

Id. at 1845.

       372.     Likewise, Natera’s expert, Dr. Michael Metzker, has repeatedly acknowledged that

sequencing was well known in the art by 2011:

       As discussed above, in the relevant timeframe, next-generation sequencing was in
       widespread use….Further, a kit for making a sequencing library for use with
       Solexa’s sequencer was commercially available in 2008, underscoring the routine
       nature of sequencing library preparation. Thus, one of ordinary skill would have
       expected success in being able to sequence cell-free DNA found in maternal blood.

Ex. 12 ¶ 115.

       It was further well-known by 2008 that one could isolate, amplify and sequence
       cell-free genomic DNA from maternal blood to detect aneuploidy, including fetal
       trisomy 21….As such, one of ordinary skill would have had a reasonable
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       expectation of success in using cell-free DNA from maternal blood in a multi-step
       PCR method (such as Fluidigm’s). One of ordinary skill would have expected
       reasonable success in identifying sequences from particular chromosomes, because
       the human genome had already been sequenced by the relevant timeframe. Cell-
       free genomic DNA from maternal blood had also previously been successfully
       amplified and sequenced to detect aneuploidy, including fetal trisomy 21, trisomy
       18 and trisomy 13. This typically involved amplifying DNA from a suspected
       chromosome and a reference chromosome and detecting whether levels of
       sequences of the suspect chromosome were elevated. Given the success in using
       cell-free DNA to perform amplification and sequencing, one of ordinary skill would
       have had a reasonable expectation of success to employ cell-free DNA from
       maternal blood in the Fluidigm method with the goal of testing for chromosomal
       aneuploidy.

Ex. 12 ¶ 116 (citations omitted).

       Since their introduction, NGS platforms have allowed for high-throughput
       sequencing of nucleic acids on a genome-wide scale and highly multiplexed gene-
       specific sequencing.

Ex. 12 ¶ 41.

       The first NGS platform to achieve widespread commercial use was 454 Life
       Sciences Corporation’s sequencer, also known as Genome Sequencer 20 (“GS20”).
       The GS20 sequencer first became commercially available in 2005 and produced
       average read-lengths of ~100 bases.

Ex. 12 ¶ 42.

       The Genome Analyzer II (“GAII”) was developed by Solexa and released in late
       2006. After the acquisition of Solexa by Illumina in 2007, this massively parallel
       sequencing platform achieved widespread commercial use.

Ex. 12 ¶ 45.

       Not only was the concept of creating an indexed DNA sequencing library routine
       and commonplace, the concept of using cell-free DNA from maternal blood to
       detect chromosomal aneuploidy, such as trisomy 21, the underlying cause of Down
       syndrome was equally well-known in the art.

Ex. 12 ¶ 56.

       As of January 2010, Illumina’s GA sequencer was the most commonly used next-
       generation sequencer.…The GA instrument was capable of sequencing a sample
       from an individual or multiple samples from many different individuals.

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Ex. 12 ¶ 62.

       As described above in this declaration, indexed sequences were routinely added by
       PCR as well. For example, Illumina described adding index sequences to its
       adaptor-ligated DNA fragments using a PCR enrichment step. Following
       additional library steps, each HapMap sample was pooled into a single tube and
       subjected to a PCR enrichment step using Illumina compatible primers.

Ex. 12 ¶ 67.

       373.    At trial, Dr. Metzker admitted that he “first started working with PCR and DNA

sequencing technologies in 1987,” that he published on NGS as early as 1994, that NGS

technologies became commercially available in 2005, that between 2005 and 2010 there were “a

lot of breakthroughs in new technologies” in NGS, and that by 2011 there were “numerous [MGS]

instruments on the market.” Ex. 36 at 974:14-16, 888:21-889:1, 894:12-14, 900:22-901:2, 957:2-

6. Likewise, Dr. Metzker wrote a 2010 review article that discussed, inter alia, that people had

“begun sequencing complete human genomes.” Id. at 900:22-901:22; Ex. 37 at 6.

       374.    Furthermore, Dr. Quackenbush posits that high-throughput sequencing was routine

and conventional as of 2010. In his declaration, Dr. Quackenbush states that the sequencing

method, claimed in the ’035 patent was well-known, commercially available, and routinely used by

researchers well before 2011:

       [A] method called pyrosequencing, which performs sequencing-by- synthesis, was
       developed and first published in 1993. It was the foundation for different
       companies. PYROSEQUENCING AB, out of Uppsala Sweden, launched its first
       commercial automated pyrosequencing instrument in 1999….Based on the
       machines made available by Pyrosequencing, by the year 2000, pyrosequencing
       had established itself as a standard and conventional means for multiplex or high-
       throughput sequencing, including for genotyping SNPs.

Ex. 20 ¶103 (citing Marsh 2007, Ahmadian 2000; Nordstrom 2000; Ronaghi 2001).

       Another high throughput sequencing-by-synthesis method developed by a group
       out of Cambridge University in 1998 became the foundation for a company called
       Solexa (later acquired by Illumina, Inc.)….As the group that developed this
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        technology reported in Margulies 2005, the instrument branded as the Genome
        Analyzer could “sequence 25 million bases, at 99% or better accuracy, in one four-
        hour run,” B11305- 1309 (Margulies 2005) at B1305 (Abstract), and had an average
        read length of 108 bases

Id. ¶ 104 (citing Marguiles 2005).

        As another example, a high throughput sequencing method co- developed by the
        named inventor Dr. Quake became the foundation for his company, Helicos, which
        was founded in 2003, and on which I was a member of the Scientific Advisory
        Board.

Id. ¶ 106.

        375.     I understand that Dr. Quackenbush opined that in 2005, there was the expectation

that high-throughput sequencing would generate large quantities of data to understand cancer—an

expectation that was quickly realized:

        For example, when I began working in the biological sciences at the Salk Institute
        in 1992, the first molecular biology techniques that I learned were PCR and Sanger
        DNA sequencing. As part of my move to Stanford University in 1994, I was tasked
        with developing a new large-scale DNA sequencing method based on PCR
        mapping of transposon insertions. My recruitment to the Dana-Farber Cancer
        Institute in 2005 was largely based on the expectation that high throughput DNA
        sequencing would soon generate unprecedented quantities of data that could be
        used to understand cancer. And that expectation very quickly was realized
        throughout the genomics field.

Id. ¶ 87.

        376.     Dr. Quackenbush also noted that in 2005 there was a rapid explosion in the use of

sequencing by synthesis instruments:

        Due to the rapid explosion in use of sequencing-by-synthesis instruments including
        the 454 sequencer in 2005, the Illumina Genome Analyzer and Applied Biosystems
        SOLiD sequencer in 2006, and others shortly thereafter, my group and I quickly
        became involved in multiplex / high-throughput (or Next Generation Sequencing
        (“NGS”)) DNA sequencing.

Id. ¶ 95.




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       377.    According to Dr. Quackenbush, there were a number of commercially available

sequencers. See, e.g., Id. at ¶¶ 103-113 (describing, various commercially available sequencing

platforms, including, pyrosequencing, technology available by Helicos Biosciences Corporation,

technology available by 454 Lifesciences, Clonal Single Molecule Array (Solexa, Inc.) or

sequencing-by-synthesis (SBS) utilizing reversible terminator chemistry; AnyDot chips

(Gonovoxx, Germany); sequencers such as Illumina Genome Analyzer, etc.).             Further, Dr.

Quackenbush has opined that by “2010, whole-genome sequencing to 30x coverage was routine

on the commercially available HiSeq 2000.”           Ex. 7 ¶ 64.   He likewise opined that by

“approximately 2008, techniques for NGS were well-known and commercially available,” that

“using NGS, the entire human genome can now be sequenced on a single instrument in a single

day,” and that the “development of NGS made more widely available ‘[t]he ability to sequence

entire human genomes.’” Id. ¶¶ 60-61, 63 (quoting Lam et al. Performance comparison of whole-

genome sequencing platforms, Nature Biotechnology 30:78 (2012)).

       378.    Natera, through its expert’s declaration, has taken the position that sequencing to

identify SNVs was a well-understood, routine, and conventional method by 2009. Ex. 20 ¶ 93

(describing that determining SNPs (SNVs) by “whole genome sequencing or exome sequencing”

in 2009 was routine and conventional by reference to patents pre-dating 2009). Additionally, in

Illumina, Inc. v. Natera, Inc., Natera argued that methods of sequencing were known in the art by

2010. Ex. 34 at 5 (“the ’831 patent does not recite any new or unknown type of sequencing

library”). If such techniques were conventional in 2009 and 2010, they were surely conventional

by 2011.

       379.    I understand that Natera has taken the position that references cited in the

prosecution histories of the ’454 patent establish that a POSA would have been known of ways to

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perform sequencing before 2005. See Ex. 29 at 12 (citing Exs. 31-33). Further illustrating that the

claimed method was routine, Natera argued that the “patentees knew about different types of

sequencing-by-synthesis…when they drafted the claims, evidenced by cites to Jarvie and other

references during prosecution.” See Ex. 29 at 16 (citation omitted).

       380.    In sum, the ’035 patent, Natera’s expert witnesses, and Natera’s own admissions

show the method of high-throughput sequencing as claimed in the ’035 patent was well-known,

routine, and conventional in 2011.

                       d.      Claims 12 and 13 Add Only Conventional Steps

       381.    It is my opinion that claims 12 and 13 fail to add an inventive concept and add only

conventional steps. Claim 12 depends from claim 1 and simply specifies that the “one or more

universal tail adaptors” comprise “a first universal tail adaptor and a second universal tail adaptor.”

D.I. 1-2 at claim 12. Indeed, “universal tail adaptors” were so well known in the art that the ’035

patent specification did not even include a single reference to them. Ex. 6 at 34:15-35:1. Claim

13 depends from claim 12 and adds that the first and second universal tail adaptors are comprised

of first and second primers. Primers were likewise ubiquitous in the art. See, e.g., D.I. 1-2 at 7-

26 (citing to a wealth of prior art publications describing the use of primers); D.I. 52-5 at 1845

(Sample-specific DNA barcodes are then incorporated into the primers used for the final universal

PCR by tailing the 5’ end with sample-specific DNA sequences and 454 sequencing primers.)

(emphasis added); Ex. 12 ¶ 67 (discussing the use of “Illumina compatible primers). Neither claim

12 nor claim 13 add an inventive concept.

                                             ***

       382.    For the reasons discussed above, it is my opinion that the Asserted Claims of the

’035 patent are method of detection claims, that these only detect cfDNA in a biological sample,

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which is a natural phenomenon, and that (based on the ’454 patent, Natera’s expert witnesses, and

Natera’s own admissions) the detecting is accomplished with no meaningful non-routine steps.

There is nothing about the claimed steps, individually or in combination, that is unconventional.

XII.   INVALIDITY OF THE ’454 PATENT FOR IMPROPER INVENTORSHIP
       383.    As I explain above, the claims of the ’454 patent are not inventive, but are rather

invalid as obvious in view of multiple prior art references. To the extent the claims of the ’454

patent are deemed to reflect a bona fide invention, however, it is my opinion that they are invalid

for failure to name the proper inventors. Specifically, as I explain below, the claimed approach

based on whole exome sequencing was invented not by Natera alone, but rather in collaboration

with researchers at University College London (“UCL”), including, for instance, Dr. Miriam

Jamal-Hanjani.

       A.      Disclosure Relating to Whole Exome and Whole Genome Sequencing In The
               ’454 Patent

       384.    The independent claims of the ’454 patent recite the step of:

       performing whole exome sequencing or whole genome sequencing on a tumor
       sample of the subject to identify a plurality of tumor-specific SNV mutations;

D.I. 1-1 at claims 1, 14. Thus, thus the claims recite the use of either “whole exome” or “whole

genome” sequencing.

       385.    There is no description of “whole genome sequencing” in the ’454 patent, a point

that I discuss further below in connection with written description. Although the description for

Figure 51B refers to “whole genome sequencing,” this is an error because Figure 51 is actually

only “whole exome” sequencing. As to “whole exome” sequencing, it is my opinion that the ’454

patent has limited written description. Specifically, it is my opinion that the sole support for

“whole exome” sequencing appears in the ’454 patent’s Example 13.

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       386.   Specifically, Example 13 provides as follows:

       Two to three biopsies from various regions from the entire cancerous lung were
       taken from each patient (FIG. 51A). Each biopsied sample was assayed by whole
       exome sequencing (Illumina HiSeq200; Illumina, San Diego, Calif.), followed by
       Amp-15 liSeq® sequencing (Ion Torrent, South San Francisco, Calif.) on a PGM®
       for identification of underlying clonal heterogeneity. Following sequencing and
       SNV analyses, the variant allele frequency (VAF) was determined for each biopsy
       sample (FIG. 51B).

Id. at 168:10-19.   I have reviewed the entirety of the ’454 patent in the context of identifying

written description support in the disclosure for whole exome sequencing and identified nothing

other than the foregoing in Example 13.

       B.     The ’454 Patent Example 13 and the Jamal-Hanjani Thesis

       387.   I have reviewed and compared disclosures of the ’454 patent (D.I. 1-1) and the

Jamal-Hanjani Thesis (Ex. 38).

       388.   It is my opinion that the limited written description for “whole exome” sequencing

in the ’454 patent is the same as a disclosure of research based on the use of “whole exome”

sequencing that is appears in the Jamal-Hanjani Thesis.

       389.   Based on comparison of the disclosures, I focus my discussion below on “Section

5.4 Multiplex PCR and targeted HiSeq sequencing” of the Jamal-Hanjani Thesis. Ex. 38 at 155-

160.

       390.   Section 5.4 includes Table 22 (Clinical characteristics of the patient cohort), Table

23 (List of selected mutations for the Natera approach), and Figure 49 (Concordance between

VAFs). Ex. 38, 155 (Table 22), 156 (Figure 49), 157-158 (Table 23).




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                                                                                Smoking
                                                     Vascular     Pleural
 Patient ID    Age    Gender     Histology   Stage                            status (pack
                                                     invasion    invasion
                                                                                 years)

   L012        69        F         LUSC         IB      y            y       Smoker (40)
   L013        68        F         LUSC         IB      y            y       Smoker (50)
   L01 5       68        M         LUSC         IA      N            N       Smoker (100)
   L017        61        F         LUAD       11B       y            N       Smoker (48)


 Table 22 Clinical characteristics of the patient cohort
 Abbreviations: LUAD, lung adenocarcinoma; LUSC, lung squamous cell carcinoma.




     100




           1-+--~~~~~~~~-~-~~~~~

           1                      10                    100
                             Ion AmpliSeq VAF

Figure 49 Concorda nce betwee n VAFs
Concordance between individual mutation variant allele frequencies (VAFs) and mean VAF
(vertical line) identified by prior sequencing (W ES and Ion AmpliSeq) and the Natera approach
by direct comparison (A), and by linear regression modeling (B).




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             Gene         WES/Ion           A mpliSeq
                                                        Natera (VAF %)
             (amino       (VAF %)                                                cfDNA     Truncal/
Patient
             acid                                                                (VAF %)   Branc h
             change)      R1        R2         R3       R1       R2      R3
             BRIP1
                          14.0      6.0        8.0      22.6     7.7     10.1    3.71      Truncal
             (R173C)
             CARS
                          22.0      11.0       16.0     22.4     10.5    18.2    5.02      Truncal
             (T51A)
             CIC (E61X)   0 .1      nd         7.0      nd       nd      8.2     1.71      Branch
             FAT1
                          8.0       4 .0       1.2      9.8      4 .3    0.8     0.57      Branch
             (D924Y)
L012         KDM6A
                          10        5.0        0.8      6.3      3.5     nd      0.28      Branch
LUSC         (R4079K)
Stage 18     MLLT4
                          9.0       3.0        0.3      9.0      4 .3    0.7     0.95      Branch
Smoker       (E478Q)
(40)         NFE2L2
                          69.0      31 .0      50       73.1     39 .9   53.9    23.25     Truncal
             (E1142D)
             RASA1
                          6.5       nd         0.7      7.4      nd      0.4     nd        Branch
             (E183X)
             TP53
                          23.0      9.0        17.0     22.9     9.2     17.0    4.89      Truncal
             (R136H)
             TP53
                          22.0      8.0        16.0     21.5     8.7     22. 1   5.77      Truncal
             (Y181C)
             EGFR
                          21.4      24.8       55.2     27.1     23 .1   60.8    1.16      Truncal
             (G719A)
             EGFR
                          20.1      17.3       48.0     23.9     18.0    56.3    1.09      Truncal
             (D761Y)
             HERC4
                          0.1       3.0        6.0      0.2      1.9     5.7     nd        Branch
             (N217K)
             JAK2
L013                      0.2       11.1       6.8      0.3      2.8     6.1     nd        Branch
             (K33X)
LUSC
             MLL3
Stage 18                  0 .2      0.2        4 .1     nd       nd      6.7     nd        Branch
             (K589R)
Smoker
             MSH2
(50)                      4.8       4 .2       11.0     5.0      3.3     12.7    nd        Truncal
             (O444H)
             MTOR
                          2.0       0.6        3.0      2.4      1.4     6.0     nd        Truncal
             (Q838E)
             PLCG2
                          5.1       1.7        10.5     2.8      1.7     6.9     nd        Truncal
             (E525X)
             TP53
                          7.0       4 .3       15.6     6.1      3.8     15.4    0.4       Truncal
             (P60S)
             ALK
                          6.0       2.0        NS       7.2      1.4     NS      nd        Truncal
             (P234R)
             GABRG1
                          13.0      0.8        NS       11.8     2.0     NS      nd        Truncal
             (I279F)
             KDM6A
L015                      18.0      6.0        NS       6.5      0.9     NS      0.17      Truncal
             (S539C)
LUSC
             MLL2
Stage IA                  5.0       0.3        NS       12.4     nd      NS      nd        Branch
             (E1186X)
Smoker
             ROS1
(100)                     10.0      3.0        NS       10.8     2.9     NS      0.15      Truncal
             (Y891C)
             SLC39A4
                          14.0      nd         NS       18.6     nd      NS      nd        Branch
             (A546T)
             TP53
                          19.0      3.0        NS       12.6     2.5     NS      nd        Truncal
             (G 199X)
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Ex. 38 at 155 (Table 22), 156 (Figure 49), 157-158 (Table 23).

       391.    Jamal-Hanjani Thesis Table 22 sets forth data mirroring that in ’454 patent Figure

51A. Ex. 38 at 155 (Table 22); D.I. 1-1 at Fig.51A.

       392.    Jamal-Hanjani Thesis Table 23 sets forth data regarding WES/Ion Ampliseq (VAF

%) and Natera (VAF%) mirroring that in ’454 patent Figures 51B and 53A. Ex. 38 at 157-158

(Table 23); D.I. 1-1 at Figs 51B, 53A-B.

       393.    Jamal-Hanjani Thesis Figure 49 appears the same as ’454 patent Figure 54B.

       394.    I have also considered other relevant portions of the Jamal-Hanjani Thesis,

including lists of genes location referred to in Example 13, which are identical. Ex. 38 at 68-70;

D.I. 1-1 at Figs.51B, 53A-B.

       395.    Based on my comparison of the work reported in the Jamal-Hanjani Thesis and

’454 patent Example 13, it is my opinion that research reported in the Jamal-Hanjani Thesis is

disclosed in the ’454 patent in Example 13.

       C.      The UCL Contribution To The Claims

       396.    As I explain above, the sole support in the specification for “whole exome”

sequencing as recited in the claims appears in Example 13, and this example in the patent matches

the disclosure in Chapter 5 of the Jamal-Hanjani thesis. For several reasons, it is evident that

researchers at UCL, including at least Dr. Jamal-Hanjani, contributed to the conception of the

approach in Example 13, including the use of whole exome sequencing and analysis of cell-free

DNA to detect tumor-specific mutations.




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               1.      The Jamal-Hanjani Thesis Itself

       397.    I start with the Jamal-Hanjani thesis itself. The fact the content of Example 13

matches Chapter 5 of the Jamal-Hanjani Thesis is evidence that she made a significant contribution

to the claimed inventions of the ’454 patent.

       398.    Beyond this, the thesis states that Dr. Hanjani wrote the protocol for the TRACERx

study (without input from Natera), which started in April 2014:

       I wrote and developed the protocol for this study under the guidance of my
       supervisor during the production of this thesis, with the input of the TRACERx
       consortium and the support of the UCL Cancer Trials Centre (Alan Hackshaw,
       Yentig Ngai, and Natasha Iles). This study started recruitment in April 2014, and
       is currently open in London, Manchester, Leicester, Birmingham, Aberdeen, and
       Cardiff.

Ex. 38 at 26. The protocol included determining whether cfDNA includes mutations found in

tumor sequencing. Id. at 25 (“Surgically resected primary NSCLC tumours and associated lymph

nodes, surplus to diagnostic requirements, will be subjected to multi-region sampling and

subsequent WES and/or WGS.”). The protocol also involved tracking those mutations over time

in cell free DNA to monitor residual disease. Id. at 26 (“To determine if cfDNA and CTCs can

be used to track actionable mutations to guide therapeutic intervention, monitor residual disease

and predict tumour recurrence.”).

       399.     Given that Dr. Hanjani wrote the protocol and research plan involving whole

exome sequencing and monitoring of cell-free DNA in mutations (without input from Natera), it

seems clear that she would have made a significant contribution to the alleged inventions of the

’454 patent, which include steps pertaining to these very concepts.

       400.    Consistent with the foregoing, the Materials and Methods section of the Jamal-

Hanjani thesis describes how Dr. Hanjani provided variants and samples for to collaborators,

including Natera, for processing and that it was her that lab analyzed the results:
                                                164




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       2.12 cfDNA analyses

       2.12.1 Selection of mutations

       Non-silent mutations identified by WES and subsequently validated by Ion
       AmpliSeq sequencing were considered for detection in cfDNA. The majority of
       the mutations investigated were SNVs, but in some cases indels were tested and in
       one case an EML4-ALK translocation was tested (collaboration with Illumina). All
       approaches involved multiplex PCR and PCR primers were designed using the
       specified genomic coordinates for the selected mutations. In order to address the
       question as to whether the heterogeneous genetic landscape of a tumour could be
       explored using cfDNA, both truncal and branch mutations were selected. cfDNA
       analyses involved collaborations with companies outside of our laboratory (as
       described below), whereby cfDNA extracted at diagnosis from 2ml of plasma for
       each patient was sent to these companies along with specified mutations for
       detection. The results of these experiments were analysed in our laboratory.
       Significant associations between VAFs for selected mutations in these analyses
       were tested for using the Mann-Whitney U test.

Id. at 53. The foregoing further shows that Dr. Jamal-Hanjani made a significant contribution to

the claims with regard to sequencing of tumor mutations and subsequent monitoring of such

mutations in cell-free DNA. Indeed, it appears she was not just conceiving of the experiments, but

also participating in the analysis of the results to confirm the utility of the approach.

               2.      Testimony From Dr. Zimmermann

       401.    I also understand that Natera made Dr. Bernhard Zimmerman, a named inventor on

Natera’s patents, available to testify as its corporate representative regarding Natera’s

collaboration with UCL. His testimony further confirms my opinions.


       -
       402.    For instance, section 5.4 of the Jamal-Hanjani thesis discloses work to detect

mutations in cfDNA. As the Jamal-Hanjani thesis explains, the mutations used were those that

were identified using whole exome sequencing. See Ex. 38 at 158 (Table 23 caption, “List of

mutations and variant allele frequencies (VAFs) identified using WES/AmpliSeq sequencing and

the Natera approach.”). As Dr. Zimmerman explains, this work was not Natera’s alone, but was

the product of collaboration between Natera and Dr. Jamal-Hanjani:
                                                 165




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       Q. Okay. And 5.4 this is the collaboration between Natera and Hanjani; is that
       correct?

       A. And what.

       Q. 5.4. Section 5.4 on page 155?

       A. That is correct, yes.

Ex. 35 (Zimmermann Tr.) at 55:10-14.

       403.       As Dr. Zimmerman stated, the whole exome sequencing in Example 13 was done

by Jamal-Hanjani and Example 13 was a product of collaboration between Natera and UCL,

wherein Natera allegedly did the cell-free DNA analysis:

       Q. The whole exome sequencing to identify the signatures, that was what? Was
       performed by Dr. Jamal‐Hanjani and her team, correct? I think you were pretty
       clear about that before.


       -
       A. Yes.

       Q. Okay. And in terms of working on Example 13 you'll agree that was the product
       of collaborative work between UCL and Natera?

       A. Well, it was a product of a collaboration, right where we did ‐‐ did ‐‐ we
       performed the analysis of the cell‐free DNA.

Id. at 87:13-20. He confirmed this multiple times:

       Q. Do you see the research plan that was exchanged between Dr. Jamal‐Hanjani
       and Robert Pelham has the reference to "whole exome sequencing" in the third
       paragraph about midway through it? Do you see it right before Footnote 3?


       -
       A. Yeah.

       Q. And then the attribution for the whole exome sequencing, that's ‐‐ in this plan
       is to the Jamal‐Hanjani PLOS publication?


       -
       A. Yes.

Id. at 94:1-10.

       In view of the foregoing evidence, it is my opinion that researchers at UCL would have

       made a significant contribution to the claims of the ’454 patent, including by conceiving

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                             CONFIDENTIAL MATERIAL OMITTED



        of the use ofwhole-exome sequencing of tumor tissue followed by the analysis of cell-free

        DNA to detect tumor-specific mutations.        Also, I am informed that conception, as

        demonstrnted here, indicates inventorship.

xm. INVALIDITY UNDER 35 u.s.c.                           §    112-LACK          OF     WRITTEN
        DESCRIPTION

        404.    It is my opinion that to the extent the claims of the '454 and '035 patents are not

invalid as being obvious, they are invalid for lack of written description.

        405.    As to the '454 patent specifically, I note that independent claims of the '454 patent

recite the step of:

        performing whole exome sequencing or whole genome sequencing on a tumor
        sample of the subject to identify a plurality of tumor-specific SNV mutations;

D.I. 1-1 at claims 1, 14. Thus, thus the claims recite the use of either "whole exome" or ''whole

genome" sequencing.

        406.    There is, however, no description of "whole genome sequencing" in the '454 patent.

Although the description for Figure 51B refers to ''whole genome sequencing," this is an error

because Figure 51 is actually only "whole exome" sequencing. Dr. Zimmennan confumed that

this is the case:




        407.    One can fin1her confum this by comparing the data that appearn in Fig. 51b of the

'454 patent to the data that appears in Table 23 of the Jamal-Hanjani thesis. As one can see, the

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data in the Jamal-Hanjani Thesis was generated by “WES,” which is “whole exome sequencing,”

not “whole genome sequencing.” Ex. 38 at 157 (Table 23). This data matches exactly what is in

Figure 51b of the patent, confirming that Figure 51b of the patent is showing whole exome

sequencing data, not whole genome sequencing data.

       408.    Thus, the claims lack written description because there is no description in the ’454

patent of the “whole genome sequencing” claim element.

       409.    The claims of the ’035 patent and ’454 patents are also invalid for failure to describe

techniques of PCR amplification without the use of techniques for selecting primers.

       410.    The claims of the ’035 and ’454 patents both recite steps related to performing PCR

on multiple nucleic acid targets in the same reaction volume at the same time, a process referred

to as “multiplex PCR.” See D.I. 1-2 at 2:65-3:4; D.I. 1-1 at 58:40-46 (“multiplex amplification

reaction...such as PCR”).

       411.    For the ’454 patent, claim 1 recites

       performing targeted multiplex amplification to amplify 10 to 500 target loci each
       encompassing a different tumor-specific SNV mutation from cell-free DNA
       isolated from a plasma sample of the subject or DNA derived therefrom to obtain
       amplicons having a length of 50-150 bases, wherein the target loci are amplified
       together in the same reaction volume

D.I. 1-1 at claim 1.

       412.    For the ’035 patent, claim 1 recites

       amplifying the tagged products one or more times to generate final amplification
       products, wherein one of the amplification steps comprises targeted amplification
       of a plurality of single nucleotide polymorphism (SNP) loci in a single reaction
       volume

D.I. 1-2 at claim 1.

       413.    It is my understanding that in a co-pending case involving organ transplant, Natera

put forth the position that their patents, which are in the same family as the patents in this case,
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cover techniques for multiplex PCR with an unlimited number of randomly selected targets (i.e.,

without the use of any techniques for loci/primer selection) that supposedly yields usable nucleic

acid for high throughput sequencing. The claims for the patents in this case also include techniques

for multiplex PCR. I understand that Natera may be bound to that position in this case. If so, the

patents in this case, nor any of the family member patents to the patents in this case, disclose such

a technique for multiplex PCR. Rather, the inventors were in possession solely of techniques that

involved target loci selection and primer design for achieving multiplex PCR.

       414.    As an initial matter, as I explain above in connection with obviousness, the

individual concepts recited in the claims, such as multiplex amplification, molecular barcodes, and

sequencing amplicons were all known in the art. Natera has acknowledged that these were not

new things, as I explain in Section X. Therefore, to the extent there is anything inventive in the

claims of the asserted patents, it must reside in the combination of recited elements. Having

reviewed the patents, however, I do not believe there is any embodiment that discloses the elements

of the claimed inventions of the ’454 or ’035 Patents as arranged in the claims. This alone

establishes that the inventors were not in possession of the claimed inventions.

       415.    For example, the ’454 patent does not disclose an example that discusses

sequencing a tumor sample and then obtaining any depth of read for sequenced cell-free DNA. As

for the ’035 patent, claim 1 requires the use of “universal tail adaptors,” which is not a term used

or defined anywhere in the specification, let alone in conjunction with the other steps of claim 1

in any kind of example. This establishes that the inventors were not in possession of the claimed

inventions.




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       416.    As discussed, to the extent the claims are not invalid as obvious, the specification

also makes clear to the skilled artisan that the inventors were solely in possession of techniques

that involved target loci selection and primer design.

       417.    First, as recited above, the claims of the ’454 and ’035 patents recite inter alia steps

related to performing PCR on multiple nucleic acid targets in the same reaction volume at the same

time, a process referred to as “multiplex PCR.” Specifically, claim 1 of the ’454 patent, the sole

asserted independent claim, recites “performing targeted multiplex amplification to amplify 10 to

500 target loci each encompassing a different tumor specific SNV mutation from cell-free DNA.”

D.I. 1-1 at 171:33-34. Likewise, claim 1 of the ’035 patent, the sole asserted independent claim,

recites amplifying tagged nucleic acid samples “wherein one of the amplification steps comprises

targeted amplification of a plurality of single nucleotide polymorphism (SNP) loci in a single

reaction volume” and sequencing the plurality of SNP loci, wherein the plurality comprises “25-

2,000 loci associated with cancer.” D.I. 1-2 at 249:43-62.

       418.    As an example of disclosures of only techniques that involved target loci selection

and primer design, the very first sentences of the Detailed Description of the invention explained

that the alleged invention is about targeting sequences for amplification to avoid undesirable side

products like primer dimers. As the specification explains, the “present invention is based in part

on the surprising discovery that often only a relatively small number of primers in a library of

primers are responsible for a substantial amount of the amplified primer dimers that form during

multiplex PCR reactions.”      Id. at 46:37-41.     Accordingly, the specification provides that

“[m]ethods have been developed to select the most undesirable primers for removal from a library

of candidate primers.” Id. at 46:41-43. “By reducing the amount of primer dimers to a negligible

amount…these methods allow the resulting primer libraries to simultaneously amplify a large

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number of target loci in a single multiplex PCR reaction.” Id. at 46:43-47. As such, the

specification discloses that because “the primers hybridize to the target loci and amplify them

rather than hybridizing to other primers and forming amplified primer dimers, the number of

different target loci that can be amplified is increased.” Id. at 46:47-451.

       419.    Further confirmation that the inventors were solely in possession of techniques that

involved target loci selection and primer design is established in the specification’s disclosure that

it is essential to remove such primer-dimers by selecting primers to avoid primer dimers: “[a]t high

multiplexing it is not possible to eliminate all spurious interactions, but it is essential to remove

the primers or pairs of primers with the highest interaction scores in silico as they can dominate an

entire reaction, greatly limiting amplification from intended targets.” Id. at 54:46-50; D.I. 1-1 at

108:18-22. Likewise, “when multiple pairs are added to the same PCR reaction, non-target

amplification products may be generated, such as amplified primer dimers. The risk of generating

such products increases as the number of primers increases.            These non-target amplicons

significantly limit the u s e of the amplified products for further analysis and/or assays. Thus,

improved methods are needed to reduce the formation of non-target amplicons during multiplex

PCR.” D.I. 1-2 at 3:6-14; see also id. at 47:53-55, 96:27-30; see also D.I. 1-1 at 106:2-6.

Additionally, the patents explain that without target loci selection and primer design techniques,

the PCR reaction yields essentially nothing but primer dimer: “Sequencing of a 1042-plex without

design and selection of assays resulted in >99% of sequences being primer dimer products.” D.I.

1-2 at 96:28-30. If the inventors were in possession of techniques that did not require target loci

selection and primer design for use with the claimed techniques, they would not state that such

techniques are “essential” and point out that without the use of such techniques the yield is almost

nothing but primer dimer.

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       420.    In fact the specification relies on the avoidance of primer side products to

distinguish the prior art. The specification identifies the problem of “[h]ighly multiplexed PCR

[that] can often result in the production of…unproductive side reactions such as primer dimer

formation.” Id. at 48:7-10. Positing the alleged invention as a solution to this problem, the

specification provides that the invention is an “alternative to microarrays” for sequencing, since

the invention provides for the “high level of multiplexing with minimal nontarget amplicons that

has now been achieved.” Id. at 47:40-49.

       421.    Moreover, the specification frames the alleged invention’s removal of “problematic

primers, that is, those primers that are particularly likely to f[o]rm dimers” as the element that

“unexpectedly enabled extremely high PCR multiplexing[.]” Id. at 48:14-17; see also id. at 48:32-

36 and D.I. 1-1 at 105:64-106:1 (“Empirical data indicate that a small number of ‘bad’ primers are

responsible for a large amount of non-mapping primer dimer side reactions. Removing these ‘bad’

primers can increase the percent of sequence reads that map to targeted loci.”); D.I. 1-2 at 48:30-

32 (disclosing that there “are a number of ways to choose primers for a library where the amount

of non-mapping primer dimer...products are minimized.”). In this way, the patentee distinguished

the invention from the prior art by directly connecting the removal of the primers that cause primer

dimers as something “unexpected.” Id. at 48:10-13.

       422.    The increase in amplification accuracy and efficiency is the stated solution to the

problem the patentee identified in conventional DNA amplification techniques in the Background.

Id. at 2:64-3:13. For example, the specification discloses that, in “systems such as sequencing,

where performance significantly degrades by primer dimers…greater than 10, greater than 50, and

greater than 100 times higher multiplexing than other described multiplexing has been achieved”



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due to the selection of primers that “hybridize to the target loci and amplify them rather than

hybridizing to other primers and forming primer dimers[.]” Id. at 48:18-24.

       423.    The individual embodiments disclosed in the specification again emphasize

avoiding primer side products:

       In various embodiments, less than 60, 50, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1,
       or 0.05% of the amplified products are primer dimers.

D.I. 1-2 at 8:60-63 (emphasis added).

       In some embodiments, the library includes primers that simultaneously amplify at
       least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
       19,000; 20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
       target loci such that less than 60, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or
       0.05% of the amplified products are primer dimers.

Id. at 19:1-9 (emphasis added).

       In some embodiments, ΔG values for each possible combination of two primers
       (each possible primer dimer) in a library are all equal to or greater than -20, -18, -
       16, -14, -12, -10, -9, -8, -7, -6, -5, -4, -3, -2, or -1 kcal/mol.

Id. at 19:54-62 (emphasis added).

       In some embodiments, (i) less than 60% of the amplified products are primer
       dimers and at least 40% of the amplified products are target amplicons, (ii) less
       than 40% of the amplified products are primer dimers and at least 60% of the
       amplified products are target amplicons, (iii) less than 20% of the amplified
       products are primer dimers and at least 80% of the amplified products are target
       amplicons, (iv) less than 10% of the amplified products are primer dimers and at
       least 90% of the amplified products are target amplicons, or (v) less than 5% of the
       amplified products are primer dimers and at least 95% of the amplified products
       are target amplicons.

Id. at 22:3-14 (emphasis added).

       424.    The examples in the patents further confirm that the inventors were in possession

solely of techniques that utilized target loci selection and primer design for multiplex PCR. All of

the working examples use such techniques. I was unable to identify any working example in the

patent that did not use the techniques for targeted loci selection and primer design that are disclosed
                                                 173




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in the specification. If the inventors were in possession of techniques for carrying out large scale

multiplex PCR that would generate usable nucleic acid for high throughput sequencing and that

did not involve loci/primer selection techniques, they would have disclosed such techniques and

would have provided a working example

       425.    As to the ’035 patent specifically, the level of written description support is

particularly thin in my opinion. The concept of a “universal tail adaptor” is never mentioned in

the entirety of the specification. I could not identify any description of a “universal tail adaptor”

being used in the context of an embodiment that corresponds to the claims.

       426.    In view of this, there is unsurprisingly no disclosure in the ’454 and ’035 patents of

a method for carrying out the claimed multiplex PCR without the primer design approaches.

Therefore, it is my opinion that ’454 and ’035 patents are invalid because the claims lack written

description support for multiplex PCR amplification that does not utilize any techniques for

selection of primers to avoid primer side products, such as primer dimers.

XIV. NATERA’S SIGNATERA™ ASSAY

       427.    I understand that Dr. Metzker is of the opinion that SignateraTM practices the ’454

and ’035 patents. D.I. 13 ¶ 124.

       A.      SignateraTM is Not Shown to Practice the ’454 Patent

       428.    Dr. Metzker sets forth the basis for SignateraTM practicing claim 1 of the ’454 patent

relying on various exhibits he identifies as disclosing or teaching elements of the claim. Id. ¶¶

124-131.

       429.    Having considered the cited evidence, I disagree that Dr. Metzker has set forth a

basis for SignateraTM practicing claim 1 of the ’454 patent. For example, Dr. Metzker fails to



                                                174




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establish the “amplicons having a length of 50-150 bases” in paragraphs 127 to 129, in which he

addresses:

               Claim 1[b]: performing targeted multiplex amplification to
               amplify 10 to 500 target loci each encompassing a different tumor-
               specific SNV mutation from cell-free DNA isolated from a plasma
               sample of the subject or DNA derived therefrom to obtain
               amplicons having a length of 50-150 bases, wherein the target loci
               are amplified together in the same reaction volume; and

Id. ¶¶ 127-129. Dr. Metzker relies on Signatera White Paper (D.I. 13-17), Coombes (2019) (D.I.

13-19), Christensen (2019) (D.I. 13-21), Kotani (2023) (D.I. 13-22), Reinert (D.I. 13-18), and

Kirkizlar (2015) (D.I. 13-2). D.I. 13 ¶¶ 127-129. Paragraph 127 of Dr. Metzker’s declaration is

silent as to amplicon length. D.I. 13 ¶ 127 (citing D.I. 13-17 at 2).

       430.    Paragraph 128 of Dr. Metzker’s declaration states:

               Coombes (2019), Christensen (2019), and Kotani (2023), which all
               used Signatera™, illustrate the presence of this claim limitation in
               Signatera™. For example, Coombes (2019), Christensen (2019),
               and Kotani (2023) performed targeted multiplex amplification in
               the same reaction volume to amplify 16 target loci each
               encompassing a different tumor-specific SNV mutation from cell-
               free DNA isolated from a plasma sample and sequencing the
               amplicons to generate sequence reads having a length of 50
               bases.164
               164
                  See Coombes (2019) at Abstract, 4256-4258, 4261, Figure 1
               and legend, Figure 2 and legend, Supplementary Data at 1-2; see
               also Christensen (2019) at 1548-1549, Figure 4 and legend, Data
               Supplement at 3; Kotani (2023) at Methods, citing to Reinert
               (2019); see Reinert (2019) at eMethods 6.

D.I. 17 ¶ 128. Having reviewed the cited exhibits carefully, I determine that Coombes (2019)

discloses that “[s]equencing was performed on an Illumini HiSeq 2500 Rapid Run with 50 cycles

of paired-end reads using the Illumina Paired End v2 kit with an average read depth of >100,000

per amplicon.” D.I. 13-19 at 11-12 (Coombes (2019) at Supplementary Data at 1-2).


                                                175




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       431.    It is my opinion that Coombes (2019)’s disclosure of 50 cycles of paired-end reads

does not establish a basis for Signatera employing “amplicons having a length of 50-150 bases”

because the number of cycles of paired-end reads is a measure of how many sequencing cycles are

conducted to generate sequence reads, and not of the length of the amplicon that is being

sequenced. An amplicon being subjected to sequencing could be shorter than fifty bases or longer

than 150 bases. Further, Dr. Metzker provides no explanation or reasoning relating to amplicon

length. D.I. 17 ¶ 128.

       432.    The other cited portions of Coombes (2018) are also silent as to the length of

amplicons. D.I.13-19 at 2 , 3-5, 11-12 (Coombes (2019) at Abstract, 4256-4258, 4261, Figure 1

and legend, Figure 2 and legend, Supplementary Data at 1-2).

       433.    Christensen (2019), likewise, discloses that “[s]equencing was performed on an

Illumina HiSeq 2500 Rapid Run with 50 cycles of paired-end reads using the Illumina Paired End

v2 kit” (D.I. 13-21 at 16 (Data Supplement at 3)), with the other cited portions also being silent as

to the length of amplicons (D.I. 13-21 at 3-4, 8 (Christensen (2019) at 1548-1549, Figure 4 and

legend).

       434.    Kotani (2023) and Reinert (2019) are similarly limited, with Reinert (2019)

eMethods 6 having the same disclosure that “[s]equencing was performed on an Illumina HiSeq

2500 Rapid Run with 50 cycles of paired-end reads using the Illumina Paired End v2 kit,” with the

other cited portions also being silent as to the length of amplicons. D.I. 13-22 (Kotani (2023));

D.I. 13-18 (Reinert (2019)). Also, D.I. 13-18, as filed by Natera, does not include eMethods 6.

D.I. 13-18; Ex. 59 (Reinert eMethods).

       435.    Paragraph 129 of Dr. Metzker’s declaration states:



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                 Kirkizlar (2015) explains that Signatera employs multiplex PCR in
                 a single reaction volume to amplify a bespoke set of targets
                 identified from a patient’s tumor sample.165 The bespoke
                 amplification products from the multiplex PCR “were designed to
                 have a maximum amplicon length of 75 bp” (i.e., 75 bases).166
                 165
                       See Kirkizlar (2015) at 409.
                 166
                       Id.

D.I. 17 ¶ 129.

       436.      It is my opinion that Kirkizlar does not establish a basis for Signatera employing

“amplicons having a length of 50-150 bases” because there is no showing that what is described

is Signatera, and I disagree with Dr. Metzker’s opinion that Kirkizlar (2015) provides information

about Signatera. Id. ¶ 129. First, the multiplex PCR in Kirkizlar differs dramatically from what

is employed in Signatera where Natera and Dr. Metzker repeatedly describe Signatera as

employing a 16-plex PCR reaction. Id. 17 ¶¶ 119, 121; D.I. 13-17 at 2. In contrast to Signatera,

in Kirkizlar, the PCR assay is “massively multiplexed PCR” (mmPCR) in which “3168 SNPs were

amplified using one primer pair for each SNP.” D.I. 13-2 at 4 (Kirkizlar at 409). In my opinion,

such a dramatic difference in multiplex alone establishes that the mmPCR disclosed is not

Signatera. Second, Kirkizlar was published in October 2015, while Natera did not launch

Signatera until 2017. Id. at 2 (indicating publication in 2015: “© 2015 Published by Elsevier Inc.

on behalf of Neoplasia Press, Inc.”); D.I. 1 ¶ 17 (“Building on these innovations, in 2017, Natera

launched…Signatera®”). This is also contrary to the disclosed assay using mmPCR being

Signatera. Third, having reviewed Kirkizlar carefully, there is no mention of Signatera in

Kirkizlar. D.I. 13-2. This is also contrary to the disclosed assay using mmPCR being Signatera.

In sum, it is my opinion that what Kirkizlar discloses is not Signatera.




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       437.    It is further my opinion, that because Kirkizlar does not disclose Signatera, but

rather a different assay using mmPCR, Kirkizlar provides no basis for Signatera employing

“amplicons having a length of 50-150 bases.”

       438.    Accordingly, with no basis provided for Signatera employing “amplicons having a

length of 50-150 base,” as required by claim 1, it is my opinion that it is not shown that SignateraTM

practices the ’454 patent.

       B.      SignateraTM is Not Shown to Practice the ’035 Patent

       439.    Dr. Metzker sets forth the basis for SignateraTM practicing claim 1 of the ’035 patent

relying on various exhibits he identifies as disclosing or teaching elements of the claim. D.I. 17

¶¶ 132-137.

       440.    Having considered the cited evidence, I disagree that Dr. Metzker has set forth a

basis for SignateraTM practicing claim 1 of the ’035 patent. For example, for Claim 1[b]:

“amplifying the tagged products…, wherein one of the amplifying steps introduces a barcode and

one or more sequencing tags,” Dr. Metzker again relies on Kirklizar:

               In Signatera, one or more sequencing tags are added during one of
               the amplification steps that also introduces the barcode in the
               Signatera™ assay. Kirkizlar (2015) explains that Signatera
               employs multiplex PCR in a single reaction volume to amplify a
               bespoke set of targets identified from a patient’s tumor sample.186
               The bespoke amplification products are further amplified by a
               barcoding PCR reaction, which adds “sequencing tags and index
               sequences,” resulting in final barcoded products.187
               186
                     See Kirkizlar (2015) at 409.
               187
                     Id.

Id. ¶ 136 (citing 13-2 at 4 (Kirklizar at 409). As discussed above, however, there is no showing

that what Kirklizar describes is Signatera, and I disagree with Dr. Metzker’s opinion that Kirkizlar

(2015) provides information about Signatera.
                                                    178




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       441.    It is further my opinion, that because Kirkizlar does not disclose Signatera,

Kirkizlar provides no basis for Signatera “amplifying the tagged products…, wherein one of the

amplifying steps introduces a barcode and one or more sequencing tags.”

       442.    Accordingly, with no basis provided for Signatera “amplifying the tagged

products…, wherein one of the amplifying steps introduces a barcode and one or more sequencing

tags,” as required by claim 1, it is my opinion that it is not shown that SignateraTM practices the

’035 patent.




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        I declare under penalty of pe1jmy the laws of the United States of America that the

foregoing is trne and coll'ect.




Date: October 18, 2023
                                                            Dr. Brian Van Ness




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                        Exhibit 6




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                           In the Matter Of:
                              NATERA v
                   NEOGENOMICS LABORATORIES, INC.




                   MICHAEL METZKER, PH.D.
                         September 26, 2023




                   LiEXITAS~




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                                                           Filed: 03/18/2024
     NEOGENOMICS LABORATORIES, INC.                                           September 26, 2023

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·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · ·FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

·3
· · NATERA, INC.,· · · · · · · · )
·4· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · Plaintiff, )
·5· · · · · · · · · · · · · · · ·)
· · · · · vs.· · · · · · · · · · )· ·Case No. 1:23-cv-629
·6· · · · · · · · · · · · · · · ·)
· · NEOGENOMICS LABORATORIES,· · )
·7· INC.,· · · · · · · · · · · · )
· · · · · · · · · · · · · · · · ·)
·8· · · · · · · · · · Defendant. )
· · _____________________________)
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14· · · · · · · · · ·VIDEOTAPED DEPOSITION OF

15· · · · · · · · · ·MICHAEL L. METZKER, PH.D.

16· · · · · · ·TUESDAY, SEPTEMBER 26, 2023, 9:25 A.M.

17· · · · · · · · · · LOS ANGELES, CALIFORNIA

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21

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23· · STENOGRAPHICALLY REPORTED BY:
· · · CHERYL HAAB SCOTT, RDR, CRR, CCRR
24· · CA CSR No. 13600
· · · WA CCR No. 3499
25· · NV CCR No. 1003


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                                                                          Filed: 03/18/2024
NEOGENOMICS LABORATORIES, INC.                                                                   September 26, 2023
                                                Page 82                                                     Page 84
·1· · · Q· · In paragraph 108, where you refer to the       ·1· · · · · ·DR. SRINIVASAN:· Objection.· Vague.
·2· ·barcoding PCR, you don't actually refer to the         ·2· · · · · ·THE WITNESS:· Well, I would disagree with
·3· ·barcode or the sequencing tag.· You, in fact, only     ·3· ·that.
·4· ·refer to the universal tail adaptor that you think     ·4· ·BY DR. WALTER:
·5· ·is there; right?                                       ·5· · · Q· · Which other step besides 1A actually refers
·6· · · A· · Well, Claim 12 is a depending claim; and       ·6· ·to a universal tail adaptor?
·7· ·it's a wherein one or more of the universal tail       ·7· · · A· · Well, Claim 1B which is amplifying the
·8· ·adaptors comprises a first universal tail adaptor or   ·8· ·tagged products; so, therefore, they've already
·9· ·a second universal tail adaptor.· That's the           ·9· ·included the universal tail adaptors.
10· ·limitation.· And in my opinion, a personal of          10· · · · · ·Also has a wherein clause:
11· ·ordinary skill in the art would have understood the    11· · · · · ·"One of the amplifying steps introduces
12· ·adaptors that come in through barcoding are -- can     12· ·barcodes or one or more sequence tags, and those are
13· ·meet that limitation.                                  13· ·introduced by universal tail adaptors."· So I think
14· · · · · ·DR. SRINIVASAN:· Counsel, I'd like to ask      14· ·it completely depends on Claim 1B as well.
15· ·when you ask the witness questions, please don't       15· · · Q· · Claim Step 1B does not include the language
16· ·laugh or demean him.                                   16· ·"universal tail adaptor"; right?
17· · · · · ·DR. WALTER:· Okay.                             17· · · A· · It does not.· It includes the tagged
18· ·BY DR. WALTER:                                         18· ·products which incorporated the universal tail
19· · · Q· · Paragraph 1A -- Claim Element 1A is the one    19· ·adaptor in step 1A.
20· ·that refers to the universal tail adaptor; right?      20· · · · · ·(Discussion off the record.)
21· · · A· · Claim 1A is tagging isolated cell-free DNA     21· · · · · ·(Defendant's Exhibit 6 was marked.)
22· ·with one or more universal tail adaptors to generate   22· ·BY DR. WALTER:
23· ·a tail product.                                        23· · · Q· · All right.· I've handed you a document
24· · · Q· · And by virtue of your opinions in Claim 12,    24· ·that's been marked as Exhibit 6, but it's entitled
25· ·you rely upon the barcoding PCR process for that       25· ·"Encyclopedia of Medical Devices Instrumentation."

                                                Page 83                                                     Page 85
·1· ·claim element; correct?                                ·1· · · · · ·Do you recognize this?
·2· · · A· · Not necessarily, no.                           ·2· · · A· · I do.
·3· · · Q· · Your opinion states:                           ·3· · · Q· · What is this?
·4· · · · · ·"According to defendant, Gale (2018) uses      ·4· · · A· · Well, it's a chapter that I wrote for the
·5· ·the eTAm-Seq technology that employs barcoding PCR     ·5· ·Encyclopedia of Medical Devices and Instrumentation,
·6· ·using universal tail adaptors."· That's what your      ·6· ·17, 18 years ago.
·7· ·report says; right?                                    ·7· · · Q· · It was in 2006, it was published?
·8· · · A· · Well, it does say that; but you're not         ·8· · · A· · Correct.
·9· ·focused on the sentence before that that says          ·9· · · Q· · Now, you state on page 384, you have a
10· ·"Gale (2018) described the InVision liquid biopsy      10· ·paragraph refers to multiplex PCR.
11· ·platform technology (used in the RaDaR assay), which   11· · · · · ·Do you see that?
12· ·includes tagging isolated cell-free DNA with one or    12· · · A· · 384, I do not see multiplex PCR.
13· ·more universal tail adaptors to generate tagged        13· · · Q· · All right.· About halfway down on the
14· ·products."· I also rely on that sentence.              14· ·left-hand column, there's a paragraph that begins
15· · · Q· · And then the very next sentence refers to      15· ·with "multiplex PCR."
16· ·the barcoding PCR; right?                              16· · · A· · I do see that paragraph.
17· · · A· · Well, it does.· As I testified, I do believe   17· · · Q· · And the last sentence reads:
18· ·that one -- one of ordinary skill in the art would     18· · · · · ·"Moreover, up to 46 primer pairs have been
19· ·have understood that the one or more universal tail    19· ·simultaneously amplified by multiplex PCR with
20· ·adaptors would include the barcoded adaptors used in   20· ·excellent success (90%) for the large-scale
21· ·the barcoding PCR step.                                21· ·identification of human single nucleotide
22· · · Q· · And it's only step 1A of the claims that       22· ·polymorphisms by hybridization to high-density DNA
23· ·refers to the universal tail adaptor.· There's no      23· ·CHIP arrays."
24· ·other step that refers to the universal tail adaptor   24· · · · · ·Do you see that?
25· ·other than step 1; right?                              25· · · A· · I do see that sentence.


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·1· · · Q· · And it was true, in fact, that as of 2009,     ·1· ·single-tube multiplex PCR of over 9,000 targets for
·2· ·it had been reported to do over 9,000 targets in a     ·2· ·sequencing; correct?
·3· ·single multiplex reaction for sequencing; correct?     ·3· · · A· · It does have a preamplification step that
·4· · · · · ·DR. SRINIVASAN:· Objection.· Lacks             ·4· ·does target at multiplex PCR.
·5· ·foundation.· Outside the scope.                        ·5· · · Q· · Of over 9,000 targets; correct?
·6· · · · · ·THE WITNESS:· I think you're referring to a    ·6· · · A· · That's what they report.
·7· ·Fluidigm patent that I've previously relied on, and    ·7· · · · · ·DR. WALTER:· All right.· Do you want to take
·8· ·I believe they reported up to 9,200 targets in a       ·8· ·a break for the lunch?
·9· ·multiplex PCR.                                         ·9· · · · · ·DR. HABERNY:· Sure.
10· ·BY DR. WALTER:                                         10· · · · · ·THE VIDEOGRAPHER:· We're going off the
11· · · Q· · For sequencing; correct?                       11· ·record.· The time is 12:06 p.m.
12· · · A· · For sequencing.· But it's a Fluidigm, and so   12· · · · · ·(Recess.)
13· ·I don't remember -- I don't think it was actually      13· · · · · ·THE VIDEOGRAPHER:· We're back on the record.
14· ·multiplex PCR.· It would have been the Singleton       14· ·The time is 12:16 p.m.
15· ·approach that we've seen in Forshew.                   15· ·BY DR. WALTER:
16· · · Q· · And what was the Singleton approach?           16· · · Q· · Okay.· Is it accurate that for the '035
17· · · A· · Where a sample would be allocated into         17· ·patent you rely on both -- strike that.
18· ·individual compartment wells, and then individual      18· · · · · ·Is it accurate that for the '035 patent, you
19· ·primer pairs would be used to amplify specific         19· ·rely upon the preamplification step of
20· ·target regions.                                        20· ·Forshew (2012) for both Claim Element 1A and Claim
21· · · · · ·DR. WALTER:· All right.· I've marked as        21· ·Element 1B?
22· ·Exhibit 7, Michael Metzker in the matter of Illumina   22· · · A· · Yes.
23· ·versus Natera in a deposition transcript from          23· · · Q· · You rely upon the same amplification process
24· ·May 29th, 2020.                                        24· ·for both elements; correct?
25· · · · · ·(Defendant's Exhibit 7 was marked.)            25· · · A· · No.

                                                Page 87                                                     Page 89
·1· ·BY DR. WALTER:                                         ·1· · · Q· · All right.· Please explain.
·2· · · Q· · You were truthful during this deposition?      ·2· · · A· · Well, I am relying on the preamplification
·3· · · A· · I absolutely was, but the date on the front    ·3· ·step for the element in Claim 1A of tagging isolated
·4· ·page isn't correct.                                    ·4· ·cell-free DNA with one or more universal tail
·5· · · Q· · What is the actual date?                       ·5· ·adaptors to generate tagged products.· I am also
·6· · · A· · It should be April 29th, 2020.                 ·6· ·relying on the preamplification step.· In 1B, where
·7· · · Q· · Okay.                                          ·7· ·the amplifying the tagged products one or more times
·8· · · A· · And that's set forth in the testimony.         ·8· ·to generate final amplification products, depend on
·9· · · Q· · Let's take a look at page 188, lines 12 to     ·9· ·the wherein, one of the amplification steps
10· ·15.                                                    10· ·comprises target amplification of a plurality of
11· · · · · ·It states:· "It is the -- are 9,216            11· ·single nucleotide polymorphisms.· But I'm also
12· ·different target nucleic acid all amplified in the     12· ·relying on the second step where the -- and I'm
13· ·same reaction."                                        13· ·looking at Forshew figure -- Forshew (2012), the
14· · · · · ·Your testimony was:· "Correct."                14· ·figure in paragraph 109 where it says "sequence
15· · · · · ·"In the preamplification" -- excuse me --      15· ·adaptor and barcode attachment."· I'm relying on
16· ·"in the pre-preamplification, that is a single tube    16· ·that PCR step meeting the claim element wherein one
17· ·of multiplex PCR reaction."                            17· ·or more of the amplification steps introduce as a
18· · · · · ·Do you see that?                               18· ·barcode in one or more sequencing tags.
19· · · A· · I do see that.                                 19· · · Q· · You understand that it's the -- your
20· · · Q· · Okay.· That was your testimony at the time?    20· ·contention is it's the preamplification step that
21· · · A· · It was.· And the step I was referring to is    21· ·generates the tagged products that are referred to
22· ·the next step where they are allocated into            22· ·in Claim Element 1A of the '035 patent; correct?
23· ·individual wells and amplified separately.             23· · · A· · The preamplification step is creating the
24· · · Q· · Okay.· So in the PCR -- in the Fluidigm        24· ·tagged products in Claim 1A of the '035 patent.
25· ·reference that you opined upon, that is teaching a     25· · · Q· · And then you rely upon the preamplification


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·1· ·process for subsequent step 1B that refers to          ·1· ·report, do you explain that the -- well -- let's do
·2· ·amplifying the tagged products wherein one of the      ·2· ·it this way.
·3· ·amplification steps comprises a targeted               ·3· · · · · ·For Claim Element 1A of the process of
·4· ·amplification; correct?                                ·4· ·generating the tagged products, you are relying upon
·5· · · A· · That is correct.                               ·5· ·the first cycle of the PCR preamplification;
·6· · · Q· · Okay.· Is it accurate, then, that you're       ·6· ·correct?
·7· ·taking the preamplification step and breaking it       ·7· · · A· · Yes, that would be the first time the
·8· ·into two parts:· One part that you allocate to step    ·8· ·target-specific primers will hybridize to the
·9· ·1A, and then another part that you allocate to step    ·9· ·cell-free DNA.
10· ·1B?                                                    10· · · Q· · And then for step 1B, you're relying upon
11· · · · · ·DR. SRINIVASAN:· Objection.· Vague.            11· ·the subsequent 14 cycles; correct?
12· · · · · ·THE WITNESS:· I am not breaking apart the      12· · · A· · Well, I'm only relying on those cycles that
13· ·preamplification step.                                 13· ·amplify the tagged products.
14· ·BY DR. WALTER:                                         14· · · Q· · Where, if anywhere in your report, do you
15· · · Q· · You are relying upon the entirety of the       15· ·state that you're only relying upon the first cycle
16· ·preamplification step for both step 1A to generate     16· ·for step 1A and then the subsequent 14 cycles that
17· ·the tagged products and also Claim Step 1B that        17· ·only amplify the tagged products for step 1B?
18· ·refers to amplifying the tagged products one or more   18· · · A· · Well, I generally explain it in -- first, I
19· ·times wherein one of the amplification steps           19· ·can have a chance to look at paragraph 87.
20· ·comprises targeted amplification; is that right?       20· · · · · ·So on page 47, the first sentence says:
21· · · · · ·DR. SRINIVASAN:· Objection.· Vague.            21· · · · · ·"Gale (2018) describes the InVision liquid
22· · · · · ·THE WITNESS:· I'm relying on the               22· ·biopsy platform technology (used in the RaDaR assay)
23· ·preamplification step, which includes 15 cycles. I     23· ·which includes tagging isolated cell-free DNA with
24· ·explained that, actually, in my review article that    24· ·one or more universal tail adaptors to generate
25· ·you've presented as figure -- or Exhibit 7, where      25· ·tagged products."

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·1· ·the initial PCR amplifies the genomic targets, but     ·1· · · · · ·A person of ordinary skill in the art would
·2· ·subsequent rounds of PCR begin to amplify the          ·2· ·understand how PCR works; and in subsequent rounds,
·3· ·product from the last cycle; and it's that product     ·3· ·the products of the previous round become the
·4· ·from the last cycle that now constitutes the tagged    ·4· ·template for the next cycle.
·5· ·products that are being amplified.· So that's all      ·5· · · Q· · Okay.· Where do you say anywhere in your
·6· ·happening within that preamplification step.           ·6· ·report that you're relying upon the first cycle of
·7· ·BY DR. WALTER:                                         ·7· ·the PCR to generate the tagged products, and where
·8· · · Q· · So you allocate a portion of that              ·8· ·do you point out that first cycle?
·9· ·preamplification step to the tag and process           ·9· · · A· · Well, I don't explicitly point out the first
10· ·generation, and then another portion of it to the      10· ·cycle.· It's well known how the PCR cycle works.
11· ·amplifying the tagged products; is that right?         11· · · Q· · Okay.· Now, where, if anywhere, do you state
12· · · A· · No.· I'm not allocating anything.· I'm just    12· ·in your report that you're relying upon the
13· ·describing the PCR cycle.· And it is illustrated in    13· ·subsequent 14 cycles that only amplify the tagged
14· ·figure 1 of Exhibit 7, where the first cycle of PCR    14· ·products?· Where do you say that?· Where do you
15· ·amplifies from the target sequence.· But subsequent    15· ·point out those 14 cycles?
16· ·cycles of primer extension, template denaturation,     16· · · A· · Well, I'm looking at paragraph 94, and I
17· ·and then hybridization -- all of the products now      17· ·say:
18· ·that are being amplified are from the previous         18· · · · · ·"The accused assay satisfies this claim
19· ·cycle.· And, in this case, it's the tagged products.   19· ·limitation.· For example, the RaDaR assay includes
20· · · Q· · Now, figure 1 of Exhibit 7, that's not in      20· ·amplifying the tagged products one or more times to
21· ·your report anywhere?                                  21· ·generate final amplification products wherein one of
22· · · A· · It is not.· It's one of the references that    22· ·the amplification steps comprises target -- targeted
23· ·is cited in my CV, and I do rely on my knowledge in    23· ·amplification of a plurality of single nucleotide
24· ·providing opinions in this declaration.                24· ·polymorphism (SNP loci) in a single reaction
25· · · Q· · Okay.· Now where, if anywhere in your          25· ·volume."


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                         Exhibit 10




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  CAREDX, INC. and THE BOARD OF           )
  TRUSTEES OF THE LELAND                  )
  STANFORD JUNIOR UNIVERSITY,             )
                                          )
                     Plaintiffs,          )
                                          )
        v.                                ) C.A. No. 19-567 (CFC) (CJB)
                                          ) CONSOLIDATED
  NATERA, INC.,                           )
                                          )
                     Defendant.           )

    NATERA INC.’S OPENING BRIEF IN SUPPORT OF ITS MOTION FOR
             SUMMARY JUDGMENT UNDER 35 U.S.C. § 101

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  June 11, 2020




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                                GLOSSARY OF TERMS

                TERM                                DEFINITION
  the Patents                      Collectively, U.S. Patent Nos. 8,703,652;
                                   9,845,497; and 10,329,607
  the ’652 patent                  U.S. Patent No. 8,703,652
  the ’497 patent                  U.S. Patent No. 9,845,497
  the ’607 patent                  U.S. Patent No. 10,329,607
  the Claims                       The asserted claims of the Patents:
                                   ’652 patent: claims 1-3, 6, 11-12, 14-15
                                   ’497 patent: claims 1-6, 9-10, 12, 15, 17, 19-
                                   21, 23, 25, 27
                                   ’607: all claims
  the Patentees                    The named inventors on the face of the
                                   Patents.
  CareDx                           Collectively, plaintiffs CareDx, Inc. and The
                                   Board of Trustees of the Leland Stanford
                                   Junior University
  Natera                           Defendant Natera, Inc.
  FAC                              First Amended Complaint (D.I. 74)
  DNA                              Deoxyribonucleic Acid
  cfDNA                            Cell Free DNA
  UF-#                             Uncontested Statement of Facts
  A-¶#                             Appendix A, Declaration of Professor John
                                   A. Quackenbush, Ph.D.
  B#                               Appendix of Exhibits




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  I.      NATURE AND STAGE OF THE PROCEEDINGS
          On March 6, 2019, CareDx filed a Complaint against Natera (D.I. 1)

  alleging that Prospera, Natera’s Kidney Transplant Rejection Test, infringes

  the ’652 patent and the ’497 patent. On March 12, 2020, CareDx filed the FAC and

  added the ’607 patent to the case. D.I. 74.1 At the Court’s invitation (Apr. 30, 2020

  Oral Order), Natera brings this motion for summary judgment pursuant to Federal

  Rule of Civil Procedure 56 and requests an order that the Claims are invalid

  because they are unpatentable under 35 U.S.C. § 101.

  II.     SUMMARY OF THE ARGUMENT

          The Claims are unpatentable under 35 U.S.C. § 101 because they are

  directed to detecting an undisputedly natural phenomenon using techniques the

  patentee concedes are conventional. The natural phenomenon is the presence of

  foreign genetic material—donor-specific cell-free nucleic acid or cfDNA—that is




  1
    Natera previously moved to dismiss the Complaint and FAC on the grounds that
  the Patents are invalid under 35 U.S.C. § 101. The parties’ briefing and Magistrate
  Judge Burke’s Report and Recommendation (“RR”) on Natera’s motion to dismiss
  the initial Complaint are filed at D.I. 9, 10, 15, 19, 53, 63, and 68. After Judge
  Burke issued his RR, CareDx filed the FAC. D.I. 74. While Natera’s motion to
  dismiss the initial Complaint was pending, the Court vacated the RR and denied
  Natera’s motion to dismiss as moot. Natera thereafter moved to dismiss the FAC
  (D.I. 86, 87) but then withdrew the motion. D.I. 97. Upon withdrawing Natera’s
  motion to dismiss the FAC, the Court stayed the case and scheduled early
  summary judgment briefing on patentability under 35 U.S.C. § 101. See Apr. 30,
  2020 Oral Order.

                                           1

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  released from a transplanted organ into a transplant recipient’s body.2 The

  conventionality of the claimed techniques used to detect this cfDNA cannot be

  disputed. The Patents’ written description admits “[t]he practice of the present

  invention employs, unless otherwise indicated, conventional techniques ... which

  are within the skill of the art.”3 Nowhere does the written description or claims

  “otherwise indicate” that the claimed techniques are anything other than

  conventional. And the prior and contemporaneous scientific literature from 2009

  and before confirms the same.

        The conventional techniques are:

        (i) “obtaining” a “sample” from the recipient that contains cfDNA;

        (ii) “genotyping” the transplant donor and/or recipient to develop
        genetic profiles (or “genotypes”);

        (iii) “sequencing” the cfDNA from the sample using “multiplex” or
        “high-throughput” sequencing; and

        (iv) “determining” / “quantifying” the amount of donor cfDNA.

  These techniques have been and are used to detect the natural differences

  (“polymorphisms”) between a donor’s cfDNA and a recipient’s cfDNA. But the

  Patents do not describe any non-conventional practice of these techniques or any


  2
    The ’652 patent is directed to the related but equally natural correlation between
  donor-specific cfDNA and the likelihood that the transplanted organ is failing or
  being rejected.
  3
    UF-10; B0012 at 5:36-48. All emphasis in this Motion is added unless otherwise
  noted.

                                           2

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  improvement or modification of them. The Patents’ written description admits

  these techniques—taken individually or together as a whole—were routinely

  practiced by 2009 using commercially available equipment.

        The scientific literature also shows the claimed techniques were routinely

  used before November 2009. For example, the claimed techniques were used to

  detect cell-free nucleic acids from analogous natural phenomena such as fetal

  cfDNA in a pregnant woman’s blood, tumor cfDNA in a cancer patient’s blood,

  and bacterial or viral cfDNA in an infected person’s blood. Both the Patentees and

  numerous other scientists realized that the claimed techniques could be applied to

  detect any of these natural phenomena because they share the same fundamental

  feature: the presence of cfDNA in a patient’s blood from different sources with

  different polymorphisms and different genotypes.

        Accordingly, the Patents here claim detecting yet another naturally occurring

  example of this phenomenon in the transplant context—a context that many

  scientists before 2009 recognized as a suitable application for these methods. That

  is the only distinction from the prior art that CareDx identifies. But that distinction

  is not enough to survive summary judgment. Claiming conventional methods to

  predictably detect a different (but analogous) natural phenomenon does not render

  the Claims patentable.

        Further, the U.S. Supreme Court and Federal Circuit opinions in every



                                            3

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   analogous case confirm the Claims are unpatentable. In those cases, the courts

   invalidated claims directed to detecting or correlating natural relationships

   between:

          i.     naturally metabolized drugs and safe treatment therewith (Mayo
                 Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66 (2012));

          ii.    naturally inherited paternal genes and naturally occurring fetal cfDNA
                 in a pregnant mother’s blood (Ariosa Diagnostics, Inc. v. Sequenom,
                 Inc., 788 F.3d 1371 (Fed. Cir. 2015));

          iii.   coding and non-coding sequences in the human genome (Genetic
                 Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369 (Fed. Cir. 2016));

          iv.    natural inflammatory enzymes and cardiovascular disease (Cleveland
                 Clinic Found. v. True Health Diagnostics LLC, 859 F.3d 1352 (Fed.
                 Cir. 2017)); and

          v.     naturally occurring autoimmune antibodies and autoimmune disease
                 (Athena Diagnostics, Inc. v. Mayo Collaborative Servs., LLC, 915
                 F.3d 743 (Fed. Cir. 2019)).

   Because there is no material fact in dispute, summary judgment holding the Claims

   unpatentable under 35 U.S.C. § 101 is warranted.

   III.   STATEMENT OF FACTS

          A.     Technological Background

                 1.    The Structure Of Nucleic Acids

          Nucleic acids, such as the well-known DNA and RNA, are present in all

   living things and encode information needed for cellular growth and function. A-




                                             4

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   ¶39. While there are many types of nucleic acids, DNA4 is the most relevant

   nucleic acid to the Patents. A-¶39. DNA is a double-stranded nucleic acid, and

   each strand is made up of a sequence of naturally occurring nucleotide bases. A-

   ¶40. There are four possible bases that make up DNA—adenine (“A”), cytosine

   (“C”), guanine (“G”), and thymine (“T”). A-¶40. The sequence of bases on the

   strands is unique to every individual (except identical twins). A-¶43.

                2.     Genes, Genotypes, And Polymorphisms
          Certain sequences of DNA nucleotides comprise genes that provide a code

   or blueprint for producing other molecules (such as proteins) enabling cell

   function. A-¶42. All DNA is normally located on chromosomes (threads of nucleic

   acid and protein) that are stored in the nuclei of cells. A-¶41. A specific nucleotide

   sequence that codes for a particular trait in individuals is called a “genotype,” and

   the sum of an individual’s DNA is called a “genome.” A-¶43. There are naturally

   occurring differences in genotypes, called “polymorphisms,” that make each

   individual’s genotype unique. A-¶43. One type of polymorphism is a “single

   nucleotide polymorphism” (“SNP”), wherein a different nucleotide base is present

   at a single position (“locus”) in different individuals. A-¶43.

                3.     Zygosity: Homozygosity And Heterozygosity

          Every human normally has two copies of each chromosome, one inherited

   4
    The pertinent properties of nucleic acids, such as DNA, are well-understood. See
   Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 582 (2013).

                                              5

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   from its mother and another from its father. A-¶44. “Zygosity” describes the

   similarity or difference between maternally and paternally inherited chromosomes

   at any given locus. A-¶44. An individual is “homozygous” for a particular locus if

   it has the same sequence on both its maternally inherited and paternally inherited

   chromosomes at that locus. A-¶44. An organism is “heterozygous” for a particular

   locus if the sequence on its maternally inherited chromosome differs from that of

   its paternally inherited chromosome at that locus. A-¶44.

               4.     Cell-Free DNA (“cfDNA”)
         DNA is typically found inside cells, but when cells die (via a process called

   “apoptosis”) their DNA is broken up into small fragments and released into

   circulating bodily fluids as “cell-free DNA” or “cfDNA.” UF-4; A-¶47. The

   existence of cfDNA was discovered as early as 1948. UF-3. Since that time,

   cfDNA has been studied in various contexts, including cancer, pregnancy,

   infectious disease, and transplant. UF-3-7; A-¶¶50-56.

               5.     cfDNA Genotypes In The Transplant, Prenatal, Infectious
                      Disease And Cancer Contexts
         In a variety of situations, cells in a patient having DNA that is different from

   most of a patient’s own DNA may die and release their unique genetic material

   into the patient as cfDNA. UF-4; A-¶49. For example, tumor cells in a patient

   naturally die and release abnormally mutated cfDNA into the patient’s blood. UF-

   6; A-¶54. These mutations are unique to the tumor and render its cfDNA distinct


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   from the patient’s normal cells. UF-6; A-¶¶54-55. Similarly, in pregnant women,

   cells from the fetus or placenta will naturally die and release the fetus’ unique

   cfDNA into the mother’s blood. UF-5; A-¶¶52-53. The same is true in patients

   with an infectious disease—bacterial or viral agents will naturally die and release

   their unique cfDNA into the blood of an infected patient. UF-4; A-¶56. Organ

   transplants are no different. UF-7; A-¶¶50-51. The cells of a transplanted donor

   organ will naturally die and release the donor’s unique cfDNA into the transplant

   recipient’s blood. UF-7; A-¶50. In each of these cases, the genotype of the foreign

   cfDNA (tumor, fetus, virus/bacteria, donor) will differ from the genotype of the

   patient’s own cfDNA (which also is regularly released into the patient’s blood).

   UF-5-7; A-¶57; e.g., B0013 at 7:37-46. And in each case, routine and conventional

   methods for detecting differences in the genotypes of the cfDNA can be used to

   determine their different sources. UF-5-7; A-¶57.

         In the case of organ transplants, the body of the recipient may reject the

   transplanted organ, or the organ may fail for some other reason. UF-7; A-¶51. In

   the case of rejection, the immune system of the recipient attacks the transplanted

   organ, causing the organ’s cells to die more rapidly than normal. UF-7; A-¶51. In

   the event of transplant failure, increased rates of cell death in the organ prompt the

   release of more donor-specific cfDNA into the recipient’s circulation than would

   be expected if the transplanted organ was healthy. UF-7; A-¶51. Thus, heightened



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   cell death in the transplanted organ corresponds to heightened donor-specific

   cfDNA in the recipient’s circulation. UF-7; A-¶51. As such, detecting high

   quantities of donor cfDNA indicates a greater likelihood that the transplant is

   either failing or being rejected. UF-7; A-¶51.5

                6.    Genotyping

          Genotyping is a process for determining the genetic make-up of an

   individual by examining particular portions of that individual’s DNA sequences.

   A-¶43. Common variants of different sequences or genes are called “alleles.” A-

   ¶43, 127. Genotyping is the identification of the specific allele or alleles an

   individual has inherited. A-¶43. By 2009, genotyping—including SNP

   genotyping—was a well-known, commercially available process for analyzing

   DNA in a variety of applications. UF-13-15; A-¶¶67, 79-80; B0019 at 20:31-41

   (“[g]enotyping of the transplant donor and/or the transplant recipient may be

   performed by any suitable method known in the art”).6




   5
     UF-4, 7; B0013 at 7:41-46 (“[A]s cell-free DNA or RNA often arises from
   apoptotic cells, the relative amount of donor-specific sequences in circulating
   nucleic acids should provide a predictive measure of on-coming organ failure in
   transplant patients for many types of solid organ transplantation including, but not
   limited to, heart, lung, liver, and kidney.”).
   6
     UF-8, 14-15; B0016 at 13:51-61 (explaining that genotyping including SNP
   genotyping could be performed using “existing genotyping platforms known in the
   art including the one described herein”) (internal citations to scientific literature
   omitted).

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               7.    Sequencing
         Sequencing is the process of determining the exact order of the bases in a

   DNA fragment. A-¶100. As discussed earlier, sequences can be any ordered

   combination of the bases Adenine (A), Guanine (G), Cytosine (C), or Thymine (T),

   and a DNA molecule can be anywhere from a few bases to billions of bases in

   length. A-¶40. Like genotyping, sequencing was well-known and routinely used

   before the Patents were filed (UF-16, 19; B0017 at 15:8-16:41), as were methods

   for simultaneously sequencing multiple strands of DNA in a high-throughput

   instrument. UF-18-20, 22; A-¶¶100-02. Parallel, high-throughput sequencing also

   is called multiplex sequencing, and one way to perform multiplex sequencing is via

   “sequencing-by-synthesis.” UF-22; A-¶101. Sequencing-by-synthesis involves

   enzymatically creating a DNA strand that is complementary to one being

   sequenced. A-¶101. This is done by adding one nucleotide at a time while keeping

   track of each nucleotide after it is added. A-¶101. All of these technologies were

   known as early as 1993 and have been available commercially since at least 1999.

   UF-18-20, 22; A-¶¶103-13; B0017 at 15:8-16:41 (describing commercial products

   for multiplex, high-throughput, and sequencing-by-synthesis).

         B.    The Claims




                                           9

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          The Claims7 are all directed to detecting donor-specific cfDNA circulating

   in a transplant recipient. A-¶¶27-38. In the case of the ’652 patent, once this donor-

   specific cfDNA is detected, its measured quantity is then correlated to possible

   transplant failure. Claim 1 of the ’652 patent recites a “method for detecting

   transplant rejection . . . or organ failure.” Claim 1 of the ’497 patent recites a

   “method of detecting donor-specific circulating cell-free nucleic acids in a solid

   organ transplant recipient.” And claim 1 of the ’607 patent recites a “method of

   quantifying kidney transplant-derived circulating cell-free deoxyribonucleic acids

   in a human kidney transplant recipient.”

          Although the Claims use different words at times, and some limitations use

   more words than others, the Claims nevertheless all recite the same steps for

   detection and correlation:

          ●     Obtaining/providing a biological sample containing cfDNA from
                a transplant recipient
                o See ’652 Patent Claim 1(a) (“providing a sample comprising
                  [cfDNA]”)8

                o See ’497 Patent Claim 1(c) (“obtaining a biological sample”)9

                o See ’607 Patent Claims 1(a) and (b) (“providing a plasma sample”
                  and “extracting circulating [cfDNA]”)
   7
     The Patents have a common written description and one independent claim each.
   UF-1.
   8
     ’652 patent claims 3 and 12-16 recite similar sampling and transplant-related
   limitations. A-¶¶65, 172, 186, 191.
   9
     ’497 patent claims 2, 9, 12-14, 27, and 28 recite similar sampling and transplant-
   related limitations. A-¶¶65, 175, 187, 192.

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           ●    Genotyping the transplant donor and/or recipient to establish
                profiles of genetic polymorphisms (or SNPs)

                o See ’652 Patent Claim 1(b) (“obtaining a genotype … to establish
                  a polymorphism profile”)10

                o See ’497 Patent Claims 1(a) and (b) (“genotyping … to obtain a
                  SNP profile”)11

                o See ’607 Patent Claim 1(c) (“performing a selective amplification
                  of [SNPs] … by [PCR]”); Claim 1(f) (“using markers
                  distinguishable between said [recipient and donor] . . . [that]
                  comprise [SNPs]”)12

           ●    Performing multiplex or high-throughput sequencing of the
                cfDNA to detect the genotyped polymorphisms (or SNPs)
                o See ’652 Patent Claim 1(c) (“multiplex sequencing of the [cfDNA]
                  in the sample followed by analysis of the sequencing results using
                  the polymorphism profile”)13

                o See ’497 Patent Claim 1(d) (“determining an amount of donor-
                  specific [cfDNA] by … high-throughput sequencing or [dPCR]”)14

                o See ’607 Patent Claims 1(d) and (e) (“performing a high
                  throughput sequencing reaction … compris[ing] … sequencing-
                  by-synthesis … [and] … providing sequences from said high
                  throughput sequencing reaction”) 15



   10
      ’652 patent claims 2 and 11 recite similar genotyping and polymorphism-related
   limitations. A-¶¶65, 170, 173.
   11
        ’497 patent claims 6, 15-18, 24, and 25 recite similar genotyping and
   polymorphism-related limitations. A-¶¶65, 171, 194.
   12
       ’607 patent claims 2-5 recite similar genotyping and polymorphism-related
   limitations. A-¶¶65, 172.
   13
       ’652 patent claims 4-6, and 10 recite similar sequencing-related limitations. A-
   ¶¶65, 178.
   14
       ’497 patent claims 3-5, 10, 11, 26, and 30 recite similar sequencing-related
   limitations. A-¶¶65, 179, 189.
   15
      ’607 patent claim 6 recites similar sequencing-related limitations. A-¶¶65, 180.

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         ●      Quantifying the transplant cfDNA in the sample by detecting the
                genetic differences in the sequences

                o See ’652 Patent Claim 1(d) (“determining a quantity of [transplant
                  cfDNA] based on the detection of [donor and recipient cfDNA] by
                  the multiplexed sequencing”)

                o See ’497 Patent Claim 1(d) (“determining an amount of [transplant
                  cfDNA] … by detecting a homozygous or a heterozygous SNP
                  within the [transplant cfDNA]”)

                o See ’607 Patent Claim 1(f) (“quantifying an amount of [transplant
                  cfDNA] … using markers distinguishable between … recipient
                  and … donor”).

   A-¶29.

   IV.   LEGAL STANDARD

         A.     Patentable Subject Matter
         “‘[L]aws of nature, natural phenomena, and abstract ideas’ are not

   patentable.” Mayo Collaborative Servs. v. Prometheus Labs, Inc., 566 U.S. 66, 70

   (2012) (citation omitted). Only “innovative” or “inventive” uses of natural

   phenomena are afforded patent protection.        Ass’n for Molecular Pathology v.

   Myriad Genetics, Inc., 569 U.S. 576, 595 (2013). In determining whether patent

   claims reciting natural phenomena are eligible for protection under 35 U.S.C. §

   101, two questions are asked (i.e., “steps”): (1) whether the patent is directed to the

   natural phenomenon, and if so, (2) whether the claims recite an inventive concept

   “sufficient to ensure that the patent in practice amounts to significantly more than a

   patent upon the natural law itself.” Mayo, 566 U.S. at 72-73, 77-80; Ariosa



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   Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d 1371, 1375 (Fed. Cir. 2015). “The

   inventive concept necessary at step two of the Mayo/Alice analysis cannot be

   furnished by the unpatentable law of nature (or natural phenomenon or abstract

   idea) itself. That is, under the Mayo/Alice framework, a claim directed to a newly

   discovered law of nature (or natural phenomenon or abstract idea) cannot rely on

   the novelty of that discovery for the inventive concept necessary for patent

   eligibility[.]” Genetic Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369, 1376 (Fed. Cir.

   2016).

         Further, “[t]he prohibition against patenting abstract ideas cannot be

   circumvented by attempting to limit the use of the formula to a particular

   technological environment or adding insignificant post solution activity.” Mayo,

   566 U.S. at 73 (internal quotation marks and citation omitted). Accordingly,

   “simply appending conventional steps, specified at a high level of generality, to

   laws of nature, natural phenomena, and abstract ideas cannot make those laws,

   phenomena, and ideas patentable.” Id. at 82.

         B.      Summary Judgment
            “Patent eligibility under 35 U.S.C. § 101 is a question of law.” Genetic

   Techs., 818 F.3d at 1373. However, whether something is well-understood, routine

   and conventional is a factual question. Berkheimer v. HP Inc., 881 F.3d 1360, 1369

   (Fed. Cir. 2018). Summary judgment is appropriate where there is no genuine



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   dispute of material fact as to that question. Mortg. Grader, Inc. v. First Choice

   Loan Servs. Inc., 811 F.3d 1314, 1325 (Fed. Cir. 2016) (affirming grant of

   summary judgment of patent ineligibility under Section 101); Accenture Global

   Servs., GmbH v. Guidewire Software, Inc., 728 F.3d 1336, 1346 (Fed. Cir. 2013)

   (same).

           C.   Representative Claims
           A court need not individually address claims not identified by the non-

   moving party if the court identifies a representative claim and “all the claims ‘are

   substantially similar and linked to the same abstract idea.’” Content Extraction &

   Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed.

   Cir. 2014) (citations omitted).

   V.      ARGUMENT
           The Claims are directed to detecting a natural phenomenon—donor-

    specific cfDNA from a transplanted organ that circulates in the blood of a

    transplant recipient. The ’652 patent claims are directed to the additional

    unpatentable concept of correlating the detected quantity of donor-specific

    cfDNA to transplant health—another natural phenomenon. The Claims perform

    this detection using conventional techniques—an indisputable fact in view of the

    Patentees’ admissions and the corroborating scientific literature. Settled Supreme

    Court and Federal Circuit precedent further confirm that the Claims are not patent



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    eligible,16 while recent authority upholding the patentability of certain life-

    sciences patents are inapposite. See infra Section V(D).

           A.   The Claims Are Directed To Natural Phenomena
           The Claims fail at Step One of the Mayo/Alice inquiry because they are

    directed to conventionally detecting natural phenomena—the presence of donor-

    specific cfDNA circulating in a transplant recipient’s body, and in the case of

    the ’652 patent, the relationship between that donor-specific cfDNA and the

    health or status of the donor organ. See BSG Tech LLC v. Buyseasons, Inc., 899

    F.3d 1281, 1287 (Fed. Cir. 2018) (“For an application of an abstract idea to

    satisfy step one [of the Mayo framework], the claim’s focus must be on

    something other than the abstract idea itself.”).

           To start, the Patents admit that cfDNA occurs naturally as a result of cell

    death in a transplant recipient’s body. The Patents further describe cell death in a

    transplanted organ (and the consequent release of donor-specific cfDNA) as

    something that naturally occurs more frequently when a transplant is failing. UF-

    7; B0013 at 7:40-46; 8:18-21. That admission cannot be disputed. A-¶63. The

    single nucleotide polymorphisms (“SNPs”) recited in the Claims for

    distinguishing between donor-specific and recipient cfDNA also are—again by

   16
     See, e.g., Alice Corp. Pty. Ltd v. CLS Bank Int’l, 573 U.S. 208, 217 (2014);
   Mayo, 566 U.S. at 77; Ariosa, 788 F.3d at 1373-76; Cleveland Clinic, 859 F.3d at
   1361; In re BRCA1- & BRCA2-Based Hereditary Cancer Test Patent Litig., 774
   F.3d 755, 764 (Fed. Cir. 2014).

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    the Patents’ own admission—naturally occurring genetic differences that were

    conventionally used prior to the Patents to distinguish different DNA samples to

    determine their source. UF-8-9; B0012 at 6:61-64; B0013 at 7:40-46. This

    admission also cannot be disputed. A-¶¶59-66. Detecting those natural

    phenomena, or correlating the presence of donor-specific cfDNA in a patient’s

    circulation to that patient’s transplant health, are mere observations of natural

    phenomena and nothing more. A-¶¶59-66.

           The Claims “begin and end” with the very natural phenomena they

    observe, and are thus “directed to matter that is naturally occurring.” Ariosa, 788

    F.3d at 1376. They do not create anything new or unnatural, such as new or

    altered DNA sequences, or unnatural DNA preparations. Instead, the Claims

    detect what already exists in nature.17 A-¶¶59-66. For example, claim 1(a) of

    the ’652 patent starts with “a sample comprising cell-free nucleic acids from a

    subject who has received a transplant,” and element 1(d) ends with “diagnosing,

    predicting, or monitoring a transplant status or outcome of the subject … by

    determining a quantity of the donor cell-free nucleic acids based on the detection

   17
       See, e.g., Genetic Techs., 818 F.3d at 1375-76 (finding that “the claims are
   directed to matter that is naturally occurring,” and the method resulted in “no
   creation or alteration of DNA sequences”); cf. Rapid Litig. Mgmt. Ltd. v.
   CellzDirect, 827 F.3d 1042, 1047-50 (Fed Cir. 2016) (claiming new methods for
   generating a preparation with unnaturally high quantities of fetal cdDNA);
   Illumina, Inc. v. Ariosa Diagnostics, Inc., 952 F.3d 1367, 1371-74 (Fed. Cir. 2020)
   (claiming new methods for preparing a select and unnatural population of liver
   cells).

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    of the donor cell-free nucleic acids and subject cell-free nucleic acids” in the

    sample. B0023 at 27:41-43; 27:59-63. In the ’497 patent, the preamble of claim 1

    starts with “detecting donor-specific circulating cell-free nucleic acids in a solid

    organ transplant recipient,” and ends in element 1(d) with “determining an

    amount of donor-specific circulating cell-free nucleic acids from the solid organ

    transplant in the biological sample.” B0045 at 28:2-3; 28:24-26. And in the ’607

    patent, claim 1(a) begins with “providing a plasma sample from said human

    kidney transplant recipient” and ends in element 1(e) with “quantifying an

    amount of said kidney transplant-derived circulating cell-free deoxyribonucleic

    acid in said plasma sample from said human kidney transplant recipient to obtain

    a quantified amount.” B0072 at 28:59-60; B0073 at 29:39-42. Accordingly, the

    Claims are directed to a natural phenomenon and do not pass Step One.18

           B.    The Claims Recite Only Standard, Unimproved Techniques For
                 Detecting Or Quantifying Donor-Specific cfDNA
           Patent claims that purport to “detect[] a natural law ‘with no meaningful


   18
      See, e.g., B0013 at 7:40-46; see Mayo, 566 U.S. at 77 (finding the claims
   ineligible because they “set forth laws of nature—namely, relationships between
   concentrations of certain metabolites in the blood and the likelihood that a dosage
   of a [] drug will prove ineffective or cause harm”); Ariosa, 788 F.3d at 1373-76
   (invalidating claims “directed to detecting the presence of a naturally occurring
   thing or a natural phenomenon, [cell-free fetal DNA] in maternal plasma or
   serum”); Cleveland Clinic, 859 F.3d at 1361 (finding unpatentable claims detecting
   enzyme in order to diagnose cardiovascular risk); 23andMe, Inc. v. Ancestry.com
   DNA, LLC, 356 F. Supp. 3d 889, 904-06 (N.D. Cal. 2018) (finding unpatentable
   claims that detected correlation that exists in nature).

                                            17

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   non-routine steps’” are “directed to” that natural law and are unpatentable. Athena,

   915 F.3d at 752 (quoting Cleveland Clinic, 859 F.3d at 1361). Here, the Claims

   only recite routine steps, in a routine order, to detect naturally occurring donor-

   specific cfDNA. A-¶¶67-128. This renders the Claims unpatentable.

               1.     The Claims As A Whole Recite No Inventive Concept
         There is nothing in the Claims as a whole that gives rise to an inventive

   concept “sufficient to ensure that the patent in practice amounts to significantly

   more than a patent upon the natural law itself.” Mayo, 566 U.S. at 73. “To save a

   patent” under Alice/Mayo, “an inventive concept ‘must be evident in the claims.’”

   WhitServe LLC v. Dropbox, Inc., No. 18-665-CFC, 2019 WL 3342949, at *5 (D.

   Del. July 25, 2019) (quoting and citing Two-Way Media Ltd. v. Comcast Cable

   Commc’ns, LLC, 874 F.3d 1329, 1338 (Fed. Cir. 2017)). Here, there is nothing

   evident in the written description or Claims to save them. A-¶¶67-72.

         The Patents claim only the application of conventional techniques and

   previously used combinations for detecting and quantifying cfDNA from multiple

   sources. See infra Section V(B)(2); A-¶¶67-72. In fact, the Patents readily admit

   there is nothing inventive about the techniques used to practice the Claims: “[t]he

   practice of the present invention employs, unless otherwise indicated, conventional

   techniques ... which are within the skill of the art.” B0012 at 5:36-48. The Patents

   further explain that genotyping and quantitation can be performed by sequencing,



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   which as explained in detail below, was a conventional technique performed with

   off-the-shelf commercial devices by 2009:

         Genotyping donor and recipient nucleic acids, and/or detection,
         identification and/or quantitation of the donor-specific nucleic
         acids after transplantation (e.g. polymorphic markers such as
         SNPs) can be performed by sequencing such as whole genome
         sequencing or exome sequencing.

   B0017 at 15:2-6; A-¶¶78-81. The Patents also acknowledge that its techniques

   were being used for diagnosing other conditions where DNA sequences that are

   different from a patient’s normal genotype are present in a patient’s sample, such

   as in pregnancy or cancer. B0012-B0013 at 6:57-7:46; A-¶137. The Patents

   explain:

         In all these applications of circulating nucleic acids, the presence of
         sequences differing from a patient’s normal genotype has been used
         to detect disease. In cancer, mutations of genes are a tell-tale sign of
         the advance of the disease; in fetal diagnostics, the detection of
         sequences specific to the fetus compared to maternal DNA allows for
         analysis of the health of the fetus.

   B0013 at 7:30-36 (emphasis added).

         Moreover, there is no evidence the Patentees modified the techniques the

   Patents describe as routine, conventional, and widely used in the cancer and fetal

   diagnostic fields, and even if they did, the Claims do not contain any such

   limitations. A-¶¶68-69. In fact, the evidence proves the opposite. Inventors

   Stephen Quake and Hannah Valantine admitted in a Stanford publication that their




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   transplant-focused technique was based upon a well-known combination of

   techniques used to detect fetal cfDNA in a pregnant patient:

           The current study began when Valantine noticed research by Quake in 2008
           showing that it is possible to detect fetal chromosomal abnormalities by
           sequencing cell-free DNA fragments in a maternal blood sample.

           “When I saw that, I thought, wow, this technique could probably be used to
           monitor heart rejection,” said Valantine, noting that cells damaged during
           rejection also release DNA into the circulatory system.

   B00390; A-¶138. Stanford published the same admission:

           The cell-free DNA technique hinges on the existence in the genome of
           naturally occurring regions of variation called single nucleotide
           polymorphisms, or SNPs. In 2008, Hannah Valantine, then a Stanford
           professor of cardiology, realized that a DNA-sequencing technique
           developed in Quake’s lab to pick out small quantities of fetal DNA from a
           pregnant woman’s blood might also be useful to track the fate of a
           transplanted organ.

   B0393. If the claimed techniques were being used in analogous fields before the

   Patents were filed, then their unmodified use in the transplant context cannot be

   non-conventional. A-¶139.

                 2.    The Patents And Contemporaneous Literature Establish
                       The Conventionality Of The Claimed Techniques
           The Patents repeatedly admit the conventionality of the recited methods of

   “obtaining a sample” of cfDNA, “genotyping,” “sequencing,” and “detecting” /

   “quantifying” cfDNA.19 As discussed above, the Patents even state that “[t]he


   19
     The Court previously recognized that the “language in the written descriptions of
   the . . . asserted patents suggests that the patented steps are neither new nor

                                           20

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   practice of the present invention employs, unless otherwise indicated, conventional

   techniques ... which are within the skill of the art.” UF-10; B0012 at 5:36-48. The

   Patents also state that each claimed step is “conventional” without “otherwise

   indicat[ing]” that any step is beyond the ordinary skill. UF-10; A-¶4. Indeed, there

   is no evidence in the record the Patents claim any improvements to or non-

   conventional uses of any of the claimed techniques. A-¶69.

         In fact, by November 6, 2009, the claimed techniques were a standard way

   of detecting DNA sequences that, like the donor-specific cfDNA in a transplant

   patient, differ from a patient’s normal genotype. UF-10; A-¶68. The Patents

   recount numerous “applications of circulating nucleic acids, [in which] the

   presence of sequences differing from a patient’s normal genotype has been used to

   detect disease.” B0012-B0013 at 6:67-7:29; 7:30-32; 7:40-46; 8:18-21; A-¶137.

   The Patents explain polymorphisms (including SNPs) were routinely used for

   distinguishing between and detecting one genome from another, noting “any donor

   and recipient will vary at roughly three million SNP positions if fully genotyped.”

   B0016 at 13:42-44; B0017 at 16:3-7; A-¶¶93-96. These genetic variations are

   readily assessed from a biological sample containing cfDNA, and the Patents do

   not recite any new or improved laboratory techniques for observing them. UF-11-

   32; A-¶¶129-35. Each claimed step recites techniques that were common practice

   unconventional[.]” CareDx, Inc. v. Eurofins Viracor, Inc., et al., Case No. 1:19-cv-
   01804-CFC-CJB, D.I. 53 at 2 (D. Del. Apr. 21, 2020).

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   by November 2009, and the techniques were performed in a standard order. UF-

   11-32; A-¶¶129-35.

                      i. Obtaining a Sample

         The Patents recite no improvements for “obtaining” or “providing” a sample

   containing cfDNA. UF-12, 30-31; A-¶¶73-77. Rather, the Patents state “[t]o obtain

   a blood sample, any technique known in the art may be used…” UF-12; B0014 at

   10:11-12; B0010 at 1:14-17; B0012 at 6:57-67; B0014 at 9:4-14; B0014 at 10:7-

   10; A-¶75. CareDx has never argued otherwise, and there is no evidence showing

   the Claims recite any non-conventional way of obtaining or providing a sample.

   UF-12, 30-31; A-¶77.

                  ii. Genotyping / Polymorphism Profile

         The Patents—along with contemporaneous literature—establish the claimed

   “genotyping” also was well-known and conventional by November 2009. UF-13,

   16; A-¶¶78-81. The Patents state “[g]enotyping of the transplant donor and/or the

   transplant recipient may be performed by any suitable method known in the art

   including those described herein such as sequencing … or PCR.” B0019 at 20:31-

   37; B0016 at 13:51-67; B0019 at 20:31-51; B0022 at 26:38-41; A-¶80. The

   particular methodology of genotyping in ’607 element 1(c), “selective

   amplification” to “amplif[y] … at least 1,000 [homozygous and heterozygous

   SNPs] … by PCR,” also is described in the Patents as a routine technique scientists



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   performed in 2009 using off-the-shelf equipment:

         Usable SNPs may comprise approximately 500,000 heterozygous donor
         SNPs and approximately 160,000 homozygous donor SNPs. Companies …
         currently offer both standard and custom-designed TaqMan probe sets for
         SNP genotyping that can in principle target any desired SNP position for a
         PCR-based assay …. With such a large pool of potential SNPs to choose
         from, a usable subset of existing or custom probes can be selected to serve as
         the probe set for any donor/recipient pair.

   B0016 at 13:55-67; A-¶82.

         The Patents likewise describe obtaining and using the “polymorphism” or

   “SNP” “profile” of ’652 element 1(b) and ’497 elements 1(a) and 1(b), or “using

   markers distinguishable between [recipient and donor] … compris[ing] [SNPs]”

   of ’607 element 1(f), as standard, stating “after genotyping a transplant donor and

   transplant recipient, using existing genotyping platforms know [sic] in the art

   including the ones described herein, one could identify approximately 1.2 million

   total variations between a transplant donor and transplant recipient.” B0016 at

   13:51-55; B0013 at 7:30-36 (“In all these applications of circulating nucleic acids,

   the presence of sequences differing from a patient’s normal genotype has been

   used to detect disease.”); A-¶82.

         Consistent with the Patents’ disclosures, the contemporaneous literature is

   replete with examples of commercial products for carrying out the claimed

   “genotyping,” including for profiling up to thousands of homozygous and

   heterozygous SNPs, as of the Patents’ November 2009 filing date. UF-32; A-¶¶81,



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   83-86. The Patents’ claims recite no improvements over or non-conventional ways

   of performing these established approaches to genotyping and polymorphism/SNP

   profiling. UF-13, 16, 33; A-¶¶78-87.

                  iii.   High-Throughput / Multiplex Sequencing

         The record also shows that the claimed sequencing techniques were routine

   and conventional by November 2009. UF-18-22, 34, 42. The Patents list numerous

   established commercial providers for “multiplex” and “high-throughput

   sequencing” (B0017-B0018 at 15:22-67; 16:58-17:3) and incorporate literature

   describing the standard use of these techniques. B0017-18 at 15:53-17:14; see also

   B0013 at 7:23-28; B0014 at 9:8-14; B0016 at 14:58-67; B0017-18 at 15:22-17:14;

   B0020 at 21:5-8; UF-18, 22, 34; A-¶¶100-122. Contemporaneous literature also

   confirms the conventionality of using these sequencing methods as claimed,

   including for detecting and quantifying cfDNA. UF-34, 42; A-¶100-122. Nothing

   in the Claims modifies or improves those conventional multiplex or high-

   throughput sequencing techniques. UF-23, 34, 42; A-¶123.

                  iv.    Quantification

         The Patents’ claimed steps of detecting and quantifying cfDNA were

   conventional as well. The Patents state that “[d]etection, identification, and/or

   quantification of the donor-specific markers (e.g., polymorphic markers such as

   SNPs) can be performed using [numerous techniques]… as well as other methods



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   known in the art including the methods described herein.” B0014 at 9:8-14; B0018

   at 17:41-18:53; B0018-19 at 18:56-19:2 (“Methods for quantifying nucleic acids

   are known in the art…”); B0020 at 21:5-9; A-¶125. These existing, conventional

   methods also are described in the contemporaneous literature reporting

   quantification of cfDNA, including quantification of SNPs to detect different

   genotypes (e.g., in DNA from a fetus, tumor, or infectious disease) in a patient’s

   sample. UF-16, 22; A-¶¶126-28. Again, the Claims do not modify or claim any

   improvement over those techniques. UF-16, 22; A-¶128.

                   v.    Sensitivity And Error Rate Limitations In The Claims
                         Are Inherent To The Conventional Tools Described In
                         The Patents
         Each Claim recites limitations describing test-sensitivity, detection

   thresholds, and sequencing error rates, but none of these limitations renders any of

   the Claims patent eligible. Every one of these limitations is inherent to the

   technologies described in the Patents as routine, conventional, and commercially

   available. UF-25-29, 39; A-¶¶114-21.

         First, the sensitivity limitation in claim 1 of the ’652 patent, which recites

   the “sensitivity of the method is greater than 56% compared to sensitivity of

   current surveillance methods for … CAV,” is conventional. UF-25; A-¶114-21.

   Assuming for purposes of this motion this limitation is not indefinite, it would

   refer to a degree of sensitivity inherent in the conventional methods of the claims.



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   Id. It was well-known by 2009 that the number of molecules analyzed is one

   component of sensitivity, and that higher sensitivity could be achieved by

   sequencing more molecules. UF-26-27. The Patents, in fact, disclose standard

   ways to achieve higher sensitivities using the commercially available sequencing

   equipment without any claimed modification or improvement of that equipment.

   UF-29; B0018 at 17:12-15; 17:22-25; A-¶¶114-22. The Patents do not disclose or

   claim any non-conventional uses of this known sequencing equipment. UF-25-29,

   35-39.

           Second, elements 1(d) of the ’497 patent and 1(f) of the ’607 patent—each

   reciting a minimum detection threshold for donor-specific cfDNA—are

   conventional for similar reasons.20 UF-38; A-¶114. Each Claim recites detection

   wherein donor-specific cfDNA is “at least 0.03% of the total circulating [cfDNA]

   in the biological sample.” UF-37; A-¶114. The threshold itself describes yet

   another natural phenomenon—a naturally occurring percentage of cfDNA. A-¶114.

   The ability to detect that percentage is an inherent property of the commercially

   available sequencing equipment described in the Patents, a fact the Patents

   acknowledge when noting that this “[h]igher sensitivity can be achieved simply by

   sequencing more molecules.” B0018 at 17:1-3; 17:7-13 (also disclosing that the

   commercially available equipment can detect “donor molecules when the donor

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     ’497 patent claims 19-23, and 31-33 and ’607 patent claims 7-10 recite similar
   cfDNA concentration limitations. A-¶¶144, 179, 195-96.

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   fraction is as low as 0.03%”); A-¶118. And as discussed above, it was well-known

   by 2009 that by sequencing more molecules, sensitivity will necessarily increase.

   UF-37-39. The Patents do not disclose or claim any non-conventional laboratory

   techniques for performing this element.21 UF-37-39.

           Finally, the ’607 patent’s recitation of a “sequencing error rate of less than

   1.5%” is likewise just an inherent property of the commercial sequencers readily

   available in 2009. B0017 at 16:20-21; A-¶120. In the context of the Patents, the

   sequencing error rate is an estimate of the proportion of all bases (often expressed

   as a decimal) sequenced by a sequencer that are incorrect. A-¶¶120-21. These

   errors can be caused by a combination of problems, for example, during sample

   preparation, misidentification of single base additions by the sequencer,

   background noise, or some combination of these and other factors. See A-¶¶119-

   20, 183. As of 2009, it was well-known that typical sequencing error rates for base

   substitutions varied between sequencing platforms at a rate of 0.5%-1.5%. UF-35.

   It also was well-known that it was possible to lower the sequencing error rate by

   resequencing a sample multiple times. UF-36. The Claims recite no improvement


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      See Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1342
   (Fed. Cir. 2017) (explaining that “[o]ur law demands more” than claim language
   that “provides only a result-oriented solution, with insufficient detail for how a
   computer accomplishes it”) (emphasis added); see also Two-way Media Ltd., 874
   F.3d at 1337 (finding claims patent ineligible that did “not sufficiently describe
   how to achieve these results in a nonabstract way”); Credit Acceptance Corp. v.
   Westlake Servs., 859 F.3d 1044, 1057 (Fed. Cir. 2017) (same).

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   or modification of the commercially available sequencers, and the record does not

   show that the Patentees developed (let alone claimed) any improvement or unique

   modification for reducing error rates. A-¶¶114-21.

                 3.    The Prosecution History Establishes The Conventionality
                       Of The Claimed Techniques
           The prosecution history further confirms that all of the claimed steps were

   conventional. A-¶98. During prosecution of the ’652 patent, the applicants

   submitted a declaration stating the steps can be performed using “commercially

   available kits” and “standard protocols”:

               “DNA from the samples was purified using commercially available
                kits.”

               “Sequencing libraries were constructed from cell-free DNA using
                commercially available kits and sequenced following standard
                protocols using an Illumina GAII sequencer.”

               “Genotypes of the transplant recipients were obtained from genomic
                DNA using the Illumina Omni1-Quad Beadchip following standard
                protocols.”

   B0260-61; A-¶98.22 The Patentees did not argue that obtaining a sample,

   genotyping, sequencing, or detecting/quantifying were non-conventional or new


   22
       The PTO recently rejected a pending patent application related to the Patents
   that is directed to detecting the presence of donor-specific cfDNA on the grounds
   that claimed detection steps were directed to an abstract “calculative analysis of
   data” and that claimed diagnosing steps were directed to an abstract “mental step
   that is the correlation of data and information.” B1314-16 (2019-02-13 Final
   Rejection, Application No. 14/658,061) at 4-5. The Examiner also determined that
   recited steps including “steps of providing cell-free DNA and sequencing SNPs”
   were directed to conventional, well-known elements. B1315.

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   methods. A-¶98.23

                4.     CareDx’s Statements In This Litigation Establish The
                       Conventionality Of The Claimed Techniques
           CareDx’s counsel also confirmed at the Motion to Dismiss hearing the

   Patents did not “introduce a whole new concept that was never known before to

   science”:

                [Judge Burke:] Would you acknowledge that individually, not
                only were each of those things known in the art, but that each of
                them had actually been utilized by way of trying to detect or
                measure for cell-free DNA?

                MR. REINES [CareDX Counsel]: I’m tempted to say that if
                you isolate down each step or aspect of a step—not each step at
                the element level, but if you take it word by word that there’s
                no new concept, that we have not introduced a whole new
                concept that never was known before to science in any way on
                a per word basis, I’m tempted to say, yes.

   B1383, Nov. 21, 2019 Hearing Tr. at 74:2-11.

                5.     Contemporaneous And Prior Literature Establishes The
                       Conventionality Of The Claims As A Whole
           Corroborating the Patentees’ admissions,24 prior and contemporaneous

   literature further confirms that other scientists were applying the claimed

   techniques to detect DNA sequences that differ from a patient’s normal genotype

   23
       During the prosecution of the ‘607 patent, the Patentees traversed a Section 101
   rejection, but that bears no weight here because (i) the prior art references cited by
   and relied on by the Examiner are different from the references relied on here, and
   (ii) the Examiner applied the wrong legal standard—obviousness under 35 U.S.C.
   § 103—to evaluate those references. See B1330.
   24
      See supra Section V(B)(1).

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   in a cfDNA sample, and the same techniques could be used to detect different

   genotypes regardless of the natural phenomenon. A-¶¶129-98. For example, in a

   U.S. Patent Application filed February 28, 2006 and published September 6, 2007,

   Cantor et al. described a method “used to detect fetal nucleic acid in maternal

   blood sample; circulating tumor-specific nucleic acids in a blood, urine, or stool

   sample; and donor-specific nucleic acids in transplant recipients” as well as

   “viral, bacterial, fungal, or other foreign nucleic acids in a biological sample.”

   B0401 (U.S. 2007/0207466) at Abstract; A-¶¶148-50. Cantor disclosed an

   exemplary practice of the Patents’ Claims to detect and quantify foreign (in this

   case fetal) cfDNA, including by using the same steps claimed in the Patents of

   obtaining a sample, genotyping to obtain an SNP profile, multiplex/high

   throughput sequencing, and quantifying the information. B0426-B0427 (Cantor);

   A-¶¶148-50.

           Similarly, in a U.S. Patent Application filed July 23, 2008 and published on

   April 2, 2009, Lo et al. described a method that “relates to the detection of cancer,

   the monitoring of transplantation, and the monitoring of infectious diseases.”

   B1251 (Lo U.S. 2009) at ¶ [0003]; A-¶151. Lo used analyzed “maternal and fetal

   DNA in [a] plasma sample”25 and stated the method could be used to detect

   cancer, monitor transplantation, or monitor infectious disease. B1251 (Lo U.S.


   25
        B1274 (Lo U.S. 2009) at ¶ [0289]; A-¶152.

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   2009) at ¶ [0003]; A-¶152. And the prior art method disclosed the same

   conventional steps claimed here. B1251, B1254, B1258, B1263, B1271-74 (Lo

   U.S. 2009) at ¶¶ [0003], [0059-60], [0100], [0176], [0262], [0278]; [0289]; A-

   ¶153.

           There are numerous other examples showing the Claims’ techniques

   together as a whole were known and conventional by 2009 that are further

   discussed in the Quackenbush declaration. See B0428-B0435 (Dhallan 2007);

   B0436-B0444 (Beck 2009); B0454-B0460 (Gordon 2009); B0461-B0462 (Holt

   2009); A-¶¶154-68. Accordingly, there is nothing non-conventional about the

   Claims’ recitation, as a whole, of well-known scientific techniques,26 and there is

   no evidence to the contrary. See, e.g., Ass’n for Molecular Pathology v. U.S. Patent

   & Trademark Office, 689 F.3d 1303, 1334 (Fed. Cir. 2012); A-¶¶154-68.

                 6.    The Dependent Claims Do Not Recite Inventive Concepts
           None of the dependent limitations are described in the written description as

   non-conventional. To the contrary, according to the specification and as confirmed

   by Natera’s expert Dr. Quackenbush, the dependent limitations all either add

   information about the natural phenomenon or recite conventional laboratory

   techniques. A-¶¶169-99.



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     Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1348-
   49 (Fed. Cir. 2016).

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          Dependent Claims Reciting Different Polymorphisms (’652 patent at
           claims 2, 11; ’497 patent at claims 6, 17, 25; ’607 patent at claims 2, 3, 4,
           5). As explained above, genotyping to obtain a polymorphism profile
           comprising SNPs of various quantities was well-understood, routine and
           conventional as of November 2009. UF-13-22; A-¶¶78-79, 170-73.

          Dependent Claims Reciting Types Of cfDNA and cfRNA (’652 patent at
           claim 3; ’497 patent at claim 12). As the Patents admit, it was routine and
           conventional as of November 2009 to assay any of the recited types of
           natural occurring nucleic acids using the claimed methods. UF-3-6, 16-
           17; A-¶¶174-77.

          Dependent Claims Reciting Certain Concentrations Of Cell-Free Nucleic
           Acids In The Sample (See ’497 patent at claim 20; ’607 patent at claims
           7, 8). As explained above, detecting the claimed concentrations of cell-
           free nucleic acids was an inherent feature of the standard and
           conventional methods and instruments disclosed by the Patents. See
           supra Section V(B)(2); UF-12, 34, 37-39; A-¶¶195-97.

          Dependent Claims Reciting Certain Common Modifications, Error Rates,
           Or Quality Scores Associated With Multiplexed Or High Throughput
           Sequencing (’652 patent at claim 6;’497 patent at claims 3, 4, 5, 19, 21,
           23; ’607 patent at claim 6). It is evident from the Patents, literature, and
           equipment manuals that all of these limitations were either conventional
           methods or features inherent to the techniques of the independent claims.
           UF-34-32; A-¶¶178-85 (discussing each limitation).

          Dependent Claims Reciting Further Genotyping Prior To Or
           Simultaneously With Quantifying Cell-Free Nucleic Acids (’497 patent at
           claims 15). The written description and Claims do not disclose or claim
           any non-conventional application of these genotyping limitations. A-
           ¶194. Nor do they disclose or claim improvements to conventional
           genotyping techniques as of 2009 that make this claim inventive. Id.

          Dependent Claims Reciting Organ or Species Limitations (See ’652
           patent at claims 14, 15; ’497 patent at claim 9). The Patents do not
           disclose or claim anything non-conventional or inventive about selecting
           a particular type of transplant organ (e.g., kidney, pancreas, heart, etc.).
           UF-10, 12, 17; A-¶¶186-88. Nor do the Patents state or claim they


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                invented analyzing the bodily fluid samples of human transplant
                recipients as opposed to those of some other species. Id.

            Dependent Claims Reciting Conventional PCR Or Amplification Methods
             (See ’497 patent at claim 10). As explained above, digital PCR, real-time
             PCR, and use of arrays were well-understood, routine and conventional
             as of November 2009. UF-13, 15-24; A-¶¶189-90. And performing an
             amplification reaction on donor cfDNA prior to quantifying it also was
             routine and conventional. Id.

            Dependent Claims Reciting Different Sample Types (’652 patent at
             claims 12; ’497 patent at claims 2, 27). Using patient samples from
             naturally occurring sources such as blood, serum, urine, stool, or plasma
             to extract cfDNA does not confer patentability either. UF-3-5; 11-23; A-
             ¶¶191-93. Obtaining a biological sample from a patient—from whatever
             natural source—and using it with the claimed methods was standard and
             routine by 2009. Id.

           C.      The Claims Do Not Become Patentable By Limiting The Field Of
                   Use
           By CareDx’s admission, the only purported innovation in the Claims is the

   application of the claimed method to the particular field of transplant cfDNA.27

   But that is not enough to confer patentability. “As the Supreme Court has held, ‘the

   prohibition against patenting abstract ideas [or natural phenomena] cannot be

   circumvented by attempting to limit the use of the formula to a particular

   technological environment.’” Molecular Pathology, 689 F.3d at 1334 (citing Bilski

   v. Kappos, 561 U.S. 593, 610 (2010)) (finding that “[l]imiting [a] comparison to

   just the BRCA genes or … the identification of particular alterations,” i.e.,

   27
     D.I. 17 (Furneaux Decl.) at ¶ 25 (“It was not well-known or conventional to use
   these techniques together, in 2009, in the context of non-invasive diagnostic tests
   for organ transplant rejection.”).

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   particular manifestations of natural phenomena regarding genetic mutations, “fails

   to render the claimed process patent-eligible.”). Accordingly, CareDx’s field of use

   argument cannot render the Claims patentable.

           Numerous other courts have found that limiting the field of use of

   conventional techniques to specific categories of natural phenomenon—like the

   category of donor-specific cfDNA here—is insufficient to confer patentability.28

   Genetic Techs. and Ariosa are particularly analogous. In both cases, the Federal

   Circuit held that various “physical steps” such as the “physical steps of DNA

   amplification and analysis of the amplified DNA” and “PCR to amplify and detect

   [the cell-free DNA]” were all well-understood and conventional—much like the

   physical steps of PCR/amplification, sequencing, and genotyping here. See Genetic

   Techs., 818 F.3d at 1377-78; Ariosa, 788 F.3d at 1377. This is why, in Ariosa, the

   court evaluated whether it was “well-understood, routine, and conventional

   activity” to combine the recited method steps to detect DNA in blood generally,

   not whether it was routine to apply those steps to a particular kind of DNA—

   maternal and fetal cfDNA—which was the natural phenomenon at issue there.




   28
     See, e.g., Alice, 573 U.S. at 222-23; Mayo, 566 U.S. at 84; Bilski, 561 U.S. at
   612; Affinity Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253, 1259 (Fed. Cir
   2016); Content Extraction, 776 F.3d at 1348; buySAFE, Inc. v. Google, Inc., 765
   F.3d 1350, 1355 (Fed. Cir. 2014); Exergen Corp. v. Thermomedics, Inc., 132 F.
   Supp. 3d 200, 207 (D. Mass. 2015).

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   Ariosa, 788 F.3d at 1377.29

           The same result is warranted here. The Claims are directed to a particular

   natural phenomenon—donor-specific cfDNA that circulates in the blood of a

   transplant recipient—and recite standard laboratory techniques to detect that

   natural phenomenon. A-¶¶59-199. But, as in In re BRCA, “[n]othing is added by

   identifying the techniques to be used . . . because those . . . techniques were the

   well-understood, routine, and conventional techniques that a scientist would have

   thought of when instructed” to detect and analyze cfDNA in a transplant

   recipient’s body. 774 F.3d at 764; A-¶66.

           D.    The Claims Are Analogous To Diagnostic Claims The Supreme
                 Court And Federal Circuit Have Invalidated

                 1.    Analogous Cases Confirm Unpatentability Of The Claims
           As this Court has recognized, “[t]o determine whether claims are directed

    to an abstract idea courts generally ‘compare the claims at issue to those claims

    already found to be directed to an abstract idea in previous cases.’” In-Depth Test,

    LLC v. Maxim Integrated, Prods., Inc., C.A. No. 14-887-CFC, 2018 WL

    6617142, at *4 (D. Del. Dec. 18, 2018) (quoting Enfish, LLC v. Microsoft Corp.,

    822 F.3d 1327, 1334 (Fed. Cir. 2016)). Here, comparing the Claims to those


   29
     See also In re BRCA, 774 F.3d at 764 (finding unpatentable claims that recited
   “detecting,” “amplifying,” and “sequencing” genes because those techniques did
   “nothing more than spell out what practitioners already knew—how to compare
   gene sequences using routine, ordinary techniques”).

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    previously found unpatentable by the Supreme Court and Federal Circuit further

    confirms the Claims are directed to a natural phenomenon and add no inventive

    concept. See Illumina, 952 F.3d at 1371 (“[W]e have consistently held diagnostic

    claims unpatentable as directed to ineligible subject matter.”).

         In Mayo, the Supreme Court invalidated claims “set[ting] forth laws of

   nature—namely, relationships between concentrations of certain metabolites in the

   blood and the likelihood that a dosage of a [] drug will prove ineffective or cause

   harm.” 566 U.S. at 77. Here too, the Claims set forth laws of nature—namely

   relationships between the amounts of donor-specific cfDNA detected in the blood

   and, in the case of the ‘652 patent, the likelihood that a transplanted organ is being

   rejected or failing. A-¶¶59-66.

         In Athena, the Federal Circuit found methods for detecting auto-antibodies

   produced in patients suffering from a certain autoimmune disease to be “directed

   to” a natural law, holding “[c]laiming a natural cause of an ailment and well-

   known means of observing it is not eligible for a patent because such a claim in

   effect only encompasses the natural law itself.” 915 F.3d at 752-53. Similarly here,

   the Patents claim a natural correlation to an ailment—increased levels of transplant

   donor-specific cfDNA circulating within a transplant recipient—and only well-

   known means of observing it. A-¶¶59-199.

         Similarly in Cleveland Clinic, the Federal Circuit found that claims



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   detecting “elevated levels” of a natural inflammatory enzyme called “MPO,” and

   the correlation of this MPO to the likelihood of cardiovascular disease—were

   “directed to” a natural phenomenon. 859 F.3d at 1360-61. The court found they

   were not directed to a patentable laboratory method for detecting MPO because

   “[t]he specifications of the testing patents confirm that known testing methods

   could be used to detect [the natural phenomenon], and that there were

   commercially available testing kits for [the natural phenomenon] detection.” Id. at

   1361. The same is true here, where the Claims recite detecting elevated levels of

   donor-derived cfDNA in a transplant recipient’s blood, but again recite no

   improvements over the known—and commercially available—methods recited in

   the Claims. A-¶¶73-168.

         In Ariosa Diagnostics, the Federal Circuit found claims for detecting

   naturally occurring fetal cfDNA in a pregnant woman’s blood using “method steps

   [that] were well-understood, conventional and routine” to be directed to a natural

   phenomenon. 788 F.3d at 1376-77. Specifically, the claims recited steps such as

   “PCR to amplify and detect cffDNA” that the court found conventional as of 1997.

   Id. at 1377. Here, as well, the Claims recite detecting naturally occurring quantities

   of donor-specific cfDNA in a transplant recipient’s blood without reciting any

   improvement over the well-understood, conventional, and routine detection

   methods recited in the claims. A-¶¶73-127.



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         And in Genetic Techs., the Federal Circuit invalidated a claim for detecting

   compilations of genetic sequences by taking advantage of how certain sequences

   were naturally “linked” to others. 818 F.3d at 1374-76. The Court found that claim

   to be “directed to” a natural law because it “does not purport to identify novel

   detection techniques.” Id. at 1376. Similarly here, the Patents claim methods for

   detecting selected compilations, or profiles, of genetic sequences (polymorphisms

   or SNPs) in cfDNA of a transplant recipient without identifying any new or

   improved techniques for the detection. A-¶¶67-199; see also Genetic Veterinary

   Scis., Inc. v. LABOKLIN GmbH & Co. KG, 933 F.3d 1302, 1315-18 (Fed. Cir.

   2019) (claim reciting “method for genotyping” with steps of “obtaining” a sample,

   “genotyping” a gene sequence and “detecting” specific nucleotide replacement

   were directed to natural law).

                2.    CellzDirect And Illumina Are Not Applicable
         In two recent life sciences cases, the Federal Circuit upheld the patentability

   of certain non-analogous claims. See Rapid Litig. Mgmt. Ltd. v. CellzDirect, 827

   F.3d 1042 (Fed Cir. 2016); Illumina, Inc. v. Ariosa Diagnostics, Inc., 952 F.3d

   1367 (Fed. Cir. 2020). Those cases do not apply here for at least two reasons.


                a. Unlike CellzDirect and Illumina, The Claims Here Do Not
                   Lead To An Unnatural Result Or Preparation

         First, the claims upheld in CellzDirect and Illumina claimed the use of a



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   natural phenomenon to arrive at an unnatural result, which is not true here. In

   Illumina, the claims were directed to “methods for preparing a fraction of cell-free

   DNA that is enriched in fetal DNA” by taking advantage of the fact that fetal

   cfDNA tends to be smaller than maternal cfDNA. Illumina, 952 F.3d at 1372. The

   Illumina claims recited “specific process steps” for performing DNA size

   discrimination and selectively removing DNA fragments that were above a

   specific size threshold, which thereby increased the relative amount of fetal DNA

   as compared to maternal DNA in the sample. Id. The claimed process “change[d]

   the composition of the mixture, resulting in a DNA fraction that is different from

   the naturally-occurring fraction in the mother’s blood.” Id.

         In CellzDirect, the claimed methods took advantage of the ability of certain

   liver cells to survive multiple cycles of freezing and thawing. 827 F.3d at 1045-46.

   The claimed methods took advantage of this natural survivability and claimed a

   process for preserving liver cells by preparing a select and unnatural population of

   liver cells resilient to cryopreservation. Id. at 1050-52. Specifically, the improved

   process involved freezing cells, thawing cells, removing non-viable cells, and then

   refreezing the viable cell. Id. The result of this process created an unnatural

   composition of cells not found in nature. Id. at 1048-51.

         In contrast to Illumina and CellzDirect, the Claims here do not result in any

   unnatural “preparation” or “composition.” Unlike Illumina and CellzDirect, the



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   Claims do not selectively remove, alter, or modify cfDNA to change the

   composition of the samples into something else. Altering the samples in the ways

   claimed by Illumina and CellzDirect would, in fact, stifle the purpose of the

   Claims, which is to detect naturally occurring levels of donor and recipient cfDNA

   in a transplant patient and compare naturally occurring differences between them

   to assess transplant status. A-¶¶59-66. The Claims thus do not produce something

   “different from the naturally-occurring [cfDNA] fraction,” but instead do the

   opposite—they observe a naturally occurring cfDNA fraction. Illumina, 952 F.3d

   at 1372.


               b. Unlike CellzDirect and Illumina, The Claims Here Do Not
                  Disclose Any New Or Improved Laboratory Technique

         Second, in CellzDirect and Illumina, the Federal Circuit held the claims

   recited new and improved laboratory techniques, which the Claims here do not

   recite. A-¶¶69-199. Notably, the Federal Circuit itself in Athena and Cleveland

   Clinic distinguished CellzDirect on grounds that apply equally here—the

   CellzDirect claims were targeted to a “new and useful laboratory technique.” See

   Cleveland Clinic, 859 F.3d at 1361 (distinguishing CellzDirect); Athena, 915 F.3d

   at 751-52 (same); see also Section V(B) above (demonstrating standard use of

   Patents’ recited laboratory methods). In CellzDirect, the improvement involved

   freezing and thawing viable liver cells more than once (as well as pooling cells)—



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   techniques the contemporaneous literature discouraged. CellzDirect, 827 F.3d at

   1048-49, 1051 (“Repeating a step that the art taught should be performed only

   once can hardly be considered routine or conventional”). In Illumina, the

   improvement involved setting size thresholds to segregate the cfDNA such that

   fetal cfDNA was enriched in the final preparation. Illumina, 952 F.3d at 1375. But

   here, the Patents recite no improvements or non-conventional techniques—only

   the routine and conventional techniques of obtaining a sample, genotyping,

   sequencing cfDNA, and determining/quantifying donor-specific cfDNA. That is

   confirmed by the Patentees own admission that “[t]he practice of the present

   invention employs, unless otherwise indicated, conventional techniques ... which

   are within the skill of the art.” B0012 at 5:36-49.

   VI.   CONCLUSION
         For the foregoing reasons, Natera requests the Court find the Claims of the

   Patents unpatentable under 35 U.S.C. § 101 and dismiss the FAC in its entirety

   with prejudice.




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                        CERTIFICATE OF COMPLIANCE

         I hereby certify that this brief has been prepared in Times New Roman 14-

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   the Word Count feature of Microsoft Word.



   June 11, 2020

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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 11, 2020, I caused the foregoing to be

   electronically filed with the Clerk of the Court using CM/ECF, which will send

   notification of such filing to all registered participants.

         I further certify that I caused copies of the foregoing document to be served

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                         Exhibit 12




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   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

                            ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD

                            ____________

                              Natera Inc.


                              Petitioner

                                   v.

                             Illumina, Inc.


                        (record) Patent Owner



                       Case No. IPR2018-01317

                       U.S. Patent No. 9,493,831

              ____________________________________

         DECLARATION OF MICHAEL L. METZKER, Ph.D.




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                                                               NATERA 1002

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         I, Michael L. Metzker, Ph.D., declare as follows:

I.       INTRODUCTION

         1.     I, Michael L. Metzker, have been retained as an expert witness on

behalf of Natera, Inc. (the “Petitioner”) in connection with the above-captioned Inter

Partes review (“IPR”). I understand that the petition for IPR involves U.S. Patent

No. 9,493,831 (the “’831 Patent,” (Ex. 1001)), which resulted from U.S. Application

Ser. No. 14/677,854, (the “’854 Application”) filed on April 2, 2015, on behalf of

Yue-Jen Chuu and Richard P. Rava.

II.      MATERIALS REVIEWED

         2.     I have reviewed the materials cited herein, including the following

exhibits. The materials are publications that were typically read and reasonably

relied upon by persons of ordinary skill in this field, including the bibliographic

information presented therein.

      Exhibit No.                              Description

         1001        U.S. Patent No. 9,493,831 (“the ’831 Patent”).

         1002        Declaration of Dr. Michael Metzker, Ph.D.

         1003        U.S. Pat. App. Pub. US 2010/0120038 A1 (“Fluidigm”).

         1004        U.S. Pat. App. Ser. No. 12/548,132 (“Fluidigm App”).

         1005        WO 2009/032781 A2 (“Sequenom”).

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   1009       Curriculum vitae of Dr. Michael Metzker, Ph.D.

   1010       File History of U.S. Pat. App. Ser. No. 14/677,854.

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   1022       Chamberlain et al., Deletion screening of the Duchenne
              muscular dystrophy locus via multiplex DNA amplification,
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III.   SUMMARY OF OPINIONS

       3.     In my opinion, claims 1-10, 12-22 and 24 of the ’831 Patent were

unpatentable as obvious. My opinion is based on the following four grounds:

                a. Ground 1: Claims 1-7, 10, 14-19 and 22 were obvious over

                   Fluidigm in view of the knowledge of one of ordinary skill;

                b. Ground 2: Claims 1-10, 13-22, and 24 were obvious over as in

                   Ground 1 taken together with Sequenom
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               c. Ground 3: Claim 12 was obvious as in Ground 1, together with

                  Harismendy.

               d. Ground 4: Claim 12 was obvious as in Ground 2, together with

                  Harismendy.

IV.   EXPERIENCE AND QUALIFICATIONS

      4.    I am currently Founder, President, and Chief Executive Officer of

RedVault Biosciences, LP (“RedVault”).        RedVault is a new biotechnology

company committed to creating innovative technologies to advance genomic

medicine, which I founded in April 2013.          Since starting RedVault, I have

transitioned into an Adjunct Associate Professor in the Department of Molecular &

Human Genetics and at the Human Genome Sequencing Center (“HGSC”) at the

Baylor College of Medicine. Additionally, I am an Adjunct Associate Professor in

the Department of Chemistry at Rice University.

      5.    Prior to my current positions, I was a tenured Associate Professor in the

Department of Molecular & Human Genetics and at the HGSC at the Baylor College

of Medicine. I have also been a Senior Manager at the HGSC at Baylor College of

Medicine. I have also been an Adjunct Associate Professor in the Cell & Molecular

Biology Program at the Baylor College of Medicine. Prior to my tenured positions,

I held the position of tenure-track Assistant Professor in Molecular and Human

Genetics and Senior Manager at the HGSC since November 1999 and the position


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of Adjunct Assistant Professor in Chemistry at Rice University since July 2001.

      6.    In March 2002, I founded LaserGen, Inc. (“LaserGen”), which provides

technology and reagents used in, among other things, nucleic acid sequencing

methods. From March 2002 to April 2012, I was President and Chief Executive

Officer of LaserGen, and from April 2012 to October 2012, I held the position of

Chief Technology Officer. I was also a member of the Board of Directors from

March 2002 to October 2012. I currently have no working relationship with

LaserGen. In March 2016, Agilent Technologies invested $80M into LaserGen to

develop its reversible terminator technology into a clinical diagnostic platform. In

March 2018, Agilent Technologies purchased the remaining shares of LaserGen for

$105M.

      7.    Since 1988, I have performed scientific research in the field of

molecular biology. In particular, I have extensive experience with technology

development in DNA sequencing methods including genomic DNA isolation,

polymerase chain reaction (“PCR”), fragmenting genomic DNA, genomic DNA and

complementary DNA (“cDNA”) library construction, bacterial cloning, nucleic

acids chemistry, DNA modifying enzymes, polymerase engineering, fluorescent

dyes, fluorescence imaging, and data analysis of multi-color images.          I have

extensive experience in the use and development of methods utilized to detect

sequence variation, including single nucleotide variants (“SNVs”) and single

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nucleotide polymorphisms (“SNPs”), in all organisms, with particular interest in

humans and human immunodeficiency virus (“HIV”).

      8.    My research has been devoted to developing next-generation

sequencing (“NGS”) technologies, developing novel methods to study HIV

transmission between individuals, and identifying molecular causes of novel forms

of diabetes and their treatment. My colleagues and I have been deeply involved in

PCR, DNA fragmentation, library construction, cloning, and the development of

sequencing technologies. My industrial experience entails performing analytical

chemical testing of inorganic materials (Aerojet-General), organic synthesis and

characterization of porous polystyrene beads for applications in high performance

liquid chromatography (Bio-Rad), development and applications of a robotic

platform in Sanger sequencing (Applied Biosystems), and development and

applications of high-throughput DNA sequencing to identify novel gene targets for

small molecule screening (Merck Research Laboratories).

      9.    I received my Bachelor of Science degree in Biochemistry &

Biophysics from the University of California, Davis in 1984. Between 1985 and

1988, I completed the required coursework with emphasis in Organic Chemistry as

part of the Master of Science program in the department of Chemistry at San

Francisco State University. Instead of completing this degree, I pursued a Doctor of

Philosophy in 1991 from the Department of Molecular and Human Genetics at

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Baylor College of Medicine in Houston, Texas. I received my Ph.D. in 1996 in

Molecular and Human Genetics.

      10.      From 2000 to the present, I have given lectures to graduate and medical

students in the Molecular Methods course at the Baylor College of Medicine. The

lectures are titled, cDNA and Genomic Libraries, First-generation Sequencing, and

Genotyping, and Next-generation Sequencing. From 2001 to 2003, I also gave a

lecture titled Mammalian Genome Analysis in the Mammalian Genomics.

      11.      I have also presented lectures at a variety of academic and industry

conferences.     In May 2010, I was an invited speaker at the Next-Generation

Sequencing Workshop at Lübeck University in Germany. In October 2010, I was

an invited speaker at the Centre de Regulació Genòmica (“CRG”) Symposium,

Barcelona Spain. In April 2011, I was keynote speaker at the Next-Generation

Sequencing Conference in Boston, MA. In February 2012, I gave a presentation

related to the development of a novel NGS technology at the Advances in Genome

Biology and Technology Meeting (“AGBT”) in Marco Island, FL. I was also invited

to speak at the Copenhagenomics Meeting in Copenhagen, Denmark and the

American Society of Microbiology Conference in San Francisco, CA both in June

of 2012. In May 2015, I presented a keynote lecture at SelectBio’s Advances in

Next Generation Sequencing Meeting. In April 2016, I was invited to speak at the

Critical Path to TB Drug Regimens (“CPTR”) Workshop in Washington DC.

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      12.      I have reviewed numerous manuscripts for peer-review publications

that present data for many of the techniques described above. I have also authored

several extensive reviews on sequence technologies and their applications used for

the detection of sequence variation, including SNPs and SNVs. I have also received

research grants and fellowships both from government and private agencies to fund

my investigations of technology development in Sanger sequencing and NGS

methods, development of NGS approaches for HIV forensics, the detection of

genomic variation in diabetic cohorts using novel methods, and technology

development of a novel diagnostic method involving microRNAs. I have received

or have been associated with numerous grants largely focusing on gene and genome

sequencing totaling over $170 million since 1999. The source of these grants has

been the National Institutes of Health (“NIH”), the National Institute of Justice

(“NIJ”), the United States Department of Agriculture (“USDA”), and private

foundations.

      13.      I have authored 56 peer-reviewed papers, seven book chapters, and am

an inventor on 49 issued patents and patent applications. My most recent review

papers discuss the emerging technologies and advances in DNA sequencing. The

patents relate to various aspects of molecular biology, DNA sequencing, and

chemical synthesis. For example, I co-invented the pulsed-multiline excitation

(“PME”) method in collaboration with Nobel Laureate Robert F. Curl, which has

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resulted in U.S. Patent Nos. 6,995,841; 7,511,811; and 8,089,628. By way of

collaboration with my scientific team at LaserGen, I have also co-invented novel

nucleotide terminators that have resulted in numerous patents including U.S. Patent

Nos. 7,893,227; 7,897,737; 7,964,352; 8,148,503; 8,198,029; 8,361,727; 8,497,360;

8,877,905; 8,889,860; 8,969,535; 9,200,319; 9,399,798; 9,689,035.

      14.   I have served on review panels for Genome Canada, Canadian Institute

for Health Research (“CIHR”), National Aeronautics and Space Administration

(“NASA”), and U.S. Department of Energy (“DOE”), as well as various NIH study

sections for the National Cancer Institute (“NCI”), National Institute of Biomedical

Imaging and Bioengineering (“NIBIB”), National Human Genome Research

Institute (“NHGRI”), and National Institute for Allergy and Infectious Diseases

(“NIAID”). In March 2018, I became a member of the College of Reviewers for

CIHR.

      15.   From 2003 to 2006, I served on the editorial/advisory boards for

Genome Research. From 2006 to 2012, I have served as a scientific organizer for

the AGBT Meeting. From 2007 to present, I have served as a scientific advisor for

Milestones in DNA Technologies. From 2011 to 2013, I have served on the advisory

committee of Genome Canada: Advancing Technology Innovation Through

Discovery (“ATID”) projects – Finding of Rare Disease Genes in Canada (“FORGE

Canada”) and the Canadian Pediatric Cancer Genome Consortium (“CPCGC”).

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        16.   I belong to the American Association for the Advancement of Science,

the American Chemical Society, and the Texas Genetics Society. My professional

experience, education, and publications are presented in greater detail in my

curriculum vitae, including publications and patents, as well as cases that I have

provided expert testimony at deposition or trial in the last four years. (Ex. 1009).

        17.   As an expert in molecular biology, I am qualified to provide an opinion

as to what one of ordinary skill in the art would have understood, known or

concluded as of the 2010 time frame or several years prior to that.

V.      TECHNICAL BACKGROUND

     A. Introduction to the ’831 Patent

        18.   The ’831 Patent relates to the preparation of sequencing libraries. A

sequencing library has a collection of polynucleotide sequences which can be, for

example, genomic or cell-free DNA. The polynucleotide sequences are usually

taken from some biological sample, such as a blood sample. In many biological

samples, there will be a large amount of polynucleotides, including genomic or cell-

free DNA. Some of these sequences might be of interest to a medical professional

or patient. For example, the presence (or elevated / lowered) amounts of sequences

associated with a particular disorder could be used for a diagnosis.

        19.   To detect sequences of interest from among the (generally) much larger

collection of sequences found in a sample in the relevant timeframe (and still today),


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a general and multi-step process was used. The first step of the general process was

to prepare the sample into a library of sequences. A library preparation method

typically has several processing steps that can also include selectively amplifying

sequences of interest. To selectively amplify sequences of interest, the polymerase

chain reaction (PCR) can be used. A more complete introduction to PCR technology

is provided in ¶¶23-44, below.

      20.    PCR uses primer sequences. The primers will bind to sequences in the

sample under appropriate conditions, if those sample sequences have reasonably

complementary base pairs. Included in a PCR reaction is a DNA polymerase. An

illustration of the PCR process in

general is shown at right (created

by the Petitioner), in which a

sample on the left containing
                                         Sample                  Sample with specific
DNA sequences (shown as two                                      sequences amplified

complementary strands) have sequences of interest (shown in red), and sequences

that are not of interest (shown in blue). By applying PCR with primer pairs directed

to the sequences of interest, a reaction product (right side) is obtained that has the

sequences of interest selectively amplified (the size of the samples and number of

strands are not meant to be accurate, but only to illustrate the process at a general

level). By using multiple rounds of PCR, the sequences of interest can be amplified

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to a point where they become dominant sequences in the sample.

      21.     Using PCR in this fashion, one could amplify target sequence to create

a sequencing library. The sequencing library can then be used in a sequencing

analysis of the amplified target sequences by determining the base-pair order of the

polynucleotides in the library. Therefore, the presence, absence and concentration

of target sequences in the library can provide information about the original sample,

including the disease state(s) of the individual from whom the sample was taken.

      22.     Two general steps of such a diagnostic process (library preparation and

sequencing) are shown below:


          I Sample 1-I---.• Library preparation - -..:


      23.     One example of such a diagnostic process using library preparation and

sequencing begins with a sample of maternal blood plasma from a pregnant woman.

As was well-known prior to the earliest possible benefit date of the ’831 Patent, a

pregnant mother’s blood contains both her own cell-free DNA and cell-free DNA

from the fetus. (Ex. 1006, p. 001)(Ex. 1013, p. 001)(Ex. 1005, 2:29-3:10)(Ex. 1003,

¶0123).     One could take, for example, a sample of the maternal plasma and

selectively amplify DNA sequences from chromosome 21, thereby allowing one to

test for Down syndrome in the fetus. Down syndrome is caused by an extra copy of

chromosome 21 (a so-called “trisomy” of chromosome 21). An extra copy of

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sequences from chromosome 21 in the blood of a mother without Down syndrome

indicates a higher probability Down syndrome in the fetus.

      24.     The claims of the ’831 Patent are directed to the first step of the

diagnostic process: library preparation. In general, the claims require preparing a

sequencing library using three amplification steps. For example, claim 1 of the ’831

Patent is reproduced below, with the three amplifications steps bolded:

       “1. A method for preparing a sequencing library from a maternal
       blood sample, the method comprising:
            a. obtaining a maternal blood sample comprising fetal and
       maternal cell-free DNA;
            b. selectively enriching a plurality of non-random
       polynucleotide sequences of genomic DNA from said fetal and
       maternal cell-free DNA to generate a library of enriched non-
       random polynucleotide sequences, wherein said plurality of non-
       random polynucleotide sequences comprises at least 100 different
       non-random polynucleotide sequences selected from a chromosome
       tested for being aneuploid, said enriching comprising:
            (i) a first amplification step to generate a plurality of first
       reaction products, said amplification comprising at least 100 first
       primers configured to amplify at least 100 different non-random
       polynucleotide sequences;
            (ii) a second amplification step to generate a second reaction
       product, said amplification comprising a second set of primers
       comprising sequences contained in the first reaction products; and
            (iii) a third amplification step to generate a third reaction
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        product comprising said library of enriched non-random
        polynucleotide sequences, said amplification comprising a third set
        of primers comprising sequences contained in the second reaction
        products;
             wherein at least one primer of at least one of the second and
        third sets of primers includes a sequence configured to be added to
        the different non-random polynucleotide sequences to permit the
        enriched non-random polynucleotide sequences of the library to
        anneal to a same sequencing primer for the enriched non-random
        polynucleotide sequences of the library.”

   B. DNA Basics

       25.     The information necessary to reproduce a given organism is found in

its genome, which comprises the complete set of an organism’s genes. The genome

is comprised of strands of a polymer called deoxyribonucleic acid or “DNA.” Each

cell for a given organism typically contains one copy of the genome, called genomic

DNA.

       26.     DNA strands are polymers of building blocks called nucleotides. A

nucleotide is made up of three chemical components or groups: the nucleobase

(commonly referred to as a base), the sugar, and one or more phosphate groups. For

DNA, the specific sugar group is a 2’-deoxyribose. For ribonucleic acid (“RNA,”)

the specific sugar group is a ribose. In addition to this difference, DNA contains the

base thymine (“T”) while RNA contains the base uracil (“U”). Using an enzyme


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called a polymerase, nucleotides that are added during DNA synthesis are called 2’-

deoxyribonucleoside-5’-triphosphates or “dNTPs,” and those added during RNA

synthesis are called ribonucleotide-5’-triphosphates or “NTPs” or sometimes

“rNTPs.”

      27.    A polymerase that synthesizes DNA is called a DNA polymerase and

one that synthesizes RNA is called a RNA polymerase. Polymerases can possess

other activities in addition to synthesizing nucleic acids. For example, a polymerase

can remove nucleotides from one or the other end of nucleic acids. Polymerases that

remove nucleotides from the 5’-end of a nucleic acid has a 5’-exonuclease activity.

Polymerases that remove nucleotides from the 3’-end of a nucleic acid has a 3’-

exonuclease activity.

      28.    The DNA structure can be characterized as a ladder. The two opposing

legs of the DNA ladder are based on a repeated pattern of a sugar group and a

phosphate group, called the DNA backbone. The chemical variance occurs in the

rungs of the DNA ladder—i.e., the four different bases: adenine (“A”), cytosine

(“C”), guanine (“G”), and thymine (“T”)—which form hydrogen bonds according

to specific base-pairing rules. “A” and “T” can form stable hydrogen bonds, and

“C” and “G” can form stable hydrogen bonds. Said in another way, “A” does not

pair with “G” and “C” does not pair with “T.” For RNA, “U” is substituted for “T”

whereby “A” and “U” can form stable hydrogen bonds.

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      29.   The formation of base-pairs between nucleotides on the two opposite

strands causes the two strands to coil around each other to form a double helix

structure, first described by James Watson and Francis Crick in 1953. Bases of

nucleotides that follow these base-pairing rules are also called Watson-Crick base-

pairs (“bp”). An example of a double helix is shown below.




                                                                   Adenine      Thymine




                                                                   Guanine      Cytosine




                                                              Sugar phosphate
                                                              backbone




                         U.S. National Library of Medicine




      30.   According to the base-pairing rules, stretches of nucleotides in one

strand can form hydrogen bonds only with a complementary stretch of nucleotides

in the other strand. Two single strands of DNA that come together by way of

hydrogen bonding between stretches of complementary (or substantially

complementary) nucleotides are said to be hybridized or annealed to one another.

Because of the specificity of base-pairing, under most environmental conditions, a

strand of DNA will have a specific stable complementary sequence.

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      31.    This complementarity is critical for the heritability of genetic

information. Because of the specificity of base-pairing, DNA polymerase can create

or synthesize a complementary sequence from a single strand of a template

sequence. As such, each strand of a double-stranded sequence can act as a template

for the other. Cells are able to replicate DNA based on this property, and thus, pass

exact copies of their genome to their progeny.

   C. Amplification and detection

      32.    A universal technique for replicating or amplifying nucleic acids in a

laboratory setting is the polymerase chain reaction, or just “PCR.” This method was

invented by Dr. Kary Mullis in the 1980s. PCR is used to specifically amplify a

small amount of nucleic acid molecules, generating thousands to millions of copies

of the target nucleic acid. (Ex. 1018)(“Saiki 1985”)(Ex. 1019)(“Saiki 1988”).

      33.    Generally speaking, PCR involves the repeated denaturation and

replication of DNA sequences in vitro (i.e., outside of an organism).           DNA

polymerase copies or synthesizes the complementary strand from a single-stranded

template. For this enzymatic reaction to occur, a partially double-stranded section

of DNA is required. Typically, a primer hybridizes to a complementary region of a

single-stranded template. Dr. Mullis and his co-inventors used short oligonucleotide

primers complementary to the 3’-ends of the complementary strands of a sequence

of interest. Because of the base-pairing rules, primer sequences can be designed to


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target specific nucleic acid sequences.

DNA polymerase initiates synthesis of                          ♦ Denature

the nascent strand from the hybridized
                                                               ♦ Anneal
primers in a 5’-to-3’ direction to create

double-stranded DNA. Two primers
                                                   -                      -
                                                               ♦ Extend
are used for each template strand in

PCR that define the targeted sequence

of interest. The general concept of

PCR is illustrated by the diagram at right.

      34.    The first step of a PCR reaction is to melt or denature double-stranded

DNA to yield single-stranded DNA. This typically is done by raising the reaction

temperature to melt or by chemical means to separate double-stranded DNA or

fragments into single strands. Following primer hybridization, the polymerase

copies the template strand from the primer in a 5’-to-3’ direction, making a

complementary strand. Assuming optimal reaction conditions, the quantity of the

original target sequence of interest, which is flanked by the two primers, will have

been essentially doubled in one PCR cycle.

      35.    Next, the PCR cycle is repeated multiple times. This is accomplished

by denaturing the double-stranded template, annealing the primers, and extending

the primers with DNA polymerase to synthesize new double-stranded templates. At

                                            24


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each PCR cycle, the target sequence that lies between the primers (including the

primer sequences themselves) will be replicated. Theoretically, a target sequence

will be amplified exponentially as described by 2n, where n is the number of cycles.

In practice, however, the efficiency of the reaction varies, and decreases in later

cycles. Regardless, PCR is able to create large quantities of DNA within a matter of

hours.

         36.   PCR is a powerful tool for detecting human polymorphic variation that

is associated with hereditary disease, aneuploidy, and cancer. Many techniques have

been described to discriminate between wild-type and mutant alleles. For example,

allele-specific PCR, also called competitive oligonucleotide priming (Ex.

1020)(“Gibbs 1989A”) or called amplification refractory mutation system (E.

1021)(“Newton”) has been used for detecting polymorphic-specific markers.

Multiplex PCR allows for the simultaneous amplification of multiple target regions

and has been used to detect coding exon deletion(s) in X-linked disorders (these

exons are gene sequences that are transcribed into messenger RNA (mRNA) and

translated into one or more proteins).         X-linked disorders include Duchenne

muscular dystrophy (Ex. 1022)(“Chamberlain”) and Lesch–Nyhan syndrome (Ex.

1023)(“Gibbs 1990”). Absence of specific PCR product(s) is diagnostic of exon

deletion(s) in affected males, and ‘half-dosage’ PCR products are diagnostic of

carrier mothers. Other detection methods that involve scanning (i.e., methods that

                                          25


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do not involve DNA sequencing) of PCR products for the presence of genetic

alterations are summarized by a review by Dr. Markus Grompe.                    (Ex.

1024)(“Grompe”).

      37.    PCR can also be used to quantify the amount or the number of

molecules of the target sequence in the biological sample. At least four basic

methods have been described to quantify PCR-amplified templates: (i) quantitative

PCR using an internal control, (ii) quantitative competitive PCR (Ex.

1025)(“Ferre”), (iii) real-time PCR (Ex. 1026)(“Heid”), and (iv) limited or end-point

dilution PCR (Ex. 1027)(“Simmonds”)(Ex. 1028)(“Zhang”)(Ex. 1029)(“Lee”); (Ex.

1030)(“Sykes”)(Ex. 1031)(“Brisco”).

      38.    Real-time PCR using a 5’-exonuclease fluorogenic or TaqMan assay

(Ex. 1032)(“Holland”) has been developed to accurately measure the starting

amounts of target sequences or identify sequence variants, including SNPs. Unlike

gel electrophoresis, real-time PCR has the unique advantage of being performed in

a closed-tube system, which can significantly reduce carryover contamination.

Using real-time PCR, one can easily monitor and quantitate the accumulation of

PCR products during exponential or log phase amplification. The TaqMan assay

utilizes dual reporter and quencher fluorescent dyes that are attached to a non-

extendible probe sequence (i.e., the 3’-end of the probe is blocked). The reporter

and quencher fluorescent dyes are attached at different internal positions or at

                                         26


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opposite ends to the oligonucleotide probe (Ex. 1033)(“Livak”) such that the

fluorescent signal is quenched by the well-understood process called fluorescence

resonance energy transfer (“FRET”).        Quenched fluorescent probes are called

fluorogenic probes. During the extension phase of PCR, the 5’-exonuclease activity

of Taq DNA polymerase removes the nucleotides or digests the hybridized

fluorogenic probe, which releases the reporter signal. The released reporter signal

is measured during each cycle. In addition to quantifying nucleic acids, real-time

PCR has broad utility for the identification of sequence variants, including SNPs.

      39.    The limiting or end-point dilution PCR method is based on diluting and

distributing target sequences into individual reaction wells, such that the majority of

wells has either zero or just one target sequence. The distribution of target sequences

is based on Poisson statistics, which enables the mean number of target sequences

per reaction well to be determined. Following the PCR amplification step, the

reaction wells are analyzed to determine which reaction wells contain positive PCR

products.   The method has more recently been coined digital PCR.                 (Ex.

1034)(“Vogelstein”).

      40.    DNA sequencing includes several methods and technologies that are

used to determine the order of nucleotide bases (A, C, G and T) in a given DNA

fragment. DNA sequencing methods can generally be characterized as either first-

generation sequencing, which include Sanger sequencing or next-generation

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sequencing (“NGS”). In broad terms, NGS technologies are distinguishable from

first-generation sequencing technologies in that they produce substantially larger

volumes of sequence information cheaply. I have reviewed many of the platforms

using NGS technologies. (Ex.1035)(“Metzker 2010”).

      41.     NGS technologies include a number of methods that are grouped

broadly as template preparation, sequencing and imaging, and data analysis. NGS

extends this process across millions of reactions in a massively parallel fashion,

rather than being limited to one or a few nucleic acid fragments. Since their

introduction, NGS platforms have allowed for high-throughput sequencing of

nucleic acids on a genome-wide scale and highly multiplexed gene-specific

sequencing.

      42.     The first NGS platform to achieve widespread commercial use was 454

Life Sciences Corporation’s sequencer, also known as Genome Sequencer 20

(“GS20”).      (Ex. 1036)(“Marguiles”).      The GS20 sequencer first became

commercially available in 2005 and produced average read-lengths of ~100 bases.

In 2007, 454 Life Sciences released its second instrument, called the GS FLX®,

producing average read-lengths of ~250 bases. (Ex. 1037)(“Droege”). In that same

year, 454 Life Sciences was acquired by Roche. Subsequently, the Roche/454 GS

FLX® Titanium and GS FLX+ instruments have been released to produce longer

average read-lengths.

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        43.   The Roche/454 GS20, GS FLX® GS FLX® Titanium, and GS FLX+

sequencers all use a technology known as pyrosequencing, which is a method for

detecting a single nucleotide incorporation event by a DNA polymerase as a

bioluminescence signal. Specifically, nucleotide incorporation causes the release of

a small molecule called pyrophosphate, which initiates a series of enzymatic

reactions that produce the bioluminescence signal. Use of this technique typically

requires shearing of the double-stranded genomic DNA into smaller pieces of DNA

that can be sequenced, although PCR amplicons have been successfully used as

templates.    The Roche/454 sequencers then uses a bead-based immobilization

strategy for DNA preparation. To create genomic libraries, the DNA is sheared into

fragments of 300-800 base pairs, and two short pieces of additional DNA (called

A/B adaptors) are attached to the ends of the fragmented genomic DNA. The A/B

adaptors (or A/B primers) can also be attached to the 5’-ends of targeting primers to

include these sequences in the final amplicons. A/B adaptors each consist of a

known DNA sequences and provide priming sites for emulsion PCR and

subsequently sequencing of the DNA fragments. The method, called emulsion PCR,

is then used to copy individual DNA fragments onto beads, prior to the sequencing

step.

        44.   Those beads are deposited onto a PicoTiterPlate® (“PTP”) that

accommodates only one individual DNA-attached bead per well. Additional beads

                                         29


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coated with enzymes, called enzyme beads, are also added to the wells. Sequencing

reagents (buffers, DNA polymerase, and nucleotides) are then flowed across the

wells of the PTP. Nucleotides are sequentially added one at a time during a

sequencing cycle. Nucleotide incorporation by the DNA polymerase causes release

of pyrophosphate, which reacts with the enzyme beads and produces the

bioluminescence signal. With the sequential flow of individual nucleotides, the

timing of the bioluminescence signal indicates the order in which nucleotides are

incorporated, which ultimately translates into the sequence of the DNA template.

     45.    The Genome Analyzer II (“GAII”) was developed by Solexa and

released in late 2006. After the acquisition of Solexa by Illumina in 2007, this

massively parallel sequencing platform achieved widespread commercial use. The

GAII instrument utilizes a strategy called sequencing by synthesis (“SBS”),

otherwise known as cyclic reversible termination (“CRT”), which was developed as

an alternative to the Sanger sequencing method. To create genomic libraries, the

DNA is sheared into smaller fragments, and short adaptors are attached or ligated to

both ends of the DNA fragment. Bentley describes that the ligated products, which

contain the adaptor sequences, are then PCR amplified to include additional

sequences used in subsequent amplification and sequencing steps.               (Ex.

1008)(“Bentley”).    Solid-phase or bridge amplification is then used to make

numerous copies of the DNA template. Following amplification, clusters are formed

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on the flow cell that contain copies of the single original DNA template fragment.

The result is that millions of template clusters are formed.

      46.    Following bridge amplification, the flow cells are prepared for the SBS

or CRT sequencing approach. Then, a universal sequencing primer is added to the

flow cell to hybridize to all templates amplified by bridge PCR. In the SBS

approach, all four nucleotides contain a unique fluorescent label. Each nucleotide,

however, is modified to act as a reversible terminator, which is an important feature

of the technique.    In the first step, all four reversible terminators are added

simultaneously to the flow cells along with DNA polymerase. The DNA polymerase

adds a single fluorescent reversible terminator that corresponds to the template base.

The terminating group on the incorporated nucleotide blocks any other nucleotides

from subsequently being incorporated. Following incorporation, the remaining

unincorporated reversible terminators are washed away. Imaging is then performed

to determine the identity of the incorporated nucleotide based on the fluorescent

signal. This is followed by a cleavage step, which removes the terminating group

and the fluorescent dye on the incorporated nucleotide. The cycle is repeated, and

the fluorescent identity for each cluster is read using sequential images. Since 2009,

Illumina has released new instruments including multiple versions of HiSeq®,

MiSeq®, NextSeq® and NovaSeq® systems.

      47.    Other NGS platforms exist or have existed in the marketplace, for

                                          31


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example Life Technologies’ SOLiD® instrument and Pacific Biosciences’ single-

molecule real-time or SMRT® instrument. (Ex. 1035). In 2011, Ion Torrent

released their Personal Genome Machine or PGM®. The PGM® relies on the

method of emulsion PCR to copy individual DNA fragments onto beads, called Ion

Spheres®, which are deposited into an Ion Chip for sequencing. Sequencing primers

and DNA polymerase are bound to the DNA fragments on the surface of the Ion

Spheres, and these are loaded onto the chip in individual sensor wells, so that there

is one bead per well. The four natural nucleotides (dATP, TTP, dGTP, dCTP) are

dispensed one at a time across the Ion Chip. Sensors in each well detect a change in

the pH when hydrogen ions are released by the incorporation of a nucleotide into a

new growing primer. With the sequential flow of individual nucleotides, the timing

of the pH change indicates the order in which nucleotides are incorporated, which

ultimately translates into the sequence of the DNA template.                    (Ex.

1038)(“Rothberg”). Since 2011, Life Technologies has released the Ion Proton®

with higher throughput of sequencing data compared with PGM®. More recently,

Oxford Nanopore has released its MinION sequencer, which sequences individual

DNA strands that are driven through tiny nanopores. (Ex. 1039)(“Jain”).

   D. Creating a cell-free DNA library from maternal for aneuploidy
      detection was well known in the art

        48. Prenatal diagnostics is an indispensable part of modern obstetrics care
that targets fetal genetic diseases including chromosomal aneuploidy and single-
                                         32


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gene disorders. (Ex. 1040)(“Lo 2007A”). Definitive prenatal diagnosis requires the

analysis of fetal genetic materials using invasive techniques such as amniocentesis

or chorionic villus sampling (“CVS”). These invasive procedures carry a finite risk

of fetal loss, and many researchers have searched over decades for non-invasive

alternatives to sample fetal genetic materials. One early approach was to isolate

nucleated fetal cells from maternal blood, though because of the extreme rarity of

these cells – basically one cell in each milliliter of maternal blood – these heroic

efforts proved intractable for routine usage.

      49.    Not all DNA or RNA, however, is isolated from cellular materials. In

1997, Dr. Dennis Lo made the remarkable discovery that cell-free fetal DNA could

be isolated and characterized from plasma or serum obtained from pregnant mothers.

(Ex. 1041)(“Lo 1997”).       Lo 1997 describes that the plasma- or serum-based

approach might also be applicable to screening for chromosomal aneuploidies, such

as Down syndrome. By 2000, Dr. Lo also discovered that cell-free fetal RNA could

be isolated and characterized from plasma obtained from pregnant mothers. (Ex.

1042)(“Poon”). Cell-free DNA that isolated from maternal blood is composed of a

mixture of both maternal and fetal nucleic acids. By 2007, much had been learned

about the biology of cell-free DNA in maternal blood including that cell-free fetal

DNA (i) consists of primarily short fragment lengths (the majority shorter than 200

bp), (ii) represents a small subfraction of the total cell-free DNA isolated in maternal

                                          33


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blood, (iii) increases in concentration during gestation, and (iv) comes from normal

cell turnover events, such as apoptosis and necrosis, of the placenta, which is the

predominant source of fetal DNA in maternal plasma.

     50.     The discovery of cell-free fetal nucleic acids in maternal plasma

launched a new industry of non-invasive prenatal diagnostic approaches. The first

analytical methods focused on ways to differentiate fetal DNA from the

overwhelming amount of maternal DNA in plasma. This was accomplished by

targeting specific paternal chromosomal regions, genes, or genetic variations that

were inherited by the fetus from the father and were absence in the mother. These

applications included detecting Y chromosome sequences in male fetuses and rhesus

blood group antigen D (“RHD”) positive fetuses in the plasma of RHD-negative

mothers. Other approaches to detect cell-free fetal nucleic acids focused on markers

of the placenta, which is of fetal origin, that either were expressed as a specific DNA

methylation pattern or as specific RNA molecules.

       51.   In 2007, two papers were published contemporaneously that described

the use of digital PCR for the detection of chromosomal aneuploidy, specifically

related to trisomy 21 or Down syndrome. (Ex. 1043)(“Lo 2007B)(Ex. 1044)(“Fan

2007”). Unlike previous efforts, Lo 2007B and Fan 2007 both described the use of

digital PCR to count the number of positive products from PCR targets that did not

rely on differences between fetal and maternal DNA. The challenge with this non-

                                          34


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polymorphic approach was that method must be able to quantitatively measure small

differences in an aneuploidy sample compared with a normal sample. As described

above, fetal DNA represents only a small fraction (on average, ~10%) of the total

cell-free DNA isolated in maternal plasma. In the example where 100 copies of a

genomic region derived chromosome 21 were isolated from one milliliter of plasma,

90 copies would be maternal and 10 copies would be fetal. For a trisomy 21

pregnancy, the maternal copies would be the same, but the fetus would contribute

15 copies, whereby 105 copies of total cell-free DNA would be isolated from one

milliliter of plasma. In other words, the sensitivity of digital PCR in this example

would need to be high enough to correctly characterize 105 copies as those derived

from an aneuploidy fetus compared with 100 copies from an euploidy fetus.

      52.    This non-polymorphic approach relies simply on counting the number

of PCR products from a sequence region suspected of having a chromosomal

aneuploidy and a second sequence region suspected being normal or euploidy.

These results would then be compared to a normal sample, whereby the sample

having chromosomal aneuploidy could be identified with statistical significance.

The precision of digital PCR to accurately measure the small differences in cell-free

copy numbers is directly related to (i) percentage of fetal DNA in the cell-free DNA

fraction isolated from maternal plasma and (ii) the number of PCR reactions

performed for a given assay. For example, Lo 2007B estimated that it would require

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7,680 digital PCR reactions to correctly classify trisomy 21 samples in 97% of cases

that contained a fetal fraction of 25% from cell-free DNA isolated from maternal

plasma. With lower fetal fractions, such as 10%, a much higher number of reaction

samples would need to be performed to maintain the level of precision estimated by

Lo2007B.

      53.    As described above, NGS technologies produces large numbers of

sequence read data. In 2008, the same research groups led by Dr. Dennis Lo and Dr.

Stephen Quake described the application of NGS to chromosomal aneuploidy

detection in pregnant mothers. (Ex. 1013)(“Chiu”)(Ex. 1006)(“Fan 2008”). NGS

provides much deeper data sampling than that of digital PCR. Both groups described

generating several million sequence reads from the cell-free DNA isolated from

maternal plasma and mapping or aligning those reads to the human reference

genome. The number of mapped sequence reads were then counted to determine the

over- and underrepresentation of each chromosome contributed by the fetus. Of the

28 cases analyzed by Chiu, 14 trisomy 21 (Down syndrome) fetuses and 14 euploidy

fetuses were correctly identified. Of the 18 cases analyzed by Fan 2008, nine

trisomy 21, two trisomy 18 (Edwards syndrome), one trisomy 13 (Patau syndrome)

fetuses and six euploidy fetuses were correctly identified.

      54.    To perform NGS, sequencing libraries were often created from samples

using PCR amplification. PCR-based library preparation was well-known and

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widely-used by the time the first application leading to the ’831 Patent was filed.

(Ex. 1012, pp. 001-002)(Ex. 1006, p. 003, right column)(Ex. 1007, p. 002, right

column)(Ex. 1014, p. 001-002)(Ex. 1003, ¶0160-0161). By that time, in fact,

standard kits to prepare sequencing libraries had been available for at least around

two years. (Ex. 1014, p. 001)(Ex. 1005, 3:32-4:2)(Ex. 1003, ¶00179)(Ex. 1007, p.

002, right column). These kits, like the recited claims, employed PCR amplification

and utilized primers with sample specific barcodes and sequences to which the

sequencing primer could anneal. The kits were to be used with next-generation

sequencers which rendered use of such sequences a necessity for fast and cheap

sequencing.

      55.     Next generation sequencers could sequence millions of DNA molecules

in a single run and thereby made feasible sequencing DNA from different individuals

at the same time. To distinguish samples from different individuals, DNA from a

particular individual was “tagged” or “indexed” such that each individual sample

had a separate tag, index or barcode. Thus, a “tagged” or “indexed” library of that

individual’s DNA fragments could be created and the “tag” or “index” could be used

to associate a particular DNA with an individual. The advantage of “indexing” was

that DNA from different individuals could be pooled and sequenced together in a

single reaction.

      56.     Not only was the concept of creating an indexed DNA sequencing

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library routine and commonplace, the concept of using cell-free DNA from maternal

blood to detect chromosomal aneuploidy, such as trisomy 21, the underlying cause

of Down syndrome was equally well-known in the art. (Ex. 1003, ¶0122)(Ex. 1005,

1:31-2:5)(Ex. 1006, Abstract). Cell-free DNA in maternal DNA was discovered

more than a decade before the priority date and triggered an immediate interest in

developing non-invasive prenatal diagnostics. This was because fetal abnormalities

could be tested using maternal blood, rather than having to undergo invasive

ultrasound procedure with its attendant risk.

      57.    Soon after the discovery of cell-free DNA, scientists were analyzing the

cell-free DNA for fetal abnormalities including aneuploidies. Some of the more

common aneuploidies being tested included trisomy (where an individual has three

copies of a particular chromosome) of chromosomes 13 (Patau syndrome), 18

(Edwards syndrome) and 21 (Down syndrome).             A common way to test for

aneuploidy was to sequence the chromosome of interest and use statistical analysis

to determine whether the amount of sequences from that chromosome were

unusually high or low. (Ex. 1006, p. 001)(Ex. 1013, p. 001).

   E. Use of indexed DNA library for multiplexed next generation sequencing
      was wide spread in the art

      58.    As described above, NGS technologies produce substantially larger

volumes of sequence information cheaply in a single run. There are many sample

types that can be analyzed using NGS technologies including, but not limited to,

                                         38


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human and other mammalian genomes and transcriptomes, targeted-enrichment of

exons or chromosomal regions of these genomes, lower eukaryotic and prokaryotic

genomes, and metagenomic samples.             In many cases, the NGS instrument

throughput far exceeds the sequencing needs of a single sample. To overcome this

inefficiency, samples are multiplexed, which means that multiple samples are

analyzed by NGS technologies in a single run. This is accomplished by two

strategies: (i) physical separation of multiple samples within the Roche/454 PTP or

Illumina 8-channel flow cell and/or (ii) molecular barcodes that associate individual

DNA fragments with a given sample. For example, samples obtained from a given

microbial source have been widely analyzed by the Roche/454 pyrosequencing

instruments using barcoded PCR amplicons of 16S rRNA sequences.                  (Ex.

1045)(“Binladen”);     (Ex.   1046)(“Huber”);      (Ex.    1047)(McKenna”);      (Ex.

1048)(“Hamady 2008”); (Ex. 1049)(“Andersson”); (Ex. 1050)(“Fierer”); (Ex.

1051)(“Dethlefsen”); and (Ex. 1052)(“Hamady 2009”).

      59.    In addition to the term barcode, these molecular codes have been

referred to as tags, multiplex identifiers, and indexes. A barcode consists of a short

DNA sequence. The number of nucleotides in a given barcode sequence can range

from 3-12 bases and are empirically designed to minimize artifacts due to non-equal

representation of particular barcode sequence in the sequencing data or to conform

to error profiles of the sequencing method. (Ex. 1053)(“Parameswaran”).

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      60.   Barcoded primers consist of three regions that serves three functions.

For example, for the Roche/454 pyrosequencing method, barcode sequences are

generally inserted between the A/B primers, used for emulsion PCR and sequencing

processes, and the target specific primer region (i.e., 16S rDNA). The barcoded

primers are simply made using automated oligonucleotide synthesis machines. An

example of McKenna’s barcoded primers are illustrated below.




                                                DNA
                             , , - - - - - - - barcode- - - - - - - - . .
                         ~357                                          B~

             16S rONA

                                 binds primer A •    barcode   • binds 16S rONA
                        5 ' GCCTCCCTCGCGCCATCAG TGCA CTGCTGCCTYCCGTA 3 '
                         GCCTCCCTCGCGCCATCAG CATG CTGCTGCCTYCCGTA
                         GCCTCCCTCGCGCCATCAG CGTA CTGCTGCCTYCCGTA
                         GCCTCCCTCGCGCCATCAG GACT CTGCTGCCTYCCGTA
                                              etc.




(Ex. 1047, p. 0004, Figure 1B).

      61.   McKenna’s barcoded primers have the general structure of Primer A–

Barcode–16S rDNA primer. Primer A, which is common to all barcoded primers of

the set, serves the function to prime the emulsion PCR and sequencing steps of the

Roche/454 system. The Barcode, which is specific for each barcoded primers of the

set (i.e., “TGCA,” “CATG,” etc.), serves the function to uniquely tag a given sample

that can be later identified by sequence analysis. 16S rDNA primer, which is also


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common to all barcoded primers of the set, serves the function to prime target

specific 16S rDNA amplification of each sample during the PCR process.

      62.      As of January 2010, Illumina’s GA sequencer was the most commonly

used next-generation sequencer. As I explain earlier, the workflow of Illumina’s

GA sequencer generally consisted of four steps: DNA library preparation, cluster

generation, sequencing-by-synthesis on the GA instrument, and data analysis. (Ex.

1008, p. 001-002)(Ex. 1012 at 001-002, Figure 1). The GA instrument was capable

of sequencing a sample from an individual or multiple samples from many different

individuals.

      63 .     For example, Bentley used the GA analyzer to analyze an individual

human genome. (Ex. 1008, p. 001). To create the DNA library, human genomic

DNA was sheared into different fragments. (Id.). Two adaptor sequences were

ligated to both ends of the DNA fragments. (Id., p. 008). These adaptor-ligated

fragments were amplified using two PCR primers targeting the two adaptor

sequences, respectively. (Id., pp. 008-009). These PCR primers “include the

sequences that anneal to the complementary oligonucleotides bound to the flowcell

surface, plus the sequencing primer sites.” (Id., p. 009) As shown in the graphic

below (created by me), for the paired-read experiments, the two adaptor sequences

contain sequences (highlighted in yellow and teal, respectively), which hybridize to

their respective two PCR primers and the sequencing primers. (Id.) Because all of

                                        41


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the amplified DNA fragments have the same sequencing primer sites, they can all

be sequenced using the same pair of sequencing primers.


 Adaptor 1:                                         S'ACACTCTTTCCCTACACGACGCTCTTCCGATCxT

 PCR Primer 1: 5'-CAAGCAGAAGACGGCATACGAGATCGGTCTCGGCATTCCTGCTGAACCGCTCTTCCGATCxT

 Rd1 Sequencing Primer:                             5'-ACACTCTTTCCCTACACGACGCTCTTCCGATCT-3'

 -------------------------------------------
 -------------------------------------------
 Adaptor 2:                        5'-phosphate-GATCGGAAGAGCGGTTCAGCAGGAATGCCGAG

 PCR Primer 2: 5'-AATGATACGGCGACCACCGAGATCTACACTCTTTCCCTACACGACGCTCTTCCGATCxT

 Rd2 Sequencing Primer:                S'-CGGTCTCGGCATTCCTGCTGAACCGCTCTTCCGATCT -3'


        64.     In addition, Quail describes improvements to Illumina’s sequencing

system, and discusses the use of adaptors “which essentially consist of the sequences

to which the sequence primers hybridize during the sequencing reaction.” (Ex. 1012,

p. 002)(“Quail”).         It also discusses introducing these adaptors during a PCR

amplification step. (Id., p. 003)(“The PCR step introduces into the adapter-ligated

template molecules the oligonucleotide sequences required for hybridization to the

flowcell surface.”). As with Bentley, because the DNA fragments in Quail have the

same sequencing primer sites (“the sequences to which the sequence primers

hybridize”), they can all be sequenced using the same pair of sequencing primers.

        65.     Moreover, as of January 2010, Illumina was selling library preparation

kits for multiplex sequencing on its GA sequencer. (Exs. 1014, 1016). To perform

multiplexed sequencing on the GA sequencer, a DNA library from each sample is


                                               42


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typically prepared as follows. (Ex. 1014, pp. 002-003, Figure 3)(Ex. 1016). First,

two adaptor sequences are ligated to both ends of the DNA fragments in each sample.

The ligated products are then amplified using two universal primers targeting those

adaptor sequences and are tagged with a unique “index” sequence using a third PCR

primer. (Id.). After library preparation, multiple libraries are pooled and sequenced

simultaneously on the Genome Analyzer.

             As shown below (Exhibit 1014, Figs. 1 and 3), these adaptors serve
     66.
several functions. The adaptors contain sequences that hybridize to (i) universal

primers for PCR amplification and (ii) their respective sequencing primers for

sequencing the target DNA fragments. Thus, they are also called “sequencing

adaptors.” One of the adaptors further contains sequences that hybridize to (iii) a

third PCR primer to add the index sequence and (iv) a third sequencing primer for

sequencing the index. (Ex. 1016, p. 003)(“The adapters contain sequences that

correspond to the two surface-bound amplification primers on the flow cells used in

the Cluster Station. One of the also contains the index sequence.”)(id., Figs. 1 and

2 (workflows), 014 (adaptors)). Thus, the amplified DNA fragments can all be

sequenced using the same sequencing primers on the Genome Analyzer.




                                         43


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                                                                                                 FIGURE 3: A.DOING THE SEQUENCE INDEX TO A LIBRARY



                                                                                                     Rd1 SP                         ONA lnMt1




                                                                                                    1. Dunng sample pr.par,tton. adapten 11e lig.iited to the DNA fr.iigments
                                                                                                       One 1d.iipter contains the 1equenc,ng primer site for apphcation read 1
                                                                                                       (Rdl SP)

                                                                                                  ~ - - - - - - - -,1._____

   FIGURE 1: MULTIPLEX ED SEQUENCING P ROCESS

   A. READ 1                      B. INDEX READ                 C. READ2
                                                                                                            '
                ~ Rd1 SP                                                                               PS                                                          Index SP

                                                                            ~ Rd2 SP                                                                               Rd2 SP

                                                                                                    2 Prepar.cl M>mP'ff are ampUhed v,a PCR uung two univff~I pnmen One
                                                                                                      primM contams an attKhment sit• tPS) fM the flow eel, while the othM
       DNA                                                                    DNA                     contains the wquendng primer sites for the lndex read {Index SP) and
       ins.rt                                                                insert                   fo, applicatlOII rHd 2 (Rd2 SP)


                                              ~   Index SP

                                      Index




                                                                                                    3 . A third primer in the PCR add1 the Ind•• 11 well•• • second flow cell
  Sample multlple1dng Involves a total of three sequencing reads, Including a separate                  attachment 11te (P7) to the PCR product 1hown in ttep 2.
  Index read, which i s generat ed automatlcally on the Genome Analyzer equipped with
  the Paired-End Module. A: Appllcatlon read 1 (dotted llne) Is generated using the                                                     .a._ __
  Read 1 Sequencing Primer (Rd1 SP). B: The read 1 product Is removed and the Index
  Sequencing Primer (Index SP) is annealed to the same strand to produce the 6-bp in-                  PS        Rd1 SP           DNAln.ert           lnd.x SP Index P7
  dex read (dotted line). C: If a paired-end re.iid Is required, the original template strand
  Is used to regenerate the complementary strand. Then, the original strand Is removed
                                                                                                                                                         Rd2 SP
  and the complementary strand acts as a template for application read 2 (dotted
  line), primed by the Read 2 Sequencing Primer (Rd2 SP). Pipeline Analysis software                .t The inde._ed libr&ry b rndy for MqUencang ui ng the Genome ANtyzer
  identifies the Index sequence from each cluster so that the application reads can be                SJ118ffl
  assigned to a single s.iimple. Hatch marks represent the flow cell surface.




          67.            Craig (Ex. 1056) described a generalized framework for multiplex

resequencing of targeted genome regions on the Illumina GA and GAII instruments.

Here, 46 HapMap individuals, previously characterized by the Encyclopedia of

DNA Elements (“ENCODE”) project, were evaluated by the targeted resequencing

method. Here, Craig amplified the 46 HapMap individuals by whole genome

amplification followed by two long-range amplification steps using PCR that 24

regions across the human genome. For each HapMap individual, the 5-kb amplicons

for the 14 regions were then pooled together in equal portions and digested with

DNase I enzyme to produce fragments in the size range of 200-300 bp. Following

                                                                                            44


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additional library steps, a unique indexed-adaptor sequences was ligated to each

HapMap individual library sample by an enzyme called DNA ligase. As described

above in this declaration, indexed sequences were routinely added by PCR as well.

For example, Illumina described adding index sequences to its adaptor-ligated DNA

fragments using a PCR enrichment step. Following additional library steps, each

HapMap sample was pooled into a single tube and subjected to a PCR enrichment

step using Illumina compatible primers. The pooled indexed-library of 46 HapMap

individuals were then sequenced using either an Illumina GA or GAII instrument.

Craig reported that >90% of genetic variants were discoverable using their targeted

multiplex sequencing approach.

   F. By 2010, skilled artisans were focused on creating target-specific DNA
      libraries

      68.    As described in my 2010 review of the NGS field, “[d]espite the

substantial cost reductions associated with NGS technologies in comparison with the

automated Sanger method, whole-genome sequencing is still an expensive endeavor.

An interim solution to this problem may be to use NGS platforms to target specific

regions of interest.”

      69.    The concept of targeting specific regions of the genome is well

established, with PCR being the most widely used method, albeit on a small scale.

A strategy based on microdroplet PCR technology was developed in 2009 to

simultaneously amplification of 3,976 products. Here, a microfluidic device creates
                                        45


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                                   Appx13003
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aqueous picoliter volume droplets of targeting forward and reverse primers in an oil

solution. Primer droplets targeting different regions merge with separate picoliter

droplets containing fragmented barcoded genomic DNA and associated PCR

reagents, which are then thermal cycled in a single tube. The authors reported an

84% capture efficiency with 90% of the targeted bases showing uniform coverage

using the microdroplet PCR method sequenced with either Roche/454 or

Illumina/Solexa platform. (Ex. 1054)(“Tewhey”).

VI.   BASIS OF MY OPINION

      70.    I understand that the ’831 Patent (Ex. 1001) was filed on April 2, 2015

and claims an earliest priority to January 23, 2010, which is the filing date of U.S.

Provisional Serial No. 61/297,755 (the “’755 Provisional,” Ex. 1055). I have not

seen any evidence to suggest that any claim of the ’831 Patent is entitled to the

benefit of an earlier priority date. I am not aware of any claim by the Patent Owner

to an earlier priority date that would change any of my opinions as set forth herein.

For my analysis below, I have considered January 23, 2010 as the relevant date.

      71.    In preparing this Declaration, I have reviewed the ’831 Patent (Ex.

1001), its file history (Ex. 1010) and the ’755 Provisional (Ex. 1055), and considered

each of the documents cited herein, in light of general knowledge in the art before

January 23, 2010.

      72.    In formulating my opinions, I have relied upon my 30+ years of


                                         46


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education, training, knowledge, and experience in the relevant art. But at all times,

I have attempted to understand and interpret the claims of the Patents-in-Suit from

the point of view of the person of ordinary skill in the art as of the early January,

2010 time period.

      73.     I understand that for the purposes of an IPR, claims are to be given their

broadest reasonable interpretation (“BRI”) in light of the specification of the ’831

Patent.

VII. THE ’831 PATENT

      74.     I understand that the ’831 Patent (Ex. 1001) resulted from the ’854

Application, filed on April 2, 2015, which claims earliest priority to the ’755

Provisional filed on January 23, 2010 and is entitled “methods of fetal abnormality

detection.” (Ex. 1055).

      75.     I have been informed by counsel for Petitioner that claims 1 and 14 are

independent claims, which set forth the elements of the invention and do not rely

upon or refer to any other claims in the patent.

      76.     I have been informed by counsel for Petitioner that claims 2-10, 12-13,

15-22 and 24 are dependent claims, which contain all of the features of the claim

from which they depend but also contain additional features or limitations. In this

case, claims 2-10 and 12-13 are dependent from claim 1 since they refer directly to

claim 1, while claims 15-22 and 24 are dependent from claim 14 since they refer


                                          47


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directly to claim 14.

VIII. RELEVANT LAW

      77.       I am not a lawyer, but I understand the following concerning the

applicable law:

   A. Anticipation

      78.       I understand that a patent claim is anticipated when a single piece of

prior art discloses every element of the claimed invention, either expressly or

inherently, arranged in the same way as in the claim. For inherent anticipation to be

found, it is required that the missing descriptive material is necessarily present in the

prior art. I understand that, for the purpose of an Inter Partes review, prior art that

anticipates a claim can include both patents and printed publications from anywhere

in the world.

   B. Obviousness

      79.       I understand that a claim in an issued patent can be unpatentable if it is

obvious. Unlike anticipation, obviousness does not require that every element of the

claim be in a single prior art reference. Instead, it is possible for claim elements to

be described in different prior art references, so long as there is motivation or

sufficient reasoning to combine the references and a reasonable expectation of

success. The prior art references must also be “analogous art,” meaning that they

are either from the same field of endeavor as the ’831 Patent, regardless of the

problem addressed, or reasonably pertinent to the particular problem with which the
                                        48


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                                       Appx13006
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inventor is involved.

      80.    I understand that a claim is unpatentable for obviousness if the

differences between the claimed subject matter and the prior art are such that the

subject matter as a whole would have been obvious at the time the alleged invention

was made to a person having ordinary skill in the art to which said subject matter

pertains.

      81.    I understand, therefore, that when evaluating obviousness, one must

consider obviousness of the claim “as a whole.” This consideration must be from

the perspective of one of ordinary skill in the relevant art, and that such perspective

must be considered as of the “time the invention was made.”

      82.    The level of ordinary skill in the art is discussed in ¶79 below.

      83.    The relevant time frame for obviousness, the “time the invention was

made,” is discussed in ¶91, below.

      84.    I understand that in considering the obviousness of a claim, one must

consider the so-called Graham factors, including the following four things. These

include the scope and content of the prior art, the level of ordinary skill in the art at

the relevant time, the differences between the prior art and the claim, and any

“secondary considerations.”

      85.    I understand that “secondary considerations” include real-world

evidence that can tend to make a conclusion of obviousness either more probable or

                                           49


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less probable. For example, the commercial success of a product embodying a claim

of the patent could provide evidence tending to show that the claimed invention is

not obvious. In order to understand the strength of the evidence, one would want to

know whether the commercial success is traceable to a certain aspect of the claim

not disclosed in a single prior art reference (i.e., whether there is a causal “nexus” to

the claim language). One would also want to know how the market reacted to

disclosure of the invention, and whether commercial success might be traceable to

things other than innovation, for example the market power of the seller, an

advertising campaign, or the existence of a complex system having many features

beyond the claims that might be desirable to a consumer. One would also want to

know how the product compared to similar products not embodying the claim. I

understand that commercial success evidence should be reasonably commensurate

with the scope of the claim, but that it is not necessary for a commercial product to

embody everything that would fall within the scope of the claim.

              Other kinds of secondary considerations are possible. For example,
        86.
evidence that the relevant field had a long-established, unsolved problem or need

that was later provided by the claimed invention could be indicative of non-

obviousness. Evidence that others had tried but failed to make an aspect of the claim

might indicate that the art lacked the requisite skill to do so. Evidence of copying of

the patent owner’s products before the patent was published might also indicate that

                                           50


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                                     Appx13008
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its approach to solving a particular problem was not obvious. Evidence that the art

recognized the value of products embodying a claim, for example, by praising the

named inventors’ work, might tend to show that the claim was non-obvious.

      87.    I further understand that prior art references can be combined where

there is an express or implied rationale to do so. Such a rationale might include an

expected advantage to be obtained or might be implied under the circumstances. For

example, a claim is likely obvious if design needs or market pressures existing in the

prior art make it natural for one or more known components to be combined, where

each component continues to function in the expected manner when combined (i.e.,

when there are no unpredictable results). A claim is also likely unpatentable where

it is the combination of a known base system with a known technique that can be

applied to the base system without an unpredictable result. In these cases, the

combination must be within the capabilities of one of ordinary skill in the art.

      88.    I understand that when considering obviousness, one must not refer to

teachings in the specification of the patent itself. One can, however, refer to portions

of the specification admitted to being prior art, including the “BACKGROUND”

section. Furthermore, a lack of discussion in the patent specification concerning

how to implement a disclosed technique can support an inference that the ability to

implement the technique was within the ordinary skill in the prior art.

      89.    I also understand that, to combine or modify a reference in a way that

                                          51


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                                     Appx13009
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can be called obvious, one of ordinary skill would have to have a reasonable

expectation of success. I understand that the reasonable expectation of success does

not mean certainty or a guarantee of success, but rather only that it is a “reasonable”

expectation. The reasonable expectation of success is required for what is recited in

the claims but is not required for concepts not recited in the claims.

IX.   LEVEL
         90. OF ORDINARY SKILL IN THE ART

             In my opinion, the relevant art was that of molecular biology. I have

considered the level of ordinary skill based on my experience in the field, and the

educational level of the inventor; the type of problems encountered in the art; prior

art solutions to those problems; rapidity with which innovations are made;

sophistication of the technology; and educational level of active workers in the field.

I understand that not all such factors may be present in every case, and one or more

of these or other factors may predominate in this case. In the present case, I

understand that both inventors were Ph.D.-level molecular biologists, and that in

2010, Dr. Chuu had approximately 15 years of experience, while Dr. Rava had

almost 30 years of experience. Based on this and on my experience in working with

others in the field, I believe that the ordinary artisan in the relevant timeframe was

highly skilled compared to many other industries and would have had a Ph.D. in

molecular biology or a related field and approximately five years of experience

working with or researching genetic testing, DNA amplification, and DNA


                                          52


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sequencing.

X.      RELEVANT TIMEFRAME FOR DETERMINING OBVIOUSNESS

        91.   I understand that obviousness must be evaluated “at the time of the

invention.” From the cover page of the ’831 Patent, the ’755 Provisional was filed

in the United States on January 23, 2010. For the purpose of this declaration, I will

analyze obviousness in the time frame immediately prior to this date, although my

testimony is usually applicable to a longer period of time before January 23, 2010.

My testimony is directed to this timeframe, unless otherwise indicated, even if I do

not always use a past tense.

XI.     CLAIM CONSTRUCTION

     A. Claims 1, 6, 7, 14, 18 and 9—“Aneuploid”

        92.   I have reviewed the construction of the term “aneuploid” in the petition

for Inter Partes review, and I agree based on the specification at Ex. 1001, 13:32-46

that “aneuploid” should be defined as “having an abnormal number of

chromosome(s), or parts of a chromosome.”

I.      GROUNDS OF UNPATENTABILITY

Ground 1. Claims 1-7, 10, 14-19, and 22 are obvious over Fluidigm in view of
              the knowledge of one of ordinary skill

        93.   It is my opinion that claims 1-7, 10, 14-19, and 22 of the ’831 Patent

would have been obvious to one of ordinary skill in the art in the relevant timeframe

over U.S. Pat. App. Publication 2010/0120038 (“Fluidigm”) in view of the

                                          53


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knowledge of a person of ordinary skill, as reflected in, for example:

    Ex. 1006, Fan, et al., “Noninvasive diagnosis of fetal aneuploidy by shotgun

      sequencing DNA from maternal blood,” Vol. 105:16266–16271 PNAS

      (October 21, 2008)(“Fan 2008”);

    Ex. 1008, Bentley, et al., “Accurate whole human genome sequencing using

      reversible terminator chemistry,” Nature, Vol 456:53-59 (November

      2008)(“Bentley”);

    Ex. 1012, Quail, et al., “A large genome center’s improvements to the

      Illumina sequencing system,” Nature Methods, Vol. 5:1005-1010 (Dec.

      2008)(“Quail”);

    Ex. 1013, Chiu, et al. “Noninvasive Prenatal Diagnosis of Fetal Chromosomal

      Aneuploidy by Massively Parallel Genomic Sequencing of DNA in Maternal

      Plasma,” PNAS Vol. 105:20458-20563 (Dec. 23, 2008)(“Chiu”);

    Ex. 1014, “Multiplexed Sequencing with the Illumina Genome Analyzer

      System”, Illumina, 2008 (“Illumina Datasheet”).

                              Overview of Fluidigm

      94.    The Fluidigm publication discusses methods for improving preparation

of DNA libraries, and in particular libraries to be used for later sequencing. Such

sequencing libraries are typically amplified target DNA sequences that can have

adaptors and index sequences added. Fluidigm discusses library preparation, for

                                         54


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example, near the beginning of its disclosure:

              “The present invention relates generally to the area of high-
              throughput assays for detection of particular target nucleic
              acids.   In particular, the invention relates to methods for
              increasing the number of samples and/or targets that can be
              analyzed in a single assay.”

(Ex. 1003, ¶0002)(Emphasis added)(Ex. 1004, ¶0002). I understand that the phrase

“methods for increasing the number of samples and/or targets that can be analyzed”

to be steps of library preparation. The libraries prepared can be used for “assays,”

as Fluidigm states, which would include sequencing to determine the existence or

amount of particular DNA sequences. For example, Fluidigm states: “[i]f desired,

tagged target nucleotide sequences generated as described herein may be

analyzed by DNA sequencing.” (Ex. 1003, ¶0160)(Emphases added)(Ex. 1004,

¶0135).

      95 .      In this way, Fluidigm discloses teaches preparation of a DNA sequence

library, followed by sequencing of that library, as shown in the following diagram

(drawn by the Petitioner):


          I   Sample   i ----+• Library preparation
                       1 -                             - - . . i_ _ _ __




      96.       Fluidigm has several methods to create sequencing libraries. These

                                             55


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methods involve various amplification and tagging steps. One method (the so-called

“Modular Approach” is very close to anticipating the claims, as I understand

anticipation (see ¶77, above). The “Modular Approach” is discussed mainly under

the heading “Detection of Multiple Target Nucleic Acids–Modular Approach”

beginning in paragraph 0115 of Fluidigm, although disclosure throughout Fluidigm

modifies the Fluidigm embodiments where indicated. The Modular Approach uses

three targeted amplification steps on which the steps of independent claims 1 and 14

read. (Ex. 1003, ¶¶0119-0120)(Ex. 1004, ¶¶0094-0095).

      97.     The Modular Approach of Fluidigm begins with a sample. The sample

can be a sample of maternal blood containing fetal DNA being tested for aneuploidy.

(Ex. 1003, ¶¶0122, 0175)(Ex. 1004, ¶¶0097, 0150). It would have obvious to one

of ordinary skill in the art the obtaining a maternal blood sample would contain both

maternal and fetal cell-free DNA based on the teachings of Lo 1997 (Ex. 1041), Lo

2007A (Ex. 1040), Lo 2007B (Ex. 1043), Fan 2007 (Ex. 1044), Chiu (Ex. 1013), and

Fan 2008 (Ex. 1006), for example.

      98.     The first step of the Modular Approach is to use a “pre-pre-

amplification” step. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The pre-pre-amplification

step uses PCR amplification with 9,216 primer pairs, to amplify 9,216 target

sequences. For example, Fluidigm discloses:

            “To increase target nucleic acid concentration prior to

                                         56


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            encoding, an optional pre-preamplification reaction can be
            carried out before the encoding preamplification reaction. The
            pre-preamplification can be carried out in multplex [sic:
            multiplex].   For example, target-specific primers for 9216
            different target nucleic acids can be employed in one mixture.”

(Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The method thus far can be depicted as

follows:

                            Pre-p ream pl ifi cation
                          9216 primer pairs {'10119)


                    I Sample      I-____,.         Enriched
                                                    Sample



      99.     The second amplification step in the Fluidigm Modular Approach is the

“encoding pre-amplification” step. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). In this

step, the output of the first step is divided into different aliquots (in Fluidigm, the

example of 96 aliquots is used). (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The 96

aliquots are then each subjected to PCR amplification, using 96 different primer

pairs in each aliquot. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The 96 primer pairs per

aliquot can be used to introduce “nucleotide tag pairs.” (Ex. 1003, ¶0119)(Ex. 1004,

¶0094). The nucleotide tag pairs, which are also known as “bar codes” or “encoding

sequences”, are sequences whose purpose can be to identify the DNA sequences in

                                          57


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the sample, or to identify different samples. (Ex. 1003, ¶¶0064, 0094, 0115)(Ex.

1004, ¶¶0005-0008, 0071, 0077-0078, 0082). Fluidigm describes the “encoding pre-

amplification” step immediately after describing the “pre-pre-amplification step”, as

follows:

           “The pre-preamplification can be carried out in multplex [sic:
           multiplex].    For example, target-specific primers for 9216
           different target nucleic acids can be employed in one mixture.
           This mixture can then be divided into R=96 aliquots and
           each aliquot subjected to an encoding preamplification
           reaction on a microfluidic device, using T=96 different primer
           pairs that add 96 different nucleotide tag pairs to the target
           nucleotide sequences in each of the 96 aliquots.”

(Ex. 1003, ¶0119)(Emphases added)(Ex. 1004, ¶0094). After the “encoding pre-

amplification” step, the Fluidigm Modular Approach can be depicted as follows

(illustration by Petitioner):




                                         58


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      Pre-preamplification                          Encoding Preamplification
    9216 primer pairs ('10119)
                                                        96 different primer
                                                         pairs per Aliqu ot
                                            Aliquot - - - - - • Encoded Aliquot
                                                        96 different primer
                                                         pairs per Aliqu ot
                                            Aliquot - - - - - • Encoded Aliquot
                                                        96 different primer
                                                         pairs per Aliqu ot
                                            Aliquot - - - - - • Encoded Aliquot



I. Sample 1
          .
           - --• Enriched
                  Sample
                                                   e.g. 96x
                                                        96 different primer
                                                         pairs per Aliqu ot
                                            Aliquot - - - - - • Encoded Aliquot
                                                        96 different primer
                                                         pairs per Aliquot
                                            Aliquot - - - - - • Encoded Aliquot
                                                        96 different primer
                                                         pairs per Aliqu ot
                                            Aliquot - - - - - • Encoded Aliquot




      100. Following         the   second        amplification       (i.e.    the   “encoding

preamplification”) step, each of the separate aliquots containing tagged DNA

proceeds to separate chambers in a microfluidic device. (Ex. 1003, ¶0120)(Ex. 1004,

¶0095). There, each aliquot will be subdivided 96 times. Each sub-aliquot is

subjected to a third amplification using a single PCR primer pair. (Ex. 1003,

¶0120)(Ex. 1004, ¶0095). The single primer used with each subaliquot is specific to

the combination of sequence tags used in the “encoding preamplification” step. (Ex.

1003, ¶0120)(Ex. 1004, ¶0095). For example, Fluidigm discloses:

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          “After     the     encoding     preamplification       reaction,
          amplification can be carried out in separate chambers of a
          microfluidic device. For example, each of the 96 aliquots
          produced upon encoding preamplification can be loaded into
          individual sample lines of a matrix-type micro fluidic device,
          and each of 96 different tag-specific primer combinations can
          be loaded into individual assay columns. Each different of the
          96 primer combination can amplify a different target nucleic
          acid in each of the 96 aliquots. The resulting 9216 reaction
          chambers (sub-aliquots) can then be subjected to amplification,
          followed by detection of amplification product(s)….”

(Ex. 1003, ¶0120)(Emphasis added)(Ex. 1004, ¶0095). I understand this passage to

mean that each subaliquot is targeting a different sequence. However, the primers

are targeted to specific tag combinations introduced in the encoding amplification.

By targeting tag combinations, fewer primers overall are needed for the third

amplification step. By physically separating subaliquots, the tag sequences can be

re-used, and there is an increased chance of having a single, specific PCR product

with minimal to no non-specific products being formed (only one primer pair should

be present with each sub-aliquot). With the addition of this amplification step, the

Fluidigm Modular Approach can be depicted as follows (illustration by Petitioner):




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       Pre-preampl ification              Encoding Pre amplification                                   Amplification
    92 16 primer pa irs (1)01191
                                               96 different primer
                                                pairs per Aliquot
                                      Al iquot - - - - - • Encoded Aliquot
                                                                                                        Single primer pal r
                                               96 diffe rent pr imer
                                                pairs per Aliquot
                                                                                        Sub-aliquot - - - - - •
                                      Aliquot - - - - - • Encoded Aliquot                              Single prlmer pair
                                               96 different primer
                                                                                        Sub-a liquot
                                                pairs per Aliquot
                                      Al iquot - - - - - • Encoded Aliquot              ... e.g. 96x
                                                                                                       Single primer pair
                                                                                        Sub-aliquot
ISample   1- -•         Enriched
                         Sample
                                          e.g. 96x
                                                                                        Sub-aliquot
                                                                                                       Single primer pair
                                               96 dffferent primer
                                                pairs per Aliquot
                                      Al iquot - - - - - • Encoded Aliquot
                                               96 different ptimer
                                                pairs per Aliquot
                                      Al iquot - - - - - Encoded Aliquot
                                               96 different primer
                                                pairs per Aliq uot
                                      Al iquot - - - - - • Encoded Aliquot



          101. Although Fluidigm teaches that each encoded aliquot is subdivided, the

diagram above shows only a single subdivision to save space. (Ex. 1003, ¶0119)(Ex.

1004, ¶0094). The output of the entire Modular Approach includes 9,216 separate

sub-aliquots with 9,216 enriched, tagged DNA sequences to create a sequencing

library. (Ex. 1003, ¶¶0160, 0177)(Ex. 1004, ¶¶0135, 0152).

          102. The three amplification steps described above in the Modular Approach

line up with the three amplification steps of independent claims 1 and 14 of the ’831

Patent as follows:

      ’831 claim step              Corresponding Fluidigm Step
      1st amplification            “Pre-preamplification” of multiple targets in a
      step                         sample using target specific primers
      2nd amplification            “Encoding preamplification” of Step 1 products
      step                         using tagged primers
      3rd amplification            “Amplification” of Step 2 products using tag-
      step                         specific primers

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                 Rationale (Motivation) Supporting Obviousness

       103. As mentioned above, Fluidigm’s disclosure is close to anticipating the

claims. Fluidigm discloses using cell-free fetal DNA from a maternal blood sample

in the three-step selective enrichment of claims 1 and 14, using more than 100 target

polynucleotide sequences (in fact, 9,216) sequences. To the extent the standard for

anticipation would not be met, the differences were minor and would been obvious.

       104. One possible difference rests in the fact that the description of the

maternal blood samples, aneuploidy detection, and the use of the library for

sequencing are not found directly within the paragraphs that nominally relate to the

Modular Approach (¶¶0115-0121) but are found elsewhere in Fluidigm. I will

discuss these specific provisions that are found elsewhere below in more detail.

However, at a high level, it is clear from the Fluidigm disclosure that there are certain

statements in Fluidigm concerning blood samples, aneuploidy detection, and the use

of the library for sequencing (e.g.) that are broadly applicable to each of the disclosed

methods, and specifically applicable to the Modular Approach.

       105. Independent claims 1 and 14 of the ’831 Patent also require using

“sequences selected from a chromosome tested for being aneuploid.” Fluidigm

expressly suggests the selection of sequences from a chromosome tested for being

aneuploidy. For example, Fluidigm expressly teaches that the detection of target


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sequence, which obviously need to be selected, are applicable to identifying the

presence of aneuploidy:

          “The methods of the invention are applicable to any
          technique aimed at detecting the presence or amount of one
          or more target nucleic acids in a nucleic acid sample. Thus, for
          example, these methods are applicable to identifying the
          presence of particular polymorphisms (such as SNPs), alleles, or
          haplotypes,     or   chromosomal     abnormalities,    such    as
          amplifications, deletions, or aneuploidy.”

(Ex. 1003, ¶0175)(Emphases added)(Ex. 1004, ¶0150). Aneuploidy detection was

also being conducted regularly in the course of pre-natal care in the relevant time

frame. Because aneuploidy detection is the detection of an abnormal number of

chromosomes (e.g., three copies of chromosome 21 when testing for Down

syndrome), it would have been obvious to target sequences from a specific

chromosome for which aneuploidy was suspected.

       106. Also, the last part of independent claim 1 (but not claim 14) requires:
          “wherein at least one primer of at least one of the second and
          third sets of primers includes a sequence configured to be added
          to the different non-random polynucleotide sequences to permit
          the enriched non-random polynucleotide sequences of the
          library to anneal to a same sequencing primer…”

(Ex. 1001, 63:66-64:42). Fluidigm teaches that its embodiments used for encoding


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(including the Modular Embodiment) can introduce adaptor sequences. (Ex. 1003,

¶0160-161)(Ex. 1004, ¶¶0135-0136). Certain kinds of adaptor sequences were well-

known to be used with NGS sequencing systems of the time. For example, Fluidigm

teaches substituting methods for tagging nucleotide sequences for ligation, which

was normally used to add sequencing adaptors. (Ex. 1003, ¶0160)(Ex. 1004, ¶0135).

Sequencing adaptors are adaptors to which sequencing primers are used, for

example, in the Solexa Genome Analyzer system. Note that the company Solexa

was acquired by Illumina, and its Genome Analyzer later became the Illumina

Genome Analyzer. The use of Solexa sequencing is expressly taught by Fluidigm.

(Ex. 1003, ¶0161)(Ex. 1004, ¶0136). Based on Fluidigm’s suggestion to use Solexa

sequencing, and to substitute tagging methods for ligation to add adaptor sequences,

it would have been obvious for one of ordinary skill in the art to have used one of

the PCR-based amplification steps in Fluidigm’s Modular Approach to add

sequencing adaptors that included a same sequencing primer to the library

molecules. The various amplification steps of Fluidigm’s Modular Approach can be

used to introduce an arbitrary tag sequence (within reasonable limits), and it would

have been obvious to include a sequencing adaptor that included a same sequencing

primer next to the tag sequences.

        107. I will further explain the motivation supporting obviousness in the
discussion relating to specific claim elements, below.

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                                  Graham Factors

      108. I discuss the so-called Graham factors (referred to in ¶84, above) in the

next few paragraphs, ¶¶109-112.

      109. As discussed above in ¶90, the level of ordinary skill was high. The

ordinary artisan in the relevant timeframe would have had a Ph.D. in molecular

biology or a related field and approximately five years of experience working with

or researching genetic testing, DNA amplification, and DNA sequencing.

      110. The scope and content of the prior art are discussed throughout my

declaration concerning each of the grounds.

      111. The differences between the prior art and the claims are discussed in

the “Overview of the Combination” and in the claim mapping, below.

      112. I am not aware of any secondary considerations that would make an

inference of non-obviousness more likely.

                       Reasonable Expectation of Success

      113. It is my opinion that one of skill in the art in the relevant timeframe

would have had a reasonable expectation of success in applying Fluidigm in a

manner that meets the challenged claims of the ’831 Patent.

      114. As discussed above, by the relevant timeframe, the PCR method, upon

which the three amplification steps of Fluidigm’s Modular Approach are described,

was well-understood and predictable. In particular, one of ordinary skill in the art


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would have been able to use the PCR reaction to target particular DNA sequences

and would have been able to create primer pairs configured to add arbitrary

nucleotide sequences (like “tags” and “adaptors”) to such targeted sequences. I note

that the ’831 Patent itself does not provide anything new with respect to PCR

amplification or the actual means by which one would introduce nucleotide tags or

sequencing adaptors but is rather directed to the general idea of using PCR

amplification in three steps while introducing tags and adaptors.

      115. One of ordinary skill would have reasonably expected success in using

Fluidigm’s Modular Approach to test samples for aneuploidy of a particular

chromosome.     As discussed above, in the relevant timeframe, next-generation

sequencing was in widespread use.       In fact, 454 Life Sciences Corporation’s

sequencer, known as Genome Sequencer 20, was commercially in use by 2005.

Likewise, Solexa’s next generation sequencer was released in late 2006 and achieved

widespread commercial use by 2007. Barcoding or sample tagging was equally

prevalent. Further, a kit for making a sequencing library for use with Solexa’s

sequencer was commercially available in 2008, underscoring the routine nature of

sequencing library preparation. Thus, one of ordinary skill would have expected

success in being able to sequence cell-free DNA found in maternal blood.

      116. It was further well-known by 2008 that one could isolate, amplify and

sequence cell-free genomic DNA from maternal blood to detect aneuploidy,

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including fetal trisomy 21. (Ex. 1006, Abstract)(Ex. 1013, Abstract)(Ex. 1003,

¶00175)(Ex. 1005, 25:10-20). As such, one of ordinary skill would have had a

reasonable expectation of success in using cell-free DNA from maternal blood in a

multi-step PCR method (such as Fluidigm’s). One of ordinary skill would have

expected reasonable success in identifying sequences from particular chromosomes,

because the human genome had already been sequenced by the relevant timeframe.

(Ex. 1057)(“IHGSC”). Cell-free genomic DNA from maternal blood had also

previously been successfully amplified and sequenced to detect aneuploidy,

including fetal trisomy 21, trisomy 18 and trisomy 13. (Ex. 1006, Abstract)(Ex.

1013, Abstract).   This typically involved amplifying DNA from a suspected

chromosome and a reference chromosome and detecting whether levels of sequences

of the suspect chromosome were elevated. (Ex. 1013, p. 001, right column). Given

the success in using cell-free DNA to perform amplification and sequencing, one of

ordinary skill would have had a reasonable expectation of success to employ cell-

free DNA from maternal blood in the Fluidigm method with the goal of testing for

chromosomal aneuploidy.

                           Fluidigm is Analogous Art

      117. It is my opinion that Fluidigm and the other prior art cited in this

Ground would be considered “analogous art” because it is in the same field as the

’831 Patent (Fluidigm concerns DNA sequencing library preparation), and/or the


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subject matter of the prior art would have been reasonably pertinent to the problems

facing the named inventors.

                                  Claim Mapping

      118. This section maps the challenged claims to the relevant disclosures of

Fluidigm, where the claim text appears in bold-italics, and the relevant mapping

follows the claim text.

                                     Claim 1

      “1. A method for preparing a sequencing library from a maternal
      blood sample, the method comprising:”

      119. Fluidigm states that its methods beginning with a sample. (Ex. 1003,

¶0116)(Ex. 1004, ¶0091). Fluidigm states that DNA “samples” of fetal DNA can

come from maternal blood:

          “Sample Preparation [¶] DNA or RNA useful in the methods
          described herein can be extracted and/ or amplified from any
          source…. For example, samples of fetal DNA can be obtained
          from an embryo (e.g., from one or a few embryonic or fetal
          cells) or from maternal blood.”

(Ex. 1003, ¶0122)(Emphases added)(Ex. 1004, ¶0097). Paragraph 0122 of Fluidigm

obviously applies to the “Modular Approach,” because ¶0122 applies to “the

methods described herein” which should be read as meaning “in the Fluidigm

disclosure).” Furthermore, it makes technical sense that the Modular Approach

would begin with such a sample.
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      120. Fluidigm describes using the methods to prepare a sequencing library,

as in ¶¶0160-0161. For example, Fluidigm discloses that:

          “If desired, tagged target nucleotide sequences generated as
          described herein may be analyzed by DNA sequencing.
          Many current DNA sequencing techniques rely on ‘sequencing
          by synthesis.’    These techniques entail library creation,
          massively parallel PCR amplification of library molecules, and
          sequencing. Library creation starts with conversion of sample
          nucleic acids to appropriately sized fragments, ligation of
          adaptor sequences onto the ends of the fragments, and selection
          for molecules properly appended with adaptors.”

(Ex. 1003, ¶0160 see also ¶0177)(Emphases added)(Ex. 1004, ¶¶0135, 0152). As

shown in the quote above, Fluidigm suggests analyzing the “nucleotide sequences

generated as described herein” using DNA sequencing. Because the “Modular

Approach” is “described herein” (i.e. in the Fluidigm disclosure) and because the

Modular Approach is appropriate for producing a sequencing library, one of ordinary

skill would have found it obvious that ¶0160 to applies to the Modular Approach.

      121. Thus, one of skill in the art in the relevant timeframe, reading Fluidigm,

would have found it obvious that Fluidigm’s Modular Approach was useful for

preparing a sequencing library from a maternal blood sample.


      “a. obtaining a maternal blood sample comprising fetal and
      maternal cell-free DNA;”

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      122. See immediately above. Fluidigm in ¶0122 describes using “samples

of fetal DNA…from maternal blood.” (Ex. 1003, ¶0122)(Ex. 1004, ¶¶0097). This

fetal DNA would have been understood in the relevant timeframe to include cell-

free fetal and maternal DNA, and certainly cell-free fetal DNA was a focus at that

time. (Ex. 1006, Abstract)(Ex. 1013, Abstract)(Ex. 1005, 5:29-6:8). For example,

Fluidigm distinguishes between DNA obtained from cells and DNA obtained from

bodily fluids, such as blood:

          “Nucleic acids can be extracted or amplified from cells, bodily
          fluids (e.g., blood, a blood fraction, urine, etc.), or tissue
          samples by any of a variety of standard techniques.”

(Ex. 1003, ¶0122)(Emphasis added)(Ex. 1004, ¶0097). Fluidigm also distinguishes

between fetal cells and fetal DNA in maternal blood:

          “samples of fetal DNA can be obtained from an embryo (e.g.,
          from one or a few embryonic or fetal cells) or from maternal
          blood.”

(Ex. 1003, ¶0122)(Emphasis added)(Ex. 1004, ¶0097). Fluidigm further indicates

that a sample can simply be blood plasma, which is cell-free. (Ex. 1003, ¶0122)(Ex.

1004, ¶0097)(Ex. 1006, p. 001)(Ex. 1013, p. 001). Lo 2007A taught that maternal

blood contains cell-free or extracellular fetal nucleic acids: “Since 1997, the progress

of this field has been accelerated by the unexpected finding of extracellular fetal

nucleic acids in maternal plasma.” (Ex. 1040, Abstract)(Emphasis added). These

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disclosures would have indicated to one of ordinary skill that Fluidigm considered

“blood” and “a blood fractions” to be a source separate from “cells,” (i.e.,

extracellular) and thus that Fluidigm contemplated using “cell-free” fetal and

maternal DNA.


       “b. selectively enriching a plurality of non-random polynucleotide
       sequences of genomic DNA from said fetal and maternal cell-free
       DNA to generate a library of enriched non-random polynucleotide
       sequences,”

       123. As described above beginning in ¶¶94-106, Fluidigm teaches a process

of selectively enriching of a plurality of non-random polynucleotide sequences of

genomic DNA from said fetal and maternal cell-free DNA, to generate a library of

those sequences.     The Modular Approach of Fluidigm uses three targeted

amplification steps, which are described above and in each of the three steps (i) –

(iii), below.

       124. The three steps (detailed below) lead to “selective enriching” because

the PCR primers described in the Fluidigm Modular Approach anneal to, and thus

cause amplification only of, sequences that contain complementary base pairs.

       125. The “plurality of non-random polynucleotide sequences” required in

claim 1 of the ’831 Patent are the sequences to which the primers anneal. These

sequences are non-random, because they are effectively selected by the primers

used, which Fluidigm describes as “target-specific primers.” (Ex. 1003, ¶0119)(Ex.

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1004, ¶0094).       There are 9,216 pairs of “target-specific primers” in the pre-

preamplification step of the Modular Approach, resulting in a plurality (e.g., 9,216)

of targeted sequences. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094)

          126. Fluidigm further teaches that the targeted sequences can be of genomic

DNA. Regarding the targeted nucleic acids (polynucleotide sequences), Fluidigm

states:

             “Target Nucleic Acids [¶0124] Any target nucleic acid that
             can be tagged in an encoding reaction of the invention
             (described herein) can be detected using the methods of the
             invention….[¶0125] The targets can include, for example,
             nucleic acids associated with pathogens, such as viruses,
             bacteria, protozoa, or fungi; RNAs, e.g., those for which over-
             or under-expression is indicative of disease, those that are
             expressed in a tissue- or developmental-specific manner; or
             those that are induced by particular stimuli; genomic DNA,
             which can be analyzed for specific polymorphisms (such as
             SNPs), alleles, or haplotypes, e.g., in genotyping.         Of
             particular interest are genomic DNAs that are altered (e.g.,
             amplified, deleted, and/or mutated) in genetic diseases or
             other pathologies; sequences that are associated with
             desirable or undesirable traits; and/or sequences that
             uniquely identify an individual (e.g., in forensic or paternity
             determinations).”

(Ex. 1003, ¶¶0124-0125)(Emphases added)(Ex. 1004, ¶0094-0095). One of skill in

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the art would have found it obvious that the disclosures in ¶¶0124 and 0125 of

Fluidigm applies to the Modular Approach, because ¶0124 expressly relates the

disclosure to an “encoding reaction of the invention (described herein),” meaning an

invention described in Fluidigm. Paragraph 0124 states that sequences that “can be

tagged in an encoding reaction” can be used. An encoding reaction (i.e., the

“encoding preamplification”) is used in the Fluidigm Modular Approach, as

described above in ¶99, and below under claim element (ii). This likewise indicates

that ¶¶0124-0125 of Fluidigm are applicable to the Modular Approach. Finally, it

was well-known in the relevant timeframe that fetal and maternal DNA from

maternal blood included cell-free genomic DNA.

      127. Fluidigm also discloses that the Modular Approach can be used to

generate a library of enriched non-random polynucleotide sequences. The formation

of a sequencing library is discussed above in ¶¶120-121, under the mapping

preamble of claim 1. In short, Fluidigm states in ¶0160 that the methods “described

herein” (i.e. described in Fluidigm) can be used to prepare a library for later

sequencing. (Ex. 1003, ¶0160)(Ex. 1004, ¶0135). As further discussed immediately

above, the library is a library of polynucleotide sequences that are enriched and non-

random.




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      “wherein said plurality of non-random polynucleotide sequences
      comprises at least 100 different non-random polynucleotide
      sequences selected from a chromosome tested for being aneuploid,
      said enriching comprising:”

      128. The Modular Approach of Fluidigm ultimately results in 9,216 different

non-random polynucleotide sequences in the library, which is at least 100 different

sequences. (Ex. 1003, ¶0119 and ¶0116)(Ex. 1004, ¶0094).

      129. Fluidigm makes clear that the sequences are both different and non-

random, by stating that “target specific primers for 9216 different target nucleic

acids can be employed in one mixture.” (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The

“nucleic acid” is cell-free genomic DNA, and a polynucleotide sequence. (Ex. 1003,

¶¶0042-0043)(Ex. 1004, ¶0094). Note that Fluidigm states that “[t]he term ‘target

nucleic acids’ is used herein to refer to particular nucleic acids to be detected in the

methods of the invention.” (Ex. 1003, ¶0048)(Emphasis added)(Ex. 1004, ¶0034).

Thus, the use of the term “target-specific primers” indicates that the sequences are

non-random. The same 9,216 sequences are retained throughout the entire Modular

Approach.

       130. Fluidigm also teaches that the methods can be used to create a library

for aneuploidy detection. Fluidigm discloses that:

          “The methods of the invention are applicable to any technique
          aimed at detecting the presence or amount of one or more
          target nucleic acids in a nucleic acid sample.          Thus, for

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          example, these methods are applicable to identifying the
          presence of particular polymorphisms (such as SNPs), alleles,
          or haplotypes, or chromosomal abnormalities, such as
          amplifications, deletions, or aneuploidy.”

(Ex. 1003, ¶0175)(Emphases added)(Ex. 1004, ¶0150). One of ordinary skill would

have found it obvious to use the Modular Approach of Fluidigm to test for

aneuploidy, because of the express suggestion quoted above. The suggestion applies

to “the methods of the invention”, i.e. the methods in Fluidigm, including the

Modular Approach.

             It would have been obvious based on Fluidigm to test sequences
      131.
relating to a single chromosome.        Fluidigm expressly suggests testing for

aneuploidy, which is an abnormal number of chromosome(s), or parts of a

chromosome. For example, an extra copy of chromosome 21 resulted in the

condition trisomy 21 (also known as “Down syndrome”).             When testing for

aneuploidy (as expressly suggested by Fluidigm), it would have been obvious to

target sequences on the chromosome suspected of aneuploidy to determine. This

would have allowed one of ordinary skill to count the sequences present, to

determine if there was an elevated level of sequences from the chromosome

suspected of trisomy. Fluidigm expressly teaches, for example, that “the presence

or amount of one or more target nucleic acids” can lead to a detection of aneuploidy.

(Ex. 1003, ¶¶0175)(Emphasis added)(Ex. 1004, ¶0150).          The detection of the
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amount of a target nucleic acid on a chromosome (as compared to a reference, e.g. a

chromosome not being tested for aneuploidy) would obviously have been a way to

test for aneuploidy, which is an abnormal number of a particular chromosome. For

example, it would have been obvious that an extra copy of chromosome 21 in the

fetal genome would have led to elevated levels of sequences form chromosome 21.

It would further have been obvious that using more sequences on chromosome 21

would have been more likely to produce a confident diagnosis.

      132. Such counting was a well-known technique in the relevant timeframe.

For example, Chiu taught detecting trisomy 21 (“T21”) by testing a large number of

sequences on chromosome 21 (“chr21”) and looking for elevated levels of

chromosome 21 sequences in maternal blood. Chiu explains:

          “[F]etal T21 is diagnosed by detecting the small increment in
          the total amount of the chr21 gene locus contributed by the
          trisomic chr21 in the fetus as compared with a gene locus on
          a reference chromosome.       The proportional increment in
          chr21 sequences is expectedly small because fetal DNA
          contributes only a minor fraction of DNA in maternal plasma
          (8). To reliably detect the small increase, a large absolute
          number of chr21 and reference chromosome sequences of
          the loci targeted by the digital PCR assays need to be
          analyzed….”

(Ex. 1013, p. 001, right column)(Emphases added).


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      133. Likewise, Fan 2008 taught that “[b]y counting the number of sequence

tags mapped to each chromosome, the over- or underrepresentation of any

chromosome in maternal plasma DNA contributed by an aneuploid fetus can be

detected.” (Ex. 1006, p. 001, right column).

      134. Moreover, targeting larger numbers of sequences on the same

chromosome would obviously have increased the chance of detecting an abnormal

number of copies of a chromosome in a statistically reliable way (e.g., based on the

use of large numbers). For example, Chiu disclosed that:

          “To reliably detect the small increase, a large absolute number
          of chr21 and reference chromosome sequences of the loci
          targeted by the digital PCR assays need to be analyzed….”

(Ex. 1013, p. 001, right column). One of ordinary skill would have understood this

to mean that by testing additional sequences on the same chromosome, the ability to

more reliably detect aneuploidy would have been increased.


      “(i) a first amplification step to generate a plurality of first reaction
      products, said amplification comprising at least 100 first primers
      configured to amplify at least 100 different non-random
      polynucleotide sequences;”

      135. As discussed above in ¶98, the claimed first amplification step in the

Modular Approach is the optional “pre-pre-amplification” step. In the pre-pre-

amplification step, the sample is selectively enriched by PCR amplification, using


                                         77


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9,216 first primer pairs. Fluidigm discloses:

          “To increase target nucleic acid concentration prior to
          encoding, an optional pre-preamplification reaction can be
          carried out before the encoding preamplification reaction. The
          pre-preamplification can be carried out in multplex [sic:
          multiplex]. For example, target-specific primers for 9216
          different target nucleic acids can be employed in one
          mixture.”

(Ex. 1003, ¶0119)(Emphasis added)(Ex. 1004, ¶0094)

      136. The pre-pre-amplification step “increase[s] target nucleic acid

concentration.” (Ex. 1003, ¶0119)(Ex. 1004, ¶0094), and thus provides a plurality

of first reaction products, in the form of copies of the target sequences.

      137. The pre-pre-amplification amplifies 9,216 “different target nucleic

acids.” (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). As explained directly above, “different

target nucleic acids” means that the nucleic acids (polynucleotide sequences) are

both different and non-random.


       “(ii) a second amplification step to generate a second reaction
      product, said amplification comprising a second set of primers
      comprising sequences contained in the first reaction products;”

      138. As discussed above in ¶¶99-100, the Fluidigm Modular Approach uses

a second amplification step with a second set of primers. The Modular Approach

performs an “encoding pre-amplification” step.         (Ex. 1003, ¶0119)(Ex. 1004,

                                          78


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¶0094).     The “encoding pre-amplification” step divides the enriched sample

produced by the pre-pre-amplification step into a series of different aliquots. In this

particular case, the number chosen is 96 aliquots. (Ex. 1003, ¶0119)(Ex. 1004,

¶0094). The 96 aliquots then each undergo a PCR amplification using, for example,

96 primer pairs in each aliquot. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). The 96 primer

pairs per aliquot can contain “nucleotide tag pairs.” (Ex. 1003, ¶0119)(Ex. 1004,

¶0094). These nucleotide tag pairs (also known as “bar codes” or “encoding

sequences”) are sequences whose purpose is to identify samples from which the

DNA sequences were taken (for example).            (Ex. 1003, ¶¶0005, 0064, 0094,

0115)(Ex. 1004, ¶¶0005-0008, 0071, 0077-0078, 0082, 0090). Fluidigm describes

the “encoding pre-amplification” step immediately after describing the “pre-pre-

amplification step,” as follows:

            “The pre-preamplification can be carried out in multplex [sic:
            multiplex].   For example, target-specific primers for 9216
            different target nucleic acids can be employed in one mixture.
            This mixture can then be divided into R=96 aliquots and
            each aliquot subjected to an encoding preamplification
            reaction on a microfluidic device, using T=96 different
            primer pairs that add 96 different nucleotide tag pairs to the
            target nucleotide sequences in each of the 96 aliquots.”

(Ex. 1003, ¶0119)(Emphases added)(Ex. 1004, ¶0094).

              The “encoding preamplification” step uses a second set of primers,
              139.
                                       79


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where the second set of primers comprises sequences contained in the first reaction

products.    This is because the pre-pre-amplification step amplifies the target

sequences for the entire Modular Approach. The encoding amplification step then

targets these same sequences, which have been divided into 96 aliquots. Fluidigm

discloses that:

            “To increase target nucleic acid concentration prior to
            encoding, an optional pre-preamplification reaction can be
            carried out before the encoding preamplification reaction. The
            pre-preamplification can be carried out in multplex.       For
            example, target-specific primers for 9216 different target
            nucleic acids can be employed in one mixture. This mixture
            can then be divided into R=96 aliquots and each aliquot
            subjected to an encoding preamplification reaction on a
            microfluidic device, using T=96 different primer pairs that add
            96 different nucleotide tag pairs to the target nucleotide
            sequences in each of the 96 aliquots.”

(Ex. 1003, ¶0119)(Emphases added)(Ex. 1004, ¶0094). Because the same sequences

are being targeted, portions of the primers in the second amplification step (the

“encoding amplification”) must be complementary to at least portions of the target

sequences that were the first reaction product. Because a primer sequence is

complementary to one polynucleotide sequence in a DNA molecule, the primer must

comprise at least a portion of the complementary sequence on the other strand of a

DNA molecule. Thus, the second set of primers “compris[es] sequences contained
                                     80


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in the first reaction products.”

       140. Furthermore, Fluidigm expressly states that “[t]o increase specificity,

the primers employed for preamplification can be nested relative to primers

employed for pre-preamplification.” (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). Fluidigm

discloses that:

            “A second primer pair is ‘nested’ relative to a first primer
            pair if the first primer pair is employed to amplify a first
            amplification product and then the second primer pair is
            employed to amplify a target nucleotide sequence within the
            first amplification product. Nesting can be used increase the
            specificity of the amplification reaction.”

(Ex. 1003, ¶0058)(Emphasis added)(Ex. 1004, ¶0044). This further demonstrates

that the second set of primers compris[es] sequences contained in the first reaction

products.

       141. The second amplification step produces a second reaction product, by

amplifying the target nucleic acid sequences and adding encoding sequences to

them. (Ex. 1003, ¶0119, 0116)(Ex. 1004, ¶0094).


      “and (iii) a third amplification step to generate a third reaction
      product comprising said library of enriched non-random
      polynucleotide sequences, said amplification comprising a third set
      of primers comprising sequences contained in the second reaction
      products;”

       142. As described above in ¶¶100-101, Fluidigm describes a third
                                           81


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amplification step that follows the “encoding preamplification” step. In the third

(“amplification”) step, the (e.g. 96) separate aliquots containing tagged DNA can be

added to separate chambers in a microfluidic device. (Ex. 1003, ¶0120)(Ex. 1004,

¶0095). From there, each aliquot will be subdivided 96 times, and each sub-aliquot

is subjected to amplification using a single PCR primer pair specific to the sequence

tag combinations employed in the “encoding preamplification.”            (Ex. 1003,

¶0120)(Ex. 1004, ¶0095). Fluidigm discloses that:

          “After     the     encoding     preamplification      reaction,
          amplification can be carried out in separate chambers of a
          microfluidic device. For example, each of the 96 aliquots
          produced upon encoding preamplification can be loaded into
          individual sample lines of a matrix-type micro fluidic device,
          and each of 96 different tag-specific primer combinations
          can be loaded into individual assay columns. Each different
          of the 96 primer combination can amplify a different target
          nucleic acid in each of the 96 aliquots. The resulting 9216
          reaction chambers (sub-aliquots) can then be subjected to
          amplification, followed by detection of amplification
          product(s)….”

(Ex. 1003, ¶0120)(Emphases added)(Ex. 1004, ¶0095). As noted in the bolded

language above, the primers used in the amplification step are “tag-specific primer

combinations.” (Ex. 1003, ¶0120)(Ex. 1004, ¶0095). This means that the primers

anneal to portions of the encoding tags that were included in the previous encoding

                                         82


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amplification step. To do so, these primers must be complementary to portions of

the tag sequences that are the second amplification product. Because a primer is

complementary to one polynucleotide sequence in a DNA molecule, the primer must

be comprised at least a portion of the complementary sequence on the other strand

of a DNA molecule. Thus, the third set of primers “comprising sequences contained

in the second reaction products.”

       143. The output of the amplification step is 9,216 aliquots, each with a

specific, enriched target (i.e. non-random) sequence. This is the third amplification

product comprising said library of enriched non-random polynucleotide sequences.


       “wherein at least one primer of at least one of the second and third
       sets of primers includes a sequence configured to be added to the
       different non-random polynucleotide sequences to permit the
       enriched non-random polynucleotide sequences of the library to
       anneal to a same sequencing primer for the enriched non-random
       polynucleotide sequences of the library.”

       144. Fluidigm also renders obvious using the primers of the second or third

amplification step to add a sequence that anneals to a sequencing primer. Fluidigm

describes that the various library preparation methods it discloses can be used to

prepare sequencing libraries to be used in later sequencing. (Ex. 1003, ¶¶0160-161,

0177)(Ex. 1004, ¶¶0135-0136, 0152). To facilitate the use in later sequencing,

Fluidigm teaches adding adaptors through the tagging amplification steps. Fluidigm

states that:

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         “If desired, tagged target nucleotide sequences generated as
         described herein may be analyzed by DNA sequencing.
         Many current DNA sequencing techniques rely on ‘sequencing
         by synthesis.’    These techniques entail library creation,
         massively parallel PCR amplification of library molecules,
         and sequencing. Library creation starts with conversion of
         sample nucleic acids to appropriately sized fragments, ligation
         of adaptor sequences onto the ends of the fragments, and
         selection for molecules properly appended with adaptors. The
         presence of the adaptor sequences on the ends of the library
         molecules enables amplification of random- sequence inserts.
         The above-described methods for tagging nucleotide
         sequences can be substituted for ligation, to introduce
         adaptor sequences.”

(Ex. 1003, ¶0160)(Emphases added)(Ex. 1004, ¶0135).

      145. Fluidigm also teaches that “Solexa” sequencing as an example of
sequencing that can be used with the Fluidigm methods:

         “In particular embodiments, the number of library DNA
         molecules produced in the massively parallel PCR step is low
         enough that the chance of two molecules associating with the
         same substrate, e.g. the same bead (in 454 DNA sequencing) or
         the same surface patch (in Solexa DNA sequencing) is low, but
         high enough so that the yield of amplified sequences is
         sufficient to provide a high throughput in automated
         sequencing.”

                                       84


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(Ex. 1003, ¶0161)(Emphasis added)(Ex. 1004, ¶0136). This is relevant because

Solexa sequencing in the relevant timeframe was well-known to use a “same

sequencing primer” (called a “universal primer for sequencing” in Bentley). (Ex.

1008, p. 001). In Solexa sequencing, two sequencing adaptors are added to library

molecules, which are then amplified by bridge PCR. The bound templates from the

library are made single stranded. A single same or universal sequencing primer is

then annealed to each template having respective sequencing adaptor. This approach

has the advantage of only requiring one single, same sequencing primer for each

library molecule. (Ex. 1008, p. 001).

      146. It would have been obvious to use the primers in the amplification

(second or third) steps of Fluidigm to introduce sequencing adaptors into the library

sequences of Fluidigm’s Modular approach. This is because Fluidigm states that its

methods can be used for sequencing analysis, and expressly states that Solexa

sequencing can be used. In Solexa sequencing, it is necessary to introduce an

adaptor to the library sequences prior to sequencing. When sequencing occurs, a

same sequencing primer anneals to the adaptor. (Ex. 1008, p. 001).

      147. Fluidigm also suggests that the adaptors otherwise introduced by

ligation could be added using the tagging nucleotide sequences.          (Ex. 1003,

¶0160)(Ex. 1004, ¶0135). In Solexa sequencing, the sequencing adaptors were

typically introduced by ligation. (Ex. 1008, p. 001)(Ex. 1012, Fig. 1). As noted

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above, Fluidigm teaches substituting its encoding methods (including the Modular

Approach) for such ligation, specifically to add adaptors. (Ex. 1003, ¶0160)(Ex.

1004, ¶0135). It would have been obvious that the adaptors could be introduced by

using PCR primers that contain one or more adaptor sequences. It was well-known

in the relevant timeframe that PCR primers could be used to introduce arbitrary

sequences of reasonable length. For example, Fluidigm teaches using PCR primers

in the “encoding amplification” step to introduce DNA sequence tags (Ex. 1003,

¶0119)(Ex. 1004, ¶0094), which are arbitrary sequences used simply to identify

different samples. (Ex. 1003, ¶¶0101, 0064, 0094)(Ex. 1004, ¶¶0080, 0050, 0082).

This conclusion is reinforced by the fact that Fluidigm teaches that encoding PCR

and encoding ligation can both be used to add a tag sequence. In Fluidigm’s words:

          “Nucleotide tags can be added, for example, by an ‘encoding
          PCR’ in which the at least one primer comprises a target-
          specific portion and a nucleotide tag located on the 5’ end of
          the target-specific portion, and a second primer that
          comprises only a target-specific portion or a target-specific
          portion and a nucleotide tag located on the 5’ end of the
          target-specific portion.   For illustrative examples of PCR
          protocols applicable to encoding PCR, see pending WO
          Application US03/37808 as well as U.S. Pat. No. 6,605,451.
          Nucleotide tags can also be added by an ‘encoding ligation’
          reaction that can comprise a ligation reaction in which at least
          one primer comprises a target-specific portion and nucleotide

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          tag located on the 5’ end of the target-specific portion, and a
          second primer that comprises a target-specific portion only or a
          target-specific portion and a nucleotide tag located on the 5’ end
          of the target specific portion.”

(Ex. 1003, ¶0062)(Emphases added)(Ex. 1004, ¶0048).

      148. Fluidigm also teaches that tag sequences introduced by PCR can be

functional. For example, Fluidigm teaches that tag sequences can anneal to a later-

employed PCR primer. (Ex. 1003, ¶¶0086, 0092, 0108, 0119)(Ex. 1004, ¶¶0074,

0085, 0094). Because one can introduce arbitrary functional sequences using PCR

primers (known to be an alternative to ligation), it would have been obvious to

introduce a sequencing adaptor sequence to perform Solexa sequencing, as expressly

suggested by Fluidigm.

      149. Furthermore, it would have been obvious to introduce sequencing

adaptors to include a same sequencing primer in the third (“amplification step”)

because the primers used in this step can anneal to the encoding tags introduced in

the “encoding pre-amplification step,” thus requiring fewer primers overall.

      150. In this way it would have been obvious to have at least one primer of at

least one of the second and third sets of primers (i.e. the primers of the [third]

amplification step of Fluidigm’s Modular Approach) to include a sequence (i.e. a

sequencing adaptor for Solexa sequencing) configured to be added to the different

non-random polynucleotide sequences (because the adaptors will be added in the

                                             87


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Modular Approach’s [third] amplification step) to permit the enriched non-random

polynucleotide sequences of the library to anneal to a same sequencing primer (i.e.

the Solexa sequencing primer) for the enriched non-random polynucleotide

sequences of the library (i.e. the output of Fluidigm’s Modular Approach).

                                     Claim 2

      “2. The method of claim 1, wherein at least one primer of at least
      one of the second and third sets of primers includes a sequence
      configured to be added to the different non-random polynucleotide
      sequences to add an index to the enriched non-random
      polynucleotide sequences of the library, the index being indicative of
      the maternal blood sample from which the library was generated.”

      151. In my opinion, claim 2 of the ’831 Patent would also have been obvious

in view of Fluidigm. For example, Fluidigm teaches that samples can be mixed, and

when mixed, can use sample-specific nucleotide tags to identify the origin of the

sample (e.g., the person from whom the sample was taken). (Ex. 1003, ¶¶0002,

0005, 0062, 0094, 0115)(Ex. 1004, ¶¶0005-0008, 0071, 0077-0078, 0082).

      152. Specifically, Fluidigm teaches an “encoding amplification” step that

adds a nucleotide tag or index using a second set of primers, as discussed above in

¶¶99 and 138-141. This constitutes at least one primer of at least one of the second

set of primers including a nucleotide tag or index sequence configured to be added

to the different non-random polynucleotide sequences.

      153. It would have been obvious to use a primer in the second step of

Fluidigm’s Modular Approach to add an index to the enriched non-random
                                  88


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polynucleotide sequences of the library, the index being indicative of the maternal

blood sample from which the library was generated.

      154. Fluidigm teaches that samples from different individuals can be mixed,

and before they are mixed, the samples should be tagged to identify the origin of the

sample:

          “In certain embodiments, the method entails providing S
          samples that will be mixed together prior to assay, where S is
          an integer greater than 1. Each of these samples can be
          separately subjected to an encoding reaction that produces a
          set of T tagged target nucleotide sequences, each tagged target
          nucleotide sequence comprising a sample specific nucleotide
          tag and a target nucleotide sequence.”

(Ex. 1003, ¶0005)(Emphases added)(Ex. 1004, ¶0005).

      155. Fluidigm also defines a “sample-specific nucleotide tag” as follows:

          “The term ‘sample-specific’ nucleotide tag is used herein to
          refer to a nucleotide tag that encodes the identity of the
          sample of the target nucleotide sequence to which the tag is, or
          becomes, linked in an encoding reaction.”

(Ex. 1003, ¶0064)(Emphasis added)(Ex. 1004, ¶0050). In the context of the present

Ground, the tag is an index that is indicative of the maternal blood sample from

which the library was generated.

      156. In my opinion, it would have been obvious to add a sample-specific

                                         89


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nucleotide tag using the second set of primers. These primers were already intended

to add tags (see discussion in ¶¶138-141, above). Based on Fluidigm’s teaching to

mix samples and track them using a sample-specific nucleotide tag, it would have

been obvious to do so. One of ordinary skill would also have had a reasonable

expectation of success, because (as discussed above in ¶147), it was well-known that

one could add arbitrary sequences of reasonable length using PCR primers.

                                     Claim 3

      “3. The method of claim 1, wherein at least one primer of the third
      set of primers includes a sequence configured to be added to the
      different non-random polynucleotide sequences to add an index to
      the enriched non-random polynucleotide sequences of the library,
      the index being indicative of the maternal blood sample from which
      the library was generated.”

      157. In my opinion, claim 3 of the ’831 Patent would also have been obvious

in view of Fluidigm, for largely the same reasons discussed above under claim 2,

¶¶151-156.    Fluidigm teaches mixing samples and using a sample-specific

nucleotide tag to track the sample’s origin. (Ex. 1003, ¶0002, 0094)(Ex. 1004,

0082). The sample-specific nucleotide tags could be added by PCR, including

during the third (amplification) step explained above in ¶¶142-143 and 100-101. It

would have been obvious to one of ordinary skill in the relevant timeframe to add

the sample-specific nucleotide tag prior to mixing samples. It would further have

been apparent that this could happen during any of the three PCR-based

amplification steps, including the third (“amplification”) step. Thus, it would have
                                          90


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been obvious to use at least one primer of the third set of primers having a sample-

specific nucleotide sequence (i.e. a sequence configured to be added to the different

non-random polynucleotide sequences to add an index to the enriched non-random

polynucleotide sequences of the library). This would have had the added advantage

of requiring fewer primers, because the primers could target tags added in the second

step. (Ex. 1003, ¶0119)(Ex. 1004, ¶0094). This is because the sample-specific

nucleotide sequence “encodes the identity of the sample” (Ex. 1003, ¶0064)(Ex.

1004, ¶0050), it is indicative of the maternal blood sample from which the library

was generated.

                                      Claim 4

      “4. The method of claim 1, wherein primers of the second set of
      primers contain universal sequences such that nucleic acids of the
      second reaction product contain common universal sequences added
      to the different non-random polynucleotide sequences, and wherein
      the third set of primers are configured to hybridize at least in part to
      the common universal sequences.”

      158. In my opinion, claim 4 of the ’831 Patent would also have been obvious

in view of Fluidigm. For example, Fluidigm teaches that each aliquot in the

encoding amplification step is amplified using primers (i.e. primers of the second set

of primers) that introduce tags (i.e. the common universal sequences) to which

primers in the third set of primers (i.e. primers in the amplification step) are

configured to hybridize. Fluidigm discloses that:

          “Each of the R aliquots can be separately subjected to an
                                     91


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           encoding reaction that produces a set of T tagged target
           nucleotide sequences, wherein T is the number of target nucleic
           acids to be detected in each aliquot, T being an integer greater
           than one (e.g., 96). Each tagged target nucleotide sequence
           includes a first nucleotide tag 5’ of a target nucleotide sequence,
           a target nucleotide sequence, and a second nucleotide tag 3’ of
           the target nucleotide sequence. The combination of nucleotide
           tags in each of said T tagged target nucleotide sequences is
           unique for every tagged target nucleotide sequence in each
           aliquot. However, the same set of first and second nucleotide
           tag combinations is used in the encoding reaction in each of
           the aliquots.”

(Ex. 1003, ¶0116)(Emphasis added)(Ex. 1004, ¶0091).

       159. This approach allows Fluidigm to re-use tag sequences. As Fluidigm

states that:

           “Within each module, the sets of tag pairs differ from one
           another, but same set of tag pairs is used for each module.”

(Ex. 1003, ¶0115)(Ex. 1004, ¶0090).

       160. For this reason, tag combinations present in one aliquot are re-used in

other aliquots:

           “[I]n certain embodiments, the combination of nucleotide tags
           in each of said T tagged target nucleotide sequences is present
           in a tagged target nucleotide sequence in each of the other
           aliquots, although each tag combination can be attached to a
                                           92


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          different target nucleotide sequence.”

(Ex. 1003, ¶0116)(Ex. 1004, ¶0091). Because the same tag-pair will be present in

each of the 96 aliquots and attached to different target sequences, the various tag

pairs are common universal sequences.

      161. The third set of primers hybridizes to these sequences, because the third

set of primers (in the “amplification step”) are tag-specific primers, as Fluidigm

explains in ¶0120. (Ex. 1003, ¶0120)(“96 different tag-specific primer

combinations can be loaded into individual assay columns”)(Emphasis added)(Ex.

1004, ¶0095). This means that the third set of primers are configured to hybridize

to the tags introduced in the second step (the “encoding amplification”).

                                      Claim 5

      “5. The method of claim 4, wherein at least one primer of the third
      set of primers includes a sequence configured to be added to the
      different non-random polynucleotide sequences to add an index to
      the enriched non-random polynucleotide sequences of the library,
      the index being indicative of the maternal blood sample from which
      the library was generated.”

      162. In my opinion, claim 5 of the ’831 Patent would also have been obvious

in view of Fluidigm. Claim 5 is obvious over Fluidigm for the same reasons given

for claim 3, as discussed in ¶157. The requirement of intervening claim 4 does not

alter the analysis presented under claim 3.

                                      Claim 6


                                         93


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      “6. The method of claim 1, wherein said plurality of non-random
      polynucleotide sequences comprises at least 300 different non-
      random polynucleotide sequences selected from the chromosome
      tested for being aneuploid.”

      163. In my opinion, claim 6 of the ’831 Patent would also have been obvious

in view of Fluidigm. As explained above in ¶¶131-134, it would have been obvious

to test a specific chromosome for being aneuploid based on Fluidigm’s suggestion

to use the “amount or presence” of target sequences to test for aneuploidy, and the

known successes in performing similar analyses. (Ex. 1003, ¶0175)(Ex. 1004,

¶0150)(Ex. 1006, p. 001, right column)(Ex. 1013, p. 001, right column). Because

Fluidigm’s modular approach uses 9,216 sequences, it would have been obvious to

have at least 300 such sequences come from the chromosome being tested for

aneuploidy, in order to determine whether the amount of such sequences was

abnormally high, for example in the case of Down syndrome. It would have been

obvious that testing more sequences would result in a higher chance to correctly

detect aneuploidy. Chromosomes are typically very long in length compared to

those polynucleotide templates that are sequenced with next generation sequencers.

Targeting larger numbers of sequences on a chromosome would obviously have

increased the chance of detecting an abnormal number of copies of a chromosome

in a statistically reliable way. For example, Chiu in 2008 stated that:

          “To reliably detect the small increase, a large absolute number
          of chr21 and reference chromosome sequences of the loci
                                         94


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          targeted by the digital PCR assays need to be analyzed….”

(Ex. 1013, p. 001, right column). One of ordinary skill would have understood this

to mean that by testing additional sequences on the same chromosome, the ability to

more reliably detect aneuploidy would have been increased.

                                      Claim 7

      “7. The method of claim 1, wherein said plurality of non-random
      polynucleotide sequences comprises at least 500 different non-
      random polynucleotide sequences selected from the chromosome
      tested for being aneuploid.”

      164. In my opinion, claim 7 of the ’831 Patent would also have been obvious

in view of Fluidigm. For the same reasons explained above for claim 6 in ¶162, it

would have been obvious to have at least 500 of such sequences from the

chromosome being tested for being aneuploidy.

                                      Claim 10

      “10. The method of claim 1, wherein said selectively enriching
      comprises performing PCR.”

      165. In my opinion, claim 10 of the ’831 Patent would also have been

obvious in view of Fluidigm. The “selectively enriching” of claim 1 comprises steps

b(i), (ii) and (iii). Each of these steps use primers, which indicates the use of PCR.

(Ex. 1003, ¶¶0119-0120)(Ex. 1004, ¶0094-0095).

      166. Fluidigm also teaches that the “encoding amplification” step (the

second amplification) of the Modular Approach can use PCR. Fluidigm states that:

                                         95


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          “As used herein, the term ‘encoding reaction’ refers to reaction
          in which at least one nucleotide tag is added to a target
          nucleotide sequence.        Nucleotide tags can be added, for
          example, by an ‘encoding PCR’ in which the at least one
          primer comprises a target-specific portion and a nucleotide tag
          located on the 5’ end of the target-specific portion, and a second
          primer that comprises only a target-specific portion or a target-
          specific portion and a nucleotide tag located on the 5’ end of the
          target-specific portion.”

(Ex. 1003, ¶0062)(Ex. 1004, ¶0048).

                                       Claim 14

      167. In my opinion, claim 14 of the ’831 Patent would also have been

obvious in view of Fluidigm.


      “14. A method for preparing a sequencing library from a maternal
      blood sample, the method comprising:”

      168. The preamble of claim 14 of the ’831 Patent is disclosed in the same

manner as the preamble of claim 1, as discussed in ¶¶119-121.


      “a. obtaining a maternal blood sample comprising fetal and
      maternal cell-free DNA;”

      169. Element a. of claim 14 of the ’831 Patent is disclosed in the same

manner as Element a. of claim 1, as discussed in ¶122



                                          96


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      “b. selectively enriching a plurality of non-random polynucleotide
      sequences of genomic DNA from said fetal and maternal cell-free
      DNA to generate a library of enriched non-random polynucleotide
      sequences,”

      170. Element b. of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b. of claim 1, as discussed in ¶¶124-134.


      “wherein said plurality of non-random polynucleotide sequences
      comprises at least 100 different non-random polynucleotide
      sequences selected from a chromosome tested for being aneuploid,
      said enriching comprising:”

      171. Element b. of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b. of claim 1, as discussed in ¶¶124-134.


      “(i) amplifying said plurality of non-random polynucleotide
      sequences from said maternal and fetal genomic DNA using a first
      pair of primers,”

      172. Element b(i). of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b(i). of claim 1, as discussed in ¶¶135-137.


      “wherein said plurality of non-random polynucleotide sequences
      comprises at least 100 different non-random polynucleotide
      sequences selected from a chromosome tested for being aneuploid;”

      173. Element b(i). of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b(i). of claim 1, as discussed in ¶¶124-137.


      “(ii) amplifying the product of (i) with a second set of primers;”
                                        97


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      174. Element b(ii). of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b(ii). of claim 1, as discussed in ¶¶138-141, noting that this claim

element is broader than the corresponding element of claim 1.


      “(iii) amplifying the product of (ii) with a third set of primers;”

      175. Element b(iii). of claim 14 of the ’831 Patent is disclosed in the same

manner as Element b(iii). of claim 1, as discussed in ¶¶142-143, noting that this

claim element is broader than the corresponding element of claim 1.


      “and wherein one of said second or third sets of primers includes an
      indexing sequence.”

      176. This element of claim 14 of the ’831 Patent is disclosed in the same

manner as claim 2, as discussed in ¶¶151-156, noting that this claim element is

broader than both claim 2 and distinct from the last “wherein” clause of claim 1.

                                      Claim 15

      “15. The method of claim 14, wherein said third set of primers
      includes the indexing sequence.”

      177. In my opinion, claim 15 of the ’831 Patent would also have been

obvious in view of Fluidigm. Claim 15 is obvious over Fluidigm for the same

reasons given for claim 3, as discussed in ¶157. The dependency from claim 14 does

not alter the analysis presented under claim 3.

                                      Claim 16

                                         98


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      “16. The method of claim 14, wherein said indexing sequence
      distinguishes polynucleotides in the maternal blood sample from
      polynucleotides in a different sample.”

      178. In my opinion, claim 16 of the ’831 Patent would also have been

obvious in view of Fluidigm. As discussed above under claim 2 (¶¶151-156),

Fluidigm renders obvious using “sample-specific” DNA tags.             (Ex. 1003,

¶0075)(Ex. 1004, ¶0061). Sample-specific tags “encode[] the identity of the sample

of the target nucleotide sequence to which the tag is, or becomes, linked in an

encoding reaction.” (Ex. 1003, ¶0064)(Ex. 1004, ¶0050). Because the tag “encodes

the identity” of a sample, and is attached to particular sequence from that sample,

the tag obviously distinguishes sequences in different samples.      The tags are

obviously different, because when samples are pooled in a multiplexed run (see

¶149, below), the tags must have distinct sequences in order to be able to separate

distinguish sequence reads from different samples.

                                    Claim 17

      “17. The method of claim 14, wherein said cell-free DNA is from a
      plurality of different individuals, and wherein said indexing
      sequence identifies a maternal blood sample from each of said
      plurality of different individuals.”

      179. In my opinion, claim 17 of the ’831 Patent would also have been

obvious in view of Fluidigm. It would specifically have been obvious to use cell-

free DNA from a plurality of individuals, where each individual’s sequences are


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identified with an index sequence. Fluidigm expressly discloses that:

          “In various embodiments, methods are provided for detecting a
          plurality of target nucleic acids (i.e., T target nucleic acids,
          where T is an integer greater than one) in a plurality of samples.
          In certain embodiments, the method entails providing S
          samples that will be mixed together (i.e., pooled) prior to
          assay, where S is an integer greater than 1. Each of these
          samples is separately subjected to an encoding reaction that
          produces a set of T tagged target nucleotide sequences, wherein
          each nucleotide tag encodes information about the identity
          and/or sample source of a particular target nucleic acid. For
          each of these S samples (i.e., each of the samples to be pooled),
          the tagged target nucleotide sequences are mixed to form an
          assay mixture.”

(Ex. 1004, ¶¶0005, 0086)(Emphases added)(Ex. 1004, ¶¶0005-0008, 0071, 0077-

0078, 0082). In the Fluidigm Modular Approach, it would have been obvious to

combine samples after the encoding amplification step described above (i.e. after

adding sample-specific tags), because if added earlier one would not be able to use

the tags to distinguish the samples.

                                       Claim 18

      “18. The method of claim 14, wherein said plurality of non-random
      polynucleotide sequences comprises at least 300 different non-
      random polynucleotide sequences selected from the chromosome
      tested for being aneuploid.”



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      180. In my opinion, claim 18 of the ’831 Patent would also have been

obvious in view of Fluidigm. For the same reasons explained above for claim 6 in

¶162, it would have been obvious to have at least 300 of such sequences from the

chromosome being tested for being aneuploidy. The change in dependency to claim

14 does not affect the analysis.

                                     Claim 19

      “19. The method of claim 14, wherein said plurality of non-random
      polynucleotide sequences comprises at least 500 different non-
      random polynucleotide sequences selected from the chromosome
      tested for being aneuploid.”

      181. In my opinion, claim 19 of the ’831 Patent would also have been

obvious in view of Fluidigm. For the same reasons explained above for claim 6 in

¶162, it would have been obvious to have at least 500 of such sequences from the

chromosome being tested for being aneuploidy. The change in dependency to claim

14 does not affect the analysis.

                                     Claim 22

      “22. The method of claim 14, wherein said selectively enriching
      comprises performing PCR.”

      182. In my opinion, claim 22 of the ’831 Patent would also have been

obvious in view of Fluidigm. For the same reasons explained above for claim 10 in

¶¶165-166, Fluidigm discloses and renders obvious the use of PCR, because each of

its three amplification steps in the Modular Approach use primers, and the “encoding

                                        101


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amplification” step is expressly PCR.



Ground 2. Claims 1-10, 13-22 and 24 are obvious as in Ground 1 in further
          view of Sequenom.

      183. It is further my opinion that claims 1-10, 13-22 and 24 of the ’831

Patent would have been obvious over Fluidigm and the knowledge of one of ordinary

skill, as applied above in Ground 1, in view of WO2009/032781A2

(“Sequenom”)(Ex. 1005).

                          Overview of the Combination

      184. In my analysis for Ground 2, I am using Fluidigm and the knowledge

of one of ordinary skill in the same manner as discussed under Ground 1 (¶¶93-182),

and the discussion from Ground 1 is applies to Ground 2 in the same way. Sequenom

provides additional support for obviousness of the claims challenged in Ground 1,

and teaches subject matter directly related to dependent claims 8-9, 13, 20-21 and

24. For these dependent claims, there are two distinct sets: The first set of claims,

claims 8, 9, 20 and 21, recite limitations relating to the length of the “plurality of

non-random polynucleotide sequences.” Fluidigm does not teach the length of the

sequences expressly. However, Fluidigm does suggest targeting fetal DNA in

maternal blood samples. Sequenom discloses that fetal DNA in maternal blood

samples was known to be of a length the meets the limitations of claims 8, 9, 20 and

21. Sequenom further teaches targeting sequences that are between 10 and 500 base

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pairs and 50 and 150 base pairs in length.

      185. The second set of claims, claims 13 and 24, recites that the

“chromosome tested is selected from the group consisting of chromosome 13,

chromosome 18, chromosome 21, chromosome X, and chromosome Y.” While

Fluidigm expressly discloses testing for chromosomal aneuploidy, Fluidigm does

not disclose particular chromosomes to test. Sequenom is cited because it expressly

identifies trisomy 13, 18 and 21 as types of chromosomal aneuploidy that are

desirably diagnosed using fetal DNA found in maternal blood.

                         Rationale for the Combination

      186. As I discuss above in ¶¶93-182, it is my opinion that claims 1-7, 10, 14-

19, 22 of the ’831 Patent would have been obvious over Fluidigm. Sequenom

supports my opinion of obviousness, because it demonstrates the well-known use of

cell-free DNA from maternal plasma (Ex. 1005, 1:31-2:5, 5:5-13, 8:2-5, 10:26-

11:20) for pre-natal diagnostic testing for chromosomal aneuploidy. (Ex. 1005,

10:26-11:20, 24:23-26:27). For example, Sequenom states that:

          “Thus the present invention in part features methods of
          detecting abnormalities in a fetus by detecting fetal DNA in
          a biological sample obtained from a mother….Exemplary
          diseases that may be diagnosed include, for example,
          preeclampsia, preterm labor, hyperemesis gravidarum, ectopic
          pregnancy, fetal chromosomal aneuploidy (such as trisomy
          18, 21, or 13), and intrauterine growth retardation.”

                                        103


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(Ex. 1005, 25:10-20)(Emphases added). This supports the motivation (already

expressly present in Fluidigm) to use Fluidigm’s methods of library preparation on

cell-free fetal and maternal DNA to target sequences on a chromosome being tested

for aneuploidy.

       187. Sequenom also provides specific motivation for dependent claims 8-9,

13, 20-21 and 24, which will be discussed under each claim below.

                                   Graham Factors

       188. The four Graham factors (see ¶84) are the same as discussed under

Ground 1, except that the scope and content of the prior art and differences between

the prior art as relevant to claims challenged in Ground 2 are discussed in Ground 2.

                        Reasonable Expectation of Success

       189. In my opinion, by the relevant timeframe one of ordinary skill would

have expected reasonable success in combining Sequenom with Fluidigm. The

discussion under Ground 1 in ¶¶113-117 is also relevant here. In the combination,

Sequenom is cited primarily as disclosing the knowledge of one of ordinary skill

concerning the length characteristics of cell-free fetal DNA in maternal blood, the

nature of certain types of aneuploidy (e.g. trisomy 21), and the desire to test for them.

One of ordinary skill would have been able to target DNA sequences of certain

lengths by introducing specific forward and reverse primers separated by a region of

interest as discussed by Sequenom.


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                           Sequenom is Analogous Art

      190. Sequenom is analogous art because it is in the same field as the ’831

Patent (DNA sequencing library preparation), and its methods of library preparation

would have been reasonably pertinent to the problems facing the named inventors.

                                  Claim Mapping

                           Claims 1-7, 10, 14-19, and 22

      191. Claims 1-7, 10, 14-19, and 22 of the ’831 Patent are mapped as

discussed in Ground 1, above, ¶¶118-182.

                               Claims 8-9 and 20-21

      192. I have reviewed claims 8 and 20 of the ’831 Patent, which appear to be

of the same scope except that claim 8 depends from claim 1, while claim 20 depends

from claim 14. Because the difference in dependency makes no difference to the

analysis, I will analyze claims 8 and 20 together.


      “8 [20]. The method of claim 1 [14], wherein each of said plurality
      of non-random polynucleotide sequences is from 10 to 500
      nucleotide bases in length.”

      193. As discussed above in ¶¶119-122, Fluidigm renders obvious using cell-

free fetal DNA in maternal blood samples. Furthermore, Sequenom teaches the use

of cell-free fetal DNA in a maternal plasma sample to test for aneuploidy (¶156,

above).

      194. As noted in above (¶¶184-156), Sequenom teaches that fetal DNA in

                                        105


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maternal blood samples:

          “is relatively small (approximately 500 base pairs or less),
          whereas the majority of circulatory, extracellular maternal
          DNA in maternal plasma is greater than approximately 500 base
          pairs.”

(Ex. 1005, 2:1-4)(Emphasis added). Thus, it would have been unlikely to target

sequences longer than 500 base pairs to achieve success PCR products when

targeting both fetal and maternal cell-free DNA.

      195. Sequenom also teaches that it is preferable when testing fetal DNA to

target small sequences. (Ex. 1005, 2:2-12). For example, Sequenom teaches that:

          “Methods of the present invention allow for the selective
          enrichment of any nucleic acid less than a given size based on
          the placement of the outside primers. For example, outside
          primers designed to anneal to a non-target nucleic acid 500 base
          pair apart often will allow for the preferential amplification of
          target nucleic acid less than 500 base pair.             In one
          embodiment of the invention, methods provided herein are used
          to preferentially amplify nucleic acid within the range of about
          25 bases to about 10,000 bases from a sample comprising a
          background of longer nucleic 20 acid. In certain embodiments,
          the target nucleic acid is at least about 75 base pairs, but less
          than about 1200 base pairs. In some embodiments, the target
          nucleic acid is less than 500 base pairs.”

(Ex. 1005, 3:14-21)(Emphases added).
                                        106


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      196. Sequenom further teaches using inside primers to target sequences

having smaller lengths (that fall within the claimed ranges):

          “In some embodiments of the invention, the inside primers
          flank a locus of interest. In certain embodiments, the pair of
          inside primers are less than 10, 20, 30, 40, 50, 60, 70, 80, 90,
          100, 150, 200, 250, 300, 350, 400, 450, 500, 550, 600, 650, 700,
          800, 900, 1 000, 1500 or more base pairs apart.”

(Ex. 1005, 3:22-25)(Emphasis added – bold: claims 8 and 20; bold underlined:

claims 9 and 21). Using inside primers in this manner will result in sequences of the

targeted lengths. In one example, Sequenom teaches using inside primers to target

a sequence of 120 base pairs. (Ex. 1005, 30:6, et seq.). Such use of inside primers

to target sequences of a particular length was well-known in the art and could have

been adapted with a reasonable expectation of success in Fluidigm’s Modular

Approach (within the 9,216 primer pairs).

      197. It would have been obvious in view of Sequenom to have each of the

plurality of non-random polynucleotide sequences in Fluidigm be from 10 to 500

nucleotide bases in length. Specifically, by suggesting targeting fetal DNA in

maternal blood, Fluidigm is already suggesting targeting short (generally under 500

base pair) sequences. Furthermore, Sequenom teaches that it is advantageous to

target short sequences. (Ex. 1005, 2:2-12). By adopting Sequenom’s specific

suggestion of using inside primers 10, 20, 30, 40, 50, 60, 70, 80, 90, 100, 150, 200,

                                        107


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250, 300, 350, 400, 450, or 500 base pairs apart, the combination would meet claims

8 and 20.

                                 Claims 9 and 21

      198. Claims 9 and 21 of the ’831 Patent are identical except for their

dependencies. Claims 9 and 21 restrict the range of base-pair lengths in claims 8

and 20, respectively, to 50 to 150 base pairs. In my opinion, the combination of

Fluidigm and Sequenom would render claims 9 and 21 obvious for the same reasons

discussed in ¶¶192-197 with respect to claims 8 and 20, above.

                                 Claims 13 and 24

      199. In my opinion, claims 13 and 24 of the ’831 Patent would also have

been obvious in view of Fluidigm and Sequenom. Claims 13 and 24 are identical,

except that claim 13 depends from claim 1, while claim 24 depends from claim 14.

Because the difference in dependency makes no difference to the analysis, claims 13

and 24 are addressed together.


       “13 [24]. The method of claim 1 [14], wherein said chromosome
      tested is selected from the group consisting of chromosome 13,
      chromosome 18, chromosome 21, chromosome X, and chromosome
      Y.”

      200. As discussed above in ¶¶113-116, 119-122 and 130-134, Fluidigm

teaches that its methods can be applied to fetal DNA in maternal blood and can be

used to detect chromosomal aneuploidy. Sequenom expressly identifies trisomy 13,


                                       108


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18 and 21 (the latter being associated with Down syndrome) as types of

chromosomal aneuploidy that can be detected by examining cell-free fetal DNA in

maternal blood. (Ex. 1005, 2:10-21, 9:9-18). Sequenom states that, for example:

          “[T]he present invention in part features methods of detecting
          abnormalities in a fetus by detecting fetal DNA in a
          biological sample obtained from a mother. The methods
          according to the present invention in part provide for detecting
          fetal DNA in a maternal sample by preferentially amplifying
          fetal DNA in a background of maternal DNA based on DNA
          characteristics (e.g., size). See Chan et al. Clin Chem. 2004
          Jan;50(1 ):88-92; and Li et al. Clin Chem. 2004 Jun;50(6):1002-
          11. Employing such methods, fetal DNA can be predictive of
          a genetic anomaly or genetic-based disease. These methods are
          applicable to any and all pregnancy-associated conditions for
          which nucleic acid changes, mutations or other characteristics
          (e.g., methylation state) are associated with a disease state.
          Exemplary diseases that may be diagnosed include, for
          example,      preeclampsia,   preterm    labor,     hyperemesis
          gravidarum,     ectopic   pregnancy,     fetal    chromosomal
          aneuploidy (such as trisomy 18, 21, or 13), and intrauterine
          growth retardation.”

(Ex. 1005, 25:10-20)(Emphases added). Sequenom specifically teaches using cell-

free fetal and maternal DNA from maternal plasma (which is the liquid and cell-free

component of blood). (Ex. 1005, 1:31-2:5, 5:5-13, 5:29-6:8, 8:2-5, 10:26-11:20).


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DNA in maternal plasma belongs to both the mother and the fetus and is cell-free.

      201. Furthermore, in the relevant timeframe, it was well-known that trisomy

21 (also called Down syndrome) was routinely tested in pregnant women. (Ex. 1006,

p. 001)(Ex. 1013, p. 001). Accordingly, one of ordinary skill would have been

motivated to test for at least trisomy 21 using the method taught in Fluidigm based

on the disclosure by Sequenom and the knowledge in the art.



Ground 3. Claim 12 is obvious as in Ground 1 in further view of Harismendy
      202. In my opinion Claim 12 of the ’831 Patent would have been obvious

over Fluidigm and the knowledge of one of ordinary skill, as presented in ¶¶93-182,

above, in further view of Harismendy. (Ex. 1007)(“Harismendy”).

                               Overview of Claim 12

      203. Claim 12 recites:

       “The method of claim 1, wherein said non-random polynucleotide
       sequences comprise sequences that are sequenced at a rate of
       greater than 5-fold than other sequences on the chromosome.”

      204. Claim 12 appears to relate to the ’831 Patent’s discussion of “hotspots.”

According to the ’831 Patent, a hotspot is a portion of the genome that, when

sequenced, appears at a higher frequency (i.e. number of unique sequence reads)

than other sequences. The ’831 Patent describes that:

          “Selecting Sequences Based on ‘Hotspots’ [¶] Sequencing data
                                       110


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          can be analyzed to identify polynucleotide sequences to be
          selectively enriched. Some polynucleotide sequences from a
          sample comprising nucleic acids (e.g., genomic DNA) can be
          sequenced at a higher frequency than other polynucleotide
          sequences. These sequences may be more likely to be enriched
          by, for example, amplification methods.”

(Ex. 1001, 6:59-65)(Emphases added). The ’831 Patent suggests targeting these

high-frequency regions (“hotspots”) to reduce the cost of the process:

          “Identifying and enriching these polynucleotide sequences can
          reduce the number of nucleic acids that need to be analyzed to
          determine the presence or absence of fetal aneuploidy. This
          enrichment can reduce the cost of aneuploidy determination.”

(Ex. 1001, 6:65-7:3)

      205. The ’831 Patent does not, however, explain how to identify hotspot

regions, but rather merely states that frequency rate data can be obtained from an

unidentified database:

          “In one embodiment, the non-random sequences to be selectively
          enriched are identified based on the number of times they are
          sequenced in a database of sequence information, independent of
          the rate of sequencing of a second set of sequences.”

(Ex. 1001, 8:16-20; 7:10-22).

      206. The sequencing rate is thus the so-called “coverage” of a DNA

sequence in a database. (Ex. 1001, 3:34-36)(“Sequences for enrichment can be
                                        111


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chosen on the basis of being in a ‘hotspot,’ a region of relatively high sequence

coverage.”) The term “coverage” means the number of unique sequence reads at a

given location (base pair) on a chromosome. The ’831 Patent “hotspot” strategy thus

essentially entails looking in a database that is not described at all to determine the

coverage of various sequences and selecting those sequences with high coverage.

      207. Claim 12 also does not require any particular strategy for selecting

sequences. In claim 12, “sequences” (i.e. two or more sequences) among the at least

100 sequences required by claim 1 must be “sequenced at a rate of greater than 5-

fold than other sequences” (i.e. two other sequences) on the same chromosome.

                           Overview of the Combination

      208. In my opinion, Harismendy demonstrates that it would have been

obvious to target portions of the genome that sequence at a five-fold greater rate than

other sequences on the same chromosome. Harismendy studied and compared

different NGS platforms. With each of the platforms, Harismendy observed the

hotspot phenomenon:

          “Interestingly, each NGS technology has a unique
          reproducible pattern of non-uniform sequence coverage:
          sequences with high or low coverage in one sample typically
          had high or low coverage in the other three samples (Fig. 3).”

(Ex. 1007, p. 5)(Emphasis added).

      209. In Figure 2 of Harismendy, there is shown the variation of coverage

                                         112


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(fold) for various different sequencing platforms across a 100-kb portion of

chromosome 3. (Ex. 1007, p. 4, Fig. 2, caption). A portion of Fig. 2, reproduced

below, shows non-uniform sequence coverage for an approximately 17-kb region of

chromosome 3 when using the Illumina Genome Analyzer (“GA”) system:


500                               NA17460-lllumina-GA




   0


(Ex. 1007, p. 4, Fig. 2). In the Figure, the y-axis is the “fold” coverage scale, while

the x-axis reflects a position on the chromosome. (Ex. 1007, p. 4, Fig. 2, caption).

As can be seen in the full figure 2, the fold varies across the gene from near-zero to

well into the thousands (in the portions shown above, several peaks are off the top

of the scale).

       210. I note that similar variations have been observed by others in

connection with other chromosomes. For example, Fan, et al. (Ex. 1006), in the

process of testing for trisomy 21, “observed a nonuniform distribution of sequence

tags across each chromosome. This pattern of intrachromosomal variation was

common among all samples, including randomly sheared genomic DNA, indicating

that the observed variation was most probably due to sequencing artifacts.” (Ex.

1006, p. 001).


                                         113


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                         Rationale for the Combination

      211. In my opinion, it would have been obvious to target high-coverage

regions of a chromosome in Fluidigm’s method based on Harismendy.

      212. Harismendy notes that each NGS platform tested has its own pattern of

coverage. (Ex. 1007, p. 5). Fluidigm teaches using its methods to prepare libraries

for later Solexa sequencing. “Solexa” refers to a company that was later purchased

by Illumina. After the purchase, Illumina began selling Solexa’s Genome Analyzer

product. (Ex. 1014).

      213. Harismendy teaches that the Illumina GA sequencer performs best

when the sequence coverage is high, and worst at low coverage:

          “[T]he performance of the NGS technologies at low sequence
          coverage is correlated with per-base sequence coverage
          uniformity; the Illumina GA, which has the highest coverage
          variability, performs the worst at lower coverage….”

(Ex. 1007, p. 8, right column)(Emphases added). Harismendy also reports that:

          “At high sequence coverage all NGS platforms have
          excellent variant calling accuracy (>95%) as assessed by the
          detection of known SNP variants.”

(Ex. 1007, p. 9, left column, top)(Emphasis added)

      214. To increase the accuracy of the Illumina GA sequencer, it would have

been obvious in my opinion to target regions of a chromosome with high sequence


                                       114


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coverage. To do this, one of ordinary skill would have obviously chosen at least two

of (and preferably all of) Fluidigm’s 9,216 primer pairs to anneal to sequences on a

chromosome that at higher coverage than other sequences. Furthermore, because

the coverage varies by thousands across a chromosome (as indicated in

Harismendy—see Fig. 3), it would have been obvious to have at least two sequences

that are sequenced at a rate of greater than 5-fold than other sequences on the

chromosome. (Ex. 1007, pp. 003-004)(e.g., “For all three NGS technologies there

is greater than a hundred-fold variation in the per base sequence coverage depth

(Figure 2).”

      215 . Finally, selecting similarly high-coverage sequences would have

lowered the variation in coverage, thus reducing the total amount of sequence

generation required. (Ex. 1007, p. 9, left column bottom)(“[T]he uniformity of per-

base sequence coverage must be improved to reduce the total amount of sequence

generation required….”).


                                 Graham Factors

      216. The Graham factors (see ¶84, above) are the same as discussed under

Ground 1, except that the scope and content of the prior art and differences between

the prior art as relevant to claims challenged in Ground 3 are discussed in Ground 3.

                       Reasonable Expectation of Success

      217. One of ordinary skill would have expected reasonable success in

                                        115


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combining Harismendy with Fluidigm. In the combination, Harismendy is cited

primarily as describing the knowledge of one of ordinary skill concerning the non-

uniform coverage with some regions having >5-fold coverage. Selecting these

sequences would simply have been a matter of obtaining the available coverage data

or sequencing portions of the chromosomes to be tested, both of which were well

within ordinary skill in the relevant timeframe.

                          Harismendy is Analogous Art

      218. Harismendy is analogous art at least because it is directed to DNA

sequencing, and thus reasonably pertinent to problems faced by the ’831 Patent

named inventors (DNA sequencing library preparation).

                                  Claim Mapping

      219. As discussed above, it was obvious to target, as part of Fluidigm’s

Modular Approach using 9,216 target sequences, at least two sequences that are

sequenced at a rate of greater than 5-fold than other sequences on the chromosome

based on Harismendy. The combination of Harismendy with Fluidigm meets the

requirement of claim 12 of the ’831 Patent.


Ground 4. Claims 12 are obvious as in Ground 2 in further view of
          Harismendy

      Ground 4 is the same as Ground 3 but based on Ground 2 instead of Ground

1. The discussion under Ground 3 applies in the same way to Ground 2 as to Ground


                                        116


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1. As in Ground 2, Sequenom provides additional support for obviousness.




                                      117


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XII. OATH

      220. This declaration and my opinions herein are made to the best of my

knowledge and understanding, and based on the material available to me, at the time

of signing this declaration. I declare under penalty of perjury under the laws of the

United States of America that all statements made of my own knowledge are true

and that all statements made on information and belief are believed to be true. I

understand that willful false statements and the like are punishable by fine or

imprisonment, or both (18 U.S.C. § 1001) and may jeopardize the validity of the

application or any patent issuing thereon.


                                               Signed:   UJJ)l!rg




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                         Exhibit 13




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           Case: 24-1324                          Document: 42-3                     Page: 237                  Filed: 03/18/2024
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c19) United States
c12) Patent Application Publication                                                     c10) Pub. No.: US 2010/0120038 Al
       Mir et al.                                                                       (43) Pub. Date:                           May 13, 2010

(54)    ASSAY METHODS FOR INCREASED                                              (22)   Filed:                 Aug. 26, 2009
        THROUGHPUT OF SAMPLES AND/OR
        TARGETS                                                                                     Related U.S. Application Data
                                                                                 (60)   Provisional application No. 61/092,010, filed on Aug.
(75)    Inventors:       Alain Mir, Cupertino, CA (US);                                 26, 2008, provisional application No. 61/098,621,
                         Ramesh Ramakrishnan, San Jose,                                 filed on Sep. 19, 2008, provisional application No.
                         CA (US); Marc Unger, San Mateo,                                61/146,567, filed on Jan. 22, 2009.
                         CA (US); Bernhard G.
                         Zimmermann, San Mateo, CA                                                    Publication Classification
                         (US)                                                    (51)   Int. Cl.
                                                                                        C12Q 1168                       (2006.01)
        Correspondence Address:                                                         GOIN 33/48                      (2006.01)
        Weaver Austin Villeneuve & Sampson LLP
        P.O. BOX 70250                                                           (52)   U.S. Cl. ............................................... 435/6; 436/94
        OAKLAND, CA 94612-0250 (US)                                              (57)                          ABSTRACT
(73)    Assignee:        Fluidigm Corporation                                    The present invention provides assay methods that increase
                                                                                 the number of samples and/or target nucleic acids that can be
(21)    Appl. No.:       12/548,132                                              analyzed in a single assay.


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Patent Application Publication                    May 13, 2010 Sheet 1 of 9                US 2010/0120038 Al




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             SNP02    97.8       0.0                   SNP02     100     100    97.9
             SNP03    97.8       0.0                   SNP03     100     100    97.9
                                                                                                      Case: 24-1324




             SNP04    97.1        1.3                  SNP04     100     100    97.9
             SNP05    97.1        1.3                  SNP05     100     100    100
             SNP06    97.8       0.0                   SNP06     100     100    100
             SNP07    97.8       0.0                   SNP07     100     100    100
             SNP08    97.8       0.0                   SNP08     100     100     98
             SNP09    97.8       0.0                   SNP09     100     100    100
             SNP10    98.6        1.3                  SNP10     100     100    97.9
             SNP11
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                      97.1        1.3                  SNP11     100     100    97.9
             SNP12    97.8       0.0                   SNP12     100     100    97.9




Appx13081
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             SNP15    97.8       0.0                   SNP15     100     100    100
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             SNP16    97.8       0.0                   SNP16     100     100    100
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Appx13082
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                                                                                                                     Tag group 2 48 samples
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Appx13083
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                                                                                    11 Step 3                                                                                                                        "'
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                                                                                    5'I
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                                                                                                                           Figure 6                           0
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                                                                                                                                                 Figure 7                                                      QO




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                                                                   No tRNA


                                                                  2 µg/ µI tRNA



                                                                 3 µg/ µI tRNA




                                 Figure 8




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                                     Panel10 : Amplification


                0.50

                0.40
           z
           o:::0.30
           <1
                0.20

                0.10

                0.00
                       1   6    11    16     21
                                                  Cycle
                                             No tRNA
                                     Panel11 : Amplification


                0.50

                0.40
           z
           o:::0.30
           <1
                0.20

                0.10

                0.00
                       1   6    11    16     21     26        31   36   41   46
                                                  Cycle
                                           2 µg/ µI tRNA
                                     Panel12 : Amplification


                0.50

                0.40
           z
           o:::0.30
           <1
                0.20

                0.10

                0.00       I                         I
                                                         ..

                       1   6    11    16     21     26             36   41   46
                                                  Cycle
                                           3 µg/ µI tRNA
                                                                        Figure 9

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        ASSAY METHODS FOR INCREASED                                  set of forward and reverse preamplification primers for each
       THROUGHPUT OF SAMPLES AND/OR                                  sample to produce preamplified samples, wherein:
                  TARGETS                                            [0009] each preamplification primer set comprises T pairs
                                                                     of forward and reverse preamplification primers, wherein
           CROSS-REFERENCE TO RELATED                                each preamplification primer pair is capable of amplifying a
                  APPLICATIONS                                       particular target nucleic acid; and
                                                                     [0010] either all forward preamplification primers or all
[0001] This application hereby incorporates prior U.S. pro-          reverse preamplification primers in a given set comprise a
visional application Nos. 61/092,010, filed Aug. 26, 2008;           common sample-specific nucleotide tag.
61/098,621, filed Sep. 19, 2008; and 61/146,567, filed Jan.
                                                                     The preamplified samples for each of the S samples are mixed
22, 2009 by reference in their entireties.                           to form an assay mixture (e.g., one assay mixture for each set
                                                                     of samples to be analyzed together). The assay mixture can
               FIELD OF THE INVENTION
                                                                     then be analyzed by dividing it into up to SxT amplification
[0002] The present invention relates generally to the area of        mixtures, and separately subjecting each of the amplification
high-throughput assays for detection of particular target            mixtures to amplification using a unique pair of amplification
nucleic acids. In particular, the invention relates to methods       primers, wherein each amplification primer pair comprises:
for increasing the number of samples and/or targets that can         [0011] a forward or a reverse amplification primer that
be analyzed in a single assay.                                       anneals to a target nucleotide sequence; and
                                                                     [0012] a reverse or a forward amplification primer, respec-
         BACKGROUND OF THE INVENTION                                 tively, that anneals to a sample-specific nucleotide tag.
                                                                     The presence or amount of an amplification product in the
[0003] The ability to detect specific nucleic acid sequences         amplification mixtures is determined to determine the pres-
in a sample has resulted in new approaches in diagnostic and         ence or amount of a particular target nucleic acid in a particu-
predictive medicine, environmental, food and agricultural            lar sample.
monitoring, molecular biology research, and many other
                                                                     [0013] The invention provides a second assay method for
fields.                                                              detecting a plurality of target nucleic acids (i.e., T target
[0004] Additional methods, especially methods that allow
                                                                     nucleic acids, where T is an integer greater than one) in a
detection of many targets and/or the analysis of many samples
                                                                     plurality of samples. In certain embodiments, the method
simultaneously across a broad range of concentrations in a
                                                                     entails providing S samples that will be mixed together prior
sample would be of great benefit.
                                                                     to assay, where S is an integer greater than 1. Each of these
                                                                     samples is separately subjected to an encoding reaction that
            SUMMARY OF THE INVENTION
                                                                     produces a set ofT tagged target nucleotide sequences, each
[0005] The invention provides a first assay method for               tagged target nucleotide sequence comprising a first nucle-
detecting a plurality of target nucleic acids (i.e., T target        otide tag linked to a target nucleotide sequence, which is
nucleic acids, where T is an integer greater than one) in a          linked to a second nucleotide tag. For each of these S samples
plurality of samples. In certain embodiments, the method             (i.e., each of the samples to be combined), the tagged target
entails providing S samples that will be mixed together prior        nucleotide sequences are mixed to form an assay mixture. The
to assay, where S is an integer greater than 1. Each of these        assay mixture, or aliquots thereof, is subjected to amplifica-
samples can be separately subjected to an encoding reaction          tion using SxT unique pairs of amplification primers, wherein
that produces a set of T tagged target nucleotide sequences,         each amplification primer pair comprises:
each tagged target nucleotide sequence comprising a sample-          [0014] a forward or a reverse amplification primer that
specific nucleotide tag and a target nucleotide sequence. For        anneals to a first nucleotide tag; and
each of these S samples (i.e., each of the samples to be             [0015] a reverse or a forward amplification primer, respec-
combined), the tagged target nucleotide sequences can be             tively, that anneals to a second nucleotide tag.
mixed to form an assay mixture. In this manner, samples can          For each unique primer pair, the presence or amount of an
be assayed in batches, so that, if, e.g., 48 samples are to be       amplification product in the amplification mixture, or aliquot
analyzed, Scan be, e.g., 3, which means that 16 assay mix-           thereof, is determined. The presence of an amplification prod-
tures are prepared. See Example 1. The assay mixture, or             uct indicates the presence or amount of a particular target
aliquots thereof, can be subjected to amplification using SxT        nucleic acid in a particular sample.
unique pairs of amplification primers, wherein each amplifi-         [0016] In exemplary embodiments of the second assay
cation primer pair comprises:                                        method, the encoding reaction comprises separately subject-
[0006] a forward or a reverse amplification primer that              ing each of the S samples to preamplification using a distinct
anneals to a target nucleotide sequence; and                         set of forward and reverse preamplification primers for each
[0007] a reverse or a forward amplification primer, respec-          sample to produce preamplified samples, wherein:
tively, that anneals to a sample-specific nucleotide tag. For        [0017] each preamplification primer set comprises T pairs
each unique primer pair, the presence or, in particular              of forward and reverse preamplification primers, wherein
embodiments, amount an amplification product is in the               each preamplification primer pair is capable of amplifying a
amplification mixture, or aliquot thereof, is determined. The        particular target nucleic acid; and
presence or amount of an amplification product indicates the         [0018] each forward preamplification primer comprises a
presence or amount of a particular target nucleic acid in a          forward nucleotide tag, and each reverse preamplification
particular sample.                                                   primer comprises a reverse nucleotide tag;
[0008] In illustrative embodiments of the first assay                The preamplified samples for each of the S samples are mixed
method, the encoding reaction comprises separately subject-          to form an assay mixture. The assay mixture can then be
ing each of the S samples to preamplification using a distinct       analyzed by dividing each assay mixture into up to SxT



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amplification mixtures, and separately subjecting each of the           in each tagged target nucleotide sequence. For each unique
amplification mixtures to amplification using a unique pair of          primer pair in each aliquot, the method entails determining
amplification primers, wherein each amplification primer                whether an amplification product is present in the aliquot. The
pair comprises:                                                         presence of an amplification product indicates the presence of
[0019] a forward amplification primer that anneals to a                 a particular target nucleic acid in the sample.
forward nucleotide tag; and                                             [0025] In a variation of this method, after the encoding
[0020] a reverse amplification primer that anneals to a                 reaction, each aliquot is divided into T sub-aliquots. One of
reverse nucleotide tag.                                                 the T different amplification primer pairs is combined with
The presence or amount of an amplification product present              each sub-aliquot, and the sub-aliquots are subjected to sepa-
in the amplification mixtures is determined. The presence of            rate amplification reactions.
an amplification product indicates the presence or amount of            [0026] In particular embodiments of the above-described
a particular target nucleic acid in a particular sample.                methods, the sample can be a genomic DNA sample. In
[0021] The invention also provides a third assay method,                variations of these embodiments, preamplification of
which detects a plurality of target nucleic acids (i.e., T target       genomic DNA can be conducted in the presence of an amount
nucleic acids) in a sample. The method entails providing T              of a blocking agent that is sufficient to increase specific
forward preamplification primers to a sample, wherein each              amplification of the target nucleic acid.
forward preamplification primer comprises a different target-
specific nucleotide sequence and a set-specific nucleotide tag,               BRIEF DESCRIPTION OF THE DRAWINGS
wherein X different forward set-specific nucleotide tags are
employed, and X is an integer that is greater than 1 and less           [0027] The invention may be understood by reference to the
than T, whereby TIX primers comprise the same forward                   following description taken in conjunction with the accom-
set-specific nucleotide tag. Also provided to the sample are T          panying drawings that illustrate certain specific embodiments
reverse preamplification primers, wherein each reverse                  of the present invention.
preamplification primer comprises a different target-specific           [0028] FIG. 1 depicts an exemplary matrix-type microflu-
nucleotide sequence and a reverse set-specific nucleotide tag,          idic device plan view.
wherein Y different reverse set-specific nucleotide tags are            [0029] FIG. 2 shows a graphical depiction of the results of
employed, and Y is an integer that is greater than 1 and less           the application of a method of the invention for analyzing
than T, whereby TN primers comprise the same reverse set-               multiple target nucleic acids in multiple samples in a geno-
specific nucleotide tag. The sample is subjected to preampli-           typing study (Example 2). Samples were amplified with for-
fication to produce an assay mixture, wherein any preampli-             ward primers bearing 3 different tag sequences. The results
fication product produced for a particular target incorporates          are shown in the Single TAG view allelograms (top images)
a unique combination of forward and reverse set-specific                labeled TAG-1, 2, and 3.All samples were clearly differen-
nucleotide tags. The assay mixture, or aliquots thereof, to             tiated into (circled) homo zygote XX, YY or heterozygote XY
amplification using amplification primers wherein each                  genotypes. Data from the merged genotypes of these allelo-
amplification primer pair comprises:                                    grams are shown as "Merged 3".
[0022] a forward amplification primer that anneals to the               [0030] FIG. 3 shows the data from the genotyping study of
forward set-specific nucleotide tag; and                                Example 2. 16 SNP loci were genotyped using tagging and,
[0023] a reverse amplification primer that anneals to the               for comparison, standard methodologies. Untagged samples
reverse set-specific nucleotide tag. For each unique primer             are described as "Truth." The same untagged samples shown
pair, the presence or amount of an amplification product in the         in the "Truth" table were compared against samples bearing
amplification mixture, or aliquot thereof, is determined. The           Tag sequences 1, 2, or 3 on the forward primer ("Test") as
presence of an amplification product indicates the presence of          described in Example 2. Tagged samples display 1.4-to-2%
a particular target nucleic acid in the sample.                         increase in call rate. All no-called SNPs in Tag 3 were derived
[0024] A fourth assay method of the invention provides a                from a single sample.
modular approach to detecting a plurality target nucleic acids          [0031] FIG. 4 shows an illustrative setup for analyzing mul-
in a sample. This method entails dividing a sample into R               tiple target nucleic acids in multiple samples as in, e.g., the
aliquots, wherein R is an integer greater than 1. Each of the R         gene expression study of Example 3. This study employed 3
aliquots is separately subjected to an encoding reaction that           tag groups (1-3) targeting 16 loci. Three sets of 16 forward
produces a set of T tagged target nucleotide sequences,                 primers for amplifying 16 cDNAs were synthesized. If each
wherein Tis the number of target nucleic acids to be detected           group tags 48 individuals, and 1 sample from each tag group
in each aliquot, T being an integer greater than 1. Each tagged         is combined, 144 samples can be simultaneously analyzed.
target nucleotide sequence comprises a first nucleotide tag 5'          Before the off-chip tagging reaction, samples were divided
of a target nucleotide sequence, a target nucleotide sequence,          into each of the 3 tag sets. Each group of 48 samples bears
and a second nucleotide tag 3' of the target nucleotide                 either Tag sequence 1, 2, or 3 on the 5' termini of the forward
sequence. The combination of nucleotide tags in each of said            primers. Tagging reactions employ an assay-specific tagged
T tagged target nucleotide sequences is unique for every                primer and an outer reverse primer. On chip, a nested reverse
tagged target nucleotide sequence in each aliquot. However,             primer can be used. In the example for gene expression, a
the same set of first and second nucleotide tag combinations            single hydrolysis probe is shown.
is used in the encoding reaction in each of the aliquots. This          [0032] FIG. 5 shows an illustrative generic setup for ana-
aspect of the method makes it possible to separately subject            lyzing multiple target nucleic acids in multiple samples. For
each aliquot to amplification using the same set ofT different          example, allele-specific probes (genotyping) or a single probe
amplification primer pairs for each aliquot. Each primer pair           (gene expression) can be used. After combining samples,
includes a first primer that anneals to the first nucleotide tag        residual primers can be removed using ExoSAP-IT (USB)
and a second primer that anneals to the second nucleotide tag           prior to the PCR step.



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[0033] FIG. 6 shows an illustrative generic setup for ana-             show that the addition of tRNA improves the quality of ampli-
lyzing multiple target nucleic acids in multiple samples, in           fication (possibly by improving the efficiency of PCR).
this case, 16 assays are performed on 144 samples. Three sets
of 16 forward primers for amplifying 16 loci are synthesized.                           DETAILED DESCRIPTION
Each tag set also bears Tag sequence 1, 2, or 3 on the 5' primer
termini. During the off-chip tagging reaction, 32 primers              [0037] The present invention provides methods for increas-
consisting of 16 forward assay primers with tag sequence 1             ing the number of samples that can be analyzed for one or
and 16 reverse assay-specific reverse primers are used. Assay-         multiple targets in a single assay, as well as methods for
specific tag primers bearing a different 5' tag sequence (Tag 2)       increasing the number of targets that can be analyzed in a
and the same sequence reverse primers are used to tag the next         sample, while minimizing increases in assay cost. The meth-
set of samples. This is also performed with Tag type 3 and             ods are particularly well-suited for increasing the efficiency
another set of samples. After tagging 48x samples with tag set         of assays performed on matrix-type microfluidic devices.
1, 48x samples with tag set 2, and 48x samples with tag set 3,         [0038] It is understood that the invention is not limited to
one sample per each tag set is combined. This generates 48             the particular methodology, protocols, and reagents, etc.,
mixed samples, and efficient PCR amplification of a specific           described herein, as these can be varied by the skilled artisan.
target from one of the mixed samples (but not the other two)           It is also understood that the terminology used herein is used
will only occur when the correct tag primer and target specific        for the purpose of describing particular illustrative embodi-
reverse primer are added to the pooled samples.                        ments only, and is not intended to limit the scope of the
                                                                       invention. It also noted that as used herein and in the
[0034] FIG. 7 shows qPCR data derived from 144 serially
                                                                       appended claims, the singular forms "a," "an," and "the"
diluted universal reference cDNA amplified with 3 different
                                                                       include the plural reference unless the context clearly dictates
tags (Tags 10, 48, and 89) targeting 16 different genes (Ex-           otherwise. Thus, for example, a reference to "a cell" is a
ample 3). Data are from a single 96.96 array. Since all cDNA
                                                                       reference to one or more cells and equivalents thereof known
samples were dilutions of the same sample, the expected                to those skilled in the art.
llllCT is 0.96.5% of assays display a llllCT within the high-
                                                                       [0039] The embodiments of the invention and the various
lighted target zone of -1 to +1 cycle. 5-of-144 samples (-3.
                                                                       features and advantageous details thereof are explained more
5%) have a llllCT of 1.0 to 1.4. The two highest outliers with
                                                                       fully with reference to the non-limiting embodiments and
a llllCT of 1.3 and 1.4 are highlighted by arrows. llllCT was
                                                                       examples that are described and/or illustrated in the accom-
calculated by subtracting the control ACT gene (Bax) from
                                                                       panying drawings and detailed in the following description. It
test ACT for each tag/sample dilution/assay combination
                                                                       should be noted that the features illustrated in the drawings
using universal reference cDNA.
                                                                       are not necessarily drawn to scale, and features of one
[0035] FIG. 8 shows the results of digital PCR on a 12.765             embodiment may be employed with other embodiments as
Digital Array commercially available from Fluidigm Corp.               the skilled artisan would recognize, even if not explicitly
(South San Francisco, Calif.). Human genomic DNA was                   stated herein. Descriptions of well-known components and
preamplified in the presence of varying amounts of tRNA and            processing techniques may be omitted so as to not unneces-
then analyzed by digital PCR, as described in Example 4.               sarily obscure the embodiments of the invention.
Specifically, preamplification was performed on human
genomic DNA, using protocols described in Qin J., Jones R                                      DEFINITIONS
C, Ramakrishnan R. (2008) Studying copy number variations
using a nanojluidic platform Nucleic Acids Research, Vol. 36,          [0040] Terms used in the claims and specification are
No. 18 e116 on the GeneAmp PCR system 9700 (Applied                    defined as set forth below unless otherwise specified. These
Biosystems, CA) in a 25 µl reaction containing lx PreAmp               terms are defined specifically for clarity, but all of the defini-
master mix (Applied Biosystems, CA), 900 nM primers, -10               tions are consistent with how a skilled artisan would under-
ng of DNA sample and differing amount of tRNA. Samples                 stand these terms.
were diluted and analyzed on the digital array as described in         [0041] The term "adjacent," when used herein to refer two
Qin et al. Equal amounts of genomic DNA were used in all               nucleotide sequences in a nucleic acid, can refer to nucleotide
panels shown. The upper two panels show the negative con-              sequences separated by O to about 20 nucleotides, more spe-
trols-preamplification conducted in the absence of tRNA,               cifically, in a range of about 1 to about 10 nucleotides, or
while the next two pairs of panels show the effects of adding          sequences that directly abut one another. In addition, two
either 2 µg/µl or 3 µg/µl tRNA to the preamplification reaction        primers may be said to be adjacent if they overlap, for
mix. It is clear that the addition of tRNA increases the inten-        example adjacent primers can overlap by about 1 to about 4
sity of the specific amplification signal and suppresses back-         nucleotides.
ground.                                                                [0042] The term "nucleic acid" refers to a nucleotide poly-
[0036] FIG. 9 shows the effect of adding tRNA to pream-                mer, and unless otherwise limited, includes known analogs of
plification reaction mixtures on the quality of specific ampli-        natural nucleotides that can function in a similar manner (e.g.,
fication curve. The plots shown in FIG. 9 are from the experi-         hybridize) to naturally occurring nucleotides.
ment described in Example 4 and reflect real time PCR plots            [0043] The term nucleic acid includes any form of DNA or
from the same same chip panels shown in FIG. 8. The first              RNA, including, for example, genomic DNA; complemen-
panel shows the amplification plot in the absence of tRNA in           tary DNA (cDNA), which is a DNA representation of mRNA,
the preamplification mix, and the second and third panels              usually obtained by reverse transcription of messenger RNA
show the effect when either 2 µg/µl or 3 µg/µl of tRNA was             (mRNA) or by amplification; DNA molecules produced syn-
included in the preamplification reaction mix, respectively.           thetically or by amplification; and mRNA.
The amplification plots confirm the observation from FIG. 8            [0044] The term nucleic acid encompasses double- or
that the addition of tRNA increases the total amount of spe-           triple-stranded nucleic acid, as well as single-stranded mol-
cific amplifiable signal, (increase number of hits) and also           ecules. In double- or triple-stranded nucleic acids, the nucleic



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acid strands need not be coextensive (i.e, a double-stranded           [0051] "Specific hybridization" refers to the binding of a
nucleic acid need not be double-stranded along the entire              nucleic acid to a target nucleotide sequence in the absence of
length of both strands).                                               substantial binding to other nucleotide sequences present in
[0045] The term nucleic acid also encompasses any chemi-               the hybridization mixture under defined stringency condi-
cal modification thereof, such as by methylation and/or by             tions. Those of skill in the art recognize that relaxing the
                                                                       stringency of the hybridization conditions allows sequence
capping. Nucleic acid modifications can include addition of
                                                                       mismatches to be tolerated.
chemical groups that incorporate additional charge, polariz-
ability, hydrogen bonding, electrostatic interaction, and func-        [0052] In particular embodiments, hybridizations are car-
tionality to the individual nucleic acid bases or to the nucleic       ried out under stringent hybridization conditions. The phrase
acid as a whole. Such modifications may include base modi-             "stringent hybridization conditions" generally refers to a tem-
fications such as 2'-position sugar modifications, 5-position          perature in a range from about 5° C. to about 20° C. or 25° C.
pyrimidine modifications, 8-position purine modifications,             below than the melting temperature (Tm) for a specific
modifications at cytosine exocyclic amines, substitutions of           sequence at a defined ionic strength and pH. As used herein,
5-bromo-uracil, backbone modifications, unusual base pair-             the Tm is the temperature at which a population of double-
ing combinations such as the isobases isocytidine and                  stranded nucleic acid molecules becomes half-dissociated
isoguanidine, and the like.                                            into single strands. Methods for calculating the Tm of nucleic
                                                                       acids are well known in the art (see, e.g., Berger and Kimmel
[0046] More particularly, in certain embodiments, nucleic              (1987) METHODS IN ENZYMOLOGY, VOL. 152: GUIDE
acids, can include polydeoxyribonucleotides (containing                TO MOLECULAR CLONING TECHNIQUES, San Diego:
2-deoxy-D-ribose ), polyribonucleotides (containing D-ri-              Academic Press, Inc. and Sambrook et al. (1989) MOLECU-
bose ), and any other type of nucleic acid that is an N- or            LAR CLONING: A LABORATORY MANUAL, 2ND ED.,
C-glycoside of a purine or pyrimidine base, as well as other           VOLS. 1-3, Cold Spring Harbor Laboratory), both incorpo-
polymers contmmng normucleotidic backbones, for                        rated herein by reference). As indicated by standard refer-
example, polyamide (e.g., peptide nucleic acids (PNAs )) and           ences, a simple estimate of the Tm value may be calculated by
polymorpholino (commercially available from the Anti-Vi-               the equation: Tm=81.5+0.41(% G+C), when a nucleic acid is
rals, Inc., Corvallis, Oreg., as Neu gene) polymers, and other         in aqueous solution at 1 M NaCl (see, e.g., Anderson and
synthetic sequence-specific nucleic acid polymers providing            Young, Quantitative Filter Hybridization in NUCLEIC ACID
that the polymers contain nucleobases in a configuration               HYBRIDIZATION (1985)). The melting temperature of a
which allows for base pairing and base stacking, such as is            hybrid (and thus the conditions for stringent hybridization) is
found in DNA and RNA. The term nucleic acid also encom-                affected by various factors such as the length and nature
passes linked nucleic acids (LNAs ), which are described in            (DNA, RNA, base composition) of the primer or probe and
U.S. Pat. Nos. 6,794,499, 6,670,461, 6,262,490, and 6,770,             nature of the target nucleic acid (DNA, RNA, base composi-
748, which are incorporated herein by reference in their               tion, present in solution or immobilized, and the like), as well
entirety for their disclosure of LNAs.                                 as the concentration of salts and other components (e.g., the
[0047] The nucleic acid(s) can be derived from a com-                  presence or absence offormamide, dextran sulfate, polyeth-
pletely chemical synthesis process, such as a solid phase-             ylene glycol). The effects of these factors are well known and
mediated chemical synthesis, from a biological source, such            are discussed in standard references in the art. Exemplary
as through isolation from any species that produces nucleic            stringent conditions suitable for achieving specific hybridiza-
acid, or from processes that involve the manipulation of               tion of most sequences are: a temperature of at least about 60°
nucleic acids by molecular biology tools, such as DNA rep-             C. and a salt concentration of about 0.2 molar at pH7.
lication, PCR amplification, reverse transcription, or from a          [0053] The term "oligonucleotide" is used to refer to a
combination of those processes.                                        nucleic acid that is relatively short, generally shorter than 200
[0048] The term "target nucleic acids" is used herein to               nucleotides, more particularly, shorter than 100 nucleotides,
refer to particular nucleic acids to be detected in the methods        most particularly, shorter than 50 nucleotides. Typically, oli-
of the invention.                                                      gonucleotides are single-stranded DNA molecules.
[0049] As used herein the term "target nucleotide                      [0054] The term "primer" refers to an oligonucleotide that
sequence" refers to a molecule that includes the nucleotide            is capable of hybridizing (also termed "annealing") with a
sequence of a target nucleic acid, such as, for example, the           nucleic acid and serving as an initiation site for nucleotide
amplification product obtained by amplifying a target nucleic          (RNA or DNA) polymerization under appropriate conditions
acid or the cDNA produced upon reverse transcription of an             (i.e., in the presence of four different nucleoside triphos-
RNA target nucleic acid.                                               phates and an agent for polymerization, such as DNA or RNA
[0050] As used herein, the term "complementary" refers to              polymerase or reverse transcriptase) in an appropriate buffer
the capacity for precise pairing between two nucleotides. I.e.,        and at a suitable temperature. The appropriate length of a
if a nucleotide at a given position of a nucleic acid is capable       primer depends on the intended use of the primer, but primers
of hydrogen bonding with a nucleotide of another nucleic               are typically at least 7 nucleotides long and, more typically
acid, then the two nucleic acids are considered to be comple-          range from 10 to 30 nucleotides, or even more typically from
mentary to one another at that position. Complementarity               15 to 30 nucleotides, in length. Other primers can be some-
between two single-stranded nucleic acid molecules may be              what longer, e.g., 30 to 50 nucleotides long. In this context,
"partial," in which only some of the nucleotides bind, or it           "primer length" refers to the portion of an oligonucleotide or
may be complete when total complementarity exists between              nucleic acid that hybridizes to a complementary "target"
the single-stranded molecules. The degree of complementa-              sequence and primes nucleotide synthesis. Short primer mol-
rity between nucleic acid strands has significant effects on the       ecules generally require cooler temperatures to form suffi-
efficiency and strength of hybridization between nucleic acid          ciently stable hybrid complexes with the template. A primer
strands.                                                               need not reflect the exact sequence of the template but must be



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sufficiently complementary to hybridize with a template. The            (e.g., the 3' base of a primer) are generally desirably perfectly
term "primer site" or "primer binding site" refers to the seg-          complementary to corresponding bases of the target nucleic
ment of the target nucleic acid to which a primer hybridizes.           acid sequence. Primer and probes typically anneal to the
[0055] A primer is said to anneal to another nucleic acid if            target sequence under stringent hybridization conditions.
the primer, or a portion thereof, hybridizes to a nucleotide            [0061] The term "nucleotide tag" is used herein to refer to
sequence within the nucleic acid. The statement that a primer           a predetermined nucleotide sequence that is added to a target
hybridizes to a particular nucleotide sequence is not intended          nucleotide sequence. The nucleotide tag can encode an item
to imply that the primer hybridizes either completely or                of information about the target nucleotide sequence, such the
exclusively to that nucleotide sequence. For example, in cer-           identity of the target nucleotide sequence, the chromosome
tain embodiments, amplification primers used herein are said            from which that sequence derives, or the identity of the
to "anneal to a sample-specific nucleotide tag." This descrip-          sample from which the target nucleotide sequence was
tion encompasses primers that anneal wholly to the nucle-               derived. In certain embodiments, such information may be
otide tag, as well as primers that anneal partially to the nucle-       encoded in one or more nucleotide tags, e.g., a combination of
otide tag and partially to an adjacent nucleotide sequence,             two nucleotide tags, one on either end of a target nucleotide
e.g., a target nucleotide sequence. Such hybrid primers can             sequence, can encode the identity of the target nucleotide
increase the specificity of the amplification reaction.                 sequence.
[0056] The term "primer pair" refers to a set of primers                [0062] As used herein, the term "encoding reaction" refers
including a 5' "upstream primer" or "forward primer" that               to reaction in which at least one nucleotide tag is added to a
hybridizes with the complement of the 5' end of the DNA                 target nucleotide sequence. Nucleotide tags can be added, for
sequence to be amplified and a 3' "downstream primer" or                example, by an "encoding PCR" in which the at least one
"reverse primer" that hybridizes with the 3' end of the                 primer comprises a target-specific portion and a nucleotide
sequence to be amplified. As will be recognized by those of             tag located on the 5' end of the target-specific portion, and a
skill in the art, the terms "upstream" and "downstream" or              second primer that comprises only a target-specific portion or
"forward" and "reverse" are not intended to be limiting, but            a target-specific portion and a nucleotide tag located on the 5'
rather provide illustrative orientation in particular embodi-           end of the target-specific portion. For illustrative examples of
ments.                                                                  PCR protocols applicable to encoding PCR, see pending WO
[0057] A primer pair is said to be "unique" if it can be                Application US03/37808 as well as U.S. Pat. No. 6,605,451.
employed to specifically amplify a particular target nucle-             Nucleotide tags can also be added by an "encoding ligation"
otide sequence in a given amplification mixture.                        reaction that can comprise a ligation reaction in which at least
[0058] A second primer pair is "nested" relative to a first             one primer comprises a target-specific portion and nucleotide
primer pair if the first primer pair is employed to amplify a           tag located on the 5' end of the target-specific portion, and a
first amplification product and then the second primer pair is          second primer that comprises a target-specific portion only or
employed to amplify a target nucleotide sequence within the             a target-specific portion and a nucleotide tag located on the 5'
first amplification product. Nesting can be used increase the           end of the target specific portion. Illustrative encoding liga-
specificity of the amplification reaction.                              tion reactions are described, for example, in U.S. Patent Pub-
[0059] A "probe" is a nucleic acid capable of binding to a              lication No. 2005/0260640, which is hereby incorporated by
target nucleic acid of complementary sequence through one               reference in its entirety, and in particular for ligation reac-
or more types of chemical bonds, generally through comple-              tions. An encoding reaction, such as encoding PCR, can be
mentary base pairing, usually through hydrogen bond forma-              carried out in 1 cycle, which is sufficient to add a single
tion, thus forming a duplex structure. The probe binds or               nucleotide tag. Alternatively, an encoding reaction, such as
hybridizes to a "probe binding site." The probe can be labeled          encoding PCR, can be carried out for multiple cycles to
with a detectable label to permit facile detection of the probe,        preamplify target nucleic acids (e.g., to increase concentra-
particularly once the probe has hybridized to its complemen-            tion).
tary target. Alternatively, however, the probe may be unla-             [0063] As used herein an "encoding reaction" produces a
beled, but may be detectable by specific binding with a ligand          "tagged target nucleotide sequence," which includes a nucle-
that is labeled, either directly or indirectly. Probes can vary         otide tag linked to a target nucleotide sequence.
significantly in size. Generally, probes are at least 7 to 15           [0064] The term "sample-specific" nucleotide tag is used
nucleotides in length. Other probes are at least 20, 30, or 40          herein to refer to a nucleotide tag that encodes the identity of
nucleotides long. Still other probes are somewhat longer,               the sample of the target nucleotide sequence to which the tag
being at least 50, 60, 70, 80, or 90 nucleotides long. Yet other        is, or becomes, linked in an encoding reaction.
probes are longer still, and are at least 100, 150, 200 or more         [0065] As used herein with reference to a portion of a
nucleotides long. Probes can also be of any length that is              primer, the term "target-specific nucleotide sequence" refers
within any range bounded by any of the above values (e.g.,              to a sequence that can specifically anneal to a target nucleic
15-20 nucleotides in length).                                           acid or a target nucleotide sequence under suitable annealing
[0060] The primer or probe can be perfectly complemen-                  conditions.
tary to the target nucleic acid sequence or can be less than            [0066] A "common" sample-specific nucleotide tag refers
perfectly complementary. In certain embodiments, the primer             to a tag having a specific nucleotide sequence that is, or
has at least 65% identity to the complement of the target               becomes, linked to all target nucleotide sequences produced
nucleic acid sequence over a sequence of at least 7 nucle-              during an encoding reaction, such that all tagged target nucle-
otides, more typically over a sequence in the range of 10-30            otide sequences produced from a given sample are each iden-
nucleotides, and often over a sequence of at least 14-25 nucle-         tified by a tag having the same sequence.
otides, and more often has at least 75% identity, at least 85%          [0067] A "set-specific nucleotide tag" is a tag that is, or
identity, at least 90% identity, or at least 95%, 96%, 97%.             becomes, linked to a plurality of target nucleotide sequences.
98%, or 99% identity. It will be understood that certain bases          In certain embodiments of the invention, an assay mixture can



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comprise multiple tagged target nucleotide sequence                    least one primer with complementary or substantially
sequences having different set-specific nucleotide tags at             complementary sequences in at least one target nucleic acid;
either end that, in combination, uniquely identify each tagged         synthesizing at least one strand of nucleotides in a template-
target nucleotide sequence.                                            dependent manner using a polymerase; and denaturing the
[0068] The phrase "a distinct set of forward and reverse               newly-formed nucleic acid duplex to separate the strands. The
primers" refers to a set of primers that is distinguishable from       cycle may or may not be repeated. Amplification can com-
any other sets of primers employed in an assay. Such a set of          prise thermocycling or can be performed isothermally.
primers can be used to introduce sample-specific nucleotide            [0071] The term "qPCR" is used herein to refer to quanti-
tags.                                                                  tative real-time polymerase chain reaction (PCR), which is
[0069] Amplification according to the present teachings                also known as "real-time PCR" or "kinetic polymerase chain
encompasses any means by which at least a part of at least one         reaction."
target nucleic acid is reproduced, typically in a template-            [0072] The term "digital amplification" is used herein to
dependent manner, including without limitation, a broad                refer to an amplification method in which identical (or sub-
range of techniques for amplifying nucleic acid sequences,             stantially similar) amplification reactions are run on a nucleic
either linearly or exponentially. Exemplary means for per-             acid sample, such as genomic DNA. Generally, the quantity
forming an amplifying step include ligase chain reaction               of nucleic acid subjected to digital amplification is generally
(LCR), ligase detection reaction (LDR), ligation followed by           selected such that, when distributed into discrete reaction
Q-replicase amplification, PCR, primer extension, strand dis-          mixtures, each individual amplification reaction is expected
placement amplification (SDA), hyperbranched strand dis-               to include one or fewer amplifiable nucleic acids. The con-
placement amplification, multiple displacement amplifica-              centration of any target amplicon (copies/µL) is correlated
tion (MDA), nucleic acid strand-based amplification                    with the number of positive (i.e., amplification product-con-
(NASBA), two-step multiplexed amplifications, rolling circle           taining) reaction mixtures. See copending U.S. application
amplification (RCA), and the like, including multiplex ver-            Ser. No. 12/170,414, entitled "Method and Apparatus for
sions and combinations thereof, for example but not limited            Determining Copy Number Variation Using Digital PCR,"
to, OLA/PCR, PCR/OLA, LDR/PCR, PCR/PCR/LDR, PCR/                       which is incorporated by reference for all purposes, and, in
LDR, LCR/PCR, PCR/LCR (also known as combined chain                    particular, for analysis of digital PCR results. Also see Dube
reaction--CCR), digital amplification, and the like. Descrip-          et al., 2008, "Mathematical Analysis of Copy Number Varia-
tions of such techniques can be found in, among other                  tion in a DNA Sample Using Digital PCR on a Nanofluidic
sources, Ausbel et al.; PCR Primer: A Laboratory Manual,               Device" PLoS ONE 3(8): e2876. Where PCR is used for
Diffenbach, Ed., Cold Spring Harbor Press (1995); The Elec-            amplification, digital amplification is termed "digital PCR."
tronic Protocol Book, Chang Bioscience (2002); Msuih et al.,           [0073] A "reagent" refers broadly to any agent used in a
J. Clin. Micro. 34:501-07 (1996); The Nucleic Acid Protocols           reaction, other than the analyte (e.g., nucleic acid being ana-
Handbook, R. Rapley, ed., Humana Press, Totowa, N.J.                   lyzed). Exemplary reagents for a nucleic acid amplification
(2002); Abramson et al., Curr Opin Biotechnol. 1993 Febru-             reaction include, but are not limited to, buffer, metal ions,
ary; 4(1):41-7, U.S. Pat. No. 6,027,998; U.S. Pat. No. 6,605,          polymerase, reverse transcriptase, primers, template nucleic
451, Barany eta!., PCT Publication No. WO 97/31256; Wenz               acid, nucleotides, labels, dyes, nucleases, and the like.
eta!., PCT Publication No. WO0l/92579; Day eta!., Genom-               Reagents for enzyme reactions include, for example, sub-
ics, 29(1): 152-162 (1995), Ehrlich et al., Science 252:1643-          strates, cofactors, buffer, metal ions, inhibitors, and activa-
50 (1991); Innis et al., PCR Protocols: A Guide to Methods             tors.
and Applications, Academic Press (1990); Pavis et al., Nature          [007 4] The term "universal detection probe" is used herein
Biotechnology 18:561-64 (2000); and Rabenau et al., Infec-             to refer to any probe that identifies the presence of an ampli-
tion 28: 97-102 (2000); Belgrader, Barany, and Lubin, Devel-           fication product, regardless of the identity of the target nucle-
opment of a Multiplex Ligation Detection Reaction DNA                  otide sequence present in the product.
Typing Assay, Sixth International Symposium on Human                   [0075] The term "universal qPCR probe" is used herein to
Identification, 1995 (available on the world wide web at:              refer to any such probe that identifies the presence of an
promega.com/geneticidproc/ussymp6proc/blegrad.html-);                  amplification product during qPCR. In particular embodi-
LCR Kit Instruction Manual, Cat. #200520, Rev. #050002,                ments, nucleotide tags according to the invention can com-
Stratagene, 2002; Barany, Proc. Natl. Acad. Sci. USA                   prise a nucleotide sequence to which a detection probe, such
88:188-93 (1991); Bi and Sambrook, Nucl. Acids Res.                    as a universal qPCR probe binds. Where a tag is added to both
25:2924-2951 (1997); Zirvi et al., Nucl. Acid Res. 27:e40i-            ends of a target nucleotide sequence, each tag can, if desired,
viii (1999); Dean et al., Proc Natl Acad Sci USA 99:5261-66            include a sequence recognized by a detection probe. The
(2002); Barany and Gelfand, Gene 109: 1-11 (1991 ); Walker             combination of such sequences can encode information about
et al., Nucl. Acid Res. 20: 1691-96 (1992); Polstra et al., BMC        the identity, chromosomal origin, or sample source of the
Inf. Dis. 2:18-(2002); Lage et al., Genome Res. 2003 Febru-            tagged target nucleotide sequence. In other embodiments,
ary; 13(2):294-307, and Landegren et al., Science 241:1077-            one or more amplification primers can comprise a nucleotide
80 (1988), Demidov, V., Expert Rev Mo!. Diagn. 2002                    sequence to which a detection probe, such as a universal
November; 2(6):542-8., Cook et al., J Microbial Methods.               qPCR probe binds. In this manner, one, two, or more probe
2003 May; 53(2):165-74, Schweitzer et al., Curr Opin Bio-              binding sites can be added to an amplification product during
technol. 2001 February; 12(1):21-7, U.S. Pat. No. 5,830,711,           the amplification step of the methods of the invention. Those
U.S. Pat. No. 6,027,889, U.S. Pat. No. 5,686,243, PCT Pub-             of skill in the art recognize that the possibility of introducing
lication No. WO0056927A3, and PCT Publication No.                      multiple probe binding sites during preamplification (if car-
WO9803673Al.                                                           ried out) and amplification facilitates multiplex detection,
[0070] In some embodiments, amplification comprises at                 wherein two or more different amplification products can be
least one cycle of the sequential procedures of: annealing at          detected in a given amplification mixture or aliquot thereof.



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[0076] The term "universal detection probe" is also                   meric materials exhibit elastic properties because the poly-
intended to encompass primers labeled with a detectable label         mer chains readily undergo torsional motion to permit uncoil-
(e.g., a fluorescent label), as well as non-sequence-specific         ing of the backbone chains in response to a force, with the
probes, such as DNA binding dyes, including double-                   backbone chains recoiling to assume the prior shape in the
stranded DNA (dsDNA) dyes, such as SYBR Green.                        absence of the force. In general, elastomers deform when
[0077] The term "target-specific qPCR probe" is used                  force is applied, but then return to their original shape when
herein to refer to a qPCR probe that identifies the presence of       the force is removed.
an amplification product during qPCR, based on hybridiza-             [0083] A "polymorphic marker" or "polymorphic site" is a
tion of the qPCR probe to a target nucleotide sequence present
                                                                      locus at which nucleotide sequence divergence occurs. Exem-
in the product.
                                                                      plary markers have at least two alleles, each occurring at
[0078] "Hydrolysis probes" are generally described in U.S.
                                                                      frequency of greater than 1%, and more typically greater than
Pat. No. 5,210,015, which is incorporated herein by reference
                                                                      10% or 20% of a selected population. A polymorphic site may
in its entirety for its description of hydrolysis probes.
Hydrolysis probes take advantage of the 5'-nuclease activity          be as small as one base pair. Polymorphic markers include
present in the thermostable Taq polymerase enzyme typically           restriction fragment length polymorphism (RFLPs ), variable
used in the PCR reaction (TAQMAN® probe technology,                   number of tandem repeats (VNTR's), hypervariable regions,
Applied Biosystems, Foster City Calif.). The hydrolysis               mini satellites, dinucleotide repeats, trinucleotide repeats, tet-
probe is labeled with a fluorescent detector dye such as fluo-        ranucleotide repeats, simple sequence repeats, deletions, and
rescin, and an acceptor dye or quencher. In general, the fluo-        insertion elements such as Alu. The first identified allelic
rescent dye is covalently attached to the 5' end of the probe         form is arbitrarily designated as the reference form and other
and the quencher is attached to the 3' end of the probe, and          allelic forms are designated as alternative or variant alleles.
when the probe is intact, the fluorescence of the detector dye        The allelic form occurring most frequently in a selected popu-
is quenched by fluorescence resonance energy transfer                 lation is sometimes referred to as the wildtype form. Diploid
(FRET). The probe anneals downstream of one of the primers            organisms may be homozygous or heterozygous for allelic
that defines one end of the target nucleic acid in a PCR              forms. A diallelic polymorphism has two forms. A triallelic
reaction. Using the polymerase activity of the Taq enzyme,            polymorphism has three forms.
amplification of the target nucleic acid is directed by one           [0084] A "single nucleotide polymorphism" (SNP) occurs
primer that is upstream of the probe and a second primer that         at a polymorphic site occupied by a single nucleotide, which
is downstream of the probe but anneals to the opposite strand         is the site of variation between allelic sequences. The site is
of the target nucleic acid. As the upstream primer is extended,       usually preceded by and followed by highly conserved
the Taq polymerase reaches the region where the labeled               sequences of the allele (e.g., sequences that vary in less than
probe is annealed, recognizes the probe-template hybrid as a          1/100 or 1/1000 members of the populations). A SNP usually
substrate, and hydrolyzes phosphodiester bonds of the probe.          arises due to substitution of one nucleotide for another at the
The hydrolysis reaction irrevocably releases the quenching            polymorphic site. A transition is the replacement of one
effect of the quencher dye on the reporter dye, thus resulting        purine by another purine or one pyrimidine by another pyri-
in increasing detector fluorescence with each successive PCR          midine. A transversion is the replacement of a purine by a
cycle. In particular, hydrolysis probes suitable for use in the       pyrimidine or vice versa. SNPs can also arise from a deletion
invention can be capable of detecting 8-mer or 9-mer motifs           of a nucleotide or an insertion of a nucleotide relative to a
that are common in the human and other genomes and/or                 reference allele.
transcriptomes and can have a high Tm of about 70° C.
enabled by the use oflinked nucleic acid (LNA) analogs.
                                                                      Detection of Multiple Target Nucleic Acids in Multiple
[0079] The term "label," as used herein, refers to any atom           Samples
or molecule that can be used to provide a detectable and/or
quantifiable signal. In particular, the label can be attached,        [0085] In General
directly or indirectly, to a nucleic acid or protein. Suitable        [0086] In various embodiments, methods are provided for
labels that can be attached to probes include, but are not            detecting a plurality of target nucleic acids (i.e., T target
limited to, radioisotopes, fluorophores, chromophores, mass           nucleic acids, where T is an integer greater than one) in a
labels, electron dense particles, magnetic particles, spin            plurality of samples. In certain embodiments, the method
labels, molecules that emit chemiluminescence, electro-               entails providing S samples that will be mixed together (i.e.,
chemically active molecules, enzymes, cofactors, and                  pooled) prior to assay, where S is an integer greater than 1.
enzyme substrates.                                                    Each of these samples is separately subjected to an encoding
[0080] The term "dye," as used herein, generally refers to            reaction that produces a set of T tagged target nucleotide
any organic or inorganic molecule that absorbs electromag-            sequences, wherein each nucleotide tag encodes information
netic radiation at a wavelength greater than or equal 340 nm.         about the identity and/or sample source of a particular target
[0081] The term "fluorescent dye," as used herein, gener-             nucleic acid. For each of these S samples (i.e., each of the
ally refers to any dye that emits electromagnetic radiation of        samples to be pooled), the tagged target nucleotide sequences
longer wavelength by a fluorescent mechanism upon irradia-            are mixed to form an assay mixture. In this manner, samples
tion by a source of electromagnetic radiation, such as a lamp,        can be assayed in batches, so that, if, e.g., 48 samples are to be
a photodiode, or a laser.                                             analyzed, Scan be, e.g., 3, which means that 16 assay mix-
[0082] The term "elastomer" has the general meaning used              tures can be prepared to detect 16 different targets. The first
in the art. Thus, for example, Allcock et al. (Contemporary           assay mixture can contain, e.g., tagged target nucleotide
Polymer Chemistry, 2nd Ed.) describes elastomers in general           sequences from samples 1-3, the second assay mixture can
as polymers existing at a temperature between their glass             contain, e.g., tagged target nucleotide sequences from
transition temperature and liquefaction temperature. Elasto-          samples 4-6, and so on. See Example 1. An amplification step



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is then carried out, whereby the tagged target nucleotide              nucleotide sequences produced from a given sample can be
sequences are amplified using at least one primer that anneals         tagged with a common sample-specific nucleotide tag, i.e.,
to at least one nucleotide tag.                                        one that has the same nucleotide sequence. Alternatively,
[0087] If greater specificity is desired, one or both amplifi-         every target nucleotide sequence in an assay mixture can be
cation primers can include one or more nucleotides that are            tagged with a distinct sample-specific nucleotide tag, i.e.,
complementary to the target nucleotide(s) adjacent to the              such that each tagged target nucleotide sequence in the assay
nucleotide tag(s ), i.e., hybrid amplification primers including       mixture bears a sample-specific nucleotide tag having a dif-
target-specific sequences, as well as tag-specific sequences           ferent nucleotide sequence. Thus, if there are three samples
can be employed. In certain embodiments, the target-specific           that will be pooled for analysis of 16 targets in one assay
sequences are 3' of the tag-specific sequences in the primer.          mixture, tags 1-16 could be employed to identify target
[0088] In principle, the methods described herein are appli-           nucleic acid sequences from sample 1, tags 17-32 could be
cable to the detection of as many targets in as many samples           employed to identify target nucleic acid sequences from
as desired. However, the assay format will often dictate the           sample 2, and tags 32-48 could be employed to identify target
total number of detections that can be performed conve-                nucleic acid sequences from sample 3. As those of skill in the
niently without multiplexing, for example, by using more               art appreciate, sets of tags could be employed such that some,
than one type of label. As discussed in detail below, assay            but not all, target nucleotide sequences from a given sample
mixtures can be aliquoted for separate amplification in, for           share a common tag. Thus, for example, tag 1 could be
example, a microtiter plate, or, more typcially, a matrix-type         employed to identify target nucleic acid sequences 1-4 from
microfluidic device. In particular embodiments, S (number of           sample 1, tag 2 could be employed to identify target nucleic
samples that are mixed)xT (number of targets) defines the              acid sequences 5-8 from sample 1, tag 3 could be employed to
number of assay mixture aliquots, which can be, e.g., 30, 48,          identify target nucleic acid sequences 9-12 from sample 1,
96, 120, or 192 for analysis on a matrix-type microfluidic             and tag 4 could be employed to identify target nucleic acid
device having the corresponding number of isolated reaction            sequences 13-16 from sample. In this instance, tags 1-4 would
chambers. In exemplary embodiments, the product of the                 identify sample 1 target nucleic acid sequences, and similar
total number of samples assayed in a single assayxT is at least        sets of tags (e.g., tags 5-8 and tags 9-12) would identify
a value selected from the group consisting of 2304, 3600,              sample 2 and 3 target nucleic acid sequences.
4608, and 9216. As those of skill in the art appreciate, addi-         [0095] In exemplary embodiments of this method, the
tional increases in throughput can be achieved by multiplex-           encoding reaction entails separately subjecting each of the S
ing, for example, by using multiple labels to perform multiple         samples to preamplification using a distinct set of forward and
detections in a given assay aliquot.                                   reverse preamplification primers for each sample to produce
[0089] Target Nucleotide Sequences Tagged with One                     preamplified samples, wherein each preamplification primer
Sample-Specific Nucleotide Tag                                         set comprises T pairs of forward and reverse preamplification
[0090] In particular embodiments, each tagged target                   primers, wherein each preamplification primer pair is capable
nucleotide sequence includes a sample-specific nucleotide              of amplifying a particular target nucleic acid. In addition, all
tag and a target nucleotide sequence. In such embodiments,             forward preamplification primers or all reverse preamplifica-
the assay mixture, or aliquots thereof, is subjected to ampli-         tion primers in a given set comprise a sample-specific nucle-
fication using SxT unique pairs of amplification primers,              otide tag, which can, but need not, be a common sample-
wherein each amplification primer pair includes:                       specific nucleotide tag. The sample-specific nucleotide tag is
[0091] a forward or a reverse amplification primer that                generally 5' of the target-specific nucleotide sequence in the
anneals to a target nucleotide sequence; and                           primer.
[0092] a reverse or a forward amplification primer, respec-            [0096] The preamplified samples for each of the S samples
tively, that anneals to a sample-specific nucleotide tag.              are mixed to form an assay mixture (e.g., one assay mixture
Amplification is therefore dependent upon the presence of a            for each set of samples to be analyzed together). The assay
tagged target nucleotide sequence that has a particular target         mixture can then be analyzed as described above. Each for-
nucleotide sequence and a particular sample-specific tag.              ward preamplification primer in a set can include a sample-
Thus, the production of an amplification product including             specific nucleotide tag, in addition to a target-specific nucle-
these nucleotide sequences indicates the presence and, if              otide sequence, and each reverse preamplification primer in
quantitative detection is employed, the amount of a particular         the set can include a target-specific nucleotide sequence.
target nucleic acid in a particular sample.                            Alternatively, each forward preamplification primer in a set
[0093] The presence or amount of the amplification product             can include a target-specific nucleotide sequence, and each
of a unique primer pair can be detected using any means                reverse preamplification primer in each set can include a
capable of detecting the presence of a target nucleotide               sample-specific nucleotide tag, in addition to a target-specific
sequence in combination with a particular sample-specific              nucleotide sequence.
tag. For ease of detection, an assay mixture can be analyzed           [0097] Target Nucleotide Sequences Tagged with Two
by dividing it into up to SxT amplification mixtures, and              Nucleotide Tags
separately subjecting each of the amplification mixtures to            [0098] In particular embodiments, each tagged target
amplification using a unique pair of amplification primers. In         nucleotide sequence includes a a first nucleotide tag linked to
this case, the presence or amount of an amplification product          a target nucleotide sequence, which is linked to a second
in a particular aliquot indicates the presence or amount of the        nucleotide tag. In such embodiments, the assay mixture, or
target nucleic acid corresponding to the target-specific primer        aliquots thereof, is subjected to amplification using SxT
in the sample corresponding to the sample-specific nucleotide          unique pairs of amplification primers, wherein each amplifi-
tag.                                                                   cation primer pair includes:
[0094] The nucleotide sequence of the sample-specific                  [0099] a forward or a reverse amplification primer that
nucleotide tag encodes sample identity. All tagged target              anneals to a first nucleotide tag; and



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[0100] a reverse or a forward amplification primer, respec-              different reverse set-specific nucleotide tags are employed,
tively, that anneals to a second nucleotide tag. Amplification           and Y is an integer that is greater than 1 and less than T. Thus,
is therefore dependent upon the presence of a tagged target              TN primers comprise the same reverse set-specific nucle-
nucleotide sequence that has the proper combination of tags.             otide tag.
[0101] The nucleotide sequence of the nucleotide tag can                 [0108] The sample is subjected to preamplification to pro-
encode sample identity in the various ways described above               duce an assay mixture, wherein any preamplification product
for embodiments employing a single sample-specific tag. In               produced for a particular target incorporates a unique combi-
other words, all tagged target nucleotide sequences produced             nation of forward and reverse set-specific nucleotide tags. An
from a given sample can be tagged with a common sample-                  amplification step is then carried out, whereby the tagged
specific nucleotide tag. Alternatively, every target nucleotide          target nucleotide sequences are amplified by the proper com-
sequence in an assay mixture can be tagged with a distinct               bination of amplification primers, namely those that anneal to
sample-specific nucleotide tag, or sets of tags could be                 the nucleotide tags present in a particular tagged nucleotide
employed such that some, but not all, target nucleotide                  sequence.
sequences from a given sample share a common tag. Because                [0109] Thus, where X+ Y primers are prepared, XxY tar-
two tags are used, any of these strategies can be employed in            gets can be analyzed in a single assay. For example, ifX and
combination. For example, one tag can be a sample-specific               Y are each 100, only 200 primers need be synthesized to
tag common to all tagged target nucleotide sequences pro-                detect 10,000 target nucleic acids.
duced from a given sample, whereas the other tag can be                  [0110] In exemplary embodiments of this method, the
distinct for every tagged nucleotide sequence in an assay                amplification is carried out by dividing the assay mixture into
mixture. In certain high-specificity embodiments, every tag in           T amplification mixtures, and separately amplifying each of
an assay mixture is distinct (different in nucleotide sequence)          said amplification mixtures using a unique pair of amplifica-
from every other tag in the mixture.                                     tion primers. Each amplification primer pair includes:
[0102] In exemplary embodiments of this dual tagging                     [0111] a forward amplification primer that anneals to the
method, the encoding reaction entails separately subjecting              forward set-specific nucleotide tag; and
each of said S samples to preamplification using a distinct set          [0112] a reverse amplification primer that anneals to the
of forward and reverse preamplification primers for each                 reverse set-specific nucleotide tag.
sample to produce preamplified samples, wherein each                     For each unique primer pair, the presence or amount of an
preamplification primer set comprises T pairs of forward and             amplification product in the amplification mixture, or aliquot
reverse preamplification primers (i.e., one for each target),            thereof, is determined. The presence of an amplification prod-
wherein each preamplification primer pair is capable of                  uct indicates the presence of a particular target nucleic acid in
amplifying a particular target nucleic acid. Additionally, each          the sample.
forward preamplification primer comprises a forward nucle-               [0113] In principle, the methods of the invention are appli-
otide tag, and each reverse preamplification primer comprises            cable to the detection of as many targets in as many samples
a reverse nucleotide tag. These tags are generally 5' of the             as desired. However, the assay format will often dictate the
target-specific nucleotide sequence in the primer.                       total number of detections that can be performed conve-
[0103] The preamplified samples for each of the S samples                niently without multiplexing, for example, by using more
are mixed to form an assay mixture (e.g., one assay mixture              than one type oflabel. In particular embodiments, assay mix-
for each set of samples to be analyzed together). The assay              tures are aliquoted for separate amplification in, for example,
mixture can then be analyzed by amplification as described               a microtiter plate, or, more typically, a matrix-type microflu-
generally above. Each amplification primer pair includes:                idic device. Current microfluidic device designs lend them-
[0104] a forward amplification primer that anneals to a                  selves to assays in which X or Y is at least a value selected
forward nucleotide tag; and                                              from 12, 24, 48, and 96, and where T (the number of targets
[0105] a reverse amplification primer that anneals to a                  detected) is at least a value selected from the group consisting
reverse nucleotide tag.                                                  of 384, 576, 768, 1152, 2304, 3600, 4608, and 9216.As those
                                                                         of skill in the art appreciate, additional increases in through-
Detection of Multiple Target Nucleic Acids Through Combi-                put can be achieved by multiplexing, for example, by using
natorial Tagging                                                         multiple labels to perform multiple detections in a given assay
                                                                         aliquot.
[0106] The invention also provides a dual tagging assay
                                                                         [0114] The invention also contemplates combinations of
method that is useful for detecting a plurality of target nucleic
                                                                         the tagging methods described above.
acids in a sample. This method entails providing T forward
preamplification primers to a sample, wherein T is the num-              Detection of Multiple Target Nucleic Acids-Modular
ber of targets to be detected. Each forward preamplification             Approach
primer includes a different target-specific nucleotide
sequence and a set-specific nucleotide tag. The set-specific             [0115] The invention also provides an assay method for
nucleotide tag is generally 5' of the target-specific nucleotide         detecting a plurality of target nucleic acids in a sample,
tag. X different forward set-specific nucleotide tags are                wherein the target nucleic acids to be detected are divided into
employed, and X is an integer that is greater than 1 and less            sets or "modules," each module of target nucleic acids is
than T. Thus, TIX primers comprise the same forward set-                 tagged with the same set of nucleotide tag pairs. Within each
specific nucleotide tag.                                                 module, the sets of tag pairs differ from one another, but same
[0107] Also provided to the sample are T reverse preampli-               set of tag pairs is used for each module. Detection can then be
fication primers. Each reverse preamplification primer                   carried out by amplifying each module with a set of primer
includes a different target-specific nucleotide sequence and a           pairs that anneals to the set of tag pairs.
reverse set-specific nucleotide tag. The set-specific nucle-             [0116] More specifically, in certain embodiments, the
otide tag is generally 5' of the target-specific nucleotide tag. Y       method entail dividing a sample into R aliquots, wherein R is



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an integer greater than 1 (e.g., 96). Each of the R aliquots can         bination (e.g., wherein probe sequences are introduced into
be separately subjected to an encoding reaction that produces            nucleotide tags), use of fluorescent primers to add nucleotide
a set ofT tagged target nucleotide sequences, wherein Tis the            tags.
number of target nucleic acids to be detected in each aliquot,           [0121] In particular embodiments, this modular approach is
T being an integer greater than one (e.g., 96). Each tagged              extremely flexible and can be easily expanded by additional
target nucleotide sequence includes a first nucleotide tag 5' of         targets (e.g., an additional 96 targets). It is thus well-suited for
a target nucleotide sequence, a target nucleotide sequence,              assay panels.
and a second nucleotide tag 3' of the target nucleotide
sequence. The combination of nucleotide tags in each of said             Sample Nucleic Acids
T tagged target nucleotide sequences is unique for every
tagged target nucleotide sequence in each aliquot. However,              [0122] Preparations of nucleic acids ("samples") can be
the same set of first and second nucleotide tag combinations             obtained from biological sources and prepared using conven-
is used in the encoding reaction in each of the aliquots. Thus,          tional methods known in the art. In particular, DNA or RNA
in certain embodiments, the combination of nucleotide tags in            useful in the methods described herein can be extracted and/
each of said T tagged target nucleotide sequences is present in          or amplified from any source, including bacteria, protozoa,
a tagged target nucleotide sequence in each of the other ali-            fungi, viruses, organelles, as well higher organisms such as
quots, although each tag combination can be attached to a                plants or animals, particularly mammals, and more particu-
different target nucleotide sequence. Accordingly, in particu-           larly humans. Suitable nucleic acids can also be obtained
lar embodiments the encoding reaction can produce up to                  from environmental sources (e.g., pond water), from man-
RxT (e.g., 96x96=9216) different tagged target nucleotide                made products (e.g., food), from forensic samples, and the
sequences, thus permitting the assay ofRxT (e.g., 9216).                 like. Nucleic acids can be extracted or amplified from cells,
                                                                         bodily fluids (e.g., blood, a blood fraction, urine, etc.), or
[0117] Detection of the tagged target nucleotide sequences
can be carried out by separately subjecting each aliquot to              tissue samples by any of a variety of standard techniques.
                                                                         Exemplary samples include samples of plasma, serum, spinal
amplification using the same set of T different amplification
                                                                         fluid, lymph fluid, peritoneal fluid, pleural fluid, oral fluid,
primer pairs for each aliquot, each primer pair inlcuding a first
                                                                         and external sections of the skin; samples from the respira-
primer that anneals to the first nucleotide tag and a second
                                                                         tory, intestinal genital, and urinary tracts; samples of tears,
primer that anneals to the second nucleotide tag in each
tagged target nucleotide sequence. The presence of an ampli-             saliva, blood cells, stem cells, or tumors. For example,
                                                                         samples of fetal DNA can be obtained from an embryo (e.g.,
fication product corresponding to each unique primer pair in
each aliquot indicates the presence of a particular target               from one or a few embryonic or fetal cells) or from maternal
                                                                         blood. Samples can be obtained from live or dead organisms
nucleic acid in the sample.
                                                                         or from in vitro cultures. Exemplary samples can include
[0118] In certain embodiments, prior to amplification, each              single cells, paraffin-embedded tissue samples, and needle
aliquot can be divided into T sub-aliquots. Then, one of a set           biopsies. Nucleic acids useful in the invention can also be
of T different amplification primer pairs can be combined                derived from one or more nucleic acid libraries, including
with each sub-aliquot, and the sub-aliquots can be subjected             cDNA, cosmid, YAC, BAC, Pl, PAC libraries, and the like.
to separate amplification reactions.
                                                                         [0123] Nucleic acids ofinterest can be isolated using meth-
[0119] In illustrative embodiments, the encoding reaction                ods well known in the art, with the choice of a specific method
can be a preamplification reaction, which may be carried out             depending on the source, the nature of nucleic acid, and
on a microfluidic device. To increase target nucleic acid con-           similar factors. The sample nucleic acids need not be in pure
centration prior to encoding, an optional pre-preamplification           form, but are typically sufficiently pure to allow the amplifi-
reaction can be carried out before the encoding preamplifica-            cation steps of the methods of the invention to be performed.
tion reaction. The pre-preamplification can be carried out in            Where the target nucleic acids are RNA, the RNA can be
multplex. For example, target-specific primers for 9216 dif-             reversed transcribed into cDNA by standard methods known
ferent target nucleic acids can be employed in one mixture.              in the art and as described in Sambrook, J., Fritsch, E. F., and
This mixture can then be divided into R=96 aliquots and each             Maniatis, T., Molecular Cloning: A Laboratory Manual. Cold
aliquot subjected to an encoding preamplification reaction on            Spring Harbor Laboratory Press, NY, Vol. 1, 2, 3 (1989), for
a microfluidic device, using T=96 different primer pairs that            example. The cDNA can then be analyzed according to the
add 96 different nucleotide tag pairs to the target nucleotide           methods of the invention.
sequences in each of the 96 aliquots. To increase specificity,
the primers employed forpreamplification can be nested rela-             Target Nucleic Acids
tive to primers employed for pre-preamplification.
[0120] After the encoding preamplification reaction,                     [0124] Any target nucleic acid that can be tagged in an
amplification can be carried out in separate chambers of a               encoding reaction of the invention (described herein) can be
microfluidic device. For example, each of the 96 aliquots                detected using the methods of the invention. In typical
produced upon encoding preamplification can be loaded into               embodiments, at least some nucleotide sequence information
individual sample lines of a matrix-type microfluidic device,            will be known for the target nucleic acids. For example, if the
and each of96 different tag-specific primer combinations can             encoding reaction employed is PCR, sufficient sequence
be loaded into individual assay columns. Each different of the           information is generally available for each end of a given
96 primer combination can amplify a different target nucleic             target nucleic acid to permit design of suitable amplification
acid in each of the 96 aliquots. The resulting 9216 reaction             primers.
chambers (sub-aliquots) can then be subjected to amplifica-              [0125] The targets can include, for example, nucleic acids
tion, followed by detection of amplification product( s), which          associated with pathogens, such as viruses, bacteria, proto-
can be carried out by any suitable means, including SYBR                 zoa, or fungi; RNAs, e.g., those for which over- or under-
Green, universal probe library, use of one probe per tag com-            expression is indicative of disease, those that are expressed in



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a tissue- or developmental-specific manner; or those that are           fication primers and samples. In certain embodiments, the
induced by particular stimuli; genomic DNA, which can be                device is configured to contain a different combination of
analyzed for specific polymorphisms (such as SNPs), alleles,            primers and samples in each of the different chambers. In
or haplotypes, e.g., in genotyping. Of particular interest are          various embodiments, the number of separate reaction cham-
genomic DNAs that are altered (e.g., amplified, deleted, and/           bers can be greater than 50, usually greater than 100, more
or mutated) in genetic diseases or other pathologies;                   often greater than 500, even more often greater than 1000, and
sequences that are associated with desirable or undesirable             sometimes greater than 5000, or greater than 10,000.
traits; and/or sequences that uniquely identify an individual           [0131] In particular embodiments, the matrix-type microf-
(e.g., in forensic or paternity determinations).                        luidic device is a Dynamic Array ("DA") microfluidic device.
                                                                        A DA microfluidic device is a matrix-type microfluidic
Primer Design                                                           device designed to isolate pair-wise combinations of samples
[0126] Primers suitable for nucleic acid amplification are              and reagents (e.g., amplification primers, detection probes,
sufficiently long to prime the synthesis of extension products          etc.) and suited for carrying out qualitative and quantitative
in the presence of the agent for polymerization. The exact              PCRreactions including real-time quantitative PCR analysis.
length and composition of the primer will depend on many                In some embodiments, the DA microfluidic device is fabri-
factors, including, for example, temperature of the annealing           cated, at least in part, from an elastomer. DAs are described in
reaction, source and composition of the primer, and where a             PCT publication WO05107938A2 (Thermal Reaction
probe is employed, proximity of the probe annealing site to             Device and Method For Using The Same) and US Pat. Pub-
the primer annealing site and ratio of primer:probe concen-             lication US20050252773Al, both incorporated herein by ref-
tration. For example, depending on the complexity of the                erence in their entireties for their descriptions of DAs. DAs
target nucleic acid sequence, an oligonucleotide primer typi-           may incorporate high-density matrix designs that utilize fluid
cally contains in the range of about 15 to about 30 nucle-              communication vias between layers of the microfluidic
otides, although it may contain more or fewer nucleotides.              device to weave control lines and fluid lines through the
The primers should be sufficiently complementary to selec-              device and between layers. By virtue of fluid lines in multiple
tively anneal to their respective strands and form stable               layers of an elastomeric block, high density reaction cell
duplexes. One skilled in the art knows how to select appro-             arrangements are possible. Alternatively DAs may be
priate primer pairs to amplify the target nucleic acid of inter-        designed so that all of the reagent and sample channels are in
est.                                                                    the same elastomeric layer, with control channels in a differ-
                                                                        ent layer.
[0127] For example, PCR primers can be designed by using
any commercially available software or open source soft-                [0132] U.S. Patent Publication No. 2008/0223721 and PCT
ware, such as Primer3 (see, e.g., Rozen and Skaletsky (2000)            Publication No. WO 05/107938A2 describe illustrative
Meth. Mal. Biol., 132: 365-386; www.broad.mit.edu/node/                 matrix-type devices that can be used to practice the methods
1060, and the like) or by accessing the Roche UPL website.              described herein. FIG. 21 of the latter is reproduced as FIG. 1
The amplicon sequences are input into the Primer3 program               and shows an illustrative matrix design having a first elasto-
with the UPL probe sequences in brackets to ensure that the             meric layer 2110 (1st layer) and a second elastomeric layer
Primer3 program will design primers on either side of the               2120 (2d layer) each having fluid channels formed therein.
bracketed probe sequence.                                               For example, a reagent fluid channel in the first layer 2110 is
[0128] Primers may be prepared by any suitable method,                  connected to a reagent fluid channel in the second layer 2120
including, for example, cloning and restriction of appropriate          through a via 2130, while the second layer 2120 also has
sequences or direct chemical synthesis by methods such as               sample channels therein, the sample channels and the reagent
the phosphotriester method of Narang et al. (1979) Meth.                channels terminating in sample and reagent chambers 2180,
Enzymol. 68: 90-99; the phosphodiester method of Brown et               respectively. The sample and reagent chambers 2180 are in
al. (1979) Meth. Enzymol. 68: 109-151; the diethylphos-                 fluid communication with each other through an interface
phoramidite method of Beaucage et al. (1981) Tetra. Lett., 22:          channel 2150 that has an interface valve 2140 associated
1859-1862; the solid support method of U.S. Pat. No. 4,458,             therewith to control fluid communication between each of the
066 and the like, or can be provided from a commercial                  chambers 2180 of a reaction cell 2160. In use, the interface is
source.                                                                 first closed, then reagent is introduced into the reagent chan-
                                                                        nel from the reagent inlet and sample is introduced into the
[0129] Primers may be purified by using a Sephadex col-
                                                                        sample channel through the sample inlet; containment valves
unm (Amersham Biosciences, Inc., Piscataway, N.J.) or other
                                                                        2170 are then closed to isolate each reaction cell 2160 from
methods known to those skilled in the art. Primer purification
                                                                        other reaction cells 2160. Once the reaction cells 2160 are
may improve the sensitivity of the methods of the invention.
                                                                        isolated, the interface valve 2140 is opened to cause the
                                                                        sample chamber and the reagent chamber to be in fluid com-
Microfluidic Devices
                                                                        munication with each other so that a desired reaction may take
[0130] In certain embodiments, any of the methods of the                place. It will be apparent from this (and the description in WO
invention can be carried out using a microfluidic device. In            05/107938A2) that the DA may be used for reacting M num-
illustrative embodiments, a matrix-type microfluidic device             ber of different samples with N number of different reagents.
is one that allows the simultaneous combination of a plurality          [0133] Although the DAs described above in WO
of substrate solutions with reagent solutions in separate iso-          05/107938 are well suited for conducting the methods
lated reaction chambers. It will be recognized, that a substrate        described herein, the invention is not limited to any particular
solution can comprise one or a plurality of substrates and a            device or design. Any device that partitions a sample and/or
reagent solution can comprise one or a plurality of reagents.           allows independent pair-wise combinations of reagents and
For example, the microfluidic device can allow the simulta-             sample may be used. U.S. Patent Publication No.
neous pair-wise combination of a plurality of different ampli-          20080108063 (which is hereby incorporated by reference it



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its entirety) includes a diagram illustrating the 48.48                 provides for recovery of reaction products. Such devices are
Dynamic Array, a commercially available device available                described in detail in copending U.S. Application No. 61/166,
from Fluidigm Corp. (South San Francisco Calif.). It will be            105, filed Apr. 2, 2009, which is hereby incorporated by
understood that other configurations are possible and contem-           reference in its entirety and specifically for its description of
plated such as, for example, 48x96; 96x96; 30x120; etc.                 microfluidic devices that permit reaction product recovery
[0134] In specific embodiments, the microfluidic device                 and related methods. For example, a digital PCR method for
can be a Digital Array microfluidic device, which is adapted            calibrating DNA samples prior to sequencing can be pre-
to perform digital amplification. Such devices can have inte-           formed on such devices, permitting recovery of amplification
grated channels and valves that partition mixtures of sample            products, which can then serve as templates for DNA
and reagents into nanolitre volume reaction chambers. In                sequencing.
some embodiments, the Digital Array microfluidic device is              [0137] Fabrication methods using elastomeric materials
fabricated, at least in part, from an elastomer. Illustrative           and methods for design of devices and their components have
Digital Array microfluidic devices are described in copending           been described in detail in the scientific and patent literature.
U.S. Applications owned by Fluidigm, Inc. One illustrative              See, e.g., Unger et al., 2000, Science 288:113-16; U.S. Pat.
embodiment has 12 input ports corresponding to 12 separate              No. 6,960,437 (Nucleic acid amplification utilizing microf-
sample inputs to the device. The device can have 12 panels,             luidic devices); U.S. Pat. No. 6,899,137 (Microfabricated
and each of the 12 panels can contain 765 6 mL reaction                 elastomeric valve and pump systems); U.S. Pat. No. 6,767,
chambers with a total volume of 4.59 µL per panel. Microf-              706 (Integrated active flux microfluidic devices and meth-
luidic channels can connect the various reaction chambers on            ods); U.S. Pat. No. 6,752,922 (Microfluidic chromatogra-
the panels to fluid sources. Pressure can be applied to an              phy); U.S. Pat. No. 6,408,878 (Microfabricated elastomeric
accumulator in order to open and close valves connecting the            valve and pump systems); U.S. Pat. No. 6,645,432 (Microf-
reaction chambers to fluid sources. In illustrative embodi-             luidic systems including three-dimensionally arrayed chan-
ments, 12 inlets can be provided for loading of the sample              nel networks); U.S. Patent Application Publication Nos.
reagent mixture. 48 inlets can be used to provide a source for          2004/0115838;20050072946;20050000900;20020127736;
reagents, which are supplied to the microfluidic device when            20020109114; 20040115838; 20030138829; 20020164816;
pressure is applied to accumulator. Additionally, two or more           20020127736; and 20020109114; PCT Publication Nos. WO
inlets can be provided to provide hydration to the microfluidic         2005/084191; WO05030822A2; and WO 01/01025; Quake
device. Hydration inlets are in fluid communication with the            & Scherer, 2000, "From micro to nanofabrication with soft
device to facilitate the control of humidity associated with the        materials" Science 290: 1536-40; Unger et al., 2000, "Mono-
reaction chambers. As will be understood by one of skill in the         lithic microfabricated valves and pumps by multilayer soft
art, some elastomeric materials that can utilized in the fabri-         lithography" Science 288:113-116; Thorsen et al., 2002,
cation of the device are gas permeable, allowing evaporated             "Microfluidic large-scale integration" Science 298:580-584;
gases or vapor from the reaction chambers to pass through the           Chou et al., 2000, "Microfabricated Rotary Pump" Biomedi-
elastomeric material into the surrounding atmosphere. In a              cal Microdevices 3:323-330; Liu et al., 2003, "Solving the
particular embodiment, fluid lines located at peripheral por-           "world-to-chip" interface problem with a microfluidic
tions of the device provide a shield of hydration liquid, for           matrix" Analytical Chemistry 75, 4718-23, Hong et al, 2004,
example, a buffer or master mix, at peripheral portions of the          "A nano liter-scale nucleic acid processor with parallel archi-
microfluidic device surrounding the panels of reaction cham-            tecture" Nature Biotechnology 22:435-39.
bers, thus reducing or preventing evaporation of liquids                [0138] U.S. Patent Publication No. 20080223721 and PCT
present in the reaction chambers. Thus, humidity at periph-             Publication No. WO05107938A2 describe exemplary
eral portions of the device can be increased by adding a                matrix-type devices that can be used to practice the invention.
volatile liquid, for example water, to hydration inlets. In a           FIG. 21 of the latter is reproduced as FIG. 1 below. FIG. 1
specific embodiment, a first inlet is in fluid communication            describes an exemplary matrix design having a first elasto-
with the hydration fluid lines surrounding the panels on a first        meric layer 2110 (1st layer) and a second elastomeric layer
side of the device and the second inlet is in fluid communi-            2120 (2d layer) each having fluid channels formed therein.
cation with the hydration fluid lines surrounding the panels on         For example, a reagent fluid channel in the first layer 2110 is
the other side of the device.                                           connected to a reagent fluid channel in the second layer 2120
[0135] While the Digital Array microfluidic devices are                 through a via 2130, while the second layer 2120 also has
well-suited for carrying out the digital amplification methods          sample channels therein, the sample channels and the reagent
described herein, one of ordinary skill in the art would rec-           channels terminating in sample and reagent chambers 2180,
ognize many variations and alternatives to these devices. The           respectively. The sample and reagent chambers 2180 are in
microfluidic device which is the 12.765 Digital Array com-              fluid communication with each other through an interface
mercially available from Fluidigm Corp. (South San Fran-                channel 2150 that has an interface valve 2140 associated
cisco, Calif.), includes 12 panels, each having 765 reaction            therewith to control fluid communication between each of the
chambers with a volume of 6 nL per reaction chamber. How-               chambers 2180 of a reaction cell 2160. In use, the interface is
ever, this geometry is not required for digital amplification           first closed, then reagent is introduced into the reagent chan-
methods. The geometry of a given Digital Array microfluidic             nel from the reagent inlet and sample is introduced into the
device will depend on the particular application. Additional            sample channel through the sample inlet; containment valves
description related to devices suitable for use in the methods          2170 are then closed to isolate each reaction cell 2160 from
described herein is provided in U.S. Patent Application Pub-            other reaction cells 2160. Once the reaction cells 2160 are
lication No. 2005/0252773, incorporated herein by reference             isolated, the interface valve 2140 is opened to cause the
for its disclosure of Digital Array microfluidic devices.               sample chamber and the reagent chamber to be in fluid com-
[0136] In certain embodiments, the methods described                    munication with each other so that a desired reaction may take
herein can be performed using a microfluidic device that                place. It will be apparent from this (and the description in



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WO05107938A2) that the DA may be used for reacting M                        the continuous measurement of PCR product accumulation
number of different samples with N number of different                      using a dual-labeled fluorogenic oligonucleotide probe-an
reagents.                                                                   approach frequently referred to in the literature as the "Taq-
[0139] Although the DAs described above in WO05107938                       Man® method." See U.S. Pat. No. 5,723,591; Heid et al.,
are well suited for conducting the assays of the invention, the             1996, Real-time quantitative PCR Genome Res. 6:986-94,
invention is not limited to any particular device or design. Any            each incorporated herein by reference in their entireties for
device that partitions a sample, and allows independent pair-               their descriptions of fluorogenic nuclease assays. It will be
wise combinations of reagents and sample may be used. U.S.                  appreciated that while "TaqMan® probes" are the most
Patent Publication No. 20080108063 (which is hereby incor-                  widely used for qPCR, the invention is not limited to use of
porated by reference it its entirety) includes a diagram illus-             these probes; any suitable probe can be used.
trating the 48.48 Dynamic Array, a commercially available                   [0145] Other detection/quantitation methods that can be
device available from Fluidigm Corp. (South San Francisco                   employed in the present invention include FRET and tem-
Calif.). It will be understood that other configurations are                plate extension reactions, molecular beacon detection, Scor-
possible and contemplated such as, for example, 48x96;                      pion detection, Invader detection, and padlock probe detec-
96x96; 30x120; etc.                                                         tion.
[0140] According to certain embodiments of the invention,                   [0146] FRET and template extension reactions utilize a
the detection and/or quantification of one or more target                   primer labeled with one member of a donor/acceptor pair and
nucleic acids from one or more samples may generally be                     a nucleotide labeled with the other member of the donor/
carried out on a microfluidic device by obtaining a sample,                 acceptor pair. Prior to incorporation of the labeled nucleotide
optionally pre-amplifying the sample, and distributing ali-                 into the primer during a template-dependent extension reac-
quots of the pre-amplified sample into reaction chambers of a               tion, the donor and acceptor are spaced far enough apart that
microfluidic device containing the appropriate buffers, prim-               energy transfer cannot occur. However, if the labeled nucle-
ers, optional probe(s), and enzyme(s), subjecting these mix-                otide is incorporated into the primer and the spacing is suffi-
tures to amplification, and querying the aliquots for the pres-             ciently close, then energy transfer occurs and can be detected.
ence of amplified target nucleic acids. The sample aliquots                 These methods are particularly useful in conducting single
may have a volume ofin the range ofabout 1 picoliterto about                base pair extension reactions in the detection of single nucle-
500 nano liters, in the range of about 100 picoliters to about 20           otide polymorphisms and are described in U.S. Pat. No.
nanoliters, in the range of about 1 nanoliter to about 20                   5,945,283 and PCT Publication WO 97/22719.
nanoliters, or in the range of about 5 nanoliters to about 15               [0147] With molecular beacons, a change in conformation
nano liters.
                                                                            of the probe as it hybridizes to a complementary region of the
[0141] In certain embodiments, multiplex detection is car-
                                                                            amplified product results in the formation of a detectable
ried out in individual amplification mixture, e.g., in individual
                                                                            signal. The probe itself includes two sections: one section at
reaction chambers of a matrix-type microfluidic device,
                                                                            the 5' end and the other section at the 3' end. These sections
which can be used to further increase the number of samples                 flank the section of the probe that anneals to the probe binding
and/or targets that can be analyzed in a single assay orto carry
                                                                            site and are complementary to one another. One end section is
out comparative methods, such as comparative genomic                        typically attached to a reporter dye and the other end section
hybridization (CGH)-like analysis of multiple loci.
                                                                            is usually attached to a quencher dye. In solution, the two end
[0142] In specific embodiments, the assay usually has a                     sections can hybridize with each other to form a hairpin loop.
dynamic range of at least 3 orders of magnitude, more often at              In this conformation, the reporter and quencher dye are in
least 4, at least 5, at least 6, at least 7, or at least 8 orders of        sufficiently close proximity that fluorescence from the
magnitude.                                                                  reporter dye is effectively quenched by the quencher dye.
                                                                            Hybridized probe, in contrast, results in a linearized confor-
Quantitative Real-Time PCR and Other Detection and Quan-                    mation in which the extent of quenching is decreased. Thus,
titation Methods
                                                                            by monitoring emission changes for the two dyes, it is pos-
[0143] Any method of detection and/or quantitation of                       sible to indirectly monitor the formation of amplification
nucleic acids can be used in the invention to detect amplifi-               product. Probes of this type and methods of their use are
cation products. In one embodiment, PCR (polymerase chain                   described further, for example, by Piatek et al., 1998, Nat.
reaction) is used to amplify and/or quantitate target nucleic               Biotechnol. 16:359-63; Tyagi, and Kramer, 1996, Nat. Bio-
acids. In a variation of this embodiment, digital PCR can be                technology 14:303-308; and Tyagi, et al., 1998, Nat. Biotech-
employed. In other embodiments, other amplification sys-                    nol. 16:49-53 (1998).
tems or detection systems are used, including, e.g., systems                [0148] The Scorpion detection method is described, for
described in U.S. Pat. No. 7,118,910 (which is incorporated                 example, by Thelwell et al. 2000, Nucleic Acids Research,
herein by reference in its entirety for its description of ampli-           28:3752-3761 and Solinas et al., 2001, "Duplex Scorpion
fication/detection systems) and Invader assays; PE BioSys-                  primers in SNP analysis and FRET applications" Nucleic
tems ). In particular embodiments, real-time quantitation                   Acids Research 29:20. Scorpion primers are fluorogenic PCR
methods are used. For example, "quantitative real-time PCR"                 primers with a probe element attached at the 5'-end via a PCR
methods can be used to determine the quantity of a target                   stopper. They are used in real-time amplicon-specific detec-
nucleic acid present in a sample by measuring the amount of                 tion of PCR products in homogeneous solution. Two different
amplification product formed during the amplification pro-                  formats are possible, the "stem-loop" format and the
cess itself.                                                                "duplex" format. In both cases the probing mechanism is
[0144] Fluorogenic nuclease assays are one specific                         intramolecular. The basic elements of Scorpions in all for-
example of a real-time quantitation method that can be used                 mats are: (i) a PCR primer; (ii) a PCR stopper to prevent PCR
successfully in the methods described herein. This method of                read-through of the probe element; (iii) a specific probe
monitoring the formation of amplification product involves                  sequence; and (iv) a fluorescence detection system containing



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at least one fluorophore and quencher. After PCR extension of             [0152] In particular embodiments, fluorophores that can be
the Scorpion primer, the resultant amplicon contains a                    used as detectable labels for probes include, but are not lim-
sequence that is complementary to the probe, which is ren-                ited to, rhodamine, cyanine 3 (Cy 3), cyanine 5 (Cy 5), fluo-
dered single-stranded during the denaturation stage of each               rescein, Vic™, Liz™, Tamra™, 5-Fam™, 6-Fam™, and
PCR cycle. On cooling, the probe is free to bind to this                  Texas Red (Molecular Probes). (Vic™, Liz™, Tamra™,
complementary sequence, producing an increase in fluores-                 5-Fam™, 6-Fam™ are all available from Applied Biosys-
cence, as the quencher is no longer in the vicinity of the                tems, Foster City, Calif.).
fluorophore. The PCR stopper prevents undesirable read-                   [0153] Devices have been developed that can perform a
through of the probe by Taq DNA polymerase.                               thermal cycling reaction with compositions containing a fluo-
                                                                          rescent indicator, emit a light beam of a specified wavelength,
[0149] Invader assays (Third Wave Technologies, Madison,                  read the intensity of the fluorescent dye, and display the
Wis.) are used particularly for SNP genotyping and utilize an             intensity of fluorescence after each cycle. Devices compris-
oligonucleotide, designated the signal probe, that is comple-             ing a thermal cycler, light beam emitter, and a fluorescent
mentary to the target nucleic acid (DNA or RNA) or poly-                  signal detector, have been described, e.g., in U.S. Pat. Nos.
morphism site. A second oligonucleotide, designated the                   5,928,907; 6,015,674; and 6,174,670.
Invader Oligo, contains the same 5' nucleotide sequence, but              [0154] In some embodiments, each of these functions can
the 3' nucleotide sequence contains a nucleotide polymor-                 be performed by separate devices. For example, if one
phism. The Invader Oligo interferes with the binding of the               employs a Q-beta replicase reaction for amplification, the
signal probe to the target nucleic acid such that the 5' end of           reaction may not take place in a thermal cycler, but could
the signal probe forms a "flap" at the nucleotide containing              include a light beam emitted at a specific wavelength, detec-
the polymorphism. This complex is recognized by a structure               tion of the fluorescent signal, and calculation and display of
specific endonuclease, called the Cleavase enzyme. Cleavase               the amount of amplification product.
cleaves the 5' flap of the nucleotides. The released flap binds           [0155] In particular embodiments, combined thermal
with a third probe bearing FRET labels, thereby forming                   cycling and fluorescence detecting devices can be used for
another duplex structure recognized by the Cleavase enzyme.               precise quantification of target nucleic acids. In some
This time, the Cleavase enzyme cleaves a fluorophore away                 embodiments, fluorescent signals can be detected and dis-
from a quencher and produces a fluorescent signal. For SNP                played during and/or after one or more thermal cycles, thus
genotyping, the signal probe will be designed to hybridize                permitting monitoring of amplification products as the reac-
with either the reference (wild type) allele or the variant               tions occur in "real-time." In certain embodiments, one can
(mutant) allele. Unlike PCR, there is a linear amplification of           use the amount of amplification product and number of
signal with no amplification of the nucleic acid. Further                 amplification cycles to calculate how much of the target
details sufficient to guide one of ordinary skill in the art are          nucleic acid sequence was in the sample prior to amplifica-
provided by, for example, Neri, B. P., et al., Advances in                tion.
Nucleic Acid and Protein Analysis 3826: 117-125, 2000) and                [0156] According to some embodiments, one can simply
U.S. Pat. No. 6,706,471.                                                  monitor the amount of amplification product after a predeter-
[0150] Padlock probes (PLPs) are long (e.g., about 100                    mined number of cycles sufficient to indicate the presence of
bases) linear oligonucleotides. The sequences at the 3' and 5'            the target nucleic acid sequence in the sample. One skilled in
ends of the probe are complementary to adjacent sequences in              the art can easily determine, for any given sample type, primer
the target nucleic acid. In the central, noncomplementary                 sequence, and reaction condition, how many cycles are suf-
region of the PLP there is a "tag" sequence that can be used to           ficient to determine the presence of a given target nucleic
identify the specific PLP. The tag sequence is flanked by                 acid.
universal priming sites, which allow PCR amplification of the             [0157] According to certain embodiments, one can employ
tag. Upon hybridization to the target, the two ends of the PLP            an internal standard to quantitate the amplification product
oligonucleotide are brought into close proximity and can be               indicated by the fluorescent signal. See, e.g., U.S. Pat. No.
joined by enzymatic ligation. The resulting product is a cir-             5,736,333.
cular probe molecule catenated to the target DNA strand. Any              [0158] By acquiring fluorescence over different tempera-
unligated probes (i.e., probes that did not hybridize to a target)        tures, it is possible to follow the extent of hybridization.
are removed by the action of an exonuclease. Hybridization                Moreover, the temperature-dependence of PCR product
and ligation of a PLP requires that both end segments recog-              hybridization can be used for the identification and/or quan-
nize the target sequence. In this manner, PLPs provide                    tification of PCR products. Accordingly, the methods
extremely specific target recognition.                                    described herein encompass the use of melting curve analysis
[0151] The tag regions of circularized PLPs can then be                   in detecting and/or quantifying amplicons. Melting curve
amplified and resulting amplicons detected. For example,                  analysis is well known and is described, for example, in U.S.
TaqMan® real-time PCR can be carried out to detect and                    Pat. Nos. 6,174,670; 6,472,156; and 6,569,627, each of which
quantitate the amplicon. The presence and amount of ampli-                is hereby incorporated by reference in its entirety, and spe-
con can be correlated with the presence and quantity of target            cifically for its description of the use of melting curve analysis
sequence in the sample. For descriptions of PLPs see, e.g.,               to detect and/or quantify amplification products. In illustra-
Landegren et al., 2003, Padlock and proximity probes for in               tive embodiments, melting curve analysis is carried out using
situ and array-based analyses: tools for the post-genomic era,            a double-stranded DNA dye, such as SYBR Green, Pico
Comparative and Functional Genomics 4:525-30; Nilsson et                  Green (Molecular Probes, Inc., Eugene, Oreg.), ethidium bro-
al., 2006, Analyzing genes using closing and replicating                  mide, and the like (see Zhu et al., 1994,Anal. Chem. 66: 1941-
circles Trends Biotechnol. 24:83-8; Nilsson et al., 1994, Pad-            48).
lock probes: circularizing oligonucleotides for localized                 [0159] In various embodiments, employing preamplifica-
DNA detection, Science 265:2085-8.                                        tion, the number of preamplification cycles is sufficient to add



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one or more nucleotide tags to the target nucleotide                    detected in a large number of samples. For example, if only
sequences, so that the relative copy numbers of the tagged              three targets were to be detected, a target-specific probe with
target nucleotide sequences is substantially representative of          a different fluorescent label for each target could be
the relative copy numbers of the target nucleic acids in the            employed. By judicious choice of labels, analyses can be
sample. For example, preamplification can be carried out for            conducted in which the different labels are excited and/or
2-20 cycles to introduce the sample-specific or set-specific            detected at different wavelengths in a single reaction. See,
nucleotide tags. In other embodiments, detection is carried             e.g., Fluorescence Spectroscopy (Pesce et al., Eds.) Marcel
out at the end of exponential amplification, i.e., during the           Dekker, New York, (1971); White et al., Fluorescence Analy-
"plateau" phase, or endpoint PCR is carried out. In this                sis: A Practical Approach, Marcel Dekker, New York, (1970);
instance, preamplification will normalize amplicon copy                 Berlman, Handbook of Fluorescence Spectra of Aromatic
number across targets and across samples. In various embodi-            Molecules, 2nded.,Academic Press, New York, (1971); Grif-
ments, preamplification and/or amplification can be carried             fiths, Colour and Constitution of Organic Molecules, Aca-
out for about: 2, 4, 10, 15, 20, 25, 30, 35, or 40 cycles or for        demic Press, New York, (1976); Indicators (Bishop, Ed.).
a number of cycles falling within any range bounded by any of           Pergamon Press, Oxford, 19723; and Haugland, Handbook of
these values.                                                           Fluorescent Probes and Research Chemicals, Molecular
[0160] If desired, tagged target nucleotide sequences gen-              Probes, Eugene (1992).
erated as described herein may be analyzed by DNA sequenc-
ing. Many current DNA sequencing techniques rely on                     Removal of Undesired Reaction Components
"sequencing by synthesis." These techniques entail library              [0164] It will be appreciated that reactions involving com-
creation, massively parallel PCR amplification of library               plex mixtures of nucleic acids in which a number of reactive
molecules, and sequencing. Library creation starts with con-            steps are employed can result in a variety of unincorporated
version of sample nucleic acids to appropriately sized frag-            reaction components, and that removal of such unincorpo-
ments, ligation of adaptor sequences onto the ends of the               rated reaction components, or reduction of their concentra-
fragments, and selection for molecules properly appended                tion, by any of a variety of clean-up procedures can improve
with adaptors. The presence of the adaptor sequences on the             the efficiency and specificity of subsequently occurring reac-
ends of the library molecules enables amplification of ran-             tions. For example, it may be desirable, in some embodi-
dom-sequence inserts. The above-described methods for tag-              ments, to remove, or reduce the concentration of preamplifi-
ging nucleotide sequences can be substituted for ligation, to           cation primers prior to carrying out the amplification steps
introduce adaptor sequences.                                            described herein.
[0161] In particular embodiments, the number of library                 [0165] In certain embodiments, the concentration of undes-
DNA molecules produced in the massively parallel PCR step               ired components can be reduced by simple dilution. For
is low enough that the chance of two molecules associating              example, preamplified samples can be diluted about 2-, 5-,
with the same substrate, e.g. the same bead (in 454 DNA                 10-, 50-, 100-, 500-, 1000-, 5000-, or 10,000-fold prior to
sequencing) or the same surface patch (in Solexa DNA                    amplification to improve the specificity of the subsequent
sequencing) is low, but high enough so that the yield of                amplification step. Those of skill in the art appreciate that the
amplified sequences is sufficient to provide a high throughput          dilution can also fall within a range bounded by any of they
in automated sequencing. After suitable adaptor sequences               above values (e.g., about 100-fold to about 1000-fold).
are introduced, as discussed above, digital PCR can be                  [0166] In some embodiments, undesired components can
employed to calibrate the number oflibrary DNA molecules                be removed by a variety of enzymatic means. Examples of
prior to sequencing by synthesis.                                       suitable enzymatic means include enzymes that digest single-
                                                                        stranded nucleic acids, such as E. coli exonuclease I. Excess
Labeling Strategies                                                     dNTPs left over from the amplification reaction can be
                                                                        "removed" by treatment with shrimp alkaline phosphatase
[0162] Any suitable labeling strategy can be employed in                (SAP), which removes the phosphate groups from dNTPs.
the methods of the invention. Where the assay mixture is                Uracil N-glycosylase (UNG) (AmpErase® from Applied
aliquoted, and each aliquot is analyzed for presence of a               Biosystems, Inc., Foster City, Calif.), can be used to prevent
single amplification product, a universal detection probe can           unwanted carry-over primers from an initial amplification
be employed in the amplification mixture. In particular                 reaction in which the primers contained dUTP, instead of
embodiments, real-time PCR detection can be carried out                 dTTP. UNG degrades U-containing primers.
using a universal qPCR probe. Suitable universal qPCR                   [0167] Alternatively, unreacted primers and dNTPs can be
probes include double-stranded DNA dyes, such as SYBR                   removed by colunm chromatography. For example, gel filtra-
Green, Pico Green (Molecular Probes, Inc., Eugene, Oreg.),              tion over Sephadex can be employed for this purpose.
ethidium bromide, and the like (see Zhu et al., 1994, Anal.             [0168] In particular embodiments, clean-up includes selec-
Chem. 66:1941-48). Suitable universal qPCR probes also                  tive immobilization of nucleic acids. For example, desired
include sequence-specific probes that bind to a nucleotide              nucleic acids can be preferentially immobilized on a solid
sequence present in all amplification products. Binding sites           support. In an exemplary embodiment, photo-biotin is
for such probes can be conveniently introduced into the                 attached to desired nucleic acid, and the resulting biotin-
tagged target nucleotide sequences during preamplification              labeled nucleic acids immobilized on a solid support com-
(in embodiments employing preamplification) and/or into                 prising an affinity-moiety binder such as streptavidin. Alter-
amplification products during amplification.                            natively, unwanted nucleic acids can be immobilized on a
[0163] Alternatively, one or more target-specific qPCR                  solid support and desired nucleic acids harvested by washing.
probes (i.e., specific for a target nucleotide sequence to be
detected) is employed in the amplification mixtures to detect           Use of Blocking Agents During Amplification
amplification products. Target-specific probes could be use-            [0169] In certain embodiments, amplification can be car-
ful, e.g., when only a few target nucleic acids are to be               ried out in the presence of a blocking agent to increase spe-



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cific amplification of the target nucleic acid. Such an agent           (e.g., in aquaculture or fisheries management or in the deter-
can suppress background noise generated during amplifica-               mination of population diversity), or paternity or forensic
tion, increase specific amplification of one or more target             identifications. The methods of the invention can be applied
nucleic acids, and/or improve the quality of amplification              to the identification of sequences indicative of particular con-
(e.g., possibly by improving the efficiency of amplification).          ditions or organisms in biological or environmental samples.
[0170] Blocking agents can be employed in any amplifica-                For example, the methods can be used to identify pathogens,
tion reaction, for example, where a genomic DNA sample is               such as viruses, bacteria, and fungi). The methods can also be
being preamplified or amplified. Genomic DNA contains                   used to characterize environments or microenvironments,
repetitive nucleotide sequences to which primers may non-               e.g., to characterize the microbial species in the human gut.
specifically hybridize, which may increase background noise             [0176] These methods can also be employed to determine
and compete with target nucleic acids for primers. The inclu-           DNA or RNA (e.g., mRNA, miRNA) copy number. Determi-
sion of a blocking agent in the amplification reaction mixture          nations of aberrant DNA copy number in genomic DNA is
increases specific amplification of the target nucleic acid. In         useful, for example, in the diagnosis and/or prognosis of
various embodiments, the increase in specific amplification             genetic defects and diseases, such as cancer. Determination of
can be about 10 percent, about 25 percent, about 50 percent,            RNA "copy number," i.e., expression level is useful for
about 75 percent, about l00percent, about 150percent, about             expression monitoring of genes of interest, e.g., in different
200 percent, about 250 percent, about 300 percent, about 350            individuals, tissues, or cells under different conditions (e.g.,
percent, about 400 percent, about 450 percent, or about 500             different external stimuli or disease states) and/or at different
percent of the amplification observed in the absence of block-          developmental stages. Primers can also function as probes.
ing agent. Without being bound by a particular theory, it is            [0177] In addition, the methods can be employed to prepare
believed that the blocking may act by hybridizing to repetitive         nucleic acid samples for further analysis, such as, e.g., DNA
sequences in the genomic DNA sample.                                    sequencing.
[0171] Blocking agents also find particularutility in multi-
                                                                        [0178] Finally, nucleic acid samples can be tagged as a first
plex amplification reactions using genomic DNA or other
                                                                        step, prior subsequent analysis, to reduce the risk that misla-
types of nucleic acid samples. In multiplex amplification, the
                                                                        beling or cross-contamination of samples will compromise
presence of multiple primers in the amplification reaction
                                                                        the results. For example, any physician's office, laboratory, or
mixture can increase signal attributable to non-specific                hospital could tag samples immediately after collection, and
hybridization of the multiple primers. The inclusion of a
                                                                        the tags could be confirmed at the time of analysis. Similarly,
blocking agent may suppress this signal.                                samples containing nucleic acids collected at a crime scene
[0172] In an illustrative embodiment, a nucleic acid block-
                                                                        could be tagged as soon as practicable, to ensure that the
ing agent, such as tRNA, is employed as a blocking agent in
                                                                        samples could not be mislabeled or tampered with. Detection
an amplification reaction, such as, e.g., PCR. Other blocking
                                                                        of the tag upon each transfer of the sample from one party to
agents can include degenerate oligonucleotide primers,
                                                                        another could be used to establish chain of custody of the
repetitive DNA, BSA, or glycogen.                                       sample.
[0173] The blocking agent should present in an amount to
increase specific amplification of the target nucleic acid. In          Kits
certain embodiments, the blocking agent is present at a con-
centration in the range of about 0.1 µg/µl to about 40 µg/µ1. In        [0179] Kits according to the invention include one or more
specific embodiments, the blocking agent concentration can              reagents useful for practicing one or more assay methods of
be about 0.1, about 0.2, about 0.3, about 0.4, about 0.5, about         the invention. A kit generally includes a package with one or
0.6, about 0.7, about 1, about 2, about 3, about 4, about 5,            more containers holding the reagent(s) (e.g., primers and/or
about 6, about 7, about 8, about 9, about 10, about 15, about           probe(s)), as one or more separate compositions or, option-
20, about 25, about 30, about 35, or about 40 µg/µl of the              ally, as admixture where the compatibility of the reagents will
preamplification or amplification reaction mixture or can be            allow. The kit can also include other material(s) that may be
any range having any of these values as endpoints (e.g., about          desirable from a user standpoint, such as a buffer(s ), a diluent
1 µg/µl to about 5 µg/µl). Suitable amounts can be also deter-          (s), a standard(s), and/or any other material useful in sample
mined empirically, as shown in Example 4.                               processing, washing, or conducting any other step of the
[017 4] In an illustrative embodiment, tRNA is employed as              assay.
a blocking agent at a concentration in the range of about 1             [0180] Kits according to the invention generally include
µg/µl to about 5 µg/µl, e.g., about 2 or 3 µg/µ1.                       instructions for carrying out one or more of the methods of the
                                                                        invention. Instructions included in kits of the invention can be
Applications                                                            affixed to packaging material or can be included as a package
[0175] The methods of the invention are applicable to any               insert. While the instructions are typically written or printed
technique aimed at detecting the presence or amount of one or           materials they are not limited to such. Any medium capable of
more target nucleic acids in a nucleic acid sample. Thus, for           storing such instructions and communicating them to an end
example, these methods are applicable to identifying the pres-          user is contemplated by this invention. Such media include,
ence of particular polymorphisms (such as SNPs ), alleles, or           but are not limited to, electronic storage media (e.g., magnetic
haplotypes, or chromosomal abnormalities, such as amplifi-              discs, tapes, cartridges, chips), optical media (e.g., CD
cations, deletions, or aneuploidy. The methods may be                   ROM), RF tags, and the like. As used herein, the term
employed in genotyping, which can be carried out in a num-              "instructions" can include the address of an internet site that
ber of contexts, including diagnosis of genetic diseases or             provides the instructions.
disorders, pharmacogenomics (personalized medicine), qual-              [0181] It is understood that the examples and embodiments
ity control in agriculture (e.g., for seeds or livestock), the          described herein are for illustrative purposes only and that
study and management of populations of plants or animals                various modifications or changes in light thereof will be sug-



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gested to persons skilled in the art and are to be included               [0189] The lli'lCrfor different samples ofHPRT cDNA and
within the spirit and purview of this application and scope of            GAPDH cDNA was determined against a reference sample
the appended claims.                                                      (ABC at relative concentration 0.063, grey background).
[0182] In addition, all other publications, patents, and                  Samples from three groups A, B and C were not mixed ("indi-
patent applications cited herein are hereby incorporated by               vidual"), mixed with samples of the same concentration
reference in their entirety for all purposes.                             ("ABC") or mixed with samples of different concentration
                                                                          ("A fixed"). Relative concentration refers to the amount of
                         EXAMPLES                                         cDNA added to the tagging reaction ("1.000"=5 nano gram).
                                                                          llllCr values are listed for samples being analyzed with group
                           Example 1                                      A, B and C specific tag primers respectively and with
                                                                          untagged primers, i.e. the primers with the sequence of the
    "More Samples" Chemistry Using Unique Tags for
                                                                          target specific portion of the pre-amplification primers. The
                    Every Primer
                                                                          results are shown in Table 1.
[0183] This example provides an exemplary protocol for
carrying out an assay method of the invention to measure gene                                         TABLE 1
expression of 16 targets in up to 144 samples using a 48.48
                                                                                                    A-tag-     B-tag-     C-tag-   Untagged
Dynamic Array available from Fluidigm Corporation, South                  Sample mix        rConc   primers   primers    primers    primers
San Francisco, Calif.
[0184] To increase the sample throughput for gene expres-                 individual        0.016    -0.1     -0.2       -0.4        0.1
                                                                          individual        0.063    -0.1     -0.9        0.1        0.3
sion using a dynamic array without chip design change, we                 individual        0.250     0.6     -0.5       -0.1        0.1
developed a new protocol to measure gene expression in more               individual        1.000     0.1     -0.5       -0.2        0.1
than 48 samples on less than 48 (i.e. 16) targets using one M48           ABC               0.016    -0.72    -0.79      -0.41       0.93
chip. This protocol involved tagging, combining and real-                 ABC               0.063     0.0      0.0        0.0        0.0
                                                                          ABC               0.250     0.2     -0.6        0.0        0.2
time PCR steps. Forproofof concept only 3 target genes were               ABC               1.000     0.2     -0.4       -0.2        0.0
encoded and analyzed.                                                     A fixed           0.016     0.7     -0.5        0.5        0.5
[0185] During the Tagging step, cDNA samples were                         A fixed           0.063     0.4     -0.8        0.1        0.2
                                                                          A fixed           0.250     0.1     -0.5       -0.3       -0.2
divided into 3 separate groups. The forward and reverse prim-
                                                                          A fixed           1.000     0.7     -0.6       -0.2        0.0
ers of3 targets (GAPDH, LDHl, HPRT) for the three groups                                    AVG       0.2     -0.5       -0.1        0.2
were synthesized with unique tag sequences appended to the                                 STDEV      0.39     0.24       0.24       0.29
5' end of the primers (total of 18 different tags) respectively.
In this way, each pair of tags defines a specific target amplified
and tagged with reagents for a specific group.
                                                                                                     Example 2
[0186] Each group-specific set of tagged primers were
pooled together with 33 other, non-tagged gene expression                              "More Samples" Chemistry for Genotyping
mixes to simulate high complexity in the preamplification.
[0187] In the tagging step (preamplification of targets with              [0190] This example provides an exemplary protocol for
the tagged primers), the 3 separate groups c DNA samples                  carrying out an assay method of the invention to genotype 16
(Standard cDNA, eight titrations 4x diluted, from 5 ng to 0.3             single nucleotide polymorphsims ("SNPs") in 144 samples
pg) were amplified in a 5 µl reaction containing 2.5 µl of 2x             (including no template controls ("NTCs")) using a 48.48
Preamp master mix (Applied Biosystems), 1 µl of the multi-                Dynamic Array available from Fluidigm Corporation, South
plex tagging primer mix (one separate mix per sample group),              San Francisco, Calif.
1 µl cDNA and 0.5 µl DNA-free water. PCR was performed                    [0191] To further increase the sample throughput for geno-
with an initial 15 min at 95° C., followed by 14 cycles of a              typing using a dynamic array without chip design change, we
2-step amplification profile of 15 sec at 95° C. for denatur-             developed a new protocol to genotype more than 48 samples
ation, 4 min at 60° C. for annealing and extension. The PCR               on less than 48 (i.e. 16) SNPs using one 48.48CS chip. This
products were diluted 100-fold with DNA suspension buffer                 protocol involved tagging, combining, and genotyping steps
(low EDTA TE from TEKnova ). Then the PCR products from                   (see FIGS. 4, 5, and6). During the tagging step, DNA samples
the 3 groups were combined, with every combined sample                    were divided into 3 separate groups with 47 individuals each
having one sample from each of the 3 tagging groups. As a                 (plus one space for NTC). Three sets of 16 5' forward primers
comparison, samples from different tag groups were analyzed               for amplifying 16 SNPs were synthesized. Each set had a
individually by quantitative real-time PCR. Also, the analysis            different Tag sequence appended to the 5' end of the primers
was performed in parallel with untagged primers and without               respectively. Each 16 forward primers with the same Tag
mixing samples.                                                           attached were pooled together and mixed with the 16 SNP
[0188] The combined samples were analyzed by real-time                    specific 3' reverse primers to make multiplex tagging primer
quantitative PCR on a dynamic array chip. The 1Ox assay mix               mix, one for each Tag.
was prepared for each tag pair with the corresponding Taq-                [0192] In the tagging step, the 3 separate groups of 47
Man probes in a 5 µl reaction containing 2 µM Taqman probe,               tomato DNA samples were amplified in a 5 µl reaction con-
9 µM of two tag-specific primers and 1x assay loading reagent             taining 2.5 µl of2x Multiplex PCR Master Mix (Qiagen), 1 µl
(Fluidigm). A 5 µL sample mix was prepared for each 2.5 µL                of the multiplex tagging primer mix (one separate Tag per
of (combined or individual) samples, containing 1x TaqMan                 sample group), 1 µl DNA at 60 ng/uL and 0.5 µl DNA-free
Universal Master Mix (Applied Biosystems, Foster City,                    water. PCR was performed with an initial 15 min at 95° C.,
Calif.), 1xDA Sample Loading Reagent. A standard TaqMan                   then followed by 14 cycles of a 2-step amplification profile of
gene expression was performed as mentioned above on the                   15 sec at 95° C. fordenaturation, 4 min at 60° C. for annealing
dynamic array chip.                                                       and extension. The PCR products were diluted 100-fold with



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DNA suspension buffer (low EDTA TE from TEKnova).                      sec at 95° C. for denaturation, 4 min at 60° C. for annealing
Then the 47 PCR products from the 3 groups were combined               and extension. Samples were diluted l-in-2 in water and
into one group of 47 samples, with every combined sample               stored at 4° C. These PCR products were treated with 4 µl of
having one from each of the 3 Tagging groups.                          ExoSAP-IT (PIN 7800, USB,). See FIG. 5. The 144 samples
[0193] The combined 47 samples plus one sample with                    were reduced to 48 combined samples. The combined sample
DNA suspension buffer as negative control ("NTC") were                 contains only 1 member of each tag group 1, 2 and 3.
genotyped on dynamic array chip. The !Ox assay mix was                 [0197] The combined samples were subjected to the PCR
prepared for each SNP individually in a 5 µl reaction contain-         on dynamic array chip. 6.5 µl sample mix was prepared for
ing 2 µM Taqman probes (FAM and VIC), 9 µM of corre-                   each cDNA mixture containing: 3.5 uL of 2x TaqMan Gene
sponding SNP specific reverse primers, 2.5xROX (Invitro-               Expression Master mix (ABI), 0.35 µL of 20xGE sample
gen), 0.25% of Tween 20 and 9 µM of one of the 3 Tag primers           loading reagent (Fluidigm) and 2.45 µL of combined sample,
(Tag-1 GTACGGTAGCAGAGA CTTGGTCTG, Tag-2                                as described above. Assay mixes (5 µL) contained: 2.6 µM of
GACTTAATGCTGC TTGAGACTTGC, and Tag-3                                   3' nested reverse primer and 2.6 µM hydrolysis probe, 0.25%
GACATCGT ACCTGACTCAT CGCAC). And three !Ox                             of Tween 20 and 2 µM ofone of the 3 Tag primers (Tag-1 or
assay mixes were made for each SNP, one for each Tag. Total            2 or 3). Standard Fluidigm gene expression qPCR was per-
48 assay mixes were made for the 16 SNPs, in 3 Tag groups.             formed on 96.96 chips.
A 5 µL sample mix was prepared for each 2.5 µL of 1:100
diluted combined samples and NTC, containing 1x TaqMan
Universal Master Mix (Applied Biosystems, Foster City,                                                  Example 4
Calif.), lxGT Sample Loading Reagent (Fluidigm PN
85000741), and 0.05 units/µL additional extra Taq-Gold                        Use of tRNA in Amplification of Genomic DNA
polymerase (Applied Biosystems). A standard TaqMan geno-
typing was performed as mentioned above on dynamic array               [0198] Human genomic DNA was preamplified using stan-
chip. The results are shown in FIGS. 2 and 3.                          dard protocols on the GeneAmp PCR system 9700 (Applied
                                                                       Biosystems, CA) in a 25 µl reaction containing lx PreAmp
                                                                       master mix (Applied Biosystems, CA), 900 nM primers,
                         Example 3
                                                                       about 10 ng of DNA sample, and differing amounts of tRNA
    "More Samples" Chemistry for qPCR Gene Expres-                     (transfer ribonucleic acid, from baker's yeast S. cerevisiae,
                    sion Profiling                                     Sigma Chemicals, cat no RS636- l ML). Samples were diluted
                                                                       and analyzed by digital PCR on a 12.765 Digital Array com-
[0194] This example provides an exemplary protocol for                 mercially available from Fluidigm Corp. (South San Fran-
carrying out an assay method of the invention to quantify the          cisco, Calif.). The thermal cycling protocol followed was
expression of 16 cDNAs in 36 serially diluted samples using            similar to that reported in Qin J., Jones RC, Ramakrishnan R.
a 96.96 Dynamic Array available from Fluidigm Corporation,             (2008) Studying copy number variations using a nanojluidic
South San Francisco, Calif.                                            platform Nucleic Acids Research, Vol. 36, No. 18 el 16.
[0195] To increase the sample throughput for qPCR, gene                [0199] FIGS. 8 and 9 demonstrate that the addition of tRNA
expression profiling using a dynamic array without involving           increases the intensity of the specific amplification signal,
a change to chip design, we developed a new protocol. That             suppresses background, and improves the quality of specific
protocol, (FIGS. 4, 5, and 6) permits examination ofmRNA               amplification curves. Table 2, below, shows the increase in
expression levels for 16 genes, present at different levels.           specific counts with the addition of tRNA.
FIG. 7 shows the results of analyzing 16 genes in a dilution
series of a Universal Reference sample (BioChain) used to                                               TABLE2
validate the dynamic range and ti.ti.Ct measurements of"More
                                                                                         Amount of tRNA                   Counts*
Samples" gene expression protocols. In particular, FIG. 7
displays the data derived using a 96.96 array. This protocol                                   None                           9
(FIGS. 4, 5, and 6) involved tagging, combining samples, and                                  2 µg/µl                       290
qPCR. During the tagging step (FIG. 6), sample was divided                                    3 µg/µl                       275
into 3 separate groups with 48 tag-specific reactions contain-         *Average number of signals per panel of 12.765 Digital Array
ing differing dilution series. Three sets of 16 forward primers
for amplifying 16 cDNAs were synthesized. Each set bears a             [0200] The examples given above are merely illustrative
different tag sequence appended to the 5' end of the forward           and are not meant to be an exhaustive list of all possible
primers. Each 16 forward primers with the same 5' Tag were             embodiments, applications or modifications of the invention.
pooled together and mixed with 16 gene specific 3' reverse             Thus, various modifications and variations of the described
primers to make a multiplex tagging primer mix, one for each           methods and systems of the invention will be apparent to
Tag. See FIG. 6.                                                       those skilled in the art without departing from the scope and
[0196] In the tagging step, the 3 separate groups of 4-fold            spirit of the invention. Although the invention has been
serial (l-in-4, l-in-16, and l-in-64 fold) dilution of 16 cDNA         described in connection with specific embodiments, it should
samples were amplified in a 10 µl reaction containing: 5 µl of         be understood that the invention as claimed should not be
2x PreAmp Master Mix (PIN 438-4769;ABI), 2 µl of5x(250                 unduly limited to such specific embodiments. Indeed, various
nM) multiplex tagging primer mix (one separate Tag per                 modifications of the described modes for carrying out the
sample group), 3 µl of Universal Reference cDNA (Bio                   invention which are obvious to those skilled in molecular
Chain). PCR was performed with an initial 15 min at 95° C.,            biology or in the relevant fields are intended to be within the
followed by 17 cycles of a 2-step amplification profile of 15          scope of the appended claims.



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                                      SEQUENCE LISTING


<160> NUMBER OF SEQ ID NOS, 3

<210> SEQ ID NO 1
<211> LENGTH, 24
<212> TYPE, DNA
<213> ORGANISM, Artificial Sequence
<220> FEATURE,
<223> OTHER INFORMATION, Nucleotide Tag

<400> SEQUENCE, 1

gtacggtagc agagacttgg tctg                                                               24


<210> SEQ ID NO 2
<211> LENGTH, 24
<212> TYPE, DNA
<213> ORGANISM, Artificial Sequence
<220> FEATURE,
<223> OTHER INFORMATION: Nucleotide Tag

<400> SEQUENCE, 2

gacttaatgc tgcttgagac ttgc                                                               24


<210> SEQ ID NO 3
<211> LENGTH, 24
<212> TYPE, DNA
<213> ORGANISM, Artificial Sequence
<220> FEATURE,
<223> OTHER INFORMATION, Nucleotide Tag

<400> SEQUENCE, 3

gacatcgtac ctgactcatc gcac                                                               24



   1. An assay method for detecting a plurality of target                    tinct set of forward and reverse preamplification primers
nucleic acids in a plurality of samples, the method compris-                 for each sample to produce preamplified samples,
ing:                                                                         wherein
   providing S samples that will be mixed together prior to                  each preamplification primer set comprises T pairs of
      assay, where S is an integer greater than 1;                              forward and reverse preamplification primers,
   separately subjecting each of said S samples to an encoding                  wherein each preamplification primer pair is capable
      reaction that produces a set ofT tagged target nucleotide                 of amplifying a particular target nucleic acid; and
      sequences, each tagged target nucleotide sequence com-                 either all forward preamplification primers or all reverse
      prising a sample-specific nucleotide tag and a target                     preamplification primers in a given set comprise a
      nucleotide sequence; wherein Tis the number of target                     common sample-specific nucleotide tag;
      nucleic acids to be detected, T being an integer greater            said mixing comprises mixing the preamplified samples
      than one;                                                              for each of said S samples to form an assay mixture;
   for each of said S samples, mixing tagged target nucleotide            said amplification comprises dividing the assay mixture
      sequences to form an assay mixture;                                    into up to SxT amplification mixtures, and separately
   subjecting the assay mixture, or aliquots thereof, to ampli-              subjecting each of said amplification mixtures to ampli-
      fication using SxT unique pairs of amplification prim-                 fication using a unique pair of amplification primers,
      ers, wherein each amplification primer pair comprises:                 wherein each amplification primer pair comprises:
      a forward or a reverse amplification primer that anneals               a forward or a reverse amplification primer that anneals
         to a target nucleotide sequence; and                                   to a target nucleotide sequence; and
      a reverse or a forward amplification primer, respectively,             a reverse or a forward amplification primer, respectively,
         that anneals to a sample-specific nucleotide tag; and                  that anneals to a sample-specific nucleotide tag; and
   for each unique primer pair, determining whether an ampli-             said determining comprises determining whether an
      fication product is present in the amplification mixture,              amplification product is present in the amplification
      or aliquot thereof, whereby the presence of an amplifi-                mixtures, whereby the presence of an amplification
      cation product indicates the presence of a particular                  product in an amplification mixture indicates the pres-
      target nucleic acid in a particular sample.                            ence of a particular target nucleic acid in a particular
   2. The method of claim 1, wherein:                                        sample.
   said encoding reaction comprises separately subjecting                 3. The assay method of claim 2, wherein each forward
      each of said S samples to preamplification using a dis-           preamplification primer in a set comprises a common sample-



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specific nucleotide tag, in addition to a target-specific nucle-             7. The method of claim 5, wherein at least one of said
otide sequence, and each reverse preamplification primer in               nucleotide tags comprises a sample-specific nucleotide tag
each set comprises a target-specific nucleotide sequence.                 that is common to all tagged target nucleotide sequences
   4. The assay method of claim 2, wherein each forward                   produced from a given sample.
preamplification primer in a set comprises a target-specific                 8. The method of claim 7, wherein the other nucleotide tag
nucleotide sequence, and each reverse preamplification                    is distinct for each tagged target nucleotide sequence in the
primer in each set comprises a common sample-specific                     assay mixture.
nucleotide tag, in addition to a target-specific nucleotide                  9. The assay method of claim 1, wherein at least one of said
sequence.                                                                 amplification primers, comprises at least one nucleotide that
   5. An assay method for detecting a plurality of target                 is complementary to the target nucleotide adjacent to at least
nucleic acids in a plurality of samples, the method compris-              one of said nucleotide tags.
ing:                                                                         10. The assay method of claim 1, wherein a series of
   providing S samples that will be mixed together prior to               samples is assayed by preparing a plurality of different assay
      assay, where S is an integer greater than 1;                        mixtures, wherein each assay mixture comprises a mixture of
   separately subjecting each of said S samples to an encoding            S different samples.
      reaction that produces a set ofT tagged target nucleotide              11. The assay method of claim 10, wherein SxT is at least
      sequences, each tagged target nucleotide sequence com-              a value selected from the group consisting of 30, 48, 96, 120,
      prising a first nucleotide tag linked to a target nucleotide
                                                                          and 192.
      sequence, which is linked to a second nucleotide tag;
      wherein T is the number of target nucleic acids to be                  12. The assay method of claim 10, wherein the product of
      detected, T being an integer greater than one;                      the total number of samples assayed in a single assay xT is at
   for each of said S samples, mixing tagged target nucleotide            least a value selected from the group consisting of 2304,
      sequences to form an assay mixture;                                 3600, 4608, and 9216.
   subjecting the assay mixture, or aliquots thereof, to ampli-              13. An assay method for detecting a plurality of target
      fication using SxT unique pairs of amplification prim-              nucleic acids in a sample, the method comprising:
      ers, wherein each amplification primer pair comprises:                 providing T forward preamplification primers to a sample,
      a forward or a reverse amplification primer that anneals                  wherein each forward preamplification primer com-
         to a first nucleotide tag; and                                         prises a different target-specific nucleotide sequence
      a reverse or a forward amplification primer, respectively,                and a set-specific nucleotide tag, wherein X different
         that anneals to a second nucleotide tag; and                           forward set-specific nucleotide tags are employed,
   for each unique primer pair, determining whether an ampli-                   wherein T is the number of targets to be detected, and X
      fication product is present in the amplification mixture,                 is an integer that is greater than 1 and less than T,
      or aliquot thereof, whereby the presence of an amplifi-                   whereby TIX primers comprise the same forward set-
      cation product indicates the presence of a particular                     specific nucleotide tag;
      target nucleic acid in a particular sample.                            providing T reverse preamplification primers to a sample,
   6. The method of claim 5, wherein:                                           wherein each reverse preamplification primer comprises
   said encoding reaction comprises separately subjecting                       a different target-specific nucleotide sequence and a
      each of said S samples to preamplification using a dis-                   reverse set-specific nucleotide tag, wherein Y different
      tinct set of forward and reverse preamplification primers                 reverse set-specific nucleotide tags are employed, and Y
      for each sample to produce preamplified samples,                          is an integer that is greater than 1 and less than T,
      wherein                                                                   whereby T/Y primers comprise the same reverse set-
      each preamplification primer set comprises T pairs of                     specific nucleotide tag;
         forward and reverse preamplification primers,                       subjecting the sample to preamplification to produce an
         wherein each preamplification primer pair is capable                   assay mixture, wherein any preamplification product
         of amplifying a particular target nucleic acid; and                    produced for a particular target incorporates a unique
      each forward preamplification primer comprises a for-                     combination of forward and reverse set-specific nucle-
         ward nucleotide tag, and each reverse preamplifica-                    otide tags;
         tion primer comprises a reverse nucleotide tag;                     subjecting the assay mixture, or aliquots thereof, to ampli-
   said mixing comprises mixing the preamplified samples                        fication using amplification primers wherein each
      for each of said S samples to form an assay mixture;                      amplification primer pair comprises:
   said amplification comprises dividing each assay mixture                     a forward amplification primer that anneals to the for-
      into up to SxT amplification mixtures, and separately                        ward set-specific nucleotide tag; and
      subjecting each of said amplification mixtures to ampli-
                                                                                a reverse amplification primer that anneals to the reverse
      fication using a unique pair of amplification primers,
      wherein each amplification primer pair comprises:                            set-specific nucleotide tag; and
      a forward amplification primer that anneals to a forward               for each unique primer pair, determining whether an ampli-
         nucleotide tag; and                                                    fication product is present in the amplification mixture,
                                                                                or aliquot thereof, whereby the presence of an amplifi-
      a reverse amplification primer that anneals to a reverse
                                                                                cation product indicates the presence of a particular
         nucleotide tag; and
                                                                                target nucleic acid in a particular sample.
   said determining comprises determining whether an
      amplification product is present in the amplification                  14-16. (canceled)
      mixtures, whereby the presence of an amplification                     17. An assay method for detecting a plurality of target
      product in an amplification mixture indicates the pres-             nucleic acids in a sample, the method comprising:
      ence of a particular target nucleic acid in a particular               dividing a sample into R aliquots, wherein R is an integer
      sample.                                                                   greater than 1;



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   separately subjecting each of said R aliquots to an encod-              31. The assay method of claim 2, wherein one or more
      ing reaction that produces a set ofT tagged target nucle-         target-specific qPCR probes is employed in the amplification
      otide sequences, wherein T is the number of target                mixtures to detect amplification products.
     nucleic acids to be detected in each aliquot, T being an              32. The assay method of claim 2, wherein one or more
      integer greater than 1, and wherein:                              tag-specific qPCR probes is employed in the amplification
      each tagged target nucleotide sequence comprises a first          mixtures to detect amplification products.
         nucleotide tag 5' of a target nucleotide sequence, a              33. The assay method of claim 2, wherein the presence of
         target nucleotide sequence, and a second nucleotide            an amplification product is detected using a fluorogenic
         tag 3' of the target nucleotide sequence;                      nuclease assay.
     the combination of nucleotide tags in each of said T                  34. The assay method of claim 33, wherein the presence of
         tagged target nucleotide sequences is unique for every         an amplification product is detected using a dual-labeled fluo-
         tagged target nucleotide sequence in each aliquot; and         rogenic oligonucleotide probe.
     the same set of first and second nucleotide tag combina-              35. The assay method of claim 2, additionally comprising
         tions is used in the encoding reaction in each of the          quantifying the amount of amplification product in the ampli-
         aliquots;                                                      fication mixtures.
   separately subjecting each aliquot to amplification using               36. The assay method of claim 35, additionally comprising
     the same set ofT different amplification primer pairs for          determining the amount of each target nucleic acid present in
      each aliquot, each primer pair comprising a first primer          each sample.
     that anneals to the first nucleotide tag and a second                 37. The assay method of claim 2, wherein the assay is
      primer that anneals to the second nucleotide tag in each          performed to determine the copy numbers of the target
      tagged target nucleotide sequence; and                            nucleic acids.
   for each unique primer pair in each aliquot, determining                38. The assay method of claim 2, wherein the assay is
      whether an amplification product is present in the ali-           performed to determine genotypes at loci corresponding to
      quot, whereby the presence of an amplification product            the target nucleic acids.
      indicates the presence of a particular target nucleic acid           39. The assay method of claim 2, wherein the assay is
      in the sample.                                                    performed to determine the expression levels of the target
   18-22. (canceled)                                                    nucleic acids.
   23. The assay method of claim 2, wherein amplification                  40. The assay method of claim 2, additionally comprising,
mixtures are formed in or, distributed into, separate compart-          reducing the concentration of preamplification primers prior
ments of a microfluidic device prior to amplification.                  to carrying out said amplification.
   24. Theassaymethodofclaim23, wherein themicrofluidic                    41. The method of claim 2, wherein the sample comprises
device is fabricated, at least in part, from an elastomeric             a genomic DNA sample.
material.                                                                  42. The method of claim 41, wherein the preamplification
   25. The assay method of claim 23, wherein the assay has a            is conducted in the presence of an amount of a blocking agent
dynamic range of at least 4 orders of magnitude.                        that is sufficient to increase specific amplification of the target
   26. The assay method of claim 2, wherein the preamplifi-             nucleic acid.
cation and/or the amplification is carried out by polymerase               43. The method of claim 42, wherein the blocking agent
chain reaction (PCR).                                                   comprises a nucleic acid blocking agent that hybridizes to
   27. The assay method of claim 2, wherein the preamplifi-             repetitive sequences in the genomic DNA sample.
cation is carried out for 2-20 cycles to introduce the nucle-              44. The method of claim 42, wherein the blocking agent is
otide tags.                                                             selected from the group consisting of tRNA, degenerate oli-
   28. The assay method of claim 2, wherein the preamplifi-             gonucleotide primers, repetitive DNA, bovine serum albumin
cation is carried out for a sufficient number of cycles to              (BSA), and glycogen.
normalize amplicon copy number across targets and across                   45. The method of claim 42, wherein the blocking agent is
samples.                                                                present at a concentration in the range of about 0.1 µg/µl to
   29. The assay method of claim 2, wherein the presence of             about 40 µg/µ1.
an amplification product is determined by quantitative real-               46. The method of claim 45, wherein the blocking agent
time polymerase chain reaction (qPCR).                                  comprises tRNA at a concentration in the range of about 1
   30. The assay method of claim 2, wherein a universal qPCR            µg/µl to about 5 µg/µ1.
probe is employed in the amplification mixtures to detect
amplification products.                                                                         *   *   *   *    *




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                    Exhibit 14




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   POSTER PRESENTATIONS - PROFFERED ABSTRACTS | APRIL 15 2010
   Abstract 1164: Parallel preparation of targeted resequencing libraries from 480 genomic
   regions using multiplex PCR on the Access Array system 
   Fiona Kaper; Jun Wang; Megan J. Anderson; Peilin Chen; Min Lin; Martin Pieprzyk; Robert C. Jones; Andrew P. May

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   Cancer Res (2010) 70 (8_Supplement): 1164.
   https://doi.org/10.1158/1538-7445.AM10-1164



   Abstract
   Next generation sequencing platforms have dramatically reduced sequencing costs. However, it currently remains too expensive to routinely resequence
   entire human genomes in order to discover genetic variants or somatic mutations underlying tumorigenesis. Therefore, a need exists for multiplexed,
   targeted amplification methods that allow for the analysis of multiple genomic regions in large cohorts. Available targeted enrichment technologies are
   either aimed at the capture of regions of interest from a single sample, exhibit uneven representation or require significant amounts of input material.
   The novel microfluidic platform, the Access Array system, combines 48 samples with 48 primer sets resulting in 2,304 simultaneously occurring PCR
   amplifications requiring as little as 50ng DNA per sample. PCR products generated on the Access Array system can be used for sequencing on all next-
   generation sequencing platforms, including 454 GS FLX and Illumina GAII. To increase coverage and throughput, PCR reactions can be multiplexed
   within Access Array chips generating up to 480 amplicons per sample.

   As proof-of-principal experiments, we have carried out multiplexed amplifications of a set of commonly mutated cancer gene exons across 48 genomic
   DNA samples. In initial experiments, 580 primer pairs were validated in individual PCR reactions in 96-well plates. Each primer pair was designed to
   include 5’ sequences that allow for the incorporation of 454 and Illumina adapters necessary for subsequent emPCR and cluster generation,
   respectively. 480 primer pairs that produced a single band of the correct size, as determined on a Caliper LabChip system, were selected for multiplex
   PCR experiments. Primer pairs yielding amplicons with a similar size were combined in groups of 10 sets, resulting in 48 primer pools of 10 primer pairs
   each. Multiplex PCR was carried out on Access Array chips, followed by harvesting of the 48 amplicon pools. Each pool was diluted and then subjected
   to a second round of PCR in standard 96-well plates with barcoded universal primers corresponding to the 454 and Illumina sequences. The resulting
   products are 48 uniquely barcoded amplicon pools, each comprising 480 amplicons derived from one sample, that are ready for sequencing. We will
   present sequencing data generated on both 454 and Illumina systems.

   Citation Format: {Authors}. {Abstract title} [abstract]. In: Proceedings of the 101st Annual Meeting of the American Association for Cancer Research;
   2010 Apr 17-21; Washington, DC. Philadelphia (PA): AACR; Cancer Res 2010;70(8 Suppl):Abstract nr 1164.




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                                                                                Appx13111
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                    Exhibit 15




                        Appx13112
     Parallel Preparation of Targeted Resequencing Libraries from 480 Genomic Regions Using Multiplex
     PCR on the Access Array™ System
      Fiona Kaper, Jun Wang, Megan J. Anderson, Peilin Chen, Min Lin, Martin Pieprzyk, Robert C. Jones, Andrew P. May
      Fluidigm Corporation, 7000 Shoreline Court, Suite 100, South San Francisco, CA 94080




Introduction                                                                                                              Sequencer-ready PCR products                                                                                                                                                                                                                                                                        480 Cancer Gene Exons
Next generation sequencing platforms have dramatically reduced sequencing                                                 We have developed a multiplexed amplicon tagging method (Figure 2) that enables direct
                                                                                                                                                                                                                                                                                                                                                                                                                              To maximally utilize the capacity of an 48.48 Access Array IFC, we carried out multiplexed
costs. However, it currently remains too expensive to routinely resequence entire                                         attachment of sample-specific barcodes and sequencer-specific tags to PCR products generated
                                                                                                                                                                                                                                                                                                                                                                                                                              amplifications of a set of commonly mutated cancer gene exons across 48 genomic DNA samples.
human genomes in order to discover genetic variants or somatic mutations                                                  in the Access Array IFC. Region-specific primers are tagged at the 5’ end with universal sequence
                                                                                                                                                                                                                                                                                                                                                                                                                              In initial experiments, 580 tagged primer pairs were validated in individual PCR reactions in 384-
                                                                                                                          tags (Figure 2A). 48 pools of up to 10 Region-specific primer pairs are pooled and loaded into the
underlying tumorigenesis. Therefore, a need exists for multiplexed, targeted                                                                                                                                                                                                                                                                                                                                                  well plates. 480 primer pairs that produced a single band of the correct size, as determined on a
                                                                                                                          assay inlets of the Access Array IFC. The 48.48 Access Array IFC then combines the region-
amplification methods that allow for the analysis of multiple genomic regions in                                                                                                                                                                                                                                                                                                                                              Caliper LabChip system, were selected for multiplex PCR experiments. Primer pairs were grouped
                                                                                                                          specific primer pools with the samples in each reaction. After harvesting the PCR product pools
                                                                                                                                                                                                                                                                                                                                                                                                                              in sets of 10 based on their expected PCR product sizes, resulting in 48 primer pools of 10 primer
large cohorts. Available targeted enrichment technologies are either aimed at the                                         from the 48.48 Access Array IFC, a second PCR is carried out on a 96-well plate with barcode
                                                                                                                                                                                                                                                                                                                                                                                                                              pairs each. Multiplex PCR was carried out following the strategy outlined in Figure 2. The resulting
capture of regions of interest from a single sample, exhibit uneven representation                                        primers comprising 454 sequence tags, a barcode sequence, and the universal tags (Figure 2B).
                                                                                                                                                                                                                                                                                                                                                                                                                              products are 48 uniquely barcoded PCR product pools, each comprising 480 amplicons derived
                                                                                                                          The final result is a fully tagged, barcoded PCR product (Figure 2C).
or require significant amounts of input material. The novel microfluidic platform,                                                                                                                                                                                                                                                                                                                                            from one sample, that are ready for sequencing. Harvested PCR product pools were analyzed on
the Access Array™ system, combines 48 samples with 48 primer sets resulting in                                                                                                                                                                                                                                                                                                                                                an Agilent BioAnalyzer 2100 (Figure 4A) and PCR product representation was assessed with a
                                                                                                                                     Access Array IFC                                                                                                                               96-well PCR plate                                                                                                                         nested Q-PCR for a subset of amplicons (Figure 4B). The PCR products were subsequently run
2,304 simultaneously occurring PCR amplifications requiring as little as 50ng                                                                                                                                                                                                                                                                                                                                                 on a 454 FLX sequencer. Representation of each PCR product was even, with 90% represented
                                                                                                                                                                                                                                                            454A-BC-Tag1
DNA per sample. PCR products generated on the Access Array system can be                                                             Tag 1                  Region-Specific Primer Pools                                                                                                                                                    454 Barcode Primers
                                                                                                                          A                                                                                                                        B --····                                                                                                                                                                   within 5-fold of average coverage.
used for sequencing on all next-generation sequencing platforms, including 454                                                                                                                                                                                                                                                                       .-                    ••••
                                                                                                                                                                                               Tag 2                                                                                                                                                                                                                                                                                  20
GS FLX and Illumina GAII. To increase coverage and throughput, PCR reactions                                                         Tag 1                                                                                                                                                                                                                Tag2-BC-454B
                                                                                                                                                                                                                                                                                                                                                                                                                               A
                                                                                                                                                                                                                                                                                                                                                              '                                                                                                                                                                                                                                                                                Pool 480 cancer exons
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Pre-SPRI
can be multiplexed within Access Array IFCs generating up to 480 amplicons per                                                                                                                                                                                                                                                                                                                                                                                                                                Post-SPRI                                                                                                                       Expected size distribution
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -                                                                                                                    35
                                                                                                                                                                                                                                                                                                                                            PCR Products
sample.                                                                                                                                                ■                                                                                                                                                                                                                                                                                                                                                                                                                                                               30
                                                                                                                                                       ■
                                                                                                                                                                                                Tag 2                                              C                  • ••                                                                                                                                                                                                            1D
                                                                                                                                                       ■
                                                                                                                                                                                                                                                                                                                                                                           ••                                                                                                                                                                                                                                          25
                                                                                                                                      Tag 1                                                                                                                           • ••                                                                                                 ••                                                                                                                                                                                                                                                                                                                                  /I
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                                                                                                                                                                                                    Tag 2                                                             • ••                                                                                                 ••                                                                                                                                                                                                                                                                              ~                                                                       I•
                                                                                                                                                                                                                                                                      • ••                                                                                                 ••                                                                                                         0                                                                                                                                         5
 Access Array™ System                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    /\I"                                                                       -
                                                                                                                       Figure 2: Amplicon tagging to introduce sequencer-specific tags and sample-specific barcodes                                                                                                                                                                                                                                                                                                                                                                                                                 0   100   200       300                                       400        500         600            700       800
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Tagged Amplicon size (bp)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           40    50                 60             70            80           90   100    110
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case: 24-1324




The Access Array system is centered on the 48.48 Access          Figure 1: The Access Array System
                                                                                                                                                                                                                                                                                                                                                                                                                                B                                      Sequence coverage and Relative copy number
Array Integrated Fluidic Circuit (IFC) (Figure 1A). This is a                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Sequence coverage versus Relative
                                                                                                                           High quality sequence data                                                                                                                                                                                                                                                                                                          10                                                                                                                        100           Normalized sequence counts
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            copy number
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ♦
microfluidic chip that systematically combines 48 sample                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         10        ♦   Relative copy number
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Document: 42-3




inputs with 48 primer inputs to make all possible 2304                                                                                                                                                                                            EGFR                                                                                                        MET                                                                                                                                                                                                                                                                                                                                 10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                1                                                                                                                        1
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combinations of samples and primers. The chip is mounted                                                                                                                                                         a         00   ~
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                                                                                                                                                                                                                                                                                                                     N   N                          a         00   ~
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on an SBS-compatible carrier, for simple loading of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ♦                                                                                                                                                    0.1
                                                                                                                                  Design & Validate                                                                                                                                                                                                                                                                                                                                                       ♦
                                                                                                                                                                                                                                                                                                                                                                       --                                                                                                                                                           •;                             i                     0.001
reagents with an 8-channel pipettor. Once samples and                                                                                                                                                                                                                                                                                                                                                               . ,oo                                                                                                ♦                                                                                                                                                                                               •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ♦
                                                                                                                      A                                                                                                                                                        -                                                                                                                                                                              0.01                                                                                                                       0.0001
                                                                                                                                      Primers                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    0.01
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Relative copy number




primers have been loaded, and combined into the discrete                                                                                                                ,oo .
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         0.00001
                                                                                                                                                                                                                                                                                                                                                                                                                                    Normalized SEQ counts




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ♦
                                                                                                                                                                           ,oo .                                                                                                                                                                                                                                    . ,oo                                    0.001                                                                                                                       0.000001                                                                                               0.001
2304 reactions, the IFC undergoes thermal cycling to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :c•••                                                                                                                                                                           •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      •                                 ••
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Relative copy number (nested PCR)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ♦
amplify regions of interest from the samples. After thermal
                                                                                                                                                                                                                                                            10-      1-
                                                                                                                                                                                                                                                                                                                                                                                                                                                            0.0001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -                     1E-08
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cycling has been completed, reaction products are                                                                                                                                                                                                                                                                                                                                                                                                                    200        300             400                          500                      600           700            800
                                                                                                                                      PCR:                                                                                                                  plex    plex                                                                                                                                                                                                                                             Amplicon size (bp)                                                                                                                                                                            Normalized sequence counts
recovered on a per-sample basis using a pump system




                                                                                                                                                                                                                                                                             1-plex; 4-primer
                                                                                                                              48.48 Access Array IFC                                                                                                       1st 2nd 1st 2nd
                                                                                                                      B                                                                                                                                                                                                                    Nested PCR                                                                           Figure 4: Multiplex PCR of 480 cancer gene exons.
                                                                                                                                                                                                                                                       r - - -- -                                                                                                                       10-plex
built into the chip (Figure 1B).                                                                                                                                                                                                                                                                                                                                                        1-plex (4-primer)
                                                                                                                                 & Barcoding PCR                                                                                                       -                                                    35
                                                                                                                                                                                                                                                                                                                                                                                        1-plex; 2-step
                                                                                                                                                                                                         _J 1 PCR     st                                                                                    30
                                                                                                                                                                                                         ....!       2nd PCR                                                                    u 25
The 48.48 Access Array IFC requires only 5 ul PCR master                                                                                                                                                                                                                                                    20




                                                                                                                                                                                                                                                                                                Median Ct
                                                                                                                                                                                                                                                                                                i'          15
mix and 50ng input Human genomic DNA per sample.                B                                                                                                                                                                                                          -                                10                                                                                                                 Conclusion
Genomic DNA can be used directly and requires no                                                                                                                                                                                                                                                            5
                                                                                                    Primers (1.7nl)                PCR Products                                                                                                                                                             0

additional fragmentation or modification before loading into        Load Samples                                      C                                                                                                                                                                                                                                                                                                       • The Access Array System provides a simple, easy-to-use method for PCR-
the chip                                                            and Primers                     Sample (33nl)
                                                                                                                                                                                                                                                                                                                                                                                                                                based target enrichment from multiple samples in parallel using only 50ng
                                                                                                                                                                                                                                                       Median Sequence coverage per sample                                                                                                                                      human genomic DNA per sample for up to 480 PCR reactions
The Access Array system (Figure 1C) comprises two IFC-                                                                                                                                        2.5


controllers, one pre-PCR for loading samples and primers                                                                                                                                       2                                                                                                                                                                                  • 10-plex
                                                                    Combine and                                                                                                                                                                                                                                                                                                       1-plex; 1-step
                                                                                                                                                                                              1.5
                                                                                                                                                                                                                                                                                                                                                                                  •   1-plex; 2-step
and one post-PCR for harvesting PCR products, and a                 Amplify                                                                                                                                                                                   •                                                                                •          .                       •   Average                                 • We have developed an amplicon tagging protocol that enables direct
                                                                                                                                                                                               1                                                             •• •                                 • ••                                     a                           •              2x average
thermal cycler. When used in conjunction with the                                                                                 454 Sequencing                                                             t                                                                                  .                                                                                     0.5x average
                                                                                                                      D                                                                       0.5
                                                                                                                                                                                                                                                                                                .                                                  •• .                                                                         labeling of PCR products with sample-specific barcodes and sequencer-




                                                                                                                                                                   Median Normalized counts
Biomark™ real-time PCR system, the progress of
                                                                                                                                                                                                             •
                                                                                                                                                                                               0                       •
individual PCR reactions can be monitored during                                                                                                                                                                                                                                                                                                                                                                                specific tags
amplification                                                       Harvest PCR
                                                                    Products                                                                                                                                                    Within 2x of average (%)
                                                                                                                                                                                                        10-plex
                                                                                                                                                                                                                                                                                                                                                                                                                              • Data from sequencing experiments demonstrates that                                                                                                                                                                                                                                        amplicon
                                                                                                                                                                                                                                                  90
When used in combination with primers designed for
                                                                                                                                                                                                     1-plex; 1-step                               96                                                                                                                                                                            representation within and between samples is highly uniform
Amplicon tagging, the Access Array produces sequencer-           C                                                                                                            96                     1-plex; 2-step
ready amplicon libraries that can be introduced to emulsion                                                               Figure 3: EGFR and MET sequencing
PCR for 454 sequencing. The output from an Access Array                                                                   In an initial proof of principle experiment, 48 Primer sets covering the EGFR and MET exons, were
                                                                                                                                                                                                                                                                                                                                                                                                                              • We have demonstrated the potential for multiplexing primer pairs within
IFC is well matched to the capacity of the 454 FLX                                                                        designed and validated by PCR (A). The 48 regions were amplified from a HapMap control sample
                                                                                                                          (normalized to 50ng/ul) using 5 pools of 9 to10 primer pairs each, following the strategy outlined above                                                                                                                                                                                              PCR reactions on the Access Array system. Representation of each PCR
Sequencer with Titanium chemistry. 48 samples prepared
on an Access Array IFC can be sequenced at an average                                                                     (Figure 2). The remaining 43 assay inlets on the Access Array IFC were filled with buffer. A comparison                                                                                                                                                                                               product in the multiplex reaction is similar to that within individual PCR
of 50x coverage on 1/8 of a picotiter plate.                                                                              was made to singleplex, 2-step PCR and our singleplex, 1-step amplicon tagging strategy. Final PCR                                                                                                                                                                                                    reactions.
                                                                                                                          products (C) were analyzed on an Agilent BioAnalyzer 2100 and amplicon representation was assessed
                                                                                                                          with a nested Q-PCR. The PCR products were subsequently run on a 454 FLX sequencer. Representation
                                                                                                                          of each PCR product was even, with 90% represented within 2-fold of average coverage (D).

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                                                                                                                                                                                                                                        Appx13113
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                         Exhibit 17




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-           (54) Title: METHOD FOR NON-INVASIVE PRENATAL DIAGNOSIS



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                                                 Spearman rank correlation
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  Q
   ~                                                             SRY genome-equivalents/ml
  M
  Q         (57) Abstract: The present invention is directed to methods of detecting nucleic acids in a biological sample. The method is based on
  ll) a novel combination of a base extension reaction, which provides excellent analytical specificity, and a mass spectrometric analysis,
  Q         which provides excellent specificity. The method can be used, for example, for diagnostic, prognostic and treatment purposes. The
  0 method can be used, for example, for diagnostic, prognostic and treatment purposes. The method allows accurate detection of nucleic
  M acids that are present in very small amounts in a biological sample. For example, the method of the present invention is preferably
   0  used to detect fetal nucleic acid in maternal blood sample; circulating tumor-specific nucleic acids in a blood, urine or stool sample;
  : , and donor-specific acids in transplant recipients. In another embodiment, one can detect viral, bacterial, fungal, or other foreign
  ;;, nucleic acids in biological sample.




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  WO 2005/023091                                                            PCT/0S2004/028857




                METHOD FOR NON-INVASIVE PRENATAL DIAGNOSIS



                  CROSS-REFERENCE TO RELATED APPLICATIONS

          The present application claims benefit under 35 U.S.C. §l19(e) of U.S. provisional

patent application Serial No. 60/500,526, filed on September 5, 2003, the content of which is

herein incorporated by reference in its entirety.

                                        BACKGROUND

 [001]       The analysis of circulating nucleic acids has revealed applications in the

noninvasive diagnosis, monitoring, and prognostication of many clinical conditions.

 [002]       For example, in non-invasive method fo prenatal monitoring, fetal DNA has been

found to circulate in maternal plasma (Lo, Y.M.D. et al. Lancet 350, 485-487 (1997)), and

development of such non-invasive prenatal diagnosis has therefore been suggested based on

the analysis of a maternal blood sample. Although the non-invasive nature of such

approaches represents a major advantage over conventional methods. However, the technical

challenge posed by the analysis of fetal DNA. Thus, in maternal plasma lies in the need to be

able to discriminate the fetal DNA from the co-existing background maternal DNA, and the

diagnostic reliability of circulating DNA analysis depends on the fractional concentration of

the targeted sequence, the analytical sensitivity, and the specificity of the method.

[003]        Fetal DNA represents a minor :fraction of the total DNA in maternal plasma,

contributing approximately 3% to 6% of the total maternal plasma DNA in early and late

pregnancy, respectively (Lo, Y.M.D. et al. Am J Hum Genet 62, 768-775 (1998)).

[004]        Most diagnostic applications reported to date have focused on: detecting of

paternally-inherited fetal traits or mutations, as these are more readily distinguishable from




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the background maternal DNA. Reported applications include the prenatal diagnosis of sex-

linked diseases (Costa, IM., Benaclii, A. & Gautier, E. N Engl J Med 346, 1502 (2002)), fetal

RhD status (Lo, Y.M.D. et al. N Engl J Med 339, 1734-1738 (1998)) and certain paternally-

transmitted autosomal dominant conditions, including achondroplasia and myotonic

dystrophy (Chiu, R.W.K. & Lo, Y.M.D. Expert Rev Mol Diagn 2, 32-40 (2002)).

[005]       Fetal SRY and RHD DNA detection from maternal plasma has reached close to

100% accuracy, as coti~rmed by many large scale evaluations (Sekizawa, A., Kondo, T.,

Iwasaki, M., Watanabe, A., Jimbo, M., Saito, H. & Okai, T. (2001) Clin. Chem. 47, 1856-

1858; Finning, K. M., Martin, P. G., Soothill, P. W. & Avent, N. D. (2002) Transfusion 42,

1079-1085; Costa, J.M., Benachi, A., Gautier, E., Jouannic, J.M., Ernault, P.' & Dumez, Y.

(2001) Prenatal Diagn. 21, 1070-1074; Rijnders, R. J., Christiaens, G. C., Bossers, B., van

der Smagt, J. J., van der Schoot, C. E. & de Haas, M. (2004) Obstet. Gynecol. 103, 157-164).

However, its general applicability is limited. The high level of diagnostic accuracy in these

conditions is attained by the analytical sensitivity contributed by the use of real-time

quantitative PCR (Lo Yet al. Am. J. Hum. Genet. 62:768-775, 1998; Heid et al., Genome

Res. 6:986-994, 1996), and the analytical specificity conferred choosing fetal DNA targets

that are absolutely fetal-specific. The RHD sequence does not exist in the genome of a

rhesus D negative mother, and SRY, which is used to detect the presence of a Y

chromosome, does not exist in a genome of a normal woman. Consequently, the maternal

plasma SRY and RHD analyses are relatively free from interference by the background

maternal DNA. This differs from a number of other conditions.

[006]      Many fetal genetic diseases are caused by mutations that result in more subtle

genetic differences l;>etween the maternal and fetal DNA sequences in maternal plasma. While

such fetal diseases may theoretically be diagnosed non-invasively by means of the detection




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or.exclusion of the paternally inherited mutant allele in maternal plasma, the development of

rol;mst assays for the discrimination of less dramatic differences between fetal and maternal

DNA in maternal plasma has been technically challenging (Nasis, 0., Thompson, S., Hong,

T., Sherwood, M., Radcliffe, S., Jackson, L. & Otevrel, T. (2004) Clin. Chem. 50, 694-701).

Therefore, despite many potential applications reported for fetal mutation detection in

maternal plasma, such as achondroplasia, Huntington's disease, cystic fibrosis, and

hemoglobin E (Nasis, 0., Thompson, S., Hong, T., Sherwood, M., Radcliffe, S., Jackson, L.

& Otevrel, T. (2004) Clin. Chem. 50, 694-701; Saito, H., Sekizawa, A., Morimoto, T.,

Suzuki, M. & Yanaihara, T. (2000) Lancet 356, 1170; Gonzalez-Gonzalez, M. C., Trujillo,

M. J., Rodriguez de Alba, M. & Ramos, C. (2003) Neurology 60, 1214-1215; Gonzalez-

Gonzalez, M. C., Garcia-Hoyos, M., Trujillo, M. J., Rodriguez de Alba, M., Lorda-Sanchez,

I., Diaz-Recasens, J., Gallardo, E., Ayuso, C. & Ramos, C. (2002) Prenatal Diagn. 22, 946-

948; Fucharoen, G., Tungwiwat, W., Ratanasiri, T., Sanchaisuriya, K. & Fucharoen, S.

(2003) Prenatal Diagn. 23, 393-396), most published data only involve case reports of

isolated patients. Large-scale evaluation of analytical protocols for circulating fetal DNA

discrimination has been limited. Reliable discrimination between the fetal and maternal DNA

sequences would depend heavily on the analytical specificity of the assay system. The degree

of analytical specificity required for accurate analysis is inversely related to the degree of

genetic difference between the alleles of interest and the background DNA (Lo, Y. M. D.

(1994) J. Pathol. 174, 1-6). Thus a need exists for methods that can reliably analyze such

subtle genetic differences.

[007]      The prenatal assessment of autosomal recessive diseases based on fetal DNA

analysis in maternal plasma presents another challenge. The manifestation of an autosornal

recessive disease results from the inheritance of a mutant allele from each parent. Thus, an




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autosomal recessive condition could either be confirmed prenatally through the

demonstration of the inheritance of two mutant alleles, or could be excluded by the

demonstration of the inheritance of at least one non-mutant allele. The current strategies look

at exclusion. For example, one such strategy is based on the haplotype assessment of

polymorphisms associated with the paternally-inherited non-mutant allele (Chiu, R.W.K. et

al. Clin Chem 48, 778-780 (2002)).

 [008]       ~-thalasse~ia is an autosomal recessive condition resulting from the reduced or

absent synthesis of the p-globin chains of hemoglobin. It is highly prevalent in the

Mediterranean, the Middle East, the Indian subcontinent and Southeast Asia (Weatherall, D.J.

& Clegg, J.B. Bull World Health Organ 79, 704-712 (2001)). More that 200 P-thalassemia.

mutations have been described, many of which are point mutations (Weatherall, D. J. (1997)

BMJ314, 1675-1678). P-thalassemia major is an otherwise lethal condition where survival is

dependent on life-long blood transfusions and iron chelation therapy. Curative therapie& are

not readily available and therefore, much focus has been devoted to disease prevention

through prenatal diagnosis.

[009]       The alpha and beta loci determine the structure of the 2 types of polypeptide

chains in adult hemoglobin, Hb A. Mutant beta globin that sickles causes sickle cell anemia

(http://www.ncbi.nlm.nih.gov/entrez/dispomim). Absence of the beta chain causes beta-zero-

thalassemia. Reduced amounts of detectable beta globin causes beta-plus-thalassemia, which

is one of the most common single gene disorders in the world.

[010]       For clinical purposes, beta-thalassemia is divided into thalassemia major

(transfusion dependent), thalassemia intermedia (of intennediate severity), and thalassemia

minor (asymptomatic). Patients with thalassemia major present in the first year of life have




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severe anemia; they are unable to maintain a hemoglobin level above 5 gm/di. Clinical details
  '
or this disorder have been detailed extensively in numerous monographs and are summarized

by Weatherall, et al. (The hemoglobinopathies. In: Scriver, C.; Beaudet, A. L.; Sly, W. S.;

Valle, D. (eds.): The Metabolic and Molecular Bases oflnherited Disease. (7th ed.) New

York: McGraw-Hill 1995. Pp. 3417-3484). The prognosis for individuals with beta-

thalassemia is very poor. For example, in 2000 it was reported that about 50% ofU.K.
                                                               l
patients with beta-thalassemia major die before the age of35 years, mainly because

conventional iron-chelation therapy is too burdensome for full adherence (Model et al.

Survival in beta-thalassaemia major in the UK: data from the UK Thalassaemia Register.

Lancet 355: 2051-2052, 2000).

[011]        The molecular pathology of disorders resulting from mutations in the nonalpha-

globin gene region is the best known, this elucidation having started with sickle cell anemia

in the late 1940s. Steinberg and Adams reviewed the molecular defects identified in

thalassemias: (1) gene deletion, e.g., of the terminal portion of the beta gene (2) chain

termination (nonsense) mutations; (3) point mutation in an intervening sequence; (4) point

mutation at an intervening sequence splice junction; (5) frameshift deletion; (6) fusion genes,

e.g., the hemoglobins Lepore; and (7) single amino acid mutation leading to very unstable

globin, e.g., Hb Vicksburg (beta 75 leu-to-0) Steinberg, M. H.; Adams, J. G., III:

Thalassemia: recent insights into molecular mechanisms. Am. J. Hemat. 12: 81-92, 1982.

[012]        Because of the frequency of the mutations in the populations and the devastating

clinical symptoms including the markedly reduced life span, prenatal diagnosis is important.

For example, it can provide a means for disease prevention. However, the conventional

methods of prenatal diagnosis such as, amniocentesis, chorionic villus sampling and

cordocentesis, are all associated with a small but finite risk of fetal loss. Therefore, it would




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be important to develop a non-invasive method for prenatal diagnosis ofthalassemias.

Attempts have been made in the past to develop other means of non-invasive prenatal

diagnosis of P-thalassemia, including the analysis of fetal cells in maternal blood (Cheung,

M.C., Goldberg, J.D. & Kan, Y.W. Nat Genet 14, 264-268 (1996)). However, these methods

are labor-intensive and time-consuming. Consequently, the need exists to develop tools that

accurately permit highly specific and sensitive detection of nucleic acids in biological

samples, particularly p~rentally inherited alleles.

                                          SUMMARY

[013]      Accordingly, the present invention is directed to methods of detecting nucleic

acids in a biological sample.

[014]      We show the feasibility of the use of mass spectrometric analysis for the

discrimination of fetal point mutations in maternal plasma and developed an approach for the

reliable exclusion of mutations in maternal plasma. We further show the feasibility of the

approach for the minimally invasive prenatal diagnosis in a situation where a mother and

father share an identical disease causing mutation, a concurrence previously perceived as a

challenge for maternal plasma-based prenatal diagnosis for autosomal recessive diseases.

[015]      In one embodiment, the invention is directed to a method for the detection of

paternally-inherited fetal-specific P-thalassemia mutations in maternal plasma based on

methods for looking at nucleic acid segments using methods such as the primer-extension of

polymerase chain reaction (PCR) products, at about single molecule dilution. This is

preferably followed by mass spectrometric detection. The technique allows the non-invasive

prenatal exclusion of P-thalassemia with high throughput capacity and is applicable to any

disease caused by mutations in a single gene including, but not limited recessive single gene

diseases such as thalassemias, such as beta thalassemias, cystic fibrosis, and congenital




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adrenal hyperplasia. The invention is also useful in detection of tumor-derived DNA

mµtations isolated from cells in the plasma of a cancer patient, and detecting donor-derived

DNA in the plasma of a transplant recipient.

 [016]      The invention is based upon a discovery that a highly sensitive and specific

mutation-specific analysis of the paternally-inherited mutation in maternal plasma can be

used to exclude the fetal inheritance of the paternal mutation based on its negative detection.

For example, using a real-time quantitative allele-specific polymerase chain reaction (PCR)

approach to exclude the inheritance of the P-thalassemia mutation codons (CD) 41/42 (-

CTTT), involving the deletion of four nucleotides (CTTT) between codons 41 and 42 of the

/J-globin gene, HBB (Chiu, R.W.K. et al. Lancet 360, 998-1000 (2002)), shows that the

negative exclusion proposed herein can readily be used.

[017]      To achieve single nucleotide discrimination at low fractional concentrations, an

analytical system that combines the use of an approach with better allele-specificity and high

detection sensitivity is required. One example is the use of primer extension analysis in a·

system such as the MassARRAY system (SEQUENOM), that allows a high throughput

approach for the detection and exclusion of paternally-inherited fetal mutations in maternal

plasma with the capability of single base discrimination. The MassARRAY system is based

on matrix-assisted laser desorption ionization/time-of-flight (MALDI-TOF) mass

spectrometric (MS) analysis of primer-extension products (Tang, K. et al. Proc Natl Acad Sci

US A 96, 10016-10020 (1999)).

[018]      In one embodiment, the invention is directed to a method of detecting a genetic

disorder in a fetus from a blood, serum or plasma sample of a pregnant woman, the method

comprising: a) analyzing both isolated maternal and paternal DNA for a disease-causing

mutation for the single gene disorder; b) if both maternal and paternal nucleic acid, e.g., DNA




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carry a disease causing mutation for the same disease then isolating the nucleic acid, e.g.,

DNA from plasma, bloocl, or serum of the pregnant mother; c) detern1ining a fetal genotype

from the isolated maternal plasma DNA using primers corresponding to the paternally

identified mutation and performing a mutation-specific primer-extension assay in at least two,

preferably several replicates, for example 3, 5, or about 10, 12, 15, 20, 25-100 replicates and

even up to about 1000 replicates. Most preferably about 15-25 replicates are used, wherein a

detection of the paternal mutation in any of the replicate sample is indicative of the presence
                        '
of the single-gene disorder in the fetus.

[019]      In one preferred embodiment, the single gene disease is an autosomal recessive

disease. In the most preferred embodiment, the autosomal recessive disease is selected from

beta thalassemias, cystic fibrosis and congenital adrenal hyperplasia. In the most preferred

embodiment, the disease is beta thalassemia caused by mutations selected from the group

consisting of CD 41/42-CTTT; IVS2 654 (C->T); nucleotide -28 (A->G); and CD 17 (A-

>T).

[020]      In the preferred embodiment the number ofreplicates is at least two, preferably at

least about 3, 5, 10-25, or 25-100, up to at least about 1000 replicates. Most preferably the

number ofreplicates is about 10-25.

[021]      In one embodiment, the primer-extension analysis is performed using the

MassARRAY system (SEQUENOM).

[022]      Alternatively, the invention provides a method of detecting a genetic disease in a

fetus using maternally isolated DNA from plasma, serum, or blood, the method comprising:

a) selecting one or more single nucleotide polymorphisms (SNP) which are not disease-

causing polymorphisms and which are associated either with a paternal disease-causing allele

or with a paternal healthy allele and which SNP differs between the maternal and the paternal




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genotype; b) determining the fetal genotype from a sample DNA isolated from the plasma,
 '
serum or whole blood of the pregnant mother, wherein the determination is performed using

primers corresponding to both the selected SNP and the disease-causing mutation and

performing an SNP and disease mutation-specific primer-extension assay in several replicates

using said primers; c) wherein detection of the SNP associated with the paternal allele in any

of the replicate samples is indicative of the presence of the paternal allele inherited by the

fetus and the detection of the paternal disease-causing mutation in any of the replicate

samples indicates detection of the genetic disease inherited by the fetus, wherein detection of

the SNP associated with the healthy paternal allele in any of th~ replicate samples is

indicative of the presence of the healthy allele inherited by the fetus and excludes the

inheritance of the genetic disease by the fetus.



                          BRIEF DESCRIPTION OF DRAWINGS

[023]       Figure 1 demonstrates the relationship between the number of positives detected

in the 15-replicate PCR experiments for fetal gender determination (y-axis) and the fetal

DNA concentration measured by real-time quantitative PCR targeting the Y-chromosome

gene, SRY (x-axis). The theoretical basis of using the 15-replicate format is based on the

Poisson distribution of fetal DNA molecules at single molecule concentration. The equation

for the Poisson distribution is:

                                                   m11e-111                        .
[024]                                      P(n) = - - , where, n= number of fetal DNA
                                                      n!

molecules per PCR, P(n)=probability of n fetal DNA molecules in a particular PCR; m=

mean number of fetal DNA molecules in a particular plasma DNA sample.




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[025]      Using our standard plasma DNA extraction protocol (see text), each PCR using I

µL of maternal plasma DNA contains 0.4 genome-equivalent of the paternally-inherited fetal

DNA. Thus, the probability that a particular PCR will_ be negative due to having no fetal

DNA molecule is:


[026]                               P(O) = 0.4° e-o.4     0.670
                                               O!



[027]      To reduce the false-negative rate, the probability that all replicates are negative for

a 15-replicate PCR experiment is: 0.670 15 = 0.0025.

[028]      Figures 2A and 2B show the Mass Spectrometric analyses of the SRY DNA and

the paternally inherited thalassemia IVS2 654 mutation. Mass spectra for the other three

thalassemia mutations are similar. For all mass spectra, Mass (x-axis) represents the

molecular weight of the marked peaks. The molecular weights of all relevant peaks are

calculated before the analysis and the Mass values measured by mass spectrometry are

generally only 0-5 Dalton off. Intensity (y-axis) is of an arbitrary unit. Pand PP represent

unextended primer and pausing product (i.e., premature termination of the base extension

reaction), respectively. For SRY DNA analysis, the SRY peak is present (thus a positive

result, marked as POS at the left side of the figure) in some of the 15 replicates (see Fig. 1).

None of the 15 replicates has a SRY peak (thus a negative result, marked as NEG in the

figure), if a women was pregnant with a female fetus. For thalassemia IVS2 654 mutation

analysis, the pT peak is from the 11,aternally inherited 1halassemia IVS2 654 mutation and is

present in some of the 15 replicates for fetuses carrying a paternally inherited thalassemia

IVS2 654 mutation (see Table 1). The nP peak is from all other /3-globin alleles except the

paternally inherited thalassemia IVS2 654 allele.




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[029]       Figure 3 shows a schematic illustration of the single allele base extension reaction
 I



(SABER) and standard MassARRAY assays. Maternal plasma detection of the paternally

inherited fetal-specific J3-thalassemia mutation, IVS2 654 C ➔ T, is presented as an

illustrative example. Maternal plasma is first amplified by PCR. The PCR products are

subjected to base extension by the standard and SABER protocols. The standard protocol

involves the base extension of both the mutant fetal allele (T allele) and the background allele

(C allele), whereas the SABER method only extends the fetal-specific mutant allele. The base

extension reactions are terminated by dideoxynucleotides, indicated in boxes. The extension

products of the standard protocol include a predominance of the nonmutant allele (open

arrows) with a small fraction of the fetal-specific mutant allele (filled arrows). The low

abundance of the fetal allele (filled peak) is overshadowed by the nonmutant allele (open

peak) on the mass spectrum. Because SABER only involves the extension of the mutant

allele, the latter's presence (filled peak) can be robustly identified from the mass spectrum.

The striped peaks represent the unextended primer.

[030]       Figures 4A-4D show the MS analyses of the paternally inherited J3-thalassemia

IVS2 654 mutation in maternal plasma. For all mass spectra, mass (x axis) represents the

molecular weight of the marked peaks. The expected molecular weights of all relevant peaks

were calculated before the analysis. Intensity (y axis) is in arbitrary units. P and PP,

unextended primer and pausing product (i.e., premature te1mination of the base extension

reaction or incorporation of an undigested dGTP from shrimp alkaline phosphatase treatment

for the wild-type DNA template), respectively. Figs 4A and 4B illustrate the mass spectra

obtained by the standard MassARRAY protocol for a fetus negative and positive for the

mutation, respectively. T, expected mass of the mutant allele; C, position of the alleles

without the IVS2 654 mutation. Figs 4C and 4D illustrate the mass spectra obtained by the




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SABER MassARRAY protocol for a fetus negative and positive for the mutation,

respectively. IVS2 654,'expected mass of the mutant allele.

[031]        Figure 5 shows Table l, showing prenatal ~xclusion of P-thalassemia major by

maternal plasma analysis. All of the parents are carriers for P-thalassemia and have one HBB

mutation. The 8 mutations of the father and mother are marked by "F' and "M", respectively.

The maternal mutation is not indicated for cases where the maternal mutation is not one of

the four HBB mutation~ studied. The bfetal genotype is indicated by the inheritance of the

paternal mutation "F', the maternal mutation "M", or the normal allele"*". Results of the

MassARRAY maternal plasma analysis is indicated by the cnumber of replicates among the

15 repeats where the paternally-inherited fetal allele was positively detected. The fetus is

deemed to have inherited the paternal mutation if any of the 15 repeats showed a positive

result.

[032]        Figure 6 shows Table 2 including PCR and extension primer sequences. *CCT

mix is ddCTP/ddGTP/ddTTP/dATP in which dd indicates the 2',3'-dideoxynucleoside.

Similarly AC mis is ddATP/ddCTP/dGTP/dTTP.

[033]        Figure 7 shows Table 3 including data from detection of paternally inhe1ited HBB

mutations in maternal plasma. All the patients are carriers of P-thalassemia and have one

HBB mutation. The maternal mutation is not indicated for cases where the maternal mutation

is not one of the four HBB mutations studies. F and M, mutations of the father and mother,

respectively;-, no mutation; neg, negative; pos, positive; N.A. not applicable. tThe fetal

genotype determined by conventional methods is indicated by the inheritance of the paternal

mutation F, the maternal mutation M, or the normal allele, *.

[034]        Figure 8 shows Table 4 including data from haplotype analysis of paternally

inherited alleles in maternal plasma. Neg, negative; Pos, poshive; N.A., not applicable. tG




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and C denote the rs2187610 allele linked to the mutant or wild-type paternal HBB alleles,
  '
re~pectively. t The fetal genotype determined by conventional methods is indicated by the

inheritance of the paternal mutation F, the maternal mutation M, or the normal allele, *.



                                 DETAILED DESCRIPTION

[035]        The present invention is directed to methods of detecting nucleic acids in a

biological sample. The method is based on a novel combination of a base extension reaction,

which provides excellent analytical specificity, and a mass spectrometric analysis, which

provides excellent specificity. The method can be used, for example, for diagnostic,

prognostic and treatment purposes. The method allows accurate detection of nucleic acids

that are present in very small amounts in a biological sample. For example, the method of the

present invention is preferably used to detect fetal nucleic aci4 in a maternal blood sample;

circulating tumor-specific nucleic acids in a blood, urine or stool sample; and donor-specific

nucleic acids in transplant recipients. In another embodiment, one can detect viral, bacterial,

fungal, or other foreign nucleic acids in a biological sample.

[036]        The methods provided are minimally invasive, requiring generally, a small

amount of a biological sample, for example, a blood, plasma, serum, urine, bucchal or nasal

swap, saliva, skin scratch, hair or stool sample from an individual.

[037]        In the case of determining a fetal genotype or quantitating the fetal nucleic acids

or alleles using the methods of the present invention, the sample can be any maternal tissue

sample available without posing a risk to the fetus. Such biological materials include

maternal blood, plasma, serum, saliva, cerebrospinal fluid, urine or stool samples.

 [038]       In the present study, we evaluated, and show the feasibility of, the use of mass

spectrometry (MS) for the discrimination of fetal point mutations in maternal plasma and




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developed an approach for the reliable exclusion of mutations in maternal plasma. We further

evaluated, and show the 'feasibility of, the approach for the noninvasive prenatal diagnosis of

a mother and father sharing an identical disease causing mutation, an occurrence previously

perceived as a challenge for maternal plasma-based prenatal diagnosis for autosomal

recessive diseases.

[039]      The methods of the present invention are automatable. For example, use of mass

spectrometry, such as MassARRAY system (Sequenom Inc, CA), in combination with the
                        '
present invention allows analysis of fetal DNA with the capacity of over 2000 samples per

day in triplicate samples thus making the method a practical system for routine use.

[040]      In one ·preferred embodiment, the invention provides an accurate method for

determining differences between fetal and maternal nucleic acids in a maternal blood sample

allowing for a minimally invasive and reliable method for prenatal diagnosis. The method is

based on a combination of a base extension reaction and a mass spectrometric analysis.

Thus, prenatal diagnosis can be performed without the potential complications to the fetus

and the mother that are associated with traditional methods for prenatal diagnosis including

amniotic fluid and/or chorionic villus sampling.

[041]      Due to the specificity of the base extension reaction, allelic differences can be

accurately amplified for analysis including changed varying from single nucleotide variations

to small and large deletions, insertions, invertions and other types of nucleic acid changes that

occur in even a small percentage of the pool of nucleic acids present in a sample.

[042]      The base extension reaction according to the present invention can be performed

using any standard base extension method. In general, a nucleic acid primer is designed to

anneal to the target nucleic acid next to or close to a site that differs between the different

alleles in the locus. In the standard base extension methods, all the alleles present in the




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biological sample are amplified, when the base extension is perfonned using a polymerase
  I




and a mixture of deoxy- and dideoxcynucleosides corresponding to all relevant alleles. Thus,

for example; if the allelic variation is A/C, and the primer is designed to anneal immediately

before the variation site, a mixture of ddATP/ddCTP/dTTP/dGTP will allow amplification of

both of the alleles in the sample, if both alleles are present. Table 2 in Figure 6 shows

exemplary mixtures for the standard base extension reactions for detecting several different

nucleic acid variations in the HEB locus.

[043]        The After the base extension reaction, the extension products including nucleic

acids with A and C in their 3' ends, can be separated based on their different masses.

Alternatively, if the ddNTPs are labeled with different labels, such as radioactive or

fluorescent labels, the alleles can be differentiated based on the label. In a preferred

embodiment, the base extension products are separated using mass spectrometric analysis

wherein the peaks representing different masses of the extension products, represent the

different alleles.

[044]        In one embodiment, the base extension is performed using single allele base

extension reaction (SABER, Fig. 3). In SABER, one allele of interest per locus is amplified

in one reaction by adding only one dideoxynucleotide corresponding to the allele that one

wishes to detect in the sample. One or more reactions can be performed to determine the

presence of a variety of alleles in the same locus. Alternatively, several loci with one

selected allele of interest can be extended in one reaction.

[045]        The specificity provided by primer extension reaction, particularly SABER,

allows accurate detection of nucleic acids with even a single base pair difference in a sample,

wherein the nucleic acid with the single base pair difference is present in very small amounts.

For example, fetal nucleic acids have been generally found to represent only about 3-6% of




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the nucleic acids circulating in the maternal blood (Lo et al, Am J Hum Genet 62, 768-775,

1998). We have now shown that the methods provided by the present invention can be used

to detect polymorphisms present in the fetal nucleic acids from a sample taken from the

pregnant mother.

[046]       Therefore, in one embodiment, the invention provides a method for detecting fetal

nucleic acids in maternal blood. The method comprises obtaining a nucleic acid sample from

the pregnant mother an? analyzing the sample using base extension and subsequent mass

spectrometric analysis to detect one or more loci of the fetal nucleic acid in the sample.

[047]       In one embodiment, the invention provides a method for detecting a paternally-

inherited mutations in the fetus from the maternal blood. The method comprises analyzing

the paternal nucleic acid sample and determining the presence of one or more paternal nucleic

acid polymorphisms. The maternal blood/plasma sample is then analyzed for the presence or

absence of the paternally inherited allele using base extension, preferably SABER, wherein

only ddNTP corresponding to the paternal mutation(s) is used in the base extension reaction.

The base extension products are then detected using any detection methods, that can

differentiate between the base extended nucleic acid products. Preferably, the detection is

performed using matrix assisted laser desorption ionization/time-of-flight mass spectrometric

analysis, for example, as described in Example 2. The presence and/or absence of the

paternal alleles in the maternal blood/plasma sample is exemplified in Figure 4, wherein the

presence of the peak representing the paternally inherited IVS2 654 (C ➔ T) can be seen in

Fig. 4D and absence of the same allele in Fig. 4C.

 [048]      The method can be used to rebably detect paternally inherited disease causing

mutations including any dominant or recessive diseases such as achondroplasia, Huntington's

disease, cystic fibrosis, hemoglobin E and the different hemoglobinopathies, such as ~-




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thalassemia. Based on this disclosure, a skilled artisan will be able to design a detection

miythod for prenatal diagnosis for any disease wherein the disease causing mutation or a

genetic polymorphism(s) associated with or linked to the disease is/are known.

[049]        We have illustrated the reliability of the SABER assays for single-nucleotide

discrimination between circulating fetal and maternal DNA by the maternal plasma detection

of fetal ~-thalassemia point mutations and SNPs. The ability to robustly analyze fetal-specific

SNPs in maternal plasma is a useful adjunct procedure for maternal-plasma fetal DNA

analysis as a safeguard against the possibility of false-negative detection due to fetal DNA

degradation, DNA extraction failures, or PCR allele dropout. With the availability of a

reliable MS method for fetal single nucleotide polymorphism (SNP) detection in maternal

plasma, the number of potential gender-independent internal control targets for circulating

fetal DNA detection has increased substantially.

[050]        Circulating fetal SNPs can also be analyzed according to the method of the present

invention,. This permits fetal haplotype analysis from maternal plasma. Noninvasive fetal

haplotyping can be achieved by means of analyzing polymorphisms linked to a mutated locus.

Haplotype analysis between the HBB locus and a linked polymorphism premits the

noninvasive prenatal exclusion of ~-thalassemia major, despite the presence of the same HEB

mutation in both parents. See, for example, case 12 of Example 2 below. This procedure

overcomes the previously perceived deficiency in maternal plasma-based prenatal diagnosis

of autosomal recessive diseases that limited its applicability to couples sharing different

mutations.

[051]        Therefore, the haplotype approach also can be applied to maternal plasma

detection of a fetal SNP allele linked to the paternal nonmutant allele. The positive detection

of such an allele results in the noninvasive positive prenatal exclusion of a disease, such as ~-




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thalassemia major and other recessive diseases wherein mother and father share the same

mutation but carry different SNPs. Example 2 shows the results of non-invasive fetal

haplotyping in a J3-thalassemia case using an informati_ve polymorphism at locus rs2187610.

[052]      Thus, the invention provides a method for determining a fetal haplotype to

determine the presence of paternally inherited allele at any given locus in the fetal genome

from the maternal plasma/blood. The method comprises the steps of determining one or

more polymorphisms t~at differ between maternal and paternal genomes, i.e., SNPs that are

infonnative. The SNPs should be linked to the locus wherein determination of any given

allele is desired. The determination of informative SNPs can be performed using any

genotyping metho.ds routinely available for a skilled artisan. Any haplotyping methods can

be used. In one preferred embodiment, direct molecular haplotyping method is used as

explained below (see, Ding and Cantor, Proc Natl Acad Sci US A, 100: 7449-7453, 2003).

The fetal nucleic acid is analyzed from the maternal blood/plasma using the method of the

present invention comprising amplification of the nucleic acids, for example using PCR,

performing a base extension reaction, preferably SABER, followed by detection of the base .

extension products, preferably using MS based techniques.

[053]      Haplotyping of the fetal nucleic acid allows accurate prenatal diagnosis of a

disease wherein both parents may be carriers of the same mutation, but carry that mutation in

only one allele. Therefore, for example, if the disease is recessive, determination of one

healthy allele in the fetal nucleic acid shows that the fetus, if born, will not be affected with

the disease.

[054]      In one embodiment, the method of the invention is applied to quantification of

fetal nucleic acids from the maternal biological sample. Quantitative aberrations in

circulating fetal DNA concentrations have been demonstrated for fetal chromosomal




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aneuploidies, preeclampsia, preterm labor, and many other pregnancy associated
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cornplications. Therefore, the present method permits for determining the risk of

aneuploidies, preeclampsia, preterm labor, and other pregnancy associated complications.

The methods use the principle of analyzing the presence of fetal specific paternally inherited

allele determined using nucleic acid amplification, base extension and analysis of the base

extension products as described elsewhere in the specification. Quantification is

consequently perforn1ed either by comparing the ratio of the maternal allele and the fetal

specific allele or by including an external standard in known amounts to detennine the

amount or relative amount of the fetal nucleic acid in the sample. Because the method of the

invention allows minimally invasive sample collection, the comparison can be performed

either at one desired time during pregnancy or several times during the parts or entire

pregnancy to allow a follow-up of the fetal condition throughqut the pregnancy.

[055]        In one embodiment, the invention provides a method for the detection of

paternally-inherited fetal-specific P-thalassemia mutations in maternal plasma based on a

method of analyzing the paternal nucleic acid at single molecule dilution. Preferably, the

analysis is performed using a primer-extension of polymerase chain reaction (PCR) and

detecting the primer extension products using mass spectrometry. Alternatively, the detection

can be perfonned using, for example, electrophoretic methods including capillary

electrophoresis, using denaturing high performance liquid chromatography (D-HPLC), using

an Invader® Assay (Third Wave Technologies, Inc., Madison, Wis.), pyrosequencing

techniques (Pyrosequencing, Inc., Westborough, MA) or solid-phase minisequencing (U.S.

Patent No. 6,013,431, Suomalainen et al. Mol. Biotechnol. Jun;15(2):123-31, 2000).

[056]        In one embodiment the invention is directed to a method of detecting a genetic

disorder in a fetus from a plasma sample of a pregnant woman, the method comprising: a)




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analyzing both maternal and paternal nucleic acid, e.g., DNA for a disease-causing mutation

for the single gene disorder; b) if both maternal and paternal nucleic acid, e.g., DNA or RNA,

preferably DNA, carry a disease causing mutation for the same disease then isolating nucleic

acid, e.g., DNA isolated from blood, plasma or sermn of the pregnant mother; c) determining

a fetal genotype from the isolated maternal plasma nucleic acid, e.g., DNA using primers

corresponding to the paternally identified mutation and performing a mutation-specific

primer-extension assay, preferably in several replicates, wherein a detection of the paternal

mutation in any of the replicate sample is indicative of the presence of the single-gene

disorder in the fetus.

[057]       The ge·stational age of the fetus preferably varies from about 7 to about 23 weeks.

[058]       The genetic disease according to the present invention may be any disease

wherein a disease causing mutation is known or wherein a genetic polymorphisms associated

with or linked to the disease are known. Preferably the disease is one caused by mutations in

one gene and most preferably, the diseases is a recessive single gene disease. The mutations

can vary from single nucleotide point mutations to insertions, inversions, and deletions of any

number of nucleotides in the genomic DNA. Preferably, the recessive genetic disease is

caused by two different mutations wherein one is inherited from the mother and the other

from the father. Preferred examples of genetic diseases that can be diagnosed using the

method of the present invention include but are not limited to thalassemias, such as beta

thalassemias, cystic fibrosis, and congenital adrenal hyperplasia.

 [059]      DNA isolation from blood, plasma, or serum can be perfonned using any method

known to one skilled in the art. One such method is disclose in Chiu, R.W.K. et al. Clin

Chem 47:1607-1613. (2001) incorporated herein by reference in its entirety. Other suitable

methods include, for example TRI REAGENT® BD (Molecular Research Center, Inc.,




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 Cincinnati, OH), which is a reagent for isolation of DNA from, for example, plasma. TRI
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 R~AGENT BD and the single-step method are described, for example, in the US Patent Nos.

 4,843,155 and 5,346,994.

 [060]        Different alleles present in the nucleic acid sample are consequently either

 amplified using PCR and then differentiated using various differential amplification methods

 described below, including different primer extension methods. Alternatively, the different

 alleles are amplified and differentiated simultaneously, for example using the below-

 described INVARER assay.

 [061]        In one embodiment, before the primer extension reaction the isolated DNA is

 amplified using PCR and primers flanking the known mutation site and/or the single

• nucleotide polymorphism (SNP) site. In one preferred embodiment, primers presented in

 Table 2 are used to detect the corresponding beta thalassemia µmtations shown in the Table 2.

 In an alternative embodiments, no pre-amplification of the sample is necessary.

 [062]        In one embodiment, a primer extension reaction is used to detect or "enhance" or

 "amplify" or "highlight" the different alleles present in the maternal nucleic acid sample.

 Primer extension reaction can be perfonned using any protocol for primer extension known

 to one skilled in the art (see, e.g., Molecular Cloning: A Laboratory Manual, 3rd Ed.,

 Sambrook and Russel, Cold Spring Harbor Laboratory Press, 2001) .

 [063]        For example, methods including complementary DNA (cDNA) arrays (Shalon et

 al., Genome Research 6(7):639-45, 1996; Bernard et al., Nucleic Acids Research 24(8):1435-

 42, 1996), solid-phase mini-sequencing technique (U.S. Patent No. 6,013,431, Suomalainen

 et al. Mol. Biotechnol. Jun;15(2):123-31, 2000), ion-pair high-performance liquid

 chromatography (Doris et al. J. Chromatogr. A May 8;806(1):47-60, 1998), and 5' nuclease




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assay or real-time RT-PCR (Holland et al. Proc Natl Acad Sci USA 88: 7276-7280, 1991),

or primer extension methods described in the U.S. Patent No. 6,355,433, can be used.

[064]      In one embodiment, the primer extension reaction and analysis is performed using

PYROSEQUENCING™ (Uppsala, Sweden) which essentially is sequencing by synthesis. A

sequencing primer, designed directly next to the nucleic acid differing between the disease-

causing mutation and the normal allele or the different SNP alleles is first hybridized to a

single stranded, PCR amplified DNA template from the mother, and incubated with the
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enzymes, DNA polymerase, ATP sulfurylase, luciferase and apyrase, and the substrates,

adenosine 5' phosphosulfate (APS) and luciferin. One of four deoxynucleotide triphosphates

(dNTP), for example, corresponding to the nucleotide present in the disease-causing allele, is

then added to the reaction. DNA polymerase catalyzes the incorporation of the dNTP into the

standard DNA strand. Each incorporation event is accompanied by release of pyrophosphate

(PPi) in a quantity equimolar to the amount of incorporated nucleotide. Consequently, ATP

sulfurylase converts PPi to ATP in the presence of adenosine 5' phosphosulfate. This ATP

drives the luciferase-mediated conversion of luciferin to oxyluciferin that generates visible

light in amounts that are proportional to the amount of ATP. The light produced in the

luciferase-catalyzed reaction is detected by a charge coupled device (CCD) camera and seen

as a peak in a PYROGRAM™. Each light signal is proportional to the number of nucleotides

incorporated and allows a clear determination of the presence or absence of, for example, the

disease causing allele. Thereafter, apyrase, a nucleotide degrading enzyme, continuously

degrades unincorporated dNTPs and excess ATP. When degradation is complete, another

dNTP is added which corresponds to the dNTP present in for example the selected SNP.

Addition of dNTPs is performed one at a time. Deoxyadenosine alfa-thio triphosphate

(dA TPaS) is used as a substitute for the natural deoxyadenosine triphosphate (dATP) since it




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is efficiently used by the DNA polymerase, but not recognized by the luciferase. For detailed

information about reaction conditions for the PYROSEQUENCING, see, e.g. U.S. Patent No.

6,210,891, which is herein incorporated by reference in its entirety.

[065]      Another example of the methods useful for detecting the different alleles in the

sample isolated from the maternal plasma, serum or blood, is real time PCR. All real-time

PCR systems rely upon the detection and quantification of a fluorescent reporter, the signal of

which increases in direct prop01iion to the amount of PCR product in a reaction. Examples

ofreal-time PCR method useful according to the present invention include, TaqMan® and

molecular beacons, both of which are hybridization probes relying on fluorescence resonance

energy transfer (FRET) for quantitation. TaqMan Probes are oligonucleotides that contain a

fluorescent dye, typically on the 5' base, and a quenching dye, typically located on the 3'

base. When irradiated, the excited fluorescent dye transfers energy to the nearby quenching

dye molecule rather than fluorescing, resulting in a nonfluorescent substrate. TaqMan probes

are designed to hybridize to an internal region of a PCR product (ABI 7700 (TaqMan™),

Applied BioSystems, Foster City, CA). Accordingly, two different primers, one hybridizing

to the disease-causing allele and the other to the selected SNP allele nucleic acid template, are

designed. The primers are consequently allowed to hybridize to the corresponding nucleic

acids in the real time PCR reaction. During PCR, when the polymerase replicates a template

on which a TaqMan probe is bound, the 5' exonuclease activity of the polymerase cleaves the

probe. Consequently, this separates the fluorescent and quenching dyes and FRET no longer

occurs. Fluorescence increases in each cycle, proportional to the rate of probe cleavage.

[066]      Molecular beacons also contain fluorescent and quenching dyes, but FRET only

occurs when the quenching dye is directly adjacent to the fluorescent dye. Molecular beacons

are designed to adopt a hairpin structure while free in solution, bringing the fluorescent dye




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and quencher in close proximity. Therefore, for example, two different molecular beacons

are designed, one recogrtizing the disease-causing allele and the other the selected SNP

nucleic acid. When the molecular beacons hybridize to the nucleic acids, the fluorescent dye

and quencher are separated, FRET does not occur, and the fluorescent dye emits light upon

irradiation. Unlike TaqMan probes, molecular beacons are designed to remain intact during

the amplification reaction, and must rebind to target in every cycle for signal measurement.

TaqMan probes and molecular beacons allow multiple DNA species to be measured in the
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same sample (multiplex PCR), since fluorescent dyes with different emission spectra may be

attached to the different probes, e.g. different dyes are used in making the probes for different

disease-causing and SNP alleles. Multiplex PCR also allows internal controls to be co-

amplified and permits allele discrimination in single-tube assays. (Ambion Inc, Austin, TX,

TechNotes 8(1) - February 2001, Real-time PCR goes prime time).

[067]      Yet another method useful according to the present invention for emphasizing or

enhancing the difference between the disease-causing and normal allele and the different

selected SNP alleles is solid-phase mini-sequencing (Hultman, et al., 1988, Nucl. Acid .. Res.,

17, 4937-4946; Syvanen et al., 1990, Genomics, 8, 684-692). In the original reports, the

incorporation of a radiolabeled nucleotide was measured and used for analysis of the three-

allelic polymorphism of the human apolipoprotein E gene. The method of detection of the

variable nucleotide(s) is based on primer extension and incorporation of detectable

nucleoside triphosphates in the detection step. By selecting the detection step primers from

the region immediately adjacent to the variable nucleotide, this variation can be detected after

incorporation of as few as one nucleoside triphosphate. Labelled nucleoside triphosphates

matching the variable nucleotide are added and the incorporation of a label into the detection

step primer is measured. The detection step primer is annealed to the copies of the target




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nucleic acid and a solution containing one or more nucleoside triphosphates including at least
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on.e labeled or modified nucleoside triphosphate, is added together with a polymerizing agent

in conditions favoring primer extension. Either labeled deoxyribonucleoside triphosphates

(dNTPs) or chain terminating dideoxyribonucleoside triphosphates (ddNTPs) can be used.

The solid-phase mini-sequencing method is described in detail, for example, in the U.S.

Patent No. 6,013,431 and in Wartiovaara and Syvanen, Quantitative analysis of human DNA

sequences by PCR and solid-phase minisequencing. Mol Biotechnol 2000 Jun; 15(2):123-

131.

[068]        Another method to detect the different alleles in the PCR products from the

maternal sample is by using fluorescence tagged dNTP/ddNTPs. In addition to use of the

fluorescent label in the solid phase mini-sequencing method, a standard nucleic acid

sequencing gel can be used to detect the fluorescent label incorporated into the PCR

amplification product. A sequencing primer is designed to anneal next to the base

differentiating the disease-causing and nonnal allele or the selected SNP alleles. A primer

extension reaction is performed using chain terminating dideoxyribonucleoside triphosphates

(ddNTPs) labeled with a fluorescent dye, one label attached to the ddNTP to be added to the

standard nucleic acid and another to the ddNTP to be added to the target nucleic acid.

[069]        Alternatively, an INVADER® assay can be used (Third Wave Technologies, Inc

(Madison, WI)). This assay is generally based upon a structure-specific nuclease activity of a

variety of enzymes, which are used to cleave a target-dependent cleavage structure, thereby

indicating the presence of specific nucleic acid sequences or specific variations thereof in a

sample (see, e.g. U.S. Patent No. 6,458,535). For example, an INVADER® operating system

(OS), provides a method for detecting and quantifying DNA and RNA. The INVADER® OS

is based on a "perfect match" enzyme-substrate reaction. The INVADER® OS uses




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·proprietary CLEAVASE® enzymes (Third Wave Technologies, Inc (Madison, WI)), which

recognize and cut only the specific structure formed during the INVADER® process which

structure differs between the different alleles selected for detection, i.e. the disease-causing

allele and the nonnal allele as well as between the different selected SNPs. Unlike the PCR-

based methods, the INVADER® OS relies on linear amplification of the signal generated by

the INVADER® process, rather than on exponential amplification of the target.

 [070]      In the INVADER® process, two short DNA probes hybridize to the target to form
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a structure recognized by the CLEAVASE® enzyme. The enzyme then cuts one of the probes
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to release a short DNA "flap." Each released flap binds to a fluorescently-labeled probe and

forms another cleavage structure. When the CLEAVASE® enzyme cuts the labeled probe,

the probe emits a detectable fluorescence signal.

 [071]      Disease-causing alleles and the SNPs may also be differentiated using allele-

specific hybridization followed by a MALDI-TOF-MS detection of the different

hybridization products.

 [072]      In the preferred embodiment, the detection of the enhanced or amplified nucleic

acids representing the different alleles is performed using matrix-assisted laser desorption

ionization/time-of-flight (MALDI-TOF) mass spectrometric (MS) analysis described in the

Examples below. This method differentiates the alleles based on their different mass and can

be applied to analyze the products from the various above-described primer-extension

methods or the INVADER® process.

 [073]      It has been shown that during early pregnancy, the median total DNA

concentration in maternal plasma is approximately 1000 genome-equivalents per milliliter

(Lo, Y.M.D., et al. Am J Hum Genet 62,768-775, 1998). Fetal DNA comprises some 5% of

the total DNA in maternal plasma and theoretically, half of~hich is contributed by the




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paternally-inherited fraction. Using maternal plasma DNA extraction and PCR protocols as
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pr~viously described (Lo, Y.M.D., et al. Am J Hum Genet 62,768-775, 1998) (for example,

DNA extraction from about 800 µL of maternal plasma eluted in about 50 µL water, and

using about 5 µL of DNA per PCR), each reaction will theoretically contain about 2 copies of

the paternally-derived fetal DNA (i.e.,in the example above, 1000 x 0.8 x 2.5% x 5 / 50) and

about 76 copies of maternal DNA (i.e., in the example above, 1000 x 0.8 x 95% x 5 I 50).

[074]       The low fractional concentration poses significant demands on the sensitivity and

specificity required for the analytical system. In addition, due to the low absolute

concentration, fetal DNA fragments in maternal plasma are distributed stochastica1ly (Ding,

C & Cantor, C.R., Proc Natl Acad Sci US A l 00, 7449-7453, 2003). If analyses were

performed in multiple replicates, each replicate would either contain no or only some fetal

DNA fragments. The proportion ofreplicates that does contain fetal DNA fragments is

therefore governed by the Poisson distribution. If the experiments were performed at further

dilution, for example, using 1 µL of plasma DNA, the amount of maternal DNA per replicate

will reduce to one-fifth and for replicates that contain one copy of the fetal-specific paternal

allele, the fractional concentration of the fetal fraction will increase from 2.5% (2/80) to

6.25%(1/16), thus, improving the robustness for fetal DNA detection and allelic

discrimination.

[075]       Therefore, it is important to use several replicates of the analysis. In a prefened

embodiment, at least about 10, preferably 15 or more replicates up to about 20, 50, 70 or 100

replicates are used to improve statistical. accuracy of the allele determination.

[076]       In another embodiment, the invention provides a method wherein single

nucleotide polymorphism (SNP) detection is incorporated with the simultaneous detection of




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the mutated or healthy alleles. SNPs that are associated with either the mutated or normal

paternal allele can be used in this embodiment.

[077]       The additional assessment of SNPs will also help to eliminate the false-negative

results, as a diagnostic result is only regarded as valid if a paternal SNP allele is detected in at

least one of the replicates.

[078]       Although the MassARRAY system was originally designed for high-throughput

SNP detection (Tang K., et al., Proc Natl Acad Sci US A 96, 10016-10020, 1999), the

discrimination of paternal and maternal mutant alleles that share the same mutation can be
                   '
achieved by the detection of SNPs that are linked particularly to the paternal mutation which

combination provides an improved method for non-invasive prenatal diagnosis ofrecessive

diseases. The detection of SNPs associated with the paternal normal or healthy allele instead,

would, for example, allow the positive exclusion of P-thalassemia (Chiu, R.W.K et al., Clin

Chem 48, 778-780, 2002) in the fetus by using a maternal plasma sample.

[079]       The present method can also provide a tool to analyze other circulating nucleic

acids including, but not limited to tumor-specific nucleic acid changes, viral, bacterial,

fungal, and protozoan nucleic acids, and donor-specific nucleic acids in a transplant patient.

The method comprises analyzing nucleic acids in a biological sample by primer extension to

differentiate between the normal, or host nucleic acids and the mutant, or non-host nucleic

acids, and analyzing the primer extension products, preferably using mass spectrometry.

[080]       In one embodiment, the method is used to follow development of mutant forms of,

for example, tumor cells, viruses and bacteria in an individual, thus providing an easy and

minimally invasive method to detect development of, for example drug-resistant tumor cells

and antibiotic resistant bacteria.




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(081]       All references cited herein and throughout the specification are incorporated
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h~rein by reference in their entirety.



                                         EXAMPLES

                                          Example 1

(082]       The feasibility of assessing fetal gender from maternal plasma using the

MassARRAY system is shown herein. Forty-one normal pregnancies comprising 32 male and

9 female fetuses were recruited with informed consent. Ten milliliters of maternal blood was

collected. Maternal plasma was obtained and DNA was extracted as previously described

(Chiu, R.W.K. et al. Clin Chem 47, 1607-1613. (2001)). Fetal gender was determined in the

maternal plasma by MassARRAY analysis of the primer extension products of a Y-

chromosome-specific PCR and a previously developed real-time quantitative PCR assay (Lo,

Y.M.D. et al. Am J Hum Genet 62, 768-775 (1998)). For MassARRAY analysis, one

microliter of maternal plasma DNA was used in each five microliter PCR reaction. After

removing excess dNTPs with a shrimp alkaline phosphatase, base extension reaction was

carried out (PCR and extension primer sequences are provided in supplementary table 1).

The extension products were analyzed by MALDI-TOF mass spectrometry (SEQUENOM)

(Ding, C. & Cantor, C.R. Proc Natl Acad Sci US A 100, 7449-7453 (2003)). Fifteen

replicates were performed for each sample. The number of replicates was determined by

probabilistic calculations based on the Poisson distribution (Fig. 1) to maximize the

probability of the positive detection of the fetal DNA molecules in any of the replicates. The

fetal gender was reported as male if any of the 15 replicates was positive for the Y-

chromosome-specific product. The fetal gender was correctly predicted in all cases. The

proportion ofreplicates with positive Y-chromosome product correlated with that predicted




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by the theoretical estimates of the Poisson distribution based on the fetal DNA concentration

determined by real-time·quantitative PCR (Spearman rank con-elation R=0.421; p==0.0191)

(Fig. 1).

 [083]      As shown below, the approach allows single nucleotide discrimination between

fetal and maternal DNA. We studied pregnancies where the fetus was at risk for B-

thalassemia major. The protocol was adopted for maternal plasma analysis of the paternally-

inherited fetal-specific f!BB mutation for the four most common Southeast Asian P-

thalassemia mutations. These four mutations included CD 41/42-CTTT, IVS2 654 (C-+T),

nt -28 (A-+G) and CD 17 (A-+T), and they account for about 90% of all P-thalassemia

mutations in Southeast Asia (Lau, Y.L. et al. N Engl J Med 336, 1298-1301 (1997)).

 [084]      Twenty-three couples whose pregnancies were at risk of B-thalassemia major were

recruited with institutional consent from the established prenatal diagnostic centers at The

Chinese University of Hong Kong, Hong Kong; Chiang Mai University, Thailand; and~

Women's and Children's Hospital, Singapore. Ten milliliters of maternal and paternal blood

were collected into EDTA tubes prior to chorionic villus sampling, amniocentesis or

cordocentesis. The median gestational age at the time of sampling was about 17 weeks

(ranging from about 8 to about 22 weeks).

 [085]      Parental genotype and mutation analyses were perforn1ed according to established
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diagnostic practices. The 23 pregnancies were fathered by 11 can-iers of CD 41/42 -CTTT

mutation, 6 can-iers ofIVS2 654 (C-+T) mutation, 1 can-ier of nt-28 (A-+G) mutation and

and 5 individuals who were can-iers of the CD 17 (A-+T) mutation (Fig. 5, Table 1).




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[086]        As a control, fetal genotype was determined by molecular analysis of chorionic
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vi~li, amniotic fluid or fetal whole blood. The researcher who analyzed the maternal plasma

samples was blinded from the fetal genotype result.

[087]        Primer extension and MassARRAY analysis were performed essentially in the

same manner as the fetal gender experiments with the exception that the fetal targets for

detection were the paternally-inherited HEB mutations. Four PCR and primer-extension

assays were designed and these corresponded to each of the four mutations. The PCR and

extension primer sequences are provided in Table 1 (Fig. 6). The assay primers used in a

particular sample was selected according to the mutation that the father carried.

[088]        By performing 15 replicates for each sample, the presence or absence of the

paternal genotype was correctly predicted in 20/23 cases, with the remaining three cases

being false negatives (Fig. 5, Table 1). Further analysis with an additional 25-replicate

protocol eliminated 2 of the 3 false negative results. Moreover, two of the three false

negative cases were perfonned using samples archived for more than 4 years and had been

subjected to repeated freeze-thaw cycles.

[089]        The approach of this invention takes advantage of the Poisson distribution of

DNA fragments at single molecule concentration detected in replicates to further increase the

sensitivity of mass-spectrometric analysis while retaining its high specificity. Using the

described example we have shown that the approach allows the detern1ination of the presence

or absence of the paternally-inherited fetal mutation in maternal plasma covering the four

most common ~-thalassemia mutations in Southeast Asians.

[090]        Three of the four analyzed mutations are point mutations and thus the results also

demonstrate the feasibility of this method to detect even single nucleotide differences at very

low fractional concentrations.




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[091]       The ability to reliably analyze fetal DNA isolated from the maternal plasma offers

great opportunity to practically provide non-invasive prenatal diagnosis. Our system using,

for example, the MassARRAY approach is automatable with a throughput capability of

analyzing more than 1200 samples per day with the about 15-replicate format, thus making

the system practical for routine use.

[092]       The present approach can be applied to at-risk pregnancies where the maternal and

paternal mutations differ. However, the approach can be modified by incorporating the

simultaneous detection of single nucleotide polymorphisms (SNPs) that are associated with

either the mutated or normal paternal allele. The additional assessment of SNPs will also help

to eliminate the false-negative results, as a diagnostic result is only regarded as valid if a

paternal SNP allele is detected in at least one of the replicates.

[093]      The MassARRAY system was originally designed for high-throughput SNP

detection (Tang, K. et al. Proc Natl Acad Sci US A 96, 10016-10020 (1999)). The

discrimination of paternal and maternal mutant alleles that share the same mutation can be

achieved by the detection of SNPs that are linked particularly to the paternal mutation. The

detection of SNPs associated with the paternal nonnal or healthy allele instead, also allows

the positive exclusion of ~-thalassemia (Chiu, R.W.K. et al. Clin Chem 48, 778-780 (2002)).

In summary, the analytical and prenatal diagnostic approach of the present invention presents

a non-invasive prenatal diagnosis of autosomal recessive diseases including but not limited to

the thalassemias, cystic fibrosis and congenital adrenal hyperplasia. This approach can also

be applied to the other diagnostic applications of plasma DNA, such as the detection of

tumor-derived point mutations in cancer patients (Anker, P. et al. Gastroenterology 112,

1114-1120 (1997)) and donor-derived DNA in the plasma of transplant recipients (Lo,

Y.M.D. et al. Lancet 351, 1329-1330 (1998).




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                                          Example 2

[094]      In the present study, we evaluated, and show the feasibility of, the use of MS for

the discrimination of fetal point mutations in maternal plasma and developed an approach for

the reliable exclusion of ~-thalassemia mutations in maternal plasma. We further evaluated,

and show the feasibility of, the approach for the noninvasive prenatal diagnosis of a mother

and father sharing an identical ~-thalassemia mutation, a concurrence previously perceived as

a challenge for maternal plasma-based prenatal diagnosis for autosomal recessive diseases.

[095]      In this example, mass spectrometric analysis of single nucleotide difference in

circulating nucleic acids was applied to noninvasive or minimally invasive prenatal diagnosis.

[096]      Patient Recruitment and Sample Collection. Twelve pregnancies at risk for ~-

thalassemia major were recruited with informed consent and institutional ethics approval

from established prenatal diagnostic centers in Hong Kong, Thailand, Singapore, and

Malaysia. Fifty pregnant women seeking second-trimester aneuploidy prenatal diagnosis with

subsequent confinnation of a normal fetal karyotype also were recruited. Ten milliliters of

maternal and paternal blood was collected into EDTA tubes before amniocentesis, chorionic

villus sampling, and cordocentesis. Three milliliters of amniotic fluid also was collected from

the nonnal pregn~ncies and stored at 4°C until analysis. Parental and fetal genotypes were

determined according to established diagnostic practices (Ng, I. S., Ong, J.B., Tan, C. L. &

Law, H. Y. (1994) Hum. Genet. 94, 385-388; Sanguansern1sri, T., Thanarattanakorn, P.,

Steger, H.F., Tongsong, T., Chanprapaph, P., Wanpirak, C., Siriwatanapa, P., Sirichotiyakul,

S. & Flatz, G. (2001) Hemoglobin 25, 19-27). Maternal plasma was harvested by a two-step

centrifugation protocol comprised of I 0-min centrifugation at 1,600 x g, followed by I 0-min




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centrifugation at 16,000 x g (Chiu, R. W. K., Poon, L. L. M., Lau, T. K., Leung, T. N., Wong,

E. M. C. & Lo, Y. M. n: (2001) Clin. Chem. 47, 1607-1613). Maternal plasma DNA was

extracted with the QIAamp Blood Kit (Qiagen, Valencia, CA) by following the "blood and

body fluid protocol," according to the manufacturer's recommendations. To each column, 800

µ1 of plasma was applied and eluted into 50 µl of distilled deionized H20. The plasma DNA

samples were stored at -20°C until analysis by a central laboratory.

[097]      Maternal Plasma Analysis. Paternal allele detection in maternal plasma was
                        ,,      '

performed by using the MassARRAY system (Sequenom). The MassARRAY system is a

matrix-assisted laser desorption ionization/time-of-flight MS system designed for the

detection of primer-extended PCR products (Tang, K., Fu, D. J., Julien, D., Braun, A.,

Cantor, C.R. & Koster, H. (1999) Proc. Natl. Acad. Sci. USA 96, 10016-10020). The

maternal plasma MS analyses were performed blindly without knowledge of the fetal

genotype. Two analytical protocols were evaluated, including the standard Homogenous

MassEXTEND protocol provided by Sequenom and a newly developed protocol, termed

single allele base extension reaction (SABER) (Fig. 3). Both protocols involved PCR

amplification of the paternally inherited fetal allele and the maternal background alleles from

maternal plasma, followed by a base extension reaction before MS analysis. The SABER

protocol involves a different base extension step, which is restricted to the allele of interest,

and confers theoretical improvements in the detection sensitivity.

[098]       PCR Amplification. All DNA oligonucleotides were purchased from Integrated

DNA Technologies (Coralville, IA). HotStar Taq Polymerase (Qiagen) was used for all

PCRs. Five microliters of plasma DNA was added to each 10-µ1 PCR. PCR primers (Fig. 6,

Table 2) were used at a 200 nM final concentration. The PCR condition was 95°C for 15 min

for hot start, fo11owed by denaturing at 94°C for 20 sec, mmealing at 56°C for 30 sec,




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extension at 72°C for 1 min for 45 cycles, and final incubation at 72°C for 3 min. Five
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m,croliters of PCR products was treated with shrimp alkaline phosphatase (Sequenom) for 20

min at 37°C to remove excess dNTPs, as described in Ding, C. & Cantor, C.R. (2003) Proc.

Natl. Acad. Sci. USA 100, 7449-7453.

[099]        Standard Base Extension and SABER. Thermosequenase (Sequenom) was used

for the base extension reactions. In the standard protocol, conventional base extension was

carried out whereby both alleles interrogated by the base extension primer were extended by

adding a mixture of 2',3'-dideoxynucleoside triphosphates and dNTPs ( Fig 6, Table 2 and

Fig. 3). In contrast, primer extension in the SABER protocol was restricted to the fetal-

specific allele of interest by the addition of a single species of dideoxynucleoside triphosphate

without any dNTP (Fig. 6, Table 2 and Fig. 3). Five microliters of PCRproducts was used in

9-µl reactions in both protocols. The reaction condition was 94°C for 2 min, followe,d by

94°C for 5 sec, 52°C for 5 sec, and 72°C for 5 sec for 40 cycles. All reactions were carried out

in a GeneAmp PCR system 9700 thermal cycler (Applied Biosystems). The final base

extension products were analyzed by MS as described in Ding, C. & Cantor, C.R. (2003)

Proc. Natl. Acad. Sci. USA 100, 7449-7453. Briefly, the final base extension products were

treated with the SpectroCLEAN (Sequenom) resin to remove salts in the reaction buffer. We

dispensed ;;::;10 nl ofreaction solution onto a 384-format SpectroCHIP (Sequenom) prespotted

with a matrix of 3-hydroxypicolinic acid by using a SpectroPoint (Sequenom) nanodispenser.

A modified Biflex matrix-assisted laser desorption ionization/time-of-flight MS (Bruker,

Billerica, MA) was used for data acquisitions from the SpectroCHIP. The expected molecular

weights of all relevant peaks were calculated before the analysis and identified from the mass

spectrum. All analyses were performed in triplicate.




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[0100]      Fetal-Specific Single-Nucleotide Polymorphism (SNP) Detection from

Maternal Plasma. The feasibility of using the MassARRAY system to discriminate and

detect single-nucleotide differences between fetal and maternal DNA in maternal plasma was

first assessed by the detection of paternally inherited SNPs. The maternal and fetal genotypes

for 11 SNPs on chromosome 11 p were detennined in normal pregnancies by using maternal

genomic DNA and amniotic fluid samples. The most informative SNP, rs2187610 (SNP

database, www.ncbi.nhn.nih.gov), was selected for furtheranalysis. This SNP is located 1.3
                       '
kb downstream of the HEB locus.

[0101]      Fetal-Specific P-Thalassemia Mutation Detection from Maternal Plasma.

MassARRAY assays (Fig. 6, Table 2) were designed for maternal plasma analysis of the four

most common P-thalassemia mutations in Southeast Asia, CD 41/42 -CTTT, IVS2 654 (C 3

T), nt -28 (A ➔ G), and CD 17 (A ➔ T) (Lau, Y. L., Chan, L. C., Chan, Y. Y., Ha, S. Y.,

Yeung, C. Y., Waye, J. S. & Chui, D. H. (1997) N Engl. J. Med. 336, 1298-1301; Liang, R.,

Liang, S., Jiang, N. H., Wen, X. J., Zhao, J.B., Nechtman, J. F., Sterning, T. A. & Huisman,

T. H. (1994) Br. J. Haematol. 86, 351-354). Paternal mutation detection in maternal plasma

was determined by using both protocols. For each sample, the mutation-specific assay was

selected according to the mutation that the father carried.

[0102]      Fetal Haplotype Detection from Maternal Plasma. The parental genotypes at

the SNP locus, rs2187610, were determined for the pregnancies at risk for P-thalassemia

major. For parents who were found to be infonnative for the SNP, the linkage between the

paternal HEB mutant with the SNP alleles at rs2187610 was detennined. Haplotype analysis

was determined by using a method on parental genomic DNA described in Ding, C. &

Cantor, C.R. (2003) Proc. Natl. Acad. Sci. USA 100, 7449-7453. The ability to detect the




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paternal SNP linked to the mutant HEB allele in maternal plasma was determined by using
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th~ SABER protocol.

[0103]          Fetal-Specific SNP Allele Discrimination in Maternal Plasma. The SNP
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rs2187610 is a C/G polymorphism. Among the 50 normal pregnancies, 16 pregnant women

had the CC genotype. The fetal genotypes were CC and GC in 10 and 6 of these pregnancies,

respectively. MassARRAY assays were designed to detect the paternally inherited fetal-

specific G allele in maternal plasma (Fig. 6, Table 2). The presence or absence of the G allele

in maternal plasma was concordant between the standard and SABER protocols, and these

results were completely concordant with amniotic fluid analyses.

[0104]          PaternalJy Inherited ~-Thalassemia Point Mutation Detection and Exclusion

in Maternal Plasma. Among the 12 recruited pregnancies at risk for P-thalassemia major, 11

pregnancies involved couples in which the father and mother carried different P-thalassemia

mutations (Fig. 7, Table 3). Assays were designed to interrogate the four P-thalassemia

mutations in maternal plasma, three of which were point mutations. The results are shown in

(Fig. 7, Table 3). Detection of the paternal mutation in maternal plasma by using the SABER

protocol was completely concordant with the fetal genotype determined by amniotic fluid,

chorionic villus, or fetal blood analyses, whereas the standard protocol revealed two false-

negative results (cases 5 and 9). Representative MS tracings for the analyses are shown in Fig.

4.

[0105]          Noninvasive Fetal Haplotyping. SNP analysis for the at-risk pregnancies

revealed three informative couples (cases 3, 11, and 12), including the parents sharing an

identical P-thalassemia mutation, whereby the maternal and paternal SNP genotypes were

nonidentical. Results of the haplotype analysis are shown in Fig. 8, Table 4. The paternal




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 mutant allele was linked to the G allele at rs2187610 for the three cases. Maternal plasma

 analysis for the paternal G allele was completely concordant with the expected fetal genotype.

[0106]       The reliable discrimination of subtle (e.g., single base) differences between fetal

 and maternal DNA in maternal plasma has hitherto been a technical challenge (Nasis, 0.,

 Thompson, S., Hong, T., Sherwood, M., Radcliffe, S., Jackson, L. & Otevrel, T. (2004) Clin.

 Chem. 50, 694-701). In this study, we took advantageofth e analytical specificity conferred

 by a base extension reaction and the sensitivity of MS analysis. The SABER protocol is
                         '
 theoretically more sensitive than the standard protocol. First, in contrast to the standard

protocol in which all relevant alleles are used as the templates for the base extension reaction,

 SABER involves the extension of a single nucleotide for the allele of interest only (Fig. 3).

Thus, for fetal DNA analysis in maternal plasma, the SABER assays were designed so that

the base extension is devoted only to the extension of the fetal-specific allele for the single

discriminatory nucleotide from the maternal one. Furthermore, the matrix-assisted laser

desorption ionization/time-of-flight MS has a dynamic range of ;::::J 00-fold. Because the

paternal-specific fetal allele exists at ;::-::3-6% in total maternal plasma DNA, its corresponding

peak in the mass spectrum is often dwarfed by the background peak when analyzed by the

standard protocol (Figs. 3 and 4). In contrast, the SABER method only extends the intended

paternal-specific fetal allele so that the background allele peak is not produced, resulting in

more robust detection (Figs. 3 and 4). The theoretical advantages of SABER over the standard

method are realized in our analyses as evident by the false-negative results for the latter

protocol.

[0107]      The reliability of the SABER assays for single-nucleotide discrimination between

circulating fetal and maternal DNA has been illustrated by the maternal plasma detection of

fetal P-thalassemia point mutations and SNPs. The ability to robustly analyze fetal-specific




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SNPs in maternal plasma is a useful adjunct procedure for maternal-plasma fetal DNA
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an!ilysis as a safeguard against the possibility of false-negative detection due to fetal DNA

degradation, DNA extraction failures, or PCR allele dropout. Such a safeguard mechanism

has been advocated by several workers in the routine performance of maternal plasma

analysis for the noninvasive prenatal assessment of fetal rhesus D status (van der Schoot; C.

E., Tax, G. H., Rijnders, R. J., de Haas, M. & Christiaens, G. C. (2003) Transfusion Med.

Rev. 17, 31-44; Zhong, X. Y., Holzgreve, W. & Hahn, S. (2001) Swiss Med. Wkly. 131, 70-

74; Avent, N. D., Finning, K. M., Martin, P. G. & Soothill, P. W. (2000) Vox Sanguinis 78,

155-162). Initially, the detectionofY-chromosome sequences in maternal plasma had been

adopted to confirm cases that tested negative for RHD (Finning, K. M., Martin, P. G.,

Soothill, P. W. & Avent, N. D. (2002) Transfusion 42, 1079-1085; van der Schoot, C. E.,

Tax, G. H., Rijnders, R. J., de Haas, M. & Christiaens, G. C. (;2003) Transfusion Med. Rev.

17, 31-44). Because of the inherent restriction ofY-chromosome detection to only male

fetuses, fetal-specific internal controls based on panels of insertion/deletion polymorphisms

had been developed (Avent, N. D., Finning, K. M., Martin, P. G. & Soothill, P. W. (2000)

Vox Sanguinis 78, 155-162). The adoption of the insertion/deletion panel reflects the lack of

robust methods for fetal SNP detection in the past. Hence, with the availability of a reliable

MS method for fetal SNP detection in maternal plasma, the number of potential gender-

independent internal control targets for circulating fetal DNA detection has increased

substantially.

[0108]      A more important implication of the ability to analyze circulating fetal SNPs lies

in its immediate relevance to fetal haplotype analysis from maternal plasma. Noninvasive

fetal haplotyping could be achieved by means of analyzing polymorphisms linked to a

mutated locus. As demonstrated in case 12, haplotype analysis between the HEB locus and a




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linked polymorphism allowed the noninvasive prenatal exclusion of P-thalassernia major,

despite the presence of the same HBB mutation in both parents, which had previously not

been believed practical. (Chiu, R. W. K., Lau, T. K., Leung, T. N., Chow, K. C. K., Chui, D.
                                                       '                      I



H. K. & Lo, Y. M. D. (2002) Lancet 360, 998-1000). The haplotype approach is also

applicable to maternal plasma detection of a fetal SNP allele linked to the paternal nonrnutant

allele. The positive detection of such an allele would allow for the positive prenatal exclusion

of P-thalassemia major,noninvasively (Chiu, R. W. K., Lau, T. K., Cheung, P. T., Gong, Z.

Q., Leung, T. N. &Lo, Y. M. D. (2002) Clin. Chem. 48, 778-780; Bianchi, D. W. (2002)

Clin. Chem. 48, 689-690).

[0109]      Additional SNP markers surrounding the HBB locus can be easily assessed by a

person skilled in the art. For example, an SNP panel could be assembled so that the

noninvasive prenatal diagnosis could be applied to a larger proportion ofpregnancies at risk

for p -thalassernia. The four mutations investigated in this study account for 90% of all p -

thalassernia mutations in Southeast Asia (Lau, Y. L., Chan, L. C., Chan, Y. Y., Ha, S. Y.,

Yeung, C. Y., Waye, J. S. & Chui, D. H. (1997) N Engl. J. Med. 336, 1298-1301; Liang, R.,

Liang, S., Jiang, N. H., Wen, X. J., Zhao, J. B., Nechtrnan, J. F., Sterning, T. A. & Huisman,

T. H. (1994) Br. J. Haematol. 86, 351-354). The present approach can easily be applied to all

pregnancies in which the father is a carrier of one of the four mutations and thus has much

potential for routine adoption. An invasive prenatal diagnostic procedure could be avoided in

50% of these pregnancies in which the lack of inheritance of the paternal mutation by the

fetus is confirmed by maternal plasma analysis.

(0110]      This study shows technological advancements in circulating fetal DNA analysis,

and that we have developed robust system for single-nucleotide discrimination among

circulating DNA species. The MassARRAY approach is automatable with a capacity to




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analyze >2,000 samples per day in triplicate, thus making the system practical for routine use.
 '
T~e MS system is potentially to many other areas of fetal DNA detection, namely the prenatal

diagnosis of other single-gene disorders and the quantification of fetal DNA in maternal

plasma (Ding, C. & Cantor, C. R. (2003) Proc. Natl. Acad. Sci. USA 100, 3059-3064).

Quantitative aberrations in circulating fetal DNA concentrations have been demonstrated for

fetal chromosomal aneuploidies (Lo, Y. M. D., Lau, T. K., Zhang, J., Leung, T. N., Chang, A.

M., Hjelm, N. M., Elmes, R. S. & Bianchi, D. W. (1999) Clin. Chem. 45, 1747-1751;'Zhong,

X. Y., Burk, M. R., Troeger, C., Jackson, L. R., Holzgreve, W. & Hahn, S. (2000) Prenatal

Diagn. 20, 795-798), preeclampsia (Lo, Y. M. D., Leung, T. N., Tein, M. S., Sargent, I. L.,

Zhang, J., Lau, T. K., Haines, C. J. & Redman, C. W. (1999) Clin. Chem. 45, 184-188;

Zhong, X. Y., Laivuori, H., Livingston, J.C., Ylikorkala, 0., Sibai, B. M., Holzgreve, W. &

Hahn, S. (200l)Am. J. Obstet. Gynecol. 184, 414-419), preterm labor (Leung, T. N., Zhang,

J., Lau, T. K., Hjelm, N. M. & Lo, Y. M. D. (1998) Lancet 352, 1904-1905), and many other

pregnancy-associated complications. Quantitative analysis of circulating fetal DNA has been

reliant on the detection of Y-chromosome sequences because of the lack of gender-

independent fetal-specific markers. However, this hurdle can be overcome by the adoption of

MS quantification of fetal SNPs in maternal plasma. Both the MS approach and the gender-

independent fetal SNP assays can be extended to the study of fetal DNA in other maternal

bodily fluids such as urine (Botezatu, I., Serdyuk, 0., Potapova, G., Shelepov, V., Alechina,

R., Molyaka, Y., Ananev, V., Bazin, I., Garin, A., Narimanov, M., et al. (2000) Clin. Chem.

46, 1078-1084) and cerebrospinal fluid (Angert, R. M., Leshane, E. S., Yarnell, R. W.,

Johnson, K. L. & Bianchi, D. W. (2004) Am. J. Obstet. Gynecol. 190, 1087-1090) or the

phenomenon of cellular microchimerism (Bianchi, D. W. & Romero, R. (2003) J. Maternal

Fetal Neonatal Med. 14, 123-129; Nelson, J. L. (2001) Lancet 358, 2011-2012; Lo, Y. M. D.,




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Lo, E. S., Watson, N., Noakes, L., Sargent, I. L., Thilaganathan, B. & Wainscoat, J. S. (1996)

Blood 88, 4390-4395), all of which also have been previously studied by means of the

detection ofY-chromosome sequences (Lo, Y. M. D., Patel, P., Wainscoat, J. S., Sampietro,

M., Gillmer, M. D. & Fleming, K. A. (1989) Lancet 2, 1363-1365; Lo, Y. M. D., Patel, P.,

Wainscoat, J. S. & Fleming, K. A. (1990) Lancet 335, 724 (lett.)).

[0111]      In addition to fetal DNA sequences, the MS SABER approach can also be

extended to other areas of circulating nucleic acid analysis, including circulating tumor-
                        ,

specific DNA, such as Epstein-Barr virus DNA in nasopharyngeal carcinoma patients (Lo, Y.

M. D., Chan, L. Y. S., Lo, K. W., Leung, S. F., Zhang, J., Chan, A. T. C., Lee, J.C., Hjelm,

N. M., Johnson, P'. J. & Huang, D. P. (1999) Cancer Res. 59, 1188-1191), KRAS point

mutations (Anker, P., Lefort, F., Vasioukhin, V., Lyautey, J., Lederrey, C., Chen, X. Q.,

Stroun, M., Mulcahy, H. E. & Farthing, M. J. (1997) Gastroenterology 112, 1114-1120;

Sorenson, G. D. (2000) Ann. NY. A cad. Sci. 906, 13-16), and donor-specific DNA in

transplant recipients (Lo, Y. M. D., Tein, M. S., Pang, C. C., Yeung, C. K., Tong, K. L. &

Hjelm, N. M. (1998) Lancet 351, 1329-1330). Therefore, we believe that MS will play _an

increasingly important role in the future research and application of circulating nucleic acids.

[0112]      All references cited herein and throughout the specification are incorporated

herein by reference in their entirety.




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                                            CLAIMS

We claim:

1.       A method of determining a single gene disorder in a fetus from a plasma, whole

blood, or serum sample of a pregnant mother, the method comprising:

       a)       analyzing nucleic acid samples isolated from the pregnant mother and a father

                for a disease-causing mutation for a single gene disorder or a single nucleotide

                polymorphism associated with a disease-causing mutation;

       b)       isolating nucleic acid from blood, plasma, or serum of the pregnant mother;

       c)       detem1ining a fetal genotype from the nucleic acid isolated in step b) using

                primers corresponding to a disease-causing mutation allele or mutation-

                associated allele containing a single nucleotide polymorphism identified in the

                nucleic acid from the father in step a) and differentially amplifying the alleles

                from the isolated nucleic acid sample of step b) in replicates and detecting the

                amplified products, wherein a detection of a paternal mutation in any of the

                replicate sample is indicative of the presence of the single-gene disorder in the

                fetus.

2.       The method of claim 1, wherein the single gene disease is an autosomal recessive

disease.

3.       The method of claim 2, wherein the autosomal recessive disease is selected from beta

thalassemia, cystic fibrosis and congenital adrenal hyperplasia.

4.       The method of claim 3, wherein the disease is beta thalassemia caused by mutations

selected from the group consisting of CD 41/42-CTTT; IVS2 654 (C->T); nucleotide -28

(A->G); and CD 17 (A->T).

5.       The method of claim 1, number ofreplicates is 10-100.




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6.       The method of claim 1, wherein the number ofreplicates is 15-25.

7.       The method of claim 1, wherein the differential amplification is followed by

MassARRAY system.

8.       A method of detecting a genetic disease or charachteristic in a fetus using maternally

blood, plasma, serum, the method comprising:

         a)     selecting one or more single nucleotide polymorphisms (SNP) which are not

                diseaseLcausing polymorphisms and which are associated either with a
                         1




                paternal disease-causing allele or with a paternal healthy allele and which SNP

                differs between the maternal and the paternal genotype;

         b)     determining the fetal genotype from a sample DNA isolated from the blood,

                plasma, serum of the pregnant mother, wherein the determination is performed

                using primers corresponding to both the selected SNP and the disease-causing

                mutation and performing an SNP and disease causing mutation-specific or

                disease causing mutation allele-specific enhancement and analysis in several

                replicates using said primers, wherein detection of the SNP associated with the

                paternal allele in any of the replicate samples is indicative of the presence of

                the paternal allele inherited by the fetus and the detection of the paternal

                disease-causing mutation in any of the replicate samples indicates detection of

                the genetic disease inherited by the fetus or the detection of the SNP

                associated with the healthy paternal allele excludes inheritance of the genetic

                disease by the fetus.

         9.     A method of detecting a paternally inherited nucleic acid region in a fetus

                comprising isolating nucleic acids from blood, plasma or serum of a pregnant

                mother, amplifying the nucleic acids in the sample with PCR primers designed




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           to anneal to regions flanking a genetic locus which carries a difference

           between the maternal and the paternal nucleic acid, performing a base

           extension reaction; and analyzing products of the base extension reaction,

           wherein the presence of the base extension product corresponding to the

           nucleic acid present in the paternal nucleic acid indicates that the fetus carries

           the paternally inherited nucleic acid region in the genetic locus.

     10.   The method of claim 9, wherein the base extension reaction is performed

           using single allele base extension reaction.

     11.   The method of claim 9 and 10, wherein analyzing products of the base

           extension reaction is performed using mass spectrometry.




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                                        ;J..A. SRY
                                                    p                      PP           SRY




    Pos

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                    5750      6000     6250             6500                6750        7000      7250
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                                      Fl6,Vtf 2.

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                        - - - - - ggttaaggCaat a g c - - - - -
                      lVS2 654-C-T                T
                        - - - - - ggtlBagg aat a g e - - - - -



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                        Standard Base                             SABER
                          Extension

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                  --.gg11a11119Taat a g c - -         --gg1w911Taat e g c - -

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                                                                                            Case                  HBB Mutationa               Fetal       No. of positive   Gestational age         N
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                                                                                                   CD 41/42   IVS2 654       nt-28   CD17     genotypeb    replicatesc         (weeks)              Ut
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                                                                    6/8




Mutation                          C041/42 (-CTTT) ,     IVS2 654 (C -> T)     nt -28 (A-> G)     CD17(A->TI            rs2187610
PCR primer 1                     5'-1\CGTTGGATGT·     5' -ACGTTGGATG-       5'-ACGTTGGATG-     5'-ACGTTGGATG-     5'-ACGTTGGATG·
                                    AACAGCATCA-           TAACAGTGAT-          TAGGGTTGGC-        TCACCACCAA-        ATGCCATTTC-
                                    GGAGTGGAC-3'          AATTTCTGGG-3'        CAATCTACTC-3'      CTTCATCCAC-3'      ATGGTTACC-3'
                                  1
PCR primer 2                     5 -ACGTTGGATG-       5'-ACGTTGGATGG-       S'·ACGTTGGATG-     5'-ACGTTGGATG-     S'·ACGTTGGATG-
                                    CTATTTTCCCA-          AAACCTCTTAC·         AGCAATAGAT-        TCAAACAGAC-        GAAGTGAGGC·
                                    CCCl'TAGGC-3'         ATCAGTTAC-3'         GGCTCTGCCC-3'      ACCATGGTGC-3'      TACATCAAAC-3'
                                                            Standard protocol
Extension primer                 5'-GATCCCCAAA·       5'-TGATAATTTCT·       S'·AGCCAGGGCT·     5'-TTCATCCACGT·    S'·ACCTTTCATTTG•
                                    GGACTCAA-3'          GGGTT AAGG-3'         GGGCATA-3'         TCACCT-3'          TTCATTGTTTT-3'
Terminator mix*                  c;GT                 AC                    AC                 CGT                ACT
Expected molecular weight        6,088                6,475                 5,558              5,345              7,225 (G allele)
  of extended nonmutant allele
Expected molecular weight        5,735                6,804                 5,887              5,683              7,569 (C allele)
  of extended mutant allele
                                                             SABER protocol
Extension primer                 5'-GATCCCCAAA-       5'-ATATGCAGAAA·       5'-GATGGCTCTG·     5'-TTACTGCCCT·     5'-ACCTTTCATTTG-
                                    GGACTCAA·3'          TATTGCTATT-3'         CCCTGACTT-3'       GTGGGGC-3'         TTCATTGTTTT-3'
Terminator                       ddCTP                ddATP                 ddCTP              ddTTP              ddCTP
Expected molecular weight        5,462                6,443                 5,771              5,193              6,952
 of nonextended primer
Expected molecular weight        5,735                6,741                 6,044              5,482              7,225 (G allele)
 of extended allele




                                            Fl6UfE lo




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          Genotype for SNP     Paternal haplotype      Maternal plasma SABER
             rs2187610              analysist                   analysis

                              HBB
Case                          mutant     HBB wild-     SNPG       Paternal HBB       FetalHBB
          Mother     Father   allele     type al1e1e   allele       mutation         genotypet
------      cc        GC        G
    3                                        C          Neg            Neg              */*
   11       cc        GC        G            C          Pos            Pos              Fl*
  12        cc        GC        G            C         • Neg          N.A.              */*




                                f 16 Ut2E 7




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                                                         Maternal plasma
                       HBB mutation                         an~lysis

                                  nt-28    CD 17
Case       CD 4ll42   IVS2 654     (A--t   (A,           Standard   SABER       Fetal      Weeks·
           (-CTTT)     (C--t T)     G)      T)           protocol             genotypet   gestation

      I       F             M                             ·Neg       Neg         *I*               11
     2                      ,F              M             Neg        Neg         *I*               18
     3        F                             M             Neg        Neg         */*               21
     4        M             ·p                             Pos       Pos         Fl*               18
     5        M                     F                     Neg        Pos         F/M               17
     6        F             M                              Pos       Pos         Fl*               11
     7        F             M                              Pos       Pos         Fl*               14
 ·8           F                                          N~g        Neg         */*                 7
 9                                         F             Neg        Pos         Fl*                12
 10          M              F                            Neg        Neg         */*                17
11           F                                            Pos       Pos         Fl*                20
12         M&F                                           N.A.       N.A.        */*                18




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                         Exhibit 18




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            (30) Priority Data:                                                  SY, TJ, TM, TN, TR, TT, TZ, UA, UG, US, UZ, VC, VN,
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                 QUENOM, INC. [US/US]; 3595 John Hopkins Court,                  GM, KE, LS, MW, MZ, NA, SD, SL, SZ, TZ, UG, ZM,
                 San Diego, CA 92121 (US).                                       ZW), Eurasian (AM, AZ, BY, KG, KZ, MD, RU, TJ, TM),

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         (72) Inventors; and
         (75) Inventors/Applicants (for US only): EHRICH, Math-
                                                                                 European (AT, BE, BG, CH, CY, CZ, DE, DK, EE, ES, FI,
                                                                                 FR, GB, GR, HR, HU, IE, IS, IT, LT, LU, LV, MC, MT, NL,
                                                                                 NO, PL, PT, RO, SE, SI, SK, TR), OAPI (BF, BJ, CF, CG,
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  QO (54) Title: RESTRICTION ENDONUCLEASE ENHANCED POLYMORPHIC SEQUENCE DETECTION
  0
  0         (57) Abstract: Provided is an improved method for the detection of specific polymorphic alleles in a mixed DNA population. The
   M method comprises enriching the relative percentage of a given polymorphic allele that is exponentially amplifiable by PCR. Also
   O provided are methods for selectively enriching target nucleic acid, for example, fetal nucleic acid in a maternal sample. In the case
   > of detecting fetal nucleic acid in a maternal sample, a restriction enzyme is introduced that can discriminate between the alleles of a
   ~ polymorphic site. Preferably, the maternal allele is digested and nucleic acid comprising the paternal allele is relatively enriched.




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     RESTRICTION ENDONUCLEASE ENHANCED POLYMORPHIC SEQUENCE DETECTION


     FIELD OF THE INVENTION
             Provided herein are methods for detecting specific alleles in a mixed nucleic acid sample.
 5   The methods can be used to detect the presence or absence of fetal nucleic acid in a maternal
     sample.


     BACKGROUND
            The analysis of circulating nucleic acids has revealed applications in the non-invasive
10   diagnosis, monitoring, and prognostication of many clinical conditions. For example, for prenatal
     applications, circulating fetal-specific sequences have been detected and constitute a fraction of
     the total DNA in maternal plasma. The diagnostic reliability of circulating DNA analysis depends
     on the fractional concentration of the targeted sequence, the analytical sensitivity, and the
     specificity. The robust discrimination of sequence differences (e.g., single-nucleotide
15   polymorphisms, or SNPs) between circulating DNA species is technically challenging and demands
     the adoption of highly sensitive and specific analytical methods.
             Current techniques to detect sequence differences in a DNA sample include allele-specific
     PCR, restriction digest and Southern blot hybridization, restriction endonuclease-mediated
     selective-PCR (REMS-PCR), and competitive PCR methods involving the use of fluorescent
20   detection probes. The currently available techniques present several disadvantages. For allele-
     specific PCR, it is often difficult to design assays with a high degree of allele specificity (Nasis et al.
     Clin Chem. 2004 Apr;50(4):694-701). Restriction digest/Southern blot methods require higher
     amounts of DNA template than the method provided herein, and lack the sensitivity to detect
     polymorphic sequences comprising a low relative proportion of total DNA. Restriction
25   endonuclease-mediated selective-PCR (REMS-PCR) has the drawback of requiring a thermostable
     restriction enzyme that cleaves the wild-type allele. REMS-PCR is described in US Patent No.
     6,261,768, which is hereby incorporated by reference. Use of the technique may not always be
     possible, and this requirement limits the general utility of the REMS-PCR approach. Competitive
     PCR lacks the sensitivity to detect polymorphic sequences comprising a low relative proportion
30   (<5%) of total DNA. Competitive PCR with allele-specific fluorescent probes lacks the ability to
     multiplex assays higher than 2-3 assays in a single tube format.
             In addition, similar methods utilizing methylation differences between DNA species (for
     example, US Patent Application Publication No. 20070059707, entitled, "Methods for prenatal
     diagnosis of chromosomal abnormalities", which is hereby incorporated by reference) are not
35   effective at low copy numbers of genomic DNA.




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     SUMMARY
            The invention in part provides sequence-specific cleavage of nucleic acid to selectively
     enrich for a particular target nucleic acid. Polymorphic loci are chosen such that only one allele at
     the polymorphic locus is cleaved by a given cleavage agent, such as a restriction endonuclease.
 5   Oligonucleotide primer pairs designed to flank the polymorphism allow amplification of the
     polymorphic region, or amplicon, by amplification (e.g., PCR). Prior to or during amplification,
     nucleic acid samples are incubated with the given restriction endonuclease. In a preferred
     embodiment, the cleavage agent is introduced prior to amplification. This embodiment results in
     cleavage of the polymorphic allele or sequence comprising the polymorphic allele that is
10   recognized by the restriction endonuclease, if this allele is present. Cleavage of any template
     nucleic acid within the amplicon sequence (i.e., between primer pairs) prevents PCR amplification
     of this template. Therefore, if only one allele of a polymorphism is recognized by the cleavage
     agent and the corresponding nucleic acid sequence is cleaved by the restriction endonuclease, the
     relative percentage of the amplifiable alternate polymorphic allele is increased in a manner
15   dependent on the efficiency and specificity of the restriction endonuclease activity. After
     amplification, the amplified polymorphic alleles can be genotyped or otherwise detected or
     discriminated by any method known in the art (e.g., using Sequenom's MassARRAY® technology
     or by RT-PCR).
            In one embodiment, the invention in part provides a method for detecting the presence or
20   absence of a target allele at a polymorphic locus in a sample, wherein the sample contains nucleic
     acid, which comprises: cleaving a nucleic acid comprising a non-target allele at or near the
     polymorphic locus with a cleavage agent that recognizes and cleaves a non-target allele, but not
     the target allele; amplifying uncleaved nucleic acid but not cleaved nucleic acid; and analyzing the
     amplification products from the previous step to determine the presence or absence of the target
25   allele. In a related embodiment, the method also comprises first obtaining a sample suspected of
     comprising nucleic acid with target and non-target alleles. In a preferred embodiment, the method
     is used to distinguish between two individuals, for example, between a mother and a fetus, wherein
     the sample comprises both maternal and fetal nucleic acid. Optionally, the method may be used to
     quantify the target nucleic acid relative to the non-target nucleic acid.
30          The invention in part provides methods for enriching for target nucleic acid, comprising
     cleaving nucleic acid comprising a non-target allele with a restriction endonuclease that recognizes
     the nucleic acid comprising the non-target allele but not the target allele; and amplifying uncleaved
     nucleic acid but not cleaved nucleic acid, wherein the uncleaved, amplified nucleic acid represents
     enriched target nucleic acid relative to non-target nucleic acid. In one embodiment, the methods
35   may be utilized to determine the presence or absence of target nucleic acid in a background of

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     non-target nucleic acid. In a related embodiment, the amplification products can be analyzed to
     diagnose, monitor or prognose a clinical condition. Likewise, the amplification products can be
     analyzed to assist in the diagnosis, prognosis or monitoring of a clinical condition or chromosomal
     abnormality. Nucleic acid may be selected such that it comprises an allele having a polymorphic
 5   site that is susceptible to selective digestion by a cleavage agent, for example.
             The methods are useful for analyzing nucleic acid including, but not limited to, DNA, RNA,
     mRNA, oligonucleosomal, mitochondrial, epigenetically-modified, single-stranded, double-
     stranded, circular, plasmid, cosmid, yeast artificial chromosomes, artificial or man-made DNA,
     including unique DNA sequences, and DNA that has been reverse transcribed from an RNA
10   sample, such as cDNA, and combinations thereof. In one embodiment, the method is used to
     detect or selectively enrich RNA.
             The nucleic acid may also be characterized as target nucleic acid or non-target nucleic
     acid, wherein target nucleic comprises the target allele and non-target nucleic acid comprises the
     non-target allele. In one embodiment, the target nucleic acid comprises the paternal allele and the
15   non-target nucleic acid comprises the maternal allele. In certain embodiments, the nucleic acid is
     cell-free nucleic acid or partially cell-free nucleic acid. In certain embodiments, the target nucleic
     acid is apoptotic or partially apoptotic. In certain embodiments, the target nucleic acid is less than
     2000, 1200, 1100, 1000, 900,800,700,600,500,400,300,200,100, 80, 70, 60, 50, 40orless
     base pairs in length.
20           The methods may be used to detect target nucleic acid in a biological sample. Preferably,
     the biological sample is from an animal, preferably a human. In a related embodiment, the
     biological sample is selected from the group of whole blood, serum, plasma, umbilical cord blood,
     chorionic villi, amniotic fluid, cerbrospinal fluid, spinal fluid, lavage fluid, biopsy sample, urine,
     feces, sputum, saliva, nasal mucous, prostate fluid, semen, lymphatic fluid, bile, tears, sweat,
25   breast milk, breast fluid, embryonic cells and fetal cells, and mixture thereof. In one embodiment,
     the sample is from a crime scene (e.g., used for forensic analysis). In certain embodiments, the
     biological sample is obtained through non-invasive means, for example, a blood draw from a
     pregnant female. In another preferred embodiment, the biological sample is cell-free. In certain
     embodiments, the sample is a previously isolated sample of nucleic acids.
30           In one embodiment, the invention in part provides a method for detecting the presence or
     absence of fetal nucleic acid in a maternal sample, wherein the sample contains nucleic acid,
     which comprises: cleaving nucleic acid comprising a maternal allele with a restriction
     endonuclease that recognizes and cleaves the nucleic acid comprising the maternal allele but not
     the paternal allele; amplifying uncleaved nucleic acid but not cleaved nucleic acid; and analyzing
35   the amplification products from the previous step to determine the presence or absence of fetal

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     nucleic acid. In certain embodiments, the sample comprises a mixture of nucleic acids. For
     example, the mixture may comprise nucleic acid from different species or from different individuals.
     In one embodiment, the sample is from a pregnant female. Samples can be collected from human
     females at 1-4, 4-8, 8-12, 12-16, 16-20, 20-24, 24-28, 28-32, 32-36, 36-40, or 40-44 weeks of fetal
 5   gestation, and preferably between 5-28 weeks of fetal gestation. In certain embodiments, the
     methods may be used to detect the presence or absence of fetal Y-chromosome nucleic acid,
     thereby determining the sex of the fetus.
            In certain embodiments, the target nucleic acid comprises a paternal allele. In certain
     embodiments, the mother is homozygous at the polymorphic site and the fetus is heterozygous at
10   the polymorphic site. In the case when the mother is homozygous at the polymorphic site and the
     fetus is heterozygous at the polymorphic site, the polymorphic site is considered informative (see
     Figure 5A for examples of informative and non-informative cases). In a related embodiment, the
     maternal genotype is determined in conjunction with the methods provided herein. In a related
     embodiment, the mother is first genotyped (for example, using peripheral blood mononuclear cells
15   (PBMC) from a maternal whole blood sample) to determine the non-target allele that will be
     recognized and cleaved by the cleavage agent. When the method is used for forensic purposes,
     the victim may be first genotyped to determine the non-target allele that will be recognized and
     cleaved by the cleavage agent. Likewise, when used for organ transplant-related applications, the
     transplant recipient may be first genotyped to determine the non-target allele that will be
20   recognized and cleaved by the cleavage agent.
            In some embodiments, the sample contains nucleic acid from two different individuals.
     Such instances include, but are not limited to, organ transplant recipients, transfusion recipients,
     and forensic applications.
            In certain embodiments, the sample is from an individual suspected of suffering from a
25   disease, and the non-target allele is a wild-type allele that is selectively cleaved in order to enrich
     for a disease-related point mutation. In a related embodiment, the disease is cancer. The ras
     proto-oncogenes, K-ras, N-ras, and H-ras, and the p53 tumour suppressor gene are examples of
     genes which are frequently mutated in human cancers. Specific mutations in these genes leads to
     activation or increased transforming potential.
30          The invention in part provides methods useful for detecting rare alleles or low copy number
     alleles. In one embodiment, the target allele is undetectable by conventional or unmodified
     genotyping methods if the non-target allele is not selectively cleaved. In a related embodiment, the
     target allele is not detectable unless it is selectively enriched, for example, by the methods
     provided herein. In certain embodiments, the target allele concentration (e.g., allele concentration
35   in a sample) is less than 0.5%, 1%, 2%, 3%, 4%, 5%, 6%, 7%, 8%, 9%, 10% 20%, 25%, 30%

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     relative to the non-target allele concentration. In certain embodiments, the target nucleic acid
     number is less than 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 25, 30, 35, 40, 50, 55,
     60, 70, 80, 90, 100, 150, 200, 250, 300, 400, 500, 600, 700, 800, 900 or 1000. In certain
     embodiments, the target allele is a mutation, and the non-target allele is the wild-type allele. In a
 5   related embodiment, the target allele may be either a somatic or germline mutation. In certain
     embodiments, another allele or sequence identifier in the same amplicon as the polymorphic locus
     may be detected. For example, a sequence comprising a target allele may be selectively enriched
     using the methods provided herein, and another sequence identifier may be detected by any
     method known in the art.
10          In some embodiments, there are no other polymorphic loci within the amplicon that may be
     recognized by the cleavage agent.
            In certain embodiments, the method optionally comprises first isolating nucleic acid from the
     sample. DNA isolation from blood, plasma, or serum of the pregnant mother can be performed
     using any method known to one skilled in the art. Any standard DNA isolation technique can be
15   used to isolate the fetal DNA and the maternal DNA including, but not limited to, QIAamp DNA
     Blood Midi Kit supplied by QIAGEN. Other standard methods of DNA isolation are described, for
     example, in (Sambrook et al., Molecular Biology: A laboratory Approach, Cold Spring Harbor, N. Y.
     1989; Ausubel, et al., Current protocols in Molecular Biology, Greene Publishing, Y, 1995). A
     preferred method for isolation of plasma DNA is described in Chiu et al., 2001, Clin. Chem. 47:
20   1607-1613, which is herein incorporated by reference in its entirety. Other suitable methods are
     provided in Example 2 of PCT International Application Publication Number 2007/028155, filed on
     September 1, 2006.
            Methods described herein allow for the use of any cleavage agent capable of distinguishing
     between two different sequences, and cleaving within the amplicon sequence, thereby preventing
25   amplification of the cleaved sequence. The difference between the sequences may be the result of
     different alleles at one or more polymorphic sites within the sequence. In another example, the
     difference between the sequences may be the result of two homologous sequences, for example,
     between paralogous genes or between highly homologous genes such as the RhD gene, which
     encodes the D polypeptide, and the RHCE gene, which encodes the CcEe polypeptide. An
30   example of a cleavage agent is a restriction enzyme, also referred to as a restriction
     endonuclease. Multiple restriction endonucleases (available from various vendors) may be
     selected that correspond to appropriate sequence differences. In a preferred embodiment, the
     restriction enzyme is HpyCH4V. In another preferred embodiment restriction enzyme Tsp509I. In
     certain embodiments, a step is added to end the cleaving activity of the cleavage agent, for
35   example, by introducing a protease and/or high temperature prior to amplification.

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            The restriction endonuclease may be added prior to or during amplification. In one
     embodiment, the restriction endonuclease is added less than 5 minutes, 5 minutes, 10 minutes, 20
     minutes, 30 minutes, 40 minutes, 50 minutes, 60 minutes, 90 minutes or 120 or more minutes
     before amplification. Incubation time may be shortened if additional units of restriction enzyme are
 5   added to the reaction. Conversely, longer incubation times are often used to allow a reaction to
     proceed to completion with fewer units of enzyme. This is contingent on how long a particular
     enzyme can survive (maintain activity) in a reaction. Some enzymes survive for long periods (> 16
     hours) while others survive only an hour or less in a reaction. In certain embodiments, the
     restriction enzyme digests greater than 40%, 50%, 60%, 70%, 80%, 90%, 91%, 92%, 93%, 94%,
10   95%, 96%, 97%, 98% or 99% of the non-target nucleic acid. However, if digestion of non-target
     nucleic acid of less than 40% allows for useful enrichment of target nucleic acid, it is within the
     scope of the invention. In certain embodiments, the restriction enzyme digests substantially all of
     the non-target nucleic acid. In certain embodiments, when the restriction endonuclease is added
     during amplification, the restriction endonuclease is a thermostable restriction endonuclease which
15   retains activity during thermocycling. Examples of thermostable endonucleases include, but are
     not limited to, Bst NI, Bsl I, Tru 91 and Tsp 509 I. In certain embodiments, the cleavage agent is
     not thermostable (non-thermostable), especially when it is preferred that the digestion occurs prior
     to the amplification step. In a preferred embodiment, the cleavage agent is not thermostable and
     digestion of the non-target nucleic acid occurs prior to the amplification step. In certain
20   embodiments, a step is introduced to prevent or to reduce digestion during the amplification step.
             In one embodiment, the units of restriction enzyme added to the sample is 0.10, 0.25, 0.50,
     0.75, 1.0, 2.0 or more. Note that DNA substrates are digested at varying rates, therefore, the
     actual number of units required for a complete or substantially complete digestion may vary from
     assay to assay.
25           In certain embodiments, only one restriction endonuclease is used to digest one or more
     non-target alleles in a single reaction. For example, a multiplexed assay may be designed wherein
     a single restriction endonuclease performs multiple (e.g., greater than 5, 10, 15, 20, 25, 50, 100)
     digestions across the genome. In certain embodiments, more than one restriction endonuclease
     (e.g., greater than or equal to 2, 3, 4, 5, 6, 7, 8, 9, 10) is used to make multiple (e.g., greater than
30   5, 10, 15, 20, 25, 50, 100) digestions across the genome.
            Amplification may be performed after or during the cleavage of the non-target allele, and
     prior to the detection of the target allele. In a preferred embodiment, amplification is performed
     after cleavage of the non-target allele. Amplification can be performed by any method known in
     the art, including but not limited to polymerase chain reaction (PCR), ligase chain reaction,
35   transcription-based amplification, restriction amplification, or rolling circle amplification, using

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     primers that anneal to the selected fetal DNA regions. In the case that amplification requires
     thermocycling, cycling greater than 90° C may be performed such that the cleavage agent is
     inactivated. Oligonucleotide primers are selected such that they anneal to the sequence to be
     amplified. In one embodiment, primers are designed such that one or both primers of the primer
 5   pair contain sequence recognizable by one or more restriction endonucleases.
            Following amplification, the relative enrichment of the target allele in the sample allows
     accurate detection of allele frequencies using practically any method of nucleic acid detection
     known in the art. For example, any of the following methods may be used, including, but not
     limited to, primer extension or microsequencing methods, ligase sequence determination methods,
10   mismatch sequence determination methods, microarray sequence determination methods,
     restriction fragment length polymorphism (RFLP) procedures, PCR-based assays (e.g., TAQMAN®
     PCR System (Applied Biosystems)), nucleotide sequencing methods, hybridization methods,
     conventional dot blot analyses, single strand conformational polymorphism analysis (SSCP),
     denaturing gradient gel electrophoresis (DGGE), heteroduplex analysis, mismatch cleavage
15   detection, detection by mass spectrometry, real time-PCR and pyrosequencing.
            The methods may also be multiplexed at high levels in a single reaction. For example, one
     or more alleles can be detected simultaneously. Multiplexing embodiments are particularly
     important when the genotype at a polymorphic locus is not known. In some instances, for example
     when the mother is heterozygous at the polymorphic locus, the assay may not be informative. See
20   Figure 5A, which further describes the use of polymorphic variants to detect fetal nucleic acid from
     a maternal sample. In one embodiment, greater than 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15,
     16, 17, 18, 19, 20, 25, 30, 35, 40, 50, 60, 70, 80, 90, 100, 200, 300, 500 or more target alleles are
     assayed, wherein not every target allele is informative. In certain embodiments, the genotype at
     the polymorphic locus is known. In some embodiments, greater than 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,
25   12, 13, 14, 15, 16, 17, 18, 19, 20, 25, 30, 35, 40, 50 or more informative target alleles are assayed.
     The invention also in part includes combinations of different multiplex schemes provided herein.
            In certain embodiments, the invention in part provides a method for quantifying a target
     allele at a polymorphic locus in a sample, wherein the sample contains nucleic acid, that
     comprises: digesting nucleic acid containing a maternal allele at the polymorphic locus with an
30   enzyme, such as a restriction endonuclease, that selectively digests the maternal allele, wherein
     the selective digestion yields a DNA sample enriched for fetal DNA; determining the maternal or
     paternal allele frequency using polymorphic markers within the amplicon, and comparing the
     paternal or maternal allele frequency to a control DNA sample. In one embodiment, a difference in
     allele frequency is indicative of a chromosomal abnormality. In certain embodiments, the control
35   DNA sample is a competitor oligonucleotide that is introduced to the assay in known quantities.

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            In certain embodiments, the present invention in part provides a kit for detecting the
     presence or absence of target nucleic acid. One component of the kit is primers for amplifying the
     region of interest. Another component of the kit comprises probes for discriminating between the
     different alleles of each nucleic acid species.
 5
     BRIEF DESCRIPTION OF THE FIGURES
            Figure 1 is the HpyCH4V digest, which shows allele peak area ratios in a DNA mixture
     series. Peak area ratio is determined by dividing the calculated peak area of the SNP allele not
     recognized by HpyCH4V (i.e., target allele) by the total peak area of both SNP alleles present in
10   the mass spectrum.
            Figure 2 is the Nlalll digest, which shows allele peak area ratios in a DNA mixture series.
     Peak area ratio is determined by dividing the calculated peak area of the SNP allele not recognized
     by Nlalll (i.e., target allele) by the total peak area of both SNP alleles present in the mass
     spectrum.
15          Figure 3 is the HpyCH4V screenshots of 2% heterozygous DNA mixture. Note the
     appearance of the 'A' and 'T' alleles after HpyCH4V digestion of the DNA samples for rs4329520
     and rs4658481, respectively.
            Figure 4 is the Nlalll screenshots of 2% heterozygous DNA mixture. Note the appearance
     of the 'T' and 'A' alleles after Nlalll digestion of the DNA samples for rs2050927 and rs4329520,
20   respectively.
            Figure 5A shows the use of single nucleotide polymorphisms (SN P's) Fetal Identifiers to
     confirm the presence of fetal DNA by paternally-inherited alleles. Figure 5B shows representative
     mass spectra demonstrating the correlation between fetal DNA amounts estimated from AMG XY
     and from Fetal Identifier assays. The results were generated using the AMG primers provided in
25   Figure 9A-9C.
            Figure 6 depicts typical performance results for a qualified fetal identifier. Here the ability of
     the SNP assay to estimate the quantity of fetal DNA in the background of maternal DNA was
     verified for a total of 1700 copies and a total of 170 copies using genomic DNA mixtures. Note that
     the standard deviation of the estimate of fetal DNA increases due to the significant influence of the
30   sampling error at low copy numbers.
            Figure 7 shows the performance of multiplexed SNP assays (21 assays total) for detection
     of paternally-inherited alleles in a model system.
            Figures 8A-8C provide the location design of the AMG primers. The amplification primers
     are underlined once and the extend primers are underlined twice. In addition, competitor
35   sequences are provided. Competitor sequences may be used for quantitative methods. Figure 8C

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     includes a Results Table that shows the different masses generated by each of the AMG and SRY
     assays, which may be used to interpret the results from the assays.
            Figure 9 provides the location design of the albumin (ALB) primers. The amplification
     primers are highlighted and the extend primer is underlined twice. Where the PCR primers are
 5   provided alone, the sequence-specific portion of the primer is underlined, and the multiplex tag is
     not underlined. In addition, competitor sequences are provided. Competitor sequences may be
     used for quantitative methods


     DETAILED DESCRIPTION
10          It has been determined in the fields of biology and diagnostics that certain nucleic acids are
     present at very low concentrations in humans. In particular, fetal DNA has been found to exist in
     maternal plasma (Lo et al. Lancet. 1997 Aug 16;350(9076):485-7). This discovery has facilitated
     the development of non-invasive prenatal diagnostic approaches based simply on the analysis of a
     maternal blood sample (Lo et al. Am J Hum Genet. 1998 Apr;62(4):768-75). The non-invasive
15   nature of maternal plasma-based approaches represents a major advantage over conventional
     methods of prenatal diagnosis, such as amniocentesis and chorionic villus sampling, which are
     associated with a small but finite risk of fetal loss. However, a technical challenge experienced by
     many workers in the field relates to the ability to discriminate the relatively small amount of fetal
     DNA from the coexisting background of maternal DNA in maternal plasma. During pregnancy, fetal
20   DNA amounts to approximately 3-6% of the total DNA in maternal plasma. Hence, the diagnostic
     reliability of fetal DNA analysis in maternal plasma generally has depended on the accurate
     detection of fetal-specific markers.
            Methods described herein solve this problem by enriching, relatively, the amount of low
     copy number nucleic acid before detecting or quantifying the alleles present in the sample. In the
25   case of prenatal diagnostics, the use of restriction endonuclease enhanced polymorphic sequence
     detection allows for the selective, sensitive detection of fetal nucleic acid from maternal samples.
     The fetal DNA in the maternal plasma sample is selectively enriched before detecting the alleles
     present in the maternal sample. To enrich for fetal DNA present in plasma of the mother to allow
     accurate detection of fetal alleles present in the sample, the methods described herein allow for the
30   cleavage of maternal nucleic acid or nucleic acid of maternal origin. Thus, the maternal DNA can
     be substantially reduced, masked, or destroyed completely, and the sample is left with DNA
     enriched for DNA of fetal origin. The selective reduction of maternal DNA can be performed using
     one or more enzymes, such as restriction endonucleases, which selectively digest nucleic acids
     which comprise maternal alleles.
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     Definitions
            The term "sample" as used herein includes a specimen or culture (e.g., microbiological
     cultures) that includes nucleic acids. The term "sample" is also meant to include both biological
     and environmental samples. A sample may include a specimen of synthetic origin. Biological
 5   samples include whole blood, serum, plasma, umbilical cord blood, chorionic villi, amniotic fluid,
     cerbrospinal fluid, spinal fluid, lavage fluid (e.g., bronchoalveolar, gastric, peritoneal, ductal, ear,
     athroscopic), biopsy sample, urine, feces, sputum, saliva, nasal mucous, prostate fluid, semen,
     lymphatic fluid, bile, tears, sweat, breast milk, breast fluid, embryonic cells and fetal cells. The
     biological sample can be maternal blood, including maternal plasma or serum. In some
10   circumstances, the biological sample is acellular. In other circumstances, the biological sample
     does contain cellular elements or cellular remnants in maternal blood.
             In a preferred embodiment, the sample comprises a mixture of nucleic acids. For example,
     the mixture may comprise nucleic acid from different species or from different individuals. In one
     embodiment, the sample is from a pregnant female or a female suspected of being pregnant. In a
15   related embodiment, the sample is procured through non-invasive means (e.g., a blood draw). In
     certain embodiments the sample is from any animal, including but not limited, human, non-human,
     mammal, reptile, cattle, cat, dog, goat, swine, pig, monkey, ape, gorilla, bull, cow, bear, horse,
     sheep, poultry, mouse, rat, fish, dolphin, whale, and shark, or any animal or organism that may be
     tested for the presence of target nucleic acid.
20           In a preferred embodiment, the biological sample is blood, and more preferably plasma. As
     used herein, the term "blood" encompasses whole blood or any fractions of blood, such as serum
     and plasma as conventionally defined. Blood plasma refers to the fraction of whole blood resulting
     from centrifugation of blood treated with anticoagulants. Blood serum refers to the watery portion
     of fluid remaining after a blood sample has coagulated. Environmental samples include
25   environmental material such as surface matter, soil, water, crime scene samples, and industrial
     samples, as well as samples obtained from food and dairy processing instruments, apparatus,
     equipment, utensils, disposable and non-disposable items. These examples are not to be
     construed as limiting the sample types applicable to the present invention.
            The term "non-invasive" as used herein refers a method for collecting a sample that poses
30   minimal risk to an individual (e.g., the mother, fetus, victim, etc.). An example of a non-invasive
     method is a blood draw; whereas examples of invasive methods include amniocentesis and
     chorionic villus sampling, both of which constitute a finite risk to the fetus.
            The terms "target" or "target nucleic acid" as used herein are intended to mean any
     molecule whose presence is to be detected or measured or whose function, interactions or
35   properties are to be studied, wherein target nucleic comprises the target allele and non-target

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     nucleic acid comprises the non-target allele. Fetal nucleic acid may comprise both target nucleic
     acid and non-target nucleic when the fetus is heterozygous at a polymorphic locus. Other
     examples of target nucleic acid include, but are not limited to, trace nucleic acid, mutated nucleic
     acid, viral nucleic acid and transplant nucleic acid.
 5          The terms "nucleic acid" and "nucleic acid molecule" may be used interchangeably
     throughout the disclosure. The terms refer to oligonucleotides, oligos, polynucleotides,
     deoxyribonucleotide (DNA), genomic DNA, mitochondrial DNA (mtDNA), complementary DNA
     (cDNA), bacterial DNA, viral DNA, viral RNA, RNA, message RNA (mRNA), transfer RNA (tRNA),
     ribosomal RNA (rRNA), siRNA, catalytic RNA, clones, plasmids, M13, P1, cosmid, bacteria artificial
10   chromosome (BAC), yeast artificial chromosome (YAC), amplified nucleic acid, amplicon, PCR
     product and other types of amplified nucleic acid, RNNDNA hybrids and polyamide nucleic acids
     (PNAs), all of which can be in either single- or double-stranded form, and unless otherwise limited,
     would encompass known analogs of natural nucleotides that can function in a similar manner as
     naturally occurring nucleotides and combinations and/or mixtures thereof. Thus, the term
15   "nucleotides" refers to both naturally-occurring and modified/non-naturally-occurring nucleotides,
     including nucleoside tri, di, and monophosphates as well as monophosphate monomers present
     within polynucleic acid or oligonucleotide. A nucleotide may also be a ribo; 2'-deoxy; 2', 3'-deoxy
     as well as a vast array of other nucleotide mimics that are well-known in the art. Mimics include
     chain-terminating nucleotides, such as 3'-O-methyl, halogenated base or sugar substitutions;
20   alternative sugar structures including nonsugar, alkyl ring structures; alternative bases including
     inosine; deaza-modified; chi, and psi, linker-modified; mass label-modified; phosphodiester
     modifications or replacements including phosphorothioate, methylphosphonate, boranophosphate,
     amide, ester, ether; and a basic or complete internucleotide replacements, including cleavage
     linkages such a photocleavable nitrophenyl moieties.
25          In the case of RNA, the RNA may be placentally-expressed RNA in maternal plasma.
     Background maternal RNA may be selectively digested according to the methods provided herein.
     Also, the method may further comprise the additional step of discriminating the alleles of RNA
     which involves reverse transcriptase polymerase chain reaction (RT-PCR). In certain
     embodiments, the fetal RNA may be extracted from maternal body fluids, preferably whole blood,
30   and more preferably plasma or serum using e. g. RNA extraction methods such as, but not limited
     to, gelatin extraction method; silica, glass bead, or diatom extraction method; guanidinium
     thiocyanate acid- phenol based extraction methods; guanidinium thiocyanate acid based extraction
     methods; guanidine-hydrochloride based extraction methods; methods using centrifugation through
     cesium chloride or similar gradients; phenol-chloroform based extraction methods; and/or other
35   available RNA extraction methods, as are known in the art for use in extraction of intracellular

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     RNA, including commercially available RNA extraction methods, e. g. by using or adapting or
     modifying the methods of Boom et al. (1990, J. Clin. Microbial. 28: 495-503); Cheung et al. (1994,
     J. Clin. Microbial. 32: 2593-2597); Boom et al. (1991, J. Clin. Microbial. 29: 1804-1811 );
     Chomczynski and Sacchi (1987, Analytical Biochem. 162: 156-159); Chomczynski, (1993, Biotech.
 5   15: 532-537); Chomczynski and Mackey (1995, Biotechniques 19: 942-945); Chomczynski and
     Mackey (1995, Anal. Biochem. 225: 163-164); Chirgwin et al. (1979, Biochem. 18: 5294-5299);
     Fournie et al. (1986 Anal. Biochem. 158: 250-256); and W097/35589.
            The term "amplification reaction" refers to any in vitro means for multiplying the copies of
     nucleic acid.
10          "Amplifying" refers to a step of submitting a sample to conditions sufficient to allow for
     amplification. Components of an amplification reaction may include, but are not limited to, e.g.,
     primers, a polynucleotide template, polymerase, nucleotides, dNTPs and the like. The term
     "amplifying" typically refers to an "exponential" increase in target nucleic acid. However,
     "amplifying" as used herein can also refer to linear increases in the numbers of a select target
15   sequence of nucleic acid, but is different than a one-time, single primer extension step.
            "Polymerase chain reaction" or "PCR" refers to a method whereby a specific segment or
     subsequence of a target double-stranded DNA, is amplified in a geometric progression. PCR is
     well known to those of skill in the art; see, e.g., U.S. Pat. Nos. 4,683,195 and 4,683,202; and PCR
     Protocols: A Guide to Methods and Applications, Innis et al., eds, 1990.
20          "Oligonucleotide" as used herein refers to linear oligomers of natural or modified nucleosidic
     monomers linked by phosphodiester bonds or analogs thereof. Oligonucleotides include
     deoxyribonucleosides, ribonucleosides, anomeric forms thereof, peptide nucleic acids (PNAs), and
     the like, capable of specifically binding to a target nucleic acid. Usually monomers are linked by
     phosphodiester bonds or analogs thereof to form oligonucleotides ranging in size from a few
25   monomeric units, e.g., 3-4, to several tens of monomeric units, e.g., 40-60. Whenever an
     oligonucleotide is represented by a sequence of letters, such as "ATGCCTG," it will be understood
     that the nucleotides are in 5'-3' order from left to right and that "A" denotes deoxyadenosine, "C"
     denotes deoxycytidine, "G" denotes deoxyguanosine, "T" denotes deoxythymidine, and "U"
     denotes the ribonucleoside, uridine, unless otherwise noted. Oligonucleotides often comprise the
30   four natural deoxynucleotides; however, they may also comprise ribonucleosides or non-natural
     nucleotide analogs. Where an enzyme has specific oligonucleotide or polynucleotide substrate
     requirements for activity, e.g., single stranded DNA, RNA/DNA duplex, or the like, then selection of
     appropriate composition for the oligonucleotide or polynucleotide substrates is well within the
     knowledge of one of ordinary skill.



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            As used herein "oligonucleotide primer", or simply "primer", refers to a polynucleotide
     sequence that hybridizes to a sequence on a nucleic acid template and facilitates the amplification
     of the nucleic acid template, or otherwise plays a role in the detection of the nucleic acid molecule.
     In amplification embodiments, an oligonucleotide primer serves as a point of initiation of nucleic
 5   acid synthesis. Primers can be of a variety of lengths and are often less than 50 nucleotides in
     length, for example 12-25 nucleotides, in length. The length and sequences of primers for use in
     PCR can be designed based on principles known to those of skill in the art.
            The term "template" refers to any nucleic acid molecule that can be used for amplification in
     the methods described herein. RNA or DNA that is not naturally double stranded can be made into
10   double stranded DNA so as to be used as template DNA. Any double stranded DNA or preparation
     containing multiple, different double stranded DNA molecules can be used as template DNA to
     amplify a locus or loci of interest contained in the template DNA.
            The term "amplicon" as used herein refers to amplified DNA that has been "copied" once or
     multiple times, e.g. by polymerase chain reaction. The amplicon sequence falls between the
15   amplification primers.
            The term "polymorphic locus" as used herein refers to a nucleic acid region that comprises
     a polymorphism. The nucleic acid region may be 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 20,
     25, 30, 35, 40, 50, 60, 70, 80, 90, 100, 200, 300, 400, 500 or more nucleotides in length.
            The term "polymorphism" as used herein refers to an allelic variant. Polymorphisms can
20   include single nucleotide polymorphisms (SNP's) as well as simple sequence length
     polymorphisms. A polymorphism can be due to one or more nucleotide substitutions at one allele
     in comparison to another allele or can be due to an insertion or deletion, duplication, inversion and
     other alterations known to the art. Other polymorphisms include, but are not limited to, restriction
     fragment length polymorphisms (RFLPs), insertions/deletions, short tandem repeats, such as di-,
25   tri-or tetra-nucleotide repeats (STRs), and the like. As used herein, polymorphism may include
     epigenetic variants, as long as cleavage by non-epigenetic-specific cleavage agents is used.
            The term "allele" as used herein is one of several alternate forms of a gene or non-coding
     regions of DNA that occupy the same position on a chromosome. The term allele can be used to
     describe DNA from any organism including but not limited to bacteria, viruses, fungi, protozoa,
30   molds, yeasts, plants, humans, non-humans, animals, and archeabacteria.
            Alleles can have the identical sequence or can vary by a single nucleotide or more than one
     nucleotide. With regard to organisms that have two copies of each chromosome, if both
     chromosomes have the same allele, the condition is referred to as homozygous. If the alleles at the
     two chromosomes are different, the condition is referred to as heterozygous. For example, if the
35   locus of interest is SNP X on chromosome 1, and the maternal chromosome contains an adenine

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     at SNP X (A allele) and the paternal chromosome contains a guanine at SNP X (G allele), the
     individual is heterozygous A/G at SNP X.
            As used herein, the term "mutant alleles" may refer to variant alleles that are associated
     with a disease state, e.g., cancer.
 5          The term "sequence identifier" as used herein refers to any sequence difference that exists
     between two sequences that can be used to differentiate the sequences. In one embodiment, the
     sequence identifier does not include methylation differences.
            As used herein, the term "genotype" refers to the identity of the alleles or non-homologous
     variants present in an individual or sample. The term "genotyping a sample" or "genotyping an
10   individual" refers to determining a specific allele or specific nucleotide(s) or polymorphism(s) in a
     sample or carried by an individual at particular region(s).
            The term "selectively" as used herein is not intended to suggest an absolute event, but
     instead a preferential event. For example, "selectively cleaved" is used to indicate one sequence
     (for example, the non-target sequence) is preferentially cleaved or digested over another sequence
15   (for example, the target sequence). However, some of the target sequence may also be cleaved
     due to a lack of specificity with the cleavage agent or other variables introduced during the
     cleavage process.
            The term "cleavage agent" as used herein refers to any means that is capable of
     differentially cleaving two or more sequences based on a sequence difference that exists between
20   the two or more sequences. The cleavage agent may be an enzyme. The cleavage agent may be
     natural, synthetic, unmodified or modified. In a preferred embodiment, the cleavage agent is a
     restriction endonuclease. Restriction endonucleases, alternatively called restriction enzymes, are
     a class of bacterial enzymes that cut or digest DNA at specific sites. Type I restriction
     endonucleases occur as a complex with the methylase and a polypeptide that binds to the
25   recognition site on DNA. They are often not very specific and cut at a remote site. Type II
     restriction endonucleases are the classic experimental tools. They have very specific recognition
     and cutting sites. The recognition sites are short, 4-8 nucleotides, and are usually palindromic
     sequences. Because both strands have the same sequence running in opposite directions the
     enzymes make double-stranded breaks, which, if the site of cleavage is off-center, generates
30   fragments with short single-stranded tails; these can hybridize to the tails of other fragments and
     are called sticky ends. They are generally named according to the bacterium from which they were
     isolated (first letter of genus name and the first two letters of the specific name). The bacterial
     strain is identified next and multiple enzymes are given Roman numerals. For example the two
     enzymes isolated from the R strain of E.coli are designated Eco RI and Eco RII. In a preferred



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     embodiment, the restriction enzyme is a type II restriction endonuclease. In another preferred
     embodiment, the restriction enzyme is non-thermostable.
             The term "chromosomal abnormality" as used herein refers to a deviation between the
     structure of the subject chromosome and a normal homologous chromosome. The term "normal"
 5   refers to the predominate karyotype or banding pattern found in healthy individuals of a particular
     species. A chromosomal abnormality can be numerical or structural, and includes but is not limited
     to aneuploidy, polyploidy, inversion, a trisomy, a monosomy, duplication, deletion, deletion of a part
     of a chromosome, addition, addition of a part of chromosome, insertion, a fragment of a
     chromosome, a region of a chromosome, chromosomal rearrangement, and translocation. A
10   chromosomal abnormality can be correlated with presence of a pathological condition or with a
     predisposition to develop a pathological condition.


     Uses and advantages associated with the methods described herein
             The invention in part provides nucleic acid-based assays that are particularly useful for non-
15   invasive prenatal testing. The methods provided herein may be used, inter alia, to determine the
     presence of fetal nucleic acid in a sample, to determine the amount of fetal nucleic acid in a
     sample, to determine the sex of a fetus, and to enrich for a target nucleic acid sequence. The
     invention in part may be combined with other prenatal methods, such as those described in US
     Application No. 12/027,954, filed February 7, 2008,; PCT Application No. PCT/US07/69991, filed
20   May 30, 2007; PCT Application No. PCT/US07/071232, filed June 15, 2007; US Provisional
     Application No. 61/033,343, filed March 3, 2008; US Provisional Application No. 61/035, 711, filed
     March 11, 2008; or any of the prenatal diagnostic (both invasive and non-invasive) methods
     disclosed in US Provisional Application No. 60/944,331, filed June 15, 2007, all of which are
     hereby incorporated by reference.
25           The invention in part may be used to more accurately detect fetal DNA using high
     frequency polymorphisms that match the criteria provided herein. These polymorphisms are
     alternatively called fetal identifiers. The criteria includes one or more of the following:
     1)      One allele of the SNP is recognized by the cleavage agent;
     2)      The alternate SNP allele is not recognized by the same cleavage agent;
30   3)      No other sites for the cleavage are found+/- 50 base pair of the SNP within the PCR
     amplicon; and
     4)      (Optionally) The minor allele frequency is greater than 0.4 (preferably across a range of
     populations).
             Examples of fetal identifiers are set forth in Tables 6, 9, 10 and 11. In one embodiment, the
35   method of detecting the presence or absence of fetal nucleic acid in a sample comprises obtaining

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     or possessing a nucleic acid sample known to be of maternal origin and suspected of comprising
     fetal nucleic acid; analyzing the nucleic acid sample to determine the maternal genotype at one or
     more nucleotide polymorphisms selected from the group consisting of the polymorphisms set forth
     in Tables 6, 9, 10 and 11; and analyzing the nucleic acid sample to determine the fetal genotype of
 5   one or more nucleotide polymorphisms selected from the group consisting of the polymorphisms
     set forth in Tables 6, 9, 10 and 11, wherein a fetal genotype possessing a paternally-inherited
     allele indicates the presence of fetal nucleic acid, further wherein nucleic acid comprising a
     maternal allele is digested using the methods provided herein. In a preferred embodiment, one or
     more of the polymorphisms set forth in Table 6 or 11 are used in conjunction with the methods
10   provided herein. In a related embodiment, the maternal genotypes are first determined from DNA
     that is substantially free of fetal nucleic acid. For example, in the case when the sample is blood,
     the maternal genotypes may be determined from the portion of the blood that comprises nucleated
     maternal cells (e.g., white blood cells). In one embodiment, the DNA that is substantially free of
     fetal nucleic acid is from peripheral blood mononuclear cells. In certain embodiments, the amount
15   of fetal DNA is determined by comparing the relative amount of paternally-inherited alleles to an
     internal control (e.g., competitor oligonucleotide).
            In Tables 6, 9, 10 and 11, each primer of the amplification primer pair may comprise the
     entire sequence shown or only the non-underlined sequence, wherein the underlined portion of the
     primer is a tag sequence (ACGTTGGATG) for improved multiplexing and the non-underlined
20   portion is a sequence-specific primer sequence. The tag sequence may be any tag sequence
     known in the art that improves multiplexing. In certain embodiments, the invention in part includes
     primers that are substantially similar to the primers provided herein, for example, about 90% or
     more similar, and further wherein the primers are still specific for a given nucleic acid region. For
     example, one or more bases of a primer sequence may be changed or substituted, for example
25   with an inosine, but the primer still maintains the same specificity and plexing ability. Bases
     indicated by uppercase text are complementary to the nucleic acid sequence to which the primer
     hybridizes, and bases indicated by lowercase text are not complementary to the nucleic acid
     sequence to which the primer hybridizes. Bases indicated in lower case text can be selected to
     shift or adjust the mass of primers and amplification products.
30          In particular embodiments, a sequence tag is attached to a plurality of primary and
     secondary primer pairs provided in Tables 6, 9, 10 and 11. The sequence tag can be attached to
     either one or both of the primary and secondary primers from each pair. Typically, the sequence
     tag is attached to the primary and secondary primer of each pair. The sequence tags used herein
     can range from 5 up to 20, from 5 up to 30, from 5 up to 40, or from 5 up to 50 nucleotides in
35   length, with a sequence tag of 10-mer length being particularly useful in the methods provided

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     herein. The sequence tag need not be the same sequence for each primer pair in the multiplexed
     amplification reaction, nor the same sequence for a primary and secondary primer within a
     particular amplification pair. In a particular embodiment, the sequence tag is the same for each
     primer in the multiplexed amplification reaction.    For example, in certain embodiments, the
 5   sequence tag is a 10-mer, such as -ACGTTGGATG-, and is attached to the 5' end of each primary
     and secondary primer. In particular embodiments of the methods provided herein, only a single
     primer pair is used to amplify each particular nucleic acid target-region.
             In certain embodiments, methods described herein may be used to improve the detection
     the Y-chromosome in a maternal sample, which may be used to determine the sex of a fetus. The
10   presence or absence of the Y-chromosome in a maternal sample may be determined by
     performing the SRY assay described in Example 3. The SRY assay is a highly sensitive
     quantitative internal standard assay that detects trace amounts of the Y-chromosome. In certain
     embodiments, other polymorphisms located on the Y-chromosome may be assayed according to
     the methods provided herein.
15          The presence or absence of the Y-chromosome in a maternal sample may also be
     determined by performing the AMG assay provided herein. The presence or absence of a target
     nucleic acid may be determined in combination with other assays, such as an RhD assay, blood
     type assay or sex test assay. The methods may also be used for other applications, including but
     not limited to, paternity testing, forensics or quality control assays.
20           In addition to prenatal applications, the methods find utility in a range of applications,
     including, but not limited to, detecting rare cancer mutations, detecting transplant rejection and
     forensics.
             In certain embodiments, the total copy number of nucleic acid molecules for the human
     serum albumin (ALB) gene is determined. Methods for determining the total copy number of
25   nucleic acid present in a sample comprise detecting albumin-specific extension products and
     comparing the relative amount of the extension products to competitors introduced to the sample.
     In a related embodiment, the invention in part provides compositions and methods to determine the
     relative amount of fetal DNA in a sample (e.g., when the sample is plasma from a pregnant woman
     carrying a male fetus), which comprises annealing one or more albumin gene sequences to the
30   fetal DNA, the primers provided in Figure 9; performing a primer extension reaction; and analyzing
     the primer extension products to determine the relative amount of ALB extension products, wherein
     maternal albumin nucleic acid has been reduced using the methods provided herein. In a related
     embodiment, the fetal ALB amplicon is first amplified using the amplification primers provided in
     Figure 9. The assay is useful to measure how much nucleic acid (e.g., total copy number) is
35   present in a sample or loaded into a particular reaction. The assay may serve as an internal

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     control and a guide to the likelihood of success for a particular PCR reaction. For example, if only
     400 copies of ALB are measured then the probability of detecting any fetal DNA may be
     considered low. In certain embodiments, the competitors provided in Figure 9 are introduced as an
     internal standard to determine copy number. In one embodiment, 200, 300, 400, 500, 600, 700,
 5   800 or more competitor molecules are introduced to the assay.
               Methods described herein provide a number of advantageous. The methods allow a high
     sensitivity to detect polymorphic alleles (e.g., fetal identifiers) present at low relative percentages in
     a DNA mixture and present at low copy number. The methods may also be incorporated into
     multiplexed assays in a single reaction. The methods are readily implemented, and only add a
10   single additional step to the many current detection methods.


     Nucleases
               Cleavage methods and procedures for selecting restriction enzymes for cutting nucleic acid
     at specific sites are well known to the skilled artisan. For example, many suppliers of restriction
15   enzymes provide information on conditions and types of DNA sequences cut by specific restriction
     enzymes, including New England Biolabs, Pro-Mega Biochems, Boehringer-Mannheim, and the
     like.
               The preparation of nucleic acid to be cleaved should be free of contaminants such as
     phenol, chloroform, alcohol, EDTA, detergents, or excessive salts, all of which can interfere with
20   restriction enzyme activity.
               Embodiments of the invention can be assembled from multiple restriction endonucleases
     (available from various vendors) that are chosen to correspond to appropriate polymorphic alleles,
     as long as the restriction endonuclease selects for one polymorphic allele over another and
     performs a digestion within the amplicon sequence such that it prevents a subsequent amplification
25   event. In one embodiment, the amplicon is chosen such that it contains a variable nuclease
     restriction site and sequence identifier, which may or may not be the same as the restriction site.
     Also, the restriction enzyme need not cleave at the polymorphic site, for example, at the variable
     nucleotide of a SNP.
               Restriction enzymes are traditionally classified into three types on the basis of subunit
30   composition, cleavage position, sequence-specificity and cofactor-requirements. However, amino
     acid sequencing has uncovered extraordinary variety among restriction enzymes and revealed that
     at the molecular level there are many more than three different kinds.
               Type I enzymes are complex, multisubunit, combination restriction-and-modification
     enzymes that cut DNA at random far from their recognition sequences. Originally thought to be
35   rare, we now know from the analysis of sequenced genomes that they are common. Type I

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     enzymes are of considerable biochemical interest but they have little practical value since they do
     not produce discrete restriction fragments or distinct gel-banding patterns.
            Type II enzymes cut DNA at defined positions close to or within their recognition
     sequences. They produce discrete restriction fragments and distinct gel banding patterns, and they
 5   are the only class used in the laboratory for DNA analysis and gene cloning. Type II enzymes
     frequently differ so utterly in amino acid sequence from one another, and indeed from every other
     known protein, that they likely arose independently in the course of evolution rather than diverging
     from common ancestors.
            The most common type II enzymes are those like Hhal, Hindlll and Notl that cleave DNA
10   within their recognition sequences. Enzymes of this kind are the principle ones available
     commercially. Most recognize DNA sequences that are symmetric because they bind to DNA as
     homodimers, but a few, (e.g., BbvCI: CCTCAGC) recognize asymmetric DNA sequences because
     they bind as heterodimers. Some enzymes recognize continuous sequences (e.g., EcoRI:
     GAATTC) in which the two half-sites of the recognition sequence are adjacent, while others
15   recognize discontinuous sequences (e.g., Bgll: GCCNNNNNGGC) in which the half-sites are
     separated. Cleavage leaves a 3 '-hydroxyl on one side of each cut and a 5 '-phosphate on the
     other. They require only magnesium for activity and the corresponding modification enzymes
     require only S-adenosylmethionine. They tend to be small, with subunits in the 200-350 amino
     acid range.
20          The next most common type II enzymes, usually referred to as 'type lls" are those like Fokl
     and Alwl that cleave outside of their recognition sequence to one side. These enzymes are
     intermediate in size, 400-650 amino acids in length, and they recognize sequences that are
     continuous and asymmetric. They comprise two distinct domains, one for DNA binding, the other
     for DNA cleavage. They are thought to bind to DNA as monomers for the most part, but to cleave
25   DNA cooperatively, through dimerization of the cleavage domains of adjacent enzyme molecules.
     For this reason, some type lls enzymes are much more active on DNA molecules that contain
     multiple recognition sites. A wide variety of Type IIS restriction enzymes are known and such
     enzymes have been isolated from bacteria, phage, archeabacteria and viruses of eukaryotic algae
     and are commercially available (Promega, Madison Wis.; New England Biolabs, Beverly, Mass.).
30   Examples of Type IIS restriction enzymes that may be used with the methods described herein
     include, but are not limited to enzymes such as those listed in Table IA.




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     TABLE 1A
     Enzyme-Source                         Recognition/Cleavage      Supplier
                                           Site
     Alw I - Acinetobacter lwoffii         GGATC(4/5)                NE Biolabs
     Alw26 I - Acinetobacter lwoffi        GTCTC(1/5)                Promega
     Bbs I - Bacillus laterosporus         GAAGAC(2/6)               NE Biolabs
     Bbv I - Bacillus brevis               GCAGC(8/12)               NE Biolabs
     BceA I - Bacillus cereus 1315         IACGGC(12/14)             NE Biolabs
     Bmr I - Bacillus megaterium           CTGGG(5/4)                NE Biolabs
     Bsa I - Bacillus stearothermophilus   GGTCTC(1/5)               NE Biolabs
     6-55
     Bst71 I - Bacillus                    GCAGC(8/12)               Promega
     stearothermophilus 71
     BsmA I - Bacillus                     GTCTC(1/5)                NE Biolabs
     stearothermophilus A664
     BsmB I - Bacillus                     CGTCTC(1/5)               NE Biolabs
     stearothermophilus B61
     BsmF I - Bacillus                     GGGAC(10/14)              NE Biolabs
     stearothermophilus F
     BspM I - Bacillus species M           ACCTGC(4/8)               NE Biolabs
     Ear I - Enterobacter aerogenes        CTCTTC(1/4)               NE Biolabs
     Fau I - Flavobacterium aquatile       CCCGC(4/6)                NE Biolabs
     Fok I - Flavobacterium                GGATG(9/13)               NE Biolabs
     okeonokoites
     Hga I - Haemophilus gallinarum        GACGC(5/10)               NE Biolabs
     Pie I - Pseudomonas lemoignei         GAGTC(4/5)                NE Biolabs
     Sap I - Saccharopolyspora species     GCTCTTC(1/4)              NE Biolabs
     SfaN I - Streptococcus faecalis       GCATC(5/9)                NE Biolabs
     ND547
     Sth 132 I - Streptococcus             CCCG(4/8)                 No commercial supplier
     thermophilus ST132                                              (Gene 195: 201-206
                                                                     (1997))

            The third major kind of type II enzyme, more properly referred to as "type IV" are large,
     combination restriction-and-modification enzymes, 850-1250 amino acids in length, in which the
 5   two enzymatic activities reside in the same protein chain. These enzymes cleave outside of their
     recognition sequences; those that recognize continuous sequences (e.g., Eco57I: CTGAAG)
     cleave on just one side; those that recognize discontinuous sequences (e.g., Bcgl:
     CGANNNNNNTGC) cleave on both sides releasing a small fragment containing the recognition
     sequence. The amino acid sequences of these enzymes are varied but their organization are
10   consistent. They comprise an N-terminal DNA-cleavage domain joined to a DNA-modification
     domain and one or two DNA sequence-specificity domains forming the C-terminus, or present as a
     separate subunit. When these enzymes bind to their substrates, they switch into either restriction
     mode to cleave the DNA, or modification mode to methylate it.



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            As discussed above, the length of restriction recognition sites varies. For example, the
     enzymes EcoRI, Sacl and Sstl each recognize a 6 base-pair (bp) sequence of DNA, whereas Notl
     recognizes a sequence 8 bp in length, and the recognition site for Sau3AI is only 4 bp in length.
     Length of the recognition sequence dictates how frequently the enzyme will cut in a random
 5   sequence of DNA. Enzymes with a 6 bp recognition site will cut, on average, every 4 6 or 4096 bp;
     a 4 bp recognition site will occur roughly every 256 bp.
            Different restriction enzymes can have the same recognition site - such enzymes are called
     isoschizomers. Table IB shows that the recognition sites for Sacl and Sstl are identical. In some
     cases isoschizomers cut identically within their recognition site, but sometimes they do not.
10   lsoschizomers often have different optimum reaction conditions, stabilities and costs, which may
     influence the decision of which to use. Table IB is provided only to show exemplary restriction
     enzymes, and does not limit the scope of the invention in any way.
                                                   TABLEIB
                                                   Recognition
                                      Enzvme       Seauence
                                                   GGATCC
                                      BamH I
                                                   CCTAGG
                                                   GCGGCCGC
                                      Notl
                                                   CGCCGGCG
                                                   GATC
                                      Sau3A I
                                                   CTAG
                                                   GAGCTC
                                      Sac I
                                                   CTCGAG
                                                   GAGCTC
                                      Sst I
                                                   CTCGAG
                                                   GANTC
                                      Hinf I
                                                   CTNAG
                                                   PuGATCPy
                                      Xho II
                                                   PyCTAGPu


15          Restriction recognitions sites can be unambiguous or ambiguous. The enzyme BamHI
     recognizes the sequence GGATCC and no others; therefore it is considered "unambiguous." In
     contrast, Hinfl recognizes a 5 bp sequence starting with GA, ending in TC, and having any base
     between (in Table IB, "N" stands for any nucleotide). Hinfl has an ambiguous recognition site.
     Xholl also has an ambiguous recognition site: Py stands for pyrimidine (Tor C) and Pu for purine
20   (A or G), so Xholl will recognize and cut sequences of AGATCT, AGATCC, GGATCT and
     GGATCC.
            The recognition site for one enzyme may contain the restriction site for another. For
     example, note that a BamHI recognition site contains the recognition site for Sau3AI.


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     Consequently, all BamHI sites will cut with Sau3AI. Similarly, one of the four possible Xholl sites
     will also be a recognition site for BamHI and all four will cut with Sau3AI.
            Also from Table IB, most recognition sequences are palindromes - they read the same
     forward (5' to 3' on the top strand) and backward (5' to 3' on the bottom strand). Most, but certainly
 5   not all recognition sites for commonly-used restriction enzymes are palindromes. Most restriction
     enzymes bind to their recognition site as dimers (pairs).


     Nucleic acid detection
            Whether detecting sequence differences, detecting amplification products or primer
10   extension products, any detection or discrimination method known in the art may be utilized.
     These methods include, but are not limited to, primer extension reactions, mass spectrometry,
     hybridization using at least one probe, hybridization using at least one fluorescently labeled probe,
     direct sequencing, cloning and sequencing, and electrophoresis. Polymorphism detection methods
     known in the art may also include, for example, microsequencing methods, ligase sequence
15   determination methods (e.g., U.S. Pat. Nos. 5,679,524 and 5,952,174, and WO 01/27326), digital
     PCR (U.S. Pat. No. 6,143,496), mismatch sequence determination methods (e.g., U.S. Pat. Nos.
     5,851,770; 5,958,692; 6,110,684; and 6,183,958), microarray sequence determination methods,
     restriction fragment length polymorphism (RFLP) procedures, PCR-based assays (e.g., TAQMAN®
     PCR System (Applied Biosystems)), nucleotide sequencing methods, hybridization methods,
20   conventional dot blot analyses, single strand conformational polymorphism analysis (SSCP, e.g.,
     U.S. Patent Nos. 5,891,625 and 6,013,499; Orita et al., Proc. Natl. Acad. Sci. US.A 86: 27776-
     2770 (1989)), denaturing gradient gel electrophoresis (DGGE), heteroduplex analysis, mismatch
     cleavage detection, and techniques described in Sheffield et al., Proc. Natl. Acad. Sci. USA 49:
     699-706 (1991), White et al., Genomics 12: 301-306 (1992), Grompe et al., Proc. Natl. Acad. Sci.
25   USA 86: 5855-5892 (1989), and Grompe, Nature Genetics 5: 111-117 (1993), detection by mass
     spectrometry (e.g., US 20050079521, which is hereby incorporated by reference), real time-PCR
     (e.g., US Patent Nos. US 5,210,015, US 5,487,972, both of which are hereby incorporated by
     reference), or hybridization with a suitable nucleic acid primer specific for the sequence to be
     detected. Suitable nucleic acid primers can be provided in a format such as a gene chip.
30          Primer extension polymorphism detection methods, also referred to herein as
     "microsequencing" methods, typically are carried out by hybridizing a complementary
     oligonucleotide to a nucleic acid carrying the polymorphic site. In these methods, the
     oligonucleotide typically hybridizes adjacent to the polymorphic site. As used herein, the term
     "adjacent" refers to the 3' end of the extension oligonucleotide being sometimes 1 nucleotide from
35   the 5' end of the polymorphic site, often 2 or 3, and at times 4, 5, 6, 7, 8, 9, or 10 nucleotides from

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     the 5' end of the polymorphic site, in the nucleic acid when the extension oligonucleotide is
     hybridized to the nucleic acid. The extension oligonucleotide then is extended by one or more
     nucleotides, often 1, 2, or 3 nucleotides, and the number and/or type of nucleotides that are added
     to the extension oligonucleotide determine which polymorphic variant or variants are present.
 5   Oligonucleotide extension methods are disclosed, for example, in U.S. Patent Nos. 4,656,127;
     4,851,331; 5,679,524; 5,834,189; 5,876,934; 5,908,755; 5,912,118; 5,976,802; 5,981,186;
     6,004,744; 6,013,431; 6,017,702; 6,046,005; 6,087,095; 6,210,891; and WO 01/20039. The
     extension products can be detected in any manner, such as by fluorescence methods (see, e.g.,
     Chen & Kwok, Nucleic Acids Research 25: 347-353 (1997) and Chen et al., Proc. Natl. Acad. Sci.
10   USA 94/20: 10756-10761 (1997)) and by mass spectrometric methods (e.g., MALDI-TOF mass
     spectrometry). Oligonucleotide extension methods using mass spectrometry are described, for
     example, in U.S. Patent Nos. 5,547,835; 5,605,798; 5,691,141; 5,849,542; 5,869,242; 5,928,906;
     6,043,031; 6,194,144; and 6,258,538.
            Microsequencing detection methods often incorporate an amplification process that
15   proceeds the extension step. The amplification process typically amplifies a region from a nucleic
     acid sample that comprises the polymorphic site. Amplification can be carried out by utilizing a pair
     of oligonucleotide primers in a polymerase chain reaction (PCR), in which one oligonucleotide
     primer typically is complementary to a region 3' of the polymorphism and the other typically is
     complementary to a region 5' of the polymorphism. A PCR primer pair may be used in methods
20   disclosed in U.S. Patent Nos. 4,683,195; 4,683,202, 4,965,188; 5,656,493; 5,998,143; 6,140,054;
     WO 01/27327; and WO 01/27329 for example. PCR primer pairs may also be used in any
     commercially available machines that perform PCR, such as any of the GENEAMP® Systems
     available from Applied Biosystems.
            A microarray can be utilized for determining whether a polymorphic variant is present or
25   absent in a nucleic acid sample. A microarray may include any oligonucleotides described herein,
     and methods for making and using oligonucleotide microarrays suitable for prognostic use are
     disclosed in U.S. Pat. Nos. 5,492,806; 5,525,464; 5,589,330; 5,695,940; 5,849,483; 6,018,041;
     6,045,996; 6,136,541; 6,142,681; 6,156,501; 6,197,506; 6,223,127; 6,225,625; 6,229,911;
     6,239,273; WO 00/52625; WO 01/25485; and WO 01/29259. The microarray typically comprises a
30   solid support and the oligonucleotides may be linked to this solid support by covalent bonds or by
     non-covalent interactions. The oligonucleotides may also be linked to the solid support directly or
     by a spacer molecule. A microarray may comprise one or more oligonucleotides complementary to
     a polymorphic site within a nucleotide sequence.


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     EXAMPLES
             The following examples are provided to further describe embodiments of the invention and
     are not limiting.


 5
     Example 1: Restriction Endonuclease Enhanced Polymorphic Sequence Detection Using
     Hpych4v And Nlaiii


             The effectiveness of restriction endonuclease enhanced polymorphic sequence detection
10   was demonstrated using several restriction endonucleases (REs), including HpyCH4V and Nlalll
     (purchased from New England BioLabs, Inc). Both of these enzymes were separately tested in
     multiplexed genotyping reactions for their ability to specifically cleave one allele of a given
     polymorphism while allowing PCR amplification of the remaining allele of the polymorphism. See
     Table 2 for the polymorphisms tested with each enzyme.
15           Two CEPH DNA samples were mixed in varying ratios to generate DNA samples
     composed of 0%, 2%, 5%, 20%, 50% and 100% DNA heterozygous for both alleles of the SNP,
     with the remaining DNA being homozygous for the allele recognized by the RE. Table 3 shows
     DNA samples used in these studies and corresponding genotype information. Mixtures composed
     of NA05995 and NA10849 were used for experiments with HpyCH4V enzyme, and mixtures
20   composed of NA10862 and NA10846 were used for experiments with Nlalll enzyme.


                                  TABLE 2: Restriction enzymes recognizing SNPs
             Restriction Enzyme          Polymorphism         SNPAlleles         Allele Digested by RE
                                          rs10430091              NT
                     Nlalll                rs2050927              NT                       A
               Nlalll , HpyCH4V            rs4329520              NT                      T, T"
                                           rs4657868              NT
                   HpyCH4V                 rs4658481              NT                       A
                                           rs6693568              NT
                                           rs860954               NT
                                           rs9431593              NT
     * Both enzymes, Nlalll and HpyCH4V, digest the T allele.




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                                   TABLE 3: DNA samples used and genotypes
                                                                             SNP genotypes
                  Restriction Enzyme        DNA*           rs2050927              rs4329520         rs4658481
                                           NA05995                                    TA               TA
                      HpyCH4V
                                           NA10849                                    T                A
                                           NA10862                  AT                TA
                        Nlalll
                                           NA10846                   A                T
     * DNA samples were obtained from Coriell CEPH DNA collection

                             TABLE 4: DNA mixtures (Listed as ng DNA per reaction)
                                           Relative percentage unrecognized SNP allele
                                   0%          2%             5%            20%            50%         100%
                    NA05995         0          0.6            0.6            0.6            0.6         0.6
      HpyCH4V
                    NA10849        0.6       29.4          11.4              2.4            0.6         0
                    NA10862         0          0.6            0.6            0.6            0.6         0.6
        Nlalll
                    NA10846        0.6       29.4             11.4           2.4            0.6         0
 5   NOTE: Based on 3 pg DNA for haploid human genomic equivalent, 0.6 ng DNA is equal to 200
     copies of genomic target DNA in the mixtures.

            After preparation of the sample DNA mixtures, PCR cocktail was prepared according to
     Table 5 below (using multiplexed PCR primers as shown in Table 6) to either include no restriction
10   endonuclease or 0.25U of restriction endonuclease per each sample reaction. PCR cocktail was
     aliquoted to a 96-well plate to include 7 replicates of each DNA mixture for each enzyme condition.
     After addition of DNA to the PCR cocktail mixtures, samples were incubated at 37°C for 1 hour to
     allow enzyme digestion of DNA samples and then immediately thermal cycled using standard
     conditions (Table 7).
15
                   TABLE 5: PCR cocktail preparation for each multiplex without DNA addition
                                                                          No RE           HpyCH4V           Nlalll
          Reagents                                   Final Cone          N = 1 (ul)       N = 1 (ul)    N = 1 (ul)
          Water                                         n/a                  3              2.95            2.975
          10xPCR Buffer (HotStar Taq Buffer)           1.25x               3.125            3.125           3.125
          MgCb (25mM)                                1.625mM               1.625            1.625           1.625
          PCR Nucleotide Mix (for UNG use)
                                                      0.2mM                 0.5              0.5              0.5
          (10mM dATP, dCTP, dGTP, dUTP)
          F/R Primer mix (0.5uM)                      0.1 µM                 5                5               5



                                                          25




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     5U/ul HpyCH4V or 10U/ul Nlalll          0.25U/rxn         --        0.05       0.025
     1U/µI Uracil-DNA-Glycosylase
                                             1.25U/rxn        1.25       1.25        1.25
     (UDG)
     HotStar Taq (5U/ul)                     2.5U/rxn         0.5         0.5        0.5
     DNA - added separately                   varies          10          10          10
     Total volume                               n/a           25          25          25


                           TABLE 6A: PCR Primer sequences for SNPs
              SNP           Forward PCR Primer                 Reverse PCR Primer
                        ACGTTGGATGCACAAGATT              ACGTTGGATGGCTGTTTAACTCAG
          rs10430091    CTGAAACTTAG                      CATG
                        ACGTTGGATGTTGGGTGC               ACGTTGGATGTTCTAGCTTGCTTC
          rs2050927     AGAGTAGTCATC                     TCCTCC
                        ACGTTGGATGATGTCCACC              ACGTTGGATGGAAAGTTGTCGTGG
          rs4329520     TCCTGCTCCAC                      TAGAGG
                        ACGTTGGATGCTAGCGTAC              ACGTTGGATGCTAACCAGGAAAAG
          rs4657868     CCAATGGAATC                      ACACCC
                        ACGTTGGATGGTGGTAGA               ACGTTGGATGCTGCTAAGCATGAG
          rs4658481     AACAAATGTCAGC                    AGAAAG
                        ACGTTGGATGGGCCTGTT               ACGTTGGATGTGACTAGGAAATCA
          rs6693568     CATTCTCAGAAA                     CACTGG
                        ACGTTGGATGTAGCCTTTA              ACGTTGGATGCCATTCTTGTATGT
          rs860954      GTCTTGATGCC                      TTTGTC
                        ACGTTGGATGGCCTCAGTA              ACGTTGGATGTTGAGATCAGTGTC
          rs9431593     GTCACATAAGG                      GGTTCC


                                       TABLE 6B: Extend Primers
                          SNP                      Extend Primer
                          rs10430091     gTGTTTAACTCAGCATGTGGGAA
                          rs2050927      CCTCCATCATCCTTAGC
                          rs4329520      GCGTGGTTCTAGACTTATGC
                          rs4657868      cAAGACACCCCCATACATTA
                          rs4658481      TAAGCATGAGAGAAAGGGAAAG
                          rs6693568      atGAAATCACACTGGACATTTT
                          rs860954       GTTTTGTCTTTTTCTGTATACTCATG
                          rs9431593      TGTTCCTGACTCTCAAAAT
5

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                                    TABLE 7: Thermal cycling conditions
                                    Temp.         Time       Cycles
                                    37°C         1 hour               1
                                    94°c         15 min               1
                                    94°c         20 sec
                                    56°C         30 sec         45 cycles
                                    12°c          1 min
                                    12°c         3 min                1
                                     4°c         forever              1


            Amplicon generated during PCR was genotyped with the extend primers in Table 5 using
     standard iPLEX™ assay and MassARRAY® technology (Jurinke, C., Oeth, P., van den Boom, D.,
 5   MALDI-TOF mass spectrometry: a versatile tool for high-performance DNA analysis. Mo/.
     Biotechnol. 26, 147-164 (2004); and Oeth, P. et al., iPLEX™ Assay: Increased Plexing Efficiency
     and Flexibility for MassARRAY® System through single base primer extension with mass-modified
     Terminators. SEQUENOM Application Note (2005), both of which are hereby incorporated by
     reference).
10
     Results
            Digestion of DNA with both restriction enzymes allowed detection of minor alleles when
     they were present at ratios as low as 2% heterozygous DNA. This is in contrast to undigested
     DNA samples where minor alleles were only reliably detected when present at ratios of 20%
15   heterozygous DNA and higher. When allele peak area ratios are considered, the effect of
     restriction endonuclease digest is even more apparent. HpyCH4V digested samples showed
     minor allele peak area ratios of 0.35-0.45 in 2% heterozygous DNA mixtures, while minor allele
     peak area ratios of 2% heterozygous DNA mixtures were at background levels without enzyme
     digestion (Figure 1). While the increases in allele peak area ratio were not as high when using the
20   Nlalll restriction endonuclease, the results were similar (Figure 2). Example screen shots of the
     mass spectrum in 2% heterozygous DNA mixtures with and without HpyCH4V (Figure 3) or Nlalll
     (Figure 4) are shown below.


     Optimization studies
25          Initial optimization studies for enzyme concentration and pre-PCR incubation time of
     HpyCH4V digestion were performed using 5% heterozygous DNA mixtures (0.6 ng heterozygous
     DNA, 11.4 ng homozygous DNA). Based on these experiments, maximal peak area ratios were
     obtained with incubation times as short as 5 minutes and 0.25U HpyCH4V enzyme.

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     Example 2: Restriction Endonuclease Enhanced Polymorphic Sequence Detection Using Tfii


            A similar experiment was performed as described in Example 1 using a different restriction
     endonuclease, Tfil. In this experiment, the Tfil restriction endonuclease selectively recognized and
 5   cleaved the 'C' allele of the 'CIT' SNP, rs4487973. The SNP rs4487973 occurs in the following
     genomic sequence on chromosome 1: CACACAGTTAGGATT[C/T]ACCTGAGCTTGTCCC. For
     these studies, two CEPH DNA samples, one homozygous 'C' and the other heterozygous 'CIT' for
     the rs4487973 SNP, were mixed in varying ratios to generate DNA mixtures containing 0%, 1%,
     2.5%, 10%, 50% of the rs4487973 'T' allele. The Tfil restriction endonuclease was either added or
10   not added to each mixture to determine the endonucleases' effect on detecting the polymorphic
     sequence. Of the mixtures not digested with Tfil enzyme, the rs4487973 'T' allele was detected in
     the 10%, and 50% 'T' allele mixtures, but not the 0%, 1%, and 5% 'T' allele DNA mixtures.
     However, of samples digested with Tfil enzyme, the rs4487973 'T' allele was detectable in 1%, 5%,
     10% and 50% 'T' allele mixtures. These results indicate the utility of this method to improve
15   detection of polymorphic alleles present at low relative concentrations in a sample.


     Example 3: Fetal Identifiers, Sex Test And Copy Number Determination


     Selection of SNPs
20          Analysis of paternally-inherited alleles in clinical samples and correlation with Y-
     chromosome frequency in male fetuses was performed with a total of 16 SNPs. SNP assays for
     analysis of clinical samples were multiplexed as 8-plexes. All SNPs had a minor allele frequency
     (maf) of ~0.4 in all ethnic groups and were unlinked.
            For performance evaluation of a universal Fetal Identifier panel that can be multiplexed with
25   disease-specific markers, a new panel of 87 NT SNPs with a pan-ethnic maf >0.4 was selected
     and multiplexed into 16-plexes.


     Method of SNP analysis
            Analysis of SNPs in maternal buffy coat and maternal plasma was performed using the
30   iPLEX™ assay and MassARRAY® technology. In brief, the target region surrounding the SNP is
     first amplified by PCR. Subsequently an oligonucleotide primer is annealed to the PCR product
     and is extended allele-specifically by a single nucleotide using a mixture of 4 terminator
     nucleotides and a DNA polymerase. The extension products are transferred to a miniaturized chip
     array and are analyzed by MALDI-TOF Mass Spectrometry. Determination of the molecular mass
35   of extension products allows unambiguous identification of the SNP allele present in the sample.

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     The peak area ratio of mass signals allows the estimation of the relative abundance of the alleles
     in a given sample. Figure 5A provides an overview of the assay used for SNP analysis.


     Clinical Samples
 5           The total sample set consisted of 35 paired blood/plasma samples from pregnant
     Caucasian woman (nine 1st trimester; twelve 2nd trimester; fourteen 3rd trimester).
             The subset of samples used for correlation of Y-chromosome frequency and paternally-
     inherited alleles in maternal plasma consisted of 19 samples of pregnant Caucasian woman
     carrying a male fetus.
10
     DNA extraction
               DNA extraction was performed from 1ml of maternal plasma using the Qiagen® Min Elute
     kit for fetal genotyping.
               DNA extraction from frozen blood (minus plasma) was performed from 4ml using Qiagen's
15   PureGene kit for maternal genotyping.


     Results
             An assay targeting sequence differences in the Amelogenin region on the X and Y
     chromosome was used to assess the relative amount of fetal DNA extracted from plasma of
20   pregnant woman carrying a male fetus. Details of the AMG assay are depicted in Figures 8A-8C.
     X and Y-specific sequences can be discriminated by sequence specific iPLEX extension products
     and their respective mass signals. The peak area ratio of the extension products allows estimation
     of the relative amount of fetal DNA, because the Y-specific sequences represent 50% of the total
     fetal DNA contribution.
25           Sixteen of nineteen (84%) plasma samples with a male fetus showed a Y-chromosome
     frequency of higher than 5%, indicating presence of at least 10% fetal DNA in the extracted DNA.
               Figure 6 depicts typical performance results for a qualified fetal identifier. Here the ability of
     the SNP assay to estimate the quantity of fetal DNA in the background of maternal DNA was
     verified for a total of 1700 copies and a total of 170 copies using genomic DNA mixtures. Note that
30   the standard deviation of the estimate of fetal DNA increases due to the significant influence of the
     sampling error at low copy numbers
             Table 8 provides a list of SNPs that were multiplexed at 1O+ plexing level and passed all
     phases of the validation.. The following shows the validation scheme, performance criteria and
     model system used to qualify multiplex SNP assays for their utility in identifying the presence for
35   fetal DNA.:

                                                           29




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     Phase I
            Step 1: Initial Fetal Identifier (Fl) screening parameters
                 •   Fl's are multiplexed from pool of 87 A/T SNPs (mass difference 56 Da)
                 •   Genotyping of control DNAs (CEPH populations)
 5          Step 2: Advance screening criteria
                 •   Reproducibility of genotyping calls in 4 replicates
                 •   Unambiguous genotype data (assay shows no interfering or unpredicted mass
                     signals)
                 •   Allelic skew in heterozygous DNAs
10               •   Variance of allelic ratio in heterozygous DNAs
            Step 3: Replex successful SNPs and repeat Phase 1 screening to generate multiplexes of
            10+ SNPs


     Multiplexed SNPs passing Phase I test criteria are tested in Phase II
15
     Phase II
            Step 1: Mixtures of Genomic DNA are used for assessing Fl reliability
                 •   Mix Mother: 2000 copies of DNA 1
                 •   Mix 10%: 3600 copies DNA 1 / 400 copies of DNA 2
20               •   Mix 20%: 1600 copies DNA 1 / 400 copies of DNA 2
            Analysis of allele frequency variation in 4 mixture series and 8 replicate measurements.
            Sensitivity and specificity are calculated for the detection of low copy number allele in
            background of high copy number allele


25   Multiplexed SNPs passing Phase II test criteria are tested in Phase Ill


     Phase Ill
            Step 1: Various DNAs are mixed to emulate different maternal-fetal combinations
                 •   Plate 1: 3600 copies DNA maternal / 400 copies DNA fetal
30               •   Plate 2: 1600 copies DNA maternal / 400 copies DNA fetal
                 Each plate contains 88 sample mixtures, 4 positive and 4 negative controls. Analysis of
                 allele frequency variation in 4 mixture series, where sensitivity and specificity are
                 calculated for the detection of low copy number allele in background of high copy
                 number allele


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            Application of this assay panel to a model system for the detection of fetal DNA in maternal
     background showed that paternally-inherited fetal alleles can be detected with a sensitivity of 95%
     at 100% specificity if the sample preparation method can enrich the relative amount of fetal DNA to
 5   20%. In Table 8, the minor allele frequency (MAF) for each SNP from different ethnic populations
     is provided. The ethnic populations are defined by the HapMap Project, where CEU represents
     individuals of Northern and Western Europe descent, HCB represents Han Chinese in Beijing, JAP
     represents Japanese in Tokyo, and YRI represents the Yoruba in Ibadan, Nigeria.


10                                                  TABLE 8
                                                  MAF          MAF     MAF        MAF
                                  SNP             CEU          HCB     JAP        YRI
                              rs11166512          0.43         0.41    0.50       0.49
                              rs11184494          0.50         0.40    0.48       0.50
                              rs11247894          0.43         0.39    0.32       0.44
                              rs12089156          0.46         0.49    0.44       0.43
                              rs12125888          0.40         0.43    0.48       0.43
                              rs12136370          0.42         0.48    0.42       0.48
                              rs12143315          0.40         0.42    0.42       0.42
                              rs12759642          0.39         0.48    0.48       0.42
                                rs156988          0.46         0.40    0.45       0.41
                               rs2050927          0.44         0.50    0.41       0.49
                                rs213624          0.48         0.44    0.40       0.34
                               rs2454175          0.46         0.48    0.43       0.40
                               rs4329520          0.45         0.43    0.40       0.44
                               rs4487973          0.47         0.43    0.44       0.40
                                rs454782          0.48         0.40    0.41       0.46
                               rs4648888          0.33         0.30    0.33       0.46
                                rs635364          0.49         0.40    0.46       0.43
                                rs660279          0.41         0.49    0.50       0.39
                               rs6687785          0.48         0.46    0.48       0.44
                               rs7551188          0.46         0.49    0.45       0.46
                               rs9431593          0.41         0.43    0.49       0.40


            A multiplexed panel of 16 SNPs was analyzed with maf>0.3 in the same maternal plasma
     DNA extraction and established a baseline of maternal genotypes by analyzing DNA from PBMCs.
     Using the maternal genotype information, paternally-inherited alleles were identified in plasma
15   samples and estimated the amount of fetal DNA from the peak area ratio of extension products
     representing paternally-inherited fetal alleles and maternal alleles.
            The AMG XY frequency was then compared with the allele-frequency of paternally-inherited
     fetal alleles in informative SNPs. This comparison revealed that samples with a positive Y-
     frequency of 10% (used as a Limit-of-quantitation threshold) or more have significantly higher

                                                         31




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differences between maternally and paternally-inherited fetal allele-frequencies (p-value < 0.001;
Fishers' exact test). This data suggests that Fetal Identifiers can be used as a non-gender specific
approach for identification of the presence of fetal DNA. Figure 7 exemplifies those results.




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                                                                                                               SEQ-6008-PC
                                                                                                                   PATENT




                                                               TABLE 9                                                       ~
                                                                                                                             0
            Multipl   Primer                                                                                                 ~
                                                                                                                             0
            ex        Name      Amplification primer          Amplification primer           Extend Primer sequence          0
                                                                                                                             ~
                                                                                                                             ~
                      rs75511   ACGTTGGATGATCCCTGGTTCCTT      ACGTTGGATGGAGCCTCTCAGTG                                        ~
                                                                                                                             00
            MP1       88        CCTTAG                        TCTATAC                        GGACAGATTCTGGGAC                le
                                                                                                                             00
                      rs11247   ACGTTGGATGATCCTAGATAGCC       ACGTTGGATGGGAGGAAAGAGAA                                        00

            MP1       894       CAAAGCC                       GATTGTG                        CCAAAGCCAAGAATTCA
                      rs66877   ACGTTGGATGATGCTGTAAAGAG       ACGTTGGATGTTCTCCTCTGACC
            MP1       85        CCTCAAC                       TGCTTTC                        CCTCAACAGTACACTTAATC
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                      rs44879   ACGTTGGATGTCAGAGAGTGACA       ACGTTGGATGGAATGCATGCCAA
            MP1       73        AGACCTG                       CTTAGGG                        cAGGTCACACAGTTAGGATT
                      rs46488   ACGTTGGATGCAGAGAGTCCCCT       ACGTTGGATGTGCCCAGACCAGA
            MP1       88        GTTATTG                       GAGGTCA                        aTGGACCTTCGGAAAGGATA
                      rs12089   ACGTTGGATGGCTACATACTATGT      ACGTTGGATGCCTGCTGGCAACA        TACTATGTGGTCTCAACTATA
            MP1       156       GGTCTC                        AATCTTC                        T
                      rs20509   ACGTTGGATGTTCTAGCTTGCTTC      ACGTTGGATGTTGGGTGCAGAGT        TGCTTCTCCTCCATCATCCTT
            MP1       27        TCCTCC                        AGTCATC                        AGC
                                                                                                                                     Document: 42-3




                      rs12125   ACGTTGGATGCAACATCCTGTAC       ACGTTGGATGAGACAATTTCTGT        TACATGACTATCTCCTCCCTT
            MP1       888       ATCACTC                       CCTCTGG                        AGGT
                      rs12143   ACGTTGGATGACAGGCATGAGCC       ACGTTGGATGTGCCATTGGTACA        CCATCTTACCCAGCCTCTTTC




Appx13231
            MP1       315       ATCTTAC                       GTCACTC                        TTCAA
                      rs21362   ACGTTGGATGTAGGTCAAGCCAA       ACGTTGGATGTGTCCACCCAGGA        gGCCAAGGCCTCGGAGTCTG
            MP1       4         GGCCTC                        GCAGCCA                        AACAGTT
                                                                                                                                     Page: 363




                      SRY_5-    ACGTTGGATGAGCATCTAGGTAG       ACGTTGGATGAGCAACGGGACC
            MP1       ib        GTCTTTG                       GCTACAG                        cGTTACCCGATTGTCCTAC
                      rs66027   ACGTTGGATGTTTCAGCAACCACT      ACGTTGGATGTGCCCGTAAGTAG                                        n-=
            MP2       9         CTGAGC                        GAGAGTG                        CTTGATGTGCTTCCCTG               g
                                                                                                                             r,J
                      rs63536   ACGTTGGATGGAAATTTCTGGATT      ACGTTGGATGAGAGACTCCATTT                                        ~
                                                                                                                             0
            MP2       4         ACTGGC                        GTTTGGG                        TGGATTACTGGCAAAGAC              0

                      rs94315   ACGTTGGATGTTGAGATCAGTGT       ACGTTGGATGGCCTCAGTAGTCA                                        ~
                                                                                                                             Ul
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            MP2       93        CGGTTCC                       CATAAGG                        TGTTCCTGACTCTCAAAAT             (,.,;
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                  rs11166   ACGTTGGATGCTTCATCCACTATA      ACGTTGGATGTGACCAGATGTTG                                    ~
            MP2   512       TCCACC                        GATTAG                         CCACTATATCCACCTTTTCT        0
                                                                                                                     ~
                  rs43295   ACGTTGGATGGAAAGTTGTCGTG       ACGTTGGATGATGTCCACCTCCT                                    0
                                                                                                                     0
            MP2   20        GTAGAGG                       GCTCCAC                        GCGTGGTTCTAGACTTATGC        ~
                                                                                                                     ~
                                                                                                                     ~
                  rs45478   ACGTTGGATGCTGTTAAGATGCC       ACGTTGGATGCTGTCTTCCTCATT                                   00
                                                                                                                     le
            MP2   2         AACTCCC                       GCTCTG                         AACTCCCATATTAGTCCACAG       00
                                                                                                                     00
                  rs12136   ACGTTGGATGGAGTAGTTCTTTG       ACGTTGGATGCTCCTGGAAAACA
            MP2   370       CAGTAAGC                      GCAAAAG                        gGCAGTAAGCTATTCTTGGGG
                  rs12759   ACGTTGGATGATTCTTCCTGGGA       ACGTTGGATGGGAAATACCAGCA        caTCGGGATTCCCTGAACAAA
                                                                                                                             Case: 24-1324




            MP2   642       CTCAGAC                       ACCACAG                        A
                  rs11184   ACGTTGGATGAGCTGGCCATGTT       ACGTTGGATGGCCAATCTATGAA        ATTTGACTTTCCTACTCCTTAA
            MP2   494       TATTTGAC                      GAATTAC                        C
                  rs24541   ACGTTGGATGGGAATCAGACCTG       ACGTTGGATGGCCCAGCAGGAC         cCTTCAAGGATTGGAATTAGA
            MP2   75        TAAACAC                       ACTTTTAT                       GT
                  rs15698   ACGTTGGATGAAAGCTCTGTGAT       ACGTTGGATGGAAAGGGCTATGT        tCGTCTCGGTCCTTCCTTTTCA
            MP2   8         GCGTCTC                       AAGGAGG                        CTT
                                                                                                                             Document: 42-3




Appx13232
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                                                            TABLE 10                                                       0
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            Multipl                                                                                                        00
                                                                                                                           le
            ex      SNP ID    Amplification primer          Amplification primer           Extend Primer sequence          00
                                                                                                                           00
                    rs10793   ACGTTGGATGAAGAGATGAGACA       ACGTTGGATGCTCTGTATTTATAG
            W1      675       GACTGGG                       CTTTC                          AACGGCTCAACAGTT
                    rs18293   ACGTTGGATGATCTCTGAGTTGA       ACGTTGGATGTTCCTAATCAGGAG
                                                                                                                                   Case: 24-1324




            W1      09        CACCACC                       AGACCG                         TTGCTTTGGGGAGCAG
                    rs66027   ACGTTGGATGTTTCAGCAACCACT      ACGTTGGATGTGCCCGTAAGTAG
            W1      9         CTGAGC                        GAGAGTG                        CTTGATGTGCTTCCCTG
                    rs63536   ACGTTGGATGGAAATTTCTGGATT      ACGTTGGATGAGAGACTCCATTTG
            W1      4         ACTGGC                        TTTGGG                         TGGATTACTGGCAAAGAC
                    rs94315   ACGTTGGATGTTGAGATCAGTGT       ACGTTGGATGGCCTCAGTAGTCA
            W1      93        CGGTTCC                       CATAAGG                        TGTTCCTGACTCTCAAAAT
                    rs11166   ACGTTGGATGCTTCATCCACTATA      ACGTTGGATGTGACCAGATGTTG
            W1      512       TCCACC                        GATTAG                         CCACTATATCCACCTTTTCT
                                                                                                                                   Document: 42-3




                    rs43295   ACGTTGGATGGAAAGTTGTCGTG       ACGTTGGATGATGTCCACCTCCTG
            W1      20        GTAGAGG                       CTCCAC                         GCGTGGTTCTAGACTTATGC
                    rs45478   ACGTTGGATGCTGTTAAGATGCC       ACGTTGGATGCTGTCTTCCTCATT       AACTCCCATATTAGTCCACA
            W1      2         AACTCCC                       GCTCTG                         G




Appx13233
                    rs12136   ACGTTGGATGGAGTAGTTCTTTG       ACGTTGGATGCTCCTGGAAAACA        gGCAGTAAGCTATTCTTGGG
            W1      370       CAGTAAGC                      GCAAAAG                        G
                                                                                                                                   Page: 365




                    rs12759   ACGTTGGATGATTCTTCCTGGGA       ACGTTGGATGGGAAATACCAGCA        caTCGGGATTCCCTGAACAA
            W1      642       CTCAGAC                       ACCACAG                        AA
                    rs11184   ACGTTGGATGAGCTGGCCATGTT       ACGTTGGATGGCCAATCTATGAAG       ATTTGACTTTCCTACTCCTTA
            W1      494       TATTTGAC                      AATTAC                         AC                              n-=
                    rs24541   ACGTTGGATGGGAATCAGACCTG       ACGTTGGATGGCCCAGCAGGACA        cCTTCAAGGATTGGAATTAGA           g
                                                                                                                           r,J
                                                                                                                           ~
            W1      75        TAAACAC                       CTTTTAT                        GT                              0
                                                                                                                           0
                    rs14526   ACGTTGGATGGCTTGTGCTTTGTT      ACGTTGGATGGGTCAAGCAAAGG        acatAGTTATTCCTAGGGCTTC
            W1      28        GTGTGG                        CTTCAAG                        TC                              ~
                                                                                                                           Ul
                                                                                                                           00
                                                                                                                           (,.,;
            W1      rs15698   ACGTTGGATGAAAGCTCTGTGAT       ACGTTGGATGGAAAGGGCTATGT        tCGTCTCGGTCCTTCCTTTTC           ~
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                 8         GCGTCTC                       AAGGAGG                        ACTT                        ~
                 rs45704   ACGTTGGATGACCCGAGCCAATC       ACGTTGGATGGCACATGGAGATG        GGTATCATAAGATACCTATG        0
                                                                                                                    ~
            W1   30        AGGTATC                       AATGGTC                        ATGTC                       0
                                                                                                                    0
                 rs12062   ACGTTGGATGTGCGTCAACCTTT       ACGTTGGATGGGAAAGTCCTCGA        ggaaTTTCCAGTTCTATTCCA       ~
                                                                                                                    ~
                                                                                                                    ~
            W1   414       CCAGTTC                       CTGTTTG                        GCCTC                       00
                                                                                                                    le
                 rs75453   ACGTTGGATGCCAGTCAAGCTAA       ACGTTGGATGGTGAGCACAACTG        tccCTGAATGACAAAAGGGGA       00
                                                                                                                    00
            W1   81        GGACAAA                       TGTTCTA                        AGATA
                 rs64276   ACGTTGGATGGGACTAAAACAGG       ACGTTGGATGGTCTCTCTAGTACT       ccctcGCCAAACTTAGACCAAG
            W1   73        GCCAAAC                       AGTAAC                         GACAAC
                                                                                                                            Case: 24-1324




                 rs10802   ACGTTGGATGTCTTCTAAAATGTA      ACGTTGGATGGGATGAGGTTTTG        AGTTATGAAATAAGTTTTATT
            W1   761       GTTATG                        ACTAAGC                        CATTTAC
                 rs64244   ACGTTGGATGCCAAAAAACCATG       ACGTTGGATGAGATTGCCTCTCCA
            W2   9         CCCTCTG                       TGTGAC                         CCTCTGCCTCCCCTA
                 rs48394   ACGTTGGATGCTGCCGCATCCCT       ACGTTGGATGATGTGTTTGTGGCC
            W2   19        TCACAA                        ACTTCC                         CCTTCACAAAGCCGA
                 rs93241   ACGTTGGATGAAAGGCCTACTGT       ACGTTGGATGCAAAATATGTGTGA
            W2   98        TTGCTGG                       ATCAGC                         cGTTTGCTGGAAGCCT
                                                                                                                            Document: 42-3




                 rs11926   ACGTTGGATGGCTCAACTCTGAA       ACGTTGGATGCCAGGAATGGGCA
            W2   19        CCAATCG                       TGTGTTC                        TGGCCAGAAGAAGGAG
                 rs46578   ACGTTGGATGCTAACCAGGAAAA       ACGTTGGATGCTAGCGTACCCAAT
            W2   68        GACACCC                       GGAATC                         AGACACCCCCATACATTA




Appx13234
                 rs64268   ACGTTGGATGTAAATCAGGGCTG       ACGTTGGATGAAGTGCTAGGGTT
            W2   73        CCTTCTC                       ACAGGTG                        cccCTGCCTTCTCTTCCAA
                                                                                                                            Page: 366




                 rs43898   ACGTTGGATGTGTGCAAATTGGC       ACGTTGGATGGAACATTGGTATTT
            W2   1         TAACAT                        AAACTC                         ATGGACCACAAAAAACTTA
                 rs12125   ACGTTGGATGAGACAATTTCTGTC      ACGTTGGATGCAACATCCTGTACA                                   n-=
            W2   888       CTCTGG                        TCACTC                         TCTGTCCTCTGGTATCCTCT
                 rs31286   ACGTTGGATGATCAAGAGGAAAA       ACGTTGGATGGATTTACTCAACTC
                                                                                                                    g
                                                                                                                    r,J
                                                                                                                    ~
            W2   88        TGGACAG                       TCTGGG                         cAAAATGGACAGAAGTTGAA        0
                                                                                                                    0
                 rs49873   ACGTTGGATGGTGCATGGGCTCA       ACGTTGGATGCCAAACAGGGCCA                                    ~
            W2   51        TCTAGAC                       ATGGTAG                        qCATCTAGACACATTTTGTGC       Ul
                                                                                                                    00
                                                                                                                    (,.,;
            W2   rs66929   ACGTTGGATGCTATTCCCTCCTCA      ACGTTGGATGATTAAGATGGGTAG       tccAAGAGCATTTTTCCTCTTC      ~
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                 11        AAGAGC                        TTAAG                                                     ~
                 rs66846   ACGTTGGATGTATGTTACTTGCCT      ACGTTGGATGTCTTAAGGTGTCTC       ggaCCACTGAGGAGATACAC       0
                                                                                                                   ~
            W2   79        TGGCCC                        CCTCTG                         TA                         0
                                                                                                                   0
                 rs43208   ACGTTGGATGGGTTCTATGGCTTT      ACGTTGGATGTGCTAGACACTTTA       ggtcACCTCTTTTCATAACAGG     ~
                                                                                                                   ~
                                                                                                                   ~
            W2   29        GGTGAG                        ACTGCC                         A                          00
                                                                                                                   le
                 rs46584   ACGTTGGATGCTGCTAAGCATGA       ACGTTGGATGGTGGTAGAAACAA        atacGCATGAGAGAAAGGGAA      00
                                                                                                                   00
            W2   81        GAGAAAG                       ATGTCAGC                       AG
                 rs37684   ACGTTGGATGCCAAATGTCTTAGT      ACGTTGGATGGAGTTTATGTAATG       CTTAGTTACAAAGAAAATTGT
            W2   58        TACAAAG                       TCAAC                          GAG
                                                                                                                           Case: 24-1324




                 rs86095   ACGTTGGATGTAGCCTTTAGTCTT      ACGTTGGATGCCATTCTTGTATGT       TCTTGATGCCTTACAAAATAA
            W2   4         GATGCC                        TTTGTC                         ATAT
                 rs10453   ACGTTGGATGGAGGAGCTAACAA       ACGTTGGATGGGGATATGAATTAC       AAACAAATCCTCCTTTCTTTT
            W2   878       GTAGGAC                       AACAGAG                        AATTC
                 rs10753   ACGTTGGATGGAGATTATATGTCT      ACGTTGGATGATTCTTCTAACTTTT      GAGATTATATGTCTCTTTAAT
            W2   912       CTTTAA                        AGGC                           ATTGTC
                 rs16379   ACGTTGGATGCTAATGCCTCCTTT      ACGTTGGATGAATAGCAAACAACA       cccccATATCATTTGCAATTGC
            W2   44        TCTTCC                        GGTGGG                         ATGGTT
                 rs48392   ACGTTGGATGGAATCCTGGCAGC       ACGTTGGATGTGGGTTCACATGA        gatgTCTCTTAAAGAGCAAAAA
                                                                                                                           Document: 42-3




            W2   82        TCATTAG                       GTCTTGC                        GCTAAG




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                                                           TABLE 11                                                      0
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            SNP ID     Amplification primer            Amplification primer              Extend Primer sequence          0
                                                                                                                         QC)

            rs429235   ACGTTGGATGCTTACCCATGCTAAGT      ACGTTGGATGAAGATTATGGAGGCCA        TCCCACCTCCTCCGTGC               QC)
                                                                                                                         --""""""
            7          CCTG                            GGAG                                                              1.0
                                                                                                                         QC)
                                                                                                                         QC)
            rs994099   ACGTTGGATGTCTGGAATGCCCCTTC      ACGTTGGATGGAGCATATTCTGAGGA        GAACGTACCTCCCATGC
            5          TTAG                            TGGG
            rs112244   ACGTTGGATGTTCCTTTTCTTCCAGAT     ACGTTGGATGGTATATAGCTGGGCAT        GCCCAGGGTGAATTAAA
            3          GGG                             GGTG
                                                                                                                                    Case: 24-1324




            rs107616   ACGTTGGATGCTCTGTCACTGACTTC      ACGTTGGATGTACTCAGAGGAACCTG        TGACTTCATGGGACCTCA
            70         ATGG                            AGTC
            rs256064   ACGTTGGATGGGCTCTAAGCCATTCT      ACGTTGGATGGCCTTTCAAAGCCACA        ITCCCCCTGTCCCTCTGCC
            3          TCTG                            TCTC
            rs131340   ACGTTGGATGGGAGTTCTTATCCATA      ACGTTGGATGGGAAGCTTCTGGGAC         TTTTCTGTGCTTTTTCCTC
            04         CTATG                           TTAAT
            rs110774   ACGTTGGATGAACTCCCATTTCTCCC      ACGTTGGATGTGGACCCAGTCAAGA         gaTCCCTGTGTGGTAATGC
            42         TGTG                            AAGTC
                                                                                                                                    Document: 42-3




            rs492417   ACGTTGGATGGGTTTCATTCCCAACA      ACGTTGGATGCAGCCTATGTATGGAA        AATGCCACATTCTTGATTGC
            6          AGTC                            ACAG
            rs600595   ACGTTGGATGTTAAGCACTGCCTGTA      ACGTTGGATGGGGCAGTGAACTTGT         ggaAGTGTGCTAGACGCTGC
            5          TCCC                            CTAC
            rs989309   ACGTTGGATGAACCCACTATACCCCA      ACGTTGGATGACACACACATTCTGCT        ccccAGGCCCAAGTCTTCTGC




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            6          ACTC                            GAGG
                                                                                                                                    Page: 368




            rs724182   ACGTTGGATGTAACTTGATTACTGGC      ACGTTGGATGCCAGGTGTGTCTCAAA        ggggACTGGCACTGCCCCATA
            3          ACTG                            ATTC
            rs602643   ACGTTGGATGCTCAAAGGTGCCAATC      ACGTTGGATGCTGATGGCTTGTCTTG        aCACAGGCCCATAAACTATAA
            6          ACTC                            ATTC                              C                               '"Cl
                                                                                                                         I'."')
            rs792688   ACGTTGGATGCTGAACAAGACCTTGA      ACGTTGGATGGTTGAGACTGCCAGC         ggACAAGACCTTGAAGTTGATA          ""'3
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            7          AG                              TATTC                                                             er,
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            rs178113   ACGTTGGATGTACAACTGGATGCTGA      ACGTTGGATGTTAGACATGAGGCCC         aAAAAGAGAGTTGAAGTTTAG           0
                                                                                                                         0
                                                                                                                         QC)
            18         GTAG                            CAAAG                             G                               0
            rs578381   ACGTTGGATGTGTTTCCTTGAGGCTC      ACGTTGGATGAACAGGTCTGACATCT        gttgcGGCTCTCTGTTGTCTGTT         Ut
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            ra978055   ACGTTGGATGTTCCAAGATCCCCCTT      ACGTTGGATGGGCATAAAGCCTTACA        gaaccTTTACTTGCTTCCTGTTG      :;;
                       TTCC                            CCTC                              C                            0
                                                                                                                      N
            ra176275   ACGTTGGATGTGGATCTTACCCCTAT      ACGTTGGATGTTGGTGTGACCAAGAC        gTCAGATAAAGTCTGAGTTCAT       0
                                                                                                                      0
                                                                                                                      QC)
            83         TCAG                            CTAC                              TG
            ra288776   ACGTTGGATGTCTGATGGTATGTAGA      ACGTTGGATGGGGCAAATTTCCATTT        ATGGTATGTAGAGAGGTAAAT        QC)
                                                                                                                      --""""""
                                                                                                                      1.0
            1          GAGG                            GTG                               TGC                          QC)
                                                                                                                      QC)
            ra770291   ACGTTGGATGTCCCATAGTCTGATCC      ACGTTGGATGGATGTTCTCCAAAGTA        ggagaATCCCTACCTGATGTTTT
            5          CTAC                            GAAG                              GC
            ra499849   ACGTTGGATGCCAGGAATTGGGATAT      ACGTTGGATGCCAAGCTTCAAATCAA        tCTTACCACTAAAAAACTATCA
                                                                                                                                 Case: 24-1324




            0          GGAC                            TGTG                              GTAT
            ra930601   ACGTTGGATGGCCTGGGAAAATGATT      ACGTTGGATGGTGGGAGATATTGTTA        AATATTTTGAGATAAATTGTAG
            5          GGAC                            AGGC                              ATGC
                                                                                                                                 Document: 42-3




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        The entirety of each patent, patent application, publication and document referenced herein
hereby is incorporated by reference. Citation of the above patents, patent applications,
publications and documents is not an admission that any of the foregoing is pertinent prior art, nor
does it constitute any admission as to the contents or date of these publications or documents.
        Modifications may be made to the foregoing without departing from the basic aspects of the
invention. Although the invention has been described in substantial detail with reference to one or
more specific embodiments, those of ordinary skill in the art will recognize that changes may be
made to the embodiments specifically disclosed in this application, yet these modifications and
improvements are within the scope and spirit of the invention.
        The invention illustratively described herein suitably may be practiced in the absence of any
element(s) not specifically disclosed herein. Thus, for example, in each instance herein any of the
terms "comprising," "consisting essentially of," and "consisting of" may be replaced with either of
the other two terms. The terms and expressions which have been employed are used as terms of
description and not of limitation, and use of such terms and expressions do not exclude any
equivalents of the features shown and described or portions thereof, and various modifications are
possible within the scope of the invention claimed. The term "a" or "an" can refer to one of or a
plurality of the elements it modifies (e.g., "a reagent" can mean one or more reagents) unless it is
contextually clear either one of the elements or more than one of the elements is described. The
term "about" as used herein refers to a value within 10% of the underlying parameter (i.e., plus or
minus 10% ), and use of the term "about" at the beginning of a string of values modifies each of the
values (i.e., "about 1, 2 and 3" is about 1, about 2 and about 3). For example, a weight of "about
100 grams" can include weights between 90 grams and 110 grams. Thus, it should be understood
that although the present invention has been specifically disclosed by representative embodiments
and optional features, modification and variation of the concepts herein disclosed may be resorted
to by those skilled in the art, and such modifications and variations are considered within the scope
of this invention.
        Embodiments of the invention are set forth in the claims that follow.




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What is claimed is:


1.      A method for detecting the presence or absence of a plurality of target alleles at a plurality
of polymorphic loci in a sample, wherein the sample contains nucleic acid, which comprises:
        a) cleaving nucleic acid comprising a plurality of non-target alleles at the plurality of
polymorphic loci with a single cleavage agent that recognizes the non-target alleles, wherein the
cleavage agent is a non-thermostable restriction endonuclease;
        b) amplifying uncleaved nucleic acid but not cleaved nucleic acid; and
        c) analyzing the amplification products of step b) to determine the presence or absence of a
plurality of target alleles, wherein the target alleles are of paternal origin and the non-target alleles
are of maternal origin.


2.      The method of claim 1, wherein the sample is from a pregnant female or a female
suspected of being pregnant.


3.      The method of claim 1, wherein 60 or more polymorphic loci are assayed.


4.      The method of claim 1, wherein 10 or more target alleles are detected.


5.      The method of claim 1, wherein the non-thermostable restriction endonuclease is
HpyCH4V.


6.      The method of claim 1, wherein the cleavage agent is not active during step b).


7.      The method of claim 1, wherein the target allele concentration is less than 4% relative to
the non-target allele concentration prior to cleaving and amplifying the nucleic acid.


8.      The method of claim 1, wherein the polymorphic loci are selected from the group consisting
of the polymorphisms rs10430091, rs2050927, rs4329520, rs4657868, rs4658481, rs6693568,
rs860954 and rs9431593.




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FIGURE 1


                                                      HpyCH4V digest

                          rs4329520                                                                            rs4658481

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                           % Heterozwous                                                                        % Heterozwous




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FIGURE2


                                                                   Nlalll digest

                  rs2050927                                                                     rs4329520

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FIGURE3



                         HpyCH4V screenshots




        Undigested




          HpyCH4V




                             ♦♦                       ♦♦
                             'T' 'A'                  'T''A'




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                                        4/12




FIGURE4



                            Nlalll screenshots

                      rs2050927                    rs4329520




      Undigested




         Niall




                              ♦♦                               ♦♦
                              'A' 'T'                          'T' 'A'




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FIGURE SA


                       Maternal SNP                                    SNP Genotypes determined in
                        Genotypes                                           maternal plasma

              SNP 1      SNP 2    SNP 3      SNP 4                        SNP 1    SNP 2       SNP 3            SNP 4


                I I       I I         11      11                           11       11           I I              11
               ff rr lf rr                                                 lf rr lf rr




           Informative for Presence               Potentially Informative for
                                                                                              Non-Informative
                 of Fetal DNA                      Presence of Fetal DNA




                                                            A      G
                                           a.i.                                         Mass Spectrum of
                                                                                    maternal SNP alleles WBC




                                                            A      G
                                           a.i.                                   Mass Spectrum of SNP alleles
                                                                                     from maternal plasma

                                                                                           Paternally inherited fetal allele




                                                                                  m/z




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                                                   Appx13244
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FIGURE SB




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                                                                                                7/12




FIGURE6




                      FQ model for 1700 copies total ONA                                                   FQ model for 170 eopies total ONA

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                                                                                    Appx13246
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                    ROC Analysis for FQ Detection

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                        m 10% fetal DNA
                        ■   20% fetal DNA
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                  0.0       0.2    0.4        0.6     0.8      1.0

                                    Specificity


                                    FIGURE7




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                                     Appx13247
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                                                                    9/12

                                                     FIGURE SA

Non-invasive prenatal sex test - AMG (F/M)-

                          10        20        30        40        50        60
 AM-X.SEQ         ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                  X:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
 AM-Y.SEQ         ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                          10        20        30        40        50        60

                          70         80       90       100       110       120
 AM-X.SEQ         TAATTTTGACCATTGTTTGCGTTAACAATGCCCTGGGCTCTGTAAAGAATAGTGTGTTGA
                   .. .. .. .. .. .. .. .. .. . . .. .....
                                                     . . . . . .. . . . . .              ........................
                                                                                         . .......................... .
 AM-Y.SEQ         TAATTTTGATCACTGTTTGCATTAGCAGTCCCCTGGGCTCTGTAAAGAATAGTGGGTGGA
                          70         80        90       100      110       120

                         130               140       150      160       170
 AM-X.SEQ         TTCTTTATCCCAGAT------GTTTCTCAAGTGGTCCTGATTTTACAGTTCCTACCACCA
                               : : : : :X     : :              .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..   ..................
                                                                                                                 . ................ .
 AM-Y.SEQ         TTCTTCATCCCAAATAAAGTGGTTTCTCAAGTGGTCCCAATTTTACAGTTCCTACCATCA
                         130       140       150       160       170       180

                     180       190       200       210
 AM-X.SEQ         GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                   ......................................
                   ......................................
 AM-Y.SEQ         GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                         190       200       210

Primers for non-invasive prenatal sex testing using AMG as target:

PCR primers:
AMG-F:    5' -r\CCiTTCCA'f'C~CCCTGGGCTCTGTAAAGAAT-3'
AMG-R:    5' -;,,cc.;TTCC;xrc;AGGCTTGAGGCCAACCATCAG-3'

EXTEND primers:
AMG-E:    5'-TTCTTCATCCCAAATAAAGT-3'

Competitors:
AMG-X-S:
5'-CCCTGGGCTCTGTAAAGAATAGTGTGTTGATTCTTTATCCCAGAaGTTTCTCAAGTGGTCCTGATTTTACAGTTCCTACCACCA
GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT-3'

AMG-X-AS:
5'-AGGCTTGAGGCCAACCATCAGAGCTTAAACTGGGAAGCTGGTGGTAGGAACTGTAAAATCAGGACCACTTGAGAAACtTCTGGGATAAAGA
ATCAACACACTATTCTTTACAGAGCCCAGGG-3'

AMG-Y-S:
5'-CCCTGGGCTCTGTAAAGAATAGTGGGTGGATTCTTCATCCCAAATAAAGTcGTTTCTCAAGTGGTCCCAATTTTACAGTTCCTACCATCA
GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT-3'

AMG-Y-AS:
5'- AGGCTTGAGGCCAACCATCAGAGCTTAAACTGGGAAGCTGATGGTAGGAACTGTAAAATTGGGACCACTTGAGAAACgACTTTATTTGGGATGA
AGAATCCACCCACTATTCTTTACAGAGCCCAGGG




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                                                        10/12




                                                  FIGURE SB

Non-invasive prenatal sex test - AMG-XY-5-i

                          10        20        30        40        50        60
 AM-X.SEQ         ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                  X:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
 AM-Y.SEQ         ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                          10        20        30        40        50        60

                          70         80       90       100       110       120
 AM-X.SEQ         TAATTTTGACCATTGTTTGCGTTAACAATGCCCTGGGCTCTGTAAAGAATAGTGTGTTGA
                   ....................................................
                   ......... .. ....... ... .. . ........................ .. ..
 AM-Y.SEQ         TAATTTTGATCACTGTTTGCATTAGCAGTCCCCTGGGCTCTGTAAAGAATAGTGGGTGGA
                          70         80        90       100      110       120

                         130               140       150      160       170
 AM-X.SEQ         TTCTTTATCCCAGAT------GTTTCTCAAGTGGTCCTGATTTTACAGTTCCTACCACCA
                   : : : : :   : : : : :X   : :     .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..   ....................
                                                                                                      . .................. .
 AM-Y.SEQ         TTCTTCATCCCAAATAAAGTGGTTTCTCAAGTGGTCCCAATTTTACAGTTCCTACCATCA
                         130       140       150       160       170       180

                     180       190       200       210
 AM-X.SEQ         GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                   ......................................
                   ......................................
 AM-Y.SEQ         GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                         190       200       210

Primers for non-invasive prenatal sex testing using AMG as target:

PCR primers:
AMG-XY-5-i-F:         5'-ACC::'TTGC:ATC::TATCAACTTCAGCTATGAGG-3'
AMG-XY-5-i-R:         5'-ACGTTGGATGCACTATTCTTTACAGAGC-3'

EXTEND primers:
AMG-XY-5-i-E:         5'-CTTTACAGAGCCCAGGG-3'

Competitors:
AMG-XY-5-i-S:
5'-TATCAACTTCAGCTATGAGGTAATTTTTCTCTTTACTAATTTTGAYCAYTGTTTGCRTTARCARTaCCCTGGGCTCTGTAAAGAATAGTG-3'

AMG-XY-5-i-AS:
5'-CACTATTCTTTACAGAGCCCAGGGtARTGRTAARGCAAACAYTGYTCAAAATTAGTAAAGAGAAAAATTACCTCATAGCTGAAGTTGATA-3'




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                                                   Appx13249
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                                                  FIGURE SC
Non-invasive prenatal sex test

                           10        20        30        40        50        60
 AM-X.SEQ          ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                   X:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
 AM-Y.SEQ          ACCTCATCCTGGGCACCCTGGTTATATCAACTTCAGCTATGAGGTAATTTTTCTCTTTAC
                           10        20        30        40        50        60

                           70         80       90       100       110       120
 AM-X.SEQ          TAATTTTGACCATTGTTTGCGTTAACAATGCCCTGGGCTCTGTAAAGAATAGTGTGTTGA
                   ....................................................
                   ......... .. ....... ... .. . ........................ .. ..
 AM-Y.SEQ          TAATTTTGATCACTGTTTGCATTAGCAGTCCCCTGGGCTCTGTAAAGAATAGTGGGTGGA
                           70         80        90       100      110       120

                          130               140       150      160       170
 AM-X.SEQ          TTCTTTATCCCAGAT------GTTTCTCAAGTGGTCCTGATTTTACAGTTCCTACCACCA
                   : : : : :   : : : : :X   : :     .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..................
                                                                                                       .................. ..
 AM-Y.SEQ          TTCTTCATCCCAAATAAAGTGGTTTCTCAAGTGGTCCCAATTTTACAGTTCCTACCATCA
                          130       140       150       160       170       180

                      180       190       200       210
 AM-X.SEQ          GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                   ......................................
                   ......................................
 AM-Y.SEQ          GCTTCCCAGTTTAAGCTCTGATGGTTGGCCTCAAGCCT
                          190       200       210

New primers for non-invasive prenatal sex testing using AMG as target:

PCR primers:
AMG-F:    5'-CCCTGGGCTCTGTAAAGAAT-3'
AMG-R:    5'-GAGCTTAAACTGGGAAGCTG-3'

EXTEND primers:
AMG-Y:    5'-TTCTTCATCCCAAATAAAGT-3'
AMG-CON: 5'-CCCTGGGCTCTGTAAAGAATAGT-3'

EXTEND products:
Y chromosome:                      TTCTTCATCCCAAATAAAGTG
Template positive:                 CCCTGGGCTCTGTAAAGAATAGTG

                                                  RESULTS TABLE

     Sequence Name                      Primer Sequence                   No. of Nucleotides             Mass
      AMG-Y primer                  TTCTTCATCCCAAATAAAGT                          20                     6011
  Y chromosome positive            TTCTTCATCCCAAATAAAGTg                          21                    6340.2

    AMG-CON primer                 CTGGGCTCTGTAAAGAATAGT                            21                  6457.2
     template positive            CTGGGCTCTGTAAAGAATAGTg                            22                  6786. 4

      SRYprimer                      caggacagcagtagagca                             18                  5550.6
  SRY extension product              caggacagcagtagagcag                            19                  5879.8




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                                                  Appx13250
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                                                                12/12




                                                      FIGURE9
Non-invasive prenatal Albumin test


Query 1         GCTjjffij,ifijffifflA~~Gt!tffi.lticATTTGAAGATCATGTAAAATTAGTGAATGAAGTAACT                                    60
                I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I I 111111111111111
Sbjct 193 GCTCAGTATCTTCAGCAGTGTCCATTTGAAGATCATGTAAAATTAGT@~ffi§'A~~ffl~                                                     252

Query     61      !!!Mll!f:li       68
                   11111111
Sbjct     253     GAATTTGC          260



ALB Assay:

PCR- F: 5' -.i'.CGTTC,GATGCAGTATCTTCAGCAGTGTCC- 3'

PCR-R: 5' -ACG" 1"'GAlc:,GCAAATTCAGTTACTTCATTC-3'


Extend: 5'-CAGTGTCCATTTGAAGATC-3'


Competitor-S:
5'-CAGTATCTTCAGCAGTGTCCATTTGAAGATCtTGTAAAATTAGTGAATGAAGTAACTGAATTTGC-3'

Competitor-AS:
5'-GCAAATTCAGTTACTTCATTCACTAATTTTACAaGATCTTCAAATGGACACTGCTGAAGATACTG-3'




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                                                        Appx13251
                Case: 24-1324                        Document: 42-3                         Page: 384                  Filed: 03/18/2024

                         INTERNATIONAL SEARCH REPORT                                                             International application No.
                                                                                                                       PCT/US 08/58317

 A.      CLASSIFICATION OF SUBJECT MATfER
     IPC(8)- C12Q 1/68; C12P 19/34 (2008.04)
     USPC - 435/6; 435/91.1
 According to International Patent Classification (IPC) or to both national classification and IPC

 B.      FIELDS SEARCHED
 Minimum documentation searched (classification system followed by classification symbols)
 IPC(8): C12Q 1/68; C12P 19/34 (2008.04)
 USPC: 435/6, 91.1; 506/16


 Documentation searched other than minimum documentation to the extent that such documents are included in the fields searched




 Electronic data base consulted during the international search (name of data base and, where practicable, search terms used)
 WEST (PGPB,USPT,EPAB,JPAB): restriction, endonuclease, polymorphic, loci, allele, target, paternal, maternal, pregnancy, non-
 thermostable, HpyCH4V; esp@cenet: sequenom, ehrich
 Google Scholar: HpyCH4V


 C.     DOCUMENTS CONSIDERED TO BE RELEVANT

 Category•              Citation of document, with indication, where appropriate, of the relevant passages                            Relevant to claim No.

 y               US 2007/0059707 A1 (CANTOR et al.) 15 March 2007 (15.03.2007), para (0010), (0012),                                 1-8
                 (0013), (0016), [0020], (0029), (0031), (0037), (0039), (0066), (0068), [0070].




 y               US 2002/0064791 A1 (WHITAKER et al.) 30 May 2002 (30.05.2002), abstract; pg 3; para                                 1-8
                 (0021); claim 6.




 y               US 2004/0229224 A1 (FRAZER et al.) 18 November 2004 (18.11.2004), abstract; para [0073].                            7




 y               NCBI: Single Nucleotide Polymorphisms. 25-05-2006, [online], [retrieved on 2008-06-03],                             8
                 Retrieved from the National Center for Biotechnology Information (at NIH) database using
                 internet: <URL: http://www.ncbi.nlm.nih.gov/SNP/snp_ref.cgi?type=rs&rs=4329520>




 □ Further documents are listed in the continuation of Box C.                             □
 •      Special categories of cited documents:                                      "T'    later document published after the international filing date oirioril)'
 "A"    document defining the general state of the art which is not considered             date and not in connict with the apclication but cited to un erstanil
        to be of particular relevance                                                      the principle or theory un1erlying t e invention
 "E"    earlier application or patent but published on or after the international   "X" document of particular re \wance; the claimed invention cannot be
        filing date                                                                        considered novel or canno:-.,lv! considered to involve an inventive
 "L'"   document which may throw doubts on priority claim(s} or which is                   step when the document is taken alone
        cited to establish the eublication date of another citation or other        "Y'. document of particular relevance; the claimed invention cannot be
        special reason (as specified)                                                      considered to involve an inventive step when the document is
 ''O"   document referring to an oral disclosure, use, exhibition· or other                combined with one or more other such documents, such combination
        means                                                                              being obvious to a person skilled in the art
 "P"    document published prior to the international filing date but later than    "&" document member of the same patent family
        the priority date claimed
 Date of the actual completion of the international search                          Date of mailing o~ the international search report

 4 June 2008 (04.06.2008)
                                                                                                   30 JUN 2008
 Name and mailing address of the ISA/US                                                 Authorized officer:
Mail Stop PCT, Attn: ISA/US, Commissioner for Patents                                                               LeeW. Young
P.O. Box 1450, Alexandria, Virginia 22313-1450                                      PCT Halpdask: 571-272-4300
Facsimile No. 571-273-3201                                                          PCT OSP: 571,272,m4

Form PCT/ISA/2 IO (second sheet) (April 2007)




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                                                                        Appx13252
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                         Exhibit 19




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                             Appx13253
                    Case: 24-1324                             Document: 42-3                       Page: 386                       Filed: 03/18/2024


                (12) INTERNATIONAL APPLICATION PUBLISHED UNDER THE PATENT COOPERATION TREATY (PCT)

            (19) World Intellectual Property Organization
                         International Bureau                                                         1111111111111111 IIIIII IIIII 111111111111111111111111111111 lllll   lllll lllll 11111111111111111111111
                  (43) International Publication Date                                                            (10) International Publication Number
                                                                                           PCT
                   29 January 2009 (29.01.2009)                                                                       WO 2009/013492 Al
            (51) International Patent Classification:                                                   Dennis [GB/CN]; 4th Floor, 7 King Tak Street, Homantin,
                 G06F 19100 (2006.01)        Cl2Q 1168 (2006.01)                                        Kowloon (HK). CHIU, Rossa Wai Kwun [AU/CN]; Flat
                                                                                                        IA, Block 1, Constellation Cove, 1 Hung Lam Drive,
            (21) International Application Number:                                                      Tai Po, New Territories (HK). CHAN, Kwan Chee
                                                PCT/GB2008/002524                                       [CN/CN]; Flat A, 13/F, Block 34, Broadway Street, Mei
                                                                                                        Foo Sun Chuen, Kowloon (HK). ZEE, Benny Chung
            (22) International Filing Date:                  23 July 2008 (23.07.2008)                  Ying [CA/CN]; Flat 18E, Tower 2, La Costa, Ma on Shan,
                                                                                                        New Territories (HK). CHONG, Ka Chun [CN/CN]; Flat
            (25) Filing Language:                                                        English
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                                                                                                        Territories (HK).
            (26) Publication Language:                                                   English
                                                                                                   (74) Agents: BUFTON, Karen et al.; Mewburn Ellis LLP, 33
            (30) Priority Data:                                                                         Gutter Lane, London EC2V SAS (GB).
                 60/951,438                       23 July 2007 (23.07.2007)                  US
                                                                                                   (81) Designated States (unless otherwise indicated, for every
            (71) Applicant (for all designated States except US): THE                                   kind of national protection available): AE, AG, AL, AM,
                 CHINESE UNIVERSITY OF HONG KONG [CN/CN];                                               AO, AT, AU, AZ, BA, BB, BG, BH, BR, BW, BY, BZ, CA,
                 Technology Licensing Office, Room 226, Pi Ch'iu Build-                                 CH, CN, CO, CR, CU, CZ, DE, DK, DM, DO, DZ, EC, EE,
                 ing, Shatin, New Territories (HK).                                                     EG, ES, Fl, GB, GD, GE, GH, GM, GT, HN, HR, HU, ID,
                                                                                                        IL, IN, IS, JP, KE, KG, KM, KN, KP, KR, KZ, LA, LC, LK,
            (72) Inventors; and                                                                         LR, LS, LT, LU, LY, MA, MD, ME, MG, MK, MN, MW,
-           (75) Inventors/Applicants (for US only):                          LO, Yuk-Ming              MX, MY, MZ, NA, NG, NI, NO, NZ, OM, PG, PH, PL, PT,

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i iiiiiii
iiiiiiii
                                                                                                                                                                [Continued on next page}


--          (54) Title: DETERMINING A NUCLEIC ACID SEQUENCE IMBALANCE

  -                                                                                                  (57) Abstract: Methods, systems, and apparatus are
 --                               110
                                                    Dilute Sample and
                                                        put in wells
                                                                                                     provided for determining whether a nucleic acid sequence
                                                                                                     imbalance exists within a biological sample. One or more
                                                                                                     cutoff values for determining an imbalance of, for example,
                                                                                                     the ratio of the two sequences (or sets of sequences) are
                                                                                                     chosen. The cutoff value may be determined based at least
                                    120             Carry out PCR on                                 in part on the percentage of fetal DNA in a sample, such
                                                        each well
                                                                                                     as maternal plasma, containing a background of maternal
                                                                                                     nucleic acid sequences. The cutoff value may also be
-                                                                                                    determined based on an average concentration of a sequence

-
i iiiiiii
iiiiiiii
                              130               Identify markers of alleles
                                                                                                     per reaction. In one aspect, the cutoff value is determined
                                                                                                     from a proportion of informative wells that are estimated
                                                                                                     to contain a particular nucleic acid sequence, where the
                                                                                                     proportion is determined based on the above-mentioned
                             140
                                        ~ Identify wells with marker                                 percentage and/or average concentration. The cutoff value
                                                  of only particular allele                          may be determined using many different types of methods,
                                                                                                     such as sequential probability ratio testing (SPRT).

                                  150             Determine number of
                                                    informative wells


                      160

                                       Determine proportion of informative wells
                                    contributed by the allele with more positive wells




                            170               Determine whether the value of
                                               Pr shows an allelic imbalance



                     100 ____/
                                                          FIG.1




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                                                                                  Appx13254
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                        WO 2009/013492 Al                           1111111111111111 IIIIII IIIII 111111111111111111111111111111 lllll lllll lllll 11111111111111111111111


     RO, RS, RU, SC, SD, SE, SG, SK, SL, SM, ST, SV, SY, TJ,           European (AT, BE, BG, CH, CY, CZ, DE, DK, EE, ES, Fl,
     TM, TN, TR, TT, TZ, UA, UG, US, UZ, VC, VN, ZA, ZM,               FR, GB, GR, HR, HU, IE, IS, IT, LT, LU, LV, MC, MT, NL,
     zw.                                                               NO, PL, PT, RO, SE, SI, SK, TR), OAPI (BF, BJ, CF, CG,
                                                                       CI, CM, GA, GN, GQ, GW, ML, MR, NE, SN, TD, TG).
(84) Designated States ( unless otherwise indicated, for every
     kind of regional protection available): ARIPO (BW, GH,
     GM, KE, LS, MW, MZ, NA, SD, SL, SZ, TZ, UG, ZM,             Published:
     ZW), Eurasian (AM, AZ, BY, KG, KZ, MD, RU, TJ, TM),         -    with international search report




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          WO 2009/013492                                                         PCT/GB2008/002524



           DETERMINING A NUCLEIC ACID SEQUENCE IMBALANCE
                                        CLAIM OF PRIORITY
     (0001]   The present application claims priority from and is a non-provisional application of
     U.S. Provisional Application No. 60/951438, entitled "DETERMINING A NUCLEIC ACID
5    SEQUENCE IMBALANCE" filed July 23, 2007 (Attorney Docket No. 016285-005200US),
     the entire contents of which are herein incorporated by reference for all purposes.

                       CROSS-REFERENCES TO RELATED APPLICATIONS
     (0002]   The present application is also related to concurrently filed non-provisional
     application entitled "DIAGNOSING FETAL CHROMOSOMAL ANEUPLOIDY USING
lO   GENOMIC SEQUENCING," (Attorney Docket No. 016285-005220US), the entire contents
     of which are herein incorporated by reference for all purposes.

                                     FIELD OF THE INVENTION
     (0003]   This invention generally relates to the diagnostic testing of genotypes and diseases
     by determining an imbalance between two different nucleic acid sequences, and more
15   particularly to the identification of Down syndrome, other chromosomal aneuploidies,
     mutations and genotypes in a fetus via testing a sample of maternal blood. The invention also
     relates to the detection of cancer, the monitoring of transplantation, and the monitoring of
     infectious diseases.

                                            BACKGROUND

20   [0004]   Genetic diseases, cancers, and other conditions often result from or produce an
     imbalance in two corresponding chromosomes or alleles or other nucleic acid sequences.
     That is an amount of one sequence relative to another sequence is larger or smaller than
     normal. Usually, the normal ratio is an even 50/50 ratio. Down Syndrome (trisomy 21) is
     such a disease having an imbalance of an extra chromosome 21.

25   [0005]   Conventional prenatal diagnostic methods oftrisomy 21 involve the sampling of
     fetal materials by invasive procedures such as amniocentesis or chorionic villus sampling,
     which pose a finite risk of fetal loss. Non-invasive procedures, such as screening by
     ultrasonography and biochemical markers, have been used to risk-stratify pregnant women
     prior to definitive invasive diagnostic procedures. However, these screening methods
30   typically measure epiphenomena that are associated with trisomy 21 instead of the core



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    chromosomal abnormality, and thus have suboptimal diagnostic accuracy and other
    disadvantages, such as being highly influenced by gestational age.

    [0006]     The discovery of circulating cell-free fetal DNA in maternal plasma in 1997 offered
    new possibilities for noninvasive prenatal diagnosis (Lo, YMD and Chiu, RWK 2007 Nat
5   Rev Genet 8, 71-77). While this method has been readily applied to the prenatal diagnosis of
    sex-linked (Costa, JM et al. 2002 N Engl J Med 346, 1502) and certain single gene disorders
    (Lo, YMD et al. 1998 N Engl J Med 339, 1734-1738), its application to the prenatal detection
    of fetal chromosomal aneuploidies has represented a considerable challenge (Lo, YMD and
    Chiu, RWK 2007, supra). First, fetal nucleic acids co-exist in maternal plasma with a high
0   background of nucleic acids of maternal origin that can often interfere with the analysis (Lo,
    YMD et al. 1998 Am J Hum Genet 62, 768-775). Second, fetal nucleic acids circulate in
    maternal plasma predominantly in a cell-free form, making it difficult to derive dosage
    information of genes or chromosomes within the fetal genome.

    [0007]     Significant developments overcoming these challenges have recently been made
5   (Benachi, A & Costa, JM 2007 Lancet 369, 440-442). One approach detects fetal-specific
    nucleic acids in the maternal plasma, thus overcoming the problem of maternal background
    interference (Lo, YMD and Chiu, RWK 2007, supra). Dosage of chromosome 21 was
    inferred from the ratios of polymorphic alleles in the placenta-derived DNA/RNA molecules.
    However, this method is less accurate when samples contain lower amount of the targeted
0   gene and can only be applied to fetuses who are heterozygous for the targeted
    polymorphisms, which is only a subset of the population if one polymorphism is used.

    [0008]     Dhallan et al (Dhallan, R, et al. 2007, supra Dhallan, R, et al. 2007 Lancet 369, 474-
    481) described an alternative strategy of enriching the proportion of circulating fetal DNA by
    adding formaldehyde to maternal plasma. The proportion of chromosome 21 sequences
5   contributed by the fetus in maternal plasma was determined by assessing the ratio of
    paternally-inherited fetal-specific alleles to non-fetal-specific alleles for single nucleotide
    polymorphisms (SNPs) on chromosome 21. SNP ratios were similarly computed for a
    reference chromosome. An imbalance of fetal chromosome 21 was then inferred by detecting
    a statistically significant difference between the SNP ratios for chromosome 21 and those of
0   the reference chromosome, where significant is defined using a fixed p-value of~ 0.05. To
    ensure high population coverage, more than 500 SNPs were targeted per chromosome.
    However, there have been controversies regarding the effectiveness of formaldehyde to



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     enrich to a high proportion (Chung, GTY, et al. 2005 Clin Chem 51, 655-658), and thus the
     reproducibility of the method needs to be further evaluated. Also, as each fetus and mother
     would be informative for a different number of SNPs for each chromosome, the power of the
     statistical test for SNP ratio comparison would be variable from case to case (Lo, YMD &
5    Chiu, RWK. 2007 Lancet 369, 1997). Furthermore, since these approaches depend on the
     detection of genetic polymorphisms, they are limited to fetuses heterozygous for these
     polymorphisms.

     [0009]     Using polymerase chain reaction (PCR) and DNA quantification of a chromosome
     21 locus and a reference locus in amniocyte cultures obtained from trisomy 21 and euploid
0    fetuses, Zimmermann et al (2002 Clin Chem 48, 362-363) were able to distinguish the two
     groups of fetuses based on the 1.5-fold increase in chromosome 21 DNA sequences in the
     former. Since a 2-fold difference in DNA template concentration constitutes a difference of
     only one threshold cycle (Ct), the discrimination of a 1.5-fold difference has been the limit of
     conventional real-time PCR. To achieve finer degrees of quantitative discrimination,
5    alternative strategies are needed. Accordingly, some embodiments of the present invention
     use digital PCR (Vogelstein, B et al. 1999 Proc Natl A cad Sci US A 96, 9236-9241) for this
     purpose.

     [0010]     Digital PCR has been developed for the detection of allelic ratio skewing in nucleic
     acid samples (Chang, HW et al. 2002 J Natl Cancer Inst 94, 1697-1703). Clinically, it has
(0   been shown to be useful for the detection ofloss ofheterozygosity (LOH) in tumor DNA
     samples (Zhou, W. et al. 2002 Lancet 359, 219-225). For the analysis of digital PCR results,
     sequential probability ratio testing (SPRT) has been adopted by previous studies to classify
     the experimental results as being suggestive of the presence of LOH in a sample or not (El
     Karoui at al. 2006 Stat Med 25, 3124-3133). In methods used in the previous studies, the
~5   cutoff value to determine LOH used a fixed reference ratio of the two alleles in the DNA of
     2/3. As the amount, proportion, and concentration of fetal nucleic acids in maternal plasma
     are variable, these methods are not suitable for detecting trisomy 21 using fetal nucleic acids
     in a background of maternal nucleic acids in maternal plasma.

     [0011]     It is desirable to have a noninvasive test for fetal trisomy 21 (and other imbalances)
30   detection based on circulating fetal nucleic acid analysis, especially one that is independent of
     the use of genetic polymorphisms and/or of fetal-specific markers. It is also desirable to have
     accurate determination of cutoff values and counting of sequences, which can reduce the



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     WHAT IS CLAIMED IS:

 1                  1.         A method for determining whether a nucleic acid sequence imbalance
 2   exists within a biological sample, the method comprising:
 3                  receiving data from a plurality ofreactions, wherein the data includes:
 4                             (1) a first set of quantitative data indicating a first amount of a
 5   clinically relevant nucleic acid sequence; and
 6                             (2) a second set of quantitative data indicating a second amount of a
 7   background nucleic acid sequence different from the clinically relevant nucleic acid
 8   sequence;
 9                  determining a parameter from the two data sets;
10                  deriving a first cutoff value from an average concentration of a reference
11   nucleic acid sequence in each of the plurality of reactions, wherein the reference nucleic acid
12   sequence is either the clinically relevant nucleic acid sequence or the background nucleic acid
13   sequence;
14                  comparing the parameter to the first cutoff value; and
15                  based on the comparison, determining a classification of whether a nucleic
16   acid sequence imbalance exists.

 1                  2.      The method of claim. 1 wherein the first set of data are obtained from
2    one or more first markers that each detect a presence of a part of the clinically relevant
3    nucleic acid sequence in a reaction, and wherein the second set of data are obtained from one
4    or more second markers that each detect a presence of a part of the background nucleic acid
5    sequence in a reaction.

 1                  3.      The method of claim 1, further comprising:
2                   determining the average concentration of the reference nucleic acid sequence
3    in each of the plurality of reaction using an inverse of a probability distribution having an
4    input of a value derived from. the data for the reference nucleic acid sequence.

 1                  4.      The method of claim 1 wherein the clinically relevant nucleic acid
2    sequence is from chromosome 21 and the background nucleic acid sequence is from a
3    chromosome other than chromosome 21.




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                  5.         The method of claim 1 wherein the clinically relevant nucleic acid
2   sequence is from chromosome 18 or 13 and the background nucleic acid sequence is from a
3   chromosome other than chromosome 18 or 13 respectively.

                   6.        The method of claim 1 wherein the clinically relevant nucleic acid
2   sequence is an allele of a genetic polymorphism, and the background nucleic acid sequence is
3   another allele of the genetic polymorphism.

1                  7.        The method of claim 1 wherein the clinically relevant nucleic acid
2   sequence is a mutated copy of the cystic fibrosis transmembrane conductance regulator
3   (CFTR) gene, the beta-globin gene or the alpha-globin gene, and the background nucleic acid
4   sequence is from the wildtype copy of the corresponding gene.

                   8.        The method of claim 1 wherein the biological sample is plasma or
2   serum from a pregnant woman.

1                  9.        The method of claim 1 wherein a reaction is an amplification reaction.

1                  10.       The method of claim 9 wherein a reaction is a part of a digital PCR
2   process.

1                  11.       The method of claim 1 wherein a reaction is a sequencing reaction.

1                  12.       The method of claim 1 wherein first portions of the clinically relevant
2   nucleic acid sequence and the background nucleic acid sequence are from a first individual
3   and second portions of the clinically relevant nucleic acid sequence and the background
4   nucleic acid sequence are from a second individual.

1                  13.       The method of claim 12 wherein the cutoff value is based on a
2   measurement of one of the first portions or a measurement of one of the second portions.

                   14.       The method of claim 1, further comprising comparing the parameter to
2   a second cutoff value.

1                  15.       The method of claim 14 wherein the classifications include disease
2   state, non-disease state, and non-classifiable.




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1                   16.    The method of claim 14 wherein the classifications include
2   homozygous, heterozygous, and non-classifiable.

1                   17.    The method of claim 14 wherein the second cutoff value is based on a
2   ratio of the first amount of the clinically relevant nucleic acid sequence relative to the second
3   amount of the background nucleic acid sequence in a non-diseased state.

1                   18.    The method of claim 1 wherein the parameter is a ratio of the first
2   amount of the clinically relevant nucleic acid sequence relative to the second amount of the
3   background nucleic acid sequence.

1                   19.    The method of claim 1 wherein calculating the first cutoff value
2   includes using at least one of: sequential probability ratio testing, false discovery rates,
3   confidence intervals, and receiver operating characteristic curves.

1                   20.     The method of claim 1 wherein deriving the first cutoff value includes:
2                  determining a proportion P 1 of informative reactions containing an
3   overrepresented nucleic acid sequence, which is either the reference or non-reference nucleic
4   acid sequence; and
5                  calculating the first cutoff value from the first proportion P 1.

1                  21.      The method of claim 20 wherein determining the proportion P 1
2   comprises:
3                  determining a first probability of a reaction containing at least one of the
4   overrepresented nucleic acid sequence;
5                   calculating a second probability that a reaction is informative; and
6                   calculating the proportion P 1 using the first probability and the second
7   probability.

1                   22.     The method of claim 21 wherein the first probability is determined by
2   multiplying the average concentration of the reference nucleic acid sequence by an expected
3   ratio relative to the non-reference nucleic acid sequence.

1                   23.     The method of claim 21 wherein the first probability is determined
2   using the Poisson distribution having the average concentration of the overrepresented
3   nucleic acid sequence in each of the plurality of reactions as an input.


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 1                  24.     The method of claim 21, further comprising:
 2                   determining a third probability of a reaction containing at least one of the
 3   underrepresented nucleic acid sequence, wherein calculating the second probability that the
 4   reaction is informative includes assuming that first probability and the second probability are
 5   independent.

 1                  25.     A method for determining whether a nucleic acid sequence imbalance
 2   exists within a biological sample, the method comprising:
 3                  receiving data from a plurality of reactions, wherein the data includes:
 4                          (1) a first set of quantitative data indicating a first amount of a
 5   clinically relevant nucleic acid sequence; and
 6                          (2) a second set of quantitative data indicating a second amount of a
 7   background nucleic acid sequence different from the clinically relevant nucleic acid
 8   sequence, wherein the clinically relevant nucleic acid sequence and the background nucleic
 9   acid sequence come from a first type of cells and from one or more second types of cells;
10                  determining a parameter from the two data sets;
11                  deriving a first cutoff value from a first percentage resulting from a
12   measurement of an amount of a nucleic acid sequence from the first type of cells in the
13   biological sample;
14                  comparing the parameter to the first cutoff value; and
15                  based on the comparison, determining a classification of whether a nucleic
16   acid sequence imbalance exists.

 1                  26.     The method of claim 25 wherein the first type of cells is from a first
 2   organism and the second types of cells are from a second organism.

 1                  27.     The method of claim 25 wherein deriving the first cutoff value
 2   includes:
 3                  determining a first average concentration of a reference nucleic acid sequence
 4   per reaction, wherein the reference nucleic acid sequence is the clinically relevant nucleic
 5   acid sequence or the background nucleic acid sequence that is underrepresented; and
 6                  multiplying the first average concentration by a factor derived from the first
 7   percentage to obtain a second average concentration of the nucleic acid sequence that is not
 8   the reference nucleic acid sequence.



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                    28.      The method of claim 27, further comprising:
                    determining the average concentration of the reference nucleic acid sequence
     in each of the plurality of reactions using an inverse of a probability distribution having an
     input of a value derived from the data for the reference nucleic acid sequence.

                    29.      The method of claim 28 wherein the probability distribution is the
     Poisson distribution.

                    30.      The method of claim 25 wherein the percentage is measured by
     determining an amount of a fetal-specific marker using quantitative real-time PCR, digital
     PCR, semiquantitative competitive PCR, real-competitive PCR, or mass spectrometry.

                    31.      A computer program product comprising a computer readable medium
     encoded with a plurality of instructions for controlling a computing system to perform an
     operation for determining whether a nucleic acid sequence imbalance exists within a
     biological sample, the operation comprising the steps of:
                    receiving data from a plurality of reactions, wherein the data includes:
                             ( 1) a first set of quantitative data indicating a first amount of a
r.
     clinically relevant nucleic acid sequence; and
                             (2) a second set of quantitative data indicating a second amount of a
     background nucleic acid sequence different from the clinically relevant nucleic acid
     sequence;
                    determining a parameter from the two data sets;
                    deriving a first cutoff value from an average concentration of a reference
     nucleic acid sequence in each of the plurality of reactions, wherein the reference nucleic acid
     sequence is either the clinically relevant nucleic acid sequence or the background nucleic acid
     sequence;
                    comparing the parameter to the first cutoff value; and
                    based on the comparison, determining a classification of whether a nucleic
     acid sequence imbalance exists.




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                                  APPENDIX A

      DECLARATION OF PROFESSOR JOHN QUACKENBUSH, PH.D.




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  VI.   BACKGROUND ON THE TECHNOLOGY

        A.     Nucleic Acids And Genes

        39.    Nucleic acids are biomolecules that are present in all living things. They

  store and encode the information living cells need to grow and function. Although

  there are many different subtypes of nucleic acids, naturally occurring, biologically

  active nucleic acids fall into two main classes: deoxyribonucleic acid (“DNA”) and

  ribonucleic acid (“RNA”).

        40.    DNA naturally exists as two long strands in a double-helical structure.

  Each strand is comprised of a sequence of “nucleotides” connected at regular

  intervals along the strand. On each nucleotide is one of several different types of

  “bases.” There are four natural types of bases that occur in DNA: adenine (“A”),

  cytosine (“C”), guanine (“G”) and thymine (“T”), which pair together

  complementarily (A to T, and C to G) to hold the two strands of DNA together. Each

  base, with its corresponding piece of the backbone of the DNA strand, is referred to

  as a “nucleotide.”

        41.    An individual’s DNA is organized into chromosomes, which reside in

  the nucleus of eukaryotic cells. This, and the general structure of DNA, is depicted

  in the figure below:




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                  Cell

                   l                                Nucleotides



                                                           Sequence




        B.    Genes, Polymorphisms, Homozygosity, And Heterozygosity

        42.   It is the unique sequence of bases in DNA that creates a code, or

  blueprint, for the production of other molecules such as proteins, which form cells’

  structures and make them function.

        43.   All individuals (apart from identical twins) have unique DNA

  sequences that genetically distinguish one person from another. The genetic

  constitution of an individual is called a “genotype.” The differences in genetic

  sequences that give rise to everyone’s unique genotype are called “polymorphisms.”

  A “single nucleotide polymorphism,” or “SNP,” occurs where the nucleotide at a

  specific location may differ between different individuals. SNPs occur at about one

                                         A21


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  base out of 1,000 and there are about 3,000,000 differences between any two

  individuals. Such variations can be used to distinguish one individual from another.

  An example of a SNP is depicted in the figure below:




                                                                    A


                                                                    A




        44.    Humans have two copies of each of their chromosomes – one inherited

  from the mother, and the other from the father. Zygosity describes the similarities or

  differences in polymorphisms between the maternally inherited and paternally

  inherited copies. An organism is “homozygous” for a particular gene or

  polymorphism if its maternally inherited and paternally inherited copies have the

  same sequence. An organism is “heterozygous” for a particular gene or

  polymorphism if it has different sequences on its maternally inherited and paternally

  inherited copies, respectively. An example of a homozygous and heterozygous

  SNPs, reproduced from Figure 1 of B0074-B0079 (Nordstrom 2000) at B0075, is

  shown below (red boxes and “homozygous” and “heterozygous” labels added):



                                          A22


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                  Individual A            Individual B              Individual C


     Allele I

     Allele II

              Homozygous A/A         Heterozygous A/G          Homozygous G/G



            45.   There is on average one SNP in every ~1,000 nucleotides in humans,

  and two individuals on average vary in approximately ~3,000,000 SNPs. B0001-

  B0024 (‘652 Patent) at B0016, 13:41-44; B0481-B0580, (Vogel 2009) at

  B0574. Given the diversity in SNPs among individuals, scientists have exploited

  SNPs for many different purposes, including identifying people in forensic analyses,

  or determining patterns of SNPs associated with specific populations or disease

  states.

            46.   In addition to SNPs, there are other types of genetic variations. For

  example, “VNTRs,” or variable numbers of tandem repeats, are short sequence

  repeats that are polymorphic due to variable numbers of short sequence repeat units

  as between individuals. While “dinucleotide repeats” are most common VNTRs can

  also be tri-, tetra-, or penta-repeats (often called microsatellites). VNTRs with longer

  repeat units of 15-500 nucleotides are called “minisatellites.” “Insertion” and

  “deletion” polymorphisms are due to the presence of additional sequences or


                                            A23


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  absence of normally present sequences, respectively. Regions of DNA that have

  many of the polymorphisms described above are commonly known as

  “hypervariable regions.”

        C.     Cell-Free Nucleic Acids

        47.    As discussed above, human DNA is most commonly found in the nuclei

  of cells in chromosomes. But DNA also can naturally exist outside of the cell. What

  scientists typically refer to as “cell-free” nucleic acids (and in the case of DNA, cell-

  free DNA or “cfDNA”) are small fragments of nucleic acids that are released from

  cells into the bloodstream. They circulate freely in the blood and other bodily fluids.

  These cell-free nucleic acids are usually produced when cells die, in a process called

  “apoptosis.” In apoptosis, cells undergo various biochemical processes that cause

  the nucleic acids, including DNA of the cells’ chromosomes, to be cleaved and

  fragmented before being released into the circulation. They are eventually cleared

  out of the body with other bodily waste products. The process of release of cfDNA

  from apoptotic cells is illustrated below:




                                            A24


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                 Living Cell                       Cell Death (aka "apoptosis")




                           DNA in
                           chromosomes          Cell-Free - -
                                                     DNA--




        48.    Because cells are constantly dying and being replaced throughout the

  body, cell-free nucleic acids, including cfDNA, are constantly released into and

  circulating through the bloodstream or other body fluids, such as urine, before being

  cleared out of the body, as depicted below:

               Blood Vessel




                                                Blood




                                           A25


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         D.     Cell-Free Nucleic Acids Having Sequences Different From A
                Patient’s Genotype Occur Naturally In An Individual’s
                Circulation

         49.    In certain diseases and conditions, nucleic acids including cfDNA that

  are foreign or abnormal to a person are present in the person’s body. This occurs in

  a variety of contexts where a source of foreign DNA, or cells with different

  genotypes, reside in the host. Some of these are discussed below.

                1.     Cell-Free Nucleic Acids In Organ Transplant

         50.    For example, a transplanted organ can be a source of a genotype that is

  different from that of the transplant recipient. If an organ from a donor is transplanted

  into the body of a recipient, then the donor’s DNA, with its unique genotype, is also

  transplanted into the body of the recipient. Because a transplanted organ’s cells

  naturally die at a certain rate, just like all of the cells in the rest of a recipient’s body,

  cell-free nucleic acids from the donated transplant organ will be released into, and

  circulate in, the recipient’s blood along with the cell-free nucleic acids released from

  the cells in all of the rest of the recipient’s body. This gives rise to two different

  genotypes being present in the same individual recipient’s blood.

         51.    While many transplanted organs remain healthy, sometimes the body

  of the transplant recipient will reject the transplanted organ, or the transplanted organ

  will fail to survive for some other reason in the transplant recipient’s body. Where


                                              A26


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  rejection occurs, the recipient’s immune system attacks the transplanted organ and

  kills its cells, causing the cells to die more rapidly than they normally would. In

  transplant failure for other reasons, the cells of the transplanted organ die more

  rapidly than normal for a variety of reasons. Whether the transplant is rejected or

  otherwise fails, the transplanted organ’s cells release more cell-free nucleic acids

  into the recipient’s circulation than would be expected from a healthy transplant.

  These elevated levels of cell-free nucleic acids originating from the donor organ is

  the natural result of biological processes occurring in the transplant recipient’s body.

  As of the priority date, it was well known that donor-derived DNA is present in a

  transplant recipient. See, e.g., B0001-B0024 (’652 Patent) at B0013, 7:53-8:22;

  B0080-B0081 (Lo 1998) at B0080.

               2.     Cell-Free Nucleic Acids In Pregnancy

        52.    Another example occurs in the case of pregnancy, as the fetus growing

  in the body of its mother has a genotype that is different from its mother. As of the

  priority date, it was well-known that fetal DNA is naturally found as cfDNA in the

  pregnant mother’s bloodstream, as the result of release from fetal cells that die while

  the fetus is growing in the mother’s body. See, e.g., B0001-B0024 (’652 Patent) at

  B0013, 7:19-23. This also gives rise to two different genotypes being present in an

  individual pregnant woman’s blood.




                                           A27


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        53.    Cell-free nucleic acids released from fetal cells into the mother’s blood

  will reflect the fetus’s genotype. Some fetuses have certain conditions such as

  disease, or an extra or missing chromosome (“aneuploidy,” and for example, Down

  Syndrome). These are conditions of the fetus that are detectable while the fetus is in

  the womb through the fetal cell-free nucleic acids being released into the mother’s

  bloodstream. For example, if the fetus is aneuploid, the fetal cfDNA from the extra

  or missing chromosome will be present in the mother’s blood in greater or lesser

  quantity than would be expected if the fetus were not aneuploid. This observable

  difference, like the observable difference in a transplant recipient, is the natural

  result of biological processes occurring in the pregnant woman’s body.

               3.     Cell-Free Nucleic Acids In Cancer

        54.    Yet another example occurs in the case of cancer, where a tumor with

  a unique genotype as a result of mutations grows in the body of a cancer patient. The

  sequences of the DNA in the tumor cells differ from those of the cells in the rest of

  the cancer patient, which do not have the mutations unique to the tumor. Because

  these tumor cells die and release their cell-free nucleic acids into the cancer patient,

  where they circulate together with the cell-free nucleic acids released from the non-

  cancerous cells in the body, the tumor acts as a source of an additional, different

  genotype present in the cancer patient. As of the priority date, it was well known that




                                           A28


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  the DNA sequences of tumor cells differ from the DNA of a cancer patient. See, e.g.,

  B0001-B0024 (’652 Patent) at B0012, 6:67-7:5.

        55.    Cancer cell-free nucleic acids can serve as a source for monitoring

  cancer as well. The cancerous tumor cells have genetic mutations not present in the

  patient’s normal cells, and as the tumor cells die (either because the patient’s

  immune system attacks and kills them or they are starved for resources due to the

  expanding tumor mass) they release cell-free nucleic acids into the cancer patient’s

  circulation. As a result, these genetically unique tumor cells release cell-free nucleic

  acids with genomes that are not normally present in the cancer patient’s circulation.

  This phenomenon becomes more pronounced as tumors grow, and again, is the

  natural result of biological processes occurring in the cancer patient’s body.

               4.     Cell-Free Nucleic Acids In Infectious Disease

        56.    In the case of infectious disease, bacteria or viruses invading a person’s

  body have genotypes that are different than that of the person they are infecting. The

  bacteria or viruses are destroyed by the person’s immune system, causing the release

  of bacterial or viral cell-free nucleic acids into the person’s blood. Those bacterial

  or viral cell-free nucleic acids will have sequences that differ from those of the

  infected person, such that they act as a source of additional, different genotypes

  present in the infected person’s body. As of the priority date, this, too, was well-

  known and understood by POSAs. See section VII.C.2. below.


                                           A29


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               5.     Scientists Have Long Used Cell-Free Nucleic Acids To
                      Monitor Disease

        57.    In each of the above-referenced settings (transplant, pregnancy, cancer,

  and infectious disease), cells from the source of foreign DNA naturally die while

  inside of the patient and release their nucleic acids to circulate as cell-free nucleic

  acids in the patient’s body. The resulting presence of cell-free nucleic acids with a

  different genotype than the patient’s normal genotype is a natural result of biological

  processes that occur in the transplant recipient’s, mother’s, or cancer or infected

  patient’s bodies, respectively. Scientists knew of these natural phenomena long

  before the November 6, 2009 priority date of the Patents. As described here in my

  declaration, and in the Patents themselves, scientists routinely applied methods for

  detecting and analyzing the pertinent genetic differences in samples from patients

  containing different genotypes in order to study conditions relating to them.

        58.    The Patents acknowledge that cell-free nucleic acids, including cfDNA,

  can be found circulating in an individual’s bodily fluids, and that these circulating

  cell-free nucleic acids can be correlated to diseases involving cell death, or

  apoptosis. As the written description explains:

        Circulating, or cell-free, DNA was first detected in human blood
        plasma in 1948. … Since then, its connection to disease has been
        established in several areas. … Studies reveal that much of the
        circulating nucleic acids in blood arise from necrotic or apoptotic cells
        … and greatly elevated levels of nucleic acids from apoptosis is
        observed in diseases such as cancer. …


                                           A30


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  B0001-B0024 (’652 Patent) at B0012, 6:57-67 (citations omitted); see also Section

  VII.C.2. below.

  VII. THE PATENT CLAIMS ARE DIRECTED TO WELL-
       UNDERSTOOD, ROUTINE AND CONVENTIONAL TECHNIQUES
       APPLIED TO OBSERVING A NATURAL PHENOMENON

        A.     The Claims of the Patents Are Directed to a Natural Law

        59.    It is my opinion that the claims of the Patents are directed to a natural

  law—the presence of naturally occurring donor-derived cell-free nucleic acids in the

  bodily fluids of transplant recipients, and the correlation of those naturally occurring

  cell-free nucleic acids to transplant status or rejection.

        60.    Claim 1 of the ʼ652 Patent recites a “method for detecting transplant

  rejection, graft dysfunction, or organ failure” by “diagnosing, predicting, or

  monitoring a transplant status or outcome of the subject who has received the

  transplant by determining a quantity of the donor cell-free nucleic acids based on the

  detection of the donor cell free nucleic acids and subject cell-free nucleic acids by

  the multiplexed sequencing, wherein an increase in the quantity of the donor cell-

  free nucleic acids over time is indicative of transplant rejection, graft dysfunction or

  organ failure.” Thus, claim 1 of the ’652 Patent provides that if an increase in donor

  cell-free nucleic acid is detected in a bodily fluid of a transplant recipient over time,

  then organ transplant rejections can be diagnosed, predicted or monitored.




                                            A31


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        61.    Claim 1 of the ’497 Patent recites a “method of detecting donor-specific

  circulating cell-free nucleic acids in a solid organ transplant recipient” by

  “determining an amount of donor-specific circulating cell-free nucleic acids from

  the solid organ transplant in the biological sample by detecting a homozygous or a

  heterozygous SNP … in at least one assay … wherein the at least one assay detects

  the donor-specific circulating cell-free nucleic acids from the solid organ

  transplant.” Thus, claim 1 of the ’497 Patent starts with donor-specific cell-free

  nucleic acids that are already present in a sample, and as an end result detects them.

        62.    Claim 1 of the ’607 Patent recites a “method of quantifying kidney

  transplant-derived circulating cell-free deoxyribonucleic acids in a human kidney

  transplant recipient” by “quantifying an amount of said kidney transplant-derived

  circulating cell-free deoxyribonucleic acid in said plasma sample to obtain a

  quantified amount.” This claim, too, starts with a certain quantity of transplant-

  derived cfDNA already present in a sample, and as an end result observes that

  quantity.

        63.    This presence of naturally occurring cell-free nucleic acids in the bodily

  fluids of transplant recipients, and its correlation to transplant status or rejection,

  exists apart from any human intervention. Cell death is a natural consequence of a

  transplanted organ’s biological response to being rejected or otherwise failing. The

  natural result of this biological response is an elevated level of donor-specific cell-

                                           A32


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  free nucleic acids in the transplant recipient’s bodily fluids. As explained in the

  Patents’ written description, this is a natural phenomenon that does not require any

  human intervention. See, e.g., B0001-B0024 (’652 Patent) at B0013, 7:40-46 (stating

  that “as cell-free DNA or RNA often arises from apoptotic cells, the relative amount

  of donor-specific sequences in circulating nucleic acids should provide a predictive

  measure of on-coming organ failure in transplant patients for many types of solid

  organ transplantation including, but not limited to, heart, lung, liver, and kidney.”).

        64.      The independent claims of the Patents are representative of each of the

  dependent claims—all of which are directed to a natural law. Each dependent claim

  relies on the method of the independent claim of each patent. In addition, all recite

  substantially similar methods and all are linked to observing the same natural

  phenomenon of donor-specific cell-free nucleic acids in a transplant recipient’s

  circulation, or its correlation to transplant rejection.

        65.      Beyond the elements of the claims from which they depend, the

  dependent claims of the Patents recite:

              ● Using different types or numbers of polymorphisms (’652 Patent
                Claims 2 and 11; ’497 Patent Claims 6, 17, and 25; ’607 Patent Claims
                2, 3, 4, and 5)
              ● Using cf-DNA (’652 Patent Claim 3; ’497 Patent Claim 12)
              ● Using certain common modifications, error rates, or quality scores
                associated with multiplexed or high throughput sequencing (’652
                Patent Claims 4 and 6; ’497 Patent Claims 3, 4, 5, 19, 21, and 23 ’607
                Patent Claim 6)
              ● Using known PCR or amplification methods ’497 Patent Claim 10)

                                             A33


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              ● Using different sample types (’652 Patent Claim 12; ’497 Patent Claims
                2 and 27)
              ● Further genotyping prior to quantifying cell-free nucleic acids (’497
                Patent Claim 15)
              ● Certain concentrations of cell-free nucleic acids in the sample (’497
                Patent Claim 20; ’607 Patent Claims 7, 8, 9, and 10)

        66.      By depending on and incorporating the phenomenon of the presence of

  naturally occurring donor-derived cell-free nucleic acids in the circulation of

  transplant recipients and the natural law correlating it to transplant rejection, without

  adding more, each of the dependent claims of the Patents are also directed to this

  natural law.

        B.       Each Recited Laboratory Technique Was Conventional

        67.      In my experience as a researcher in the genomics field in the 2009

  timeframe, all of the techniques recited in the Patent claims were well understood,

  routine and conventional as of their November 6, 2009 filing date. Indeed, the

  Patents’ written description states: “The practice of the present invention employs,

  unless otherwise indicated, conventional techniques of immunology, biochemistry,

  chemistry, molecular biology, microbiology, cell biology, genomics and

  recombinant DNA, which are within the skill of the art.” B0001-B0024 (’652 Patent)

  at B0012, 5:36-40. I have reviewed the written description, including the portions

  referenced herein, and I have not seen any disclosure in which the Patents “otherwise

  indicate[]” that any of the laboratory techniques recited in the claims, or that the

  particular way they are combined in the claims, is nonconventional. To the contrary,

                                            A34


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  the written description repeatedly describes all of the recited techniques, and the

  claimed combinations of them, as conventional and routinely practiced using

  commercially available products.

          68.      As summarized above in section V, a POSA would understand the

  methods of the Patents to recite four common categories of laboratory techniques

  that were well-established approaches to cell-free nucleic acid detection and

  quantification by November, 2009:

                ● Obtaining / providing a biological sample containing cell-free
                  nucleic acids from a transplant recipient;9
                ● Genotyping the transplant donor and/or recipient to establish profiles
                  of genetic polymorphisms (or SNPs);10
                ● Performing multiplex or high-throughput sequencing of the cell-
                  free nucleic acids to detect the genotyped polymorphisms (or SNPs);11
                  and

  9
     For independent claims, see ’652 Patent Claim 1(a) (“providing a sample
  comprising [cfDNA]”); ’497 Patent Claim 1(c) (“obtaining a biological sample”);
  ’607 Patent Claims 1(a) and (b) (“providing a plasma sample” and “extracting
  circulating [cfDNA]”). For dependent claims that recite similar sampling and
  transplant-related limitations, see ’497 Patent Claims 2, 9, 12, and 27.
  10
    For independent claims, see ’652 Patent Claim 1(b) (“obtaining a genotype … to
  establish a polymorphism profile”); ’497 Patent Claims 1(a) and (b) (“genotyping
  … to obtain a SNP profile”); and ’607 Patent Claim 1(c) (“performing a selective
  amplification of [SNPs] … by [PCR]”) and Claim 1(f) (“using markers
  distinguishable between said [recipient and donor] [that] comprise [SNPs]”). For
  dependent claims that recite similar genotyping and polymorphism-related
  limitations, see ’652 Patent Claims 2 and 11; ’497 Patent Claims 6, 15, 17, and 25;
  and ’607 Patent Claims 2-5 recite similar genotyping and polymorphism-related
  limitations.
  11
    For independent claims, see ’652 Patent Claim 1(c) (“multiplex sequencing of the
  [cfDNA] in the sample followed by analysis of the sequencing results using the
                                         A35


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                ● Quantifying the transplant (donor-derived) cell-free nucleic acids
                  in the sample using the genetic differences in the sequences.12


          69.     The Patent claims identify the recited steps only at a high level of

  generalization. The written description identifies many different conventional ways

  each of the laboratory techniques recited in those steps, and the combinations of

  them, can be performed. However, the claims do not identify any particular approach

  to performing the steps or describe any unconventional performance of the common

  techniques already in use in 2009 as described in the written description.

          70.     As I explain in section VII.B.3. below, there was what those of us in

  the field have characterized as an explosion of technology driven in part by rapid

  advances in the sensitivity, accuracy, and throughput of DNA sequencing and

  analysis methods that had become routine and conventional for cell-free nucleic acid


  polymorphism profile”); ’497 Patent Claim 1(d) (“determining an amount of donor-
  specific [cfDNA] by … high-throughput sequencing or [dPCR]”); ’607 Patent
  Claims 1(d-e) (“performing a high throughput sequencing reaction … compris[ing]
  … sequencing-by-synthesis … [and] … providing sequences from said high
  throughput sequencing reaction”). For dependent claims that recite similar
  sequencing-related limitations, see ’652 Patent Claims 4 and 6; and ’497 Patent
  Claims 3-5, and 10.
  12
     For independent claims, see ’652 Patent Claim 1(d) (“determining a quantity of
  [transplant cfDNA] based on the detection of [donor and recipient cfDNA] by the
  multiplexed sequencing”); ’497 Patent Claim 1(d) (“determining an amount of
  [transplant cfDNA] … by detecting a homozygous or a heterozygous SNP within
  the [transplant cfDNA]”); and ’607 Patent Claim 1(f) (“quantifying an amount of
  [transplant cfDNA] … using markers distinguishable between … recipient and …
  donor”).
                                        A36


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  detection as recited in the Patent claims in the years leading up to November 2009.

  I know this from my own professional experience at the time, and it is corroborated

  by the literature.

         71.    For example, during the relevant 2009 time period I was a scientific

  advisor for Helicos Biosciences, Inc. (“Helicos”), which was co-founded by named

  Patent inventor Dr. Stephen Quake. A 10-K Annual Report for fiscal year 2007 from

  Helicos explains the state of the industry at that time, and reinforces my opinion that

  the laboratory techniques recited in the claims of the Patents were well understood,

  routine and conventional by November 2009:

         Since the development of genetic engineering techniques in the 1970s,
         the analysis of genetic material has become a mainstay of biological
         research. The first automated DNA sequencer was invented in 1986,
         based on technology developed by Frederick Sanger and his colleagues
         in 1975, which is commonly referred to as Sanger sequencing.
         Subsequent versions of commercial DNA sequencers have increased
         the speed of DNA sequencing by 3,000 fold, making possible the
         Human Genome Project. In 1996 the first commercial microarray was
         introduced and enabled a new era of RNA analysis by measuring gene
         expression across many genes in a single experiment. Subsequent
         versions of the commercial microarrays including DNA and RNA have
         significantly increased the amount of information per run and provided
         selected SNPs of the whole human genome on a single chip, enabled
         large scale genome-wide SNP association studies and have been
         commercialized for several diagnostic applications. Today,
         manufacturers of systems, supplies and reagents for performing genetic
         analysis, which includes DNA sequencing, genotyping, and gene
         expression analysis, serve a worldwide market of approximately $5
         billion, according to Strategic Directions International. Strategic
         Directions International estimates that DNA sequencing serves
         approximately 17% of this demand for genetic analysis.

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  B0581-B0693 (Helicos 10-K) at B0587. As named inventor Dr. Quake’s

  company acknowledged in its SEC filings, by the time of the Helicos 10-K in

  2007, systems and methods for DNA sequencing and genotyping had become

  well understood, routine and conventional, and served a worldwide market of

  approximately $5 billion. In its 10-K, Helicos also acknowledged

  “established genomic analysis technologies,” including sequencing, “next

  generation sequencing” (which as explained in section VII.B.3. below is a

  term that for pertinent purposes is used interchangeably with multiplex

  sequencing or high-throughput sequencing), and genotyping (B0581-B0693

  Helicos 10-K) at B0589:




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              72.         The Patents’ written description itself describes the recited methods as

  conventional. I summarize portions of the Patents’ written description identifying

  the conventional nature of the recited method steps in turn below.

                          1.                    Obtaining Or Providing a Biological Sample Containing
                                                Cell-Free Nucleic Acids From a Transplant Recipient

              73.         ’652 Patent Claim element 1(a), ’497 Patent Claim element 1(c), and

  ’607 Patent Claim element 1(a) recite providing or obtaining a sample comprising

  cell-free nucleic acids from a transplant recipient. Techniques for providing or



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  obtaining such samples were routine long before the 2009 filing of the Patents, which

  the Patents’ written description confirms.

        74.    Obtaining and studying biological samples of cell-free nucleic acids

  from an individual was routine and conventional by 2009. As the Patents’ written

  description explains, circulating or cell-free DNA was already well characterized in

  the prior art. B0001-B0024 (’652 Patent) at B0012, 6:57-58 (“[c]irculating, or cell-

  free, DNA was first detected in human blood plasma in 1948.”).

        75.    Techniques for obtaining biological samples were routine, conventional

  and well-established by 2009. For example, venipuncture, or the science of making

  punctures in a patient’s vein with a needle in order to draw blood from the vein, was

  well known in the prior art. Id. at B0014, 10:11-12 (emphasis added) (“To obtain a

  blood sample, any technique known in the art may be used, e.g., a syringe or other

  vacuum suction device ...”).

        76.    The ’607 Patent, at Claim element 1(b), further recites extracting

  cfDNA from the plasma sample. This also was routine by 2009, with numerous

  options for commercial kits available to carry it out.

        77.    The Patents do not purport to claim an improvement over or

  nonconventional application of the traditional laboratory techniques for obtaining or

  providing biological samples comprising cell-free nucleic acids. I also have seen no

  indication in the claims or written description of the Patents that demonstrates an

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  improvement over or nonconventional application of those conventional techniques

  or a new or unique way of carrying them out.

              2.    Genotyping The Transplant Donor And/Or Recipient To
                    Establish Profiles Of Genetic Polymorphisms (Or SNPs),
                    Including By Comprising Selectively Amplifying At Least
                    1,000 SNPs By PCR And Sequencing

        78.   The ’652 and ’497 Patent claims also recite “genotyping” to establish

  “profiles” of “SNPs” or “polymorphisms,” including homozygous and/or

  heterozygous variants. See ’652 Patent claim element 1(b) and ’497 Patent claim

  elements 1(a) and (b). The ’607 Patent, at elements 1(c)-(e), claims a generalized

  and conventional method for genotyping, reciting “performing a selective

  amplification of target [DNA] sequences” that “amplifi[es] … at least 1,000

  [homozygous and/or heterozygous] [SNPs]” by [PCR]” (Claim 1(c)), followed by

  “high throughput sequencing” (Claim 1(d)), and then “providing sequences” of the

  “[SNPs]” (Claim 1(e)). These claim limitations describe what a POSA in 2009

  would recognize as a common approach to genotyping, including based on targeted

  PCR amplification and sequencing.

        79.   A POSA in 2009 would recognize that the Patents claim these steps at

  a high level without purporting to describe any improvements to then-existing

  genotyping techniques. As the written description explains, numerous techniques

  were known as of the November 6, 2009 filing date—including numerous



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  commercially    available   options—for    accomplishing     the   genotyping    and

  SNP/polymorphism profiles recited in the claims.

        80.   The written description explains that:

        Genotyping of the transplant donor and/or the transplant recipient may
        be performed by any suitable method known in the art including those
        described herein such as sequencing, nucleic acid array or PCR. …
        In some embodiments, the marker profile is a polymorphic marker
        profile. Polymorphic marker profile may comprise one or more single
        nucleotide polymorphisms (SNP’s) ….

  B0001-B0024 (’652 Patent) at B0019, 20:31-44 (emphasis added); see also id. at

  B0014, 9:8-14 (“Detection, identification and/or quantitation of the donor-specific

  markers (e.g. polymorphic markers such as SNPs) can be performed using real-time

  PCR, chips (e.g., SNP chips), high-throughput shotgun sequencing of circulating

  nucleic acids (e.g. cell-free DNA), as well as other methods known in the art

  including the methods described herein.”) (emphasis added).

        81.   Moreover, literature from as early as 2003 confirms that as of that time,

  approximately 2.8 million SNPs had been identified and were available in public

  databases. See, e.g., B0086-B0093, (HapMap Project) at B0089; see also B0094-

  B0155 (International Human Genome Sequencing Consortium 2001) at B0094,

  B0098-B0099, B0101, B0145, B0148; B0156-B0163 (Human Genome Project NIH

  FAQ) at B0159; B0164-B0183 (1000 Genome Project) at B0164. Thus, the written

  description acknowledges, and the literature confirms (as also discussed in more

  detail below), that routine techniques including sequencing, nucleic acid array and
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  PCR were available and used for genotyping up to thousands (or more) of SNPs by

  2009.

                      (a)    PCR, Including Selective Amplification, Was a Well-
                             Understood, Routine and Conventional Method For
                             Genotyping By 2009

          82.   PCR, including selective amplification, was a well-understood, routine

  and conventional method for genotyping by 2009. The written description describes

  PCR-based commercial products that were available at the time of filing to perform

  the claimed methods under the heading “Genotyping”:

          For example, after genotyping a transplant donor and transplant
          recipient, using existing genotyping platforms known in the art
          including the one described herein, one could identify approximately
          1.2 million total variations between a transplant donor and transplant
          recipient. Usable SNPs may comprise approximately 500,000
          heterozygous donor SNPs and approximately 160,000 homozygous
          donor SNPs. Companies (such as Applied Biosystems, Inc.) currently
          offer both standard and custom-designed TaqMan probe sets for SNP
          genotyping that can in principle target any desired SNP position for a
          PCR-based assay (Livak, K. L., Marmaro, J., Todd, J. A., Nature
          Genetics, 9, 341-342 (1995); De La Vefa, F. M., Lazaruk, K. D.,
          Rhodes, M. D., Wenz, M. H., Mutation Research, 573, 111-135
          (2005)). With such a large pool of potential SNPs to choose from, a
          usable subset of existing or custom probes can be selected to serve as
          the probe set for any donor/recipient pair.”

  B0001-B0024 (’652 Patent) at B0016, 13:51-67 (emphasis added). As noted by the

  dates of the references cited in this portion of the written description, these PCR-

  based tools for genotyping SNPs, including for genotyping up to hundreds of

  thousands of SNPs, were commercially available as far back as 1995.


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        83.    By 2000, PCR had been universally adopted as a standard tool in

  applications of molecular biology, and it was already successful in the simultaneous

  detection of thousands of SNPs. See e.g., B1291-B1300 (Germer 2000) at B1291. In

  fact, by 2009, PCR was also being widely used to measure SNPs in cell-free DNA.

  See, e.g., B0191-B0212 (Mei 2005) at B0196; B0213-B0223 (Lichtenstein 2001) at

  B0214. PCR was a well-established, conventional and indispensable tool for genetic

  testing that was routinely used to target and amplify specific, pre-selected genes for

  further study. See e.g., B0001-B0024 (’652 Patent) at B0016, 14:29-67.

        84.    By 2009, PCR also was commonly used to amplify nucleic acids,

  including to selectively amplify nucleic acids, in order to obtain sufficient amounts

  of them for “sequencing.” As discussed in more detail below, nucleic acid

  sequencing is the process of determining the nucleic acid sequence, or the order of

  nucleotide bases, in a nucleic acid. “High-throughput sequencing” as recited in ’607

  Patent Claim element 1(d) (and ’497 Patent Claim element 1(d)) is a term commonly

  understood in the art of nucleic acid analysis to refer to sequencing technologies that

  sequence multiple DNA molecules in parallel. As discussed in section VII.B.3.

  below, this, too, had been widely accepted and had become a routine tool for nucleic

  acid analysis by 2009.

        85.    For example, by 2008, a product called RDT 1000 from the company

  RainDance Technologies combined “targeted sequencing” by PCR of “hundreds to

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  thousands of genomic loci.” B0224-B0225 (RainDance 2008) at B0224. As the

  manufacturer indicated, “[t]he RDT 1000 fits seamlessly into any targeted

  sequencing workflow,” and its “‘open’ design easily integrates with all next-

  generation DNA sequencing platforms.” Id.

        86.    Several other products for selective amplification were on the market

  by November 6, 2009, including from Agilent Technologies, Roche, and Febit. See,

  e.g., B0226-B0243 (Volkerding 2009) at B0233. For example, in a Review article

  in 2009, Volkerding et al. described several “targeted genomic resequencing”

  products available at the time that combine selectively amplifying “polymorphisms”

  and other genetic regions of interest, and then sequencing them using multiplex or

  high-throughput sequencing instruments. Id. Volkerding et al. identified using

  “[c]apture probes [] immobilized on a solid surface,” as provided in the Roche

  NimbleGen product, Agilent products, and Febit products, or capture probes that are

  “used in solution,” as in other Agilent products. Id. These arrays could capture up to

  “350,000” sequences. Id. Using these products, the target DNA for selective

  amplification would be captured by probes on an array or in solution, then “the

  enriched DNA amplified by PCR before NGS [e.g., high-throughput sequencing]

  library preparation.” Id.

        87.    I also have significant experience using these standard PCR techniques

  for genotyping prior to 2009. Starting in 1992, I ran a large program at the Salk

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  Institute using PCR to assay polymorphic genetic markers to produce a map of

  human chromosome 11, a project that required tens of thousands of multiplexed PCR

  reactions. Between 1994 and 1996, while at Stanford University, I was responsible

  for the design and conduct of hundreds of thousands of PCR reactions for mapping

  the entire human genome and as part of developing a strategy for sequencing regions

  of human chromosomes 4 and 21. After joining The Institute for Genomic Research

  in 1997, I was responsible for projects involving hundreds of thousands of PCR

  reactions for genome sequencing and microarray analysis. And after joining the

  faculty at the Dana-Farber Cancer Institute and Harvard School of Public Health, I

  led large-scale projects analyzing gene expression in cancer and establishing high-

  throughput genome sequencing that required PCR and other amplification reactions

  from diverse biological samples, including cell lines, human tissue samples,

  circulating tumor cells, and circulating cell-free DNA. In all of these projects, I used

  standard and routine PCR applications for genotyping.

                      (b)    Arrays Were a Well-Understood, Routine and
                             Conventional Method For Genotyping By 2009

        88.    Use of arrays was also a well-understood, routine and conventional

  method for genotyping by 2009. The written description states that genotyping SNPs

  could also be executed using arrays, including commercially available arrays

  manufactured by Illumina, Inc., ParAllele, and Affymetrix. B0001-B0024 (’652

  Patent) at B0013, 8:55-60; B0018, 17:40-18:53.

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        89.   DNA microarrays were developed in the 1990s and essentially allow

  the detection of many unique fragments of DNA in parallel. DNA microarrays are

  based on the simple concept of printing specific sequences of DNA fragments onto

  different spots on a glass and detecting complementary sequences of DNA that bind

  to each spot. Using DNA fragments containing SNPs was a routine application of

  this technology. Indeed, Affymetrix developed the first commercial microarray

  system (the Affymetrix GeneChip®) in 1994, and in 1999, released an array called

  GeneChip HuSNP, consisting of a panel of 1,200 SNPs printed onto the array.

        90.   After the human genome was sequenced and the HapMap project was

  launched in 2002, there was intense interest in developing SNP arrays that could

  measure enough SNPs to genotype the entire genome of an individual on a single

  array. The NIH selected ParAllele and Illumina as two of the five US HapMap

  project participants responsible for genotyping. See B0244-B0250 (Ogren 2003) at

  B0248. In connection with this, ParAllele partnered with Affymetrix to develop a

  universal array system that could be used with any custom SNP. Illumina similarly

  adapted its GoldenGate® Assay to be used with a universal BeadChip to analyze

  large numbers of SNPs. The Illumina and ParAllele/Affymetrix arrays became

  standard SNP genotyping platforms by the time the HapMap project was launched

  in 2002.




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        91.    Applied Biosystems TaqMan probe sets were first described in 1995 by

  Kenneth J. Livak and Jeffrey Marmaro. See B0184-B0185 (Livak 1995) at B0184-

  B0185. This technology uses fluorescently-labeled probes targeting specific SNPs

  as a simple variation of the primers used in standard PCR. Because the amplification

  of DNA can be detected and quantified in real time, i.e., as the PCR assay progresses,

  this methodology is often called “real-time PCR” or “quantitative PCR.” Thus,

  methods of SNP-typing using fluorescent TaqMan probes and real-time PCR were

  established almost a decade before the filing date of the Patents.

        92.    I have significant personal experience using these standard and routine

  arrays for genotyping prior to 2009. For example, I was involved in the early

  development of DNA microarrays while at Stanford University and was hired by

  TIGR in 1997 in large part to establish and lead a large-scale effort to establish and

  use microarrays to understand gene function. My group developed DNA microarray

  technology for profiling gene expression in humans, mouse, rat, zebrafish, many

  bacterial species, other mammalian species, plant species including Arabidopsis,

  maize, tomato, potato, rice, and eukaryotic parasites such as Plasmodium

  falciparum, the causative agent of malaria. As part of my recruitment to Dana-Farber

  in 2005, I negotiated access to commercial microarrays including Affymetrix

  GeneChips™ and Illumina arrays and I was involved in projects that used both gene




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  expression and SNP genotyping data. In all of these applications, I used standard and

  routine commercially available array applications for genotyping.

                     (c)    Sequencing Was a Well-Understood, Routine and
                            Conventional Method For Genotyping By 2009

        93.    Sequencing was also a well-understood, routine and conventional

  method for genotyping by 2009. For example, the written description states that:

        Genotyping donor and recipient nucleic acids, and/or detection,
        identification and/or quantitation of the donor-specific nucleic acids
        after transplantation (e.g. polymorphic markers such as SNPs) can be
        performed by sequencing such as whole genome sequencing or exome
        sequencing. Sequencing can be accomplished through classic Sanger
        sequencing methods which are well known in the art.

  B0001-B0024 (ʼ652 Patent) at B0017, 15:1-8. The Patents also explain that:

        Genotyping of donor and recipient can establish a single nucleotide
        polymorphism (SNP) profile for detecting donor DNA. Shotgun
        sequencing of cell-free DNA in plasma, with analysis of observed
        unique SNPs, allows quantitation of % donor DNA.

  Id. at B0018, 17:32-36; see also id. at B0019, 20:31-36 (“Genotyping of the

  transplant donor and/or the transplant recipient may be performed by any suitable

  method known in the art including those described herein such as sequencing,

  nucleic acid array or PCR. In some embodiments, genotyping of the transplant donor

  and/or the transplant recipient is performed by shotgun sequencing.”).

        94.    I have significant personal experience using these standard and routine

  multiplex / high-throughput sequencing techniques for genotyping prior to

  November 6, 2009. For example, when I began working in the biological sciences at

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  the Salk Institute in 1992, the first molecular biology techniques that I learned were

  PCR and Sanger DNA sequencing. As part of my move to Stanford University in

  1994, I was tasked with developing a new large-scale DNA sequencing method

  based on PCR mapping of transposon insertions. My recruitment to the Dana-Farber

  Cancer Institute in 2005 was largely based on the expectation that high throughput

  DNA sequencing would soon generate unprecedented quantities of data that could

  be used to understand cancer. And that expectation very quickly was realized

  throughout the genomics field.

        95.    Due to the      rapid explosion in use of sequencing-by-synthesis

  instruments including the 454 sequencer in 2005, the Illumina Genome Analyzer

  and Applied Biosystems SOLiD sequencer in 2006, and others shortly thereafter, my

  group and I quickly became involved in multiplex / high-throughput (or Next

  Generation Sequencing (“NGS”)) DNA sequencing. By 2009, my group and I were

  routinely analyzing DNA sequence data generated on nearly every multiplex or

  high-throughput (e.g., NGS) platform available at the time.

        96.    In addition, in 2008, while a scientific advisor at Helicos Biosciences,

  I wrote a scientific paper with scientists at Helicos exploring applications of high

  throughput DNA sequencing entitled “What would you do if you could sequence

  everything?” that reported on a wide variety of applications, including genotyping.




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  B0251-B0259 (Kahvejian 2008). By 2009, I was routinely using multiplex / high-

  throughput sequencing for a wide variety of applications including genotyping.

                     (d)   The Patents Claim No Improvements To Or
                           Nonconventional Uses Of The Conventional
                           Genotyping Methods Available In 2009

        97.   The claims recite no improvements to these common approaches to

  “genotyping,” nor any novel way of carrying them out; rather the Patents explain

  that the “existing genotyping platforms known in the art” can be employed, handling

  up to hundreds of thousands of heterozygous and homozygous “[u]sable SNPs,” and

  note that “[c]ompanies … currently offer both standard and custom-designed

  TaqMan probe sets for SNP genotyping that can in principle target any desired SNP

  position for a PCR-based assay.” B0001-B0024 (ʼ652 Patent) at B0016, 13:58-64.

  Consistent with the disclosure of the Patents, and my own experience as a researcher

  in the genomics field in 2009, a POSA understood “genotyping,” including using

  “selective amplification … by … PCR,” and establishing “polymorphism” or “SNP”

  “profiles” including homozygous or heterozygous variants to be a routine and

  conventional practice.

        98.   A declaration submitted to the USPTO during prosecution of the ʼ652

  Patent further confirms that the recited genotyping limitations were routine and

  conventional as of 2009. In order to overcome a rejection by the patent examiner, a

  scientist who worked in named inventor Stephen Quake’s Stanford laboratory


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  submitted a declaration, dated January 30, 2014, to “demonstrate that genotype

  information obtained from a transplant recipient can be used to establish a

  polymorphism profile to detect donor-derived cell-free nucleic acids in a sample

  from the transplant recipient.” B0260-B0263 (Beausang Dec.). In his declaration,

  the scientist, Mr. John Beausang, describes an analysis he had performed using the

  claimed methods. Id. He states that “[g]enotypes of the transplant recipients were

  obtained from genomic DNA using the Illumina Omni1-Quad Beadchip following

  standard protocols.” Id. I am familiar with the Illumina BeadChip, which as

  discussed above in paragraph 89,was available by 2002 and was routinely used by

  researchers for genotyping to obtain polymorphism, including SNP, profiles

  following standard protocols by 2009.

              3.     Performing Multiplex Or High-Throughput Sequencing Of
                     (Or Digital PCR On) The cfDNA To Detect The Genotyped
                     Polymorphisms (Or SNPs)

        99.   Claim element 1(c) of the ’652 Patent recites “multiplex sequencing of

  the cell-free nucleic acids in the sample followed by analysis of the sequencing

  results using the polymorphism profile.” Claim element 1(d) of the ’497 Patent

  recites “determining an amount of donor-specific cell-free nucleic acids by … high-

  throughput sequencing or [dPCR].” Claim element 1(d) of the ’607 Patent recites

  “performing a high throughput sequencing reaction … compris[ing] … sequencing-

  by-synthesis.” These also were standard techniques for analyzing nucleic acids by


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  the time of the November 6, 2009 filing date, and they were routinely used by that

  time to analyze cell-free nucleic acids in samples.

                     (a)    Background On Multiplex / High Throughput
                            Sequencing Technology

        100. As explained above, methods for determining the exact sequences of

  the bases in a stretch of DNA – called sequencing – were well known as of

  November 6, 2009. See, e.g., B0001-B0024 (’652 Patent) at B0017, 15:6-8. Methods

  for simultaneously sequencing multiple stretches of DNA in a high-throughput

  instrument – called multiplex or high-throughput sequencing, also known as Next

  Generation Sequencing or “NGS” – also were well known and routinely used as of

  November 6, 2009. See, e.g., id. at B0017, 15:8-16:41. The terms “multiplex

  sequencing” as recited in the ’652 Patent, and “high-throughput sequencing” as

  recited in the ’497 and ’607 Patents, were used interchangeably by POSAs in the

  field of nucleic acid analysis in 2009 when the Patents were filed. These terms were

  understood by POSAs (both in 2009 and now) to include parallel sequencing

  methods using automated instrumentation.

        101. “Sequencing-by-synthesis,” as recited in the ’607 Patent claims, is a

  sequencing technique that by 2009 was one of the multiplex or high-throughput

  sequencing techniques most routinely used in the field of nucleic acid analysis. It

  involves determining the sequence of a particular nucleic acid by synthesizing a

  strand complementary to it inside of a sequencing machine. In the sequencing-by-

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  synthesis reaction, the bases being added are “tagged” in an identifiable manner,

  such that the sequencing machine can tell what base is being added at each position,

  and therefore identify the complete sequence of the nucleic acid that is being

  sequenced. Because nucleic acids, particularly DNA, form double-stranded

  structures through complementary binding and specific base-pairing, if a POSA

  knows the sequence of the strand that is newly sequenced, she can deduce the

  sequence of the complementary strand being interrogated.

        102. The specification also describes a “shotgun” sequencing approach for

  sequencing circulating nucleic acids. Id. at B0014, 9:8-14. (“Detection,

  identification and/or quantitation of the donor-specific markers (e.g. polymorphic

  markers such as SNPs) can be performed using real-time PCR, chips (e.g., SNP

  chips), high-throughput shotgun sequencing of circulating nucleic acids (e.g. cell-

  free DNA), as well as other methods known in the art including the methods

  described herein.”). Shotgun sequencing is a general strategy that was developed in

  the 1980s. B0264-B0274 (Hutchison) at B0268; B0275-B0285 (Green 2001) at

  B0276, B0281, B0282.      In shotgun sequencing, multiple overlapping “reads” for

  the target DNA are obtained by performing several rounds of sequencing of DNA

  fragments. After all the fragments are sequenced, computer programs use the

  overlapping ends of different reads to assemble them into a continuous sequence.




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                    (b)   Commercially Available Multiplex And High-
                          Throughput Sequencing Platforms As Of 2009

        103. Multiplex and high-throughput sequencing techniques, including

  sequencing-by-synthesis techniques, had been in use for more than a decade before

  the 2009 filing date of the Patents. For example, a method called pyrosequencing,

  which performs sequencing-by-synthesis, was developed and first published in

  1993. B0286-B0290 (Nyren 1993); see also B0291-B0300 (Ronaghi 2001). It was

  the foundation for different companies. PYROSEQUENCING AB, out of Uppsala

  Sweden, launched its first commercial automated pyrosequencing instrument in

  1999. B0694-B0903 (Marsh 2007) at B0713. Another is called 454 Life Sciences,

  Inc. (later acquired by Roche Diagnostics, Inc.). See also B0001-B0024 (’652

  Patent) at B0017, 15:38-45 (disclosing using 454 sequencers as embodiments of the

  claimed methods); B0309-B0312 (Coombs) at B0311. 454 Life Sciences

  commercially launched its first sequencing instruments in 2005. B0301-B0308

  (Heather 2016) at B0303; B0309-B0312 (Coombs) at B0311. Based on the machines

  made available by Pyrosequencing, by the year 2000, pyrosequencing had

  established itself as a standard and conventional means for multiplex or high-

  throughput sequencing, including for genotyping SNPs. See, e.g., B0313-B0320

  (Ahmadian 2000 at B0313, B0318); B0074-B0079 (Nordstrom 2000) at B0074,

  B0078; B0291-B0300 (Ronaghi 2001) at B0292-B0293.



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          104. Another high throughput sequencing-by-synthesis method developed

  by a group out of Cambridge University in 1998 became the foundation for a

  company called Solexa (later acquired by Illumina, Inc.). Solexa commercially

  launched its first sequencing instrument, the “Genome Analyzer,” in 2006. B0321-

  B0323      (Illumina,   History   of    Sequencing   by    Synthesis,   available    at

  https://www.illumina.com/science/technology/next-generation-

  sequencing/illumina-sequencing-history.html); see also B0001-B0024(’652 Patent)

  at B0017, 15:53-60; B0017-B0018,16:57-17:13 (disclosing using Solexa

  instruments including the Genome Analyzer as embodiments of the claimed

  method). As the group that developed this technology reported in Margulies 2005,

  the instrument branded as the Genome Analyzer could “sequence 25 million bases,

  at 99% or better accuracy, in one four-hour run,” B11305-1309 (Margulies 2005) at

  B1305 (Abstract), and had an average read length of 108 bases, id. at B1307, Table

  1.

          105. Illumina acquired Solexa in 2007. Illumina provides a comprehensive

  line of products for large scale analysis of genetic variation and biological function,

  including genotyping and sequencing. In 2007, in a 10K SEC filing, Illumina

  reported that its “[i]nstrument revenue increased by $77.6 million over prior year, of

  which $68.7 million was due to increased sales of our sequencing systems,

  particularly the Genome Analyzer and cluster stations.” By the end of 2008, Illumina

                                            A56


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  reported revenue of $573 million for its products. B0904-B0994 (Illumina 10K) at

  B0927. Illumina reported that its “Instrument revenue increased by $64.8 million

  over prior year, of which $63.0 million was due to increased sales of our sequencing

  systems. This increase in revenue can be primarily attributed to shipments of our

  second generation Genome Analyzer, the Genome Analyzer II (GAII).” Id. at

  B0935. Illumina’s Genome Analyzer, which was in widespread routine use by 2009,

  is cited in the written description as an example product capable of performing the

  claimed laboratory techniques. B0001-B0024 (ʼ652 Patent) at B0017, 16:50-59;

  B0018, 17:1-12; B0022, 26:47-52; see also B0260-B0263 (Beausang Decl.) at

  B0260-B0261.

        106. As another example, a high throughput sequencing method co-

  developed by the named inventor Dr. Quake became the foundation for his company,

  Helicos, which was founded in 2003, and on which I was a member of the Scientific

  Advisory Board. Helicos commercially launched its first sequencing instrument, the

  HeliScope, in 2008. B0581-B0693 (Helicos 10K 2008); see also B0001-B0024

  (’652 Patent) at B0017, 15:22-37; B0018, 17:22-28 (disclosing using Helicos

  instruments as embodiments of the claimed method).

        107. The written description also describes the Pico Titer Plate device

  manufactured by 454 Lifesciences, Inc. as a commercial product for performing the

  recited sequencing element. Id. at B0017, 15:38-46. The Pico Titer Plate device,

                                         A57


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  available as of 2006, combines conventional PCR amplification with

  pyrosequencing in a high throughput, automated format. The Pico Titer Plate was

  one of the first next generation multiplex sequencing instruments developed, and

  was in common usage as of 2009. B0226-B0243 (Voelkerding 2009) at B0227.

        108. The acceleration of nucleic acid sequencing technology before 2009

  was incredibly rapid, with authors of a pertinent review article describing:

        The capabilities of DNA sequencers have grown at a rate even faster
        than that seen in the computing revolution described by Moore’s law:
        the complexity of microchips (measured by number of transistors per
        unit cost) doubles approximately every two years, while sequencing
        capabilities between 2004 and 2010 doubled every five months. The
        various offshoot technologies are diverse in their chemistries,
        capabilities and specifications, providing researchers with a diverse
        toolbox with which to design experiments.

  B0301-B0308 (Heather 2016) at B0305; see also B0324-B0333 (Morozova (2008)

  at B0324 (“A new generation of sequencing technologies, from Illumina/Solexa,

  ABI/SOLiD, 454/Roche, and Helicos, has provided unprecedented opportunities for

  high-throughput functional genomic research. To date, these technologies have been

  applied in a variety of contexts, including whole-genome sequencing, targeted

  resequencing, discovery of transcription factor binding sites, and noncoding RNA

  expression profiling.”); id. at B0331 (noting that the commercially available high

  throughput sequencers “have provided genome-scale sequencing capacity to

  individual laboratories”).



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        109. In an article published in March 2009, named inventor Dr. Quake

  reported a study on sequencing using the 454 FLX and Solexa DNA platforms, both

  of which are described as commercially available in the Patents. B0334-B0345

  (White 2009) at B0334; see also B0001-B0024 (’652 Patent) at B0017, 15:38-60. In

  that publication, Dr. Quake states that high-throughput sequencing technologies

  such as 454 and Solexa that are “based on sequencing by synthesis and sequencing

  by ligation are revolutionizing biology, biotechnology, and medicine,” and are a

  “key advance facilitating higher throughput and lower costs for several of these

  platforms was migration from the clone-based sample preparation used in Sanger

  sequencing to the massively parallel clonal PCR amplification of sample molecules

  on beads (Roche 454 and ABI Solid) or on a surface (Solexa).” B0334-B0345 (White

  2009) at B0334.

        110. By November 2009, POSAs also routinely used multiplex or high-

  throughput sequencing to detect SNPs in samples. This is confirmed, for example,

  in a scientific paper by Shen et al., B0346-B0354 (Shen 2010), published online on

  December 17, 2009, titled “A SNP Discovery Method To Assess Variant Allele

  Probability From Next-Generation Resequencing Data.” Shen et al. explain that

  “[i]n recent years, next-generation sequencing (NGS) technologies have propelled

  the rapid progress of genomics studies []. Continuous improvement in NGS

  technologies are increasing the throughput while lowering costs, thus enabling ultra-

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  large-scale sequencing efforts.” Id. at B0346. The authors explain that [c]urrently,

  there are several methods available for detecting SNPs from NGS data,” listing

  several examples, and further explain that they have provided a “freely available

  software package, Atlas-SNP2” to reduce error rates in interpreting sequencing data.

  Id. at B0346-B0347.

        111. Based on my review of the literature and my own experience as a

  researcher active in cfDNA analysis in 2009, there were a number of commercially

  available sequencers from which to choose to carry out what the Patent claims

  describe at a high level as “multiplex” or “high-throughput” “sequencing,” including

  what the Patents describe as “sequencing-by-synthesis.”

        112. The Patents’ disclosure acknowledges these numerous commercial

  providers of multiplex or high-throughput sequencing instruments as of the time the

  Patents were filed. For example, the written description states that:

        Detection, identification and/or quantitation of the donor-specific
        markers (e.g. polymorphic markers such as SNPs) can be performed
        using real-time PCR, chips (e.g., SNP chips), high-throughput
        shotgun sequencing of circulating nucleic acids (e.g. cell-free DNA),
        as well as other methods known in the art including the methods
        described herein.

  B0001-B0024 (’652 Patent) at B0014, 9:8-14 (emphasis added). The Patents

  disclose, under the heading “Sequencing,” id. at B0017, 15:1, numerous examples

  of commercial products that can carry out the multiplex or high-throughput



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  sequencing (including sequencing by synthesis), including those discussed above,

  such as:

        ● “technology available by Helicos Biosciences Corporation [] such as the
          Single Molecule Sequencing by Synthesis (SMSS) method,” id. at B0017,
          15:22-25;
        ● “technology available by 454 Lifesciences,” id. at B0017, 15:39;
        ● “fiber optics detection [as] described in Marguiles, M., et al.,” id. at B0017,
          15:46-52;
        ● “Clonal Single Molecule Array (Solexa, Inc.) or sequencing-by-synthesis
          (SBS) utilizing reversible terminator chemistry,” id. at B0017, 15:53-56;
        ● “AnyDot-.chips (Gonovoxx, Germany),” id. at B0017, 15:61-65; and
        ● “sequencers such as the Illumina Genome Analyzer,” id. at B0017, 16:57-
          59.


        113. Furthermore, a declaration submitted by Mr. Beausang to the USPTO

  during prosecution of the ʼ652 Patent, in order to overcome rejections by the patent

  examiner, further confirms that the multiplex and high-throughput sequencing

  limitations were routine and conventional as of 2009. In his declaration, Mr.

  Beausang states that in carrying out the method recited in the ’652 Patent claims,

  “[s]equencing libraries were constructed from cell-free DNA using commercially

  available kits and sequenced following standard protocols using an Illumina GAII

  sequencer.” B0260-B0263 (Beausang Decl.) at B0260-B0261. I am familiar with the

  Illumina GAII sequencer, which was routinely used in 2009 by researchers,

  including myself, using commercially available kits and standard protocols.


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                      (c)   Sensitivities And Error Rates Inherent In The
                            Available Sequencing Instruments

          114. The Patent claims further recite certain levels of sensitivity in the

  claimed methods, for example at ’652 Patent claim element 1(d), which recites

  “wherein sensitivity of the method is greater than 56% compared to sensitivity of

  current surveillance methods for cardiac allograft vasculopathy (CAV)”13; and at

  ’497 Patent claim element 1(d) and ’607 Patent claim element 1(f), which recite

  detection when the donor-specific circulating cell-free nucleic acids make up “at

  least 0.03% of the total circulating cell-free [nucleic acids/[DNA]]” in the sample.

  These sensitivity levels are not improvements over the methods already available,

  nor do the Patents disclose or claim any nonconventional use of the available

  methods in order to achieve a particular sensitivity. Rather, the recited sensitivites


  13
     I do not believe a POSA would understand the meaning of the phrase “wherein
  sensitivity of the method is greater than 56% compared to sensitivity of current
  surveillance methods for cardiac allograft vasculopathy (CAV)” of ’652 Patent claim
  element 1(d), as it makes no sense in the context of the claims. For example,
  “sensitivity” can have different meanings and there are different ways to measure it
  depending on what it refers to. For example, there is a level of “sensitivity” inherent
  in the sequencing methods recited in the claims that can be measured in one of
  several different ways based on the outcome of the sequencing instrument. There is
  also a clinical “sensitivity” inherent in the method based on how accurate the
  method is in identifying those patients who have organ transplant rejection or failure.
  The claim does not convey to a POSA what “sensitivity” it refers to or how it is
  measured. Notwithstanding, regardless of what the “sensitivity” in the claim refers
  to or how it is measured, it is an inherent feature of the claimed methods and neither
  the claims nor the written description refer to any improved or nonconventional way
  of achieving a specific level of “sensitivity’ beyond what inherently results from the
  use of the conventional methods recited.
                                            A62


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  are inherent features of standard use of the methods, which themselves are routine

  and conventional.

        115. For example, as to ’652 Patent claim element 1(d), the Patents’ written

  description explains that “[t]he invention provides methods that are sensitive and

  specific,” and “[i]n some embodiments, the methods described herein have at least

  56% sensitivity.” B0001-B0024 (’652 Patent) at B0021, 23:31-36. A POSA would

  understand this is an inherent feature of the recited method, based on the

  conventional techniques recited. The Patents’ written description states that “[t]he

  practice of the present invention employs, unless otherwise indicated, conventional

  techniques … which are within the skill of the art. …” Id. at B0012, 5:36-49. The

  written description does not anywhere indicate that the methods are practiced in a

  nonconventional way to achieve greater than 56% sensitivity compared to sensitivity

  of then-current surveillance methods for CAV – or compared to any other metric for

  that matter.

        116. Furthermore, to the extent the element “sensitivity of the method is

  greater than 56%” (’652 Patent claim element 1(d)) refers to the sensitivity of a

  clinical diagnosis, this would be an inherent outcome of practicing the routine,

  conventional method steps. In a clinical diagnosis, “sensitivity” refers to the ability

  of the test to correctly identify those with the condition – here transplant rejection or

  failure (i.e., true positive rate). There is nothing inventive about reciting a sensitivity

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  greater than 56% compared to anything. As far as the claims are concerned, a

  sensitivity of greater than 56% is slightly better odds than flipping a coin in terms of

  diagnosing transplant rejection or failure. Indeed, even a test that identifies every

  transplant recipient as undergoing transplant rejection or failure would have a 100%

  sensitivity rate (because the group would include all patients undergoing

  rejection/failure)--but the test would be useless because it would not eliminate false

  positives (it would also include patients who were not actually undergoing

  rejection/failure).   The written description contains no explanation of a

  nonconventional way of achieving even 56% sensitivity (which, in my opinion,

  would be ineffective at diagnosing transplant rejection or failure as the claims

  purport in any event).

         117. The written description only describes at a high level “sensitive and

  non-invasive methods, devices, compositions and kits for monitoring organ

  transplant patients, and/or for diagnosing or predicting transplant status or outcome

  (e.g. transplant rejection),” and the lowest sensitivity described in the patent is 56%.

  B0001-B0024 (’652 Patent) at B0021, 23:32-36 (“In some embodiments, the

  methods described herein for diagnosing or predicting transplant status or outcome

  have at least 56%, 60%, 70%, 80%, 90%, 95% or 100% sensitivity. In some

  embodiments, the methods described herein have at least 56% sensitivity.”). The

  written description does not indicate any nonconventional technique for arriving at

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  this (albeit clinically ineffective) sensitivity for diagnosis – to the contrary it lacks

  any explanation as to how this sensitivity is achieved. Accordingly, a POSA would

  know that a sensitivity of at least 56% would have to be (and is) an inherent result

  of using the claimed techniques.

        118. As to sensitivity of the sequencing methods, including as recited in ’497

  Patent claim element 1(d) and ’607 Patent claim element 1(f), wherein detection

  occurs when the donor-specific circulating cell-free nucleic acids make up “at least

  0.03% of the total circulating cell-free [nucleic acids/[DNA]]” in the sample, the

  Patents’ written description states that “[h]igher sensitivity can be achieved simply

  by sequencing more molecules, i.e., using more channels.” B0001-B0024 (’652

  Patent) at B0018, 17:12-13. The written description also explains that, for example,

  “[c]urrently, sequencers such as the Illumina Genome Analyzer have read lengths

  exceeding 36 base pairs,” id. at B0017, 16:57-59, and that “[o]n the Genome

  Analyzer … If one wants to establish a lower limit of sensitivity for this method by

  requiring at least 100 donor molecules to be detected, then it should have a sensitivity

  capable of detecting donor molecules when the donor fraction is as low as 0.03%.”

  Id. at B0018, 17:1-11. This is merely states, again, an inherent feature of the

  conventional sequencing instruments, in standard use, as recited in the claims.

        119. Indeed, it was well-known in the art by November 6, 2009 that

  “[h]igher sensitivity can be achieved simply by sequencing more molecules,” as the

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  written description states. See B0001-B0024 (’652 Patent) at B0018, 17:12-13. The

  written description acknowledges that “[t]here are two components to sensitivity: (i)

  the number of molecules analyzed (depth of sequencing) and (ii) the error rate of the

  sequencing process.” Id. at B0017, 16:52-55. POSAs prior to November 6, 2009

  were well aware that sequencing more molecules, or increasing sequencing depth,

  improves sensitivity. As Voelkerding et al. explained in a 2009 review article

  reviewing multiplex / high-throughput (NGS) sequencing technology: “Accuracy in

  NGS is achieved by sequencing a given region multiple times, enabled by the

  massively parallel process, with each sequence contributing to ‘coverage’ depth.”

  B0226-B0243 (Voelkerding 2009) at B0236. In another example, Thomas et al. in

  2006 noted that “[s]equence variants that represent a fraction of a complex sample

  can be vastly oversampled, thus enabling statistically meaningful quantification of

  low-abundance variants.” B1301-1304.1 (Thomas 2006) at B1301. This is further

  demonstrated in Thomas 2006 at Supplemental Figure 2, which shows that the

  detection limit is determined by sequencing error rate and sequencing read depth

  (i.e., how many molecules are sequenced), reflecting the fact that there was a well-

  known correlation between the number of molecules sequenced and sensitivity

  including limit of detection of donor fraction. Id. at B1304.1.

        120. The ’607 Patent, at claim element 1(d), also recites that “said

  sequencing-by-synthesis reaction has a sequencing error rate of less than 1.5%.”

                                          A66


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  This, too, is a feature inherent in common methods of using the sequencing

  instruments disclosed in the written description. In the context of the Patents, the

  sequencing error rate is an estimate of the proportion of all bases (often expressed

  as a decimal) sequenced by a sequencer that are incorrect. These errors can be caused

  by a combination of problems, for example, during sample preparation,

  misidentification of single base additions by the sequencer, background noise, or

  some combination of these and other factors. The Patents’ written description

  explains that “it is possible to systematically lower the sequencing error rate by

  resequencing the sample template multiple times, as has been demonstrated by

  Helicos BioSciences (Harris, T.D. et al., Science, 320, 106-109 (2008)).” B0001-

  B0024 (’652 Patent) at B0018, 17:22-26. The written description further explains

  that, as to the numerous commercial sequencing platforms disclosed in the patents,

  “[t]ypical sequencing error rates for base substitutions vary between platforms, but

  are between 0.5-1.5%.” Id. at B0018, 17:20-21. Thus, as the Patents’ written

  description recognizes, error rates were inherent in the recited sequencing

  techniques, and methods for lowering sequencing error rates were already known

  and established in the field before the Patents were filed.

        121. The literature as of 2009 confirms that the recited sensitivity levels were

  inherent in the conventional use of the sequencing instruments at the time. For

  example, in a paper co-authored by Patent inventor Stephen Quake, Harris et al.,

                                           A67


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  Science (2008) 320:106-109, B0355-B0359, the authors explain the science behind

  the inherent sequencing error rates in Helicos sequencing technology. The authors

  also describe inherent error rates significantly lower than 1.5%. Id. at B0357.

                      (d)   Digital PCR Methods Were Routine And
                            Commercially Available In 2009

        122. ’497 Patent claim element 1(d) recites, as an alternative to high-

  throughput sequencing, a technique called digital PCR, or “dPCR.” This technique

  also was known and conventional as of 2009. For example, the written description

  cites to and incorporates by reference a 2006 publication disclosing its use, at B0001-

  B0024 (’652 Patent) at B0016, 14:58-67.

                      (e)   The Patents Claim No Improvements To Or
                            Nonconventional Uses Of The Conventional
                            Multiplex/High-Throughput Sequencing Or dPCR
                            Methods Available In 2009

        123. The “multiplex sequencing” and “high-throughput sequencing” (and

  “dPCR”) techniques recited in the claims of the Patents refer to a broad range of

  well-established   and    routine   parallel   sequencing   technologies,    including

  sequencing-by-synthesis, as of 2009. The Patents recite using them only at a high

  level of generality, and do not purport to improve on them or claim any

  nonconventional use of them.




                                           A68


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               4.     Quantifying The Transplant cfDNA In The Sample, Using
                      The Polymorphisms / SNPs In The Sequences

        124. Claim element 1(d) of the ’652 Patent recites “determining a quantity

  of the donor cell-free nucleic acids based on the detection of [donor and recipient

  cell-free nucleic acids] by the multiplexed sequencing.” Claim element 1(d) of the

  ’497 Patent recites “determining an amount of donor-specific cell-free nucleic acids

  … by detecting a homozygous or a heterozygous SNP within the [donor cell-free

  nucleic acids].” Claim element 1(f) of the ’607 Patent recites “quantifying an amount

  of [transplant cfDNA] … using markers distinguishable between … recipient and …

  donor … wherein said markers … comprise [SNPs] selected from said at least 1,000

  [SNPs].” These quantification steps are broadly recited with no further specificity.

  A POSA would have understood that they could employ any of a wide range of

  standard techniques for quantifying nucleic acids, which were already well known

  and established by the filing date of the Patents.

        125. The      Patents’   written   description   explains   that   “[d]etection,

  identification, and/or quantification of the donor-specific markers (e.g., polymorphic

  markers such as SNPs) can be performed using real-time PCR, chips (e.g., SNP

  chips), high-throughput shotgun sequencing of circulating nucleic acids (e.g. cell-

  free DNA), as well as other methods known in the art including the methods

  described herein.” B0001-B0024 (’652 Patent) at B0014, 9:8-14. This is also

  described elsewhere in the written description, for example id. at B0020, 21:5-9,

                                           A69


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  which states that “[t]he presence or absence of one or more nucleic acids from the

  transplant donor in the transplant recipient may be determined by any suitable

  method known in the art including those described herein such as sequencing,

  nucleic acid arrays or PCR.”

        126. Quantification of SNPs based on multiplex or high-throughput

  sequencing data was a well-known and routine practice by the time of the 2009 filing

  date of the Patents. I, myself, was researching cancer-related polymorphisms,

  including SNPs, present in cfDNA in cancer patients using high-throughput

  sequencing data at that time. For example, my position at Dana-Farber involved

  contributing to developing analytic methods for the processing, including

  quantification, of DNA sequencing data generated by multiplex or high-throughput

  sequencing. This included analysis, including quantification, of sequencing data

  from cancer cell lines, bulk tumor samples, circulating tumor cells, and cell-free

  nucleic acids. Using multiplex or high-throughput sequencing to generate

  quantitative sequencing data, including from cfDNA, was a routine practice by

  November 6, 2009, and I used standard techniques for generating such sequencing

  data in my own experience.

        127. By November 2009, POSAs were routinely publishing data generated

  by multiplex or high-throughput sequencing to quantify SNPs, including for the

  purpose of detecting different genotypes in a sample. For example, in a scientific

                                         A70


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  paper published by Sampson and Zhao, B0360-B0388 (Statistical Applications in

  Genetics and Molecular Biology (2009) 8(1):1-27, titled “Identifying Individuals in

  a Complex Mixture of DNA with Unknown Ancestry”), the authors described use

  of high-throughput sequencing data, including as generated from “Illumina”

  instruments, to “determine whether a specific individual contributes DNA” to “a

  mixture of DNA samples from numerous individuals.” B0360-B0388 (Sampson

  2009) at B0360-61. The authors provide algorithms for determining “allele

  frequencies,” which a POSA would understand describes determining quantities of

  SNPs, from this data. Id. at, e.g., B0362. The authors further examine and compare

  SNP frequency data generated on high-throughput sequencing platforms, such as

  Illumina’s, to such data generated on other types of platforms. Id. at B0368; see also

  id. at B0361 (explaining the platforms being tested are “e.g. Illumina, Affymetrix”).

        128. The claims of the Patents recite quantifying donor cell-free nucleic

  acids only at a high level, and do not specify any particular technique for doing so.

  The claims do not purport to provide any innovative or nonconventional method for

  quantifying polymorphisms or SNPs in cell-free nucleic acids based on sequencing

  data. Nor do the claims purport to claim any improvement over the existing means

  for doing so as of 2009.




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          C.    The Claimed Combinations Of Steps For Detecting Multiple
                Genomes In A cfDNA Sample Were Conventional

                1.    The Patents’ Written Description States That The
                      Laboratory Techniques In The Claims As A Whole Were
                      Conventional As Of 2009

          129. As I note above, the Patents’ written description states that “[t]he

  practice of the present invention employs, unless otherwise indicated, conventional

  techniques of immunology, biochemistry, chemistry, molecular biology,

  microbiology, cell biology, genomics and recombinant DNA, which are within the

  skill of the art.” B0001-B0024 (’652 Patent) at B0012, 5:36-40 (emphasis added). I

  did not find any indication in the Patents that the claimed combination of laboratory

  techniques was nonconventional, or carried out in a way that modifies or improves

  upon the traditional combination of these laboratory techniques.

          130. To the contrary, the Patents’ written description states that the

  combination of elements in the claims was routine and carried out using commercial

  products without modification at the time of the Patents’ filing date. For example,

  the Patents’ written description states that “[g]enotyping14 donor and recipient

  nucleic acids, and/or detection, identification and/or quantification of the donor-

  specific nucleic acids15 after transplantation (e.g. polymorphic markers such as



  14
     ’652 Patent claim element 1(b); ’497 Patent claim elements 1(a) and (b); ’607
  Patent claim element 1(c).
  15
     ’652 Patent claim element 1(d); ’497 Patent claim element 1(d) ; ’607 Patent
  claim element 1(f).
                                          A72


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  SNPs)16 can be performed by sequencing17 such as whole genome sequencing or

  exome sequencing.” B0001-B0024 (’652 Patent) at B0017, 15:2-6 (emphasis

  added). The written description, in the same section, identifies several commercial

  multiplex and high-throughput sequencing18 platforms routinely used to carry out

  this combination of steps by the 2009 filing date. Id. at B0017-B0018, 15:22-17:28

  (further disclosing the inherent sensitivities and error rates inherent in the standard

  use of the sequencing equipment); see also section VI.B above.

          131. The written description identifies obtaining or providing a sample of

  cell-free nucleic acids19 as routine and conventional, and does not identify any

  nonconventional way of obtaining a sample that is used with the claimed

  combination. See section VII.B. above.

          132. As to the ’607 Patent, the written description does not indicate anything

  nonconventional about “selective amplification of … at least 1,000 [SNPs] … by

  PCR,” as recited in claim element 1(c), or its combination with high throughput

  sequencing as recited in elements 1(d) and (e) to quantify the cfDNA as recited in



  16
     ’652 Patent claim element 1(b); ’497 Patent claim elements 1(a) and (b) ; ’607
  Patent claim element 1(f).
  17
     ’652 Patent claim element 1(c); ’497 Patent claim elements 1(d) ; ’607 Patent
  claim elements 1(d) and (e).
  18
     ’652 Patent claim element 1(c); ’497 Patent claim elements 1(d) ; ’607 Patent
  claim element 1(d).
  19
     ’652 Patent claim element 1(a); ’497 Patent claim elements 1(c) ; ’607 Patent
  claim elements 1(a) and (b).
                                          A73


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  element 1(f). Rather, again, the written description explains that “[g]enotyping

  donor and recipient nucleic acids, and/or detection, identification and/or

  quantitation of the donor-specific nucleic acids after transplantation (e.g.

  polymorphic markers such as SNPs) can be performed by PCR.” B0001-B0024

  (’652 Patent) at B0016, 14:29-32 (emphasis added). The written description

  describes commercially available PCR-based products that were routinely used to

  genotype and quantitate SNPs as of 2009, stating that with these products, “[u]sable

  SNPs may comprise approximately 500,000 heterozygous donor SNPs and

  approximately 160,000 homozygous donor SNPs,” and that “[c]ompanies …

  currently offer both standard and custom-designed TaqMan probe sets for SNP

  genotyping that can in principle target any desired SNP position for a PCR-based

  assay.” Id. at B0017, 13:55-64.

        133. Moreover, the written description does not indicate anything

  nonconventional about selectively amplifying 1,000 SNPs (or even 10,000 SNPs as

  recited in dependent claim 5) and combining that with high-throughput sequencing

  of the selectively amplified DNA. Indeed, contemporaneous literature indicates that

  was conventional, and numerous commercial products were available to perform it.

  See, e.g. B0224-B0225 (RainDance 2008) (describing commercial product for

  amplifying thousands of SNPs and combining with subsequent high-throughput

  sequencing by synthesis); B0226-B0243 (Volkerding 2009) (review article

                                         A74


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  describing several different products for “targeted genomic resequencing,” including

  to detect “polymorphisms,” that involve up to hundreds of thousands of capture

  probes to “enrich[]” for the target polymorphisms, “with the enriched DNA

  amplified by PCR before NGS [e.g., high-throughput sequencing] library

  preparation”).

            134. In fact, the written description does not mention sequencing of

  selectively amplified cfDNA at all – there is no reference to it in the specification.

  The written description does not indicate that the claimed method performs this

  combination by modifying the recited laboratory techniques or using them in a

  nonconventional way, nor does it state this is an improvement over the methods the

  written description otherwise describes as conventional. See B0001-B0024 (’652

  Patent) at B0012, 5:36-40 (“The practice of the present invention employs, unless

  otherwise indicated, conventional techniques … which are within the skill of the

  art.”).

            135. Thus, each of the combinations of the claims of the Patents as a whole

  is described in the written description as conventional and routinely performed,

  including by commercial instruments, as of the Patents’ filing date.




                                            A75


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               2.    POSAs Have Long Recognized That The Same Methods
                     For Detecting Fetal, Cancer, And Infectious cfDNA Could
                     Be Used To Detect Transplant cfDNA

        136. By 2009, the combinations of laboratory techniques claimed in the

  Patents were well understood, routine and conventional methods for quantifying

  cfDNA having different genotypes in a biological sample. Other scientists including

  myself had established, and were routinely using, the claimed combination of

  laboratory techniques for quantifying fetal cfDNA in samples from a pregnant

  woman, cancer cfDNA in samples from a cancer patient, and bacterial or viral

  cfDNA in samples from an infected patient or an infected animal, among other

  applications, as I discuss in more detail below. POSAs prior to 2009 stated that these

  same methods could be used to detect and quantify cfDNA from any of these

  sources, and acknowledged that they also applied to detecting transplant donor-

  derived cfDNA in an organ transplant recipient’s sample.

        137. Indeed, the Patents’ written description recognizes that common

  approaches were being applied broadly to study transplant rejection/failure,

  pregnancy, cancer, and other conditions in which cell-free nucleic acids representing

  different genotypes are present in a patient’s circulation. See, e.g., B0001-B0024

  (’652 Patent) at B0012, 6:67-7:5; id. at B0013, 7:16-19 (explaining through

  examples that “results collectively establish both circulating DNA, either free in

  plasma or from circulating cells, as a useful species in cancer detection and


                                          A76


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  treatment”); id. at B0013, 7:19-23 (explaining with examples that “[c]irculating

  DNA has also been useful in healthy patients for fetal diagnostics, with fetal DNA

  circulating in maternal blood serving as a marker for gender, rhesus D status, fetal

  aneuploidy, and sex-linked disorders”); id. at B0013, 8:1-21 (explaining with

  examples that “results establish that for heart transplant patients, donor-derived

  DNA present in plasma can serve as a potential biomarker for the onset of organ

  failure”). As the written description explains, and a POSA in the relevant November

  2009 period appreciated, the approaches to detecting and quantifying foreign or

  abnormal cell-free nucleic acids could be broadly applied to many natural

  phenomena:

        In all these applications of circulating nucleic acids, the presence of
        sequences differing from a patient's normal genotype has been used to
        detect disease. In cancer, mutations of genes are a tell-tale sign of the
        advance of the disease; in fetal diagnostics, the detection of sequences
        specific to the fetus compared to maternal DNA allows for analysis of
        the health of the fetus. … [A]s cell-free DNA or RNA often arises from
        apoptotic cells, the relative amount of donor-specific sequences in
        circulating nucleic acids should provide a predictive measure of on-
        coming organ failure in transplant patients…

  B0001-B0024 (’652 Patent) at B0013, 7:30-46.

        138. Consistent with the Patents’ disclosure, the application of methods for

  detecting fetal and cancer cell-free nucleic acids to detecting analogous transplant-

  related natural phenomena was well-accepted among POSAs. The named inventors

  of the Patents have acknowledged this not only in the Patents, but also in other

                                          A77


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  publications. For example, in 2011 Stanford published a report in one of its

  newsletters quoting two of the named inventors – Steven Quake and Hannah

  Valantine. They explained that the application of known methods for detecting fetal

  cfDNA to the analogous phenomenon of transplant cfDNA was the basis for their

  idea underlying the Patents. As the Stanford newsletter reported:

        The current study began when Valantine noticed research by Quake in
        2008 showing that it is possible to detect fetal chromosomal
        abnormalities by sequencing cell-free DNA fragments in a maternal
        blood sample.

        “When I saw that, I thought, wow, this technique could probably be
        used to monitor heart rejection,” said Valantine, noting that cells
        damaged during rejection also release DNA into the circulatory
        system.

        “Hannah sought me out and I realized that an organ transplant can also
        be thought of as a genome transplant,” said Quake. “Someone else’s
        genome is in your body. So by looking at variations in the DNA
        sequence, we can identify which DNA segments come from the new
        heart, and which come from you.”


  B0389-B0391      (https://med.stanford.edu/news/all-news/2011/03/to-better-detect-

  heart-transplant-rejections-scientists-test-for-traces-of-donors-genome.html)

  (emphasis added).

        139. Similarly, a 2014 article in a Stanford Engineering publication

  described the Patent inventors’ adaptation of a method for fetal testing into the

  foundation for the Patents’ methods as follows:



                                          A78


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        The cell-free DNA technique hinges on the existence in the genome of
        naturally occurring regions of variation called single nucleotide
        polymorphisms, or SNPs. In 2008, Hannah Valantine, then a Stanford
        professor of cardiology, realized that a DNA-sequencing technique
        developed in Quake’s lab to pick out small quantities of fetal DNA
        from a pregnant woman’s blood might also be useful to track the fate
        of a transplanted organ.

  B0392-B0394 (Stanford Engineering 2014) at B0393 (emphasis added).

        140. POSAs up to more than a decade before the 2009 filing date of the

  Patents recognized the ease of applying routine methods for detecting foreign

  genomes to the detection of transplant cfDNA. For example, in 1998 Lo et al.

  reported in a publication that: “We have shown that DNA from fetuses is present in

  the plasma of their mothers, and now suggest that, in transplant patients, DNA from

  the organ donor may also be present in the plasma of the recipient.” B0080-B0081

  (Lo 1998) at B0080 (emphasis added). The Lo group further recognized that “[s]ince

  graft rejection is an important cause of cell death in the transplanted organ, our

  observations raise the possibility that the concentration of donor DNA in the

  recipient’s plasma may be a marker for rejection.” B0080-B0081 (Lo 1998) at

  B0080.

        141. Thereafter, and following the Human Genome Project’s complete

  sequencing of the human genome in April 2003, methods were quickly developed,

  standardized, commercialized, and applied by POSAs to detect different genotypes

  in a single patient sample. See, e.g., B0094-B0155 (2001 Human Genome Project)

                                         A79


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  at B0098, B0101; B0156-B0183# (Human Genome Project NIH FAQ) at B0158,

  B0162; B0164-B0183 (1000 Genome Project) at B0164, B168. For example, in

  2004, Ding et al. published a scientific paper describing laboratory techniques for

  detecting circulating cell-free nucleic acids that could be broadly applied to

  conditions involving different genotypes in a sample:

        These advances will help in catalyzing the clinical applications of fetal
        nucleic acids in maternal plasma. This analytical approach also will
        have implications for many other applications of circulating nucleic
        acids in areas such as oncology and transplantation.

  B0395-B0400 (Ding 2004) at B0395t (emphasis added). Ding 2004 also explained

  that, beyond detecting fetal cfDNA, the same laboratory techniques “could be

  extended to other areas of circulating nucleic acid analysis, including circulating

  tumor-specific DNA, such as Epstein–Barr virus DNA in nasopharyngeal carcinoma

  patients, KRAS point mutations, and donor-specific DNA in transplant recipients.”

  Id. at B0399.

        142. Likewise, in a PCT patent application filed on July 9, 2004 and

  published March 17, 2005, Cantor et al. described a method for detecting different

  genotypes arising from a range of natural phenomena in a sample:

        The method allows accurate detection of nucleic acids that are present
        in very small amounts in a biological sample. For example, the method
        of the present invention is preferably used to detect fetal nucleic acid in
        maternal blood sample; circulating tumor-specific nucleic acids in a
        blood, urine or stool sample; and donor-specific acids in transplant
        recipients. In another embodiment, one can detect viral, bacterial,
        fungal, or other foreign nucleic acids in biological sample.
                                           A80


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  B0995-B1049 (WO 2005/023091) (“Cantor 2005”), at B0995, Abstract (emphasis

  added).

        143. Similarly, in a PCT patent application filed March 26, 2007 and

  published March 26, 2008, B1050-B1104 (WO2008/118988 A1) (“Ehrich 2008”),

  Ehrich et al. described a laboratory technique for detecting and analyzing a range of

  different types of circulating cell-free nucleic acids, noting that “[i]n addition to

  prenatal applications, the methods find utility in a range of applications, including,

  but not limited to, detecting rare cancer mutations, detecting transplant rejection

  and forensics.” B1050-B1104 (WO2008/118988 A1) (“Ehrich 2008”) at B1067,

  17:20-22(emphasis added).

        144. In another example, Lo et al. filed a PCT patent application on July 23,

  2008, which published on January 29, 2009, B1105-B1219 (PCT Application No.

  WO2009/013492) (“Lo PCT 2009”). At paragraph [0003], the Lo group described a

  method for “determining a nucleic acid sequence imbalance,” which “generally

  relates to the diagnostic testing of genotypes and diseases by determining an

  imbalance between two different nucleic acid sequences…” The Lo group noted

  that the method relates “particularly to the identification of … mutations and

  genotypes in a fetus via testing of a sample of maternal blood,” and “also relates to

  the detection of cancer, the monitoring of transplantation, and the monitoring of

  infectious diseases.” Id. (emphasis added).
                                          A81


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        145. In all of the above examples from the literature, scientists describe

  methods for analyzing different nucleic acid sequences, or genotypes, in the same

  sample. As these examples demonstrate, by the November 6, 2009 filing date of the

  Patents, POSAs recognized that the same laboratory techniques for detecting

  different genotypes in a cfDNA sample would apply to a range of natural

  phenomena, including fetal conditions, cancer, organ transplant monitoring, and

  infectious disease.

               3.       POSAs Had Already Established The Claimed Laboratory
                        Techniques By 2009 To Detect Multiple Genotypes In A
                        Sample, Including In The Transplant Setting

        146. Confirming the Patents’ disclosure of established methods known in the

  art, numerous prior and contemporaneous publications describe combining the

  claimed laboratory techniques to detect different genotypes in different contexts,

  including transplant, fetal, cancer, infectious disease, and others.

        147. I provide other non-exhaustive examples here.

                        (a)   Cantor et al. – 2007

        148. Cantor et al. filed a U.S. Patent Application on February 28, 2006,

  which published as B0401-B0427 (U.S. 2007/0207466) (“Cantor 2007”) on

  September 6, 2007. Cantor 2007 describes a method for “accurate detection of

  nucleic acids that are present in very small amounts in a biological sample …

  preferably used to detect fetal nucleic acid in maternal blood sample; circulating


                                           A82


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  tumor-specific nucleic acids in a blood, urine or stool sample; and donor-specific

  acids in transplant recipients.” B0401-B0427 (Cantor 2007) at B0401, Abstract

  (emphasis added). Cantor 2007 explains the same method also “can detect viral,

  bacterial, fungal, or other foreign nucleic acids in biological sample.” Id.

        149. Exemplary disclosures of Cantor 2007 describing the combination of

  Patent claim elements are included in the table below:

    Claim Element                          Exemplary Disclosure

   Obtaining a          Cantor described a method of detecting “foreign nucleic
   sample               acids” “in a biological sample” such as a “blood sample,”
                        which a POSA would understand requires obtaining or
                        providing a biological sample as recited in ’652 Patent claim
                        element 1(a) and ’497 Patent claim element 1(c). See B0401-
                        B0427 (Cantor 2007) at B0401, Abstract. Cantor also
                        disclosed that certain embodiments are “a method for the
                        detection of … mutations in maternal plasma…,” which
                        requires providing a plasma sample as recited in ’607 Patent
                        claim element 1(a). Id. at B0409, ¶ [0016].

   Genotyping to        In an exemplary embodiment in the fetal context, Cantor
   obtain a SNP         disclosed that the method comprised “selecting one or more
   profile              [SNPs],” then “determining the fetal genotype from a sample
                        DNA isolated from the plasma, serum, or whole blood of the
                        pregnant mother … [by] performing SNP[-specific] …
                        primer-extension assay in several replicates…” B0401-
                        B0427 (Cantor 2007) at B0411 ¶ [0023]. A POSA would
                        understand this disclosure of Cantor to refer to genotyping to
                        generate a polymorphic, particularly SNP, profile as
                        disclosed in ’652 Patent claim element 1(b) and ’497 Patent
                        claim elements 1(a) and (b). A POSA would further
                        understand Cantor’s disclosure of a “primer-extension
                        assay” to refer to a form of amplification, such as PCR, and
                        disclosure of a SNP-specific primer-extension assay as a
                        form of selective amplification of SNPs by PCR, as recited

                                           A83


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                       in ’607 Patent claim element 1(c). See, e.g., id. at B0409, ¶
                       [0016] (describing “using methods such as the primer-
                       extension of polymerase chain reaction (PCR) products”).

   Multiplex / high-   Cantor disclosed numerous commercially available means
   throughput          for detecting the SNPs, including “pyrosequencing
   sequencing-by-      techniques (Pyrosequencing, Inc., Westborough, Mass.).” Id.
   synthesis           at B0420-B0424 ¶ [0054]; [0063]. A POSA would
                       understand this to be a type of multiplex, or high-throughput
                       sequencing instrument that uses sequencing-by-synthesis, as
                       recited in ’652 Patent claim element 1(c), ’497 Patent claim
                       element 1(d), and ’607 Patent claim elements 1(d) and (e).
                       See id. at B0424, ¶ [0063] (“… PYROSEQUENCINGTM
                       (Uppsala, Sweden) [] essentially is sequencing by
                       synthesis.”).

   Quantitating the    Cantor disclosed “quantitating the fetal nucleic acids or
   foreign cfDNA       alleles using the methods of the present invention” disclosed
                       in its written description. E.g., B0401-B0427 (Cantor 2007)
                       at B0415; B0420, ¶ [0036]; [0053]. A POSA would
                       understand the disclosure of quantitating fetal alleles in
                       Cantor to refer to quantifying or determining an amount of
                       foreign cfDNA in the sample as recited in ’652 Patent claim
                       element 1(d), ’497 Patent claim element 1(d), and ’607
                       Patent claim element 1(f).


        150. As this exemplary disclosure of Cantor 2007 demonstrates, a POSA

  understood that as of the 2006 filing date of Cantor 2007, laboratory techniques were

  commercially available for carrying out the method of obtaining a sample—

  genotyping—sequencing—and quantifying cell-free nucleic acids as claimed in the

  Patents to detect different genotypes, including in the organ transplant context. The

  Patents do not claim any unconventional use of this combination of laboratory



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  techniques described in Cantor 2007, nor do they claim any unique way of

  combining or using the techniques.

                      (b)   Lo et al. – 2009

        151. In another example, the Lo group described a method that “relates to

   the detection of cancer, the monitoring of transplantation, and the monitoring of

   infectious diseases” in a U.S. Patent application filed on July 23, 2008 and

   published as U.S. 2009/0087847 (“Lo U.S. 2009”). B1220-B1290 (Lo U.S. 2009)

   at BB1252, ¶ [0003] (emphasis added).

        152.     Exemplary disclosures of Lo U.S. 2009 describing the combination of

  Patent claim elements are included in the table below:

    Claim Element                          Exemplary Disclosure

   Obtaining a          Lo exemplified its disclosed method in an embodiment in
   sample               which “plasma DNA will be extracted.” B1220-B1290 (Lo
                        U.S. 2009) at B1274, ¶ [0289]. That plasma DNA contains
                        “maternal and fetal DNA in the plasma sample.” Id. A POSA
                        would understand that this disclosure in Lo requires providing
                        or obtaining a biological sample, specifically a plasma sample
                        from the blood, that contains different genotypes as recited in
                        ’652 Patent claim element 1(a), ’497 Patent claim element
                        1(c), and ’607 Patent claim elements 1(a) and (b),
                        respectively.

   Genotyping to        Lo disclosed genotyping generally, at ¶ [0003], stating the
   obtain a SNP         disclosed method “generally relates to the diagnostic testing
   profile              of genotypes and diseases by determining an imbalance
                        between two different nucleic acid sequences…in a fetus…”
                        and “also relates to the detection of cancer, the monitoring of
                        transplantation, and the monitoring of infectious diseases.”
                        Lo described embodiments that evaluate a “clinically relevant

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                       nucleic acid sequence,” id. at B1254, ¶ [0059], against a
                       “background nucleic acid sequence.” Id. at B1254, ¶ [0060].
                       Lo described clinically relevant nucleic acid sequences as
                       (among other things) “sequences which are mutated, deleted,
                       or amplified in a malignant tumor, e.g. sequences in which
                       loss of heterozygosity or gene duplication occur.” Id. at
                       B1254, ¶ [0059]. It described background nucleic acid
                       sequences as (among other things) an allele from the same
                       chromosome as a clinically relevant sequence, but
                       nonetheless “distinct due to heterozygosity.” Id. at B1254, ¶
                       [0060].

                       Lo also disclosed that in an example of the method, the
                       fractional percentage of fetal material is “determined by
                       measuring the amount of a fetal-specific marker (e.g. …
                       genetic polymorphism markers (e.g. SNPs) … in relation to a
                       non-fetal-specific marker.” Id. at B1258, ¶ [0100]. Lo
                       disclosed “determining the fractional concentration of fetal
                       DNA … through the quantification of polymorphic
                       differences between the pregnant woman and the fetus,”
                       citing references disclosing established techniques, and
                       providing “[a]n example of this method … to target
                       polymorphic sites at which the pregnant woman is
                       homozygous and the fetus is heterozygous.” B1220-B1290
                       (Lo U.S. 2009) at B1272-B1273, ¶ [0278].

                       A person of skill in the art would understand these
                       disclosures as describing the kind of genotyping used to
                       establish polymorphism or SNP profiles for different
                       genotypes in the sample as recited in ’652 Patent claim
                       element 1(b), and ’497 Patent claim elements 1(a) and (b).

   Multiplex / high-   Lo also described using commercially available digital PCR
   throughput          and multiplex/high-throughput (a.k.a. “massively parallel”)
   sequencing and      sequencing instruments that were routinely used to carry out
   digital PCR         the techniques recited in ’652 Patent claim element 1(c), ’497
                       Patent claim element 1(d), and ’607 Patent claim element
                       1(d). These Lo disclosures include using “microfluidics
                       digital PCR chips,” citing references dating back to 2006, and
                       “massively parallel genomic sequencing,” citing references
                                         A86


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                      dating back to 2005. B1220-B1290 (Lo U.S. 2009) at B1263,
                      ¶ [0176]. Lo U.S. 2009 disclosed several specific examples of
                      the routine use of these commercial products, for example:

                            Massively parallel sequencing, such as that
                            achievable on the 454 platform (Roche)
                            (Margulies, M. et al. 2005 Nature 437, 376-380),
                            Illumina Genome Analyzer (or Solexa platform)
                            or SOLiD System (Applied Biosystems) or the
                            Helicos True Single Molecule DNA sequencing
                            technology (Harris TD et al. 2008 Science, 320,
                            106-109), the single molecule, real-time
                            (SMRT™) technology of Pacific Biosciences,
                            and nanopore sequencing (Soni GV and Meller
                            A. 2007 Clin Chem 53: 1996-2001), allow the
                            sequencing of many nucleic acid molecules
                            isolated from a specimen at high orders of
                            multiplexing in a parallel fashion (Dear
                            BriefFunct Genomic Proteomic 2003; 1: 397-
                            416). Each of these platforms sequences clonally
                            expanded or even non-amplified single
                            molecules of nucleic acid fragments. As a high
                            number of sequencing reads, in the order of
                            hundred thousands to millions or even possibly
                            hundreds of millions or billions, are generated
                            from each sample in each run, the resultant
                            sequenced reads form a representative profile of
                            the mix of nucleic acid species in the original
                            specimen.

                      B1220-B1290 (Lo U.S. 2009) at B1271, ¶ [0262].

   Quantitating the   As recited in ʼ652 Patent claim element 1(d), ’497 Patent
   foreign cfDNA      claim element 1(d), and ’607 Patent claim element 1(f), Lo
                      described measuring “e.g., SNPs” to determine percentage
                      of foreign cfDNA in the sample, whereby “[t]he actual
                      measurement could be done by real-time PCR, digital PCR,
                      sequencing reactions (including massively parallel genomic
                      sequencing) or any other quantitative methods.” B1220-
                      B1290 (Lo U.S. 2009) at B1258, ¶ [0100]. In the Lo
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                       exemplary fetal embodiment, “[t]he amount of maternal and
                       fetal DNA in the plasma sample will be quantified, for
                       example by the real-time PCR assays previously established
                       … or other types of quantifier well known to those of skill in
                       the art,” citing references. B1220-B1290 (Lo U.S. 2009) at
                       B1252, ¶ [0003].


        153.    A POSA would understand the combination of conventional and

  commercially available laboratory techniques disclosed in Lo U.S. 2009 for

  detecting and quantifying different genotypes in a sample to be the same

  combination of laboratory techniques claimed in the Patents. The Patents do not

  claim any nonconventional use of the combination of laboratory techniques

  described in Lo U.S. 2009, nor do they claim any unique way of combining or using

  the techniques. Though, like Cantor 2007 discussed above, Lo U.S. 2009 often

  applies the combination of techniques for detecting fetal cfDNA in maternal blood,

  Lo also recognized its applicability to the analogous natural phenomenon of

  transplant cfDNA in a transplant recipient’s blood. B1220-B1290 (Lo U.S. 2009) at

  B1252, ¶ [0003]. Thus, like Cantor 2007, Lo U.S. 2009 confirms the conventionality

  and prior existence of the combination claimed in the Patents at least as of July 23,

  2008 (the Lo U.S. 2009 filing date).

                     (c)    Dhallan et al. – 2007

        154. In another example, Dhallan et al. published a scientific paper in the

  journal Lancet at 369(9560):474-81 on February 10, 2007, B0428-B0435 (“Dhallan


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  2007”). Like the preceding Cantor 2007 and Lo U.S. 2009 disclosures, Dhallan 2007

  establishes the conventionality of the Patents’ claimed combination for detecting

  multiple different genomes in a sample. The Dhallan 2007 authors note that “[t]he

  approach described here, which uses standard molecular biology equipment, allows

  for precise analysis of genetic material.” Id. at B0434.

        155. Exemplary disclosures of Dhallan 2007 describing the combination of

  Patent claim elements are included in the table below:

       Claim                              Exemplary Disclosure
      Element

   Obtaining a       As recited in ’652 Patent claim element 1(a), ’497 Patent claim
   sample            element 1(c), and ’607 Patent claim element 1(a), Dhallan 2007
                     disclosed obtaining “formaldehyde-treated blood samples from
                     [] pregnant women,” and using “free fetal DNA” from the
                     samples “to diagnose fetal chromosomal abnormalities.”
                     B0428-B0435 (Dhallan 2007) at B0428. The Dhallan
                     “Methods” section states that plasma samples were prepared and
                     cfDNA was extracted (as further recited in ’607 Patent claim
                     element 1(b)) using standard, then-available commercial
                     products:

                            Plasma and buffy coat samples were isolated in
                            accordance with methods described previously.
                            Genomic DNA was purified from both the plasma
                            fraction and buffy coat of the same maternal blood
                            sample, and the buffy coat fraction of the paternal
                            sample, with the QIAamp DNA Blood Maxi Kit
                            (Qiagen, Valencia, CA, USA). … Plasma DNA
                            was concentrated to 50-70 uL with a 10 kDa
                            nominal molecular weight cutoff filter (Millipore,
                            Bedford, MA, USA).



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                    B0428-B0435 (Dhallan 2007) at B0429 (internal citations
                    omitted).

   Genotyping to    Dhallan further described using the genotyping steps recited in
   obtain a SNP     ’652 Patent claim element 1(b) and ’497 Patent claim elements
   profile          1(a) and (b) (reciting genotyping to obtain polymorphism or
                    SNP profiles, respectively), and ’607 Patent claim element 1(c)
                    (reciting selective amplification of at least 1,000 SNPs by
                    PCR). Specifically, Dhallan disclosed that “SNPs were
                    amplified from genomic DNA isolated from the maternal
                    plasma … by PCR,” id. at B0429-B0430, further noting that
                    “the human genome project has identified over 3.7 million
                    SNPs to date,” making “[e]ven on the smallest human
                    chromosome … about 54,000 genotyped SNPs [] available for
                    analysis.” Id. at B0434. Dhalla further disclosed genotyping
                    homozygous and heterozygous SNPs, exemplifying that “[a]t
                    certain SNP sites, the maternal genome will be homozygous
                    for a nucleotide … while at the same site the paternal genome
                    might be homozygous for a different nucleotide” such that “the
                    fetal genome will be heterozygous [] at the SNP site.” Id. at
                    B0428.

   Sequencing       Dhallan described performing sequencing using “sequencing
                    gels.” Id. at B0430. Though ’652 Patent claim element 1(c),
                    ’497 Patent claim element 1(d), and ’607 Patent claim element
                    1(d) recite performing sequencing by multiplex or high-
                    throughput sequencing, one skilled in the art as of the 2009
                    filing date of the Patents would have understood that the same
                    sequencing performed in Dhallan 2007 using sequencing gels
                    could have been accomplished using any of the numerous
                    commercial multiplex/high-throughput sequencers available at
                    the time (see section VII.B.3. above). In my own experience, as
                    confirmed by the literature, it was standard and routine as of
                    2009 to use the same type of sample preparation, cfDNA
                    extraction, and genotyping/selective amplification techniques
                    disclosed in Dhallan in combination with one of the many
                    commercial multiplex/high-throughput sequencing instruments
                    to generate sequencing results for quantification as further
                    recited in the Patent claims. See section VII.B.2. above.


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   Quantitating     As recited in ’652 Patent claim element 1(d), ’497 Patent claim
   the foreign      element 1(d) and ’607 Patent claim element 1(f), Dhallan
   cfDNA            disclosed quantifying foreign cfDNA in the sample, stating that
                    “us[ing] standard molecular biology equipment … [f]ree fetal
                    DNA is directly quantified from the heterogeneous mixture of
                    maternal and fetal DNA in the maternal plasma.” Id. at B0434.


        156. Thus, a POSA would understand from the Dhallan 2007 disclosure, just

  like from the other literature cited above, that by 2007, “standard” laboratory

  techniques were available and used to accomplish the techniques claimed in the

  Patents.

                    (d)    Beck et al. – 2009

        157. In a further example, Beck et al. published a paper in the journal

  Clinical Chemistry at 55(4):730-738 in 2009 (B0436-B0444) (“Beck 2009”). Like

  the above-referenced literature, Beck 2009 demonstrates the conventionality of the

  Patents’ claimed combination for detecting multiple genotypes in a sample. In the

  case of Beck 2009, the authors used the combination of techniques to detect both

  pathogens (e.g., viruses) and mutated cfDNA in otherwise apparently healthy human

  subjects. Beck 2009 describes an overview of the methods used therein, stating:

  “Serum DNA from 51 apparently healthy humans was extracted, amplified,

  sequenced via pyrosequencing (454 Life Sciences/Roche Diagnostics), and




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  categorized by (a) origin (human vs xenogeneic),20 (b) functionality (repeats, genes,

  coding or noncoding), and (c) chromosomal localization.” Id. at B0436, Abstract

  Methods.

          158. Exemplary disclosures of Beck 2009 describing the methods claimed

  in the Patents are included in the table below:

   Claim Element                          Exemplary Disclosure

   Obtaining a        As recited in ’652 Patent claim element 1(a), ’497 Patent claim
   sample             element 1(c), and ’607 Patent claim elements 1(a) and (b), Beck
                      2009 explained that “[s]erum samples were collected and
                      stored,” and that a commercial kit was used to extract the cell-
                      free nucleic acids, wherein “[t]otal nucleic acids were extracted
                      … with the High Pure Viral Nucleic Acid Kit (Roche Applied
                      Science) according to the manufacturer’s instructions.” B0436-
                      B0444 (Beck 2009) at B0437. The authors further stated that
                      “[w]e also collected EDTA-anticoagulated samples of whole
                      blood from a subgroup of the volunteers (2 females, 2 males)
                      and extracted genomic DNA with standard protocols.” Id.

   Genotyping to      Beck 2009 reported genotyping as recited in ’652 Patent claim
   obtain a SNP       element 1(b) and ’497 Patent claim elements 1(a) and (b)
   profile            (reciting genotyping to obtain polymorphism or SNP profiles,
                      respectively). Beck 2009 reported that “we have applied this
                      high-throughput sequencing technology to generate an
                      unbiased profile of the circulating DNA in healthy
                      individuals.” B0436-B0444 (Beck 2009) at B0437. Beck 2009
                      described using “the BLAST program,” which is a publicly
                      available database, as well as “a local install of the
                      RepeatMasker software package (Institute for Systems
                      Biology), which makes use of Repbase (version 12.09;
                      Genetic Information Research Institute” and “querying

  20
     A POSA would understand the term “xenogenic” to mean nucleic acids that
  originate outside the subject itself, and are from a foreign substance introduced into
  the subject, such as a virus or other pathogen in the context of this study.
                                            A92


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                     databases of bacterial, viral, and fungal genomes, as well as
                     the human genome (reference genome build 36.2),” including
                     genomes “obtained from the National Center for
                     Biotechnology Information (NCBI) (ftp://ftp.ncbi.nih.gov).”
                     Id. These are all publicly available databases and software
                     packages that include reference genomes for genotyping. The
                     authors further compared the circulating cfDNA to genomic
                     DNA in the subjects, looking for example, for polymorphic
                     differences in single genes, repetitive elements, and foreign
                     elements such as from non-human sources. Id. at B0438-
                     B0439.

   Multiplex /     Beck 2009 described multiplex or high-throughput sequencing
   high-throughput as described in ‘652 Patent claim element 1(c), ’497 Patent
   sequencing      claim element 1(d), and ’607 Patent claim element 1(d), as
                   well as sequencing by synthesis as recited in ’607 Patent claim
                   element 1(d). Specifically, Beck 2009 reported that “[t]he
                   amplified DNA preparations were sequenced directly with a
                   GS FLX genome sequencer (454 Life Sciences/Roche
                   Diagnostics) according to the manufacturer’s instructions.”
                   B0436-B0444 (Beck 2009) at B0437. As discussed in section
                   VII.B.3. above, a POSA would understand the 454 sequencing
                   instrument to employ sequencing-by-synthesis.

   Quantitating the As recited in ’652 Patent claim element 1(d), ’497 Patent
   foreign cfDNA claim element 1(d), and ’607 Patent claim element 1(f), Beck
                    2009 disclosed quantifying foreign cfDNA in the sample,
                    stating for example that “[t]o quantify the amounts of
                    unidentified nucleotides, we counted and subtracted the
                    masked nucleotides from the total nucleotide counts.” Id. at
                    B0437. The authors further described determining whether
                    “representation of the different chromosomes in the serum
                    [cfDNA] is correlated with chromosome gene density or GC
                    content,” which a POSA would understand to involve
                    quantifying cfDNA to compare its “representation” or
                    frequency in the cfDNA to that of genomic DNA. Id. at
                    B0439. Beck 2009 also reported determining “representation
                    of repetitive elements” in the cfDNA, which a POSA would



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                     understand involves determining its relative fraction in the
                     sample.


        159. Thus, a POSA would understand from the Beck 2009 disclosure, just

  like from the other literature cited above, that by 2009, the methods claimed in the

  Patents were routinely being used to detect multiple genotypes in a cfDNA sample.

                     (e)    Beck et al. – 2010

        160. In an additional example, Beck et al. published a scientific paper in the

  journal Molecular Cancer Research at 8(3):335-342, which was submitted to the

  journal on July 16, 2009 and published March 9, 2010 (“Beck 2010”) that further

  establishes the conventionality of the Patents’ claimed methods for detecting

  multiple genotypes in a sample, in this case in the context of cancer. B0445-B0453

  (Beck 2010). I note that the submission date of July 16, 2009 indicates that the

  experiments underlying Beck 2010 were carried out before the Patents’ earliest filing

  date of November 6, 2009. Beck 2010 reported that “[c]irculating nucleic acids

  (CNA) isolated from serum or plasma are increasingly recognized as biomarkers for

  cancers,” and that related to the authors’ work, “[i]dentification of specific breast

  cancer-related CNA sequences provides the basis for the development of a serum-

  based routine laboratory test for breast cancer screening and monitoring.” B0445-

  B0453 (Beck 2010) at B0445, Abstract.




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        161. Exemplary disclosures of Beck 2010 describing the claimed methods

  are included in the table below:

    Claim Element                        Exemplary Disclosure

   Obtaining a        As recited in ’652 Patent claim element 1(a), ’497 Patent claim
   sample             element 1(c), and ’607 Patent claim elements 1(a) and (b),
                      Beck 2010 reported that serum samples were collected from
                      breast cancer patients, and after storage, using standard, then-
                      available commercial products, “serum was centrifuged at
                      4,000 x g for 20 min and 200 uL of the supernatant was used
                      in the High Pure Nucleic Acids Extraction Kit (Roche)
                      according to the instructions of the manufacturer.” Id. at
                      B0446.

   Genotyping to      Beck 2010 further reported the genotyping steps recited in
   obtain a SNP       ’652 Patent claim element 1(b) and ’497 Patent claim
   profile            elements 1(a) and (b) (reciting genotyping to obtain
                      polymorphism or SNP profiles, respectively). Specifically,
                      Beck 2010 reported that “[c]ancer-specific DNA
                      perturbations such as microsatellite instability, mutations,
                      sequence length, and promoter methylation patterns detected
                      in serum/plasma have been proposed for the diagnosis and
                      clinical assessment of cancer treatment.” Id. at B0446. Beck
                      2010 further reported analyzing repetitive elements based on
                      “assigned nucleotides.” Id.; see also id. at B0447. A POSA
                      would understand that repetitive elements are a form of
                      polymorphism that are prevalent in cancer.

   Multiplex / high- Beck 2010 taught performing sequencing as recited in ’652
   throughput        Patent claim element 1(c), ’497 Patent claim element 1(d),
   sequencing        and ’607 Patent claim element 1(d), which recite performing
                     sequencing by multiplex or high-throughput sequencing, and
                     by sequencing-by-synthesis, respectively. Specifically, Beck
                     2010 described sequencing “using a Roche/454 GS-FLX
                     high-throughput sequencer,” which as discussed in section
                     VII.B.3. above, is a high-throughput sequencer that performs
                     sequencing by synthesis.


                                         A95


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   Quantitating the    As recited in ’652 Patent claim element 1(d), ’497 Patent
   foreign cfDNA       claim element 1(d), and ’607 Patent claim element 1(f), Beck
                       2010 described quantitating the abnormal cfDNA, in that case
                       cancer-specific cfDNA. Specifically, they stated their results
                       as “[h]igh-throughput sequencing of total serum DNA shows
                       differential representation of certain repetitive elements in the
                       CAN of patients with breast cancer compared with healthy
                       controls.” Id. at B0449. A POSA would understand that
                       determining the “representation” of the analyzed
                       polymorphisms involves quantifying them. A POSA would
                       further understand that the statistical methods the authors
                       used in Beck 2010 were standard and well-accepted means
                       for quantifying data as of 2009.


        162. Thus, a POSA would understand from the Beck 2010 disclosure, just

  like from the other literature cited above, that by 2009, the methods claimed in the

  Patents were routinely being used to detect multiple genotypes in a cfDNA sample.

                      (f)   Gordon et al. – 2009

        163. In an additional example, Gordon et al. published a scientific paper in

  the journal Nucleic Acids Research at 37(2):550-556, which was published online

  December 5, 2008 and published in print in 2009. This paper also establishes the

  conventionality of the Patents’ claimed methods for detecting multiple genotypes in

  a sample. B0454-B0460 (“Gordon 2009”). The authors explained that “[n]ext-

  generation sequencing provided broad elucidation of sample CNAs [circulating

  nucleic acids],” further explaining that “we detected infection-specific sequences…”

  in order to identify pathogens that cause chronic wasting disease in cattle and elk

  cfDNA. Id. at B0454, Abstract.

                                           A96


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        164. Exemplary disclosures of Gordon 2009 describing the claimed methods

  are included in the table below:

    Claim Element                         Exemplary Disclosure

   Obtaining a        As recited in ’652 Patent claim element 1(a), ’497 Patent claim
   sample             element 1(c), and ’607 Patent claim element 1(a), the Gordon
                      2009 authors explained that “[s]erum samples were obtained”
                      from cattle and elk, and cfDNA was extracted using a
                      commercial kit: “The WGA4 GenomePlex® Single Cell Whole
                      Genome Amplification Kit (Sigma) was used for the nucleic-
                      acid extraction … according to the manufacturer’s protocol.”
                      Id. at B0455.

   Genotyping to      Gordon 2009 also reported using the genotyping steps recited
   obtain a SNP       in ’652 Patent claim element 1(b) and ’497 Patent claim
   profile            elements 1(a) and (b) (reciting genotyping to obtain
                      polymorphism or SNP profiles, respectively), and ’607 Patent
                      claim element 1(c) (reciting selective amplification of at least
                      1,000 SNPs by PCR). Gordon 2009 explained that “[a] total
                      of 657,431 elk sequences were elucidated, including 401,733
                      from animals post-infection” and that they were “searched
                      against the public protein and EST datasets” and matched
                      against “public databanks” to genotype the subjects. Id. at
                      B0456. The authors also reported that “[a] total of 595,037
                      quality bovine sequences were elucidated, including 311,786
                      from animals post-infection,” which also were genotyped
                      against public databases. Id. Gordon 2009 further described
                      using selective amplification to amplify “3261 control-only
                      motifs and 2896 motifs present in infected-only cows” using
                      PCR under conditions a POSA would understand to be
                      standard and conventional. Id. at B0455.

   Multiplex / high- Gordon 2009 described using multiplex or high-throughput
   throughput        sequencing, including sequencing-by-synthesis, as recited in
   sequencing        ’652 Patent claim element 1(c), ’497 Patent claim element
                     1(d), and ’607 Patent claim element 1(d), respectively.
                     Specifically, Gordon 2009 reported using “a Roche/454
                     genome sequencer (GS-FLx) according to the manufacturer’s

                                          A97


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                      instructions.” Id. at B0455. A POSA would understand the
                      454 sequencer to be a high-throughput sequencer that uses
                      sequencing by synthesis, as explained in section VII.B.3.
                      above.

   Quantitating the   In addition, as recited in ’652 Patent claim element 1(d), ’497
   foreign cfDNA      Patent claim element 1(d), and ’607 Patent claim element
                      1(f), Gordon 2009 reported that the data generated in the
                      study may be used for “targeted characterization and
                      quantification of disease-specific DNAs.” Id. at B0458. The
                      authors further reported that “[t]he information from the elk
                      study demonstrates that a time course analysis of the blood
                      CNAs can greatly improve our ability to determine the
                      diagnostic signals present” in such diseases. Id. at B0459.
                      Accordingly, a POSA would understand that the combination
                      reported in Gordon 2009 can readily include quantifying
                      foreign cfDNA in the sample.


        165. Thus, a POSA would understand from the Gordon 2009 disclosure, just

  like from the other literature cited above, that by 2009, the methods claimed in the

  Patents were routinely being used to detect multiple genotypes in a cfDNA sample.

                      (g)   Holt et al. – 2009

        166. Holt et al. published a scientific paper in the journal Bioinformatics, at

  25(16):2074-2075, with advanced access publication on June 3, 2009. B0461-B0462

  (“Holt 2009”). Holt 2009 also establishes the conventionality of the Patents’

  methods for detecting multiple genotypes in a sample. The authors explained that

  they “present a method for estimating the frequencies of SNP alleles present within

  pooled samples of DNA using high-throughput short-read sequencing.” Id. at



                                          A98


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  B0461, Abstract. They further note that “[t]he method was implemented in Perl and

  relies on the open source software Maq for read mapping and SNP calling.” Id.

        167. Exemplary disclosures of Holt 2009 describing the claimed methods

  are included in the table below:

       Claim                             Exemplary Disclosure
      Element

   Obtaining a      ’652 Patent claim element 1(a), ’497 Patent claim element 1(c),
   sample           and ’607 Patent claim element 1(a) recite obtaining a sample of
                    cell-free nucleic acids, and ’607 Patent claim element 1(b) further
                    recites extracting cfDNA from the sample. Holt 2009 analyzed a
                    pool of DNA from six strains of the bacteria Salmonella
                    Patapyphi A. Id. at B0461, Abstract. Though Holt 2009 did not
                    use cfDNA obtained from blood as a sample, a POSA would
                    appreciate that the same further combination of elements could
                    be equally applied to the DNA extracted from a pool of bacteria
                    as to the DNA extracted from a blood sample containing cfDNA.

   Genotyping to Holt 2009 described using the genotyping steps recited in ’652
   obtain a SNP Patent claim element 1(b) and ’497 Patent claim elements 1(a)
   profile       and (b) (reciting genotyping to obtain polymorphism or SNP
                 profiles, respectively). Specifically, Holt 2009 explained that
                 “[t]his approach facilitates genome-wide SNP detection among
                 closely related isolates.” Id. at B0461. For this study, Holt 2009
                 analyzed “a set of 403 SNPs” to generate profiles of allele
                 frequencies that differed as between the strains in the pooled
                 sample. Id. at B0461-B0462. The authors stated that their
                 method “relies on opensource software Maq for read mapping
                 and SNP calling,” and that it is “freely available from
                 ftp://ftp.sanger.ac.uk/pub/pathogens/pools/.” Id. at B0461,
                 Abstract. A POSA would understand this software for
                 genotyping was standard and openly available as of 2009.

   Multiplex /      As recited in ’652 Patent claim element 1(c), ’497 Patent claim
   high-            element 1(d), and ’607 Patent claim element 1(d), which recite
                    multiplex or high throughput sequencing, and sequencing by

                                          A99


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   throughput       synthesis, respectively, Holt 2009 disclosed “us[ing] the
   sequencing       Illumina GAI to sequence pools of DNA.” Id. at B0461. As
                    discussed above in section VII.B.3., the Illumina Genome
                    Analyzer (Illumina GAI) is based on Solexa high throughput
                    sequencing technology that uses sequencing by synthesis.

   Quantitating     As recited in ’652 Patent claim element 1(d), ’497 Patent claim
   the foreign      element 1(d), and ’607 Patent claim element 1(f), Holt 2009
   cfDNA            reported that the data generated in the study was used to
                    quantify the SNPs being analyzed. Specifically, Holt 2009
                    described determining “[t]he frequency of each SNP [] in [the
                    pools] … using information (read from Maq’s pileup output) on
                    each read [] of [] reads mapped to the SNP locus….” Id. at
                    B0461. The authors described using standard technology
                    available through the open software, wherein “[f]requencies
                    were calculated according to the following formulae,
                    implemented in a Perl script which calls Maq to do the initial
                    read mapping and SNP calling…” Id.


        168. Thus, a POSA would understand from the Holt 2009 disclosure, just

  like from the other literature cited above, that by 2009, conventional laboratory

  techniques were available for obtaining a sample, genotyping, sequencing, and

  quantifying different genotypes in the sample.

        D.      The Dependent Claims Also Recite Well-Understood, Routine and
                Conventional Steps

        169. None of the dependent claims of the Patents add a nonconventional

  application or inventive concept to the claims. In my opinion, each dependent claim

  recites well-understood, routine and conventional steps to observe a natural

  phenomenon. All of the dependent claims of the Patents depend from, and



                                        A100


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  incorporate by reference the limitations of claim 1 of the respective patents. I address

  the dependent claims, grouped by related claim elements, in turn below.

               1.       Dependent Claims Reciting Different Types Or Numbers Of
                        Polymorphisms

        170. Regarding the ’652 Patent, dependent claim 2 recites different types of

  genetic polymorphisms of which the polymorphism profile of claim 1 may be

  comprised. Specifically, claim 2 recites use of a polymorphism profile that

  “comprises one or more genetic variations selected from single nucleotide

  polymorphisms (SNPs), variable number of tandem repeats (VNTRs), hypervariable

  regions, minisatellites, dinucleotide repeats, trinucleotide repeats, tetranucleotide

  repeats, simple sequence repeats, insertion elements, insertions, repeats, or

  deletions.” Dependent claim 11 recites wherein the polymorphism profile of claim

  1 comprises at least one SNP.

        171. Regarding the ’497 Patent, dependent claim 6 recites “at least ten

  different homozygous or heterozygous SNPs are detected.” Dependent claim 17

  recites that “the SNP profile comprises informative homozygous and heterozygous

  SNPs.” Dependent claim 25 recites the homozygous or heterozygous SNP comprises

  a marker having at least two alleles, each occurring at a frequency greater than 1%

  of the population.”

        172. Regarding the ’607 Patent, dependent claim 2 recites the “at least 1,000

  [SNPs] comprise [SNPs] that occur at an allele frequency greater than 1% of a

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  population. Dependent claim 3 recites the “at least 1,000 [SNPs] comprise

  homozygous [SNPs].” Dependent claim 4 recites the “selective amplification of

  target [DNA] sequences amplifies a plurality of genomic regions comprising at least

  5,000 [SNPs].” Dependent claim 5 recites the “selective amplification of target

  [DNA] sequences amplifies a plurality of genomic regions comprising at least

  10,000 [SNPs].”

        173. As explained above in section VII.B.2., genotyping to obtain a

  polymorphism profile comprising SNPs was well-understood, routine and

  conventional as of November 2009. As explained in section VII.B.4., it was also

  well-understood, routine, and conventional as of November 2009 to genotype

  homozygous and heterozygous SNPs, and SNPs that arise from various mutations

  including insertions, repeats, or deletions. In addition, the written description makes

  clear that it was conventional to genotype SNPs having alleles that each occur at a

  frequency greater than 1% of a population. B0001-B0024 (’652 Patent) at B0015,

  11:22-31. Moreover, as explained above in section VII.C.1., it was conventional,

  including using commercially available kits and products, to genotype 5,000 SNPs,

  10,000 SNPs, and many more. Accordingly, there is nothing nonconventional or

  innovative in the limitations recited in ’652 Patent claims 2 and 11; ’497 Patent

  claims 6, 17, 18, 24, and 25; ’607 Patent claims 2, 3, 4, and 5.




                                          A102


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                 2.    Dependent Claims Reciting Different Types Of cfDNA

           174. Regarding the ’652 Patent, dependent claim 3 recites wherein the cell-

  free nucleic acids of claim 1 are DNA.

           175. Regarding the ’497 Patent, dependent claim 12 recites “the donor-

  specific circulating cell-free nucleic acids … in the biological sample are DNA,

  RNA, mRNA, miRNA, double-stranded DNA, single-stranded DNA, single-

  stranded DNA hairpins, DNA/RNA hybrids, RNA hairpins, or a combination

  thereof.”

           176. It was routine and conventional as of Nov. 2009 to assay these recited

  types of nucleic acids using the claimed methods. The Patents’ written description,

  again, states only at a high level of generality that “[n]ucleic acids from samples that

  can be analyzed by the methods herein include: double-stranded DNA, single-

  stranded DNA, single-stranded DNA hairpins, DNA/RNA hybrids, RNA (e.g.

  mRNA or miRNA) and RNA hairpins.” B0001-B0024 (’652 Patent) at B0014,

  10:45-51; see id. at B0016, 13:17-21. The Patents do not disclose or claim any

  nonconventional laboratory techniques for analyzing any of these types of nucleic

  acids.

           177. Neither the Patents’ written description nor their claims indicate any

  nonconventional approach to assaying these particular types of nucleic acids, or any

  innovation based on analyzing any particular form of nucleic acid over another.


                                           A103


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  Accordingly, there is nothing nonconventional or innovative in the limitations

  recited in ’652 Patent claim 3 and ’497 Patent claim 12.

               3.     Dependent Claims Reciting Certain Common
                      Modifications, Error Rates, Or Quality Scores Associated
                      With Multiplexed Or High Throughput Sequencing

        178. Regarding the ’652 Patent, dependent claims 4 and 6 recite that the

  multiplexed sequencing of claim 1 is shotgun sequencing (claim 4) and sequencing

  at least ten different nucleic acids (claim 6).

        179. Regarding the ’497 Patent, dependent claim 3 recites a “high-

  throughput sequencing assay that generates at least 1,000 sequence reads per hour.”

  Dependent claim 4 recites “a high-throughput sequencing assay” that comprises “a

  next-generation sequencing assay.” Dependent claim 5 recites “the high-throughput

  sequencing assay generates sequencing reads of at least 36 bases.” Dependent claim

  19 recites that the “sensitivity of the method is greater than 56%.” Dependent claim

  21 recites a sequencing error rate of “less than 1.5%.” Dependent claim 23 recites

  using a “quality score.”

        180. ’607 Patent dependent claim 6 recites the “high throughput sequencing

  reaction comprises assigning a quality score to bases of said provided sequences.”

        181. As explained above in section VII.B.3., and is also evident from the

  literature and product-related publications, all of these limitations are either

  themselves conventional methods, or are features inherent in the standard use of the


                                           A104


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  conventional methods recited in the independent claims from which they depend.

  For example, shotgun sequencing and next-generation sequencing are types of

  multiplex/high throughput sequencing that were well understood, routine and

  conventional as of Nov. 2009. In addition, high-throughput sequencing to generate

  at least 1,000 reads per hour (’497 Patent claim 3) and read lengths at least 36 bases

  long (’497 Patent claim 5) was inherent in all high-throughput sequencers available

  as of November 6, 2009, as demonstrated for example by Margulies et al., which

  published that the instrument which became branded as the Illumina Genome

  Analyzer “is able to sequence 25 million bases … in one four-hour run,” and

  generates an “[a]verage read length (bases)” of “108.” B1305-1309 (Margulies

  2005) at B1305 (Abstract); B1307, Table 1.

        182. Sequencing at least ten different nucleic acids using multiplex

  sequencing also was a standard application of the commercial multiplex sequencers

  at the time. For example, product literature from 2007 for the Illumina Genome

  Analyzer system states that an “excess of 2.6 billion bases of high-quality filtered

  data per paired-end run on a single flow cell (as of October, 2007)” could be

  achieved” (B0463-B0466) (Illumina 2007) at B0463 and the Illumina Genome

  Analyzer product literature from 2008 states that multiplexed sequencing of 96

  different samples on a single flow cell could be achieved using their instrument.

  B0467-B0470, (Illumina 2008) at B0467. Generation of at least 1,000 sequence

                                          A105


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  reads per hour, and reads of at least 36 bases, also was a standard feature of the

  conventional operation of commercial high throughput sequencers in 2009. The

  Patents’ written description states only at a high level of generality, in the

  “Sequencing” section generally discussing the multiple sequencing instrumentalities

  available in the market at the time, that:

           In some cases, high throughput sequencing generates at least 1,000, at least
           5,000, at least 10,000, at least 20,000, at least 30,000, at least 40,000, at least
           50,000, at least 100,000, or at least 500,000 sequence reads per hour, with
           each read being at least 50, at least 60, at least 70, at least 80, at least 90, at
           least 100, at least 120, or at least 150 bases per read.

    B0001-B0024 (’652 Patent) at B0017, 15:12-18. The Patents do not disclose or

    claim any nonconventional use of the multiplex/high-throughput sequencing

    methods elsewhere (including in that section) described in the Patents. A POSA in

    2009 would understand this is an inherent feature in the standard use of the

    conventional multiplex/high-throughput sequencing machines referred to in the

    Patents.

        183. The sequencing error rates and sensitivities also are inherent features of

  conventional use of the sequencing equipment, as discussed in section VII.B.3.c

  above.

        184. Using a quality score likewise was conventional practice when using

  the standard high throughput sequencers available in 2009. B0467-B0470 (Illumina

  2008) at B0467, B0469; B0471-B0480 (Li 2009b) at B0473. Moreover, I note that

                                             A106


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  the Patents’ written description does not include any disclosure of nonconventional

  use of a quality score; rather, the only mention of “quality score” in the written

  description generically states that “[t]he use of quality scores for improved filtering

  of SNP calls, or the use of resequencing, should reduce error rate and increase

  sensitivity.” B0001-B0024 (’652 Patent) at B0022, 26:51-53. The prior literature

  further described software that had already been developed and made commercially

  available before November 2009 to provide quality scores as recited in the Patent

  claims. See, e.g., B0226-B0243 (Voelkerding 2009) at B0235 (“Image parameters

  such as intensity, background, and noise are then used in a platform-dependant

  algorithm to generate read sequences and error probability–related quality scores for

  each base. Although many researchers use the base calls generated by the platform-

  specific data-pipeline software, alternative base-calling programs that use more

  advanced software and statistical techniques have been developed.”).

        185. Neither the Patents’ written description nor the claims identify anything

  nonconventional or innovative about the limitations recited in these dependent

  claims. To the contrary, they are routine applications, or inherent features, of the

  multiplex / high throughput sequencers when used in conventional ways, including

  in the 2009 timeframe. Accordingly, there is nothing nonconventional or innovative

  in the limitations recited in ’652 Patent claims 4 and 6; ’497 Patent claims 3, 4, 5,

  19, 21, and 23; and ’607 Patent claim 6.

                                          A107


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               4.     Dependent Claims Reciting Organ or Species Limitations

        186. Regarding the ’652 Patent, dependent claims 14 and 15 recite the

  transplant is selected from the group consisting of kidney, pancreas, liver, heart,

  lung, intestine, pancreas after kidney, and simultaneous pancreas-kidney (claim 14);

  or is heart or kidney (claim 15), respectively.

        187. Regarding the ’497 Patent, dependent claim 9 recites wherein the

  transplant recipient is human.

        188. Each of these additional steps was well-understood, routine and

  conventional as of Nov. 2009, particularly when used in conjunction with

  monitoring of transplant status or rejection. The Patents’ written description does

  not purport to attribute invention of any type of organ transplantation to the named

  inventors. Nor do the inventors contend they came up with the notion of analyzing

  the bodily fluid samples of human transplant recipients as opposed to those of some

  other species. See B0001-B0024 (’652 Patent) at B0012, 5:36-40. Accordingly, there

  is nothing nonconventional or innovative in the limitations recited in ’652 Patent

  claims 7, 8, 9, 14, and 15; and ’497 Patent claims 7, 8, 9, and 29.

               5.     Dependent Claims Reciting Conventional PCR Or
                      Amplification Methods

        189. Regarding the ’497 Patent, dependent claim 10 recites that “an

  amplification reaction is performed on the donor-specific circulating cell-free



                                          A108


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  nucleic acids in the biological sample prior to determining the amount of donor-

  specific circulating cell-free nucleic acids … in the biological sample.”

        190. As explained in section VII.B.2. above, performing an amplification

  reaction on donor cfDNA prior to quantifying it also was routine and conventional

  as of November 2009. Neither the Patents’ written description nor the claims identify

  anything nonconventional or innovative about the limitation recited in this

  dependent claim. To the contrary, it was a standard application that was routinely

  used in the 2009 timeframe. Accordingly, there is nothing nonconventional or

  innovative in the limitation recited in ’497 Patent claim 10.

               6.    Dependent Claims Reciting Different Sample Types

        191. Regarding the ’652 Patent, dependent claim 12 recites that the sample

  of claim 1 is blood or serum.

        192. Regarding the ’497 Patent, dependent claims 2 and 27 recite that the

  sample of claim 1 is blood (claim 2) or plasma (claim 27), respectively.

        193. As explained above in section VII.B.1., obtaining a biological sample

  from a patient, including from blood, plasma, or serum, and including for use with

  the methods claimed in the Patent claims, was well-understood, routine and

  conventional as of Nov. 2009. Neither the Patents’ written description nor the claims

  identify anything nonconventional or innovative about the limitations recited in

  these dependent claims. To the contrary, they are standard applications that were


                                          A109


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  routinely used in the 2009 timeframe. Accordingly, there is nothing nonconventional

  or innovative in the limitations recited in ’652 Patent claim 12 and’497 Patent claims

  2 and 27.

               7.    Dependent Claims Reciting Further Genotyping Prior To
                     Quantifying Cell-Free Nucleic Acids

        194. ’497 Patent dependent claim 15 recites “further comprising genotyping

  [donor, recipient, or both donor and recipient] prior to the determining in step (d).”

  The written description and claims do not disclose any unconventional application

  of further genotyping prior to determining an amount of donor-specific cell-free

  nucleic acids in the biological sample (as recited in claim step 1(d)), or any way in

  which the prior genotyping improves upon the recited conventional methods. The

  only relevant disclosure in the written description states that “[i]n some

  embodiments, both the donor and recipient will be genotyped prior to

  transplantation.” B0001-B0024 (’652 Patent) at B0013, 8:55-56; see also id. at

  B0016, 13:2-3 (same). This, however, is only a high-level generalization that does

  not provide any improvement over the routine and conventional techniques as

  recited in independent claim 1 from which the dependent claim depends.

               8.    Dependent Claims Reciting Certain Concentrations Of Cell-
                     Free Nucleic Acids In The Sample

        195. Regarding the ’497 Patent, dependent claim 20 recites “the determining

  comprises detecting donor-specific circulating cell-free nucleic acids from the solid


                                          A110


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  organ transplant wherein the donor-specific circulating cell-free nucleic acids from

  the solid organ transplant make up between 0.03% and 8.0% of the total circulating

  cell-free nucleic acids in the biological sample.”

        196. Regarding the ‘607 Patent, dependent claims 7 and 8 recite the

  “quantified amount of said kidney transplant-derived [cfDNA] …” comprises

  certain percentages “of said total circulating [cfDNA]” in the samples, which are

  “between 1.5% and 8%” (claim 7) and “at least 0.05%” (claim 8), respectively.

        197. As explained in section VII.B.4. above, the ability to detect any of these

  concentrations of cell-free nucleic acids in a sample is an inherent feature of the

  standard and conventional methods and instruments recited in the Patent claims.

  Neither the Patents’ written description nor claims identify any nonconventional or

  innovative use of these conventional techniques that renders them able to detect or

  quantify cfDNA at the recited concentrations when they would not otherwise be able

  to do so. Accordingly, there is nothing nonconventional or innovative in the

  limitations recited in ’497 Patent claim 20 and ’607 Patent claims 7, 8, 9, and 10.

        E.     Concluding Opinions Regarding Conventionality of the Recited
               Combination of Laboratory Techniques

        198. In my opinion, based on my review of the Patents and understanding of

  the state of the art at the time the Patents were filed, the claimed methods of the

  Patents employ routine and conventional techniques already in use to detect the

  natural phenomenon of transplant cfDNA. The same techniques recited in the

                                          A111


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  Patents were already in use for detecting fetal, cancer, and pathogen cfDNA, and

  those POSAs using the techniques for those applications recognized they would be

  equally applied in the transplant space.

           199. The Patents’ claims do not purport to improve upon or describe any

  nonconventional use of the recited existing combination of laboratory techniques.

  From the perspective of a POSA in the 2009 timeframe, the combination of

  laboratory techniques recited in the Patents was well understood, routine and

  conventional, and already in use to detect a range of natural phenomena.

  VIII. THE PATENT METHODS DO NOT CREATE ANY NEW
        PREPARATION

           200. As explained above, the Standard Patents are directed to the steps of (1)

  obtaining biological samples containing cell-free nucleic acids from a transplant

  recipient; (2) genotyping the transplant donor and/or recipient to establish profiles

  of genetic polymorphisms (or SNPs)21; (3) performing multiplex or high-throughput

  sequencing of the cell-free nucleic acids to detect the genotyped polymorphisms (or

  SNPs); and (4) quantifying the transplant (donor-derived) cell-free nucleic acids in

  the sample using the genetic differences in the sequences. The method claims are

  not directed to a novel method of preparing a new composition. The claimed method

  steps do nothing more than observe that cell-free DNA is present in a transplant



  21
       The ’607 Patent further recites selectively amplifying at least 1000 SNPs by PCR.
                                             A112


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  patient, and correlate the presence of the cell-free DNA with transplant rejection,

  using a conventional combination of techniques.

        201. The claims recite the step of obtaining a biological sample containing

  cell-free nucleic acids from a transplant recipient. This step does not result in a novel

  composition, as it merely involves obtaining a naturally-occurring sample from a

  patient.

        202. The claims also recite steps of genotyping the transplant donor and/or

  recipient to establish profiles of genetic polymorphisms and performing multiplex

  or high-throughput sequencing of the cell-free nucleic acids to detect the genotyped

  polymorphisms (or SNPs). The ’607 Patent claims further recite selectively

  amplifying at least 1,000 SNPs by PCR in order to detect them. These steps use well-

  understood, routine and conventional—indeed commercially available—techniques

  for analyzing the naturally-occurring sample. They do not change the relative

  amounts of the transplant donor-specific and transplant recipient cfDNA being

  quantified in the claimed method.

        203. Finally, the claims require quantifying the transplant (donor-specific)

  cell-free nucleic acids in the sample using the genetic differences in the sequences.

  This step also does not result in a new composition or preparation. As explained

  above, this quantification step is broadly recited with no further specificity and

  involves standard techniques for quantifying nucleic acids. This step also does not

                                           A113


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  change the relative amounts of the transplant donor-specific and transplant recipient

  cfDNA being quantified in the claimed method.



                                     *     *      *

       I declare under penalty of perjury under the laws of the United States of
  America that the foregoing is true and correct.




   Dated: __June 11, 2020________              ________________________________

                                                      Professor John Quackenbush




                                         A114


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                   EXHIBIT 1




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PIPER SANDLER I                             Insight by Piper Sandler Proprietary Survey 0
                                                                                                                       INDUSTRY NOTE
                                                                                                                   September 25, 2023


 Genomic Tools and Labs
 Oncologist Survey: MRD in Early Stages of Adoption


CONCLUSION                                                                                        David Westenberg, CFA
We surveyed 41 Oncologists including 38 who practice medical oncology and their views             Sr. Research Analyst, Piper Sandler & Co.
on minimal residual disease (MRD) testing. Overall, MRD has good penetration and is               727 281-6589, david.westenberg@psc.com
increasing. In addition, most ordering physicians surveyed already believe the test should        Jon Petersen
be in NCCN guidelines. Guideline inclusion could represent a meaningful lift to ASPs.             Research Analyst, Piper Sandler & Co.
                                                                                                  617 654-0711, Jon.Petersen@psc.com
Over the next decade, we think MRD will emerge as one of the largest testing categories
in oncology. While we think there will be several companies with hundreds of millions of
                                                                                                  Related Companies:                Share Price:
revenue, our top pick in the space is Natera who we think will have a disproportionate share
                                                                                                  DGX                                    123.48
of our estimated industry revenue north of $1B by 2027.                                           EXAS                                    66.85
                                                                                                  GH                                      25.93
• Docs are increasing the amount of MRD testing. We asked two different ways how                  NEO                                     12.15
  physicians are looking at MRD and in both ways, physicians said they are increasing             NTRA                                    45.82
  their testing. This shouldn't be too surprising given where we're at in the adoption curve.     NVTA                                     0.67
  That said, we're pleased the data confirmed what we should know: More physicians will           ADPT                                     5.07

  order MRD and physicians already ordering MRD will likely order more tests.
                                                                                                  I N D U S T RY R I S K S

• Docs favor tumor informed for now. 9/14 docs who use MRD said they believe tumor                Competition, regulation, COVID-19 related
  informed MRD is the more accurate test. We believe that MRD tests which don't need              uncertainty, early stage of commercialization of
                                                                                                  some testing modalities
  a tumor block as a reference will eventually replace tumor informed, but we think this
  would take new generations in assays and AI improvements. We think the next five years
  will be the era of tumor informed MRD. We expect the market could do $1B in revenue
  by 2027. Tumor independent has the opportunity for patients when tissue is unavailable.

• Docs see a path for guidelines. To our surprise, fully half of the docs who have ordered
  MRD, think the test should be in guidelines. We noted, we asked about guidelines
  generally and not CRC. This is positive to us because CRC is where most of the
  compelling data is. It could imply physicians intuitively believe if it works in one tissue
  type, it should theoretically work in another.

• Calls on MRD. Natera has an underappreciated first mover advantage by virtue of its
  already having processed more than an estimated 100K bespoke assays. We believe all
  of those patients will continue their monitoring using Natera's assay. In addition, Natera
  has around a half decade of clinical trial data.

• Not so small niches. Even in the near term, tumor independent has the opportunity to be
  used in around 1/4th of cases. That 1/4 represents those cases in which a sufficient tumor
  sample is unavailable, and thus tumor informed isn't an option. We think companies such
  as Exact could pair the assay successfully with prognostic testing. Lastly, companies
  such as Neogenomics and Quest could help bring these assays to the community setting
  in a meaningful way.




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a single factor in making their investment decisions. This report should be read in conjunction with important disclosure information,
including an attestation under Regulation Analyst Certification, found on pages 29 - 30 of this report or at the following site:
http://www.pipersandler.com/researchdisclosures.
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                                                                    Oncologist Survey –
                                                                    MRD in Early Stages
                                                                    Of Adoption
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                                                                                                                                              Filed: 03/18/2024




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                                                                                                                     PIPER ISANDLER
            The Differentiated Diagnostic – Piper Sandler’s Proprietary Checks in
            Diagnostics
            Piper Sandler’s Difference – The “Differentiated Diagnostic” is Piper Sandler’s proprietary assessment of markets, lab services, and
            products in the genomic tools and lab space. We provide a unique perspective, though finding non-traditional resources and conducting
            primary research outside the conventional sellside thinking so we, AND YOU, can make better investment decisions. If it’s not Piper’s
            Differentiated Diagnostic, it’s just the same old consensus checks.
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            The Takeaways
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                                                                                                                          PIPER ISANDLER
            Stock Calls

            Our focus call:
            • Natera is our top pick given the highest exposure to minimal residual disease. We model Signatera to have more than
              $400MM in revenue by 2024. We believe Natera’s competitive position is solidifying by taking an overwhelming lead in the space, via
              high early adoption rates. We believe after 2024, Natera will have many competitors but it will have a first mover advantage.
                                                                                                                                                             Case: 24-1324




                  o We think the first mover advantage helps benefit Natera because it will be the first to longitudinal data at longer increments. In
                    other words, by being the first mover, Natera will have the first data sets with 30 months of patient outcomes, 36 months, 42
                    months, etc.
                  o We think, particularly in community oncology, ordering particular tests becomes habitual. We think Natera has the ability to
                    retain high numbers of early customers and that Natera can at least grow with market rates for MRD, which we see growing
                                                                                                                                                             Document: 42-3




                    potentially in the high double digits to triple digits for a half decade.




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                                                                                                                                 PIPER ISANDLER
            Survey Response Summary in MRD
            We estimate at least 30% of oncs are now doing MRD
            • 14/38 (37%) of respondents noted that they had used Signatera in the past 12 months, and 6/38 (16%) said they had used
              Guardant’s Reveal test within the past 12 months.
            Of the 14 oncologists who have used tumor informed MRD (i.e. Signatera) within the past 12 months, we saw higher levels of
            utilization of tumor informed MRD. The respondents are also increasing their MRD usage, and view Signatera as their preferred test,
                                                                                                                                                                      Case: 24-1324




            with it having the characteristics they want in a MRD test. Many also think it has sufficient evidence for NCCN guideline inclusion.
            • 6/14 noted that they are increasing ordering of NGS/tumor informed MRD, 8/14 said they were ordering about the same amount,
              and none said they were decreasing ordering
            • 9/14 said they are increasing their amount of MRD testing generally, with 1/14 disagreeing
            • 9/14 agreed that Signatera is their preferred MRD test, with 2/14 disagreeing
                                                                                                                                                                      Document: 42-3




            • 9/14 agreed that tumor informed MRD has better performance characteristics vs. tumor agnostic approaches with 1/14
              disagreeing




Appx16146
            • 7/14 agree that there is sufficient evidence for tumor informed MRD to be in NCCN guidelines, with 2/14 disagreeing
            Unfortunately, MRD has a ways to go in terms of utility studies. It’s perceived as having varying levels of utility, in different settings:
                                                                                                                                                                      Page: 503




            • The adjuvant setting: The most utility (5/14 rating it as having strong/very strong utility, 3/14 rating it as having little or no utility)
            • The surveillance setting: A more mixed view of its utility (4/14 rating it as having strong/very strong utility, 4/14 rating it as having
              little or no utility)
            • The neoadjuvant setting: The least utility (2/14 rating it as having strong/very strong utility, 5/14 rating it as having little or no utility)
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                                                                                                                                                       Page 6 of 30
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                                                                                                                          PIPER ISANDLER
            Piper’s Multiyear Vision of the MRD Market
            MRD will likely end up having grown in the high double digits in 2023, and even still, we believe it is widely underpenetrated (we
            estimate low single digit penetration). We recommend investors have a high degree of exposure to this rapidly growing marketing,
            which is already in excess of $250M on an annualized basis. We think industry revenue will exceed $1B by 2027.
            We highlight what we see as important trends:
                                                                                                                                                              Case: 24-1324




            • We think Natera’s first mover advantage in tumor informed MRD will help them sustain market leading growth. As an important
              note, our oncologists checks find that a majority believe tumor informed is superior to tumor independent in terms of specificity.
              Given the longitudinal use of that assay, the majority of oncologist we speak to believe specificity is more important than
              sensitivity.
            • That said, tumor agnostic/naïve will likely be used frequently given the convenience and ability to access patients unable to be
              serviced by tumor informed (likely 25% of cases). We think Guardant is the best positioned company in that market.
            • We note, over the very long term, we think tumor independent will be the predominant approach as sequencing costs become
                                                                                                                                                              Document: 42-3




              lower and advancements in AI improve the assays. We think there will no longer be meaningful gaps in performance by that time.
              That said, we think that will take 5-10 years time and it not yet in.




Appx16147
            • We think market will be dominated by Natera but other players will find important niches in the market. That said, we think this
              market will be billions so these “niches” are nonetheless valuable. While it’s tough to pick “winners” in the later to market tumor
                                                                                                                                                              Page: 504




              informed vendors, we think the companies that carve out expert areas might be best positioned. For example:
              • If Exact Sciences can combined Oncotype scoring with monitoring
              • NeoGenomics/Quest bringing the market to the community setting
              • Other smaller players having superior data or go to market strategies with certain tissue types.
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                                                                                                                                          PIPER SANDLER
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            Part 2
                                                                                                                Case: 24-1324




            MRD Testing in Solid Tumors Overview
                                                                                                                Document: 42-3




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                                                                                                                                PIPER ISANDLER
            MRD in Solid Tumor Cancers
            • MRD means minimal residual disease or the amount of tumor DNA that’s in the body. It’s a number (or a yes or no answer
              depending on the test) that can be tracked serially in a patient who has been previously diagnosed with having cancer.
            • There are two major categories of MRD in solid tumor: Tumor informed and tumor agnostic.
              • Tumor informed testing involves sequencing a sample from a cancer that has not been treated (generally an exome), with PCR
                testing afterwards to compare blood samples against the initial tumor profile to detect relapses
                                                                                                                                                                    Case: 24-1324




              • Tumor naïve (we interchange with tumor independent or tumor agnostic) testing refers to tests that measure the levels of
                circulating tumor DNA (ctDNA) in a patient’s blood, with Guardant’s being NGS based
            • We estimate the number of tests has grew well over 100% to over 200K tests in 2022 from less than 80K in 2021. We estimate that
              Natera has about 90% market share today. Behind Natera, in solid tumor MRD is Guardant Health who we estimate ran between
              10K and 20K tests last year. Companies such as Invitae and NeoGenomics mostly played a role in pharma services MRD.
            • We estimate dozens of companies have MRD assays in development. We expect many of them to come to market in the next few
                                                                                                                                                                    Document: 42-3




              years.




Appx16149
            • For MRD in blood cancers, please see our ADPT note here
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                      >.
                      0                  Cancer Early Screen                           I         MRD   11                 Monitoring                 I
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                     u.             ••
                              Different mutation type
                      Q)
                     ]!
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                             Time                                     Surgery or other therapy              Treatment 1                Treatment 2
                                                                                                                                                                    Filed: 03/18/2024




            Source: Piper Sandler;
            NTRA presentation                                                                                                               PIPER SANDLER
                                                                                                                                                     Page 9 of 30
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                                                                                                                                      PIPER ISANDLER
            MRD TAM currently at $35B and Expanding Rapidly
            We peg the current solid tumor MRD TAM at ~$35B (lumping together our estimates for the most readily addressable solid tumor cancers). We
            believe that through 2027, there is significant potential for additional indications to open up, and that testing frequency and the length of testing may
            increase significantly, potentially opening up a very large TAM (described below). In our view, the three most penetrated opportunities will likely be
            as follows:

            • CRC: $7.4B

            • Bladder: $4.2B
                                                                                                                                                                           Case: 24-1324




            • Breast: $14.0B

            • IO Monitoring: $9.9B

            With slightly less than $200M in revenue across all solid tumor indications in 2022 (our estimate), we believe that the market will expand through
            private reimbursement and new indications over the coming five years, with a CAGR in the mid to high double digits. More specifically, we estimate
            that by 2025-2027, the MRD TAM will reach >$60B as more indications are covered, and that penetration will increase significantly. We believe
            that the market will be rapidly penetrated from 2025-2030, with revenues of ~$1- $2B by 2027. We also expect that in 2027, Natera will have a
                                                                                                                                                                           Document: 42-3




            60%+ market share in MRD vs. our estimate of >70% currently overall, and well over >90% in solid tumors.

            We also forecast that substantial new markets will open, with only ~2.5M solid tumor patients currently having access to MRD (vs. 13M cancer




Appx16150
            survivors in the US for the mid term population of cancer survivors for whom indications are in pipelines (of a ~19M total in the country)). We
            estimate that solid tumors will account for the vast majority of testing, with blood based cancers accounting for <15% of all cancers.

                                                                 Lower        High                    Estimated    Estimated >50%
                                                                                                                                                                           Page: 507




                                                               Estimate (in Estimate Median           Medicare         Private       First to
                                             Cancer Type           $B)       (in $B)    (in $B)       Coverage        Coverage      Coverage
                                    Colorectal Cancer TAM              $3.0       $11.7      $7.4          Covered             2024      Natera
                                    Bladder Cancer TAM                 $1.7        $6.6      $4.2          Covered             2024      Natera
                                    Breast Cancer TAM                  $5.7       $22.3    $14.0           Covered             2025      Natera
                                    Ovarian Cancer TAM                 $0.4        $1.7      $1.1             2024             2025      Natera
                                    Esophageal Cancer TAM              $0.4        $1.5      $1.0             2024             2025      Natera
                                    Lung & Bronchus Cancer TAM         $4.7       $18.5    $11.6              2024             2026      Natera
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                                    Pancreatic Cancer TAM              $1.2        $4.7      $3.0             2024             2026      Natera
                                    Melanoma TAM                       $2.1        $8.3      $5.2             2024             2026      Natera
                                    IO Monitoring TAM                  $4.0       $15.7      $9.9          Covered             2025      Natera
                                    Remaining Catch all Cancers        $11.0       $43.2     $27.1            2027             2028           All
                                    Total                         I    $34.2      $134.2     $84.2I
            Source: Piper Sandler
                                                                                                                                                      PIPER SANDLER
                                                                                                                                                           Page 10 of 30
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                                                                                                                         PIPER ISANDLER
            Natera - Signatera Introduction
            Signatera is a blood MRD test used for cancer detection and surveillance. It is personalized for each patient. It is used for molecular
            residual disease assessment and for treatment response monitoring. The test launched in 2017. The test is a tumor informed test
            meaning an exome is initially ordered. The test finds the 16 most relevant mutations then tests serially for quantitative changes in
            this tumor.

            As a reminder, Signatera, Natera’s MRD test for solid tumors, is an industry leader in minimal residual disease testing, with data
                                                                                                                                                             Case: 24-1324




            from >3,500 patients, and >15 peer reviewed publications, and 100+ clinical studies in the pipeline to drive coverage and
            guidelines. The test has seen rapid growth over the past few years, and in our view, will continue to be a rapid grower. In our view,
            this growth will be driven both by increased utilization by new doctors, in new cancer indications, as well as increased frequency of
            testing.
                                                                                                                                                             Document: 42-3




Appx16151
                                                                                                                                                             Page: 508




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            Source: Piper Sandler, Natera.com
                                                                                                                                         PIPER SANDLER
                                                                                                                                             Page 11 of 30
                                                Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 12 of 31
                                                                                                                      PIPER ISANDLER
            Signatera has been ordered by 37% of Medical Oncs
            Given the dominance of Signatera, we looked for solid tumor MRD penetration rates through asking about the brand name
            Signatera. We did this because we’ve experience checks with oncologists that have used profiling tests for monitoring purposes. In
            fact, for quality control purpose, we also asked the question “have you used NGS based tumor informed MRD?” and got N=14.

            Consistent with Natera’s estimate, our checks found 37% penetration (Natera quotes over 30%). We think penetration among
            academic oncologists is likely over 50% and community is likely under 30%. We think the biggest lever of growth over the next few
                                                                                                                                                         Case: 24-1324




            years will be in penetration of community oncologists.
                                                                                                                                                         Document: 42-3




Appx16152
                                                        Have you used [Tumor informed MRD (brand
                                                                                                                                                         Page: 509




                                                          name Signatera)] in the past 12 months?
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            Source: Piper Sandler
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                                                                                                                         PIPER ISANDLER
            And Reveal has been used by 16% of Medical Oncs
            Guardant Reveal is an MRD test that doesn’t require tissue. This provides meaningful convenience in the form of turnaround time. In
            addition, we’ve found that many times, the physician or pathologist cannot fully access the tissue (or doesn’t have any to spare). In this
            particularly case (we estimate happens ¼ of the time), tumor agnostics is the only option. We estimate Guardant is the clear leader in
            tumor agnostic MRD and few companies are going after this market. Behind, Guardant are Exact Sciences (who’s first focus is tumor
            informed) and Grail (part of Illumina). Natera is also working on a tumor agnostic assay but likely doesn’t discuss it much because of
                                                                                                                                                             Case: 24-1324




            channel messaging.
            To the surprise of many, Guardant360 has been used as an MRD for years. In fact, on our initial checks on looking for first adopters of
            Guardant’s official MRD assay Reveal, we accidently stumbled upon Guardant MRD users who have been using Guardant360 for
            years as their preferred MRD test. We think these users are low hanging fruit to adopt Guardant Health Reveal. Although we think
            Natera will still be the market share leader in MRD in the coming years, we think Guardant will build out a large use case.
                                                                                                                                                             Document: 42-3




Appx16153
                                                         Have you used [Tumor agnostic MRD (brand
                                                                                                                                                             Page: 510




                                                            name Reveal)] in the past 12 months?
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            Source: Piper Sandler
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                                       Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 14 of 31
                                                                                                                                                                                                       PIPER ISANDLER
            Guardant Health – Tumor Agnostic has some improvement ahead
            We note that the earliest iterations of tumor independent assays were slightly behind in terms of performance characteristics. That said
            the earliest Guardant Reveal was still able to achieve reimbursement for adjuvant monitoring. We note, tumor independent MRD is a
            much more data intensive and sequencing heavy process vs. tumor informed. Because of the difficulty, the performance characteristics
            tend to lag from a pure specificity standpoint. Saying that, it can also have sensitivity improvements beyond what a tumor informed
            assay can do. In fact, we think as sequencing becomes less expensive, the assay can lean on more data points to make a “call.” We
                                                                                                                                                                                                                                           Case: 24-1324




            suspect in 2024, Guardant should receive CMS coverage for recurrence in CRC and breast cancer. We note, during GH’s recent
            investors day presentation the company presented with 80% sensitivity and 99% specificity for recurrence. We think that will meet the
            CMS threshold for coverage.



                                                                                                                                                                                                         INVESTOR 120
                                                                                                                                                                                                              DAY 23
                                     COSMOS-Colon Update: Stage 11/111
                                                                                                                                                                                                                                           Document: 42-3




                                     completely resected (RO) population
                                                              RFS Based on 4 Week Post-Surgery ctDNA




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                                                                          0               12                 24              36
                                                                                                                                                           80%
                                                                                                                                                           Sensit ivity
                                                                                                                                                                                        99%
                                                                                                                                                                                        Speci ficity
                                                                                         Time Since Surgery (mo)
                                              No. at r1sk                                                                                                  prior t o or at recurrence   (sample-level)
                                              ctDNAno(detected            121             115                98              10
                                              c.tDNA detec.ted            14              10                 6               2


                                                        No. of
                                   ctDNA status        Events/                   Median             12M RFS              24M RFS             36M RFS       Data to be included in Medicare CRC
                                                       Total No.                  RFS               (95% Cl)             (95% Cl)            (95% Ct)
                                                                                                                                                           surveill ance submiss ion
                                                                                                                                                                                                                                           Filed: 03/18/2024




                                                                                                     95.0%                90.7%                90.7%
                                   Not Detected        11 / 121                     NR             (89.3-97.7)          (83.9-94.8)          (83.9-94.8)
                                                                                                     64.3%                 40.2%               30.1 %
                                   Detected                 9 / 14               18.0mo
                                                                                                   (34.3-83.3)          (1 5.1-64.4)         (8.4-56.0)




            Source: Piper Sandler, Guardant Investor Presentation
                                                                                                                                                                                                                        PIPER SANDLER
                                                                                                                                                                                                                           Page 14 of 30
                                                            Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 15 of 31
                                                                                                                             PIPER ISANDLER
            Other up and comers in MRD
            We estimate there more than 20 companies actively pursuing MRD including most if not all of the major comprehensive genomic
            profiling companies and most of the liquid biopsy screening companies. For good reason, as we estimate the market will be the largest
            market in diagnostics. We think the MRD front runners are companies such as Natera, Guardant and Adaptive who have clear
            commercial traction. We think most of the other companies will need to rely on a product bundle or some form of differentiation that
            isn’t price. On the tumor informed side, we find a lot of companies will use number of mutations tracked as a key differentiator. While
                                                                                                                                                                  Case: 24-1324




            we think there’s a likely a good number, our research suggests that won’t resonate with docs as differentiation. Another area of
            differentiation is level of detection. We think over time this will be a true differentiator. However, in the near term, as long as the protocol
            for oncologists is to go to CT scan, we think picking up even smaller levels of cancer cells won’t matter as much as physicians will trust
            the CT scan over the ctDNA (something we think needs to change over time). In other words, having a technology that can enable the
            detection of cancer well before a confirmatory C-scan won’t help until the studies prove it.
            As the cost of sequencing decreases, we think most companies will move from an upfront exome to a whole genome. As far as we
            know, that would not constitute a new assay required for further clinical trials to support reimbursement. Several of the more significant
                                                                                                                                                                  Document: 42-3




            tests currently under development include those by the following covered companies:
            NeoGenomics – RaDaR is a tumor informed liquid biopsy test, with initial targets including cancers of the lung cancer, breast cancer,




Appx16155
            colon cancer and head and neck squamous cell carcinoma (HNSCC). RaDaR received its first commercial payer coverage in June
            2023, for its pan-cancer testing option, by Blue Shield of California.
                                                                                                                                                                  Page: 512




            Exact Sciences – The company announced in August 2023 that it would be launching its MRD test in late 4Q23, with the brand name
            OncoDetect. The test is a tumor informed, ctDNA detection test. The company expects to apply for a LCD in mid/late 2024. The
            company noted that the MAESTRO technology, licensed from the Broad institute, could potentially be applied to increase sensitivity for
            the test in the future and allow for additional mutations to be tested.
            Invitae – The company received its first commercial coverage decision for its tumor informed test in March 2023, from Blue Shield of
            California. Invitae PCM is a pan-cancer, tumor-informed liquid biopsy assay co-developed with the TRACERx consortium that uses a
            next generation sequencing (NGS) to analyze ctDNA in a patient's plasma.
                                                                                                                                                                  Filed: 03/18/2024




            Haystack (Quest) – Acquired by Quest Diagnostics in April 2023 for $300M, Haystack is being adapted by Quest, initially for clinical
            lab services available beginning in 2024. Development efforts will focus initially on MRD tests for colorectal, breast and lung cancers.
            Quest estimates the acquisition would be accretive by 2026.


            Source: Piper Sandler
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            Clinical MRD market share

                                                                       2022 Revenue ($M)

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                                                                                                                                                              Case: 24-1324




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                                                                     Signatera       ClonoSEQ       Other




Appx16156
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            The MRD market currently has few competitors, and we estimate that >95% of the current revenue in the space is comprised of ADPT
            and NTRA’s tests. While several companies exist in the early stages, we believe they are primarily working to get additional volume,
            with the expectation of receiving better reimbursement in the future as additional payors adopt the tests. We note, the other in this case
            is predominantly Guardant.
            We note, this graph mostly captures clinical MRD. Pharma services, particularly milestones and upfronts is not routinely disclosed by
            companies but is nonetheless meaningful. Companies such as Guardant and Neogenomics likely have meaningful MRD revenue in
            clinical development in excess of the $5M shown on the graph above.
                                                                                                                                                              Filed: 03/18/2024




            Source: Piper Sandler
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                                                                                                                                              Page 16 of 30
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            Part 3
                                                                                                                 Case: 24-1324




            MRD Survey Data
                                                                                                                 Document: 42-3




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            Physician utilization – NGS/Tumor informed MRD
            MRD is clearly in the market expansion phase. We think it’s going to grow by both penetration of oncologists and increasing utilization of
            oncologists. We note that zero oncologists surveyed are decreasing their usage of tumor informed MRD. That said, we are early in the adoption
            cycle so that shouldn’t come as a surprise. We expect tumor informed MRD to grow two ways. First by increasing in penetration rate of oncologists
            (37% having used it in the past 12 months in our survey) and increasing number of patients oncologists use the test on. We also note, we only
            used the 14 oncologists who answered they are doing MRD. As such, this question is subject to small sample size issues.

            Those oncologists who use MRD testing are doing so at increasing rates, which we think over time could lead to a significant increase in the
            utilization of these tests. We think MRD represents potentially the highest volume testing modality in all of cancer diagnostics with the opportunity
                                                                                                                                                                                                                              Case: 24-1324




            to test more than 4x per year per patient on the 18M cancer survivors in the US.

            We estimate the more likely candidates are the 1.8M new cancer patients tested 4x per year but that still pegs the market at $29B. We think that’s
            an underestimate. For example, if your family members had been in remission even a long as 10 years ago, wouldn’t you want them tested for
            recurrence? As of today, we estimate that less than 300,000 MRD tests (between Adaptive, Guardant, and Natera) have been ran in totality and
            the majority of those have not been reimbursed.

            In all, we estimate that CMS has reimbursed ~$350M to date in MRD testing, spaced out over the last 4 years. We estimate, albeit at a small base,
            that MRD testing is growing in the mid to high double digits quarter-on-quarter and will grow in the triple digits annually for at least a few years.
                                                                                                                                                                                                                              Document: 42-3




            Although our lofty TAM estimate assumes high compliance, we feel comfort in our view that MRD testing dwarfs profiling testing and with a
            reimbursement rate at a comparable level to a test that’s done only a couple times; we think a $3,920 price for MRD is unstainable.




Appx16158
                             [Oncs who do tumor informed MRD, n=14] "I'm                                                     [Oncs who do tumor informed MRD, n=14] "In
                                                                                                                                                                                                                              Page: 515




                                 increasing my amount of MRD testing"                                                      [NGS/tumor informed MRD], are you increasing or
             8                                                                                                                          decreasing ordering?"
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                          Strongly disagree       Disagree       Neutral       Agree       Strongly agree            Decreasing a lot       Decreasing       About the same       Increasing        Increasing a lot



            Source: Piper Sandler
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            Signatera is widely seen as the preferred test
            Among oncologists who use tumor informed MRD, there was a strong preference for Signatera, with 9/14 saying it was their preferred
            test. We would be interested to learn what other tests the two who disagreed use, and suspect they may either be using alternative
            technologies for recurrence detection such as imaging technologies, or the MRD technologies of Guardant (as a reminder 5/6 who use
            Reveal also use Signatera) or other up and coming companies in the clinical trial setting.
            While we think Signatera is the preferred test is positive, we note that there’s really nothing else on the market outside of clinical trials.
                                                                                                                                                                        Case: 24-1324




            We suspect, the two people that disagree, probably use one in that setting.
                                                                                                                                                                        Document: 42-3




                                          [Oncs who do tumor informed MRD, n=14] "Signatera is my preferred [Solid Tumor MRD] test "




Appx16159
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                                    Strongly disagree         Disagree               Neutral               Agree               Strongly agree




            Source: Piper Sandler
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                                                                                                                           PIPER ISANDLER
            Tumor informed vs. Tumor Independent (Naïve)
            Tumor informed MRD testing utilizes cancer tissue samples to calibrate the test to that specific cancer and provide accurate results.
            While we notice that the broad consensus is that tumor informed tests perform higher, we think the gap will close over the next ~5-10
            years. We point to clinical trials as a catalyst to the change the opinion of oncologists. Tumor independent testing, alternatively, looks
            for ctDNA or other markers in blood samples, while often times having sensitivities that rival tumor informed tests.
            Many oncologists we’ve spoken with have noted the utility of tumor independent tests for patients who in whom cancers are difficult to
                                                                                                                                                               Case: 24-1324




            access (about 10-20% of the time), or who have already received surgery, removing the initial tumor, such that an initial exome can no
            longer be used to inform future testing.
            We think the reality is that both approaches are necessary. Over the next 3-5, we think the market will be 80% tumor informed and 20%
            tumor independent with the vast majority of the tumor independent tests being used in the tumor unavailable use case. Our reason for
            this breakdown is that tumor informed has seen such rapid adoption that we think it is winning out in the market. That said, there are so
            many convenience factors that will still pull volumes to tumor Independent that we think there will be ample opportunity for tumor
            independent companies to expand the pie and gain some share from tumor informed.
                                                                                                                                                               Document: 42-3




            We’ve ran several checks with oncologists on the differences between tumor informed and tumor agnostic. For lack of a better
            description, we find that oncologists just find tumor informed more intuitive. The scientific difference in accuracy is likely debatable. A




Appx16160
            tumor informed assay is more likely to catch something it’s specifically targeting and PCR in general has a higher accuracy than NGS.
            That said, tumor agnostics can catch mutations outside of the predetermined panel.
                                                                                                                                                               Page: 517
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            Source: Piper Sandler
                                                                                                                                           PIPER SANDLER
                                                                                                                                               Page 20 of 30
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                                                                                                                                  PIPER ISANDLER
            Tumor informed vs. Tumor Independent



                                                                          Key Differences                                Select companies
                                                                                                                                                                     Case: 24-1324




                                                  Potential for high sensitivity due to personalized variant tracking


                                                  Potential to apply personalized approach across tumor types
                                                  (presumed independently of cancer specific optimization)
                               Tumor informed                                                                         Caris, Natera,
                                                                                                                       Foundation,
                                                  Strong synergies with tissue WES/CGP assay portfolios           Invitae/Archer, Exact
                                                                                                                    Sciences, Inivata
                                                                                                                                                                     Document: 42-3




                                                                                                                    (NeoGenomics),
                                                  Likely well positioned for heterogenous cancers where a generic    Personalis, C2i
                                                  panel may not sufficiently cover inter patient variability      Genomics, Predicine




Appx16161
                                                  Faster turnaround time for initial blood result (particularly well
                                                                                                                                                                     Page: 518




                                                  suited for late stage monitoring an early stage cases where
                                                  adjuvant treatment may begin within 4 weeks)

                                                  Convenient sampling logistics, which are better suited for
                              Tumor independent   centralized and decentralized testing alike.

                                                  Epigenomic signatures expected to increase technical
                                                  performance without need for tissue.
                                                                                                                                                                     Filed: 03/18/2024




                                                  Likely well positioned for homogenous cancers where a set of
                                                  common mutations are applicable across patients and cancers           Guardant, Grail, Caris,
                                                  where tissue is limited even in early stages                               Predicine


            Source: DeciBio
                                                                                                                                                  PIPER SANDLER
                                                                                                                                                     Page 21 of 30
                                   Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 22 of 31
                                                                                                                            PIPER ISANDLER
            Tumor informed testing seen as superior to tumor independent
            We don’t necessarily think tumor informed MRD is actually significantly more accurate than tumor independent. In some
            circumstances, for example, when a patient develops a brand new mutation, tumor informed can be less accurate. That said, our
            interviews with oncologists have universally found that tumor informed is more intuitive and has the perception of higher accuracy. This
            survey widely confirmed that bias.
            Our interview also seem to confirm the quantitative nature of the tumor informed readout gives confidence to the findings of the reports
                                                                                                                                                                Case: 24-1324




            they received. In other words, seeing a report that says the patient has 300 mutations in the blood feels more accurate than just a
            report that says “positive for minimal residual disease.” Lastly, there are some technological difference. While both assays use NGS on
            the first read, tumor informed uses PCR on the serial testing portion of the business. PCR tends to have almost perfect accuracy. Over
            the very long term (a decade from now), as sequencing costs get lower and sequencing depth increases multiple fold, we think tumor
            independent testing will eventually make up the majority of tests. We note, our survey was in late July/Early August, prior to the early
            termination of Cobra.
                                                                                                                                                                Document: 42-3




Appx16162
                                         [Oncs who use tumor informed MRD, n=14] "Performance of tumor informed MRD is higher than
                                                                             tumor agnostic"
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                                    Strongly disagree        Disagree              Neutral               Agree              Strongly agree


            Source: Piper Sandler
                                                                                                                                             PIPER SANDLER
                                                                                                                                                Page 22 of 30
                                               Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 23 of 31
                                                                                                                                                           PIPER ISANDLER
            Neoadjuvant vs. Adjuvant and Monitoring
            The neoadjuvant refers to the setting prior to surgery, when chemotherapies are used with the intention of shrinking tumors, or stopping
            their spread. Adjuvant settings refer to those after surgeries, with the intention of killing any remaining cancerous cells. Monitoring
            refers to the setting after the adjuvant setting, in which testing occurs to determine whether there have been relapses of cancer in the
            patient.
            Many cancer types release small levels of cancer markers that provide doctors and researchers insight into the presence of the cancer
                                                                                                                                                                                     Case: 24-1324




            and effectiveness of the treatment. The levels and patterns of these markers can correlate with the location, stage, and severity of the
            cancer. Doctors can order an MRD test to monitor the treatment course, confirm or monitor remissions, find recurrence sooner, identify
            patients who have a higher risk of relapse, and inform doctors on when to restart treatment. The image below shows why MRD testing
            is done. The figure shows the scenario emphasizing the importance of MRD detection after the initial treatment, When MRD detection
            is not performed, there is no indication of how effective the treatment was on the tumor, and relapse may eventually occur. If MRD
            diagnosis confirms a positive result, the patient can be prescribed a more personalized treatment to prevent any future relapses.
            Ultimately, the most important benefit of MRD will be improving outcomes. As MRD sees higher penetration rates, we expect
                                                                                                                                                                                     Document: 42-3




            companies such as Natera to run studies showing the results of performing intervention or lack of intervention because of MRD, and
            whether MRD leads to better outcomes.




Appx16163
                                                                             Signatera: Focus on detecting presence
                                                                               of ctDNA for molecular surveillance
                                                                     DlAGNOSIS
                                                                                                                                                                                     Page: 520




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            Source: Piper Sandler
            NTRA presentation                                                                                                                                     PIPER SANDLER
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            Less utility seen for MRD in the neoadjuvant setting
            The respondents said that the neoadjuvant setting is the setting in which the least value can be derived from MRD. In this setting,
            drugs are typically used to shrink or eliminate tumors. However, most cancer treatments would still require additional testing including
            imaging to determine whether tumors are still existent rather than just having shrunk sufficiently that they are shedding little DNA; MRD
            testing also would likely not negate the use of surgery in many cases.
                                                                                                                                                                                    Case: 24-1324
                                                                                                                                                                                    Document: 42-3




Appx16164
                                                            [Oncs who do tumor informed MRD, n=14] How
                                                             much utility do you see for MRD testing in [the
                                                                                                                                                                                    Page: 521




                                                                         neoadjuvant setting]?
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                                                       No utility   Little utility       Some utility       Strong utility   Very strong utility

            Source: Piper Sandler
                                                                                                                                                                 PIPER SANDLER
                                                                                                                                                                    Page 24 of 30
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            Greatest utility for MRD seen in the adjuvant setting
            We saw more agreement on the utility of MRD in the adjuvant setting than any other setting, with 5/14 agreeing that it provides value.
            As a reminder, MRD testing in this setting would show whether a cancer has successfully been treated by surgery. MRD testing begins
            after an interval post treatment so that residual cancer cells can be removed by the patient’s body.
            As a comp, Guardant was recently approved for testing in the adjuvant setting, with its initial ctDNA test 4-6 weeks post surgery (or 2-4
            after completion of systematic therapy).
                                                                                                                                                                                            Case: 24-1324
                                                                                                                                                                                            Document: 42-3




Appx16165
                                                            [Oncs who do tumor informed MRD, n=14] How
                                                             much utility do you see for MRD testing in [the
                                                                                                                                                                                            Page: 522




                                                                           adjuvant setting]?
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                                                       No utility       Little utility       Some utility       Strong utility       Very strong utility

            Source: Piper Sandler
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            Mixed opinion on MRD’s utility in surveillance
            Equal numbers of respondents said that there is utility for MRD in monitoring, with 4 viewing it as providing utility and 4 thinking it had
            little or no utility. We think this may be a combination of the low levels of surveillance testing being performed.
            As a comp, Guardant’s test was recently approved in the surveillance setting every 3-6 months after treatment for two years, and 6-12
            months for the following three years. These tests are only now becoming an option, but even so, there are still likely questions as to
            whether or not testing once per 6-12 months would provide sufficient lead time prior to symptoms associated with a recurrence for a
                                                                                                                                                                                         Case: 24-1324




            patient to get back on to a treatment plan.
                                                                                                                                                                                         Document: 42-3




Appx16166
                                                             [Oncs who do tumor informed MRD, n=14] How
                                                              much utility do you see for MRD testing in [the
                                                                                                                                                                                         Page: 523




                                                                           surveillance setting]?
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                                                        No utility   Little utility       Some utility       Strong utility       Very strong utility
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            Source: Piper Sandler
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                                                                                                                                                                         Page 26 of 30
                                        Case 1:23-cv-00629-CCE-JLW Document 100-1 Filed 10/19/23 Page 27 of 31
                                                                                                                         PIPER ISANDLER
            What NCCN guidelines are and why it matters
            National Comprehensive Cancer Network (NCCN) guidelines are used as industry standard recommendations by various private
            payers. A positive guideline inclusion of a type of test, or specific companies test, generally leads to many payers reimbursing for
            various tests.
            We have heard comparisons between MRD testing and existing NCCN guidelines for conducting CT scans on patients who have been
            treated for solid tumors, for monitoring. One complaint about finding recurrence via CT scans is that there is scant evidence that the
                                                                                                                                                             Case: 24-1324




            testing actually improves survival rates.
            In our view, payors will want to see that the testing is improving survival rates in order to approve the testing – particularly for
            expensive testing, such as NGS. In fact, the recent price increase from Medicare to ~$3,900 likely would decrease the frequency
            private payors would cover the test, assuming they follow Medicare’s pricing decision.
            That said, in Signatera’s case, we think that the majority of NCCN committee members are generally for inclusion of Signatera, but that
            they want a bit more evidence on its utility before being instituting guideline inclusion.
                                                                                                                                                             Document: 42-3




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            Oncologists that use MRD, think it should be in Guidelines
            In our view, the half of respondents (7/14) who believe that MRD merits guideline inclusion is high, considering that the tests are still
            early in their commercialization and that new data is being released on them on a regular basis. We think that this view is positive for
            companies with these tests, and think that it will increase over time as the tests are more widely used and as they are seen as having
            greater utility.
                                                                                                                                                                              Case: 24-1324
                                                                                                                                                                              Document: 42-3




Appx16168
                                [Oncs who do tumor informed MRD, n=14] "I think there's sufficient evidence for tumor informed
                                                             MRD to be in NCCN guidelines"
              6
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                                                           Strongly disagree       Disagree       Neutral       Agree       Strongly agree



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PIPER ISANDLER                                                                                                                             September 25, 2023



IMPORTANT RESEARCH DISCLOSURES


                                   Rating and Price Target History for: Adaptive Biotechnologies Corp. (ADPT) as of 09-22-2023
  06/02/22   08/17/22   10/26/22   12/21/22   05/08/23   08/07/23
  I:N:$7.5   N:$12      N:$7.5     OW:$14     OW:$15     OW:$14
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 Q2          Q3         2021        Q1          Q2          Q3       2022        Q1         Q2        Q3         2023        Q1      Q2          Q3



                                                                                                                                   Created by: BlueMatrix


Notes: The boxes on the Rating and Price Target History chart above indicate the date of the fundamental Equity Research Note, the rating and the price
target. Each box represents a date on which an analyst made a change to a rating or price target, except for the first box, which may only represent the
first Note written during the past three years.
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I: Initiating Coverage
R: Resuming Coverage
T: Transferring Coverage
D: Discontinuing Coverage
S: Suspending Coverage
OW: Overweight
N: Neutral
UW: Underweight
NA: Not Available
UR: Under Review

                                                               Distribution of Ratings/IB Services
                                                                            Piper Sandler

                                                                                                                                    IB Serv./Past 12 Mos.
Rating                                                                           Count                     Percent                Count               Percent
BUY [OW]                                                                              589                    58.26                  141                 23.94
HOLD [N]                                                                              377                    37.29                   50                 13.26
SELL [UW]                                                                             45                      4.45                    2                     4.44

Note: Distribution of Ratings/IB Services shows the number of companies currently covered by fundamental equity research in each rating category from
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The views expressed in this report accurately reflect my personal views about the subject company and the subject security. In addition, no part of my
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PIPER ISANDLER                                                                                                                    September 25, 2023



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              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
NATERA, INC.,

                 Plaintiff,
           v.                            C.A. No. 1:23-cv-629

NEOGENOMICS LABORATORIES, INC.,          CONTAINS HIGHLY CONFIDENTIAL
              Defendant.                 INFORMATION




            REPLY DECLARATION OF DR. MICHAEL METZKER




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              (ii)     Bashashati (2013) Does Not Render the ’454 Patent Claims
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                       (a)       Claim 1[b] of the ’454 Patent ................................................ 69

                       performing targeted multiplex amplification to amplify 10 to
                             500 target loci each encompassing a different tumor-
                             specific SNV mutation from cell-free DNA isolated
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                       sequencing the amplicons to obtain sequence reads, and
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               amplifying the tagged products one or more times to generate
                     final amplification products, wherein one of the
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                     a plurality of single nucleotide polymorphism (SNP)
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               amplifying the tagged products one or more times to generate
                     final amplification products, wherein one of the
                     amplification steps comprises targeted amplification of
                     a plurality of single nucleotide polymorphism (SNP)
                     loci in a single reaction volume, wherein one of the



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I, Michael Metzker, declare as follows:

      1.     I previously submitted a declaration1 in the above-captioned litigation with

respect to the infringement of U.S. Patent Nos. 11,530,4542 and 11,519,0353 (collectively,

the “Natera Patents”).   I incorporate that declaration herein by reference, including

information regarding my qualifications and expertise, including my curriculum vitae, as

well as my understanding of relevant legal principles.

      2.     I have been asked to consider the Declaration of NeoGenomics’ expert Dr.

Brian Van Ness4 which I understand has been submitted in support of NeoGenomics’

opposition to Natera’s motion for a preliminary injunction regarding NeoGenomics’

RaDaR™ test. In the Van Ness Declaration, Dr. Van Ness has offered opinions regarding

the invalidity and inventorship of the Natera Patents as well as opinions responding to my

Opening Declaration. I have also considered his deposition testimony concerning the Van

Ness Declaration (“Van Ness Tr.”).5 I respond and reply to his opinions herein.




1
 See Dkt 17, Declaration of Dr. Michael L. Metzker in Support of Plaintiff Natera, Inc.’s
Motion for a Preliminary Injunction, dated July 29, 2023 (“Metzker Op. Decl.”).
2
  See Dkt. 1-1, NAT-NEO-00000001-00000222, U.S. Patent No. 11,530,454 to Babiarz et
al., (“Detecting mutations and ploidy in chromosomal segments”) (the “’454 Patent”).
3
  See Dkt 1-2, NAT-NEO-00000223-00000435, U.S. Patent No. 11,519,035 to Rabinowitz
et al., (“Methods for simultaneous amplification of target loci”) (the “’035 Patent”).
4
    See Dkt. 116, Declaration of Dr. Brian Van Ness in Support of NeoGenomics
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Injunction, dated October 18, 2023 (“Van Ness Declaration” or “Van Ness Decl.”).
5
  See Ex. 1, Transcript of Deposition of Brian Van Ness, Ph.D., dated October 25, 2023
(“Van Ness Tr.”).


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I.       LEGAL STANDARDS

         3.     I am not an attorney and have no legal training. In this Reply Declaration, I

have applied certain legal principles of which I have been informed by Natera’s counsel as

described in my Opening Declaration6 and infra.

         A.     Section 101

         4.     In evaluating whether patent claims are patent-eligible under 35 U.S.C. §

101, I have been informed and understand that a Court conducts a first inquiry to determine

whether the claims at issue are directed to a patent-ineligible concept. I understand that, if

this threshold determination at step one is met, the Court moves to the second step of the

inquiry and considers the elements of each claim both individually and as an ordered

combination to determine whether the additional elements transform the nature of the claim

into a patent-eligible application.

         5.     I have been informed and understand that the “directed to” inquiry in step

one of the eligibility analysis considered in light of the specification is based on whether

the claims as a whole directed to excluded subject matter. I understand, for example, new

and improved techniques for producing tangible and useful results fall outside the

categories of inventions that are “directed to” patent-ineligible concepts. Moreover, I

understand that the “directed to” inquiry cannot simply ask whether the claims involve a

patent-ineligible concept, because essentially every routinely patent-eligible claim




6
     See Metzker Op. Decl. § III.


                                              7

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involving physical products and actions involves a law of nature and/or natural

phenomenon.

       6.     I have been informed and understand that step two of the patent-eligibility

analysis has been described as a search for an inventive concept. At step two, I understand

that more is required than well-understood, routine, conventional activity already engaged

in by the scientific community, which fails to transform the claim into significantly more

than a patent upon the ineligible concept itself. I understand that, at this step, claims that

are “directed to” a patent-ineligible concept yet also improve an existing technological

process are sufficient to transform the process into an inventive application of the patent-

ineligible concept.

       B.     Section 103

       7.     I have been informed and understand that a patent is invalid for obviousness

if the differences between the subject matter sought to be patented and the prior art are such

that the subject matter as a whole would have been obvious at the time the invention was

made to one of ordinary skill in the art to which said subject matter pertains. I understand

that obviousness is a question of law based on underlying findings of fact. An analysis of

obviousness must be based on several factual inquiries: (1) the scope and content of the

prior art; (2) the differences between the prior art and the claims at issue; (3) the level of

ordinary skill in the art at the time the invention was made; and (4) objective evidence of

nonobviousness, if any. I am informed that a party seeking to invalidate a patent as obvious

generally must demonstrate by clear and convincing evidence that a skilled artisan would



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have had reason to combine the teaching of the prior art references to achieve the claimed

invention, and that the skilled artisan would have had a reasonable expectation of success

from doing so.

       8.     I have been informed and understand that where the prior art gives only

general guidance as to the particular form of the claimed invention or how to achieve it,

relying on an obvious-to-try theory to support an obviousness finding is impermissible.

Moreover, I understand that obviousness cannot be shown “by merely throwing

metaphorical darts at a board” in hopes of arriving at a successful result when the prior art

gives either no indication of which parameters are critical or no direction as to which of

many possible choices is likely to be successful. Rather, I understand that courts should

reject such “hindsight” claims of obviousness.

       9.     Moreover, I have been informed and understand that evidence of secondary

considerations of non-obviousness must always be considered when present, for example,

to guard against hindsight bias.       I am informed that such evidence of secondary

considerations may often be the “most probative and cogent” evidence in the record to

establish that an invention appearing to have been obvious was not.

       C.     Section 112 – Written Description

       10.    I have been informed and understand that the test for sufficiency of a patent’s

written description is whether the disclosure of the application relied upon reasonably

conveys to those skilled in the art that the inventor had possession of the claimed subject

matter as of the filing date. I understand that this test requires an objective inquiry into the



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four corners of the specification from the perspective of a person of ordinary skill in the

art.

         11.   I have been informed and understand, based on that inquiry, the specification

must describe an invention understandable to that skilled artisan and show that the inventor

actually invented the invention claimed. I understand, however, that the description

requirement does not demand any particular form of disclosure, and that the specification

does not need to recite the claimed invention in the same words as recited in the claims.

II.      TECHNICAL BACKGROUND

         12.   I identify certain technical principles that inform my opinions set forth in this

Reply Declaration infra. In particular, I explain the challenges that one of ordinary skill in

the art would have faced in working with cell-free DNA (cfDNA) that circulates in the

body. Both Dr. Van Ness and I discuss cfDNA. In my view, the analysis in the Van Ness

Declaration7 does not adequately describe the significant difficulties and challenges that

faced one of ordinary skill in the art with respect to the use and manipulation of cfDNA to

achieve the methods claimed in the Natera Patents, particularly in view of conflicting

testimony Dr. Van Ness gave in his deposition. I also note Dr. Van Ness’s admission that

he has never published any work involving cfDNA and that his laboratory spent only about

six months attempting to work with cfDNA in the early 2000s, and did not work on cfDNA




7
    See Van Ness Decl. at ¶¶ 43-46.


                                              10

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again after the early 2000s. Nor has Dr. Van Ness published any work on tumor-specific

genetic variants using cfDNA.

                Q.       You never worked on – you, yourself, in your lab never
                         worked on cell-free DNA after the early 2000s, correct?

                A.       We never – after the early 2000s, we did not work on
                         cell-free DNA, although all the methods of DNA
                         extraction, multiple, and sequencing were routine in my
                         lab. But we did not work on specifically cell-free DNA
                         after the early 2000s.8

                Q.       Okay. I’ll ask the question again. You and your lab
                         have never published any work describing experiments
                         using cell-free DNA, correct?

                A.       I have not. Only blood DNA we’ve worked on, but I
                         have not looked at cell-free. We did not publish on cell-
                         free.9

                Q.       You never published any work on tumor-specific SNPs
                         or single nucleotide variants in cell-free DNA, correct?

                A.       We did publish on SNPs in tumor – unique to tumors.
                         It wasn’t from the cell-free DNA.10

         A.     Cell-Free DNA and Plasma Samples

         13.    Prior to 2014-2015, and even earlier, there were many obstacles to the

assaying and analysis of cfDNA. These challenges were, and still are, greater than when

working with DNA from tissue samples, such as samples of tumors. I discuss some of

these challenges in this section. Dr. Van Ness agrees, as he testified in his deposition.


8
     See Van Ness Tr. at 246:21-247:4 (objection omitted).
9
     Id. at 247:15-22 (objection omitted).
10
     Id. at 249:11-15.


                                                11

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                Q.     You and your lab were not consistently able to detect
                       cell-free DNA with good sensitivity, correct?

                A.     In the early 2000s, we were all having some problems
                       in the consistency of detecting cell-free DNA.

                Q.     And in fact –

                A.     Detecting the target of cell-free DNA we were looking
                       for.11

         14.    For example, Volik (2016)12 provides a helpful summary of certain problems

and difficulties facing scientists working with cfDNA.           These challenges are also

acknowledged in certain prior art references cited in the Van Ness Declaration, such as

Forshew (2012).13 I discuss them infra.

         15.    As a general matter, cfDNA is difficult to biochemically process and analyze

because it is relatively low-quality compared to DNA from other sources, such as tissue

samples. In his deposition, Dr. Van Ness agreed that working with cfDNA posed technical

challenges.

                Q.     Okay. Do you – you see here that Dr. Forshew, in that
                       first sentence, says “Circulating DNA is fragmented to
                       an average length of 140 to 170 base pairs and is present
                       in only a few thousand amplifiable copies per milliliter
                       of blood, of which only a fraction may be diagnostically
11
     Id. at 248:10-20 (objection omitted).
12
   See Ex. 2, Volik et al., Cell-free DNA (cfDNA): Clinical Significance and Utility in
Cancer Shaped By Emerging Technologies, 14 Mol. Cancer Res. 898 (2016) (“Volik
(2016)”).
13
     See Dkt. 1-16, NAT-NEO-00043262-00043275, Forshew et al., Noninvasive
identification and monitoring of cancer mutations by targeted deep sequencing of plasma
DNA, SCIENCE TRANSLATIONAL MEDICINE 4:136ra68, pp. 1-12 (2012) (“Forshew
(2012)”).


                                              12

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                      relevant”?      Do you disagree with Dr. Forshew’s
                      statement?

               A.     I don’t.

               Q.     In the second sentence, a few lines down, it says, “But
                      also the challenges involved in analysis of circulating
                      tumor DNA, where mutated loci and AFs may be more
                      variable.” Do you disagree with him that there are
                      challenges involved in analysis of circulating tumor
                      DNA because of those variable mutated loci and AFs?

               A.     He’s referring to past challenges that involve the
                      analysis of circulating tumor DNA. I agree with that.14

        16.    Here, I provide an example of one such problem. Consider a cfDNA

molecule that contains a desired single nucleotide polymorphism (“SNP”), which is a

genomic variant at a single base position in DNA. If the cfDNA is fragmented such that

the cfDNA fragment does not contain sites for both primers of a primer pair to bind that

primer pair will not be able to amplify that particular SNP successfully when PCR is

performed.

        17.    As of 2014-2015, scientists were beginning to explore how to use cancer-

associated cfDNA.

               Known to be present in the blood of cancer patients for
               decades, cell-free DNA (cfDNA) is beginning to inform on
               tumor genetics, tumor burden, and mechanisms of progression
               and drug resistance.15




14
     See Van Ness Tr. at 116:19-117:21 (emphasis added).
15
     See Volik (2016) at Abstract.


                                             13

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           18.     Indeed, the art recognized that blood plasma contained a highly variable

content of cfDNA. In the case of cancer patients, for example, the level of tumor-associated

cfDNA (known as “circulating tumor DNA” or “ctDNA”) would vary, including relative

to the normal cfDNA that represents the majority of cfDNA found in plasma.

                   The amount of cfDNA in cancer patients varies widely.16

                   Not unexpectedly, in addition to varying absolute levels of
                   cfDNA, the fraction of DNA molecules in the circulation of
                   cancer patients that can be recognized as being derived from
                   tumor cells also varies.17

           19.     The art recognized that the fragmented nature of cfDNA made it difficult to

manipulate through existing techniques such as PCR-based amplification and sequencing.

Dr. Van Ness agrees that there are challenges in amplifying cfDNA, as he testified in his

deposition.

                   Q.    Is it your opinion that there are particular challenges in
                         amplifying cell-free or plasma DNA that one doesn’t
                         encounter in amplifying genomic DNA from tissue?

                   A.    There are some challenges. And there are some
                         challenges in whole genomic DNA amplification as
                         well. Amplification was well known in the art, and, yes,
                         there are challenges.18

Dr. Van Ness further acknowledged that “[t]here are challenges to amplifying genomic

DNA. There are challenges to amplifying cell-free DNA. And are they the same? No,



16
     Id. at 890.
17
     Id.
18
     See Van Ness Tr. at 109:25-110:7 (emphasis added).


                                                 14

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the size of the fragments are different. The number of cycles you might want to do with

cell-free DNA may be different than if you have a lot of genomic DNA from the tumor.”19

         20.       In addition, tumor genomes are genetically unstable and prone to mutate. A

frequent consequence of cancer-associated genetic instability is that different populations

of cells within the same tumor from a single patient can have different genetic mutations.

When these different tumor cell populations release ctDNA into the plasma, one

population’s ctDNA can have different sequences from other populations’ ctDNA. These

different mutations among different cancer cells in a tumor are known as “subclonal”

mutations.         Biochemically processing and analyzing ctDNA sequences is therefore

typically more challenging than simply collecting and processing DNA directly from

healthy tissues and tumor tissues for study.

                   The fragmentation, low yield, and variable admixture of
                   normal DNA present formidable technical challenges for
                   realization of this potential.20

                   [The] low amount, high degradation, and high admixture of
                   normal DNA in cfDNA pose major challenges for the
                   development of sensitive and robust detection pipelines. The
                   fact that most (if not all) tumors are characterized by multiple
                   subclonal populations with only a subset of somatic mutations
                   shared among all cells (for review, see ref. 52) further
                   complicates the issue.21




19
     Id. at 113:4-10 (emphasis added).
20
     See Volik (2016) at Abstract.
21
     Id. at 901.


                                                 15

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        21.    Moreover, ctDNA is typically low-abundance in the plasma of a person with

cancer relative to the levels of other cfDNA in the plasma. 22 Specifically, the plasma is

likely to contain far more cfDNA from non-cancer cells than ctDNA from tumor cells,

which makes preparing preparations of the ctDNA more difficult (because it must be

distinguished in some way from the non-tumor cfDNA).

               Circulating tumor DNA (ctDNA) is typically so diluted by
               normal DNA that existing sequencing methods (e.g., Sanger
               sequencing) were not sufficiently sensitive to detect mutant
               DNA molecules. As a result, mutation-specific PCR was the
               only available technology that could provide sufficient
               specificity for detection of the weak tumor signal.23

               However, tumor-derived DNA usually constitutes only a
               small percentage of total cfDNA so the ability to detect rare
               genome aberrations is an essential requirement for cfDNA
               analysis pipelines.24

        22.    In deposition, Dr. Van Ness acknowledged particular and “unique”

challenges associated with multiplex amplification of cfDNA in the context of discussing

amplification of different types of cfDNA (e.g., cfDNA from patients who received an

organ transplant, or pregnant women, or subjects with cancer).

               Q.     I was asking about multiplex amplification, the actual
                      multiplex PCR reaction. That – do you – is there
                      something you have to do differently in performing
                      multiplex PCR to amplify transplant cfDNA versus
                      cancer-free [sic] DNA?



22
     See Van Ness Tr. at 111:8-113:13.
23
     See Volik (2016) at 898 (emphasis added).
24
     Id. at 906(emphasis added).


                                            16

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        A.    There may be differences because the multiplexing does
              involve sample preparation.           It does involve
              understanding the limits of detection. How many cycles
              of multiplex PCR might be needed? So, yes, there are
              differences.

        Q.    Would you say those same differences would apply to
              performing multiplex PCR to amplify fetal cell-free
              DNA versus cancer cell-free DNA?

        A.    I think every application has its unique challenges in
              terms of sample access, preparation that influence how
              the multiplex is being done.

        Q.    So the answer’s yes?

        A.    I think all of those applications, yes, can have
              differences in protocols that might be required for
              successful multiplex amplification.

        Q.    And by “applications,” you mean cell-free DNA from a
              fetus versus cell-free DNA from an organ transplant
              versus cell-free DNA from a tumor?

        A.    Recognize that the detection of cell-free DNA from
              each of those sources also requires access to those
              sources so that you know what you’re looking for. So
              it’s not sufficient simply to isolate cell-free DNA. You
              have to know the sequences of your target in order to be
              – to analyze that. And those target sequences are going
              to be present in different quantities in each of those
              applications.

        Q.    I was just asking what you meant by the word
              “applications.”     You say, “I think all of those
              applications, yes, can have differences in protocols that
              might be required for successful multiplex
              amplifications.” I’m just asking what you meant by
              “applications,” that word.

        A.    Okay.



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               Q.     Are you referring to cell-free DNA of different sources?

               A.     I’m referring to cell-free DNA as it is applied to
                      different situations, of fetal DNA, cancer DNA, organ
                      transplant DNA.25

III.     SUMMARY OF OPINIONS

         A.    Claim Construction

         23.   It is my opinion that one of ordinary skill in the art would have understood

each of the terms of the Asserted Claims of the Natera Patents to have their plain and

ordinary meaning. In particular, I construe the terms “tagging isolated cell free DNA”

(Claim 1 of the ’035 Patent) and “amplifying the tagged products one or more times”

(Claim 1 of the ’035 Patent) to each have a plain and ordinary meaning, which are

summarized infra.

         24.   It is my opinion that one of ordinary skill in the art would have understood

that as of the priority date of the ’035 Patent, and in light of the Specification, the plain

meaning of “tagging isolated cell free DNA” encompasses adding one or more adaptor tags

to isolated cell free DNA through primer extension or ligation. Dr. Van Ness agreed with

this understanding during his deposition.26

         25.   It is my opinion that one of ordinary skill in the art would have understood

that as of the priority date of the ’035 Patent, and in light of its specification, the plain



25
  See Van Ness Tr. at 64:4-66:6 (objections, court reporter clarification, and colloquy
omitted, emphases added).
26
     Id. at 228:17-232:25.


                                              18

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meaning of “amplifying the tagged products one or more times” encompasses creating at

least one copy of the tagged products. Dr. Van Ness agreed with this understanding during

his deposition.27 One of ordinary skill in the art would have readily recognized this occurs

following at least one cycle of PCR.28

           B.    Validity

           26.   As a preliminary matter, I note that Dr. Van Ness does not contend that any

prior art reference discloses every limitation of the Natera Patent claims—i.e., a “novelty”

or “anticipation” challenge under Section 102 of the Patent Act.29 Instead, Dr. Van Ness

contends that several references, if modified and combined, render the claims obvious.

           27.   I disagree with Dr. Van Ness’s contention that the Natera Patents are invalid

as obvious under Section 103.30 As explained infra, Dr. Van Ness fails to account for

technical limitations in prior art approaches and the many challenges inherent in

manipulating cfDNA faced by skilled artisans.

           28.   Dr. Van Ness’s obviousness opinions are wholly conclusory. The Van Ness

Declaration points to disparate teachings in the art or a skilled artisan’s knowledge that Dr.

Van Ness believes remediate these deficiencies.




27
     Id.
28
     Id.
29
     Id. at 97:11-98:13; see generally Van Ness Decl.
30
     See Van Ness Decl. at ¶¶ 109-220 for the ’454 Patent and ¶¶ 221-303 for the ’035 Patent.


                                               19

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         29.    Dr. Van Ness also fails to explain why one of skill in the art would have been

motivated to modify the known prior art approaches in the specific ways needed to achieve

the claimed inventions. Just as critically, Dr. Van Ness fails to explain why one of skill in

the art would have reasonably expected to succeed with any particular combined approach.

In fact, success was unlikely or at the very least unpredictable in light of well-known

obstacles, including using cfDNA, which is fragmented and challenging to manipulate even

with known methods.31 It was particularly difficult to process samples in a manner that

would permit analysis of genetic variants on low-abundance, unpredictable cancer-

associated cfDNA. Dr. Van Ness fails to even contend, much less show, that a skilled

artisan would have reasonably expected success in achieving the claimed methods given

the art’s unpredictability.    His opinions are informed with the benefit of hindsight

knowledge of Natera’s claimed invention, which is I understand impermissible in an

obviousness analysis.

         30.    I further disagree with Dr. Van Ness’s contention that the Natera Patents are

invalid as patent-ineligible under Section 101.32 The claims are directed to patent-eligible

subject matter (methods of sample preparation), and recite specific concrete laboratory

steps which generate DNA sequences not found in nature, and which require human effort

to perform. The recited steps, when considered in an ordered combination as well as

separately, are inventive and neither routine or conventional.


31
     See Section II.
32
     See Van Ness Decl. at ¶¶ 304-340 for the ’454 Patent and ¶¶ 341-347 for the ’035 Patent.


                                              20

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         31.    The Van Ness Declaration arrives at his patent-eligibility opinions by cherry-

picking parts of the claims that Dr. Van Ness contends “involve” a natural phenomenon or

abstract idea and disregarding all of the rest of the claims that does not support his opinions.

Nor does Dr. Van Ness analyze whether the claimed steps are routine and conventional

when they are considered in combination as recited in the claims.

         32.    In addition, I disagree with Dr. Van Ness’s contention that the Natera Patents

are invalid as lacking adequate written description under Section 112.33 The Natera Patents

adequately describe the claimed inventions, and the Van Ness Declaration’s contrary

opinions are in my opinion incorrect. Contrary to Dr. Van Ness’s opinion, the ’454 Patent

explicitly describes the use of whole genome sequencing.34 Dr. Van Ness opines otherwise

only by looking outside the patent to other documents not incorporated into or cited in the

patent in an attempt to interpret the patent, which I understand is impermissible in an

analysis of adequacy of written description.

         33.    Dr. Van Ness also contends that the Natera Patents lack adequate description

of the claimed methods, including approaches to multiplex PCR that do not require

selecting primers to avoid primer dimers. I disagree. As explained infra, the Natera Patents

adequately describe the claimed inventions and teach strategies for multiplex PCR that not

only avoid primer dimers but also avoid other problems such as allelic bias.35 In addition,



33
     Id. at ¶¶ 404-426 for both the ’454 Patent and ’035 Patent.
34
     See, e.g., ’454 Patent at 112:50-66, 116:20-35.
35
     See, e.g., ’035 Patent at 48:30-47.


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the ’035 Patent adequately describes the claimed invention, including the use of universal

tail adaptors.36

         34.    The Van Ness Declaration never asserts that Dr, Van Ness is offering an

opinion on a substantial question of validity with respect to either the ’454 or ’035 Patents.

I have considered the Van Ness Declaration, Dr. Van Ness’s deposition transcript, and the

cited materials.I In my opinion, Dr. Van Ness has failed to identify a substantial question

of validity for either Natera Patent. In fact, when properly considered, the22videncee

confirms the Natera Patents are valid.

         C.     Inventorship

         35.    I understand that Dr. Van Ness has opined on the issue of inventorship. I

am informed by counsel that Dr. Van Ness’s opinions are legally improper and inconsistent

with the evidence in the record. I disagree with Dr. Van Ness’s contention that the ’454

Patent is invalid for improper inventorship.

         D.     Infringement

         36.    Based on my review of the materials referenced in my Opening

Declaration37, and my personal knowledge and experience in this field, it is my opinion

that the accused RaDaR assay infringes, literally and under the doctrine of equivalents, the

Asserted Claims of the Natera Patents. I respond to Dr. Van Ness’s opinions regarding

non-infringement in this Reply Declaration.


36
     See, e.g., id. at 95:16-23.
37
     See Metzker Op. Decl. at § VIII.


                                               22

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         37.    I disagree with the contention in Dr. Van Ness’s Declaration that the accused

RaDaR assay does not infringe the Asserted Claims of the Natera Patents.38 As I explained

in my Opening Declaration, the accused RaDaR assay literally infringes the Asserted

Claims of the Natera Patents.39 Dr. Van Ness’s noninfringement theories require, as a

foundation, claim constructions that deviate from the plain and ordinary meaning of the

asserted claim terms.      However, Dr. Van Ness has not offered an opinion on the

construction of any claim terms except for the term “amplifying.”40 I have been informed

and understand from counsel that Dr. Van Ness has thus waived an interpretation that

differs from the plain and ordinary meaning of these claim terms. I also disagree with Dr.

Van Ness’s construction of “amplifying” because it directly contradicts the plain language

of the claim. As explained infra, because the. Van Ness Declaration’s interpretation of

these terms is incorrect, his opinions on noninfringement are likewise incorrect.

         38.   Even the Van Ness Declaration’s interpretations of certain claim terms were

adopted by the Court, it is my opinion that the accused RaDaR assay still infringes the

Asserted Claims of the Natera Patents under the doctrine of equivalents.

         E.    Signatera

         39.   I disagree with Dr. Van Ness’s contention that Natera’s Signatera assay does

not practice the Natera Patents. As I explained in my Opening Declaration, Signatera



38
     See Van Ness. Decl. at § IX.
39
     See Metzker Op. Decl. at § VIII.
40
     See Van Ness Decl. at § VII; see also § III.A supra.


                                              23

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practices at least Claim 1 of the ’454 Patent and Claim 1 of the ’035 Patent.41 My analysis

is supported by Natera’s internal technical documentation, which the Van Ness Declaration

failed to consider. Moreover, Dr. Van Ness testified that he had not reviewed any of

Natera’s standard operating procedures.42 These materials, when properly considered,

confirm that Signatera practices each of the Natera Patents. To the extent that Dr. Van

Ness offers any additional opinions regarding Signatera, I reserve the right to supplement

my analysis and opinions.

IV.     NATERA PATENTS

        40.    I have previously described the Natera Patents in my Opening Declaration in

this case43 and incorporate that description again here in this Reply Declaration. For ease

of reference, I include infra the claims of the Natera Patents challenged in the Van Ness

Declaration.

        A.     U.S. Patent No. 11,530,454

        41.    Claim 1 of the ’454 Patent recites:

               A method for preparing a plasma sample of a subject having
               cancer or suspected of having cancer useful for detecting one
               or more single nucleotide variant (SNV) mutations in the
               plasma sample, the method comprising:

               performing whole exome sequencing or whole genome
               sequencing on a tumor sample of the subject to identify a
               plurality of tumor-specific SNV mutations;


41
     See Metzker Op. Decl. at ¶¶ 124-138.
42
     See Van Ness Tr. at 246:11-20.
43
     See Metzker Op. Decl. at ¶¶ 48-53.


                                             24

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        performing targeted multiplex amplification to amplify 10 to
        500 target loci each encompassing a different tumor-specific
        SNV mutation from cell-free DNA isolated from a plasma
        sample of the subject or DNA derived therefrom to obtain
        amplicons having a length of 50-150 bases,

        wherein the target loci are amplified together in the same
        reaction volume; and

        sequencing the amplicons to obtain sequence reads, and

        detecting one or more of the tumor-specific SNV mutations
        present in the cell-free DNA from the sequence reads,

        wherein the sequencing has a depth of read of at least 50,000
        per target locus.

  42.   Claim 8 of the ’454 Patent recites:

        The method of claim 1, wherein the targeted multiplex
        amplification amplifies 20 to 50 target loci each encompassing
        a different tumor-specific SNV mutation.

  43.   Claim 11 of the ’454 Patent recites:

        The method of claim 1, wherein the method further comprises
        performing barcoding PCR prior to the sequencing.

  B.    U.S. Patent No. 11,519,035

  44.   Claim 1 of the ’035 Patent recites:

        A method for amplifying and sequencing DNA, comprising:

        tagging isolated cell free DNA with one or more universal tail
        adaptors to generate tagged products,

        wherein the isolated cell-free DNA is isolated from a blood
        sample collected from a subject who is not a pregnant women;

        amplifying the tagged products one or more times to generate
        final amplification products,

                                      25

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               wherein one of the amplification steps comprises targeted
               amplification of a plurality of single nucleotide polymorphism
               (SNP) loci in a single reaction volume,

               wherein one of the amplifying steps introduces a barcode and
               one or more sequencing tags; and

               sequencing the plurality of SNP loci on the cell free DNA by
               conducting massively parallel sequencing on the final
               amplification products,

               wherein the plurality of SNP loci comprises 25-2,000 loci
               associated with cancer.

        45.    Claim 12 of the ’035 Patent recites:

               The method of claim 1, wherein the one or more universal tail
               adaptors comprise a first universal tail adaptor and a second
               universal tail adaptor.

        46.    Claim 13 of the ’035 Patent recites:

               The method of claim 12, wherein tagging the cell free DNA
               comprises amplifying the cell free DNA with a first primer
               comprising the first universal tail adaptor and a second primer
               comprising the second universal tail adaptor.

        C.     Priority Dates

        47.    Dr. Van Ness agrees with Natera’s contention that the priority date for the

’454 Patent is April 21, 2015 and that the priority date for the ’035 Patent is May 18, 2011.44

In light of this, and in order to respond to Dr. Van Ness’s opinions, I apply the same priority

dates for the respective Natera Patents in my analysis in this Reply Declaration, though I




44
     See Van Ness Decl. at ¶¶ 38-39.


                                              26

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reserve the right to offer opinions regarding different priority dates for the Natera Patents

at another time.

         D.        Level of Ordinary Skill in the Art

         48.       Dr. Van Ness agrees with my prior definition of one of ordinary skill in the

art with respect to the Natera Patents.45 I apply that definition46 again in my analysis in

this Reply Declaration, and I reserve the right to offer another definition, for example, in

response to any definition that any NeoGenomics expert may offer at another time.

V.       CLAIM CONSTRUCTION

         49.       It is my opinion that one of ordinary skill in the art would have understood

each of the terms of the Asserted Claims of the Natera Patents to have their plain and

ordinary meaning. In particular, I construe the terms “tagging isolated cell free DNA”

(Claim 1 of the ’035 Patent) and “amplifying the tagged products one or more times”

(Claim 1 of the ’035 Patent) to each have a plain and ordinary meaning, which I explain in

more detail infra.

         A.        “tagging isolated cell-free DNA” (Claims 1, 13 of the ’035 Patent)

                   (i)   Intrinsic Evidence

         50.       It is my opinion that one of ordinary skill in the art would have understood

that as of the priority date of the ’035 Patent, the plain and ordinary meaning of “tagging




45
     Id. at §IV.
46
  See Metzker Op. Decl. at § IV. Throughout this Reply Declaration, I also refer to a
POSA as one of ordinary skill in the art.


                                                27

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isolated cell free DNA” encompasses adding one or more adaptor tags to isolated cell free

DNA through primer extension or ligation. Dr. Van Ness agreed with this interpretation

in his deposition.47

         51.    The ’035 Patent describes methods for preparing cell-free DNA samples.

These methods include adding tags to the cfDNA, which the patent refers to as “tails.” 48

Specifically, in a section titled “Mini-PCR,” the ’035 Patent describes that “[t]he following

Mini-PCR method is desirable for samples containing short nucleic acids, digested nucleic

acids, or fragmented nucleic acids, such as cfDNA.”49           The ’035 Patent describes

amplifying cfDNA, which can include “polymorphic” sites of interest, using multiplex

PCR with forward and reverse primers. For example, the ’035 Patent explains that “[i]n

an embodiment, the 3’ end of the inner forward and reverse primers are designed to

hybridize to a region of DNA upstream from the polymorphic site, and separated from the

polymorphic site by a small number of bases.”50 As part of this process, the ’035 Patent

explains that “tails with no homology to the target genome may also be added to the 3-

prime or 5-prime end of any of the primers.”51 According to the ’035 Patent , “[t]hese tails

facilitate subsequent manipulations, procedures, or measurements.”52


47
     See Van Ness Tr. at 228:17-232:25.
48
     See, e.g., ’035 Patent at 90:38-91:18.
49
     Id. at 88:53-55.
50
     Id. at 89:39-43.
51
     Id. at 90:38-40.
52
     Id. at 90:40-41.


                                              28

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        52.    The ’035 Patent describes the process of adding tails to DNA sequences

using PCR. In the exemplary description infra, for example, the PCR primers contain a

“tail” sequence that is not complementary to and therefore would not interact with the

target sequence of interest. The addition of tags can be used to manipulate the cfDNA, for

example by serving as a site for PCR amplification.

               In an embodiment, the method as it pertains to a single target
               locus may comprise one or more of the following steps: (1)
               Designing a standard pair of oligomers for PCR amplification
               of a specific locus. (2) Adding, during synthesis, a sequence of
               specified bases with no or minimal complementarity to the
               target locus or genome to the 5′ end of the one of the target
               specific oligomer. This sequence, termed the tail, is a known
               sequence, to be used for subsequent amplification, followed
               by a sequence of random nucleotides.53

        53.    As one of ordinary skill in the art would have understood from the ’035

Patent, the description of “tails” includes adaptor tags. In its Definitions, the ’035 Patent

describes the use of adaptor tags, which is consistent with the ’035 Patent’s description of

“tails.” As the ’035 Patent clarifies, adaptor tags can be added to a DNA sequence (for

example) either by using PCR or using ligation.

               Universal Adapters, or ‘ligation adaptors’ or ‘library tags’
               are DNA molecules containing a universal priming sequence
               that can be covalently linked to the 5-prime and 3-prime end
               of a population of target double stranded DNA molecules.
               The addition of the adapters provides universal priming
               sequences to the 5-prime and 3-prime end of the target
               population from which PCR amplification can take place,




53
     Id. at 118:14-23 (emphasis added).


                                             29

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               amplifying all molecules from the target population, using a
               single pair of amplification primers.54

               Universal Priming Sequence refers to a DNA sequence that
               may be appended to a population of target DNA molecules,
               for example by ligation, PCR, or ligation mediated PCR.
               Once added to the population of target molecules, primers
               specific to the universal priming sequences can be used to
               amplify the target population using a single pair of
               amplification primers. Universal priming sequences are
               typically not related to the target sequences.55

        54.    The ’035 Patent explicitly describes adding adaptor tags to a DNA sequence

of interest. These adaptors are added to the DNA as part of the process of preparing the

DNA sample for subsequent sequencing and analysis. As the ’035 Patent explains, these

adaptors (i.e., tails) can serve as a basis for (universal) amplification of the DNA sequence.

In the exemplary disclosure infra, the ’035 Patent describes adding the adaptors to the DNA

using “target specific” primers that include the adaptor sequences, followed by PCR which

attaches the adaptor sequence to the DNA through the amplification process.

               In an embodiment, the targeted sequencing may involve one,
               a plurality, or all of the following steps. a) Generate and
               amplify a library with adaptor sequences on both ends of
               DNA fragments. b) Divide into multiple reactions after library
               amplification. c) Generate and optionally amplify a library
               with adaptor sequences on both ends of DNA fragments. d)
               Perform 1000- to 10,000-plex amplification of selected
               targets using one target specific “Forward” primer per target
               and one tag specific primer. e) Perform a second
               amplification from this product using “Reverse” target
               specific primers and one (or more) primer specific to a
               universal tag that was introduced as part of the target specific

54
     Id. at 42:22-30 (emphases added).
55
     Id. at 42:14-21 (emphases added).


                                             30

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                forward primers in the first round. f) Perform a 1000-plex
                preamplification of selected target for a limited number of
                cycles. g) Divide the product into multiple aliquots and amplify
                subpools of targets in individual reactions (for example, 50 to
                500-plex, though this can be used all the way down to
                singleplex. h) Pool products of parallel subpools reactions. i)
                During these amplifications primers may carry sequencing
                compatible tags (partial or full length) such that the products
                can be sequenced.56

         55.    The ’120 Patent Pub. (Zimmermann),57 which the ’035 Patent incorporates

by reference, contains additional description of this process, including on cfDNA-

containing plasma samples.

                The workflow may entail (1) extracting DNA such as plasma
                DNA, (2) preparing fragment library with universal adaptors
                on both ends of fragments, (3) amplifying the library using
                universal primers specific to the adaptors,58 … (’120 Pub.
                [0213])59

         56.    Relatedly, the ’035 Patent explains the usefulness of adding adaptor tags to

cfDNA. For example, the ’035 Patent describes that “primers are designed to anneal a site

a greater distance from the polymorphism than is expected to be present among cell free

fetal DNA fragments,” and that these “primers are tagged with a molecule or moiety that

can allow selective recognition of the tagged pieces of DNA.”60


56
     Id. at 85:47-67 (emphases added).
57
   See Zimmermann et al., Highly multiplex PCR methods and compositions, U.S. Patent
Application Publication No. US 2013/0123120 (2013) (the “’120 Patent Pub.
(Zimmermann)”).
58
     See ’035 Patent at 86:61-64.
59
     Id. at 250:9-11.
60
     Id. at 91:28-35.


                                              31

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                                         Appx18772
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         57.    Adding adaptor tags to cfDNA would facilitate sequencing the DNA, as

“using forward and reverse tails corresponding to forward and reverse sequences required

by any of the current sequencing platforms can enable direct sequencing following

amplification.”61 The adaptor tags facilitate high-throughput sequencing in particular. As

the ’035 Patent explains, “a 10,000-plex PCR assay pool is created such that forward and

reverse primers have tails corresponding to the required forward and reverse sequences

required by a high throughput sequencing instrument such as the HISEQ, GAIIX, or

MYSEQ available from ILLUMINA.”62

         58.    Additionally, consistent with the Definitions of adaptor sequences supra, the

’035 Patent teaches that “the tails can be used as common priming sites among all amplified

targets that can be used to add other useful sequences,” such as a molecular barcode. To

achieve this end, “the primer may contain a universal priming sequence designed to allow

PCR amplification.”63

         59.    I have reviewed the prosecution history for the ’035 Patent. From my review,

the prosecution history is consistent with my opinion supra and I see nothing to indicate

that the term “tagging isolated cell free DNA” should be construed to have a different

meaning other than its plain and ordinary meaning that I describe supra. I see, for example,




61
     Id. at 90:48-51.
62
     Id. at 90:60-64.
63
     Id. at 90:51-59.


                                              32

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that this limitation was not amended and was present in the originally-filed claims (dated

July 21, 2020), excerpted infra.64

             1.        A method for amplifying and seqnen ing DNA, comprising:
                       tagging isola ted cell free DNA with one or more universa.1 tail adaptors to genera.le
          tagged prnduc , \ herein tile i olated cell-f:re D A ·s isolal.ecl from a blood sample collect d
          from a ubject;
                       amplifyh1g the tagged product one or more times 10 generate final ampli 1cation
          product~. wherein one of the amplifying step_· introduces a barcode and on or more s quenci11g
          tags; and
                        e ue,ncing a pluralit of loci on the cell free D A by conducting ma ively parallel
          s.eqnenci_ng on rbe fina] amplification produc[ , ·wherein rbe plurality of loci ompri e 25-2.000
             loci_


                     (ii)    Extrinsic Evidence

       60.           As further support for my opinions, one of ordinary skill in the art’s

understanding of adaptor tags and their addition to DNA sequences is shown in evidence

extrinsic to the ’035 Patent itself.

       61.           One of ordinary skill in the art would have readily recognized that for

sequencing on most platforms, including some of the most widely-used models (e.g.,

Illumina sequencers), sequencing adaptors are always required.65 Briefly, adding these

adaptors is necessary for sequencing DNA, which can include amplicons of cfDNA.

Sequencers contain complementary sequences that recognize and bind the adaptor



64
    See NAT-NEO-00001599-NAT-NEO-00003251 (Prosecution History of the ’035
Patent) at NAT-NEO-00001615.
65
   See Ex. 11, Meyer & Kircher, Illumina sequencing library preparation for highly
multiplexed target capture and sequencing, COLD SPRING HARBOR PROTOCOLS,
pdb.prot5448 pp. 1-10 (2010) (“Meyer (2010)”).


                                                            33

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sequences and hold them in place for the sequencing reactions to occur and be detected in

the machine. When adaptor-tagged pieces of DNA (including amplicons of cfDNA) are

introduced in the sequencer, the adaptors bind to complementary sequences in the

instrument’s flow cell. The pieces of DNA are held in place for sequencing and further

analysis.

        B.     “amplifying the tagged products one or more times” (Claim 1 of the ’035
               Patent)

               (i)    Intrinsic Evidence

        62.    It is my opinion that one of ordinary skill in the art would have understood

that as of the priority date of the ’035 Patent, the plain meaning of “amplifying the tagged

products one or more times” encompasses creating at least one copy of a tagged product,

which one of ordinary skill in the art would have readily recognized occurs in multi-cycle

PCR following the addition of a tag after the first cycle of PCR. Dr. Van Ness agreed with

this in his deposition.66

        63.    The ’035 Patent specification describes how DNA sequences of interest are

tagged after a PCR cycle, and then those tagged products are amplified in one or more

further PCR cycles. For context, consistent with one of ordinary skill in the art’s general

understanding of the PCR reaction, the ’035 Patent describes that “[i]n some embodiments,

most or all of the primers,” which are single-stranded DNA molecules that bind

complementary sequences on the DNA sequence of interest, “are extended to form



66
     See Van Ness Tr. at 220:1-16.


                                            34

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amplified products” via the PCR method.67 In consequence, the primers—including any

tag sequences within the primer—are “consumed” via incorporation into the DNA strand

being replicated during a PCR cycle.        The ’035 Patent describes this process as

“conversion” of the primer into the amplicon (which also contains the DNA sequence).

“Having all the primers consumed in the PCR reaction increases the uniformity of

amplification of the different target loci since the same or similar number of primer

molecules are converted to target amplicons for each target loci.”68

         64.    The ’035 Patent describes tagging DNA in a single PCR reaction in the

context of explaining how to enrich the fraction of cell free DNA from a fetus isolated from

a sample of plasma obtained from a pregnant woman. I note in this situation, the fetal

cfDNA is typically present at relatively low levels and challenging to detect. One of

ordinary skill in the art would have understood from the ’035 Patent’s written description

that its methods regarding fetal cfDNA are applicable to other plasma samples containing

cfDNA samples where the DNA sequences of interest are low-abundance (e.g., as a

“contaminant”). This could be in the case of a cancer subject’s plasma DNA that often

contains tumor-associated cfDNA at low levels.69


67
     See ’035 Patent at 83:8-9.
68
     Id. at 83:9-13.
69
   The ’035 Patent explain, for example, that “[t]he methods described herein may be used
for a number of purposes where there is a target set of DNA that is mixed with an amount
of contaminating DNA. In some embodiments, the target DNA and the contaminating
DNA may be from individuals who are genetically related. For example, genetic
abnormalities in a fetus (target) may be detected from maternal plasma which contains fetal


                                            35

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         65.    In the description of this enrichment process, the ’035 Patent describes

tagging DNA using tagged primers in a single cycle of PCR. Specifically, the ’035 Patent

explains that the primers used for this enrichment process “are designed to anneal [bind] a

site a greater distance from the polymorphism than is expected to be present among cell

free fetal DNA fragments.”70 The ’035 Patent explains that “[t]hese distal primers are

tagged with a molecule or moiety that can allow selective recognition of the tagged pieces

of DNA.”71 ’035 Patent describes that “[t]hese primers may be used in a one cycle

multiplex PCR reaction prior to multiplex PCR of the target polymorphic loci.”72

Accordingly, the ’035 Patent teaches that, in the very first PCR cycle, tags on primers are

appended to the DNA sequence being amplified. The tagged products are thereafter

amplified one or more times in subsequent PCR cycles.

         66.    Although the process described supra relates to tagging DNA for removal

from a sample, one of ordinary skill in the art would have understood that it applies equally




(target) DNA and also maternal (contaminating) DNA; the abnormalities include whole
chromosome abnormalities (e.g. aneuploidy) partial chromosome abnormalities (e.g.
deletions, duplications, inversions, and translocations), polynucleotide polymorphisms
(e.g. STRs), single nucleotide polymorphisms, and/or other genetic abnormalities or
differences. In some embodiments, the target and contaminating DNA may be from the
same individual, but where the target and contaminating DNA are different by one or more
mutations, for example in the case of cancer.” Id. at 92:16-32.
70
     Id. at 91:28-31.
71
     Id. at 91:33-35.
72
     Id. at 91:31-33 (emphasis added).


                                             36

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to tagging DNA that will be further manipulated. In either case, the addition of a tag to

DNA via PCR occurs at the very first cycle that PCR is performed.

       67.    I have reviewed the prosecution history for the ’035 Patent. Although I do

not see anything specifically in the prosecution that addresses the term “amplifying the

tagged products one or more times,” from my review, the prosecution history is consistent

with my opinion. I see nothing to indicate that this term should be construed to have a

different meaning other than its plain and ordinary meaning as described supra.

              (ii)   Extrinsic Evidence

       68.    One of ordinary skill in the art’s understanding of PCR and the addition of a

tag to a DNA sequence of interest after a single cycle is also shown in evidence extrinsic

to the ’035 Patent itself. For example, I previously explained the fundamentals of PCR in

a book chapter I authored, which was published in 2006 and discussed during my

deposition.73 The figure infra depicts how within a single cycle of PCR (blue outline), both

a forward and reverse primer can hybridize to different ends of a template DNA molecule

after it is denatured into two single strands. A DNA polymerase can then build two

complementary strands (red outline). I explain this figure in greater detail infra.




73
   See Ex. 6, Metzker & Caskey, Polymerase Chain Reaction, In ENCYCLOPEDIA OF
MEDICAL DEVICES AND INSTRUMENTATION, Second Edition, Volume 5, pp. 380-387
(2006) (“Metzker (2006)”) (cited as Ex. 7 in the September 26, 2023 Deposition of Michael
Metzker Transcript (Dkt. 116-6)).


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                                                                                                                       POLYMERASE CHAIN REACTION           381

                                          Primer extension

                                    ~
    Target area 500-3000 bp         DNA polymerase 1-,
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                                                                          !.illl             EJCte11d


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                                                PCA cycle                                                          -

    Separate strands                                                                                     illll
    by heat denaturation
                                                                                                           TTTTT
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                         liillllllll il l l lllllill



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                                                                                        '""""'""''nm,'




                                                        25-30 cycles

                                     107-10 9-fold amptlflcation                                                       Figure 1. The PCR amplification cycle.



        69.             During the first cycle of PCR (blue outline), a template strand of DNA is

denatured into two single strands by heat or chemical denaturant. At a different step in the

same cycle, a forward primer will hybridize to the 5’ end of one single stranded template

DNA and DNA polymerase will build a complementary strand, extending from 5’ to 3’

(directionality is with reference to the template DNA strand). Also in the same cycle, a

reverse primer will hybridize to the 3’ end of the other single stranded template DNA and




                                                                                          38

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DNA polymerase will build a complementary strand, extending from 5’ to 3’ (directionality

is with reference to the newly synthesized complementary DNA strand).

           70.   Therefore, a single cycle of PCR can introduce up to two tags (one on each

strand of the amplified DNA product). The subsequent cycles of PCR amplify the target

region of interest, thereby performing targeted amplification of already tagged DNA.

                 (iii)   Dr. Van Ness’ construction of “amplifying” contradicts the plain
                         language of the claims

           71.   The Declaration of Van Ness opines that the term “amplifying” in Claims 1

and 13 of the ’035 Patent should be construed as “increasing the number copies of a

molecule, such as a molecule of DNA.”74 I agree that this interpretation is consistent with

the plain and ordinary meaning of “amplifying.” I disagree with Dr. Van Ness’s use of

“copies,” however, being “not just the copies that result from the initial copying of the

original sample DNA strand, but also the copies of those copies and any subsequent

copies.”75 In his interpretation, Dr. Van Ness treats “amplifying … one or more times” as

recited in the claim to mean a completed multi-cycle PCR process, overlooking the well-

accepted understanding of one of ordinary skill in the art that PCR is a process comprised

of iterative amplification cycles. Dr. Van Ness re-defines “amplifying … one or more

times” to mean completing all steps of a multi-cycle PCR. According to Dr. Van Ness,




74
     See Van Ness Decl. at ¶ 65.
75
     Id.


                                              39

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                                         Appx18780
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“copies”—which is a term not recited at all in the claim—do not result until the end of all

amplification cycles of the entire PCR process. I disagree.

         72.    At the end of one amplification cycle in the PCR process, one of ordinary

skill would have understood that the output (amplified products) is used as the input for

the next amplification cycle, thus creating copies of these amplified products. Contrary to

the opinion offered in the Van Ness Declaration, Dr. Van Ness in fact agreed with this

basic understanding of how PCR works in his deposition.76 This process is iterative

throughout the PCR process such that copies are being generated at the end of each

amplification cycle. Dr. Van Ness also agreed with this understanding of PCR in his

deposition.77

         73.    Dr. Van Ness adopts an overly narrow opinion and ignores the plain language

of the claim itself, which as described supra, provides context for “amplifying” and does

not recite the word “copies” that is the entire basis for Dr. Van Ness’s opinion. Claim 1 of

the ’035 Patent recites “amplifying the tagged products one or more times.” One of

ordinary skill in the art would have understood that once cell-free DNA has been tagged

(as required earlier in the claim), the tagged cell-free DNA serves as a template for

amplification and is amplified one or more times. Dr. Van Ness’s deposition testimony

does not refute this understanding.78 Even using Dr. Van Ness’s “copies” terminology,



76
     Van Ness Tr. at 220:1-16.
77
     Id. at 219:13-15.
78
     Id. at 228:17-232:25.


                                             40

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amplifying the tagged cell-free DNA one time—in one amplification cycle of the PCR—

will generate a copy of the tagged cell-free DNA, satisfying the claim limitation. For this

reason, I disagree with Dr. Van Ness’s overall construction of “amplifying” because it

directly contradicts the plain language of the claim.

VI.      THE NATERA PATENTS ARE NOT OBVIOUS UNDER SECTION 103

         74.    I have reviewed Dr. Van Ness’s opinions regarding purported obviousness

of the Natera Patents under Section 103.79 I disagree with his opinions including for all the

reasons explained infra. In providing my opinions in reply, I focus my analysis on certain

aspects of Dr. Van Ness’s contentions that in my opinion are incorrect or deficient and fail

to support his conclusions. I reserve the right to offer additional opinions with respect to

the Van Ness Declaration at another time. To be clear, the absence of any opinion

expressed in this Reply Declaration should not be assumed to be an agreement with those

opinions asserted in the Van Ness Declaration or a representation that I will not offer

opinions in the larger case after this preliminary injunction proceeding.

         75.    No motivation to combine or modify the cited references with a

reasonable expectation of success in arriving at the claimed inventions.               As a

preliminary matter, I have been informed and understand that an obviousness analysis

requires an evaluation of whether one of ordinary skill in the art would have been motivated

to combine or modify the cited references with a reasonable expectation of success in




79
     See Van Ness Decl. at ¶¶ 109-220 for the ’454 Patent and ¶¶ 221-303 for the ’035 Patent.


                                              41

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achieving the claimed invention, based on the teachings of the art in the cited references

and the knowledge of a skilled artisan. This analysis of a motivation to combine or modify

with a reasonable likelihood of success does not appear anywhere in the opinions asserted

in the Van Ness Declaration—Dr. Van Ness does not address this legal requirement of

obviousness at all. In consequence, Dr. Van Ness’s opinions are inadequately supported,

at a minimum, because they fail to address all of the legal elements for establishing

obviousness. Because a motivation to combine/modify with a reasonable expectation of

success is nevertheless part of the obviousness analysis, I offer my opinions regarding why

one of ordinary skill would not have been motivated to combine or modify the cited

references and would not have reasonably expected success in achieving the Natera

Patents’ inventive methods.

       76.    No consideration of objective indicia of non-obviousness. I also have been

informed and understand that an obviousness analysis requires consideration of objective

indicia of the claims’ non-obviousness when those indicia are present. Indeed, I understand

that these objective indicia may be some of the most probative evidence of a patent’s

claims’ non-obviousness. These objective indicia can include, for example, commercial

success, unexpected results, failure of others, long felt but unmet need, and industry praise.

Dr. Van Ness fails to analyze any objective indicia regarding the Natera Patents’ claims.

       77.    Dr. Van Ness impermissibly relies on hindsight. I have been informed and

understand from counsel that the use of hindsight reconstruction of the claimed invention,

by picking and choosing among isolated disclosures in the prior art, is impermissible in an



                                             42

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obviousness analysis. I have been further informed and understand that showing a teaching

or motivation to combine prior art references is a defense to guard against the

impermissible use of hindsight. I am also informed and understand that the consideration

of objective indicia of non-obviousness is another way to avoid hindsight bias.

       78.    As explained further infra, Dr. Van Ness’s opinions reflect the use of

hindsight bias in reconstructing the Natera Patents’ claimed inventions rather than the

objective understanding of a skilled artisan guided only by the prior art and the then-

accepted wisdom in the field. Specifically, Dr. Van Ness selects from among disparate

disclosures in the prior art and the knowledge of one of ordinary skill in the art to support

his opinions that the Natera Patents’ claimed methods would have been obvious. However,

the Van Ness Declaration does not articulate how, as of the patents’ priority date(s), one of

ordinary skill in the art would have been motivated to combine the teachings or

understandings selected by Dr. Van Ness and reasonably expected to succeed in doing so

in light of known challenges in the art.       Moreover, as noted supra, the Van Ness

Declaration’s invalidity positions do not address objective indicia of non-obviousness.

       79.    I do not address the validity of the challenged dependent claims of the Natera

Patents infra because they are not obvious at least for the reasons that the independent

claims are not obvious. Dr. Van Ness has failed to establish that the independent claims

would have been obvious for the reasons explained infra, and his opinions concerning the

dependent claims are likewise flawed. I reserve the right to offer additional opinions

concerning the dependent claims’ validity at another time.



                                             43

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        A.     The ’454 Patent Is Not Obvious

        80.    As Dr. Van Ness admitted in deposition, he is not opining that the ’454 Patent

is invalid under Section 102 of the Patent Act, which I understand and am informed by

counsel precludes patentability if a prior art reference discloses each and every claim

limitation, arranged as in the claim, either expressly or inherently.

               Q.     And you’re – you don’t offer any opinions that the ’454
                      patent claims are invalid under Section 102 for
                      anticipation, correct? All your prior art opinions are for
                      obviousness under 103?

               A.     That is correct.    I’m offering invalidity based on
                      obviousness.80

               (i)    Forshew (2012) Does Not Render the ’454 Patent Claims Obvious

        81.    I disagree with Dr. Van Ness’s opinions that the Asserted Claims of the ’454

Patent are rendered obvious by Forshew (2012) in view of the skill and knowledge of a

skilled artisan.81 At least for the reasons explained infra, Dr. Van Ness has failed to

demonstrate that the ’454 Patent claims are obvious over Forshew (2012), a reference

already considered by the Patent Examiner during prosecution.

        82.    For the claims to be obvious, inter alia, it must have been obvious to one of

ordinary skill in the art to have performed (ultra-deep) sequencing to “a depth of read of at

least 50,000 per target locus,” as recited in Claim 1[c] of the ’454 Patent,82 in the course of



80
     See Van Ness Tr. at 94:24-95:4 (emphasis added).
81
     See Van Ness Decl. at § XA.
82
     See ’454 Patent at 171:39-43.


                                              44

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performing the other method steps. Dr. Van Ness’s opinions regarding the value and utility

of performing this sequencing are deficient at least because, as explained infra, one of

ordinary skill in the art would not have understood the claimed ultra-deep > 50,000

sequencing depth to be something that would remediate the admitted limited sensitivity

described in Forshew (2012)83 and elsewhere.84

       83.    One of ordinary skill in the art therefore would not have expected ultra deep

sequencing to a depth of read of at least 50,000 per target locus to enable the Forshew

(2012) method to analyze rare mutations in cfDNA. My analysis here focuses on Claim

1[c] of the ’454 Patent. However, I reserve the right to offer additional opinions regarding

the ’454 Patent in view of Forshew (2012) alone or in combination with other references.

                     (a)    Claim 1[c] of the ’454 Patent

                            sequencing the amplicons to obtain sequence reads, and
                            detecting one or more of the tumor-specific SNV mutations
                            present in the cell-free DNA from the sequence reads,
                            wherein the sequencing has a depth of read of at least
                            50,000 per target locus.

                                   A)     Forshew (2012) Does Not Teach A Read Depth
                                          Greater Than 7,700 for Analyzing cfDNA




83
   See Forshew (2012) at 10. “A current limitation of TAm-Seq is the detection limit
compared to assays that target individual loci (2, 3, 7, 40), which have been shown to detect
two to three orders of magnitude lower frequencies.” (emphasis added).
84
  See Volik (2016) at 903. “[The Tam-seq] approach afforded the opportunity to quantify
mutant DNA at many loci in each patient but had a relatively low sensitivity for mutations
below approximately 1%–2%.” (emphases added).


                                             45

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        84.    As a preliminary matter, I note that the Van Ness Declaration does not

contend that Forshew (2012) teaches each and every limitation of the ’454 Patent claims.

In particular, the Van Ness Declaration does not dispute that Forshew (2012) does not

explicitly teach achieving the ultra-deep sequencing to “a depth of read of at least 50,000

per target locus.”85 In deposition, Dr. Van Ness confirmed that “I comment that Forshew

had a depth of 15,400. So he did not directly meet that claim in his publication of 50,000.”86

        85.    I agree that Forshew (2012) does not teach the claimed read depth of “at least

50,000 per target locus.” I disagree, however, that Forshew (2012) teaches a read depth of

15,400 in amplifying cfDNA. In fact, Forshew (2012) teaches amplifying cfDNA to an

order of magnitude less—no more than a mean read depth of 7,700.87

        86.    The Van Ness Declaration asserts that Forshew (2012) teaches sequencing

cfDNA to a depth of 15,400 based on the statement that Forshew (2012) “amplified DNA

from each sample in duplicate.”88 Here, however, the Van Ness Declaration misinterprets

disparate disclosures in Forshew (2012). In fact, the “duplicate” amplification suggested

by Dr. Van Ness does not involve cfDNA. Rather, that passage from Forshew (2012)



85
     See Van Ness Decl. at ¶¶ 141-143.
86
   See Van Ness Tr. at 97:11-99:21, specifically citing 98:5-9 (emphasis added). However,
Dr. Van Ness would not agree with the proposition that Forshew (2012) “doesn’t itself
disclose all the claim elements” of the ’454 Patent. Van Ness Tr. 95:17-23. To the extent
Dr. Van Ness contends that Forshew (2012) discloses all the claim elements of the ’454
Patent, I disagree as explained herein.
87
     See Forshew (2012) at Table 1, column titled “Mean depth (sequencing reads).”
88
     See Van Ness Decl. at ¶¶ 141-143; see also Forshew (2012) at 3.


                                             46

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involves genomic DNA (“gDNA”) isolated from formalin-fixed, paraffin-embedded

(FFPE) tumor specimens, which one of ordinary skill in the art would have understood is

not cfDNA. Unlike cfDNA, which is present in plasma, gDNA is isolated from intact solid

tissues and has not undergone fragmentation and degradation.

           87.   Specifically, Forshew (2012) teaches the use of “TAm-Seq to sequence DNA

extracted from 47 formalin-fixed, paraffin-embedded (FFPE) tumor specimens of ovarian

cancers.”89 Forshew (2012) further explains that “[w]e amplified DNA from each [ovarian

tumor] sample in duplicate, tagging each replicate with a different barcode.”90 This

passage of Forshew (2012) does not teach duplicate amplification or sequencing those

duplicated amplified samples using cfDNA isolated from plasma.

           88.   In fact, as reflected in Table 1 (reproduced infra), Forshew (2012) only

teaches sequencing cfDNA from plasma samples to a maximum read depth of 7,700, as

highlighted in the red box infra, with most of the applied read depths falling far lower (e.g.,

4,200).91




89
  See Forshew (2012) at 3, citing to Table S3, not Table 1 as suggested in the Van Ness
Decl.
90
     Id.
91
     Id. at Table 1 (red box added).


                                              47

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                     Time elapsed
                      since su rgery                                           Mutation                                                       Mean
                                                  Plasma p er                                                                Mean
                        (monthi);                                              l!n!! !><!it               !>el!l(\41!!                M!l~n AF Af
 Patient Age at                        CA12S     amplillcalion                                 Protein                      d e pth
 10     diagn osis      numbe r o f                              Gene            cha nge       change        i.n                       us ing u sing
                         pre v ious
                                       IU/lnll     reaction
                                                                               (geno me                     FFPE         (Sequen cing TAM-Seq digital
                                                     (µI )                                                                  1reads )           PCR
                         lines o f                                            build hg19 )
                     chemoth e rapy

 8          60            13; I         2122           50        7J>S3   17:75nl20       C>T p.R273H           y            5000       0 .0 9   0.10
 12         62            27; 3          365           50        7J>S3   17:75n5l'J      G>T   p.Y234•         y            5000       0 .10    o.oe
 14         58            S0; 3          260          120        7J>S3   17:7S78212      G>A p.R213"           y            S800       0 .1S    0.12
 25         61             9; I         944           110        TPS3    17:7578404      A>T    .C176S         y            4800       0 .0 4   o.oe
 27'        68            1S; I         1051           90        TPS3    17:7578262      C>G   p.R19oP         y            7700       0 .0 6   0.14
                                                                 EGFR 7:55259437         G>A p .R832H          N            5700       0 .0 6   0.05
 31         64            12; I          313           30        TPS3 17:7578406         C>T   p.R175H         y            4500       0 .4 4   056
 46         56            30; 2         1509           30        TPS3    17:7578406      (>T   p .R175H        y            4200       023      0.30



Specifically, Table l 's legend in Forshew (201 2) discloses "[m]utations identified by

TAm-Seq in plasma samples from seven ovai·ian cancer patients," for which the highest

mean depth of read is 7,700 (Patient ID 27). Forshew (201 2) does not provide any

teachings or suggestion to increase the sequencing read depth for cfDNA samples to the

claimed levels of 50,000 and, as explained infra, a skilled artisan would not have been

motivated to duplicate or othe1w ise increase the read depth to detect rare genetic variants

in plasma ctDNA as there would have been no reasonable expectation of success given the

known technical limitations of Forshew (201 2)'s approach. If anything, Forshew (201 2)

would encourage a skilled aiiisan to decrease read depth because the majority of read

depths Forshew (201 2) applied were fai· below 7,700, going down to the low 4,000's.

                                                       B)         It Would Not Have Been Obvious to Combine
                                                                  the Claimed Read Depth with Forshew's
                                                                  (2012)'s Method

         89.         The Van Ness Declaration asserts that "one would have understood Forshew

(201 2) to teach sequencing depths in excess of 15,400, including 50,000 and beyond."92


92
      See Van Ness Deel. at ,r 142.


                                                                         48

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Relatedly, the Van Ness Declaration asserts that a “POSA would have understood that

increasing sequencing depth increases sensitivity in detecting SNPs and it would be routine

to increase sequence read depth to obtain greater sensitivity as required.”93 I disagree with

each of these contentions.

         90.    One of ordinary skill in the art would not have been motivated to combine

the claimed depth of read with the other claimed method steps and have reasonably

expected success sequencing to “a depth of read of at least 50,000 per target locus” (nearly

10x higher than Forshew (2012)’s mean read depth) to detect rare genetic variants such as

SNVs, in light of the technical limitations of Forshew (2012)’s method. Specifically,

sequencing to the claimed read depth—sometimes called “ultra-deep sequencing”—would

not have remedied the limited sensitivity of Forshew (2012)’s approach to detect rare

genetic variants, as explained further infra.

         91.    As an initial matter, Forshew (2012) admits the limited sensitivity of its

method to detect rare genetic variants.

                A current limitation of TAm-Seq is the detection limit
                compared to assays that target individual loci (2, 3, 7, 40),
                which have been shown to detect two to three orders of
                magnitude lower frequencies. Our approach may be sufficient
                for analyzing plasma from patients with certain advanced
                cancers, but further improvement may be necessary before this
                method can be more widely used in the clinic.94




93
     Id. at ¶ 144.
94
     See Forshew (2012) at 10 (emphasis added).


                                                49

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In the context of plasma samples from cancer patients, at best, Forshew (2012) posits

merely that its methods “may be sufficient” for use with patient samples containing

abundant circulating tumor cfDNA (e.g., patients with advanced cancers). But one of

ordinary skill in the art would have understood from Forshew (2012) that its method would

not be sensitive enough to detect genetic variants in low-abundance ctDNA in many other

kinds of cancers (e.g., in plasma from patients with early-stage cancers, or “minimal

residual disease” in the case of patients whose cancers have been surgically excised or

treated). Thus, the limitations of Forshew (2012)’s approach would have impaired the

ability of a skilled artisan to identify rare tumor-associated SNPs in cfDNA isolated from

a plasma sample, as Forshew (2012) itself recognizes.

       92.    In order for the ’454 Patent claims to be obvious, inter alia, it must have been

obvious to one of ordinary skill in the art that the claimed ultra-deep sequencing—i.e., the

specific -> 50,000 level recited—would have improved Forshew (2012)’s approach and

permit detection of rare mutations. But the Forshew (2012) approach alone would not be

effective on either score, as one of ordinary skill in the art would have recognized, and

therefore the skilled artisan would not have reasonably expected success with the Forshew

(2012) strategy.

       93.    Specifically, the limitations of Forshew (2012)’s approach arise because the

errors associated with Forshew (2012)’s sample library preparation and sequencing

workflow exceed the technique’s ability to detect rare genetic DNA variants, as explained




                                             50

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in greater detail infra. Under the Forshew (2012) approach, the rare variants are lost in the

“noise” associated with the abundant errors found in the sequence read data.

                                          1)        Ultra-Deep Sequencing Does Not Enable
                                                    Detection of Rare Genetic Variants that
                                                    Fall Below the Sequencing Workflow
                                                    Error Rate

       94.     Here, I provide background and context for my opinions regarding Forshew

(2012). Prior to 2015, there were many challenges in using next-generation sequencing

(“NGS”), sometimes also referred to as “massively parallel sequencing,” to process

samples and facilitate the analysis of tumor-associated genetic variations including single

nucleotide variants (“SNVs”), copy number variations (“CNVs”), and chromosomal

rearrangements.    Even relatively high-fidelity sequencing platforms were known to

introduce sequencing errors at a rate of > 0.1%.95

       95.     Additional erroneous nucleotide changes could also be introduced during the

PCR amplification steps of sequencing library preparations. For example, Schmitt (2012)

explains that base-specific mutagenic DNA damage followed by polymerase

misincorporation against such damaged base contributes the error rate of the sequencing

process.

               Base-specific mutagenic DNA damage is a likely explanation
               of these imbalances. Excess G→T mutations are consistent
               with the oxidative product 8-oxo-guanine (8-oxo-G) causing
               first round PCR errors and artifactual G→T mutations. DNA
               polymerases, including those commonly used in PCR, have a
               strong tendency to insert adenine opposite 8-oxo-G (35, 36),
95
   See Ex. 3, Glenn, Field guide to next-generation DNA sequencers, MOLECULAR
ECOLOGY RESOURCES 11:759–769 (2011) (“Glenn (2011)”) at Table 3.


                                               51

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             and misinsertion of A opposite 8-oxo-G would result in
             erroneous scoring of a G→T mutation. Likewise, the excess
             C→T mutations are consistent with spontaneous deamination
             of cytosine to uracil (37), a particularly common DNA damage
             event that results in insertion during PCR of adenine opposite
             uracil and erroneous scoring of a C→T mutation.96

Such accumulation of potential false positive errors by both PCR and sequencing was

known to limit the reliable analysis of true variants that occur with <1% frequency.

       96.   These technical limitations were recognized in the art. For example, Kinde

(2011) explains that massively parallel sequencing (sometimes also referred to as “next

generation sequencing” or “NGS”) could not have been used generally to analyze rare

variants because of high error rates associated with the sequencing workflow:

             [M]assively parallel sequencing cannot generally be used to
             detect rare variants because of the high error rate associated
             with the sequencing process. For example, with the
             commonly used Illumina sequencing instruments, this error
             rate varies from ∼1% (31, 32) to ∼0.05% (33, 34), depending
             on factors such as the read length (35), use of improved base-
             calling algorithms (36–38), and the type of variants detected
             (39). Some of these errors presumably result from mutations
             introduced during template preparation, during the
             preamplification steps required for library preparation, and
             during further solid-phase amplification on the instrument
             itself. Other errors are due to base misincorporation during
             sequencing and base calling errors. Advances in base calling
             can enhance confidence (e.g., refs. 36–39), but instrument-




96
    See Ex. 4, Schmitt et al., Detection of ultra-rare mutations by next-generation
sequencing, PROCEEDINGS OF THE NATIONAL ACADEMY OF SCIENCES OF THE UNITED
STATES 109: 14508-14513 (2012) (“Schmitt (2012)”) at 14510 (emphases added).


                                            52

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              based errors are still limiting, particularly in clinical samples
              wherein the mutation prevalence can be ≤0.01% (11).97

       97.    Additionally, prior to the Natera Patents, skilled artisans understood that

although increasing read depth98 could potentially increase sensitivity, it would not

increase the sensitivity beyond the limit of detection based on the error rate. For that

reason, “ultra-deep” sequencing of 30,000 reads or more per locus was uncommon and

unnecessary for most sequencing efforts.         Ultra-deep sequencing was also generally

undesirable as it was recognized as expensive and not cost-effective for routine use.

       98.    Accordingly, one of ordinary skill in the art would have recognized that the

sensitivity of preparing samples of and analyzing variants associated with a patient’s

cancer, particularly when using cfDNA as source material, would have been hampered by

errors introduced during the sample preparation process as well as by the fragmented and

variable nature of the cfDNA itself.         Such errors could be introduced at both the

amplification and sequencing steps of preparing cfDNA preparations.

       99.    Even after 2014-2015, the field continued to recognize that methods of

sample processing and analyzing cancer-associated variant loci were hampered by the lack



97
   See Ex. 5, Kinde et al., Detection and quantification of rare mutations with massively
parallel sequencing, PROCEEDINGS OF THE NATIONAL ACADEMY OF SCIENCES OF THE
UNITED STATES 108:9530-9535 (2011) (“Kinde”) at 9530 (emphasis added).
98
     The ’454 Patent explains, for example, that “the depth of read is the number of
sequencing reads that map to a given locus” and, “for the depth of read of a locus, the depth
of read is the number of reads measured by the sequencer mapping to that locus. In general,
the greater the depth of read of a locus, the closer the ratio of alleles at the locus tend to be
to the ratio of alleles in the original sample of DNA.” ’454 Patent at 99:66-100:9.


                                               53

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of sensitivity of the available techniques to analyze variants in cfDNA. By way of example,

Volik (2016) provides:

                Broadly, current approaches for detection of tumor aberrations
                in cfDNA can be divided into two categories: methods
                targeting specific changes and methods allowing detection of
                all possible aberrations in DNA (including targeted and whole
                exome/genome sequencing). The latter next-generation
                sequencing (NGS)-based options offer numerous potential
                benefits for observing clonal differences in tumor cell
                populations, an advantage that until very recently was offset by
                more limited sensitivity and specificity.99

                While these early observations highlighted many possibilities
                for using ctDNA as a noninvasive approach to analyze tumor
                genomes, sufficiently sensitive and specific laboratory
                techniques to fully leverage this potential were not yet
                developed.100

                As we have demonstrated earlier, the mutant VAF in patients'
                cfDNA can go as low as 0.01%. Clearly, any strategy to
                suppress sources of errors thereby increasing accuracy in
                detecting mutant DNA molecules is important for cfDNA
                analysis. This problem is equivalent to an extreme case of
                identifying low-abundance mutations in tissue samples,
                which has also proven difficult for NGS methods.101

                While targeted assays can be fruitful in the clinical setting,
                sequence-based approaches offer clear advantages in terms of
                flexibility of coverage and the ability to detect a wide range of
                aberrations in tumor genomes. This flexibility will be
                especially important for managing metastasis and resistance to
                therapy; widely recognized to be among the most important
                problems in cancer management. Resistance to therapy can be
                driven by a wide range of genomic aberrations such as point
                mutations and copy number aberrations. Moreover, resistant
99
      See Volik (2016) at 901 (emphasis added).
100
      Id. at 898 (emphasis added).
101
      Id. at 905 (emphasis added).


                                               54

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                    subclones can constitute a very small proportion of the tumors
                    total clonal population until the selective pressure of therapy
                    leads to their rapid expansion. Clearly, the early detection of
                    resistant clones requires sensitivity to detect such events.
                    However, this requires minimizing noise in the ctDNA
                    analyses and pushing the sensitivity of detection to the
                    theoretical limits imposed by the plasma levels of ctDNA.102

         100.       Regarding Forshew (2012), Volik (2016) explains that Forshew (2012) had

“relatively low sensitivity” for mutations below approximately 1%-2%. Volik (2016)

summarizes Forshew (2012)’s approach as follows:

                    An early example of a PCR-based strategy for analysis of
                    mutations found in individual patients involved the design of a
                    set of tailed site-specific primers followed by multiplex PCR
                    (for preamplification) and subsequent uniplex PCR using each
                    individual primer pair. The second PCR, in which locus-
                    specific primers are applied individually, is accomplished
                    using a Fluidigm AccessArray system and the entire procedure
                    was named TAm-Seq (Tagged Amplicon Sequencing; ref.
                    75).103

                    This approach afforded the opportunity to quantify mutant
                    DNA at many loci in each patient but had a relatively low
                    sensitivity for mutations below approximately 1%–2%.104

         101.       The lack of sensitivity of Forshew (2012)’s approach was significant

because, among other things, the highly fragmented nature of cfDNA, and the low

abundance of ctDNA in blood plasma, presented significant challenges in the biochemical

preparation and analysis of cancer-associated genetic variants.



102
      Id. at 906 (emphasis added).
103
      Id. at 903.
104
      Id. (emphasis added).


                                                  55

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         102.   I also note that, in my experience, ultra-deep sequencing was not a common

approach in 2014-2015.105 Achieving this depth of read by sequencing tens or hundreds or

thousands of times in the same region is typically unnecessary to achieve research goals.

At the time, most researchers were not trying to find the “needle in the haystack” that this

ultra-deep sequencing can accomplish. This approach would have been comparatively

(and undesirably) expensive to the extent even available, which would have discouraged

one of ordinary skill in the art from its use.

                                            2)        Ultra-Deep Sequencing Would Not Have
                                                      Been An Obvious Modification of
                                                      Forshew (2012) In Light of the Error Rate
                                                      of Forshew (2012)’s Method

         103.   As noted supra, I disagree with Dr. Van Ness’s opinions that the ’454 Patent

claims are obvious over Forshew (2012).106 The consequence of the sequencing workflow

errors described supra is that, following Forshew (2012)’s approach, rare genetic

variants—e.g., SNVs on tumor cfDNA present in the plasma at low levels—are not likely

to be detectable below the “noise” of the error rate even if amplified 50,000 times or more

at each locus. Dr. Van Ness does not address this problem, nor explain why a one of skill

in the art would have been motivated to sequence to the claimed depth of read to remediate

Forshew (2012)’s limited sensitivity, or have reasonably expected success in doing so.




105
      See, e.g., Volik (2016), discussed supra in Section II.
106
      See Van Ness Decl. at ¶¶ 142, 144.


                                                 56

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                                         Appx18797
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         104.   Specifically, as a skilled artisan would have recognized, genetic variants in

tumor-associated cfDNA are likely to be low-abundance or variable in patient plasma and

consequently rare and difficult to target.107 Forshew (2012) itself explicitly describes very

similar challenges in working with cfDNA. For example, Forshew (2012) acknowledges

that cfDNA is highly fragmented.

                Circulating DNA is fragmented to an average length of 140
                to 170 base pairs (bp) and is present in only a few thousand
                amplifiable copies per milliliter of blood, of which only a
                fraction may be diagnostically relevant (2, 3, 23–25). Recent
                advances in noninvasive prenatal diagnostics highlight the
                clinical potential of circulating DNA (25–28), but also the
                challenges involved in analysis of circulating tumor DNA
                (ctDNA), where mutated loci and AFs may be more variable.
                Various methods have been optimized to detect extremely rare
                alleles (1, 2, 6, 7, 29–31), and can assay for predefined or
                hotspot mutations. These methods, however, interrogate
                individual or few loci and have limited ability to identify
                mutations in genes that lack mutation hotspots, such as the
                TP53 and PTEN tumor suppressor genes (32). In patients with
                more advanced cancers, ctDNA can comprise as much as 1%
                to 10% or more of circulating DNA (2), presenting an
                opportunity for more extensive genomic analysis. Targeted
                resequencing has been recently used to identify mutations in
                selected genes at AFs as low as 5% (33–35). However,
                identifying mutations across sizeable genomic regions
                spanning entire genes at an AF as low as 2%, or in few
                nanograms of fragmented template from circulating DNA,
                has been more challenging.108

         105.   It would have been necessary to detect and correct these sequencing

workflow errors in order to sequence deeply enough to practice the claimed depth of read


107
      See Section II.
108
      See Forshew (2012) at 1 (emphases added).


                                              57

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                                        Appx18798
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in a plasma sample of cancer patient DNA. This is because SNVs associated with a

particular cancer are present at relatively low levels in ctDNA, and, consequently, these

sequencing workflow errors need to be detected and corrected to identify rare genetic

variants at the targeted loci. Without such modifications, one of ordinary skill in the art

would have understood that repeatedly sequencing a locus up to 50,000 times or more—

which in any event was not taught or suggested by Forshew (2012)—would not have

improved detection of rare genetic variants. Indeed, such repeated (and costly) sequencing

would merely propagate the “noise” of the sequencing workflow errors without identifying

the targeted rare genetic variant.

        106.   On this critical point, the Van Ness Declaration’s analysis is profoundly

deficient. Dr. Van Ness fails to explain why one of ordinary skill in the art would have

reasonably expected success in improving the sensitivity of Forshew (2012)’s method to

detect rare variants specifically simply by increasing the sequencing depth of read to

50,000 or more per locus. In fact, doing so would not have remediated the deficiencies of

Forshew (2012) because, as explained supra, performing deep sequencing to a read depth

of 50,000 or more will simply increase the sequencing workflow noise. An substantial

increase in the sequencing workflow noise would further obfuscate the detection of rare

mutations, making it much harder to identify such mutations. In opining that it would have

been obvious to increase the depth of sequencing read, Dr. Van Ness fails to account for

any of these challenges that one of ordinary skill in the art would have confronted in 2014-

2015.



                                            58

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            107.   Accordingly, contrary to the Van Ness Declaration’s contention109, the

parameter of sequencing read depth would not merely be “routinely adjusted to achieve

whatever sensitivity was required.” In fact, it would have been nonsensical to undertake

the time, effort, and expense of sequencing many thousands of times if doing so would not

have been predicted to identify rare variants above the background “noise” (error rate) of

the sequencing approach. A skilled artisan would not have been motivated to pursue this

strategy, and would not have reasonably expected success doing so.

            108.   Other rationale provided in the Van Ness Declaration fails to support a

conclusion that the ’454 Patent claims would have been obvious over Forshew (2012). The

Van Ness Declaration’s reliance on the ’189 Patent Pub. (Bentley) reference110 does not

cure the deficiencies in Dr. Van Ness’s rationale identified supra.        The Van Ness

Declaration relies on the ’189 Patent Pub. (Bentley) for the general proposition that

increasing sequencing depth increases sensitivity,111 but fails to explain how the ’189

Patent Pub. (Bentley) addresses the technical considerations I identified supra. To support

the Van Ness Declaration’s proposition “that increasing sequencing depth increases

sensitivity, Dr. Van Ness relies on Table 2 in the ’189 Patent Pub. (Bentley).112 The Van



109
      See Van Ness Decl. at ¶ 143.
110
   See Dkt. 118-9, U.S. Patent Application Publication No. US 2010/0261189 ) to Bentley
et al. (“System and method for detection of HLA variants”) (the “’189 Patent Pub.
(Bentley)”).
111
      See Van Ness Decl. at ¶ 144.
112
      Id.


                                              59

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                                         Appx18800
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Ness Declaration fails to appreciate that the ’189 Patent Pub. (Bentley) is describing this

relationship using error-free reads.

                For example, based on binomial statistics the lower limit of
                detection (i.e., one event) for a fully loaded 60 mmx60 mm
                PicoTiterPlate (2x106 high quality bases, comprised of
                200,000x100 base reads) with 95% confidence, is for a
                population with allelic frequency of at least 0.002%, and with
                99% confidence for a population with allelic frequency of at
                least 0.003% (it will also be appreciated that a 70x75 mm
                PicoTiterPlate could be employed as described above, which
                allows for an even greater number of reads and thus increased
                sensitivity).113

         109.   One of ordinary skill in the art would have understood that the “high quality

bases” described in ’189 Patent Pub. (Bentley) are error-free reads. As such, I do not see

such a solution to the sequencing workflow errors described supra from my review of the

’189 Patent Pub. (Bentley). Dr. Van Ness’s citation of prior testimony by Natera witnesses,

including myself, also fails to account for the importance of sequencing workflow errors

in the detection of rare variants for the same reason.114

         110.   Moreover, consistent with the Van Ness Declaration, Dr. Van Ness’s

deposition testimony (excerpted infra) fails to address how one of ordinary skill in the art

would have overcame the challenges Forshew (2012) presents. Dr. Van Ness opined that

the NGS platforms are “very accurate,” which is an oversimplification of the technology,

particularly because—as explained infra—the Examiner distinguished Forshew (2012)



113
      See ’189 Patent Pub. (Bentley) at [0085] (emphasis added).
114
      See Van Ness Decl. at ¶¶ 145-150.


                                              60

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                                        Appx18801
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from the ’454 Patent claims on the basis of sensitivity. And in deposition, Dr. Van Ness

did not explain how the conventional NGS technology of Forshew (2012) could be used to

identify rare variants that occur below these platforms’ known error rate. Dr. Van Ness’s

testimony merely confirms that more information is obtained with each read—but, given

the error rate, it would have been challenging if not impossible to determine or distinguish

between information arising from accurately sequencing a rare genetic variant and

information arising from an error in the preparation or sequencing process.

               Q.    Is... Are you aware of any problems that occur --
                     technical problems that occur by increasing depth of
                     read?
               A.    You know, anytime you do an experiment and you
                     extend the experiment, you have to weigh the pluses and
                     minuses. So I think, are there opportunities for errors
                     that increase with sequencing depth? Maybe. But you
                     get more information. So there’s much more benefit
                     and enhanced sensitivity particularly because the
                     platforms are very accurate . And so I think with the
                     Illumina platforms -- I mean, the whole reason for
                     doing 50,000 is because you could have an error of 5 or
                     6 base calls, but because you did 50,000, you’re --
                     you’re looking at a very large sampling so that you are
                     more and more assured that the sequences that you’re
                     getting are correct.115

        111.   In sum, Forshew (2012) identifies a significant problem—the desirability of

identifying of rare genetic variants in tumor-associated cfDNA—without providing any

solution. It would not have been obvious to remediate this deficiency by combining the



115
   See Van Ness Tr. at 102:2-103:14, specifically citing 102:2-21 (objection omitted,
emphasis added).


                                            61

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                                       Appx18802
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claimed depth of read with Forshew (2012)’s method for reasons explained supra. Dr. Van

Ness’s analysis does not support a different conclusion because the Van Ness Declaration

does not articulate how one of ordinary skill in the art would have reasonably expected to

use sequencing to “a depth of read of at least 50,000 per target locus” effectively to identify

rare mutations in light of the known limitations of the available equipment and approaches.

Moreover, as discussed further infra, Forshew (2012) does not identify a specific technique

that will work for this purpose.

            112.   The lack of an obvious solution is further reflected in the Editor’s Summary

accompanying Forshew (2012)’s publication. The Summary notes (emphasis added) that

“TAm-Seq will need to achieve a more sensitive detection limit (<2% allele frequency) to

identify mutations in the plasma of patients with less advanced cancers”116—e.g., patients

with less tumor-associated cfDNA present in plasma and, consequently, more rare tumor-

associated genetic variations. The Editor’s Summary continues that “once optimized, this

‘liquid biopsy’ approach will be amenable to personalized genomics.”117 Accordingly, the

Editor’s Summary is further evidence of how one of ordinary skill in the art would not have

reasonably expected success in achieving the claimed methods following the teachings of

Forshew (2012) based on the approach identified in the Van Ness Declaration.




  See NAT-NEO-00043262-00043275 (Editor’s Summary to Forshew (2012)) at NAT-
116

NEO-00043262 (emphasis added).
117
      Id.


                                                62

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                                           3)        Forshew (2012) Does Not Teach that
                                                     Ultra-Deep Sequencing Would Have
                                                     Improved the Sensitivity of Its Approach

         113.   The Van Ness Declaration suggests Forshew (2012) itself teaches sequencing

more deeply to achieve the methods claimed in the ’454 Patent.118 I disagree that Forshew

(2012) proposed possibilities that could be tried to improve the sensitivity of detection of

TAm-Seq.

         114.   First, Forshew (2012) specifically would not have motivated one of ordinary

skill in the art to achieve the claimed read depth because Forshew (2012) was not trying to

find a rare genetic variant at a sensitivity of 0.1%, and Forshew (2012) does not teach that

this particular goal would have been desirable to achieve.

         115.   Second, Forshew (2012) would not have motivated one of ordinary skill in

the art to achieve the claimed read depth because it does not teach that this solution would

remediate the admitted limitations of Forshew (2012)’s approach. At page 10 (reproduced

infra), Forshew (2012) merely references “higher read depth” in the context of four other

suggestions—higher fidelity, additional replicates, improve algorithms, and rare allele

enrichment. None of these suggest increasing the read depth to the claimed levels.

                Higher read depth or fidelity, additional replicates, or
                improved algorithms could allow for enhanced mutation
                detection without change to protocols. An alternative strategy
                is through rare allele enrichment, for example, by combining




118
      See Van Ness Decl. at ¶ 142.


                                                63

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               TAm-Seq with protocols such as COLD-PCR (co-
               amplification at lower denaturation temperature PCR).119

        116.   Notably, Forshew (2012) does not state that any of these strategies, including

higher read depth, would necessarily solve its issues with detecting rare mutations, only

that they “could”—hypothetically—“allow for enhanced mutation detection.” Forshew

(2012) thus speculates about what other approaches “could allow” rather than teach (much

less test) how to address its shortcomings.

        117.   Consistent with my opinions, Dr. Van Ness acknowledged that there were

“challenges” in Forshew (2012)’s strategy.

               Q.     In discussing targeted resequencing, Dr. Forshew says
                      that, quote, “However, identifying mutations across
                      sizable genomic regions spanning entire genes at an AF
                      as low as 2%, or in few nanograms of fragmented
                      template from circulating DNA, has been more
                      challenging.” So that – so according to Dr. Forshew,
                      the targeted resequencing has not solved that particular
                      challenge, right?

               A.     Again, it’s more challenging. Didn’t say it wasn’t
                      doable. He just said it’s more challenging.

               Q.     Okay. And do you agree with him? Or disagree with
                      him?

               A.     No, I agree that at the time he was sort of justifying his
                      publication, that he recognized that there were
                      challenges, not impossibilities, but there were
                      challenges that could bear improvement.120

119
    See Forshew (2012) at 10 (emphases added). The underlined portions represent the
other possibilities suggested by Forshew (2012) that the Van Ness Decl. failed to disclose.
120
   See Van Ness Tr. at 120:20-121:16 (objection and stricken question omitted, emphases
added).


                                              64

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       118.      I am informed and understand from counsel that an invention is not obvious

merely because there are a finite number of options available for one of ordinary skill in

the art to pursue—rather, the skilled artisan must also have had a reasonable expectation

of success that a particular solution will work. Here, one of ordinary skill in the art would

not have reasonably expected success with any particular idea proposed by Forshew (2012)

supra, including increasing sequencing read depth. In fact, Forshew (2012)’s speculative

suggestion of different possible approaches, all stated generically without any

implementation details, and with no further reason given to select one or another, indicates

that Forshew (2012) did not know which approach, if any, would have been effective to

improve the sensitivity of the disclosed TAm-Seq approach.

                                    C)     Forshew (2012)       Was     Overcome     During
                                           Prosecution

       119.   I understand that Forshew (2012) was before the Examiner during

prosecution of the ’454 Patent. I have been informed and understand from counsel that,

when prior art is before the Examiner, the Examiner is presumed to have properly

considered the prior art. I have reviewed the ’454 Patent application’s prosecution history

and I see no basis to believe that the Examiner misunderstood the teachings of Forshew

(2012) or other teachings or knowledge in the art, or otherwise erred in allowing the ’454

Patent claims.




                                             65

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         120.    As the Van Ness Declaration acknowledges, the Examiner of the ’454 Patent

application actively considered Forshew (2012) during prosecution of the ’454 Patent

application and determined that the pending claims were allowable over Forshew (2012).121

         121.    The Van Ness Declaration nevertheless substitutes Dr. Van Ness’s judgment

for that of the Examiner and asserts that the Examiner accepted “erroneous arguments” by

Natera in allowing the ’454 Patent claims over Forshew (2012).122 I disagree. As excerpted

from Forshew (2012) infra, Forshew (2012) teaches, among other things, the use of

targeted single-plex amplification, as Natera rightly pointed out, and Natera accurately

quotes Forshew (2012) regarding potential problems associated with multiplexing.123

There is no evidence that the Examiner did not independently consider the entirety of

Forshew (2012)’s disclosure in finding the ’454 Patent claims patentable over its teachings.

                 Performing single-plex amplification with each of these primer
                 pairs would require dispersing the initial sample into many
                 separate reactions, considerably increasing the probability of
                 sampling errors and allelic loss. Multiplex amplification
                 using a large set of primers could result in nonspecific
                 amplification products and biased coverage. We therefore
                 applied a two-step amplification process: a limited-cycle
                 preamplification step where all primer sets were used together
                 to capture the starting molecules present in the template,
                 followed by individual amplification to purify and select for
                 intended targets (Fig. 1B) (Supplementary Methods).124


121
      See Van Ness Decl. at ¶¶ 166-176.
122
   Id. at ¶¶ 168-169; see also Dkt. 118-10 (Remarks to an Office Action Dated October 7,
2022) & Dkt. 118-11 (Notice of Allowance Dated November 8, 2022).
123
      Id. at ¶ 168.
124
      See Forshew (2012) at 3 (emphases added),


                                              66

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                                         Appx18807
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         122.      Moreover, the ’454 Patent claims recite more than just multiplex

amplification—for example, as discussed supra they recite an ultra-deep depth of read of

50,000 or more, which it is undisputed Forshew (2012) does not disclose. The Examiner

specifically pointed to this limitation—not multiplex amplification—as a basis for

allowing the claims. Specifically, on page 5 of the ’454 Patent application’s notice of

allowance125, the Examiner stated:

                                              Reasons for AUowance

       19.     The following is an examiner's statement ofreasons for allowance: The prior rut does not

      . how the limitation in independent claim I of a . equencing read depth of at lea t 50.000 per

       target locus in the context of the claimed subject matter. The prior art does not show the

       Ii mi talion in independent claim 15 of detecting a single nucl eotide variant mutation that i s

      present in less than or equal lo 0.0159' of the cell-free D A comprising the single nucleotide

       variant locus in the context of the claimed subject mailer.


         123.      The Van Ness Declaration contends, however, that it “seems likely” that the

Examiner overlooked the obviousness of increasing sequencing depth.126 This contention

is contradicted by Dr. Van Ness’s assertion that increasing sequencing depth was a well-

known approach to improve sensitivity, as evidenced (and Dr. Van Ness contends) by the

’189 Patent Pub. (Bentley).127




125
      See Dkt. 118-11 (Notice of Allowance Dated November 8, 2022) at 5.
126
      See Van Ness Decl. at ¶ 144.
127
      Id. at ¶¶ 170-175.


                                                          67

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        124.   Additionally, the Van Ness Declaration identifies no factual basis to indicate

that the Examiner did not consider all claim limitations, including sequencing to a read

depth of 50,000 or more per target locus. Indeed, if anything, it seems unlikely that the

Examiner would not have considered the arguments by Natera given that Forshew (2012)

was explicitly identified during prosecution by the Examiner and then subsequently

addressed in substance by Natera. In addition, Dr. Van Ness does not address the points I

raise supra—namely, that sequencing to the claimed read depth would not have been

obvious because one of ordinary skill in the art would not have expected or predicted this

strategy to be effective to identify rare variants when using Forshew (2012)’s approach.

Thus, the allowance of the claims is consistent with my opinions that such a sequencing

strategy would not have been obvious to one of ordinary skill in the art.128

               (ii)   Bashashati (2013) Does Not Render the ’454 Patent Claims Obvious

        125.    At least for the reasons explained infra, the Van Ness Declaration has failed

to show that the ’454 Patent claims are obvious over Bashashati (2013).129 As described

infra, I provide my reasons and bases for why I disagree with Dr. Van Ness’s opinions

regarding Bashashati (2013).130


128
      See Dkt. 118-11 (Notice of Allowance Dated November 8, 2022).
129
    See Dkts. 118-14, 118-15, Bashashati et al., Distinct evolutionary trajectories of
primary high-grade serous ovarian cancers revealed through spatial mutational profiling,
JOURNAL OF PATHOLOGY 231:21-34 (2013), including the Supplementary Appendix
(“Bashashati (2013)”).
130
    Dr. Van Ness admitted in deposition that he did not include a specific section in the
Van Ness Declaration analyzing the combination of Forshew (2012) and Bashashati
(2013). See Van Ness Tr. at 106:7-13.


                                             68

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         126.   For the claims to be obvious, inter alia, I have been informed and understand

that it must have been obvious to one of ordinary skill in the art to perform “targeted

multiplex amplification to amplify 10 to 500 target loci each encompassing a different

tumor-specific SNV mutation from cell-free DNA isolated from a plasma sample of the

subject or DNA derived therefrom to obtain amplicons having a length of 50-150 bases,

wherein the target loci are amplified together in the same reaction volume” in the course

of performing the other method steps. Bashashati (2013) does not perform this approach,

as Dr. Van Ness acknowledges,131 and my analysis here focuses primarily on ’454 Patent

Claim 1[b].

         127.   Dr. Van Ness’s contrary opinions conflate disparate teachings in Bashashati

(2013) without articulating how one of ordinary skill in the art would have been motivated

to practice the claimed methods or would have reasonably expected success in doing so,

particularly given the difficulties in multiplexing many target loci in a single reaction

volume. The results of this multiplexing strategy would have been unpredictable in light

of the technical challenges in its implementation, as discussed further infra. I reserve the

right to offer additional opinions regarding the ’454 Patent in view of Bashashati (2013)

alone or in combination with other references.

                       (a)    Claim 1[b] of the ’454 Patent

                              performing targeted multiplex amplification to amplify 10
                              to 500 target loci each encompassing a different tumor-
                              specific SNV mutation from cell-free DNA isolated from a

131
      See, e.g., Van Ness Decl. at ¶ 190.


                                               69

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                              plasma sample of the subject or DNA derived therefrom to
                              obtain amplicons having a length of 50-150 bases, wherein
                              the target loci are amplified together in the same reaction
                              volume

          128.   The ’454 Patent claims require “targeted multiplex amplification to amplify

10 to 500 target loci each encompassing a different tumor-specific SNV mutation from

cell-free DNA isolated from a plasma sample of the subject or DNA derived therefrom to

obtain amplicons having a length of 50-150 bases, wherein the target loci are amplified

together in the same reaction volume.”132 I refer to this limitation as claim 1[b] of the ’454

Patent.

          129.   The Van Ness Declaration does not opine that Bashashati (2013) teaches this

approach. Instead, in arguing this limitation is obvious, Dr. Van Ness points to Bashashati

(2013)’s description of using target-specific primers to amplify tumor DNA and then using

those same primers to amplify ctDNA.133 For both Bashashati (2013)’s tumor and ctDNA

samples, however, individual primer pairs were used, not multiplex PCR as required by

Claim 1 of the ’454 Patent.

          130.   Regarding the tumor DNA analysis, Bashashati (2013) explains that “DNA

primers were synthesized in 96-well plates … Polymerase cycling reactions were set up in

96-well plates and comprised of 0.5 uM forward primer, 0.5 uM reverse primer, 1-2 ng of

gDNA… Reaction plates were cycled … PCR reactions were visualized on 3% agarose



132
      See ’454 Patent at 171:32-38.
133
      See, e.g., Van Ness Decl. at ¶ 189.


                                               70

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                                            Appx18811
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… Successful reactions were manually pooled.”134             Similarly, regarding the ctDNA

analysis, Bashashati (2013) explains that “[t]he primers used and PCR cycling conditions

were the same as in the previous section. Circulating DNA was used as PCR templates at

0.1 ng per reaction.”135

         131.      From these descriptions, the Van Ness Declaration can only say that “[t]hese

sections teach the use of targeted PCR to amplify target loci encompassing different

SNV.”136 Dr. Van Ness cannot and does not say that Bashashati (2013) teaches targeted

multiplex PCR on ctDNA from plasma samples.

         132.      Indeed, the Van Ness Declaration acknowledges that in Bashashati (2013),

“targeted amplification of SVNs from ctDNA was conducted using single primer pairs per

reaction.”137 I agree with the Van Ness Declaration’s implicit acknowledgement that

Bashashati (2013) does not disclose claim 1[b] of the ’454 Patent. Dr. Van Ness in

deposition agreed that Bashashati (2013) does not teach targeted multiplex amplification

of 10 to up to 500 targets in one reaction volume.138

         133.      To argue the ’454 Patent claims are obvious, the Van Ness Declaration

attempts to cure this deficiency in Bashashati (2013)’s disclosure in four ways, discussed


134
      See Bashashati (2013) at S6-S7.
135
      Id. at S7.
136
      See Van Ness Decl. at ¶ 190.
137
      Id. at ¶ 195 (emphasis added).
138
    See Van Ness Tr. at 134:2-13, particularly 134:11-13 (“I don’t know of an example of
that, although there are other references that I referred to that have done it. This one I have
not seen it.”).


                                                71

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in turn infra. None of these points are successful because Dr. Van Ness fails to explain

how one of ordinary skill in the art would have been motivated to modify Bashashati

(2013), much less with any reasonable expectation of success.

            134.   First, Dr. Van Ness states in a single, unsupported sentence that a “POSA

also would have been motivated to do so [amplifying target loci in multiplex reactions in

the same reaction volume] for the benefit of requiring fewer separate reactions.” 139 I

disagree. Dr. Van Ness identifies no actual or theoretical benefit that fewer separate

reactions would confer in the performance of the methods taught in Bashashati (2013). In

fact, combining multiple PCR-based amplification reactions—especially up to 150 such

reactions—in one volume was associated with known significant technical hurdles and,

consequently, would have been an undesirable strategy for one of ordinary skill in the art

to have pursued in the context of the claimed methods.

            135.   The ’454 Patent itself explains some of those technical hurdles. In light of

these challenges, the outcome of multiplexing many primer pairs in a single reaction

volume would have been unpredictable to a skilled artisan.

                   [H]ighly multiplexed PCR can often result in the production of
                   a very high proportion of product DNA that results from
                   unproductive side reactions such as primer dimer formation.
                   In an embodiment, the particular primers that are most likely
                   to cause unproductive side reactions may be removed from the
                   primer library to give a primer library that will result in a
                   greater proportion of amplified DNA that maps to the
                   genome.140

139
      Id.
140
      See ’454 Patent at 105:51-58 (emphasis added).


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                Multiplexing large numbers of primers imposes considerable
                constraint on the assays that can be included. Assays that
                unintentionally interact result in spurious amplification
                products.141

Such challenges were known even earlier, as disclosed in Natera’s ’035 Patent.142 One of

ordinary skill in the art would not have reasonably expected success in increasing the

multiplexing of any of Bashashati (2013)’s PCR reactions in a single volume. The Van

Ness Declaration offers no basis to believe otherwise. Rather, one of ordinary skill in the

art would have viewed consolidating multiple reactions into a single volume as potentially

introducing complications to the reactions, as opposed to facilitating them. Accordingly,

it would not have been obvious to one of ordinary skill in the art to perform the claimed

targeted multiplex amplification of tumor-associated cfDNA in a single read volume.

         136.   Second, the Van Ness Declaration argues that one of ordinary skill in the art

could have looked to a different example in Bashashati (2013) that used the Ion Torrent

PGM platform to perform targeted multiplex PCR to validate SNVs.143 I disagree that this

is support for obviousness for several reasons. The Ion Torrent example was performed

on tumor tissue samples, not on ctDNA isolated from plasma.144 Indeed, the portion of


141
      Id. at 107:65-108:1 (emphasis added).
142
      See, e.g., ’035 Patent at 48:7-14, 54:26-29.
143
      See Van Ness Decl. at ¶ 195.
144
    See Bashashati (2013) at 25. “Forty-three mutations present in the right ovary (mixed
histology) were not present in the samples from the left (all HGSCs; Figure 1 B [case 4]).
As the index exome for [case 4] was restricted to the right set of samples, we subjected all
samples to the PGM Ion AmpliSeq Cancer panel.”


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Bashashati (2013) quoted in the Van Ness Declaration145 asserts that Bashashati (2013)

performed the PGM Ion AmpliSeq Cancer panel on “primary ovarian cancer samples.”

         137.   Furthermore, the Van Ness Declaration fails to explain why one of ordinary

skill in the art would have been motivated to use the Ion Torrent-based approach, as

previously applied merely for the purpose of validating candidate SNVs in DNA from

tumor samples. In tumor samples, in tumor-associated DNA is not rare. The Van Ness

Declaration fails to explain why the use of tumor tissue samples would render obvious the

claimed methods using cfDNA. As explained supra,146 working with cfDNA from plasma

samples was challenging and unpredictable for many reasons, such as cfDNA

fragmentation. Identifying genetic mutations in tumor-associated cfDNA would have been

even more difficult, given that tumor-associated cfDNA is relatively low-abundance and

highly variable within a person’s cfDNA. The Van Ness Declaration also fails to explain

how one of ordinary skill in the art would have reasonably expected success with the Ion

Torrent-based approach in light of these technical challenges. Accordingly, it would not

have been obvious to use a method used only for validating SNVs in tissue-derived DNA

in order to perform the claimed targeted multiplexing of cfDNA in a single reaction

volume.

         138.   Third, the Van Ness Declaration points to Forshew (2012) because Dr. Van

Ness contends Bashashati (2013) cites Forshew (2012) as support for the proposition that


145
      See Van Ness Decl. at ¶ 195.
146
      See supra at Section II.


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“sequencing of cell-free circulating tumour DNA (ctDNA) extracted from plasma has been

demonstrated to be an effective non-invasive tool for monitoring tumour burden.”147 This

citation, however, is not relevant to obviousness here because it says nothing relating to

the claimed targeted multiplex amplification in a single reaction volume. In fact, this

citation indicates that Bashashati (2013) was aware of Forshew (2012) but chose not to

follow Forshew (2012)’s approach to the extent Forshew (2012) teaches multiplex

amplification of multiple loci in a single reaction volume.

         139.   Consistent with my opinions, Forshew (2012) recognized the technical

challenges associated with multiplexing many reactions in a single volume. Forshew

(2012) explains that “[m]ultiplex amplification using a large set of primers could result

in nonspecific amplification products and biased coverage.”148 As a consequence of those

admitted technical challenges, the Forshew (2012) strategy required a singleton

amplification step, which one of ordinary skill in the art would have recognized from

reading Forshew (2012). In deposition, Dr. Van Ness confirmed that Forshew (2012)’s

strategy did not involve multiplexing independent of single-plex amplification. Dr. Van

Ness stated that “Dr. Forshew incorporated the multiplex reaction in his series of steps. I

didn’t see anywhere where he did just the multiplex and analyzed it. But he incorporated

it into all of his steps.”149 Thus, these limitations in Forshew (2012) would have further



147
      See Van Ness Decl. at ¶ 196.
148
      See Forshew (2012) at 3 (emphasis added).
149
      See Van Ness Tr. at 129:24-130:11 (objection omitted).


                                            75

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discouraged one of ordinary skill in the art from modifying Bashashati (2013) to perform

targeted multiplex amplification of cfDNA in a single volume.

         140.   Fourth, the Van Ness Declaration contends that the “ability to use greater

multiplex targeted amplification would also have been obvious to one of ordinary skill in

the art prior to the priority date for the claim because even significantly greater multiplex

amplification of DNA was already well established.”150 I disagree. The teachings that Dr.

Van Ness relies on do not teach greater multiplexing in a single reaction volume. In fact,

they teach the opposite, particularly in light of known challenges in multiplexing as

discussed supra.151

         141.   For example, the Van Ness Declaration relies on the ’038 Patent Pub. (Mir)

(i.e., Fluidigm system).152 Similar to Forshew (2012), Fluidigm uses a preamplification

step using multiplex PCR followed by singleton PCR (each reaction in its own reaction

volume) to generate individual target-specific amplicons.153 In fact, Forshew (2012) uses


150
      See Van Ness Decl. at ¶¶ 197-199.
151
      See, e.g., ’454 Patent at 105:51-58, 107:65-108:1.
152
    See Dkt. 116-13, Mir et al., Assay methods for increased throughput of samples and/or
targets, U.S. Patent Application Publication No. US 2010/0120038 (2010) (the “’038
Patent Pub. (Mir)”).
153
     See ’038 Patent Pub. (Mir) at [0119] (“In illustrative embodiments, the encoding
reaction can be a preamplification reaction, which may be carried out on a microfluidic
device. To increase target nucleic acid concentration prior to encoding, an optional pre-
preamplification reaction can be carried out before the encoding preamplification reaction.
The pre-preamplification can be carried out in multplex [sic]. For example, target-specific
primers for 9216 different target nucleic acids can be employed in one mixture. This
mixture can then be divided into R=96 aliquots and each aliquot subjected to an encoding
preamplification reaction on a microfluidic device, using T=96 different primer pairs that


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the Fluidigm system in its singleton PCR step.154 Dr. Van Ness’s citation to a previous,

unrelated declaration I submitted in an inter partes review155 ignores the context I provided,

which explains the preamplification reaction is then aliquoted into individual wells to

perform singleton PCR,156 just as that described in Forshew (2012).

         142.    As explained supra, Dr. Van Ness fails to show that one of ordinary skill in

the art would have been motivated to modify Bashashati (2013)’s approach to perform

“targeted multiplex amplification to amplify 10 to 500 target loci each encompassing a

different tumor-specific SNV mutation from cell-free DNA isolated from a plasma sample

of the subject or DNA derived therefrom to obtain amplicons having a length of 50-150

bases, wherein the target loci are amplified together in the same reaction volume,” or that

one of ordinary skill in the art would have reasonably expected to succeed in doing so given



add 96 different nucleotide tag pairs to the target nucleotide sequences in each of the 96
aliquots.”); id. at [0120] (“After the encoding preamplification reaction, amplification can
be carried out in separate chambers of a microfluidic device. For example, each of the 96
aliquots produced upon encoding preamplification can be loaded into individual sample
lines of a matrix-type microfluidic device, and each of 96 different tag-specific primer
combinations can be loaded into individual assay columns. Each different of the 96 primer
combination can amplify a different target nucleic acid in each of the 96 aliquots. The
resulting 9216 reaction chambers (sub-aliquots) can then be subjected to amplification,
followed by detection of amplification product(s), which can be carried out by any suitable
means, including SYBR Green, universal probe library, use of one probe per tag
combination (e.g., wherein probe sequences are introduced into nucleotide tags), use of
fluorescent primers to add nucleotide tags.”).
154
    See Forshew (2012) at S3 (“Individual primer pairs were loaded into the primer inlets
of the Access Array IFC (Fluidigm).”).
155
   See Dkt. 116-12, Declaration of Michael L. Metzker, Ph.D.; IPR2018-01317, dated
June 29, 2018 (“Metzker IPR Decl.”).
156
      Id. at ¶ 100.


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the well-known technical difficulties in multiplexing many targets in one reaction volume,

as recognized in Forshew (2012), for example.

         143.   Consistent with my opinions, Dr. Van Ness admitted in deposition that

multiplexing many targets in one reaction volume could lead to undesirable consequences.

                Q.    What kinds of challenges are involved in amplifying
                      multiple targets together in one reaction volume that are
                      not challenges in amplifying multiple targets
                      individually in separate reaction volumes?

                A.    Primarily, I think one of the challenges is primer
                      interactions. Because you have multiple primers, you
                      have potential for primer interactions that could
                      interfere with the amplification of the targets you’re
                      after.

                Q.    Is another problem – or another challenge – allelic bias?

                A.    It can be.157

         144.   I disagree with Dr. Van Ness’s evaluation of Bashashati (2013) and the

opinions expressed in the Van Ness Declaration on the ’454 Patent claims’ obviousness in

other respects. For example, the Van Ness Declaration asserts that the use of an amplicon

length of 50-150 base pairs “would have been obvious, particularly in the context of cell-

free DNA.”158 I disagree. The Van Ness Declaration provides no reasons or bases to

support this opinion. In fact, Bashashati (2013) uses Illumina’s MiSeq system to sequence

the amplicons from ctDNA isolated from plasma using “paired-end 250 bp [base pair]



157
      See Van Ness Tr. at 132:13-133:3 (emphases added).
158
      See Van Ness Decl. at ¶¶ 192-193.


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reads.”159 These sequence reads are anywhere from 100 to 200 bp longer than amplicon

length on which Dr. Van Ness opines. The Van Ness Declaration provides no explanation

why one of ordinary skill in the art would have deviated from a sequencing system that

provided 250 base pair reads to achieve an amplicon length of 50-150 bases. Bashashati

(2013)’s use of MiSeq would in fact inform the one of ordinary skill in the art that the

amplicon lengths would have been closer to 250 base pairs to maximize the performance

of the Illumina MiSeq system.160

                         (b)    Claim 1[c] of the ’454 Patent

                                sequencing the amplicons to obtain sequence reads, and
                                detecting one or more of the tumor-specific SNV mutations
                                present in the cell-free DNA from the sequence reads,
                                wherein the sequencing has a depth of read of at least
                                50,000 per target locus

         145.      The Van Ness Declaration’s opinions regarding the ’454 Patent’s sequencing

step are also deficient or factually incorrect. Dr. Van Ness asserts, for example, that

“Bashashati [] teaches sequencing amplicons on an Illumina GAII.”161 But Bashashati

(2013) uses the GAII to sequence amplicons from “tumour and normal DNA templates,”162

not ctDNA obtained from plasma samples.




159
      See Bashashati (2013) at S7.
160
      Id. at S6.
161
      See Van Ness Decl. at ¶ 201.
162
      See Bashashati (2013) at S6.


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        146.   The Van Ness Declaration also fails to establish that one of ordinary skill in

the art would have had a reasonable expectation of success in achieving the methods

claimed in the ’454 Patent, e.g., to the extent one of ordinary skill in the art would have

been motivated to perform ultra-deep sequencing to “a depth of read of at least 50,000 per

target locus.” I discuss deficiencies in Dr. Van Ness’s reasoning infra.

        147.   First, as explained supra with respect to Forshew (2012), as of 2014-2015,

ultra-deep sequencing would not have been useful to identify rare genetic variants which

are buried in the “noise” of sequencing workflow errors associated with sample preparation

and next-generation sequencing technology. Dr. Van Ness fails to account for these

technical limitations in his assessment of Bashashati (2013). For example, one of ordinary

skill in the art would have understood that the 454 Life Sciences’ PicoTiterPlate format,

used in Bashashati (2013), has an error rate of ~1%.163 As the error rate dictates the

frequency at which SNVs can be identified, Table 2 in the ’189 Patent Pub. (Bentley) (cited

by Dr. Van Ness) suggests that read depths between 400 and 1,000 would have been

sufficient to identify an SNP at the 1% level, as shown infra (red box added to highlight

the number of reads to an SNP at ~1% level).




163
    See Ex. 7, Gilles et al., Accuracy and quality assessment of 454 GS-FLX Titanium
pyrosequencing, BMC GENOMICS 12:245 pp. 1-11 (2011) (“Gilles (2011)”) at Abstract:
“We obtained a mean error rate for 454 sequences of 1.07%.”


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                                            TABLE 2
                                                 Minimum           Minimum
                                                 frequency         frequency
                                                   of SNP            ofSNP
                                               in popu lation    in population
                                                 detectable        detectable
                     SNP        Nwnber of        with 95%          with 99%
                    Classes      Reads          confidence        confidence

                        1        200000            0.002%          0.003%
                        2        100000            0.005%          0.007%
                        5         40000            0.014%          0.018%
                       10         20000            0.028%          0.037%
                       50          4000             0.14%           0.18%
                      100          2000             0.28%           0.37%
                      200
                      500
                     1000
                                  I1000
                                    400
                                    200
                                                    0.55%
                                                    1.39%
                                                    2.76%
                                                                    0.74%
                                                                    1.85%
                                                                    3.64%



Higher read depth would result in the detection of noise (i.e., sequencing workflow enors).

         148.   Thus, in light of known sequencing enor rates for all sequencing platfo1ms

discussed supra, I disagree with Dr. Van Ness that "sequencing depth is a parameter that

would be routinely adjusted to achieve whatever sensitivity was required. " 164 In reality,

some sensitivity levels would not have been achievable due to technical limitations of

equipment or expe1imental design (e.g., sample preparation), no matter how much

sequencing depth was increased because of fundamental issues (e.g., noise levels) with the

system.

         149.   Second, and relatedly, the Van Ness Declaration points to the '454 Patent's

disclosure for the propositions that "the '454 patent does not identify any particular

sequencing depth as being inventive or special" and "sequencing depth is a parameter that


164
      See Van Ness Deel. at , 208.


                                              81

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would be routinely adjusted to achieve whatever sensitivity was required.” 165 I disagree

with this reading of the patent and the premise. As explained supra, simply repeatedly

sequencing a target locus will not improve the sensitivity of detection beyond the method’s

inherent error rate and will not identify rare variants that fall below that threshold. In fact,

the ’454 Patent describes the advantages of its inventive methods for this purpose.

                 In another aspect, the present invention generally relates, at
                 least in part, to improved methods of detecting single
                 nucleotide variations (SNVs). These improved methods
                 include improved analytical methods, improved bioassay
                 methods, and improved methods that use a combination of
                 improved analytical and bioassay methods. The methods in
                 certain illustrative embodiments are used to detect, diagnose,
                 monitor, or stage cancer, for example in samples where the
                 SNV is present at very low concentrations, for example less
                 than 10%, 5%, 4%, 3%, 2.5%, 2%, 1%, 0.5%, 0.25%, or 0.1%
                 relative to the total number of normal copies of the SNV locus,
                 such as circulating free DNA samples. That is, these methods
                 in certain illustrative embodiments are particularly well
                 suited for samples where there is a relatively low percentage
                 of a mutation or variant relative to the normal polymorphic
                 alleles present for that genetic loci.166

         150.    The Van Ness Declaration’s citations to my and others’ testimony167 likewise

fail to explain how one of ordinary skill in the art would have reasonably expected success

in overcoming the technical challenges by modifying the Bashashati (2013) approach as

explained supra. Dr. Van Ness also fails to explain why one of ordinary skill in the art



165
      Id. at ¶ 209.
166
   See ’454 Patent at 44:6-21 (under “Detailed Description of the Invention”) (emphases
added).
167
      See Van Ness Decl. at ¶¶ 210-215.


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would have been motivated to do so with respect to Bashashati (2013), and those citations

are therefore irrelevant.

         151.    Third, the Van Ness Declaration also fails to show that Bashashati (2013)

achieves the claimed sequencing depth of read as Dr. Van Ness misreads Bashashati

(2013). In paragraphs 204-205 of the Van Ness Declaration, Dr. Van Ness identifies 17

rows from Table S2 of Bashashati (2013) (“lines 48, 54, 82, 91, 98, 111, 121, 124, 129,

130, 144, 151-153, 156, 170, and 173”) as support for the proposition that “[a] POSA

would understand that these positive resequencing read values for tumor-specific SNVs

indicate that Bashashati detected tumor-specific SNV mutations present in the cell-free

DNA from the sequence reads.”168 But none of these rows support his assertion and I

therefore disagree. Dr. Van Ness is not reading Bashashati (2013) Table S2 correctly.

         152.    In   particular,   Column   V       of   Bashashati   (2013)   (i.e.,   Plasma

BinomExact_adjustedpVal) is used to perform “detecting one or more of the tumor-specific

SNV mutations.” Bashashati (2013) explains that “[t]he number of mutations based on

positions with coverage (c), no coverage (nc) and those with coverage that were

significantly (s) detected, based on the binomial extract test (adjusted p < 0.05).” 169 In

contrast, for the rows cited supra in the Van Ness Declaration, only two rows, 98 and 156

have p values of < 0.05—namely, 1.36 x 10-7 and 4.04 x 10-7, respectively. The total

number of reads for rows 98 and 156 are well below “a depth of read of at least 50,000 per


168
      Id. at ¶ 205.
169
      See Bashashati (2013) at Fig. 2 legend.


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target loci.” For example, the “refcountplasma” (column T) and “altcountplasma” (column

U) for row 98 is 8,190 and 105, which totals 8,295 reads. The “refcountplasma” (column

T) and “altcountplasma” (column U) for row 156 is 78 and 5, which totals 83 reads. None

of this comes anywhere close to the recited “of at least 50,000 per target locus.”

         153.   Dr. Van Ness also argues that “Bashashati teaches that the sequencing has a

depth of read of at least 50,000” by pointing to row 276 showing a value of 969,361 in the

“refcountplasma” (column T).170 I disagree as, again, Dr. Van Ness is misreading Table

S2 and again fails to demonstrate that Bashashati (2013) discloses this limitation. Column

V (i.e., Plasma BinomExact_adjustedpVal) of row 276 has a p = 1, which would fail the

binomial extract test and therefore not have been identified as a SNV mutation.

         B.     The ’035 Patent Is Not Obvious

                (i)    Kaper (2010) Poster Does Not Render the ’035 Patent Claims
                       Obvious

         154.   At least for the reasons explained infra, Dr. Van Ness has failed to show that

the ’035 Patent claims are obvious over the teachings of the Kaper (2010) Poster.171 I

disagree with Dr. Van Ness’s opinions regarding the Kaper (2010) Poster.




170
      See Van Ness Decl. at ¶ 207.
171
    See Dkt. 116-15, Kaper et al., Parallel preparation of targeted resequencing libraries
from 480 genomic regions using multiplex PCR on the Access Array system, PROCEEDINGS
OF THE 101ST ANNUAL MEETING OF THE AMERICAN ASSOCIATION FOR CANCER RESEARCH
(AACR), Poster (2010) (“Kaper (2010) Poster”).


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         155.    For the claims to be obvious, inter alia, I have been informed an understand

it must have been obvious to one of ordinary skill in the art the following claim elements

in the course of performing the other method steps:

         •       Claim 1[a]: using “isolated cell-free DNA” that “is isolated
                 from a blood sample”

         •       Claim 1[b]: to perform “targeted amplification of a plurality of
                 single nucleotide polymorphism (SNP) loci in a single reaction
                 volume”

         •       Claim 1[c]: to perform “sequencing the plurality of SNP loci
                 on the cell free DNA by conducting massively parallel
                 sequencing on the final amplification products, wherein the
                 plurality of SNP loci comprises 25-2,000 loci associated with
                 cancer”

Dr. Van Ness’s opinions regarding these individual limitations, separately and in

combination, are deficient because nothing in the Kaper (2010) Poster would have

motivated one of ordinary skill in the art to pursue the claimed combination. Dr. Van

Ness’s opinions regarding these individual limitations, separately and in combination, are

deficient because the skilled artisan would not have reasonably expected success in

modifying Kaper to achieve them as Dr. Van Ness proposes, at least in light of the

unpredictability and technical challenges in the art involved in manipulating cfDNA.172 I

reserve the right to offer additional opinions regarding the ’035 Patent in view of the Kaper

(2010) Poster alone or in combination with other references.




172
      See Section II.A, supra.


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                       (a)    Claim 1[a] of the ’035 Patent

                              tagging isolated cell free DNA with one or more universal
                              tail adaptors to generate tagged products, wherein the
                              isolated cell-free DNA is isolated from a blood sample
                              collected from a subject who is not a pregnant women

         156.   The Van Ness Declaration asserts that “Kaper renders this claim limitation

obvious.”173 I disagree.174 As a preliminary matter, the Kaper (2010) Poster does not teach

or suggest amplifying or sequencing cfDNA. Rather, the samples used in Kaper (2010)

Poster are obtained from tumor tissue samples or control (healthy) DNA from a HapMap

sample (human genome DNA isolated from a cell line). The Van Ness Declaration does

not contend otherwise.

         157.   Rather, Dr. Van Ness opines that “Kaper teaches applications of its technique

to cancer” and from this leaps to the conclusion that “it would have been natural and

obvious to apply the method to cell-free DNA.”175 I disagree. It is true that cfDNA,

including tumor-associated cfDNA, was known to exist.176 However, the use of tissue


173
      See Van Ness Decl. at ¶ 237.
174
     Additionally, Dr. Van Ness mischaracterizes my deposition testimony, which he
attempts to use to interpret the ’035 Patent claims. Dr. Van Ness stated that, “[a]ccording
to [me], the first element of the claim, 1[a] is limited only to the first cycle of
amplification.” Van Ness Decl. at ¶ 250. This statement is incorrect as I did not testify
that claim 1[a] of the ’035 Patent is limited to the first PCR cycle only. In fact, my
testimony was “[w]ell, I think as I’ve testified, it does happen in the first cycle; but it can
also happen in subsequent cycles.” See Dkt. 116-6 at 103:17-104:24.
175
      See Van Ness Decl. at ¶ 240.
176
    Id. at ¶¶ 241-247. Dr. Van Ness cites certain references for the proposition that “use
of cell-free DNA in cancer monitoring and detection was well-known,” without explaining
how it would have been obvious to modify Kaper’s disclosure using such references. See


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sources of tumor-associated DNA would not render obvious the use of cfDNA in the

claimed method because, for example, as explained in greater detail supra,177 tumor tissue

samples contain tumor-associated DNA at a high abundance in contrast to cfDNA.

         158.   The Van Ness Declaration fails to support a contrary conclusion for several

reasons. First, as Dr. Van Ness admitted in deposition, Kaper (2010) Poster itself does not

“describe how to modify multiplex amplification in order to address problems that are

particular to cell-free DNA as opposed to genomic DNA.”178 Nor does the Van Ness

Declaration identify any specific teaching in other prior art references that could be used

to modify the Kaper (2010) Poster’s approach for non-cfDNA successfully with respect to

tumor-associated SNPs, or why a skilled artisan would have been motivated to do so.

Second, the Van Ness Declaration does not explain why one of ordinary skill in the art

would have reasonably expected success in arriving at the claimed combination in light of

the technical challenges associated with manipulating cfDNA.

         159.   These known difficulties in manipulating cfDNA are consistent with the

limitations of the Fluidigm Access Array that are specifically reported in the ’035 Patent

(quoted infra), and which would have been before the Examiner during prosecution of the

’035 Patent application. Despite these obstacles to success specifically described in the



id. at ¶¶ 241 (Cantor), ¶ 242 (Ehrich), ¶ 243 (Lo). In deposition, for example, Dr. Van
Ness could not recall whether those references taught multiplex amplification. Van Ness
Tr. 151:8-152:23.
177
      See Section II.
178
      See Van Ness Tr. at 149:6-22.


                                             87

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’035 Patent, the Van Ness Declaration does not address the ’035 Patent’s disclosure or

explain how one of ordinary skill in the art would have reasonably expected to succeed in

using the Kaper (2010) Poster’s specific approach to amplify tumor-associated cfDNA

(ctDNA) or what modifications would have been necessary to achieve that particular goal

in light of the unpredictability and technical challenges in working with ctDNA.

         160.   Specifically, the ’035 Patent explicitly distinguishes its invention from the

use of the Fluidigm Access Array equipment that is described in the Kaper (2010) Poster.

The inventors explain that the Access Array approach is not desirable for amplifying

samples that only contain “a limited amount of DNA.” As explained supra,179 tumor-

associated cfDNA is relatively low-abundance among the other cfDNA (from healthy cells)

in a person’s plasma sample, and the levels of ctDNA in a plasma sample are also variable.

As one of ordinary skill in the art would have recognized, the results from using such low-

abundance samples will be biased if the Access Array’s uniplex reactions does not contain

the target DNA that is the subject of the amplification. This problem is compounded when

the approach is intended to amplify multiple loci that have different sequences

(“polymorphic” loci), which can be present in tumor DNA sequences as those sequences

are frequently mutated relative to healthy DNA.         The ’035 Patent recognizes these

limitations with use of the Access Array, and the unpredictability in the art of using cfDNA

and ctDNA as a source material for amplification.




179
      See Section II.


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                In general, to perform targeted sequencing of multiple (n)
                targets of a sample (greater than 50, greater than 100, greater
                than 500, or greater than 1,000), one can split the sample into
                a number of parallel reactions that amplify one individual
                target. This has been performed in PCR multiwell plates or
                can be done in commercial platforms such as the
                FLUIDIGM ACCESS ARRAY (48 reactions per sample in
                microfluidic chips) or DROPLET PCR by RAIN DANCE
                TECHNOLOGY (100 s to a few thousands of targets).
                Unfortunately, these split-and-pool methods are problematic
                for samples with a limited amount of DNA, as there is often
                not enough copies of the genome to ensure that there is one
                copy of each region of the genome in each well.

                This is an especially severe problem when polymorphic loci
                are targeted, and the relative proportions of the alleles at the
                polymorphic loci are needed, as the stochastic noise introduced
                by the splitting and pooling will cause very poorly accurate
                measurements of the proportions of the alleles that were
                present in the original sample of DNA.

                Described here is a method to effectively and efficiently
                amplify many PCR reactions that is applicable to cases where
                only a limited amount of DNA is available. In an embodiment,
                the method may be applied for analysis of single cells, body
                fluids, mixtures of DNA such as the free floating DNA found
                in maternal plasma, biopsies, environmental and/or forensic
                samples.180

In acknowledging these problems, the ’035 Patent reports that its methods are

comparatively advantageous when amplifying low-abundance DNA, including “free

floating” cfDNA found in plasma.

         161.   The Van Ness Declaration does not address the ’035 Patent’s description of

its methods’ advantages over the Access Array, as the use of that equipment is described


180
      See ’035 Patent at 85:21-46 (emphases added).


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in the Kaper (2010) Poster. Nor does Dr. Van Ness identify with any specificity how one

of ordinary skill in the art would modify the Kaper (2010) Poster’s approach to achieve the

claimed inventions.

       162.   The Van Ness Declaration also does not explain how one of ordinary skill in

the art would have reasonably expected to succeed in doing so. As explained supra, these

modifications would have been challenging to one of ordinary skill in the art at least

because manipulating tumor-associated cfDNA would have been relatively difficult due,

for example, to its fragmented nature and low abundance in plasma samples. Instead of

explaining how one of ordinary skill in the art would have overcame these challenges and

why one of ordinary skill in the art would have been motivated to do so, Dr. Van Ness

combines disparate, unrelated teachings in the prior art without explaining why one of

ordinary skill in the art would have been motivated to combine those particular teachings

as opposed to the myriad other disclosures available to one of ordinary skill in the art. Dr.

Van Ness’s approach is therefore more consistent with the impermissible use of hindsight

rather than what would have been obvious to a skilled artisan considering the Kaper (2010)

Poster without the benefit of the ’035 Patent’s disclosure.

       163.   There are additional reasons why the use of cancer gene exons in the Kaper

(2010) Poster does not render obvious the use of cell-free DNA as well. Setting aside the

use of the problematic Fluidigm approach, the PCR data in Figure 3 of the Kaper (2010)

Poster further teaches away from the use of cell-free DNA. The Kaper (2010) Poster’s

PCR product sizes, based on the figure’s size markers, indicate that 46 of the 48 (96%) are



                                             90

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equal to or greater than 200 base pairs and that 16 of the 48 (33%) are equal to or greater

than 300 bp. In contrast, it was known the cell-free DNA has a typical size range of 140-

170 base pairs.181 Simply put, the PCR product sizes, and therefore the distance of the

primer pair sets used in the Kaper (2010) Poster, are too large for use with cfDNA and

would have required a complete overhaul and redesign of the Kaper (2010) Poster approach

to manipulate cfDNA—something not taught in any reference cited by Dr. Van Ness.

                      (b)    Claim 1[b]-[c] of the ’035 Patent

                             amplifying the tagged products one or more times to
                             generate final amplification products, wherein one of the
                             amplification steps comprises targeted amplification of a
                             plurality of single nucleotide polymorphism (SNP) loci in a
                             single reaction volume, wherein one of the amplifying steps
                             introduces a barcode and one or more sequencing tags; and

                             sequencing the plurality of SNP loci on the cell free DNA
                             by conducting massively parallel sequencing on the final
                             amplification products, wherein the plurality of SNP loci
                             comprises 25-2,000 loci associated with cancer.

         164.   The Van Ness Declaration contends that the Kaper (2010) Poster renders

obvious the claim 1[b] limitation.182 I disagree. To begin with, the Kaper (2010) Poster

provides no disclosure whatsoever of targeted amplification of SNPs, much less SNPs

associated with cfDNA.




181
    See, e.g., Forshew (2012) at 1 (“Circulating DNA is fragmented to an average length
of 140 to 170 base pairs (bp).”).
182
      See Van Ness Decl. at ¶ 249.


                                            91

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         165.    Indeed, the Van Ness Declaration acknowledges that the Kaper (2010) Poster

does not disclose the limitation “wherein one of the amplification steps comprises targeted

amplification of a plurality of single nucleotide polymorphism (SNP) loci in a single

reaction volume.”183 I agree with this assessment: the Kaper (2010) Poster does not teach

amplifying a plurality of SNP loci in a single reaction volume, particularly using cfDNA

containing such SNPs which would have been challenging as explained supra.

         166.    The primers used in the Kaper (2010) Poster are used to identify the presence

of certain genes in tumor tissue samples (“cancer gene exons”). It might be theoretically

feasible to use the Kaper (2010) Poster’s Access Array to amplify DNA sequences

containing SNP loci instead, but this is not taught or suggested and doing so would require

substantial effort to redesign the Kaper (2010) Poster’s approach. For example, to identify

SNPs, one of ordinary skill in the art would have needed to redesign the Kaper (2010)

Poster’s primers to target SNP loci. The Van Ness Declaration does not explain why one

of ordinary skill in the art, even if they had such an idea, would have reasonably expected

to succeed in pursuing any particular approach to modifying the Fluidigm Access Array’s

design and methods to achieve this goal.

         167.    The Van Ness Declaration’s citations to general teachings in the art or by

other witnesses fail to establish a different conclusion.184 For instance, those citations do



183
      Id. at ¶ 252.
184
    Id., e.g., at ¶¶ 253-256. Dr. Van Ness argues that “SNPs were well-known in the art”
(id. at ¶¶ 253-254), also citing to Ehrich & Van der Boom, Restriction endonuclease


                                               92

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not address the unpredictability and known technical challenges in the art associated with

manipulating cfDNA, much less teach anything specific about (or even related to)

modifying the Kaper (2010) Poster approach. Therefore, these sources do not support a

finding that one of ordinary skill in the art would have reasonably expected success in

modifying the Kaper (2010) Poster to achieve the methods recited in the ’035 Patent claims.

         168.   For essentially the same reasons regarding claim 1[b], I disagree with Dr.

Van Ness’s opinions that the Kaper (2010) Poster renders obvious claim 1[c] of the ’035

Patent,185 which recites sequencing SNPs, including 25-2,000 SNPs as required by the ’035

Patent claims.186 Again, Dr. Van Ness fails to show that the Kaper (2010) Poster teaches

this limitation (as it does not) and instead suggests that it would have been obvious to do

so. I disagree. The Kaper (2010) Poster’s disclosure of sequencing 480 cancer gene exons,




enhanced polymorphic sequence detection, PCT International Patent Publication No. WO
2008/118988 (2008) (the “PCT ’988 Appl. (Ehrich)”) (id. at ¶ 254), Cantor, Method for
non-invasive prenatal diagnosis, PCT International Patent Publication No. WO
2005/023091 (2005) (the “PCT ’091 Appl. (Cantor)”) (id. at ¶ 255), and Dr. Quackenbush’s
testimony in the CareDx trial (id. at ¶ 256).
185
      See Van Ness Decl. at ¶ 260.
186
    I understand that although the Court has not construed the ’035 Patent claims, the claims
recite that “one of the amplification steps comprises targeted amplification of a plurality of
single nucleotide polymorphism (SNP) loci in a single reaction volume” and, in a
subsequent step, that “the plurality of SNP loci comprises 25-2,000 loci associated with
cancer.” To the extent that “the plurality of SNP loci” refers to “a plurality of single
nucleotide polymorphism (SNP) loci” recited in the amplification step, Kaper (2010)
Poster does not teach or suggest this method. Kaper (2010) Poster teaches only multiplex
amplification of 10 targets (not SNPs) in a single reaction volume in a preamplification
step. Performing a greater number of multiplex amplification reactions in a single volume
would therefore require redesigning the Kaper (2010) Poster approach.


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absent more, would not render obvious an approach of sequencing 25-2,000 SNP loci in

particular, especially SNP loci present on cfDNA.          Indeed, other well-known gene

alterations exist in cancers including, but not limited to, structural variants and copy-

number variants.

        169.   Relatedly, the Van Ness Declaration contends that “higher degrees of

multiplex were commonplace in the art.”187 Even assuming this were true, Dr. Van Ness

does not explain why it would have been obvious to modify the Kaper (2010) Poster

approach using the (problematic) Fluidigm Access Array in order to achieve increased

multiplexing capability, much less for the purpose of performing targeted amplification of

a plurality of SNP loci in a single reaction volume. I disagree that any of these references

support Dr. Van Ness’s obviousness opinions.

               (ii)   The Combination of ’183 Patent Pub. (Han) and Wang (2010)
                      (“ARM-PCR”) Does Not Render the ’035 Patent Claims Obvious

        170.   At least for the reasons explained infra, Dr. Van Ness has failed to show that

the ’035 Patent claims are obvious over the teachings of the combination of the ’183 Patent


187
     See Van Ness Decl. at ¶ 263. In support of this opinion, Dr. Van Ness also cites to
Varley & Mitra, Nested patch PCR enables highly multiplexed mutation discovery in
candidate genes, GENOME RESEARCH 18:1844-1850 (2008) (“Varley (2008)”) at ¶ 264;
cites to ’038 Patent Pub. (Mir) (i.e., Fluidigm system) at ¶ 265; cites to Broude, Novel
compositions and methods for carrying out multiplex PCR reactions on a single sample.
U.S. Patent Application Publication No. US 2004/0126760 (2004) (the “’760 Patent Pub.
(Broude)”) at ¶ 266; cites to Lyamichev et al., Amplification methods and compositions,
U.S. Patent No. 7,790,393 (2010) (the “’393 Patent (“Lyamichev”) at ¶ 267; and cites to
Shoemaker et al., Rare cell analysis using sample splitting and DNA tags, PCT
International Patent Publication No. WO 2007/147079 (2007) (the “PCT ’079 Appl.
(“Shoemaker”) at ¶ 268. Dr. Van Ness noted in deposition that Varley (2008) did not use
cfDNA. Van Ness Tr. at 138:137:20-138:9.


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Pub. (Han)188 and Wang (2010).189 I disagree with Dr. Van Ness’s opinions regarding their

combination.

        171.   Dr Van Ness’s attempt to combine the teachings of ’183 Patent Pub. (Han)

and Wang (2010) is flawed in multiple respects. Neither reference teaches or suggests all

limitations of the ’035 Patent’s claimed methods, which Dr. Van Ness does not dispute.

This alone renders the combination insufficient.

        172.   Nevertheless Dr. Van Ness purports to combine these references in an

attempt to use the teachings of one to remediate the gaps in the other’s disclosure. As

explained infra, Dr. Van Ness’s analysis fails because the teachings of the two references

do not complement each other in such a way that one of ordinary skill in the art would have

either been motivated to achieve the claimed invention or would have reasonably expected

to succeed in doing so, including given the unpredictability and known technical challenges

in the art in manipulating ctDNA. I reserve the right to offer additional opinions regarding

the ’035 Patent in view of these references, including in combination with any other art.




188
     See Dkt. 116-16, Han, Amplicon rescue multiplex polymerase chain reaction for
amplification of multiple targets, U.S. Patent Publication No. US 2009/0253183 (2009)
(the “’183 Patent Pub. (Han)”).
189
   See Dkt. 117-4, Wang et al., High throughput sequencing reveals a complex pattern of
dynamic interrelationships among human T cell subsets, PROCEEDINGS OF THE NATIONAL
ACADEMY OF SCIENCES OF THE UNITED STATES 107:1518-1523 (2010) (“Wang (2010)”).


                                            95

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                        (a)   Claim 1[a] of the ’035 Patent

                              tagging isolated cell free DNA with one or more universal
                              tail adaptors to generate tagged products, wherein the
                              isolated cell-free DNA is isolated from a blood sample
                              collected from a subject who is not a pregnant women

         173.   I disagree with Dr. Van Ness’s opinion that the combination of ’183 Patent

Pub. (Han) and Wang (2010) render obvious Claim 1[a] of the ’035 Patent. 190 As a

preliminary matter, ’183 Patent Pub. (Han) does not describe the performance of its

methods on cfDNA. Rather, ’183 Patent Pub. (Han) teaches that ARM-PCR can be useful

to amplify DNA from certain specific cellular and viral sources that do not include cfDNA

or even DNA from plasma samples.

                The inventor has developed a new method for amplifying
                nucleic acids that may be used to detect the presence, and
                relative amounts present, of nucleic acids from viruses,
                bacteria, fungi, plant and/or animal cells for the evaluation of
                medical, environmental, food, and other samples to identify
                microorganisms and other agents within those samples.191

         174.   Manipulating cfDNA—and particularly low abundance and highly variable

ctDNA, an unpredictable source material for amplification—presented significant

technical difficulties, as described supra.192 The ’183 Patent Pub. (Han) does not teach or

explain how its methods can be used successfully for any purpose with respect to cfDNA,

and Dr. Van Ness does not contend otherwise.



190
      See Van Ness Decl. at ¶ 278.
191
      See ’183 Patent Pub. (Han) at [0009] (emphasis added).
192
      See Section II.


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         175.   The Van Ness Declaration also does not explain why one of ordinary skill in

the art would have been motivated to use cfDNA in ’183 Patent Pub. (Han)’s methods,

assuming it would even be feasible to do so. Rather, to overcome ’183 Patent Pub. (Han)’s

lack of disclosure of cfDNA, Dr. Van Ness points to phrases such as “clinical diagnosis”

(mentioned once) and “detection of genetic disorder, and/or the detection of disease

conditions” to render obvious the use of cfDNA.193 But these generalized statements in

’183 Patent Pub. (Han) do not refer to cfDNA, nor suggest its use. Wang (2010) likewise

also does not teach or suggest using cfDNA and Dr. Van Ness does not contend

otherwise.194

         176.   The Van Ness Declaration attempts to overcome these undisputed

deficiencies, arguing once more that that “the use of cell-free DNA in cancer monitoring

and detection was well-known.”195 These general citations do not rescue the Van Ness

Declaration’s faulty opinions regarding the ’035 Patent claims’ obviousness because Dr.

Van Ness does not explain—for any cited reference—why one of ordinary skill in the art

would have been motivated to use cfDNA in ’183 Patent Pub. (Han)’s method, how Han’s

method would need to be modified to do so, or why one of ordinary skill in the art would

have reasonably expected success in making the claimed combination given the known




193
      See Van Ness Decl. at ¶ 280.
194
      Id. at ¶¶ 278-280.
195
    Id. at ¶ 280, citing to ¶¶ 241-248 in the Van Ness Decl. that refer to Cantor, (¶ 241),
Ehrich (¶ 242), Lo (¶ 243), myself (¶ 244), Natera (¶ 245), and Quackenbush (¶¶ 246-247)).


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technical challenges in working with tumor-associated cfDNA and unpredictability of

results of such approaches, as discussed supra.

                       (b)    Claim 1[b] of the ’035 Patent

                              amplifying the tagged products one or more times to
                              generate final amplification products, wherein one of the
                              amplification steps comprises targeted amplification of a
                              plurality of single nucleotide polymorphism (SNP) loci in a
                              single reaction volume, wherein one of the amplifying steps
                              introduces a barcode and one or more sequencing tags

         177.   I disagree with Dr. Van Ness’s assertion that “Han teaches amplifying the

products one or more times wherein one of the steps comprises targeted amplification of

SNP loci in a single reaction volume.”196 For one thing, ’183 Patent Pub. (Han) does not

mention the terms “single nucleotide polymorphism” or SNP even once.197

         178.   Moreover, in my opinion one of ordinary skill in the art would not have found

it obvious to modify ’183 Patent Pub. (Han)’s approach to amplify or identify SNPs. In

addition to the well-known challenges in manipulating SNP-containing cfDNA explained

supra, ’183 Patent Pub. (Han) teaches the use of ARM-PCR for the purpose of improving

molecular differential diagnostic (MDD) assays.198 As taught in ’183 Patent Pub. (Han),

this approach represents a binary assay that reads out either the presence or absence of




196
      Id. at ¶¶ 282-283.
197
      See ’183 Patent Pub. (Han) throughout.
198
      Id. at [0003]-[0004].


                                               98

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targeted sample types (e.g., the cells and viruses listed supra, not SNPs). The examples

provided in ’183 Patent Pub. (Han) illustrate the results of the ARM-PCR assay.199

         179.   In contrast, targeting SNPs does not involve a binary assay. For example,

there may be any of four base pairs at a given SNP locus. The Van Ness Declaration does

not explain how the ’183 Patent Pub. (Han)’s binary method (merely detecting presence

versus absence) could be used with respect to targeting SNPs (which have specific

sequences). Dr. Van Ness also does not explain how one of ordinary skill in the art would

have reasonably expected success in modifying it for this purpose, and, accordingly, the

Van Ness Declaration has also failed to demonstrate that ’183 Patent Pub. (Han) discloses

this limitation.

         180.   Although Dr. Van Ness asserts that “Wang also teaches this limitation,”200 I

disagree. Like ’183 Patent Pub. (Han), Wang (2010) does not once mention the terms

“single nucleotide polymorphism” or SNP,201 much less in the combination of the claimed

methods. Rather, Wang (2010) teaches the use of ARM-PCR as a semiquantitative PCR

amplification method to maintain the representation of CDR3 sequences obtained from

different subsets of T-cells.202 One of ordinary skill in the art would have understood that

Wang (2010) was attempting to amplify the same region (the CDR3 sequence) in each of



199
      Id. at [0026], [0029]-[0052].
200
      See Van Ness Decl. at ¶ 284.
201
      See Wang (2010) throughout.
202
      Id. at 1518, 1520.


                                             99

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the T-cell population subsets. The consequence of Wang (2010)’s approach is that one of

ordinary skill in the art would have understood Wang (2010) to teach only using a single

pair of PCR primers—e.g., a forward primer and a reverse primer that can be used to

amplify the same CDR3 region on the different subsets of T-cells—not a “targeted

amplification of a plurality of single nucleotide polymorphism (SNP) loci in a single

reaction volume” as claimed. The latter approach would require different primer pairs to

amplify different SNP loci (i.e., a plurality of these loci), which Wang does not teach or

suggest (and in fact teaches away from).

         181.   Thus, Dr. Van Ness has not demonstrated that Wang (2010)’s disclosure

suggests, much less discloses, this limitation. Dr. Van Ness’s citation to the knowledge of

one of ordinary skill in the art to further remediate this deficiency203 further fails at least

for the same reasons explained supra—e.g., Dr. Van Ness does not explain how one of

ordinary skill in the art would have reasonably expected success doing so given the known

technical challenges in working with tumor-associated cfDNA.




203
      See Van Ness Decl. at ¶ 285.


                                             100

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                       (c)   Claim 1[c] of the ’035 Patent

                             sequencing the plurality of SNP loci on the cell free DNA
                             by conducting massively parallel sequencing on the final
                             amplification products, wherein the plurality of SNP loci
                             comprises 25-2,000 loci associated with cancer

         182.   Dr. Van Ness opines that this limitation is obvious as Wang (2010) teaches

“sequencing the plurality of SNP loci on the cell free DNA by conducting massively

parallel sequencing on the final amplification products.”204 I disagree.

         183.   As a preliminary matter, ’183 Patent Pub. (Han) does not disclose

sequencing, and Dr. Van Ness does not contend otherwise. The Van Ness Declaration

does not acknowledge this deficiency besides combining ’183 Patent Pub. (Han) with

Wang (2010), which does disclose sequencing. However, one of ordinary skill in the art

would not have been motivated to modify ’183 Patent Pub. (Han)’s approach with Wang

(2010)’s methods to achieve the claimed invention, and would not have reasonably

expected to succeed in doing so, for the reasons explained supra with respect to Claim

1[b]—namely, Wang (2010) teaches amplification of one locus (CDR3) in different cell

populations and does not suggest, much less disclose, “targeted amplification of a plurality

of single nucleotide polymorphism (SNP) loci in a single reaction volume.”

         184.   Dr. Van Ness points to the ’183 Patent Pub. (Han) for the proposition that

the ’183 Patent Pub. (Han) teaches “that the plurality of SNP loci comprises 25-2,000 loci

associated with cancer”—specifically, that Table 2 of Han demonstrates that this technique



204
      Id. at ¶¶ 295-296.


                                            101

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is capable of the degree of multiplex recited in the claim.”205 According to Dr. Van Ness,

this “Table displays 72 forward and reverse primers which when run in a single volume

reaction would be within the multiplex range recited in this claim.” I disagree as Dr. Van

Ness is misreading the teachings of the ’183 Patent Pub. (Han). Specifically, Figure 1 of

’183 Patent Pub. (Han) shows that each locus requires six primers—three forward primers,

and three reverse primers. Applying this teaching, ’183 Patent Pub. (Han)’s approach

teaches a maximum of targeting 12 loci, not 72 as Dr. Van Ness contends (six primers per

loci x 12 loci = 72 total primers). And neither ’183 Patent Pub. (Han) nor Wang (2010)

teaches or suggests targeting any higher number of loci.

VII.     THE NATERA PATENTS ARE VALID UNDER SECTION 101

         185.    Dr. Van Ness opines that the claims of the ’454 and ’035 Patents are all

directed to patent-ineligible subject matter.206 I disagree.

         186.    As a preliminary matter, Dr Van Ness’s opinions are conclusory and based

on a misreading of the claims—indeed, Dr. Van Ness’s opinions ignore the claims’ plain

language. The claims on their face say they are directed to methods of preparing non-

natural preparations, which I understand is patentable subject matter under controlling

Federal Circuit precedent. The Van Ness Declaration’s analysis is also flawed in that it is

based on limited sets of information. Dr. Van Ness relies on out of context positions taken

by Natera in other proceedings, regarding irrelevant CareDx/Stanford patents that are not


205
      Id. at ¶ 298.
206
      See Van Ness Decl. at § XI.


                                             102

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related to the patents at issue, with claims that are very different, and cherry-picked

statements in the patents themselves.207 I disagree with Dr. Van Ness’s approach and his

conclusions.      For example, statements Natera purportedly made about individual

techniques made in other proceedings are not relevant at least to the extent that, as I

understand from counsel, the character of the claims as a whole—i.e., the use of techniques

in the specific context recited in the claims—must be considered in determining eligibility.

         187.   As discussed infra, the Asserted Claims of the ’454 and ’035 Patents

represent new method of preparation methods for achieving useful results. Similarly, these

claimed methods are not routine, conventional, or well-understood, at least when they are

considered in the recited ordered combinations.208 The Van Ness Declaration fails to

evaluate the claimed methods according to the appropriate standards, which I have been

informed and understand represent the proper framework for the eligibility analysis.

         188.   I provide my specific opinions infra regarding patent-eligibility of the

Asserted Claims of the Natera Patents at step one and (if the Court reaches step two) at step

two of the patent-eligibility analysis. I reserve the right to offer additional opinions at

another time.




207
      Id. throughout.
208
    As noted supra, Dr. Van Ness has not located any prior art reference that even arguably
discloses all of the claimed limitation of any claim, and thus is not alleging any claim is
anticipated under Section 102 of the Patent Act.


                                            103

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                                       Appx18844
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         A.     The ’454 Patent Claims Are Patent-Eligible

                (i)   The ’454 Patent Claims Are Directed to Patent-Eligible Subject
                      Matter

         189.   Dr. Van Ness opines that the ’454 Patent claims are “methods of detection”

claims.209 I disagree. As a preliminary matter, I am unaware that patent claims for methods

of preparation useful for detecting SNVs are necessarily patent-ineligible and the Van Ness

Declaration does not identify such a principle.

         190.   Regardless, from my understanding of principles governing the “directed to”

analysis, I believe Dr. Van Ness’s analysis is flawed. It appears that Dr. Van Ness reaches

these opinions by focusing on certain claim limitations and excluding others. I am not

aware of a basis to exclude claim limitations in determining what claims are directed to.

Rather, I understand from counsel that the “directed to” analysis requires consideration of

the character of the claims as a whole. I note that the Van Ness Declaration does not assert

that Dr. Van Ness is considering the character of the claims as a whole. Additionally, I

understand from Dr. Van Ness’s testimony that he believes the Natera Patent claims are

ineligible because they “involve[]” detecting a natural phenomenon, such as DNA.

                Q.    And in determining, for your opinions in this case,
                      whether the Natera patents claims are directed to a
                      natural phenomenon, did you simply look as to whether
                      the claims involved natural phenomenon? Is that how
                      you did it?

                A.    That was one of the ways that I looked to see to see if it
                      was directed to a natural product. The claims define the
                      scope of the invention, and the scope of the invention

209
      See Van Ness Decl. at ¶¶ 305-310.


                                             104

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                                        Appx18845
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                      is related to whether that is involved in detecting a
                      natural product. So, yes, I did look at the claims to help
                      inform that decision.210

I am informed by counsel that the patent-eligibility determination requires more than

determining if the claims “involve” an ineligible concept. Rather, claims may be eligible

for patenting if they recite a method for achieving a new and useful result.

         191.   In my opinion, the Asserted Claims of the ’454 Patent are directed not to a

natural phenomenon, but rather to an inventive combination of specific laboratory

techniques, each of which requires significant human effort to perform. The combination

of techniques recited in the Asserted Claims of the ’454 Patent represents a novel and

innovative improvement over earlier methods of sample preparation, and which achieves

superior results. I discuss the advantages of the claimed methods in greater detail infra

with respect to step two of the eligibility analysis.

         192.   Notably, when performed in combination as recited in Asserted Claims of

the ’454 Patent, the claimed techniques recite methods for preparing both tumor DNA

samples and cfDNA samples in specific ways. This claimed method therefore represents

a new and useful method of sample preparation that can be used to yield a tangible and

useful result. This result is only achieved by the combination of specific laboratory

techniques that, together, represent a new and useful sample preparation method. The Van

Ness Declaration does not address the new and useful result achieved by the claimed




210
      See Van Ness Tr. at 59:10-23 (emphasis added).


                                             105

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                                        Appx18846
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combination of steps. Nor does this section of the Van Ness Declaration discuss certain

specific limitations recited in the claims, which I consider infra.

         193.   First, the Van Ness Declaration does not address that, in the ’454 Patent

preamble, the Asserted Claims expressly recite that they involve “[a] method of preparing

a sample.”211 I believe this limitation should be considered at least because, indeed, the

Asserted Claims of the ’454 Patent recite a specific protocol for preparing a sample and

that is what they are directed to. I discuss its steps in turn infra. One of the method’s steps

is a detecting step, but that is not the only step. Indeed, detection is only possible because

of the performance of the other steps of the claimed method that precede detection. Dr.

Van Ness acknowledged at his deposition that the ’454 Patent claims recite methods of

DNA manipulation. Dr. Van Ness also admitted that the ’454 Patent claims recite

amplifying specific numbers of SNV loci.

                Q.    Is it your contention that – I’m not asking you whether
                      you think they’re routine and conventional, just yes or
                      no whether they’re there. Is it your contention that
                      Claim 1 of the ’454 patent does not recite any methods
                      for manipulating DNA, amplifying and sequencing?

                A.    Claim 1 does discuss manipulating and performing
                      procedures on DNA and amplifying.212

                Q.    Okay. Do you disagree that the claims recite a specific
                      number of loci that are amplified?

                A.    It provides a range of 10 to 500.213
211
      See Van Ness Decl. at ¶¶ 314-317.
212
      See Van Ness Tr. at 88:25-89:11 (objection and colloquy omitted).
213
      Id. at 91:10-13 (emphasis added).


                                             106

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                                          Appx18847
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         194.   Second, the first-recited step of the Asserted Claims of the ’454 Patent

requires performing one of two specific sequencing techniques—whole genome

sequencing or whole exome sequencing—on a subject’s tumor sample in order to identify

a plurality of tumor-specific SNV mutations. Both techniques require significant human

effort and intervention to achieve. For example, I reproduce information infra about these

methods from a 2010 review214 I published regarding the use of next-generation sequencing

platforms to accomplish these techniques—a significant technical endeavor. One of

ordinary skill in the art would have understood that performance of these specific

sequencing techniques achieves a new and useful result—namely, the identification of a

cancer patient’s genomic sequences, either throughout the whole genome or in the entire

coding regions of the genome (i.e., all of the exons). Dr. Van Ness agrees, as he testified

at his deposition.

                Q.    Thank you. And do you – strike that. You would agree
                      that whole genome sequencing or whole exome
                      sequencing of DNA requires human intervention and
                      effort to perform?

                A.    DNA doesn’t sequence itself. It does take somebody to
                      do the process of the sequencing.215

         195.   As the Asserted Claims of the ’454 Patent recite, these comprehensive

sequencing approaches (compared to more limited approaches, e.g., identifying a few


  See Ex. 8, Metzker, Sequencing technologies — the next generation, NATURE REVIEWS
214

GENETICS, 11: 31-46 (2010) (“Metzker 2010”).
215
      See Van Ness Tr. at 89:14-21 (objection omitted, emphasis added).


                                            107

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                                       Appx18848
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cancer-associated biomarkers) permit identification of multiple tumor-associated SNVs

which will be unique for each subject.             Thus, the claims do not involve merely

“sequencing,” as Dr. Van Ness suggests.216 “Sequencing” alone would not have been

adequate to provide new and useful comprehensive information about a subject’s genome.

Rather, the ’454 Patent’s method—all of the recited steps—must be performed using the

specific recited techniques in order to obtain the genomic information needed to achieve a

new and useful result.

         196.      As referenced supra, my 2010 review exemplifies how the use of next-

generation sequencing (also known as massively parallel sequencing) platforms to

accomplish whole genome sequencing and whole exome sequencing involved significant

effort to design and implement—far more than merely “sequencing.”

                   The inexpensive production of large volumes of sequence data
                   is the primary advantage over conventional methods. Here, I
                   present a technical review of template preparation, sequencing
                   and imaging, genome alignment and assembly approaches, and
                   recent advances in current and near-term commercially
                   available NGS instruments.217

                   The ability to sequence the whole genome of many related
                   organisms has allowed large-scale comparative and
                   evolutionary studies to be performed that were unimaginable
                   just a few years ago.218

                   Here, I present a technical review of template preparation,
                   sequencing and imaging, genome alignment and assembly, and
                   current NGS platform performance to provide guidance on
216
      Id., e.g., at ¶¶ 318-328.
217
      See Metzker 2010 at Abstract.
218
      Id. at 31.


                                                108

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                                           Appx18849
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                   how these technologies work and how they may be applied to
                   important biological questions. I highlight the applications of
                   human genome resequencing using targeted and whole-
                   genome approaches, and discuss the progress and limitations
                   of these methods, as well as upcoming advances and the impact
                   they are expected to have over the next few years.219

                   Despite the substantial cost reductions associated with NGS
                   technologies in comparison with the automated Sanger
                   method, whole-genome sequencing is still an expensive
                   endeavour (see below). An interim solution to this problem
                   may be to use NGS platforms to target specific regions of
                   interest. This strategy can be used to examine all of the exons
                   in the genome, specific gene families that constitute known
                   drug targets or megabase-size regions that are implicated in
                   disease or pharmacogenetics effects through genome-wide
                   association studies. …. Although any of the NGS platforms can
                   perform the sequencing phase of targeted capture, some may
                   be better suited than others (Table 1).220

            197.   In addition to misapprehending the nature of the Asserted Claims, the Van

Ness Declaration’s analysis is deficient in that Dr. Van Ness does not address whole

genome sequencing or whole exome sequencing in his analysis of what the Asserted

Claims of the ’454 Patent are directed to. Nor does Dr. Van Ness explain his reasoning for

ignoring these claim limitations and others.

            198.   Third, beyond sequencing, the Asserted Claims of the ’454 Patent

additionally recite a specific protocol for amplifying cfDNA.221 This step requires one of

ordinary skill in the art to perform at least five specific activities, each of which requires



219
      Id.
220
      Id. at 41 (internal citations omitted).
221
      See ’454 Patent at 171:32-38.


                                                109

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significant human effort to design and implement. Specifically, the Asserted Claims of the

’454 Patent require [1] performing targeted multiplex amplification [2] which has been

designed to amplify 10 to 500 target loci each encompassing a different tumor-specific

SNV mutation from cell-free DNA [3] isolated from a plasma sample of the subject or

DNA derived therefrom [4] to obtain amplicons having a length of 50-150 bases, [5]

wherein the target loci are amplified together in the same reaction volume.222

            199.   Notably, targeted amplification in one reaction volume is one way to amplify

DNA (using human effort), but not the only way, as Dr. Van Ness acknowledged in his

deposition.

                   Q.    Thank you. You would agree that targeted multiplex
                         amplification to amplify 10 to 500 target loci, each
                         encompassing a different tumor-specific SNV mutation,
                         requires human intervention and effort to perform,
                         correct?

                   A.    Yes, there are a lot of humans that can do that, sure.

                   Q.    Okay. Do you disagree that claim 1 of the ’454 patent
                         recites a specific kind of amplification, which is
                         targeted multiplex amplification?

                   A.    It – it states that “Wherein” – “the target loci are
                         amplified together in the same reaction.” So there is a
                         statement there of amplifying target loci.223

                   Q.    Right. But targeted amplification is not the only way to
                         amplify DNA, right? Are there other ways to do it?



222
      Id.
223
      See Van Ness Tr. at 89:22-90:6 (objection and clarification by court reporter omitted).


                                                110

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                                           Appx18851
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                A.       Sure.224

                Q.       And there are ways of – of amplifying multiple targets
                         without amplifying them in the same reaction volume,
                         right?

                A.       You can amplify a target, one in every individual tube.
                         Certainly there are ways to amplify a single target in
                         one tube and a different target in another tube.225

         200.   In deposition, as previously discussed (Section II, supra), Dr. Van Ness

acknowledged particular and “unique” challenges associated with multiplex amplification

of cfDNA, in discussing amplification of different types of cfDNA (e.g., cfDNA from

patients who received an organ transplant, or pregnant women, or subjects with cancer).226

Dr. Van Ness admitted, for example, that “it’s not sufficient simply to isolate cell-free

DNA” in order to perform multiplex amplification in light of the challenges of working

with cfDNA.227 As Dr. Van Ness acknowledged, depending on the context of working

with particular cfDNA, different protocols “might be required for successful multiplex

amplification.”228

         201.   In combination, these approaches achieve a new and useful result of

efficiently amplifying a subject’s tumor-associated SNVs together. Notably, the targeted

amplification process generates DNA that did not previously exist in nature; that is, the


224
      Id. at 91:3-9 (objection omitted, emphasis added).
225
      Id. at 92:16-23 (objection omitted, emphasis added).
226
      Id. at 64:4-66:6 (objections, court reporter clarification, and colloquy omitted).
227
      Id. at 65:14-15.
228
      Id. at 65:4-6.


                                               111

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                                          Appx18852
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amplicons which are modified with additional DNA sequences necessary for the following

sequencing step. As explained infra, the specific claimed approach is also a material

improvement over prior art techniques because it avoids dividing the plasma sample into

individual reactions, an approach which would require more cfDNA starting material, and

may lead to biased results when the sample contains very low, and/or variable levels of

DNA, as in the case of ctDNA.

         202.   Fourth, the Asserted Claims of the ’454 Patent recite ultra-deep

sequencing—i.e., sequencing to a depth of read of 50,000 or more for each target SNV

locus.229 As explained supra, it was not common to sequence to this depth of read for a

variety of reasons. Doing so was expensive and time-consuming and, although increasing

read depth could under some conditions could improve sensitivity, ultra-deep sequencing

would not necessarily be useful for any particular purpose. I discuss certain limitations of

ultra-deep sequencing supra with respect to Forshew (2012). Thus, the combination of

sequencing to the claimed depth of read with the other steps of the method represented a

new and useful technique for sample preparation.

         203.   Accordingly, from my review of the Asserted Claims of the ’454 Patent, in

my opinion, their character as a whole is directed to eligible subject matter—a new and

useful method for sample preparation using a combination of specific laboratory

techniques. They are not, as Dr. Van Ness opines, directed to natural phenomenon or other




229
      Id. at 171:39-43.


                                            112

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ineligible subject matter.230     Moreover, as explained supra, the “detecting” step is

performed on DNA that did not exist in nature—i.e., amplicons from isolated cfDNA.

         204.    In reaching his contrary conclusions, Dr. Van Ness discusses other patents

from separate proceedings.231 I disagree with his assessment of these non-asserted patents

at least because those patents recite different limitations. The Van Ness Declaration does

not offer any reasoned basis to equate their recited combination to the combination recited

in the Asserted Claims of the ’454 Patent.

         205.    For all the aforementioned reasons, in my opinion that the Asserted Claims

of the ’454 Patent, when considered as a whole, are directed to patent-eligible subject

matter and step two of the patent-eligibility analysis is unnecessary. Even under an analysis

of step two, the Asserted Claims of the ’454 Patent should still be found patent-eligible, as

explained infra.

                 (ii)   The ’454 Patent Claims, Considered Individually and In
                        Combination, Are Not Routine or Conventional

         206.    The Van Ness Declaration opines that certain aspects of the claimed methods

of the ’454 Patent—sample preparation, amplification, and sequencing—were routine and

conventional.232 I agree that, considered independently and in isolation, these general

techniques were known in the art as of 2014-2015. This is not to say, however, that these

methods were routine or conventional, particularly in the context of working with tumor-


230
      See Van Ness Decl. at § XI.
231
      Id. at ¶ 310.
232
      Id. at ¶¶ 312-338.


                                             113

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associated cfDNA. In fact, as explained supra,233 this approach was challenging in many

respects even after the ’454 Patent’s priority date due in a large part to the difficulties in

identifying rare genetic variants over the background “noise” (errors) of the sample

preparation and sequencing techniques.

         207.   In any event, in my understanding, even if the recited limitations were

routine, conventional, or well-understood, that would not be sufficient to show patent

ineligibility, as the claim limitations must be considered both individually and as their

ordered combination. The Van Ness Declaration fails to consider the latter—whether the

’454 Patent limitations are well-understood, routine, or conventional in their ordered

combinations. In my opinion, these claim limitations when considered in their ordered

combination are not well-understood, routine, or conventional. Thus, the Asserted Claims

of the ’454 Patent should be deemed patent-eligible if the Court reaches step two of the

eligibility analysis.

         208.   When considered as an ordered combination, the method recited in the

Asserted Claims of the ’454 Patent is not routine or conventional at least because the

method’s ordered steps recite improved, inventive processes for sample preparation. The

ordered combination of steps improves upon prior art approaches in several respects, as

described infra.




233
      See Section II.


                                             114

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         209.   First, the claimed methods recited in the Asserted Claims of the ’454 Patent

require use of the specific laboratory techniques whole genome sequencing or whole

exome sequencing. This step provides holistic information about a specific person’s

genetic background—and not merely “sequencing,” which does not itself provide this

information.

         210.   Second, the methods can be used to prepare small amounts of cancer-

associated cfDNA, which are challenging to manipulate.234 The ’454 Patent specification

explains the inventiveness of the claimed approach:

                In another aspect, the present invention generally relates, at
                least in part, to improved methods of detecting single
                nucleotide variations (SNVs). These improved methods
                include improved analytical methods, improved bioassay
                methods, and improved methods that use a combination of
                improved analytical and bioassay methods. The methods in
                certain illustrative embodiments are used to detect, diagnose,
                monitor, or stage cancer, for example in samples where the
                SNV is present at very low concentrations … such as
                circulating free DNA samples. That is, these methods in
                certain illustrative embodiments are particularly well suited for
                samples where there is a relatively low percentage of a
                mutation or variant relative to the normal polymorphic alleles
                present for that genetic loci.235

                In certain preferred embodiments the sample is a single cell
                sample or a plasma sample suspected of containing
                circulating tumor DNA. These embodiments take advantage
                of the discovery that by interrogating DNA samples from
                single cells or plasma for CNVs and SNVs using the highly
                sensitive multiplex PCR methods disclosed herein, improved
                cancer detection can be achieved, versus interrogating for

234
      See Section II.
235
      See ’454 Patent at 44:6-21 (emphasis added).


                                              115

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                either CNVs or SNVs alone … The methods provided herein
                for detecting CNVs and/or SNVs in plasma of subjects …
                provide the advantage of detecting CNVs and/or SNVs from
                tumors that often are composed of heterogeneous cancer cell
                populations in terms of genetic compositions. Thus, traditional
                methods, which focus on analyzing only certain regions of the
                tumors can often miss CNVs or SNVs that are present in cells
                in other regions of the tumor.236

         211.   Third, the specific claimed approach recited in the Asserted Claims of the

’454 Patent is also an improvement over prior art techniques because amplifying the

targeted loci together, when done successfully as the ’454 Patent describes, is efficient.

This approach has the additional benefit of avoiding dividing the plasma sample into

individual reactions which may require more cfDNA starting material, lead to biased

results when the sample contains very low, and/or variable levels of tumor-associated

cfDNA.

                Improved PCR amplification methods have also been
                developed that minimize or prevent interference due to the
                amplification of nearby or adjacent target loci in the same
                reaction volume (such as part of the sample multiplex PCR
                reaction that simultaneously amplifies all the target loci).
                These methods can be used to simultaneously amplify nearby
                or adjacent target loci, which is faster and cheaper than having
                to separate nearby target loci into different reaction volumes so
                that they can be amplified separately to avoid interference.237

                The multiplex reaction methods provided herein, such as the
                massive multiplex PCR disclosed herein provide an exemplary
                process for carrying out the amplification reaction to help



236
      Id. at 147:22-45 (emphases added).
237
      Id. at 103:2-11 (emphasis added).


                                              116

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                attain improved multiplexing and therefore, sensitivity
                levels.238

                In an embodiment, the particular primers that are most likely
                to cause unproductive side reactions may be removed from the
                primer library to give a primer library that will result in a
                greater proportion of amplified DNA that maps to the genome.
                The step of removing problematic primers, that is, those
                primers that are particularly likely to firm [sic] dimers has
                unexpectedly enabled extremely high PCR multiplexing
                levels for subsequent analysis by sequencing.239

         212.   Fourth, the claimed methods recited in the Asserted Claims of the ’454 Patent

use the uncommon and expensive method of sequencing to a depth of read of 50,000 or

more.

                In certain aspects, the present invention provides a method for
                detecting cancer. The sample, it will be understood can be a
                tumor sample or a liquid sample, such as plasma, from an
                individual suspected of having cancer. The methods are
                especially effective at detecting genetic mutations such as
                single nucleotide alterations such as SNVs, or copy number
                alterations, such as CNVs in samples with low levels of these
                genetic alterations as a fraction of the total DNA in a sample.
                Thus the sensitivity for detecting DNA or RNA from a cancer
                in samples is exceptional. The methods can combine any or all
                of the improvements provided herein for detecting CNV and
                SNV to achieve this exceptional sensitivity.240

         213.   In addition to my opinions supra, I further note that the prior art cited by Dr.

Van Ness under Section 103 does not show that any reference teaches each and every

limitation of the claims, as arranged in the Asserted Claims of the ’454 Patent. The fact


238
      Id. at 64:58-62 (emphasis added).
239
      Id. at 105:54-61 (emphasis added).
240
      Id. at 63:53-65 (emphasis added).


                                              117

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that even combinations of references do not teach or suggest the claimed methods as recited

in the Asserted Claims of the ’454 Patent further supports my opinion that the ordered

combination of the claims was not routine, conventional, or well-understood in the art.

         B.     The ’035 Patent Is Patent-Eligible

                (i)    The ’035 Patent Claims Are Directed to Patent-Eligible Subject
                       Matter

         214.   Dr. Van Ness opines that the ’035 Patent claims are “methods of detection”

claims.241 I disagree. “Detecting” is not even a recited step in the methods claimed in the

’035 Patent.242

         215.   Regardless, from my understanding of principles governing the “directed to”

analysis, I believe the Van Ness Decl.’s analysis is flawed in several respects. Dr. Van

Ness reaches his opinion by focusing on certain claim limitations and excluding others. I

am unaware of a basis to exclude claim limitations in determining what claims are directed

to. Rather, I have been informed and I understand from counsel that the “directed to”

analysis requires consideration of the character of the claims as a whole, which the Van

Ness Decl. does not address. Indeed, Dr. Van Ness analyzes portions of the claims

individually. Additionally, I understand from Dr. Van Ness’s testimony243 that Dr. Van

Ness believes that the Asserted Claims of the ’035 Patent are ineligible because they




241
      See Van Ness Decl. at ¶¶ 341-347.
242
      See, e.g., ’035 Patent at 249:44-62.
243
      See Van Ness Tr. at 59:10-23, shown supra.


                                             118

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involve detecting a natural phenomenon, such as DNA or SNPs associated with cancer.244

I am informed by counsel that the patent-eligibility determination requires more than

determining if the claims “involve” an ineligible concept. Rather, claims may be eligible

for patenting if they recite a method for achieving a new and useful result.

         216.   In my opinion, the Asserted Claims of the ’035 Patent are directed not to a

natural phenomenon, but rather to an inventive combination of specific laboratory

techniques, each of which requires significant human effort to perform and which involve

modifying natural-occurring products as part of the process. Although these techniques

were previously known in the art, their combination as recited in the claims represents a

novel and innovative improvement over earlier methods of sample preparation that achieve

superior results. I discuss the advantages of the claimed methods in greater detail infra

with respect to step two of the eligibility analysis.

         217.   Notably, when performed in combination as recited in the Asserted Claims

of the ’035 Patent, the claimed techniques permit identification of 25-2,000 SNPs

associated with cancer using cfDNA, a DNA source that the art recognized as highly

challenging to manipulate successfully.245 This claimed method therefore represents a new

and useful method of sample preparation that can be used to yield a tangible and useful

result. This result is only achieved by the combination of specific laboratory techniques

that, together, represent a new and useful method of preparing cfDNA. The Van Ness


244
      See Van Ness Decl. at ¶¶ 341-347.
245
      See Section II.


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Decl. does not address the new, useful result achieved by the claimed combination. Nor

does Dr. Van Ness discuss certain specific limitations recited in the claims, which I

consider infra.

         218.   First, the Van Ness Declaration does not address that, in the ’035 Patent

preamble, the Asserted Claims of the ’035 Patent expressly recite that they involve “[a]

method for amplifying and sequencing DNA,” not “detecting.”246 I believe this limitation

should be considered at least because the Asserted Claims recite these specific techniques

in order to prepare the cfDNA sample. Detection is not a recited step anywhere in the

claimed methods. I discuss the claimed steps in turn infra.

         219.   Second, the first-recited step of the Asserted Claims of the ’035 Patent

requires performing two different steps, each of which depends upon human intervention

and effort. Specifically, it recites [1] tagging isolated cell free DNA with one or more

universal tail adaptors to generate tagged products, wherein [2] the isolated cell-free DNA

is isolated from a blood sample.247 To perform the method, cfDNA must be isolated and

then tagged with one or more universal tail adaptors. This approach generates tagged

products that are not found anywhere in nature.

         220.   Third, the Asserted Claim of the ’035 Patent recite a specific protocol for

amplifying cfDNA. This step requires specific technical approaches, each of which

requires significant human effort to design and implement. Specifically, the claims require


246
      See Van Ness Decl. at ¶¶ 341-382, where the preamble is not mentioned at all.
247
      See ’035 Patent at 249:44-49.


                                            120

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[1] amplifying the tagged products one or more times to generate final amplification

products, wherein [2] one of the amplification steps comprises targeted amplification of a

plurality of single nucleotide polymorphism (SNP) loci in a single reaction volume, [3]

wherein one of the amplifying steps introduces a barcode and one or more sequencing

tags.248 The products of this amplification step, which are barcoded and contain sequencing

tag(s), are not found anywhere in nature.

         221.   Fourth, the Asserted Claims of the ’035 Patent recite sequencing the plurality

of SNP loci on cfDNA by conducting massively parallel sequencing on the final

amplification products. Like the other recited preparation steps, the massively parallel

sequencing step requires significant human effort to implement and does not occur in

nature. Nor is massively parallel sequencing simply “sequencing,” as described supra It

requires certain sequencing equipment to perform and entails sequencing on a very large

scale—millions or billions of reads per each run of the instrument.

         222.   Accordingly, from my review of the Asserted Claims of the ’035 Patent, in

my opinion, their character as a whole is directed to eligible subject matter—a new and

useful method for sample preparation by amplifying and sequencing cfDNA using a

combination of specific laboratory techniques. Manipulating SNP-containing tumor-

associated cfDNA in this way would have been particularly challenging for reasons

explained supra.249 The combination of recited techniques transform DNA into artificial


248
      Id. at 249:50-57.
249
      See Sections II.


                                             121

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products with at least one universal tail adaptor, a barcode, and one or more sequencing

tags—products that are not found anywhere in nature. They are not, as Dr. Van Ness

opines, directed to natural phenomenon or any other ineligible subject matter.250

         223.    In reaching his contrary conclusions, Dr. Van Ness discusses other patents

from separate proceedings.251 I disagree with his assessment of these non-asserted patents

at least because those patents recite different limitations.. The Van Ness Declaration fails

to offer any reasoned basis to equate their recited combination to the combination recited

in the Asserted Claims of the ’035 Patent. Dr. Van Ness also discusses a claim amendment

during prosecution concerning sequencing SNPs “associated with cancer.”252 This does

not change my view as, e.g., sequencing cancer-associated SNPs represents a new and

useful result that Dr. Van Ness acknowledges was not found in the prior art [e.g., Chuu

(2012)253] as the ’035 Patent claims were allowable over Chuu (2012).

         224.    For all the aforementioned reasons, in my opinion the Asserted Claims of the

’035 Patent, when considered as a whole, are directed to patent-eligible subject matter and

step two of the patent-eligibility analysis is unnecessary. Even under an analysis of step

two, the Asserted Claims of the ’035 Patent should still be found patent-eligible, as

explained infra.


250
      See Van Ness Decl. at § XI.
251
      Id. at ¶¶ 345-346.
252
      Id. at ¶ 344.
253
    See Chuu & Rava, Methods of fetal abnormality detection, U.S. Patent 8,318,430
(2012) (“Chuu (2010)”).


                                              122

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                (ii)     The ’035 Patent Claims, Considered Individually and In
                         Combination, Are Not Routine or Conventional

         225.   The Van Ness Declaration opines that certain aspects of the claimed methods

of the ’035 Patent—tagging, amplification, and sequencing—were routine and

conventional.254        Even if, considered independently and in isolation, these general

techniques may have been known in the art as of 2011, this is not to say, however, that

these methods were routine or conventional, particularly in the context of working with

ctDNA. They were not, as explained supra.255

         226.   In any event, in my understanding, even if the recited limitations were

routine, conventional, or well-understood that would not be sufficient to show patent

ineligibility, as the claim limitations must be considered both individually and as their

ordered combination. The Van Ness Declaration fails to consider the latter—whether the

’035 Patent limitations are well-understood, routine, or conventional in their ordered

combinations. In my opinion, these claim limitations when considered in their ordered

combination are not well-understood, routine, or conventional.        In consequence, the

Asserted Claims of the ’035 Patent should be deemed patent-eligible if the Court reaches

step two of the eligibility analysis.

         227.   When considered as an ordered combination, the method recited in the

Asserted Claims of in the ’035 Patent is not routine or conventional at least because the



254
      See Van Ness Decl. at ¶¶ 348-381.
255
      See Section II.


                                              123

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method’s ordered steps recite improved, inventive processes for sample preparation. This

ordered combination improves upon prior art approaches in several respects, as described

infra.

         228.   First, as the ’035 Patent explains, certain problems in multiplex amplification

were not addressed by the prior art. These problems become more pronounced when the

number of reactions are performed in a single volume increases. One example is the

formation of “primer-dimers”—PCR primers that bind to each other rather than their

targets—which may reduce the amplification of certain targets. Another example is “allelic

bias,” where some targets are amplified more efficiently than others, skewing the

representative amounts of cancer-associated versus non-cancer-related cfDNA present in

the sample. As exemplified infra, the ’035 Patent identifies various limitations in prior art

techniques.

                Use of multiplex PCR can significantly simplify experimental
                procedures and shorten the time required for nucleic acid
                analysis and detection. However, when multiple pairs are
                added to the same PCR reaction, non-target amplification
                products may be generated, such as amplified primer dimers.
                The risk of generating such products increases as the number
                of primers increases. These non-target amplicons significantly
                limit the use of the amplified products for further analysis
                and/or assays. Thus, improved methods are needed to reduce
                the formation of non-target amplicons during multiplex
                PCR.256

                Currently, performing multiplex PCR reactions of more than
                5 to 10 targets presents a major challenge and is often
                hindered by primer side products, such as primer dimers, and

256
      See ’035 Patent at 3:4-14 (emphases added).


                                              124

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                other artifacts. When detecting target sequences using
                microarrays with hybridization probes, primer dimers and
                other artifacts may be ignored, as these are not detected.
                However, when using sequencing as a method of detection,
                the vast majority of the sequencing reads would sequence
                such artifacts and not the desired target sequences in a
                sample. Methods described in the prior art used to multiplex
                more than 50 or 100 reactions in one reaction volume followed
                by sequencing will typically result in more than 20%, and often
                more than 50%, in many cases more than 80% and in some
                cases more than 90% off-target sequence reads.257

                In general, to perform targeted sequencing of multiple (n)
                targets of a sample (greater than 50, greater than 100, greater
                than 500, or greater than 1,000), one can split the sample into
                a number of parallel reactions that amplify one individual
                target. This has been performed in PCR multiwell plates or
                can be done in commercial platforms such as the FLUIDIGM
                ACCESS ARRAY (48 reactions per sample in microfluidic
                chips) or DROPLET PCR by RAIN DANCE TECHNOLOGY
                (100 s to a few thousands of targets). Unfortunately, these
                split-and-pool methods are problematic for samples with a
                limited amount of DNA, as there is often not enough copies of
                the genome to ensure that there is one copy of each region of
                the genome in each well.258

                Disclosed herein are methods that permit the targeted
                amplification of over a hundred to tens of thousands of target
                sequences (e.g., SNP loci) from a nucleic acid sample such as
                genomic DNA obtained from plasma. The amplified sample
                may be relatively free of primer dimer products and have low
                allelic bias at target loci. If during or after amplification the
                products are appended with sequencing compatible adaptors,
                analysis of these products can be performed by sequencing.259




257
      Id. at 85:5-20 (emphases added).
258
      Id. at 85:21-33 (emphasis added).
259
      Id. at 86:2-10 (emphasis added).


                                              125

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         229.   The claimed methods of the ’035 Patent address these problems in inventive

ways that were not routine or conventional in 2011. Notably, the claimed approach recited

in the Asserted Claims of the ’035 Patent would have been technically challenging as of

the priority date. As one of ordinary skill in the art would have recognized, a mixture

containing cfDNA derived from both tumor cells and non-cancerous cells presents

particular challenges in multiplex amplification suitable for subsequent massively parallel

sequencing. This is due at least in part to the scarcity of tumor-derived cfDNA in the

sample. These challenges are magnified as the number of SNPs amplified within the single

reaction mixture increases. In overcoming these technical challenges, the ’035 Patent

teaches that its methods can be used to prepare small amounts of cancer-associated cfDNA,

which are challenging to manipulate, for example, because they are fragmented.260

                Primer tails may improve the detection of fragmented DNA
                from universally tagged libraries. If the library tag and the
                primer-tails contain a homologous sequence, hybridization can
                be improved (for example, melting temperature (TM) is
                lowered) and primers can be extended if only a portion of the
                primer target sequence is in the sample DNA fragment.261

         230.   Second, the specific claimed approach recited in the Asserted Claims of the

’035 Patent also represents an improvement over prior art techniques because amplifying

multiple targeted loci together, when done successfully as the ’035 Patent describes, is

efficient and provides more comprehensive genetic information than amplifying only one



260
      See Section II, supra.
261
      See ’035 Patent at 94:51-57 (emphasis added).


                                            126

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or a few targets. It reduces the time and operational complexity in a method that requires

processing and sequencing up to thousands of SNPs.

                Improved PCR amplification methods have also been
                developed that minimize or prevent interference due to the
                amplification of nearby or adjacent target loci in the same
                reaction volume (such as part of the sample multiplex PCR
                reaction that simultaneously amplifies all the target loci) …
                These methods can be used to simultaneously amplify nearby
                or adjacent target loci, which is faster and cheaper than
                having to separate nearby target loci into different reaction
                volumes so that they can be amplified separately to avoid
                interference.262

                Disclosed herein are methods that permit the targeted
                amplification of over a hundred to tens of thousands of target
                sequences (e.g., SNP loci) from a nucleic acid sample such as
                genomic DNA obtained from plasma. The amplified sample
                may be relatively free of primer dimer products and have low
                allelic bias at target loci. If during or after amplification the
                products are appended with sequencing compatible adaptors,
                analysis of these products can be performed by sequencing.263

                The use of tags on the primers may reduce amplification and
                sequencing of primer dimer products.264

                In an embodiment, a 10,000-plex PCR assay pool is created
                such that reverse primers have tails corresponding to the
                required reverse sequences required by a high throughput
                sequencing instrument. After amplification with the first
                10,000-plex assay, a subsequent PCR amplification may be
                performed using a another 10,000-plex pool having partly
                nested forward primers (e.g. 6-bases nested) for all targets and
                a reverse primer corresponding to the reverse sequencing tail
                included in the first round. This subsequent round of partly
                nested amplification with just one target specific primer and
262
      Id. at 101:29-41 (emphasis added).
263
      Id. at 86:2-10 (emphasis added).
264
      Id. at 55:11-12 (emphasis added).


                                              127

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                a universal primer limits the required size of the assay,
                reducing sampling noise, but greatly reduces the number of
                spurious amplicons. The sequencing tags can be added to
                appended ligation adaptors and/or as part of PCR probes, such
                that the tag is part of the final amplicon.265

         231.   Third, the claimed approach recited in the Asserted Claims of the ’035 Patent

is also advantageous because it has the additional benefit of avoiding dividing the plasma

sample into individual reactions. Dividing a cfDNA sample may lead to biased results

when, for example, the sample contains very low and/or variable levels of tumor-associated

cfDNA.

                For samples where either the overall sample or some
                subpopulation of DNA molecules is limited, splitting the
                sample would introduce statistical noise. In an embodiment,
                a small or limited quantity of DNA may refer to an amount
                below 10 μg, between 10 and 100 μg, between 100 μg and 1
                ng, between 1 and 10 ng, or between 10 and 100 ng. Note that
                while this method is particularly useful on small amounts of
                DNA where other methods that involve splitting into multiple
                pools can cause significant problems related to introduced
                stochastic noise, this method still provides the benefit of
                minimizing bias when it is run on samples of any quantity of
                DNA.266

                Note that this approach could be used to perform targeted
                amplification in a manner that would result in low levels of
                allelic bias for 50-500 loci, for 500 to 5,000 loci, for 5,000 to
                50,000 loci, or even for 50,000 to 500,000 loci. In an
                embodiment, the primers carry partial or full length sequencing
                compatible tags.267



265
      Id. at 91:4-18 (emphasis added).
266
      Id. at 84:51-62 (emphasis added).
267
      Id. at 86:54-60 (emphasis added).


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         232.   In addition to my opinions supra, I further note that the prior art cited by Dr.

Van Ness under Section 103 does not show that any reference teaches each and every

limitation of the claims, arranged as in the claim. The fact that even combinations of

references do not teach or suggest the claimed methods as recited further supports my

opinion that the ordered combination of the claims was not routine, conventional, or well-

understood in the art.

VIII. THE NATERA PATENTS ARE VALID UNDER SECTION 112

         233.   The Van Ness Declaration additionally opines that the Natera Patents are

invalid under Section 112 for lack of adequate written description. 268 I disagree with the

bases Dr. Van Ness contends are invalidating at least for the reasons explained infra. I

reserve the right to offer additional opinions at another time.

         234.   Notably, the Van Ness Declaration does not raise any challenge to the

Asserted Claims under either an indefiniteness or lack of enablement theory under Section

112. I therefore do not address these grounds herein. To the extent Dr. Van Ness raises

such a challenge in the future, I reserve the right to offer opinions in rebuttal.

         A.     The ’454 Patent Adequately Describes Whole Genome Sequencing

         235.   The Van Ness Declaration contends that there is no description of “whole

genome sequencing” in the ’454 Patent.269 This is incorrect and I disagree with Dr. Van




268
      See Van Ness Decl. at ¶¶ 404-426.
269
      Id. at ¶¶ 405-407.


                                              129

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Ness. Further, the Van Ness Declaration’s analysis is flawed in several respects, as

described infra.

         236.   First, I note that his belief is informed by his review of Jamal-Hanjani Thesis

(2015)270 and the testimony of a Natera witness, Bernhard Zimmermann.271 It is my

understanding from counsel that the adequacy of a patent’s written description is

determined based on the written description within the four corners of that patent, and from

the perspective of one of ordinary skill in the art. The Jamal-Hanjani Thesis (2015) is a

separate document and not part of the patent’s four corners—for example, not incorporated

by reference. The Van Ness Declaration does not contend otherwise. Dr. Zimmermann’s

testimony is also not part of the patent disclosure. Therefore, to the extent that the opinions

expressed in the Van Ness Declaration are founded on these extrinsic sources of

information, it is my understanding that Dr. Van Ness has misapplied the relevant legal

principles governing written description.

         237.   Second, the ’454 Patent explicitly uses the words “whole genome

sequencing” to describe experimental results reported in the ’454 Patent. I reproduce this

teaching infra. In the accompanying Figure 51B, the ’454 Patent reports data on certain




270
     See Dkt. 118-1, Jamal-Hanjani, The role of intratumour heterogeneity and
chromosomal instability in cancer, University College London, PhD Supervisor: Professor
Charles Swanton; A thesis submitted for the degree of Doctor of Philosophy, University
College London (“Jamal-Hanjani Thesis (2015)”).
271
      See Van Ness Decl. at ¶¶ 406-407.


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genes, which could be captured either by whole genome sequencing or by whole exome

sequencing.

                FIG. 51A represents the histological finding/history for
                primary lung tumors analyzed for clonal and subclonal tumor
                heterogeneity. FIG. 51B is a table of the VAF identities of the
                biopsied lung tumors by whole genome sequencing and
                assaying by AmpliSEQ.272
                Sa mole   Gene      Chr      ChrSlart       VAF R1           VAF R2        VAF R3
                L12       BRIPl     chr17       59924572             14                6             8
                L12       CARS      chrll        3062181             22               11            16
                L12       CIC       chr19       42797381              0                0             7
                L12       CV FIPl   chr15       22940 733             0                6             0
                L12       FATl      chr4       187519147              8                4             0
                L12       K0M6A     chrX        44921898             10                s             0
                L12       MLLT4     chrG       168347475              9                3             0
                L12       NFE2L2    chr2       178098801             69               31            so
                L12       RASAl     chr5        86642517              7                0             0
                L12       TP53      cnr17        7578406             L3                9            17




                                               •
                L12       TP53      chr17        7578190             22                8            16

                Ll3       EGFR      chr7                             21               2S            ss
                L13       EGFR      chr7                             20               17            48
                L13       HERC4     chr10                             0                3             6
                L13       JAK2      chr9                              0               11             7
                Ll3       KMT2C     chr7       151947008              0                0             4
                L13       MSH2      chr2        47693816              5                0            11
                Ll3       MTOR      chrl        11292495              2                0             3
                Ll3       PLCG2     chr16       81942036              5                0             6
                Ll3       TP53      chr17        7579509              7                4            16

                LlS       ALK       chr2        29940530                 E             2
                LlS       GABRGl    chr4        46060315             1                 0
                LlS       KDM6A     chrX        44922755             1                 6
                LlS       MLL2      ch r12      49443815                               0
                LlS       ROSl      chr6       117687379             1                 3
                LlS       SLC39A4   chrS       145638322             1                 0
                LlS       TP53      chr17        7578254             1!                3
                LlS       ZFHX4     ch r8       77776735             13                5
                LlS       ZMYM4     ch rl       35827319             14                2

                L17       BRCA2     chr13       32914959             16               28             0
                L17       KRAS      chr12       25398284             13               22             0
                L17       NFl       chr17       29653 134            20               2S             0
                L17       NF1       chr17       29528088              0                0            20
                L17       PAX8      chr2       113984793              9                0             0
                Ll7       TP53      chr17        7577610              0                0            16
                L17       TPS3      chr17        7577079             20               35             0
                L17       TR IM67   chrl       231299607              0               so             0
                L17       TR IP11   chr14       92471631              7                0             0

                                              FIG. 51B


         238.   Separately, the ’454 Patent also refers to whole exome sequencing in

Example 13, but it does not state that only whole exome sequencing was performed. At

most, the ’454 Patent’s disclosures reflect an ambiguity or typographical error (e.g.,

referring to whole exome when whole genome was actually performed).




272
      See ’454 Patent at 41:57-61 (emphasis added).


                                                                                 131

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         239.    In any event, this ambiguity would not have taught one of ordinary skill in

the art that the inventors did not possess the use of whole genome sequencing in the context

of the claimed methods. To the contrary, whole exome sequencing is a modification of

whole genome sequencing, in which specific portions of the genome (the protein-coding

portions, called exons) are targeted and enriched. Thus, by the ’454 Patent’s plain

language, one of ordinary skill in the art would have understood that the named inventors

possessed the use of both whole genome sequencing and whole exome sequencing to

achieve the claimed methods.

         240.    Third, the Van Ness Declaration does not dispute that whole genome

sequencing was well-known in the art in 2014-2015. On the contrary, in the Van Ness

Declaration’s opinions regarding Section 101, Dr. Van Ness asserts that “[w]hole genome

sequencing and whole exome sequencing were well known to a POSA.”273 Dr. Van Ness

points to multiple sources for the proposition that whole genome sequencing was a routine

and conventional technique in the 2014-2015 time period and acknowledges that “the ’454

Patent cites to a wealth of prior art publications describing routine, standard, gene

sequencing techniques known in the art, including whole genome sequencing.”274

         241.    As to the general technique of whole genome sequencing, I agree with the

Van Ness Declaration that whole genome sequencing was well known in the art before

2014-2015. As Dr. Van Ness admits, multiple prior art references cited in the ’454 Patent


273
      See Van Ness Decl. at ¶ 318.
274
      Id. at ¶ 320.


                                             132

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describe the use of this technique for various purposes.275 Even looking beyond the ’454

Patent, other prior art describes the use of this technique, further establishing that it was

known in the art. As one example, in 2010, I published Metzker (2010), which is a review

discussing the use of whole genome sequencing for various purposes. I excerpt infra Table

1276 from that review that illustrates certain early “biological applications” that could be

achieved using whole genome sequencing and whole exome sequencing approaches.

These biological applications had been performed using commercially-available next-

generation sequencing technologies.




275
      Id.
276
      See Metzker (2010) at Table 1.


                                            133

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          Table 1 I Compari:o n of next··g •n•r• tion : equ e ncin g pla tform:.
          Platform       Library/      NGS         Read     Run       Cb     Machine Pros               Cons            Biological
                         t emplate    chemistry length time    per           cost                                       applica tions
                         prepara tion           (bases) (days) run           (USS)
          Roche/ 454's   Frog.MP/      PS          330'     0.35      0.45   500,000   Longer reads     High reagent    Bacterial and insect
          GSFLX          eml'CR                                                        improve          cost:high       genome de novo
          Titanium                                                                     mapping in       error rates     assemblies: medium
                                                                                       repetit ive      in homo-        scale (<3 Mb) exome
                                                                                       regions: fast    polymer         capture: 165 in
                                                                                       run t imes       repeats         metagenomics
          lllumina/      Frog.MP/      RTs         75 or    4 1.9§    181.   540,000   Currently the    Low             Variant discovery
          Solexa's GA,   solid-phase               100                351              most widely      multiplexing    by whole-genome
                                                                                       used platform    c,,pabilityof   resequencing or
                                                                                       in the field     samples         whole-exome capture:
                                                                                                                        gene discovery in
                                                                                                                        metagenomics
          Life/APG's     Frag.MP/      Cleavable   so       7'. 141   301.   S9S.000   Two-base         Long run        Variant discovery
          SOLlD3         eml'CR        probeSBL                       so•              encoding         t imes          by w hole-genome
                                                                                       provides                         resequencing o r
                                                                                       inherent error                   whole-exome capture:
                                                                                       correction                       gene discovery in
                                                                                                                        meta9enomics
          Polonator      MP only/      Non-        26       Sl        121    170,000   least            Users are       Bacterial genome
          G.007          eml'CR        cleavable                                       expensive        required to     resequencing for
                                       probeSBL                                        platform;        maintain        variant discovery
                                                                                       open source      and quality
                                                                                       to adapt         control
                                                                                       alternat ive     reagents:
                                                                                       NGS              shortest NGS
                                                                                       chemistries      read lengths
          Helicos        Frog.MP/      RTs         32'      8'        371    999,000   Non-bias      High e rror        Seq-based methods
          BioSciences    single                                                        representationrates
          HeliScope      molecule                                                      of templates  compared
                                                                                       for genome    with other
                                                                                       and seq-based reversible
                                                                                       applications  termiMtor
                                                                                                     chemistries
          Pacific        Fragonly/     Real-time   964'     N/A       N/A    N/A       Has the          Highest         Full- length
          Biosciences    single                                                        greatest         error rates     transcriptome
          (target        molecule                                                      potential        compared        sequencing:
          release:                                                                     for reads        with other      complements other
          2010)                                                                        exceeding        NGS             re!;equenc ing efforts
                                                                                       1 kb             chemistrie!;    in discovering large
                                                                                                                        structural varia nts and
                                                                                                                        haplotype blocks




       242.       Fourth, it is my understanding that a patent does not need to describe an

invention in the exact same words as recited in the claim as long as one of ordinary skill in

the art would have understood that the named inventors were in possession of that aspect

of the invention. From my review of the ’454 Patent, it describes the use of whole genome

sequencing in different words than simply calling out the technique’s specific name. In

other words, the ’454 Patent describes familiar applications of whole genome sequencing

which one of ordinary skill in the art would have recognized as such despite not referring

to those applications as involving whole genome sequencing.




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         243.   For example, the ’454 Patent describes a technique called “long read

sequencing.”277 As one application of this technique, the ’454 Patent describes “phasing,”

which is a method to sequence long stretches of DNA on the same chromosome.278

“Phasing refers to the act of determining the haplotypic genetic data of an individual given

unordered, diploid (or polyploidy) genetic data.”279 The ’454 Patent describes “Exemplary

Methods for Phasing Genetic Data” across several columns.280 These techniques form

“long haplotype contigs” of DNA—i.e., reassembling the genome from the phased

sequencing data. “After sequencing, the computational steps involve … assembling the

fragments at their overlapping heterozygous SNVs into haplotype blocks, and phasing the

blocks statistically based on a phased reference panel and producing long haplotype

contigs.”281 Such approaches could be performed, for example, using Illumina’s Moleculo

Technology described in the ‘’454 Patent, which one of ordinary skill in the art would have



277
   See ’454 Patent at 116:20-35; 112:50-56; see also Ex. 9, Kuleshov et al., Whole-genome
haplotyping using long reads and statistical methods, NATURE BIOTECHNOLOGY 32:261-
266 (2014) (“Kuleshov (2014)”) (“Here we describe statistically aided, long-read
haplotyping (SLRH), … For a human sample, as little as 30 Gbp of additional sequencing
data are needed to phase genotypes identified by 50× coverage whole-genome
sequencing”) at Abstract (emphases added); see also Ex. 10, GenomeWeb article dated
March 5, 2014 describing that “Stanford University was an early-access user of Moleculo
technology, and researchers there detailed in a Nature Biotechnology publication last
week …Volodymyr Kuleshov, a former consultant with Moleculo, now a member of Mike
Snyder’s Stanford laboratory and also the lead author of the paper.”
278
      Id. at 115:7-34; 116:20-123:3.
279
      Id. at 32:35-37.
280
      Id. at 123:3-127:46.
281
      Id. at 116:20-35.


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understood can perform whole genome sequencing.282 “In some embodiments, a haplotype

of an individual is determined by long read sequencing, such as by using the Moleculo

Technology developed by Illumina.”283

         244.   The ’454 Patent describes other techniques that could perform whole genome

sequencing, including whole genome amplification (WGA) methods.

                In some embodiments, whole genome application [sic] (WGA)
                is used to amplify a nucleic acid sample. There are a number
                of methods available for WGA: ligation-mediated PCR (LM-
                PCR), degenerate oligonucleotide primer PCR (DOP-PCR),
                and multiple displacement amplification (MDA).284

One of ordinary skill in the art would have understood that these descriptions implicate the

use of whole genome sequencing, despite not being described using that specific phrase.

         245.   I understand from his deposition that Dr. Van Ness did not consider the ’454

Patent’s disclosure of long-read sequencing, described supra, in rendering his opinions. I

note Dr. Van Ness agrees with me that one of ordinary skill in the art would have

understood that long-read sequencing can achieve whole genome sequencing.

                Q.       Okay. Thank you. Have you heard the concept of long-
                         read sequencing?

                A.       Yes.

                Q.       You don’t discuss long-read sequencing in your
                         declaration, correct?



282
      See Kuleshov (2014) at Abstract.
283
      ’454 Patent at 116:20-22.
284
      Id. at 96:30-34.


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                A.    I don’t see any reference to long-read – I’m not sure if I
                      saw a reference to long-read sequencing. I did not
                      discuss it. I discuss next-gen sequencing. Long-read
                      sequences -- sequencing is one of the concepts of next-
                      gen sequencing.

                Q.    You agree that persons of skill in the art would
                      understand that long-read sequencing can achieve
                      whole genome sequencing?

                A.    It can achieve it.

                Q.    And do you have any understanding of whether the ’454
                      patent describes long-read sequencing? Did you
                      consider that?

                A.    I did not consider that.285

         246.   Dr. Van Ness also agreed that with my opinions regarding phasing and

determining a haplotype, but did not consider the ’454 Patent’s disclosures of those

techniques in rendering his opinions.

                Q.    You would agree that phasing is performed using whole
                      genome sequencing?

                A.    It’s one of the components of analyzing the data and
                      coming up with a whole genome sequence.

                Q.    And do you have any understanding of whether the ’454
                      patent describes phasing?

                A.    I don’t recall.

                Q.    Did you consider any discussion in the ’454 patent of
                      phasing in forming your opinions regarding written
                      description of whole genome sequencing?


285
      See Van Ness Tr. at 269:17-270:14 (emphases added).


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                A.     I did not consider that.

                Q.     Did you consider any discussion in the ’454 patent of
                       phasing in forming your opinions regarding written
                       description of whole genome sequencing?

                A.     I did not consider that.

                Q.     Determining a haplotype of an individual is a way of --
                       involves whole genome sequencing, correct?

                A.     It can. It’s not the only way.

                Q.     But a person of skill in the art would understand that
                       whole genome sequencing can be used to determine the
                       haplotype of an individual, correct?

                A.     It can.

                Q.     And you -- you didn’t consider determining haplotypes
                       of individuals in formulating your written description
                       opinions regarding the ’454 patent?

                A.     I -- it was not an issue of -- that I considered to reflect
                       any kind of lack of description, so I -- I did not consider
                       it.286

         247.   From these disclosures, one of ordinary skill in the art would have recognized

that the named inventors were in possession of whole genome sequencing to perform the

claimed methods.       This is in addition to the explicit reference to “whole genome

sequencing” in the ’454 Patent. as described supra.




286
      Id. at 271:5-272:11 (emphases added).


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         B.      The ’454 and ’035 Patents Adequately Describe the Claimed Methods

         248.    The Van Ness Declaration asserts that the Natera Patent claims are also

invalid for failure to describe techniques of PCR amplification without the use of

techniques for selecting primers, e.g., to avoid primer dimers.287 Relatedly, the Van Ness

Declaration contends that Dr. Van Ness does not “believe there is any embodiment that

discloses the elements of the claimed inventions of the ’454 or ’035 Patents as arranged in

the claims.”288 I disagree with his contentions as explained supra. In my opinion, one of

ordinary skill in the art would have recognized that the named inventors of the Natera

Patents were in possession of the claimed methods as of the Natera Patents’ respective

priority dates.

                 (i)    The Patents Adequately Describe Methods that Do Not Require
                        Selecting Primers to Avoid Primer Dimers

         249.    As an initial matter, I note that it is technically feasible to perform multiplex

PCR without taking steps to avoid primer dimers, as usable sequencing data can be

obtained even if primer dimers are generated. As the ’035 Patent notes, only a small

number of “bad” primers are responsible for forming the majority of the observed primer

dimers in any reaction—thus, most amplifications will avoid primer dimer formation

without involving primer selection approaches.289 “The present invention is based in part



287
     A “primer dimer” occurs when primers intended to amplify a target DNA sequence
instead bind and amplify each other; see also Van Ness Decl. at ¶¶ 409-426.
288
      Id. at ¶ 414.
289
      See ’035 Patent at 48:30-47.


                                                139

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on the surprising discovery that often only a relatively small number of primers in a library

of primers are responsible for a substantial amount of the amplified primer dimers that

form during multiplex PCR reactions.”290

         250.   Even in the situation where the correctly-amplified (targeted) product

represents a minor fraction of the amplification and the (off-target) primer dimers represent

the major fraction, next-generation sequencing technology permits excluding primer

dimers by size selection in the library preparation workflow. For example, the primer

dimers are comparatively small relative to the targeted amplicon, they can be excluded

from analysis on the basis of size. One relatively simple method for doing this that was

known to one of ordinary skill in the art was to gel-purify or SPRI purify the amplicons.291

         251.   Indeed, the ’454 Patent explains that avoiding primer dimers is merely an

optional component of the claimed methods, albeit an advantageous one.

                Exemplary Primer Design Methods
                If desired, multiplex PCR may be performed using primers
                with a decreased likelihood of forming primer dimers. In
                particular, highly multiplexed PCR can often result in the
                production of a very high proportion of product DNA that
                results from unproductive side reactions such as primer dimer
                formation. In an embodiment, the particular primers that are
                most likely to cause unproductive side reactions may be
                removed from the primer library to give a primer library that




290
      Id. at 46:37-41 (emphases added).
291
    See Meyer (2010) at 5 “Carboxyl-coated magnetic beads (SPRI beads) are ideally suited
for reaction purification in a 96-well plate setup. However, under the conditions described
here, SPRI purification does not retain molecules shorter than 100-150 bp.” (emphasis
added.)

                                             140

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                will result in a greater proportion of amplified DNA that maps
                to the genome.292

         252.   Similarly, one of ordinary skill in the art would have understood that the ’035

Patent teaches that primers do not need to be designed to avoid primer dimers, although it

could be beneficial in some instances to do so. The ’035 Patent explains, for example that

“[i]n some embodiments, the test primers are selected from a library of candidate primers

based at least in part on the ability of the candidate primers to form primer dimers.”293

“The amplified sample may be relatively free of primer dimer products and have low allelic

bias at target loci.”294

         253.   Consistent with this statement, the ’035 Patent describes methods of

performing PCR that do not include designing primers to avoid the formation of primer

dimers although it would be desirable and standard practice in the art to do so. 295 For

example, the ’035 Patent describes that “using lower primer concentrations and much

longer annealing times than normal increases the likelihood that the primers hybridize to

the target loci instead of hybridizing to each other and forming primer dimers.”296 In

another amplification strategy, the primers’ “annealing temperature for the reaction




292
      See ’454 Patent at 105:48-58 (emphases added).
293
      See ’035 Patent at 11:29-31.
294
      Id. at 86:5-7 (emphasis added).
295
      Id. at 48:30-47.
296
      Id. at 46:51-55.


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conditions is greater than a melting temperature.”297 The ’035 Patent also teaches other,

different methods of improving the quality of its amplification results, for example, by

avoiding allelic bias.298 “A number of methods are described herein that may be used to

preferentially enrich a sample of DNA at a plurality of loci in a way that minimizes allelic

bias.”299 Dr. Van Ness also testified that it would be feasible to avoid allelic bias.

                Q.        What if you know that there are certain target loci that
                          lead to allelic bias and you design your PCR multiplex
                          assay to avoid those loci? Would that be one way to
                          avoid allelic bias?

                A.        Yeah, that is sort of a – I mean, hypothetically, sure, if
                          you wanted to eliminate certain targeted sequences
                          because you couldn’t accurately develop the allelic
                          representation, you could just avoid them just by not
                          including primers to amplify those particular
                          sequences. Sure, hypothetically.300

         254.   The Natera Patents therefore contemplate that primer dimers can be present

at some level. This is also reflected in the following disclosures.

                In various embodiments, less than 60, 50, 40, 30, 20, 10, 5, 4,
                3, 2, 1, 0.5, 0.25, 0.1, or 0.05% of the amplified products are
                primer dimers.301

                In some embodiments, (i) less than 60% of the amplified
                products are primer dimers and at least 40% of the amplified
                products are target amplicons, (ii) less than 40% of the
                amplified products are primer dimers and at least 60% of the

297
      Id. at 4:30-31.
298
      Id. at 86:2-10.
299
      Id. at 197:52-54.
300
      See Van Ness Tr. at 276:3-15 (objection omitted, emphasis added).
301
      See ’454 Patent at 98:18-21.


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                amplified products are target amplicons, (iii) less than 20% of
                the amplified products are primer dimers and at least 80% of
                the amplified products are target amplicons, (iv) less than 10%
                of the amplified products are primer dimers and at least 90%
                of the amplified products are target amplicons, or (v) less than
                5% of the amplified products are primer dimers and at least
                95% of the amplified products are target amplicons.302

         255.   Moreover, any avoidance of primer dimers during the 2011-2015 time period

was not novel or inventive. By 2011, one of ordinary of skill in the art would have been

familiar with multiplex PCR amplification. Even in well-functioning assays at that time,

primer dimers would have been likely to occur. Although it would not have been necessary

to design primers to avoid primer dimers, there were known methods to do so.

                (ii)   The Natera Patents Contain Examples of the Claimed Methods

         256.   I am informed by counsel that the adequacy of written description does not

require any particular form of disclosure, and that, for example, examples are not required.

The Natera Patents adequately describe the claimed methods, including with the use of

Examples. For example, the Asserted Claims of the ’454 Patent recite the following.

                Claim 1: A method for preparing a plasma sample of a subject
                having cancer or suspected of having cancer useful for
                detecting one or more single nucleotide variant (SNV)
                mutations in the plasma sample, the method comprising:
                performing whole exome sequencing or whole genome
                   sequencing on a tumor sample of the subject to identify a
                   plurality of tumor-specific SNV mutations;
                performing targeted multiplex amplification to amplify 10 to
                   500 target loci each encompassing a different tumor-
                   specific SNV mutation from cell-free DNA isolated from a
                   plasma sample of the subject or DNA derived therefrom to
                   obtain amplicons having a length of 50-150 bases, wherein
302
      See ’035 Patent at 22:3-14.


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                   the target loci are amplified together in the same reaction
                   volume; and
                sequencing the amplicons to obtain sequence reads, and
                   detecting one or more of the tumor-specific SNV mutations
                   present in the cell-free DNA from the sequence reads,
                   wherein the sequencing has a depth of read of at least
                   50,000 per target locus.

                Claim 8: The method of claim 1, wherein the targeted
                multiplex amplification amplifies 20 to 50 target loci each
                encompassing a different tumor-specific SNV mutation.

                Claim 11: The method of claim 1, wherein the method further
                comprises performing barcoding PCR prior to the sequencing.

         257.   Such limitations are described throughout the ’454 Patent, including the

legend of Fig. 51B described supra. Exemplary disclosures from the specification are

reproduced infra, including from the ’454 Patent’s description of “Exemplary Sample

Preparation Methods.”

                Exemplary Sample Preparation Methods
                In some embodiments, the method includes isolating or
                purifying the DNA and/or RNA.303

                In some embodiments, whole genome application (WGA) is
                used to amplify a nucleic acid sample. There are a number of
                methods available for WGA: ligation-mediated PCR (LM-
                PCR), degenerate oligonucleotide primer PCR (DOP-PCR),
                and multiple displacement amplification (MDA). In LM-PCR,
                short DNA sequences called adapters are ligated to blunt ends
                of DNA.304

                In some embodiments, PCR (referred to as mini-PCR) is used
                to generate very short amplicons (U.S. application Ser. No.
                13/683,604, filed Nov. 21, 2012, U.S. Publication No.

303
      See ’454 Patent at 95:41-43.
304
      Id. at 96:30-36.


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                2013/0123120, U.S. application Ser. No. 13/300,235, filed
                Nov. 18, 2011, U.S. Publication No 2012/0270212, filed Nov.
                18, 2011, and U.S. Ser. No. 61/994,791, filed May 16, 2014,
                which are each hereby incorporated by reference in its
                entirety).305

                In some embodiments, multiplex PCR is used. In some
                embodiments, the method of amplifying target loci in a nucleic
                acid sample involves (i) contacting the nucleic acid sample
                with a library of primers that simultaneously hybridize to least
                100; 200; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
                20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or 100,000
                different target loci to produce a reaction mixture; and (ii)
                subjecting the reaction mixture to primer extension reaction
                conditions (such as PCR conditions) to produce amplified
                products that include target amplicons. In some embodiments,
                at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the
                targeted loci are amplified. In various embodiments, less than
                60, 50, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or 0.05% of
                the amplified products are primer dimers.306

                The selective enrichment and/or amplification may involve
                tagging each individual molecule with different tags,
                molecular barcodes, tags for amplification, and/or tags for
                sequencing. In some embodiments, the amplified products are
                analyzed by sequencing (such as by high throughput
                sequencing) or by hybridization to an array, such as a SNP
                array, the ILLUMINA INFINIUM array, or the
                AFFYMETRIX gene chip.307

         258.   The ’454 Patent also teaches that “[i]n certain embodiments, a depth of read

of greater than … 50,000, or 100,000 on the low end of the range and … 50,000, 100,000,

250,000 or 500,000 reads on the high end, is attained in the sequencing run for each single



305
      Id. at 97:13-20.
306
      Id. at 98:7-21.
307
      Id. at 98:35-42.


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nucleotide variant position in the set of single nucleotide variant positions.”308 In other

examples of amplifying SNV loci, for example, the inventors “observed improved DOR

efficiency with increasing cycles,” and “[t]he limit of detection decreased (i.e. SNV

sensitivity increased) with increasing depth of read.”309          Moreover, the ’454 Patent

describes “exemplary methods for calculating the limit of detection for any of the methods

of the invention,” including methods “used to calculate the limit of detection for single

nucleotide variants (SNVs) in a tumor biopsy.”310

         259.   The ’035 Patent claims are also adequately described. The Asserted Claims

of the ’035 Patent recite the following.

                Claim 1: A method for amplifying and sequencing DNA,
                comprising:
                tagging isolated cell free DNA with one or more universal tail
                   adaptors to generate tagged products, wherein the isolated
                   cell-free DNA is isolated from a blood sample collected
                   from a subject who is not a pregnant women;
                amplifying the tagged products one or more times to generate
                   final amplification products, wherein one of the
                   amplification steps comprises targeted amplification of a
                   plurality of single nucleotide polymorphism (SNP) loci in
                   a single reaction volume, wherein one of the amplifying
                   steps introduces a barcode and one or more sequencing
                   tags; and
                sequencing the plurality of SNP loci on the cell free DNA by
                   conducting massively parallel sequencing on the final
                   amplification products, wherein the plurality of SNP loci
                   comprises 25-2,000 loci associated with cancer.



308
      Id. at 68:33-39.
309
      Id. at 169:57-62, citing to Figs. 55-61.
310
      Id. at 157:51-55, citing to Example 6.


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                Claim 12: The method of claim 1, wherein the one or more
                universal tail adaptors comprise a first universal tail adaptor
                and a second universal tail adaptor.

                Claim 13: The method of claim 12, wherein tagging the cell
                free DNA comprises amplifying the cell free DNA with a first
                primer comprising the first universal tail adaptor and a second
                primer comprising the second universal tail adaptor.

         260.   Such limitations are adequately described at, e.g., the following disclosures

in the ’035 Patent:

                Disclosed herein are methods that permit the targeted
                amplification of over a hundred to tens of thousands of target
                sequences (e.g., SNP loci) from a nucleic acid sample such as
                genomic DNA obtained from plasma.311

                The workflow may entail (1) extracting DNA such as plasma
                DNA, (2) preparing fragment library with universal adaptors
                on both ends of fragments, (3) amplifying the library using
                universal primers specific to the adaptors, (4) dividing the
                amplified sample “library” into multiple aliquots, (5)
                performing multiplex (e.g. about 100-plex, 1,000, or 10,000-
                plex with one target specific primer per target and a tag-
                specific primer) amplifications on aliquots, (6) pooling
                aliquots of one sample, (7) barcoding the sample, (8) mixing
                the samples and adjusting the concentration, (9) sequencing the
                sample. The workflow may comprise multiple sub-steps that
                contain one of the listed steps (e.g. step (2) of preparing the
                library step could entail three enzymatic steps (blunt ending,
                dA tailing and adaptor ligation) and three purification steps).
                Steps of the workflow may be combined, divided up or
                performed in different order (e.g. bar coding and pooling of
                samples).312




311
      See ’035 Patent at 86:2-5.
312
      Id. at 86:61-87:10.


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         261.   The ’035 Patent further describes that its methods “are especially useful

when the sample of DNA is particularly small, or when it is a sample of DNA where the

DNA originates from more than one individual.”313 The ’035 Patent further describes that

its methods may be “used in the case where cells of different genetic constitution may be

present in a single individual, such as with cancer.”314

                (iii)    The ’035 Patent Adequately Describes Use of Universal Tail
                         Adaptors

         262.   Relatedly, Dr. Van Ness opines in conclusory fashion that the ’035 Patent

does not adequately describe the use of universal tail adaptors.315 I disagree as there is

adequate written description of the use of such adaptors in the ’035 Patent specification.

In addition to the disclosure supra, the ’035 Patent describes these adaptors as described

infra.

                Universal Adapters, or ‘ligation adaptors’ or ‘library tags’ are
                DNA molecules containing a universal priming sequence that
                can be covalently linked to the 5-prime and 3-prime end of a
                population of target double stranded DNA molecules. The
                addition of the adapters provides universal priming sequences
                to the 5-prime and 3-prime end of the target population from
                which PCR amplification can take place, amplifying all
                molecules from the target population, using a single pair of
                amplification primers.316




313
      Id. at 95:25-27.
314
      Id. at 95:32-34.
315
      See Van Ness Decl. at ¶ 425.
316
      See ’035 Patent at 42:23-30.


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         263.   In terms of using the adaptors, the ’035 Patent specification teaches that

“preparing the sample (e.g., the first sample) further includes appending universal adapters

to the DNA in the sample (e.g., the first sample) and amplifying the DNA in the sample

(e.g., the first sample) using the polymerase chain reaction.”317 The universal adapters, as

described, are covalently linked to the ends of the DNA strands (through known means),

and as such are considered “tail” adaptors.

         264.   For all of these reasons, it is my opinion that one of ordinary skill in the art

would have recognized that the Natera Patent inventors possessed the claimed methods,

including all of the recited limitations, as of the Natera Patents’ respective priority dates.

Consequently, the Asserted Claims of the Natera Patents are not invalid under Section 112

for lack of written description.

IX.      INFRINGEMENT OF THE NATERA PATENTS

         A.     ’454 Patent

         265.   As explained infra, I disagree with Dr. Van Ness’s contention that the

accused RaDaR assay does not infringe the Asserted Claims of the ‘454 Patent.

         266.   As an initial matter, Dr. Van Ness’s noninfringement theory is predicated on

a claim construction that deviates from the plain and ordinary meaning of the claim

language. With one exception (“amplifying,” discussed infra)318, Dr. Van Ness has not

offered opinions on the construction of any claim terms that underlie NeoGenomics’


317
      Id. at 32:19-23 (emphasis added).
318
      See Van Ness Decl. at § VII; see also id. at § III.A supra.


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noninfringement position. I have been informed and understand from counsel that Dr. Van

Ness has thus waived an interpretation on these terms that differs from their plain and

ordinary meaning. If the Court were nevertheless to permit Dr. Van Ness to offer additional

opinions on claim construction for those terms Dr. Van Ness has not purported to construe,

I reserve the right to respond and amend or supplement my opinions.

         267.      With regard to Dr. Van Ness’s construction of “amplifying,” I disagree with

Dr. Van Ness’s construction because it contradicts the plain language of the claim as

explained supra.319 Moreover, it is premised on a re-writing of the claim to inject the term

“directly” where it does not exist. Claim 1 of the ’454 Patent recites “comprising,” which

has an open-ended plain meaning and allows for other unrecited steps or elements to be

present during the infringing method. Because Dr. Van Ness’s interpretation of these terms

is incorrect, his opinions on noninfringement are likewise incorrect.

         268.      As I explained in my Opening Declaration, the Asserted Claims of the Natera

Patents are composed of terms the plain and ordinary meaning of which would have been

known to one of ordinary skill in the art.320 I therefore used the plain meaning of the terms

for my infringement analysis.321 It is my opinion that the accused RaDaR assay infringes

the Asserted Claims of the Natera Patents and the presence of a universal PCR reaction

after the targeted multiplex reaction does not alter my conclusion.



319
      See Section Error! Reference source not found..
320
      See Metzker Op. Decl. ¶¶24, 54.
321
      Id. § VIII


                                               150

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                (ii)   Dr. Van Ness’s Reliance on “Amplifying”

         269.   Dr. Van Ness opines that the accused RaDaR assay does not infringe

because, in his view, it does not “directly” sequence the amplicons from the targeted

multiplex reaction.322 I disagree.

         270.   First, the claim language itself does not require “direct” sequencing of

anything, including any amplified DNA product. That term does not appear anywhere in

claim 1. The claim states “sequencing the amplicons to obtain sequence reads,” without

any reference to that sequencing being “direct.” In my opinion, the limitation “sequencing

the amplicons to obtain sequence reads” of claim 1 is met by the accused RaDaR assay by

its sequencing step. While the amplified products of the targeted PCR reaction are further

amplified to add sequencing-related sequences (adaptors and barcodes), the same sequence

generated by the targeted multiplex reaction (50-150 bp comprising the target loci) is

subjected to sequencing, and sequence reads for that sequence are obtained.

         271.   Second, as mentioned supra, this noninfringement opinion relies on a flawed

interpretation of the claims, including the term “the amplicon.” Under a plain and ordinary

understanding, Claim 1 is an open-ended claim by virtue of its use of the term “comprising”

in the preamble. I understand from counsel that “comprising” claims can be infringed even

in the presence of unrecited steps or elements, so long as the other elements of the claims

are met. Claim 1 recites “performing targeted multiplex amplification to amplify 10 to 500

target loci each encompassing a different tumor-specific SNV mutation from cell-free


322
      See Van Ness Decl. at ¶¶79-80, 87; Van Ness Tr. at 235:5-236:25.


                                            151

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DNA isolated from a plasma sample of the subject or DNA derived therefrom to obtain

amplicons having a length of 50-150 bases” and is open-ended by the use of “comprising”

recited earlier in Claim 1 of the ’454 Patent. One of ordinary skill in the art would have

understood from the claim language itself that the sole restriction on “amplicons” is based

on a length of 50-150 base pairs.

         272.   One of ordinary skill in the art would have readily understood that the

“comprising” language allows for subsequent amplification(s) following targeted

multiplex PCR and prior to sequencing. A subsequent amplification may be, for example,

a universal PCR reaction to amplify those tags added to the ends of DNA and/or to attach

additional sequencing adaptors for downstream sequencing. Subsequent amplification may

also be a universal PCR to attach sequencing adaptors together with sample barcodes.

         273.   Third, dependent claim 11 of the ’454 Patent confirms that subsequent

amplification(s) following targeted multiplex PCR and prior to sequencing are not

excluded from Claim 1 of the ’454 Patent, as Dr. Van Ness argues. Claim 11 of the ’454

Patent recites “performing barcoding PCR prior to sequencing.”323 This barcoding PCR is

a separate, intermediate PCR reaction from the targeted multiplex PCR and serves to add

so-called “barcode” sequences so that different populations of DNA can be identified after

sequencing. I am informed by counsel that Claim 1 of the ’454 Patent, as the independent

claim from which Claim 11 depends, is presumed to be broader and to encompass the scope




323
      See ’454 Patent at 172:1-3.


                                           152

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                                      Appx18893
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of Claim 11. Accordingly, Claim 1 of the ’454 Patent permits, but does not require,

additional PCR reactions for sequencing.

         274.   It is my opinion that Claim 1 of the ’454 Patent encompasses a possible

universal PCR step to add sequencing adaptors (or other sequencing-related sequences like

barcodes) following targeted multiplex PCR in a single reaction volume, which one of

ordinary skill in the art would have understood to be necessary for sequencing on certain

instruments, including routinely and commonly-used Illumina sequencers which are

mentioned repeatedly in the ’454 Patent specification.324

         275.   For all these reasons, Dr. Van Ness’s opinion is incorrect to the extent it

excludes a step to add sequencing adaptors for sequencing (e.g., by universal PCR),

conflicting with the plain and ordinary meaning of the claim language. This is made clear

by his reading of the claim language that appears to inject the term “directly” where it does

not exist.

                (iii)   Dr. Van Ness’s Opinions on Natera’s ’008 Patent

         276.   In support of his non-infringement opinion, Dr. Van Ness also purports to

rely on a separate, unasserted Natera patent—namely, the ’008 Patent.325 I disagree that

Natera’s statements regarding the ’008 Patent, which is not at issue in this case and claims

different inventions, have any bearing on how the ‘454 Patent claims should be interpreted.




324
      See, e.g., Meyer (2010).
325
      See Van Ness Decl. at ¶¶79-80, 87.


                                             153

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         277.   First, the Van Ness Declaration refers to the ’008 Patent as being “directly

related to the ’454 Patent” but fails to acknowledge that the two patents are part of separate

lineages descending from the ’703 Patent Appl.326 The ’454 Patent claims priority to and

is a great-granddaughter of the ’703 Appl.327 The ’703 Appl. also has a separate lineage

of descendants, including a daughter ’008 Patent.328

         278.   Second, while the ’454 and ’008 Patents share the same specification, their

claims differ in several material ways, as shown infra:

                 US 11,530,454                                     US 11,486,008
 A method for preparing a plasma sample of a        A method for detecting one or more
 subject having cancer or suspected of having       mutations or genetic variations in a biological
 cancer useful for detecting one or more single     sample of a subject having cancer or
 nucleotide variant (SNV) mutations in the          suspected of having cancer, the method
 plasma sample, the method comprising:              comprising:

 performing whole exome sequencing or               identifying a plurality of tumor-specific
 whole genome sequencing on a tumor sample          mutations or genetic variations in a cancer
 of the subject to identify a plurality of tumor-   sample of the subject by sequencing, wherein
 specific SNV mutations;                            the mutations or genetic variations comprise
                                                    one or more single nucleotide variant (SNV)
 performing targeted multiplex amplification        mutations;
 to amplify 10 to 500 target loci each
 encompassing a different tumor-specific SNV        collecting a biological sample from the
 mutation from cell-free DNA isolated from a        subject, and isolating cell-free DNA from the
 plasma sample of the subject or DNA derived        biological sample;
 therefrom to obtain amplicons having a length
 of 50-150 bases, wherein the target loci are       performing multiplex targeted amplification
 amplified together in the same reaction            to amplify at least 100 target loci
 volume; and                                        corresponding to the tumor-specific mutations
                                                    or genetic variations from the isolated cell-
                                                    free DNA to obtain amplicons, wherein the

326
    See Babiarz et al., Detecting mutations and ploidy in chromosomal segments, U.S.
Patent Application 14/692,703 (2015) (the “’703 Patent Appl.”).
327
      See ’454 Patent at cover page.
328
      See Dkt. 108-1 (’008 Patent) at cover page.


                                                154

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 sequencing the amplicons to obtain sequence     target loci are amplified together in the same
 reads, and detecting one or more of the         reaction volume and not in separate reaction
 tumor-specific SNV mutations present in the     volumes;
 cell-free DNA from the sequence reads,
                                                 performing high-throughput sequencing to
 wherein the sequencing has a depth of read of   sequence the amplicons obtained in the
 at least 50,000 per target locus.               multiplex targeted amplification reaction to
                                                 obtain sequence reads; and

                                                 detecting one or more of the mutations or
                                                 genetic variations present in the cell-free
                                                 DNA from the sequence reads, wherein an
                                                 SNV mutation that is present in less than or
                                                 equal to 0.015% of cell-free DNA molecules
                                                 having the SNV locus in the biological
                                                 sample is detected.


         279.   Notably, Claim 1 of the ’454 Patent recites “sequencing the amplicons to

obtain sequence reads” whereas Claim 1 of the ’008 Patent refers to “performing high-

throughput sequencing to sequence the amplicons obtained in the multiplex targeted

amplification reaction to obtain sequence reads.” The underlined language is not present

in any claim of the ’454 Patent, evincing a difference in scope. The scope of Claim 1 of

the ’008 Patent is narrower than Claim 1 of the ’454 Patent since Claim 1 of the ’008 Patent

requires that sequencing is performed on the amplicons directly resulting from multiplex

targeted amplification reaction. Moreover, to the extent that Dr. Van Ness contends the

dependent claims of the ’008 Patent essentially cover the same claim scope as that of Claim

1 of the ’454 Patent,329 I disagree. Because independent Claim 1 of the ’008 Patent has a

scope that is narrower compared to Claim 1 of the ’454 Patent, the addition of any



329
      See Van Ness Tr. at 212:24-215:4.


                                               155

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dependent claims will only further narrow the scope of claims in the ’008 Patent, not

broaden their scope to create overlap with that of the ’454 Patent claims.

         280.   Third, Dr. Van Ness does not accurately describe Natera’s back and forth

with the patent examiner, which was based on a combination of prior art (Forshew (2012)

and Takano (2005)) that was not raised against the ’454 Patent (Forshew (2012) and

Benesova (2013)).330 Dr. Van Ness asserts that Natera’s assertions “require that any

amplicons generated by performing a targeted multiplex amplification must be directly

sequenced without any intervening step.”331 But this is not what Natera told the Examiner.

Natera never referred to “direct” sequencing as Dr, Van Ness suggests. In distinguishing

Forshew (2012), Natera referred specifically to the presence of “a subsequent and separate

targeted amplification”332—not a untargeted, universal amplification to, for example, add

sequencing adaptors and/or barcodes.

         281.   Fourth, Dr. Van Ness points to statements by Natera employee Dr. Bernard

Zimmermann, an inventor on both the ’454 and ’008 Patents333, but again fails to note that

these are statements about the ’008 Patent claimed inventions, not the ’454 Patent. The


330
     Compare Dkt. 118-12 with Dkt. 116-5; compare Dkt. 118-10 with 116-9; see also
Takano et al., Epidermal growth factor receptor gene mutations and increase copy
numbers predict gefitinib sensitivity in patients with recurrent non-small-cell lung cancer,
JOURNAL OF CLINICAL ONCOLOGY 28:6829-6837 (2005) (“Takano (2005)”); Benesova et
al., Mutation-based detection and monitoring of cell-free tumor DNA in peripheral blood
of cancer patients, Analytical Biochemistry 433:227-234 (2013) (“Benesova (2013)”).
331
      See Van Ness Decl. at ¶ 80 (emphasis in original).
332
      See Dkt. 116-9 at 4 (emphasis added).
333
      See Van Ness Decl. at ¶ 80.


                                              156

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’454 and ’008 Patent inventions are separate and distinct, and the ’008 Patent claims are in

response to rejections not made against the ’454 Patent claims. Dr. Zimmermann also did

not say anything about universal PCR to add sequencing adaptors. In my opinion, Dr.

Zimmermann’s statements do not support Dr. Van Ness’s opinions about the ’454 Patent

claims.


               -
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334
      See ’454 Patent at 171:40-41.
335
      See Dkt. 107 at 6.
336
      See Van Ness Tr. at 10:17-24.


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337
    See Dkt. No. 112, Declaration of Vishal Sikri in Support of Neogenomics
Laboratories, Inc.’s Opposition to Natera, Inc.’s Motion for Preliminary Injunction,
dated October 18, 2023 (“Sikri Decl.”).
338
      Id. at ¶ 49.
339
      Id.
340
      Id. at ¶¶ 50-51.
341
      See Dkt. 139-7 (Sikri Tr.) at 74:17-21.


                                                158

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                                         Appx18899
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342
      Id. at 75:3-9.


                                       159

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                                   Appx18900
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                        CONFIDENTIAL MATERIAL OMITTED




                                                                                  -
-        288.
                (v)   RaDaR infringes under the Doctrine of Equivalents

                As discussed supra, the accused RaDaR assay literally infringes the Asserted

Claims of the ’454 Patent. However, even if Dr. Van Ness’s interpretations of certain claim

terms were adopted by the Court, it is my opinion that RaDaR would still infringe the

Asserted Claims of the ’454 Patent under the doctrine of equivalents.

         289.   I understand from counsel that one way to evaluate infringement under the

Doctrine of Equivalents is to determine whether an accused method performs substantially

the same function in substantially the same way to achieve substantially the same result as

the claimed method. Here, the incorporation of a routine and conventional universal PCR

step after targeted multiplex amplification in a single reaction volume does not alter the

functionality or result of the claimed method (i.e., detecting one or more of the tumor-

specific SNV mutations). It is also my opinion that the incorporation of a universal PCR




343
      See Ex. 12 (NeoGenomics’ Medicare Announcement dated July 27, 2023).


                                             160

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                                        Appx18901
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step after targeted multiplex amplification in a single reaction volume does not

substantially alter the way the claimed method is performed.

         290.   For example, one of ordinary skill in the art would have understood that

sequencing amplicons could require universal amplification to add sequencing adaptors

(e.g., sequencing adaptors are required for sequencing on an Illumina sequencer, which the

’454 Patent teaches can be used for the sequencing step). I disagree with Dr. Van Ness’s

contention that this universal PCR step will be so indiscriminate such that “the relative

amounts of mutations present in the original sample will be lost.”344 Universal PCR

generally uses common primer sequences, but will preserve the relative quantities of

mutations present. One of ordinary skill in the art would have recognized that the relative

quantities of mutations present can be preserved in a subsequent PCR by controlling the

number of cycles performed. If the number of cycles remains within the exponential

amplification phase, the relative abundance of mutations will not be diluted. Additionally,

Dr. Van Ness fails to describe that in RaDaR, only the amplicons having the CS1/CS2

common tail adaptor sequences (first introduced through tagging) will be amplified in a

universal PCR reaction since the universal PCR primers will hybridize to the common tail

sequences. Therefore, universal PCR will amplify the final products from the targeted

multiplex PCR step.




344
      See Van Ness Decl. at ¶ 87.


                                           161

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                                       Appx18902
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            291.   I understand that Dr. Van Ness further contends that an additional PCR

would necessarily introduce further polymerase error that would have materially impacted

the results.345 I disagree. One of ordinary skill in the art would have readily recognized that

an additional PCR could be performed using a proofreading polymerase (as opposed to Taq

polymerase), such that there is no substantial increase in error.

            292.   I further understand that Dr. Van Ness contends that Natera may not assert a

Doctrine of Equivalents theory for “sequencing the amplicons” based on an alleged

disclaimer during prosecution of the ’008 Patent. I disagree that there has been any

statement in the ’454 Patent prosecution that could be a disclaimer. Dr. Van Ness does not

identify one.

            293.   To the extent that the Court permits Dr. Van Ness to supplement his

noninfringement position regarding the ’454 Patent, I reserve the right to respond and

supplement or amend my opinions.

            B.     ’035 Patent

            294.   As explained infra, I disagree with Dr. Van Ness’s contention that the

accused RaDaR assay does not infringe the Asserted Claims of the ’035 patent.

            295.   Contrary to Dr. Van Ness’s assertions,346 RaDaR performs targeted

amplification of already tagged DNA as part of its 15-cycle PCR. As I explained during




345
      Id.
346
      Id. at ¶¶ 89-104.


                                                162

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my deposition, the first cycle of the pre-amplification step disclosed by Forshew (2012)

tags cell-free DNA with universal tail adaptors CS1 and CS2.

         296.   Dr. Van Ness contends that tagging “cannot be satisfied by the first step of

PCR because tagged products with both first and second universal tail adaptors are only

generated in cycles after a first PCR cycle. During the first cycle a first tail adaptor is

introduced. It is only after the first PCR cycle, at which point a second primer with a second

tail adapter hybridizes to a copy of the original molecule, that products with the second tail

adaptor are generated.”347 I disagree with Dr. Van Ness’s opinion and understanding of

the foundations of the principles of PCR.

         297.   As explained supra,348 a single cycle of PCR can introduce two tags (one on

each strand of the amplified DNA product). The subsequent cycles of PCR amplify the

target region of interest, thereby performing targeted amplification of already tagged DNA.

In mapping this scientific theory to the accused RaDaR assay, the first cycle of RaDaR’s

preamplification PCR step introduces two tags (one on each strand of the amplified DNA

product), which I have explained in my Opening Declaration.349 The subsequent cycles of

PCR amplify the target region of interest, thereby performing targeted amplification of

already tagged DNA.350 In my opinion, Dr. Van Ness’s theory that tagging requires two



347
      Id. at ¶101.
348
      See Section V.B(ii).
349
      See Metzker Op. Decl. at ¶¶ 87-101.
350
      See id.


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cycles of PCR is inconsistent with the fundamental principles of PCR. Regardless, Dr. Van

Ness’s assessment does not change my opinion because even if Dr. Van Ness were correct

about the two tags being added over two PCR cycles (not one), tagged products are still

being subsequently amplified afterwards in every remaining PCR cycle.

         298.   Support for my opinion further derives from Claim 12, which recites: “the

one or more universal tail adaptors comprise a first universal tail adaptor and a second

universal tail adaptor.” Therefore, even under the Van Ness Declaration’s view of the

second tag being added to an amplicon and not cell-free DNA, Dr. Van Ness does not deny

that the first tagging step adds “one or more adaptors.”351

         299.   I also disagree with Dr. Van Ness’s reliance on a dependent claim (Claim

13)352 to attempt to narrow the scope of independent Claim 1 of the ’035 Patent, which

contradicts the plain meaning of Claim 1 as described supra.353

         300.   Therefore, it is my opinion that the first cycle of RaDaR’s preamplification

step satisfies the “tagging isolated cell free DNA with one or more universal tail adaptors

to generate tagged products” limitation of Claim 1 of the ’035 Patent. Additionally, the

subsequent cycles of RaDaR’s preamplification step satisfy the “amplifying the tagged

products one or more times.” For this reason, it is my opinion that the accused RaDaR

assays infringes the Asserted Claims of the ’035 Patent.



351
      See Van Ness Tr. at 228:17-232:25.
352
      See Van Ness Decl. at ¶¶ 100-101.
353
      See Section Error! Reference source not found..


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                                        Appx18905
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              (ii)   RaDaR infringes under the Doctrine of Equivalents

       301.   As discussed supra, the accused RaDaR assay literally infringes the Asserted

Claims of the ’035 Patent. However, even if Dr. Van Ness’s interpretations of certain claim

terms were adopted by the Court, it is my opinion that RaDaR would still infringe under

the Doctrine of Equivalents.

       302.   I understand that one way to evaluate infringement under the Doctrine of

Equivalents is to determine whether an accused method performs substantially the same

function in substantially the same way to achieve substantially the same result as the

claimed method. Here, the incorporation of a universal PCR step in the accused RaDaR

assay after targeted multiplex amplification in a single reaction volume does not

substantially alter the functionality, the way, or result of the claimed method because the

claimed method already includes “wherein one of the amplifying steps introduces a

barcode and one or more sequencing tags,” which one of ordinary skill in the art would

have understood may be done through universal PCR.

       303.   For example, universal PCR generally uses common primer sequences, but

will preserve the relative quantities of mutations present. One of ordinary skill in the art

would have recognized that the relative quantities of mutations present can be preserved in

a subsequent PCR by controlling the number of cycles performed. If the number of cycles

remains within the exponential amplification phase, the relative abundance of mutations

will not be diluted. Additionally, Dr. Van Ness fails to describe that in RaDaR, only the

amplicons having the CS1/CS2 common tail adaptor sequences (first introduced through



                                            165

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tagging) will be amplified in a universal PCR reaction since the universal PCR primers will

hybridize to the common tail sequences. Therefore, universal PCR will amplify the final

products from the targeted multiplex PCR step.

         304.   I understand that Dr. Van Ness further would necessarily introduce further

polymerase error that would have materially impacted the results. I disagree. One or

ordinary skill in the art would have readily recognized that an additional PCR could be

performed using a proofreading polymerase (as opposed to Taq polymerase), such that

there is no substantial increase in error.

         305.   To the extent that the Court permits Dr. Van Ness to supplement his

noninfringement position regarding the ’035 Patent, I reserve the right to respond and

supplement or amend my opinions.

X.       SIGNATERA PRACTICES THE NATERA PATENT CLAIMS

         306.   I previously described how Signatera practices Claim 1 of each of the Natera

Patents in my Opening Declaration.354 I understand that Dr. Van Ness opines that Signatera

does not practice Claim 1 of the ’454 Patent nor Claim 1 of the ’035 Patent. Dr. Van Ness

testified during his deposition, however, that he did not review any of Natera’s technical

documents that have been produced to date in reaching this alleged conclusion.355 I disagree

with Dr. Van Ness’s opinions as described infra.




354
      See Metzker Op. Decl. at § IX.
355
      See Van Ness Tr. at 246:4-20.


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         A.     ’454 Patent

         307.   With respect to the ’454 Patent, Dr. Van Ness opines that Signatera does not

practice the limitation of “amplicons having a length of 50-150 bases.”356 I disagree with

Dr. Van Ness. One of Natera’s technical documents states the following:

                The prioritized list of variants is used to design PCR amplicons
                based on optimized design parameters, ensuring uniqueness of
                the amplicon sequences in the human genome and efficiency
                of the amplicons. Each amplicon can be designed to amplify
                sequences of up to 70 base pair length and is designed to
                contains one base pair that differs between the tumor and
                somatic genotypes.357

         308.   Therefore, it is my opinion that Signatera does practice the aforementioned

limitation of Claim 1 of the ’454 Patent.

         B.     ’035 Patent

         309.   With respect to the ’035 Patent, the Declaration of Dr. Van Ness opines that

Signatera does not practice the limitation of “amplifying the tagged products one or more

times to generate final amplification products . . . wherein one of the amplifying steps

introduces a barcode and one or more sequencing tags.”358 I disagree with Dr. Van Ness’s

opinions.

         310.   In my Opening Declaration, I describe how Signatera practices “tagging

isolated cell free DNA with one or more universal tail adaptors to generate tagged


356
      See Van Ness Decl. at ¶¶ 428-438.
357
   See Van Ness Tr. at Ex. 30, NAT-NEO-00625926-00625931 (“Device description for
Signatera”) at NAT-NEO-00625928 (emphasis added).
358
      See Van Ness Decl. at ¶¶ 439-442.


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products.”359 I relied upon Coombes (2019),360 Christensen (2019),361 and Kotani (2023)362

as support.363 Dr. Van Ness does not refute my opinion that Signatera practices this step.

My opinion is further supported by Natera’s internal technical documentation, which states,

“[t]he cfDNA is end-repaired, A-tailed, and ligated with custom adapters, as previously

described in Abbosh et al. 2017. The purified ligation product is amplified.”364

         311.   Dr. Van Ness argues that Signatera does not practice the limitation of

“amplifying the tagged products one or more times to generate final amplification products.

. . wherein one of the amplifying steps introduces a barcode and one or more sequencing

tags”365 even though the references on which I rely (e.g., Coombes (2019) and Christensen

(2019)) show how Signatera practices this limitation, as explained in my Opening

Declaration.366     My opinion is further supported by Natera’s internal technical



359
      See Metzker Op. Decl. at ¶¶ 133-134.
360
    See Dkt. 17-19, Coombes et al., Personalized detection of circulating tumor DNA
antedates breast cancer metastatic recurrence, CLINICAL CANCER RESEARCH 25:4255–
4263 (2019) (“Coombes (2019)”).
361
    See Dkt. 17-21, Christensen et al., Early detection of metastatic relapse and monitoring
of therapeutic efficacy by ultra-deep sequencing of plasma cell-free DNA in patients with
urothelial bladder carcinoma, JOURNAL OF CLINICAL ONCOLOGY 37:1547-1557 (2019)
(“Christensen (2019)”);
362
    See Dkt. 17-22, Kotani et al., Molecular residual disease and efficacy of adjuvant
chemotherapy in patients with colorectal cancer, NATURE MEDICINE 29:127-134 (2023)
(“Kotani (2023)”).
363
      See Metzker Op. Decl. at ¶¶ 133-134.
364
      See Device description for Signatera at NAT-NEO-00625929.
365
      See Van Ness Decl. at ¶¶ 439-442.
366
      See Metzker Op. Decl. at ¶ 135.


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documentation.367 Dr. Van Ness does not address the disclosure of Coombes (2019) and

Christensen (2019) nor any of Natera’s technical documents in forming his opinions. Dr.

Van Ness’s opinions regarding Signatera are thus flawed.

         312.   Therefore, it is my opinion that Signatera does practice the aforementioned

limitation of Claim 1 of the ’035 Patent.




367
      See Device description for Signatera at NAT-NEO-00625930.


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       I confirm that the contents of this Reply Declaration are true to the best of my

knowledge and belief insofar as it states facts and that it contains my honest opinions on

the matters upon which I have been asked to give them.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



Dated: November 6, 2023                            _________________________
                                                   Michael Metzker, Ph.D.




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       I confirm that the contents of this Declaration are true to the best of my knowledge

and belief insofar as it states facts and that it contains my honest opinions on the matters

upon which I have been asked to give them.

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that the foregoing is true and correct.



Dated: November 6, 2023




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              EXHIBIT 2




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         Review                                                                                                                          Molecular
                                                                                                                                         Cancer
                                                                                                                                         Research
     Cell-free DNA (cfDNA): Clinical Signiﬁcance
     and Utility in Cancer Shaped By Emerging
     Technologies
     Stanislav Volik1, Miguel Alcaide2, Ryan D. Morin2,3, and Colin Collins1,4




     Abstract
        Precision oncology is predicated upon the ability to detect                  progression. The fragmentation, low yield, and variable admix-
     speciﬁc actionable genomic alterations and to monitor their                     ture of normal DNA present formidable technical challenges for
     adaptive evolution during treatment to counter resistance.                      realization of this potential. This review summarizes the history of
     Because of spatial and temporal heterogeneity and comorbidities                 cfDNA discovery, its biological properties, and explores emerging
     associated with obtaining tumor tissues, especially in the case of              technologies for clinically relevant sequence-based analysis of




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     metastatic disease, traditional methods for tumor sampling are                  cfDNA in cancer patients. Molecular barcoding (or Unique Molec-
     impractical for this application. Known to be present in the blood              ular Identiﬁer, UMI)-based methods currently appear to offer an
     of cancer patients for decades, cell-free DNA (cfDNA) is beginning              optimal balance between sensitivity, ﬂexibility, and cost and
     to inform on tumor genetics, tumor burden, and mechanisms of                    constitute a promising approach for clinically relevant assays
     progression and drug resistance. This substrate is amenable for                 for near real-time monitoring of treatment-induced mutation-
     inexpensive noninvasive testing and thus presents a viable                      al adaptations to guide evidence-based precision oncology.
     approach to serial sampling for screening and monitoring tumor                  Mol Cancer Res; 14(10); 898–908. 2016 AACR.




     Early Discovery and Applications of cfDNA                                       another 12 years for the ﬁrst experimental evidence to support
                                                                                     that cfDNA in cancer patients does indeed contain tumor DNA
        The presence of cell-free DNA (cfDNA) in blood plasma was
                                                                                     based on temperature stability measurements (5).
     discovered in 1948 by Mandel and Metais (1). Seventeen years
                                                                                        The technological progress of the 1990s fuelled by the Human
     later, in 1965, Bendich and colleagues hypothesized, that cancer-
                                                                                     Genome Project allowed more direct demonstration for a tumor
     derived cfDNA could be involved in metastasis (2). However, it
                                                                                     origin of at least some cancer patient cfDNA. In 1994, two groups
     took another year to discover the ﬁrst link to disease. In 1966, Tan
                                                                                     reported the presence of tumor-speciﬁc mutations in cfDNA
     and colleagues observed high levels of circulating cell-free DNA
                                                                                     (6, 7). Both groups used mutation-speciﬁc primers to facilitate
     (cfDNA) in the blood of systemic lupus erythematosus patients
                                                                                     PCR ampliﬁcation of tumor-speciﬁc (N-RAS) mutations in the
     (3). Eleven years later, in 1977, Leon and colleagues used radio-
                                                                                     plasma samples of patients with pancreatic adenocarcinoma and
     immunochemistry to demonstrate that for at least half of cancer
                                                                                     acute myelogenous leukemia (AML), respectively. This approach
     patients the level of cfDNA in their blood was signiﬁcantly higher
                                                                                     to detection of speciﬁc a priori known mutations in cfDNA was to
     than in normal control subjects (4). The authors noted that
                                                                                     become the preferred method of cfDNA studies until the advent of
     patients with metastatic cancer had signiﬁcantly higher cfDNA
                                                                                     massively parallel sequencing (MPS). Circulating tumor DNA
     levels in blood. Because of technological limitations, it took
                                                                                     (ctDNA) is typically so diluted by normal DNA that existing
                                                                                     sequencing methods (e.g., Sanger sequencing) were not sufﬁcient-
     1
      Vancouver Prostate Centre, Vancouver, British Columbia, Canada.                ly sensitive to detect mutant DNA molecules. As a result, muta-
     2
      Department of Molecular Biology and Biochemistry, Simon Fraser                 tion-speciﬁc PCR was the only available technology that could
     University, Burnaby, British Columbia, Canada. 3Genome Sciences
     Centre, BC Cancer Agency, Vancouver, British Columbia, Canada.                  provide sufﬁcient speciﬁcity for detection of the weak tumor
     4
      Department of Urologic Sciences, University of British Columbia,               signal. It was recognized in these pioneering studies that the
     Vancouver, British Columbia, Canada.                                            detection of tumor DNA in circulation offers exciting implications
     Note: Supplementary data for this article are available at Molecular Cancer     for clinical translation for "diagnosis, determining response to
     Research Online (http://mcr.aacrjournals.org/).                                 treatment, and predicting prognosis" (7). Not surprisingly, soon
     S. Volik and M. Alcaide contributed equally to this article.                    after this initial breakthrough essentially all other types of tumor-
     Corresponding Authors: Ryan D. Morin, Department of Molecular Biology and
                                                                                     speciﬁc DNA changes were discovered in cfDNA, such as changes
     Biochemistry, Simon Fraser University, South Sciences Building Room 8166,       in the status of microsatellite markers including loss of hetero-
     8888 University Drive, Burnaby, British Columbia V5A 1S6, Canada. Phone: 778-   zygosity (LOH; refs. 8, 9); gene ampliﬁcations (10, 11); the
     782-9581; Fax: 778-782-5583; E-mail: rmorin@bcgsc.ca; and Colin Collins, Jack   presence of the oncogenic viral DNA (12–15); and hypermethyla-
     Bell Research Centre, 2660 Oak Street, Vancouver, British Columbia V6H 3Z6,     tion of the promoter regions of tumor suppressor genes (16–18).
     Canada. Phone: 604-875-4818; Fax: 604-875-5654; E-mail:
                                                                                     While these early observations highlighted many possibilities for
     ccollins@prostatecentre.com
                                                                                     using ctDNA as a noninvasive approach to analyze tumor gen-
     doi: 10.1158/1541-7786.MCR-16-0044                                              omes, sufﬁciently sensitive and speciﬁc laboratory techniques to
     2016 American Association for Cancer Research.                                 fully leverage this potential were not yet developed.



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                                                                                                                                     Emerging Technologies for Circulating DNA Studies




  A                                                                                                    B

 IOO




                                                                                                                                                                                         Diploid genome equivalents per mL of plasma
                                                                                               DNA Concentration of plasma (ng/mL)
3,0
                                                                                                                                     1,000
                                                                                                                                                                               100,000
 JOO

250                                                                                                                                   100



                                                                                                                                       10
                                                                                                                                                                               1,000
                                                                                                                                                                       '
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100
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                                                                                                                                             Healthy/nonmalignant   Cancer


Figure 1.
A, a Bioanalyzer 2100 (Agilent Technologies) proﬁle showing the length distribution of cfDNA isolated from a high-risk prostate cancer patient reported in
ref. 31. The x-axis shows the size of DNA fragments (in base pairs); the y-axis, ﬂuorescent intensity, proportional to DNA concentration. Note the unusual
trimodal distribution of DNA sizes (150, 300, and 450 bp) most likely indicating a very high tumor burden. B, cfDNA concentration in blood of healthy
subjects/nonmalignant patients (blue box) and in cancer patients (orange box) based on ref. 30. The left y-axis shows the cfDNA concentration on a logarithmic
scale (in ng/mL of blood) and the right shows the number of diploid genome equivalents per mL of blood (assuming 6 pg of DNA per diploid genome).


   The "chimeric" nature of cfDNA, the presence of both normal                   sepsis and septic shock, aseptic inﬂammation, myocardial infarc-
and tumor DNA in blood plasma, enabled development of                            tion, stroke including patients with negative neuroimaging
applications in other ﬁelds. However, these are outside of the                   results, where cfDNA concentrations seem to predict poststroke
scope of the current review and will only be brieﬂy mentioned                    morbidity and mortality in patients with negative neuroimaging,
here. Arguably the most successful application of cfDNA studies                  and sickle cell disease. In short, cfDNA concentration is elevated in
was the discovery of the high admixture of fetal-derived cfDNA in                conditions that involve increased rates of cell death and necrosis.
mother's blood stream by Lo and colleagues (19). Later the same
group demonstrated that in 70% of women bearing male fetuses,
fetal Y-chromosome sequences could be detected in just 10 mL of                  Properties of cfDNA
blood plasma (20). This discovery opened up a new avenue for                        Multiple properties of cfDNA suggest cell death as its major
development of fetal cfDNA-based prenatal genetic testing. For                   origin. Importantly, cfDNA is double stranded and highly frag-
example, in one recent large study involving 1,914 women across                  mented, with most molecules being approximately 150 bp
21 U.S. centres it was shown that cfDNA-based prenatal testing for               in length (Fig. 1A). This matches the length of DNA occupied
fetal aneuploidy has a signiﬁcantly lower false positive rate for                by a nucleosome, the primary unit for spatial organization
detection of trisomies 21 and 18 compared with standard pro-                     of DNA in the nucleus (25). Moreover, the other fragment length
cedures (10 times lower for trisomy 21 and 3 times lower for                     peaks correspond well with linear progression of nucleosome
trisomy 18) and signiﬁcantly higher negative and positive pre-                   units (two units for 300-bp band, three units for 450-bp
dictive values (ref. 21; for detailed review of prenatal diagnostics             band; Fig. 1A). Interestingly, there is still controversy on whether
application of cfDNA, see ref. 22). Another interesting application              the higher or lower integrity of cfDNA is associated with cancer. In
of cfDNA-based detection of "foreign" DNA is monitoring the                      2003, Wang and colleagues reported that the comparisons of the
status of solid organ transplants. As DNA is mostly released into                relative amounts of 100- and 400-bp PCR products of the b-actin
the blood as a result of cell death, the level of the donor's DNA in             gene demonstrated increased cfDNA integrity in 61 patients with
recipients blood can be used a marker of rejection (for detailed                 breast and gynecologic cancers compared with 65 non-neoplastic
review of this cfDNA application, see ref. 23).                                  patients (26). This observation is supported by the studies in
   Later studies linked cfDNA levels to outcomes in severe injury                numerous cancer types summarized in ref. 27. However, there are
such as blunt trauma and burns (reviewed in ref. 24). cfDNA levels               also conﬂicting reports, including by Madhavan and colleagues
correlated with the length of hospital stay, burn surface area, the              (27), who determined that decreased cfDNA integrity (deﬁned as
number of operations needed for scalds (though not for the ﬂash/                 the ratio of concentrations of long, 260-bp Alu and LINE
ﬂame burns). Plasma cfDNA levels also correlated with the need                   fragments to short, 100 bp, fragments determined by qPCR)
for patient ventilation in intensive care units (ICU). High (above               correlates with worse outcome. The authors noted that the
127 ng/mL) concentrations of cfDNA in blood were found to be a                   decreased cfDNA integrity would imply higher apoptotic rates,
predictor of death for ICU patients (with sensitivity of 92% and                 and that increased apoptosis correlates with higher tumor pro-
speciﬁcity of 82%). In line with these ﬁndings, cfDNA levels in                  liferation. This in turn would imply that the apoptotic, not
blood turned out to be higher and have certain predictive value for              necrotic cells, are the main source of cfDNA at least in cancer



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     Volik et al.




     patients (28). One corollary of this supposition is that tumors           used tritiated DNA injected into mice to show that 99% of the
     with higher proliferation may naturally yield higher proportion of        radioactivity is cleared from the bloodstream in 30 minutes (35).
     cfDNA in line with well-established link between cell prolifera-          They have also reported the highest increase of radioactivity in
     tion and apoptosis rates (for review, see ref. 29). In any case, all of   kidneys, followed by liver and spleen, suggesting the importance
     the studies and our experience agree, that as much as 90% of the          of renal clearing of cfDNA. Later, in 1999, Lo and colleagues
     total cfDNA is contained in low molecular weight band (150–              measured the half-life of the fetal cfDNA in mother's blood post-
     180 bp).                                                                  partum using real-time quantitative PCR of the SRY gene (36).
        The amount of cfDNA in cancer patients varies widely. A good           They reported that the half-life of the male fetal DNA in women
     summary can be found in 2008 Fleischhacker and Schmidt review             post-partum was 16.3 minutes, no detectable male-derived
     (30) who assembled the results of 34 studies involving healthy            cfDNA were found in the mother's blood 2 hours after birth—
     subjects and patients with malignant and nonmalignant disease             a result that is very close to the original 1963 observation. Other
     (summarized in Fig. 1B). While a trend toward the DNA concen-             studies conﬁrmed the very short half-life of cfDNA in blood
     tration in the blood of cancer patients being much higher than in         stream. For example, Fatouros and colleagues have measured the
     the blood of healthy controls and nonmalignant patients is clear,         kinetics of cfDNA concentrations in athletes following vigorous
     the cfDNA concentration varies considerably and is below 100 ng/          exercise and reported that cfDNA increased to 15-fold postexer-
     mL for the majority of reported cancer patients. This is in line with     cise, stabilized at 13-fold for 30 minutes after exercise and
     our own data—in a group of 62 castrate-resistant metastatic               normalized 30 minutes later (37). In short, there is no controversy
     prostate cancer (mCRPC) patients the mean cfDNA concentration             on the kinetics of cfDNA clearance from blood stream; however,




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     was 53 ng/mL of blood (31). Another way to look at these                  the mechanisms of its clearance have not been studied in detail.
     numbers is to calculate how many genome equivalents can be
     identiﬁed in blood. Assuming 6 pg of DNA per diploid human                Collection and Processing of Blood for
     genome, the majority of cancer patients have below 17,000
     genome equivalents per mL of blood. Patients from our recent              cfDNA
     study (31) had on average 9,000 genome equivalents per mL of                As discussed above, a large variability in the total plasma cfDNA
     blood.                                                                    levels has been reported among patients. Some of this variability
        Not unexpectedly, in addition to varying absolute levels of            may be explained by biological differences between patients,
     cfDNA, the fraction of DNA molecules in the circulation of cancer         whereas some relates to different sensitivities of the analytic
     patients that can be recognized as being derived from tumor cells         technologies employed by groups and even sources of contam-
     also varies. In 2001, Jahr and colleagues published one of the ﬁrst       inating DNA. Therefore, it is important to keep in mind that not all
     attempts to estimate the proportion of circulating tumor DNA              samples should be considered equivalent and that there are
     (ctDNA) to total cfDNA (32). The ctDNA/cfDNA ratio was deter-             preanalytic considerations one should make when prospectively
     mined by quantifying the amount of hypermethylated CDKN2A                 collecting samples speciﬁcally for cfDNA analyses. Much of our
     promoter that the authors assumed to be tumor-speciﬁc. Hyper-             understanding of the biology of cfDNA and optimal methods for
     methylation of the CDKN2A promoter was detected in 11 of 25               its collection and extraction comes from the study of fetal cfDNA
     specimens, "in line with previous studies," and in all six cases          for prenatal screening. Owing to the ability to readily distinguish
     where both tumor tissue and cfDNA was available, results of               fetal from maternal DNA (particularly with a male fetus), rigorous
     methylation-speciﬁc PCR were concordant. The proportion of                experiments have identiﬁed factors that affect yield and stability of
     tumor-speciﬁc hypermethylated CDKN2A sequences ranged from                cfDNA as well as sources of contamination (i.e., from maternal
     <10% to >90% of the total cfDNA. Four years later, Diehl and              cells). For example, in 2001, Chiu and colleagues reported that
     colleagues published a study (33) in which they reported that the         different methods of isolation of cfDNA from the blood of
     tumor content in cfDNA of 33 colorectal cancer patients ranged            pregnant women (such as ﬁltration through 0.22-mm ﬁlters,
     from 0.01% to 1.7%. Interestingly, they also reported, that the           centrifugation in Percoll gradients, and high-speed centrifuga-
     percentage of mutant molecules of the APC gene increased 5- to            tion) produced signiﬁcantly different amounts of maternal but
     20-fold when the fragment size used for PCR decreased from                not fetal cfDNA (38). Not surprisingly, they have noted the
     1,296 to 100 bp. Numerous studies have shown similar results.             importance of standardization at the level of blood collection,
     For example, amplicon sequencing of the PIK3CA and TP53 genes             processing, and DNA extraction so that samples within individual
     and digital PCR of the identiﬁed structural variations and point          studies remain comparable.
     mutations allowed Dawson and colleagues to determine that in                 At about the same time, ruptured blood cells were identiﬁed as
     metastatic breast cancer the ctDNA deﬁned as a fraction of the            a main source of cfDNA contamination (i.e., ref. 39), which has
     somatic mutant allele comprised a median of 4% of total cfDNA             largely shaped efforts on optimization of the cfDNA isolation
     (interquartile range 1–14; ref. 34). This is in line with our study       protocols. Although there is no clear consensus on the best
     (31), where we identiﬁed mutations in exon 8 of the AR gene in            practices for sample handling, we refer the reader to a review
     cfDNA of metastatic castrate resistant prostate cancer patients at a      covering preanalytic variables that affect cfDNA quality (40). One
     frequency of 0.1%–23% (median 1.5%). Given the total cfDNA                key observation reported therein is that while overall, serum may
     content estimated above we expect the most cancer patients to             yield higher levels of cfDNA than plasma, the yield is more
     have less than 3,500 tumor genomes per mL of blood. In our                variable and the cfDNA quality may be severely impacted due
     cohort of mCRPC patients (31), the median yield of tumor DNA              to lysis of monocytes. Plasma is theoretically less likely to be
     was approximately 135 genome equivalents per mL of blood.                 contaminated with DNA from blood cells but, importantly, the
        Finally, an important characteristic of cfDNA is its rapid turn-       time elapsed between blood collection and centrifugation can
     over. The ﬁrst report in the kinetics of foreign DNA clearance from       heavily inﬂuence this (41). Unfortunately, because the overall
     animal's blood dates back to 1963, when Tsumita and Iwanaga               yield of DNA extracted from plasma or the amount of DNA



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                                                                                         Emerging Technologies for Circulating DNA Studies




measured by qPCR is often used as a proxy for cfDNA, there is also       also been suggested, that another important function of the
conﬂicting evidence on the extent of contamination from the              DNaseI-based mechanism of clearing cfDNA from human blood
blood (42). As revisited later, contamination may be best assessed       is the prevention of autoimmunity against DNA (47). Involve-
by determining the relative abundance of high molecular weight           ment of cfDNA was suggested for other biological processes as
DNA fragments that are not consistent with the apoptotic signa-          well, ranging from tumor dissemination (2, 48–50) to aging (51),
ture characteristic of cfDNA. Methods to overcome such contam-           but experimental evidence supporting such hypotheses remains
ination or even accurately assess it remain under development. To        tenuous, and considerable additional research is needed to clarify
better circumvent this issue, at the British Columbia Cancer             the involvement of cfDNA in processes other than immunologic
Agency and Vancouver Prostate Centre, we have opted to collect           response.
blood in EDTA tubes and separate plasma by double centrifuga-
tion at 1,600 rpm within two hours after collection. It is important     Genomic Analysis of cfDNA
to note that heparin tubes are not typically compatible with
                                                                            The presence of tumor-derived DNA in cfDNA implies the
ctDNA detection methods because in our experience the effect
                                                                         entire spectrum of tumor genome aberrations are present and
of heparin on polymerase activity can severely impact sensitivity.
                                                                         can thus be detected. However, the low amount, high degrada-
There are some options for analyzing cfDNA from heparin-con-
                                                                         tion, and high admixture of normal DNA in cfDNA pose major
taining tubes or tubes containing other PCR inhibitors including
                                                                         challenges for the development of sensitive and robust detection
polymerases that are more robust to such inhibitors. However, in
                                                                         pipelines. The fact that most (if not all) tumors are characterized
our opinion for prospective studies, these contaminants are best




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                                                                         by multiple subclonal populations with only a subset of somatic
avoided (43). Understandably, so-called rapid processing of
                                                                         mutations shared among all cells (for review, see ref. 52) further
blood is not feasible in all settings (e.g., blood collection at sites
                                                                         complicates the issue. Broadly, current approaches for detection
lacking a centrifuge) and may not be cost-effective in smaller
                                                                         of tumor aberrations in cfDNA can be divided into two categories:
centers. Preservatives such as formaldehyde have also been pro-
                                                                         methods targeting speciﬁc changes and methods allowing detec-
posed as a means to prevent cell lysis thereby obviating the
                                                                         tion of all possible aberrations in DNA (including targeted and
necessity for rapid processing. However, owing to its' potential
                                                                         whole exome/genome sequencing). The latter next-generation
to damage DNA, other preservatives may be preferable, although
                                                                         sequencing (NGS)-based options offer numerous potential ben-
we are not aware of any data showing a higher level of noise in
                                                                         eﬁts for observing clonal differences in tumor cell populations, an
cfDNA exposed to formaldehyde-based preservatives. An alterna-
                                                                         advantage that until very recently was offset by more limited
tive are the cell-free DNA BCT tubes from Streck. These are
                                                                         sensitivity and speciﬁcity.
advertised to prevent lysis at ambient temperature for up to two
weeks but we and others have noted that processing within a week
or less is more appropriate to minimize contamination (44). In           Assessing speciﬁc DNA changes
summary, procedures for collecting plasma for cfDNA analysis                 A priori knowledge of speciﬁc DNA aberrations (mainly muta-
should be standardized within centers (and studies) and, depend-         tions and short insertions/deletions) and recurrent "hot spot"
ing on the available infrastructure, one may opt to use rapid            mutations allow implementation of a variety of sophisticated
processing or cell-stabilizing tubes to minimize the risk of con-        PCR-based methods for their detection in the cfDNA of cancer
tamination from cellular fractions.                                      patients. These approaches historically had low DNA require-
                                                                         ments and low noise levels, and proved quite efﬁcient for cancer
                                                                         types where few genomic changes are important for the patient
Biological Role of cfDNA                                                 stratiﬁcation.
   Despite almost 70 years of history, the biological function of            Historically, one of the ﬁrst applications for PCR-based analysis
cfDNA has only been unambiguously established for immune                 of ctDNA was the detection of high-level ampliﬁcation of onco-
response and blood coagulation (28) and its function in other            genes. One of the earliest examples was the detection of increased
conditions, if any, remains nebulous. Neutrophils in human               levels of MYCN sequences in circulation in patients with neuro-
blood release so called neutrophil extracellular traps (NET) as          blastoma. MYCN ampliﬁcation is a major prognostic factor in
one of responses to bacterial infection. cfDNA is an important           localized neuroblastoma. In 2002, Combaret and colleagues
component of these NETs, that allows them to bind and trap               demonstrated that PCR and qPCR detect the presence of MYCN
microbial pathogens. The release of DNA from neutrophils is              in blood of patients with MYCN ampliﬁcation, but not in the
thought to occur via an alternative mechanism of cell death              blood of patients without ampliﬁcation or healthy controls (11).
termed NETosis (see refs. 45 and 46 for details). Brieﬂy, two            However, this approach was not very efﬁcient for patients with
mechanisms are being considered, with the ﬁrst involving disso-          stage I and II disease (53), probably due to low cfDNA content and
lution of the plasma and nuclear membranes that is followed by           insufﬁcient sensitivity of the employed methodology, as MYCN
release of the chromatin into extracellular space. Unlike apopto-        locus is present in a diploid state in all healthy cells and thus
sis, NETosis does not result in display of the phagocyte-activating      should be present in all cfDNA samples.
signals, so the neutrophils that undergo NETosis do not get                  However, in general, detection of copy number aberrations
cleared from the blood stream by phagocytes. An alternative              (CNA) in cfDNA using aCGH or approaches that target single/
theory postulates the existence of a DNA/serine nuclease extrusion       limited loci targeting such as digital PCR has limitations that make
mechanism from intact neutrophils and that autophagy contri-             it less appealing for ctDNA quantiﬁcation. After all, unlike other
butes to NETosis. In any case, NETs appear to require intact             types of cancer-speciﬁc mutations (i.e., point mutations or break-
chromatin lattices. Importantly, cfDNA in NETs triggers blood            point detection), the assay must be capable of reliably distinguish-
coagulation, a process that clearly needs to be tightly controlled.      ing a small change in DNA copy number in a high background of
This control is affected by the DNaseI in the blood stream. It has       diploid genomes. One of the ﬁrst approaches to solve this




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     problem was measuring the number of copies of a locus of interest      spanning a given mutation and by the ﬁdelity of the DNA
     relative to one or more reference loci assumed to be diploid in all    polymerases employed in the two PCR steps). These inputs
     cells. For example, a digital PCR assay to detect ERBB2 ampliﬁca-      ranged from 1,350 to 230,000 per mL of blood in cancer
     tions compared the number of copies of this locus to another gene      patients and 1,150 to 8,280 fragments per mL of blood for
     on the same chromosome and applied a threshold that could              control subjects, very close to our estimates above. However,
     distinguish plasma of ERBB2 -ampliﬁed patients to unampliﬁed           most importantly, the errors introduced in the ﬁrst PCR rounds
     patients at sensitivity of 64% and speciﬁcity of 94% (54). In          cannot be eliminated because they would result in beads with
     general, such approaches are expected to be confounded by              homogeneous nonreference fragments, indistinguishable from
     variability in copy number across patients. The sensitivity of CNA     the bona ﬁde homozygous mutations (33). Interestingly, for
     detection is also expected to suffer for patients with lower ctDNA     this particular study the polymerase error rate was relatively less
     abundance levels. Sequencing-based methods that broadly survey         important than the limitations imposed by the low available
     the genome have shown to be useful for cfDNA copy number               amount of input cfDNA because of the possibility to use high-
     proﬁling (i.e., ref. 55; discussed more below) when employed           ﬁdelity proofreading DNA polymerases and scoring of only
     over large genomic regions, as is the case in prenatal screening for   speciﬁc base changes. The authors empirically determined that
     chromosome trisomies. Copy number status evaluation for smal-          for the assessed targets and used polymerases the error rate after
     ler targeted panels remains challenging, especially for approaches     30 PCR cycles was approximately 2  105. The necessity of
     that do not include the routine use of matched normal DNA.             detecting multiple nonreference reads (three in this case) for
        Still, PCR-based techniques are widely used for the detection of    identiﬁcation of a mutation would limit sensitivity to the




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     speciﬁc mutations, and can broadly be classiﬁed as either qual-        detection of nonreference base in >1/1,333 molecules or
     itative or quantitative in nature. Qualitative methods generally       approximately 7.5  104 if 4,000 total cfDNA fragments were
     provide a yes/no readout for the presence of the target mutation       assayed (33). To conclude, since its publication, BEAMing has
     and include ampliﬁcation refractory mutation system (ARMS)             become commercialized and remains a research staple of some
     PCR (56, 57); PNA clamping PCR (58) and ligation-based meth-           groups. For example, a recent application to plasma from
     ods that use DNA ligase and wild-type and mutation-speciﬁc             patients with colon cancer allowed detection of circulating
     reporter probes to quantify mutant DNA (59). The major disad-          KRAS mutations, which are known to be acquired in response
     vantage of these approaches is, obviously, a lack of precise           to EGFR blockade (68). It has also been extended for detection
     quantiﬁcation of mutant DNA molecules. Digital methods                 of methylated fragments (69).
     include various implementations of digital PCR (dPCR)                     In conclusion, even an early dPCR assay for quantifying
     approaches (60, 61), usually in the form of emulsion PCR               mutant KRAS DNA suggested a sensitivity as high as one mol-
     (62), including BEAMing [for Beads, Emulsions, Ampliﬁcation,           ecule in a background of 200,000 (70). This study also intro-
     and Magnetics) technology (33, 63)]. This family of approaches         duced the concept of combining multiple assays for different
     incorporate a number of techniques used to improve speciﬁcity          mutant alleles in a single experiment using different dye dilu-
     and sensitivity of mutation detection by PCR through separation        tions for individual alleles. Commercial kits that facilitate the
     of template molecules into individual reaction vessels with mod-       multiplex screening of hot spots in KRAS now exist. Clearly,
     ern methods typically using either microﬂuidics (64), by sepa-         methods targeting speciﬁc sets of changes, including so-called
     rating sample and PCR reagents into droplets in an oil emulsion        "actionable" alterations, are of particular interest in clinical
     (65, 66) or by combining microﬂuidics and emulsion PCR to              settings. By observing the presence of such mutations in a ctDNA
     generate evenly sized droplets (67).                                   sample, one can consider this as a "liquid biopsy" that could
        BEAMing is an interesting example, because it incorporates a        inform the clinician on a suitable treatment course. Currently,
     number of techniques used to improve speciﬁcity and sensitivity        there are few drugs whose indication is associated with the
     of mutation detection by PCR. Brieﬂy, this approach consists of        presence or absence of speciﬁc genomic changes (Rubio-Perz
     the following steps: ﬁrst, the cfDNA mixture is PCR ampliﬁed           and colleagues have listed 57 FDA-approved agents targeting 51
     using primers that introduce sequence tags into the resulting          driver genes as of 2015 (71)). Therefore, a relatively small panel
     amplicons. Then amplicons are combined with streptavidin-coat-         can test a patients' cfDNA for a large proportion of clinically
     ed magnetic beads, coated with nested primers, and emulsiﬁed so        relevant mutations with high speciﬁcity and sensitivity, which
     that each drop in emulsion contains on average one bead and one        would be highly dependent on the level of ctDNA in the patient.
     DNA fragment and emulsion PCR is performed that results in             However, as the number of targeted genes grows (Rubio-Perez
     clonal ampliﬁcation of each template on the surface of the beads.      and colleagues have counted a total of 96 targetable cancer driver
     The PCR emulsion is deemulsiﬁed and DNA-covered beads are              genes if all current clinical trials are included; ref. 71) such assays
     magnetically puriﬁed and the DNA on beads is hybridized with           become ever more unwieldy. This problem is exacerbated by the
     oligos complementary to a sequence adjacent to the nucleotide of       fact that many relevant mutations in cancer are not sufﬁciently
     interest. Next, a single base extension is performed using ﬂuores-     recurrent to facilitate broad coverage using dPCR-based assays.
     cently labeled bases that allow differential labeling of the wild-     Furthermore, copy number information can also be of clinical
     type and mutant alleles. Finally, ﬂuorescently labeled beads are       importance (see ref. 72 for review). As discussed above, the copy
     counted/puriﬁed on a ﬂow cytometer (and optionally validated           number status of a gene can theoretically be established by
     by Sanger sequencing).                                                 dPCR-based approaches with great precision in high-ctDNA
        BEAMing was the ﬁrst method to allow quantitative sensitive         scenarios (62); however, again at the expense of increasing
     interrogation of mutant cfDNA. In this study, the authors noted        number of assessed targets and a potentially high false negative
     that the sensitivity of the detection of rare mutant fragments         rate when ctDNA is low. Finally, for some cancers, the absence of
     was mainly limited by two factors: the number of genome                high frequency driver mutations such as prostate cancer, where
     equivalents entering the assay (in other words DNA fragments           the SPOP, mutated in 13% of patients is the most frequently



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                                                                                         Emerging Technologies for Circulating DNA Studies




mutated gene (73), makes the development of such targeted                   Until recently PCR-based methods were preferred for cfDNA
panels even less practical.                                              analysis because they allowed sequencing of much smaller input
                                                                         DNA amounts. For example, in our own study of mCRPC patients
Analyzing cfDNA using Massively Parallel                                 treated with abiraterone and enzalutamide (31), we chose to
                                                                         combine targeted sequencing with whole-genome copy number
Sequencing                                                               proﬁling using array comparative genomic hybridization. Whole-
   The inherent limitations of targeted methods described above          genome copy number proﬁling allowed us to determine that pre-
for determining more comprehensive mutational landscape of               existing ampliﬁcation of AR in this cohort was a marker of adverse
tumors prompted the development on more generalizable tech-              outcome for patients switched onto enzalutamide. We success-
niques. The necessity for development of such methods is further         fully sequenced exon 8 that encodes part of the ligand-binding
emphasized by the existence of intrapatient tumor heterogene-            domain (LBD) of the AR gene from as little as 1 ng of input cfDNA.
ity—a well-documented phenomenon with relevance to treat-                Out of six detected nonsynonymous LBD mutations, three were
ment resistance and relapse (e.g., ref. 74). Improvements in read-       not previously observed in prostate cancer. Importantly, we also
length, sequence quality, and throughput allowed NGS methods             identiﬁed cases where a patient had multiple (up to ﬁve) muta-
to become a viable alternative for quantifying ctDNA. Limitations        tions in the AR, while no DNA read, spanning the sequenced
that remain in using NGS are the efﬁciency by which regions of           region, had more than two mutations. The most parsimonious
interest can be captured/enriched from cfDNA and the higher              explanation for that phenomenon is the existence of multiple
error rate of sequencing relative to the accuracy of dPCR. A variety     tumor subclones, each with unique version of AR protein.




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of strategies to drastically reduce the error rate of NGS for accurate      We have also observed changes in patients' AR LBD mutation
ctDNA assessment have already been developed as will be dis-             landscape during the course of treatment. To understand the
cussed below. In general, current methods for using NGS in               functional signiﬁcance of these changes and to enable rational
ctDNA quantiﬁcation can be broadly divided into two groups.              design of novel antiandrogens, we have established a resource for
The ﬁrst group relies on the ampliﬁcation of the target regions          the functional characterization of all identiﬁed AR mutants.
using region-speciﬁc primers (often highly multiplexed), while           Therefore we characterized the effects of various steroids (DHT,
the second relies upon hybridization-based capture of target             estradiol, progesterone, and hydrocortisone) and different anti-
regions using complementary oligonucleotides with subsequent             androgens including enzalutamide and a novel agent developed
ampliﬁcation of the captured DNA (library). Both strategies are          at the Vancouver Prostate Centre (VPC) on transcriptional activity
followed by highly redundant ("deep") sequencing to allow the            of the receptor. We established, in vitro, that all mutations detected
relative amount of mutant and wild-type DNA molecules at each            in the plasma samples of mCRPC patients were resistant to at least
locus to be accurately counted.                                          one speciﬁc antiandrogen treatment and allowed us to explain
                                                                         some of the observed treatment-induced AR mutation landscape
PCR-based methods for cfDNA sequencing                                   shifts. We also demonstrated that a novel AR inhibitor VPC-13566
   A simple approach to amplify cfDNA for sequence-based                 under development at the VPC was able to efﬁciently target all
characterization involves a PCR using site-speciﬁc primers with          tested AR mutants (76). To summarize, we have prototyped an
universal tails that facilitate library construction using nested        analytic pipeline for evidence-based selection of optimal treat-
PCR. An early example of a PCR-based strategy for analysis of            ment strategies for mCRPC patients that may eventually enable
mutations found in individual patients involved the design of a          rational and rapid selection of speciﬁc AR inhibitors to combat
set of tailed site-speciﬁc primers followed by multiplex PCR (for        resistance.
preampliﬁcation) and subsequent uniplex PCR using each indi-                In a broader application of this type of approach, Carreira and
vidual primer pair. The second PCR, in which locus-speciﬁc               colleagues reported on the temporal sequential analysis of
primers are applied individually, is accomplished using a Flui-          approximately 38-kb region using a custom Ampliseq panel
digm AccessArray system and the entire procedure was named               (Thermo Fisher Scientiﬁc) from as little as 6 ng of cfDNA in a
TAm-Seq (Tagged Amplicon Sequencing; ref. 75). This strategy             cohort of 16 TMPRSS2-ERG–positive prostate cancer patients
can facilitate sequencing a panel of commonly mutated exons or           (77). This work demonstrates the advantages of targeted sequenc-
may be guided by mutations identiﬁed through other means (e.g.,          ing approaches as a single assay enabled the detection of both
genome or exome sequencing). This approach afforded the                  CNAs and point mutations. Importantly, the authors also devel-
opportunity to quantify mutant DNA at many loci in each patient          oped an approach for assessment of the abundance of ctDNA in
but had a relatively low sensitivity for mutations below approx-         total cfDNA, based either on the analysis of the allelic frequencies
imately 1%–2%. Still, this pilot study showed clear evidence of a        in monoallelic deletion regions, or in absence of those, on the
temporal correspondence between ctDNA levels and tumor bur-              comparison of read depths of the autosomal and nonautosomal
den when compared within individual patients. The multiplex              regions in tumor and matched normal samples. This work also
nature of the assay also allows monitoring the level of many             illustrated the main disadvantage of an amplicon-based targeted
individual mutations in a single sample (or series) thereby allow-       sequencing—varying PCR efﬁciency of the panel primer pairs. For
ing proﬁling cfDNA at each locus individually. Such distinct locus-      example, for the copy number estimates the authors chose to
speciﬁc proﬁles might be expected in patients with spatial het-          retain only amplicons with read coverage falling in the range of
erogeneity of tumors or with ongoing clonal evolution in                 mean  SD for more, than 10 samples. This resulted in discarding
response to therapy. Anecdotal examples of this were ﬁrst shown          35% (120/337) of autosomal amplicons (ref. 77; Supplementary
in a study by Dawson and colleagues, in which the level of mutant        Data). It also should be noted, that 6 ng of input DNA is arguably
DNA corresponding to TP53 and PIK3CA showed strikingly                   the lower practical limit of cfDNA input for sequencing as it
different dynamics across series of plasma samples from patients         corresponds to approximately 1,000 diploid genome equivalents.
with metastatic breast cancer (34).                                      Assuming 1% ctDNA content, this amount would contain just 10



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     copies of tumor genomes—a level, likely to result in high sam-          non–small cell lung cancer (NSCLC). Custom oligonucleotides
     pling variance. Another key consideration when designing PCR            covering these loci were purchased to allow hybridization capture
     primers for such experiments is that the distance between primers       of all DNA from these regions. They then combined a modiﬁed
     should correspond to the size of DNA fragments expected in              library construction strategy with sophisticated bioinformatics
     ctDNA. In our experience, we have observed a bias towards PCR           methods to sequence these loci in patient constitutional DNA,
     under-representing the level of ctDNA proportionally relating to        tumor, and cfDNA samples. Importantly, mutations identiﬁed
     the size of amplicons in accordance with observations made in the       using this method may include indels, single base substitutions,
     Diehl study (33). While keeping amplicon size to a minimum              and breakpoints that underlie structural alterations such as those
     must be a priority (e.g., 60–80 bp) it should be also noted that this   affecting ALK or large deletions. The latter types afford virtually
     can be challenging for assays relying on hydrolysis probes, as little   perfect speciﬁcity for tumor DNA. Using the level of mutant DNA
     space is available in such a small region for two primers and a         detected across the mutations found in the tumor, they demon-
     probe. Even in spite of such accommodations, any PCR-based              strated that cfDNA-based analysis allowed for earlier assessment
     method is expected to under-sample ctDNA owing to fragments in          of response to treatment than standard-of-care radiographic
     which both priming sites are not represented and this may be            approaches and could distinguish between residual disease and
     exacerbated in samples with contaminating DNA that can be less          treatment-related imaging changes, such as postradiotherapy
     fragmented.                                                             inﬂammation. This so-called "CAPP-seq" method allowed anal-
                                                                             ysis of as little as 7 ng of input cfDNA (1,100 genome equiva-
     Ligation and hybridization-capture methods                              lents), essentially at the level of the best existing PCR-based target




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        A recently developed method for performing targeted                  sequencing methods. This was a signiﬁcant result, because it
     sequencing is based on oligonucleotide DNA capture and has              demonstrates the potential for hybridization-based workﬂows to
     given rise to affordable approaches to sequence gene panels and         compete with PCR-based strategies while allowing for a much
     even the entire human exome (78). This approach is based                broader and more uniform representation of the analyzed DNA
     upon sequencing library construction followed by hybridiza-             than PCR-based techniques. We note that very inexpensive
     tion of the library to a pool of DNA or RNA oligonucleotides            options now exist for obtaining individual capture oligonucleo-
     complementary to regions of interest. The hybrid molecules are          tides or pools that target the exons of a small number of genes such
     then isolated (typically via immobilization on streptavidin             as biotinylated DNA LockDown oligonucleotides offered by
     beads) and ampliﬁed using universal primer pairs complemen-             Integrated DNA Technologies. This approach allows for ﬂexibility
     tary to the library adaptors. Importantly, a convenient feature         in designing and modifying such selectors for individual patients
     of such strategies that owes to the natural size distribution of        or cohorts. For some tumor types, a smaller selector focusing on a
     ctDNA is that libraries can be generated using ligation-based           small panel of exons may be suitable, whereas other may be better
     chemistry directly without the need for shearing or transposon-         covered using a larger selector that includes genomic regions
     based library construction. It is notable that in absence of            commonly affected by structural alterations. An important con-
     shearing step much of the contaminating DNA from nonapop-               sideration when designing a selector is that sequencing cost is
     totic processes is expected to be naturally excluded from librar-       proportional to the size of the region being sequenced. It should
     ies thereby naturally biasing the library contents in favor of true     be noted, that targeting very small regions is associated with its
     ctDNA fragments. Assuming sufﬁciently high ligation efﬁcien-            own hurdles because the enrichment efﬁciency of a single capture
     cy, this would result in a higher fraction of mutant ctDNA              are typically on the order of 104-fold, so for the targets smaller,
     molecules making it through sequencing pipeline than PCR-               than approximately 100 kb additional steps, such as two rounds
     based applications. This assumption has been experimentally             of capture may be necessary to ensure sufﬁciently high on-target
     validated in libraries prepared from cfDNA of hepatocellular            mapping rate (82). For patient-speciﬁc applications or cancers
     carcinoma patients (79). The authors observed a shift towards           with a high mutation rate (or recurrence in a small number of
     the characteristic cfDNA fragment length in read pairs mapping          genes), this may allow deep sequencing to be achieved at a low
     in regions associated with copy number gains, where we would            cost using "bench-top" NGS devices.
     expect greater proportion of ctDNA-derived fragments. Despite              A logical extension of this approach that requires no prior
     this potential beneﬁt, this does not preclude the need for              knowledge of the tumor but assumes the presence of somatic
     standardization of blood collection and handling methods.               point mutations affecting exons is the use of whole-exome
     Until recently, the major disadvantages of this type of approach        sequencing. Early exploration of this strategy was demonstrated
     to cfDNA analysis were relatively high requirements for the             in six patients with a mixture of advanced breast, ovarian, and
     quality and quantity of input DNA. However, development of              lung cancers by Murtaza and colleagues (83). Overall, a strong
     the solution-based hybridization workﬂows (80) and reﬁne-               correspondence between the mutations was detected between the
     ments in sequencing library construction protocols such as              plasma and the matched tumor and the variant allelic frequency
     improvements of ligation efﬁciency allowed drastic reduction            (VAF) was largely reﬂective of the level of ctDNA in each plasma
     of the quality and quantity of input DNA requirements, result-          sample. In almost all patients, at least one mutation was identiﬁed
     ing in the development of the capability to analyze DNA                 that showed an increase in VAF over the time of the study, and
     samples as scarce and highly fragmented as cfDNA.                       these included mutations in genes thought to be associated with
        One of the best examples of successful application of this           treatment resistance in their respective disease such as PIK3CA in a
     strategy to development of a clinically relevant cfDNA-based            breast cancer patient treated with paclitaxel. In another example,
     analysis is the work of Newman and colleagues (81). In this             Butler and colleagues (84) compared tumor and plasma exomes
     seminal study, the authors ﬁrst analyzed available sequence data        from two patients with metastatic sarcoma and metastatic breast
     to determine a set of genomic regions (a "selector") comprising a       tumor. For sarcoma patients, 47 of 48 mutations identiﬁed in the
     set of mutations present in majority of patients with stage II–IV       tumor sample were also found by exome sequencing of the



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                                                                                       Emerging Technologies for Circulating DNA Studies




cfDNA. However, for the patient with metastatic breast tumor           approach. In one of the experiments, the authors used DNA from
the authors observed discordance for the H1047R PIK3CA muta-           1,750 individual cells to assess mutation frequency in one gene.
tion status. This mutation was detected in primary tumor but           Using endogenous UID approach, 1,057 molecules were assessed
not in matched metastatic and cfDNA samples. ESR1 mutation             or approximately 30% of the total available amount (86). Com-
(D538G), on the contrary, was observed in both metastatic and          parable strategies for ligation-based library preparation with
cfDNA samples but not in tumor, and could possibly explain             modiﬁed adaptors allow individual ligation events to be distin-
patient's resistance to estrogen deprivation therapy. The potential    guished and even facilitate recognition of the two strands of the
for observing discordance between tumor tissue and liquid biop-        original duplex. Conventional methods to recognize reads deriv-
sies via exome sequencing offers many avenues of research for          ing from the same template DNA molecule (i.e., duplicate pairs)
studying the clonal complexity and patterns of evolution in cancer     are not suitable for ctDNA because the distribution of fragment
not previously readily accessible due to the invasive nature of        ends is non-random and is likely dictated, in part, by nucleosome
tissue biopsies.                                                       occupancy (87). As the read lengths and the robustness of paired-
   Importantly, despite some potential to observe tumor evolu-         end sequencing of the massively parallel sequencing platforms
tion and identify variants outside of gene panels or selectors in      improved, it became feasible to sequence approximately 200-bp
more targeted capture-based assays, exome sequencing remains a         fragments from both ends. Coupled with the molecular tagging,
niche application. Large target size makes achieving the same level    this opened the way to drastically decrease the sequencing pipe-
of coverage as for targeted gene sets impractical. Currently, that     line error rate. For example, the authors of one of such approach,
and the higher input DNA amount requirements (100 ng for              Schmitt and colleagues estimated the error rate of 3.8  1010 in a




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Butler and colleagues study; ref. 84), limits exome sequencing to      model experiment (88). The same group demonstrated the
the analysis of samples with relatively high ctDNA levels that         robustness of their approach by detecting a single ABL1 imatinib
would allow robust detection of mutations at the relatively            conferring mutation in a sample from the chronic myeloid
shallow coverage of individual loci. In such scenarios, it is advis-   leukemia patient (82). The E279K mutation was unambiguously
able to assess ctDNA ﬁrst using a targeted approach to identify        detected at 1% rate, whereas the error rate of raw sequencing data
suitable samples such as those with VAFs of at least 5% at known       would have either completely or partially obscured this mutation.
mutant sites and high amounts of cfDNA in blood.                       In our own data, (Assouline and colleagues, in review) we have
                                                                       directly inferred mutations from ctDNA libraries using a similar
Error suppression methods                                              error suppression strategy at levels as low as 1% across a broad
   As we have demonstrated earlier, the mutant VAF in patients'        gene panel. An interesting combination approach termed "inte-
cfDNA can go as low as 0.01%. Clearly, any strategy to suppress        grated digital error suppression" (iDES) was described in 2016 by
sources of errors thereby increasing accuracy in detecting mutant      Newman and colleagues (89). The authors redesigned their pre-
DNA molecules is important for cfDNA analysis. This problem is         viously published Capp-Seq panel (81) to integrate molecular
equivalent to an extreme case of identifying low-abundance             barcoding into their workﬂow. However, analysis of the cfDNA
mutations in tissue samples, which has also proven difﬁcult for        sequencing results revealed the presence of particular sequencing
NGS methods. Guntry and Vijg noted that "the single most               artifacts in their cfDNA samples that were not suppressed by bar
important limitation of current MPS approaches from mutation           coding. This prompted the authors to rigorously examine the
analysis is the inability to address low-abundance mutations that      patterns of sequencing artifacts and note that G!T changes were
turn somatic tissues into mosaics of cells" (85). This argument was    much more prevalent than C!A changes. Moreover, this imbal-
based on the comparison of the natural mutation rates in mam-          ance increased proportionately to an increase of the hybridization
malian cells (e.g., 0.05  109 per base per cell division for human   time. This allowed the authors to develop an in silico ﬁlter to
cells) versus well-established error rates of existing sequencing      remove this bias. The combination of in silico ﬁltering and bar-
platforms, which was estimated in 2012 to be approximately             coding approaches allowed development of the workﬂow that
0.05%–1% and has not signiﬁcantly changed since.                       had 15 times lower error rate than original CAPP-Seq approach.
   Besides simple strategies such as using proofreading-enabled           An interesting alternative to barcoding techniques capitalized
polymerase and a low number of PCR cycles, the most promising          on the increased read length possible with newer Illumina chem-
strategy for error suppression is based on the fact that because       istry and suggested the use of rolling circle ampliﬁcation to ensure
DNA is naturally double-stranded, true mutations should be             redundant sequencing of individual DNA fragments (90). Brieﬂy,
present in identical positions on both DNA strands from a single       DNA is fragmented to approximately 130 bp, denatured, circu-
duplex. However, because all widely employed sequencing strat-         larized, and ampliﬁed using Phi29 polymerase. Strand displace-
egies now include a PCR ampliﬁcation step, the real problem            ment activity of this polymerase ensures rolling circle ampliﬁca-
becomes distinguishing reads that originate from the same orig-        tion of individual DNA fragments. These can be sequenced on
inal duplex fragment (and thus should be identical) from reads         Illumina MiSeq machines using 500-cycle chemistry. As a result,
that originate from multiple DNA fragments covering the same           each individual fragment of the original DNA mixture will be
locus (that were produced from the other allele(s) or other cells in   read on average three times. Interestingly, the authors demon-
the analyzed mixture). One of the ﬁrst solutions to this problem       strated that redundant sequencing alone results only in approx-
was proposed in 2011 by Kinde and colleagues. Their "Safe-Seqs"        imately 2-fold reduction of error rate. More detailed analysis of
approach involves usage of pools of primers containing degen-          the sequencing data revealed that most of the noise resulted from
erate molecular tags that would uniquely barcode all DNA frag-         deaminated nucleotides (C!T and G!A transitions due to
ments resulting from the initial PCR cycle. The procedure is           deamination of cytosine into uracyl and of guanine into xanthine,
followed by a nested PCR to amplify each "family" of fragments         respectively). Treating the circularized DNA fragments with uracil-
that are later collapsed into consensus sequences. Interestingly,      DNA glycosylase and (UDG) and formamidopyrimidine-DNA-
the authors provide hard data to assess the efﬁciency of their         glycosylase (Fpg) resulted in excision of deaminated bases, and,



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     thus, in linearization of the fragments with such bases. Clearly,          in $500—1,000 range. While the investor's presentation men-
     linearized fragments are excluded from subsequent rolling circle           tions "error-corrected reads", no details on the GRAIL's approach
     ampliﬁcation and sequencing. This allowed the authors to achieve           to error correction are available yet. To summarize, the liquid
     approximately 100-fold reduction in sequencing noise thereby               biopsy clearly represents an appealing area for commercializa-
     improving speciﬁcity, but presumably at a cost to overall sensi-           tion. Thus far, the commercial success appears to be favoring
     tivity due to the loss of some molecules prior to sequencing (90).         companies that employ some form of error correction in their
        To summarize, all of the aforementioned approaches rely on              technologies, a trend we expect to continue.
     redundant sequencing of individual DNA fragments to achieve
     drastic noise reduction and thus come at a higher cost than
                                                                                Conclusion
     standard applications of DNA sequencing. Circle sequencing
     stands apart from other approaches due to lowest sequencing                   The concept of precision oncology has as its foundation the
     redundancy, but requires UDG/Fpg enzyme treatment step to                  ability to detect clinically relevant and actionable tumor-speciﬁc
     ensure signiﬁcant noise reduction. Another common problem for              changes in a timely fashion. This may be achieved using temporal
     the barcoding approaches is their sensitivity to efﬁciency of library      cfDNA assays to monitor adaptation to therapy and identify
     construction protocol, starting at ligation of barcoded adaptors           actionable mutations. cfDNA-based proﬁling of cancer patients
     and ending with ﬁnal PCR ampliﬁcation of selected DNA frag-                offers a number of critical advantages for essentially real-time
     ments. This number can be measured by calculating the ratio of             monitoring of a tumor response to therapy in cancer patients.
     the detected individual molecules after sequencing to the total            These include integral representations of tumor heterogeneity,




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     approximate number of DNA molecules that enter the assay. Over             ease of sampling, minimal invasiveness and morbidity, and low
     last ﬁve years, this metric improved from around 30% in 2011               cost. However, tumor-derived DNA usually constitutes only a
     (86) to more than 60% in 2016 (89).                                        small percentage of total cfDNA so the ability to detect rare
                                                                                genome aberrations is an essential requirement for cfDNA anal-
     Commercialization efforts                                                  ysis pipelines. Another important parameter is the spectrum of
        The practical advantages of tumor monitoring from blood                 genomic changes the technology is capable of detecting. While
     have spurred a number of commercialization efforts. To date,               targeted assays can be fruitful in the clinical setting, sequence-
     one of the most successful enterprises in this space is Guardant           based approaches offer clear advantages in terms of ﬂexibility of
     Health Inc. Its proprietary approach appears to be a variant of            coverage and the ability to detect a wide range of aberrations in
     the barcoding method termed "digital sequencing" (91) based                tumor genomes. This ﬂexibility will be especially important for
     on the "nonunique" heptamer barcodes that tag both 50 and 30               managing metastasis and resistance to therapy; widely recognized
     ends of cfDNA fragments. The company claims that this process              to be among the most important problems in cancer manage-
     is 5–10 times more efﬁcient than other existing workﬂows and               ment. Resistance to therapy can be driven by a wide range of
     that minor alleles at approximately 0.1% prevalence can be                 genomic aberrations such as point mutations and copy number
     detected with extremely high speciﬁcity. The analysis workﬂow              aberrations. Moreover, resistant subclones can constitute a very
     also allows for identiﬁcation of the copy number gains, as long            small proportion of the tumors total clonal population until the
     as the CN gain exceeds 2.2-fold in the cfDNA. Guardant Health              selective pressure of therapy leads to their rapid expansion.
     offers a 54-gene panel for cfDNA-based screening of melano-                Clearly, the early detection of resistant clones requires sensitivity
     ma, lung, and breast cancer patients that allows both SNV                  to detect such events. However, this requires minimizing noise in
     detection and gene copy number evaluation. Other important                 the ctDNA analyses and pushing the sensitivity of detection to the
     players in this ﬁeld including Personal Genome Diagnostics                 theoretical limits imposed by the plasma levels of ctDNA. Recent
     Inc. led by John Hopkins team that includes Drs. L. Diaz and               evidence suggests that the most promising technology for this is
     V. Velculescu and Cambridge, MA based Foundation Medicine.                 based on molecular tagging-based workﬂows that suppress errors
     The latter recently announced its own version of a barcoding               introduced by PCR and sequencing. This approach is limited
     assay that is also aimed at detecting low-level contamination in           mainly by the ctDNA sampling efﬁciency and is straightforward
     cfDNA samples.                                                             to scale and thus offer enormous potential for monitoring ctDNA
        One potential application of cfDNA that has been long envi-             in cancer patients and possibly for screening healthy asymptom-
     sioned is its use in identifying cancers prior to any symptoms, but        atic individuals.
     owing to the difﬁculty and likely cost of tackling this problem,
     there are no studies yet demonstrating the feasibility of ﬁnding a         Disclosure of Potential Conﬂicts of Interest
     solution. In reference to this "holy grail" application, in January          No potential conﬂicts of interest were disclosed.
     2016, Illumina Inc announced launch of GRAIL, a new company
     dedicated to developing and implementing cfDNA-based assay                 Grant Support
     for the early detection of cancer in asymptomatic individuals. No             R.D. Morin is funded by a New Investigator Award from the Canadian
     details on the underlying technology have been released, beyond            Institutes of Health Research (CIHR) and by the Terry Fox Research Institute
     the statement that ultra-deep sequencing (20,000 or more) will            (grant #1043) and a Terry Fox New Frontiers Program Project grant (#1021).
     be one of the cornerstones of the approach. A recent presentation          C.C. Collins is supported by a Terry Fox New Frontiers Program Project grant
                                                                                #TFF116129, Prostate Cancer Canada – Movember Foundation Team grants
     for investors released by Illumina outlines two scenarios: one
                                                                                D2013-4, D2015-06 the Terry Fox New Frontiers Program on Prostate
     "best case" which assumes that GRAIL will develop a test suitable          Cancer Progression T2013-01, CCSRI Innovation grants 701115 and
     for high-risk individuals in whom cancers at higher stages (stage II       701753, and CCSRI Impact grant 701585.
     and above) would be sought. Ultimately, they also plan to target
     patients in the general population using an approach suitable for            Received February 9, 2016; revised June 27, 2016; accepted June 30, 2016;
     early-stage cancer. In both cases, the analysis cost is expected to fall   published OnlineFirst July 15, 2016.




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             IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NATERA, INC.,

                Plaintiff,
          v.                            C.A. No. 1:23-cv-629

NEOGENOMICS          LABORATORIES,
INC.,
                Defendant.


   PLAINTIFF NATERA’S REPLY IN SUPPORT OF ITS MOTION FOR A
 PRELIMINARY INJUNCTION PURSUANT TO FEDERAL RULE OF CIVIL
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I.     NATERA IS LIKELY TO PREVAIL ON THE MERITS

      A.       ’454 Patent Infringement

      NeoGenomics raises two non-infringement arguments: (1) RaDaR purportedly does

not “sequenc[e] the amplicons” (Opp. 3-6); and (2)



                    (Opp. 6). Each fails.

               1.      “Sequencing the Amplicons”

      NeoGenomics argues that “sequencing the amplicons” excludes additional

amplification steps. But claims, like Claim 1, with “comprising” language can include

unrecited steps precisely to avoid such “gotcha” theories of noninfringement. Cias, Inc. v.

All. Gaming Corp., 504 F.3d 1356, 1360 (Fed.Cir.2007). All Claim 1 requires is

“sequencing the amplicons.” RaDaR does obtain sequence reads of the amplicons

generated via targeted multiplex amplification, as required by this “sequencing” step.

Metzker.Decl., § IX.A, ¶270.

       NeoGenomics’ contrary argument (a disguised claim construction) is that

“amplicons”1 from targeted amplification must be “directly” sequenced without a

modifying intervening step.       Van-Ness.Decl2, ¶78; Van-Ness.Tr,3. 236:21-22.       But



      1
          NeoGenomics never proposed—therefore waived—a construction for this term.
Adv. Commc’n Design, Inc. v. Premier Retail Networks, 46 F.App’x 964, 980
(Fed.Cir.2002).
      2
           Dkt. 116.
      3
           See Metzker.Decl., Ex. 1.


                                            1

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accepting this requires improperly reading the term “direct” into Claim 1, and disregarding

controlling precedent, established claim construction canons, and the ’454 Patent’s

teachings. Metzker.Decl., § IX.A, ¶¶271-272.

       For example, asserted Claim 11, which depends from Claim 1, introduces an

additional step of “barcoding PCR prior to the sequencing.” Metzker.Decl., ¶¶273-274.

Under the doctrine of claim differentiation, Claim 1’s scope is broader than Claim 11—

thus additional PCR steps are permitted, though not required. AK Steel Corp. v. Sollac,

344 F.3d 1234, 1242 (Fed.Cir.2003). NeoGenomics’ Opposition fails to address Claim 11.

       The ’454 specification teaches additional amplifications following targeted

amplification, (e.g., Example 7), and sequencing using Illumina’s system, which involves

adding universal sequencing adapters by PCR, (Metzker.Decl., ¶274). NeoGenomics’

interpretation excludes these necessary steps and reads out preferred embodiments which

is “rarely, if ever, correct.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed.

Cir. 1996).

       NeoGenomics’ reading also contradicts the meaning of “amplicons.” PCR-related

terms such as “amplicons” and “primers” refer to functional units of DNA involved in the

PCR process—molecules containing the same characteristic sequence, which can be

modified as needed. Contrary to NeoGenomics’ characterization4, when a similar argument

arose in ArcherDx, the Court—and jury—rejected requiring identity between “a universal




       4
            Dkt. 107 at 3.


                                              2

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primer” and “the universal primer” in a claim. That the same sequence was present in the

two was sufficient for infringement.

       NeoGenomics cites supposed “admissions” made during prosecution of a different

patent, U.S. 11,486,008. Opp. 4-5. But absent allegation that a patentee acted as his own

lexicographer (here there is none), claim scope can only be surrendered where there is a

disavowal in the specification or during prosecution, and NeoGenomics does not argue one

occurred. AstraZeneca LP v. Breath Ltd., 542 F. App’x 971, 975-76 (Fed.Cir.2013)

(disclaimer must be “clear and unmistakable”); Metzker.Decl., §IX.A.iii, ¶292. Moreover,

because the ’454 and ’008 claims have materially different language5 and the PTO found

them patentable based on different arguments, statements in the ’008 prosecution do not

limit the ’454 claims. Invitrogen v. Clontech Labs., 429 F.3d 1052, 1078 (Fed.Cir.2005);

ResQNet.com v. Lansa, 346 F.3d 1374, 1383 (Fed.Cir.2003).6

       Even if NeoGenomics’ construction were adopted, RaDaR would still infringe

under doctrine of equivalents.     Spectrum Pharm. v. Sandoz, 802 F.3d 1326, 1337



       5
         The ‘008 claims as issued recite sequencing “the amplicons obtained in the
multiplex targeted amplification reaction,” language which does not appear in any ‘454
claim. Metzker.Decl., ¶.
       6
          NeoGenomics’ cited cases are inapposite. (Opp. 5) Elkay Mfg. Co. v. Ebco Mfg.
Co., involved two sets of claims the applicant “affirmatively linked” during prosecution,
and the issued claim language was identical but for one term. 192 F.3d 973, 980 (Fed.
Cir. 1999). Juniper Networks, Inc. v. Palo Alto Networks, Inc., addressed doctrine of
equivalents where (unlike here) the asserted patent was a direct continuation of the earlier
patent, and the Examiner allowed the claims for “substantially similar reasons,” linking
them. 15 F. Supp. 3d 499 (D. Del. 2014). The ’454 and ’008 Patent claims differ in
materials ways (not by a mere word) and were never expressly linked.


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(Fed.Cir.2015). Sequencing the targeted PCR amplicons, as modified by universal PCR

for sequencing, performs the same function (to obtain sequencing reads) in substantially

the same way (by sequencing the amplified DNA) to produce substantially the same result

(sequence reads that include the target loci). Metzker.Decl.,§IX.A.v. NeoGenomics’ expert

makes passing reference to “disclaimer” (Ex. 116, 30) but as discussed above, no

disclaimer was made for the ’454 Patent.

             I




                                           4

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       B.     ’035 Patent Infringement

       Regarding Claim 1, NeoGenomics argues—incorrectly—that RaDaR does not

perform targeted amplification of tagged products. Opp, 6-7. RaDaR allegedly does not

infringe because, while it uses targeted PCR to generate tagged products, it does not

perform a subsequent targeted PCR to separately amplify those tagged products. Opp. 7.

Claim 1, however, does not require two separate targeted PCRs for “tagging” and

“amplifying.” Metzker.Decl., §IX.B., ¶297.

       PCR involves of a series of amplification “cycles,” each involving a separate and

new amplification of what was produced in prior cycles. Van-Ness.Tr. 220:1-16;

Metzker.Decl., §V.B.ii-iii. RaDaR’s targeted PCR involves 15 cycles. Metzker.Decl.,

¶295; Van-Ness Tr. 228:17-19. The first cycle(s) of RaDaR’s targeted PCR introduces

universal tags, one on each strand of the resulting product (“tagging” step). Metzker.Decl.,

¶296. NeoGenomics argues that the initial tagging occurs over two cycles, (Opp. 7), but

even if true, that would be irrelevant. All agree at least one tag is added at the first cycle,

the dual-tagged products are formed by at least the second cycle’s end, and tagged products




                                              5

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are thereafter amplified by targeted amplification numerous times in the remaining cycles

of PCR (“amplifying” step). Metzker.Decl., §IX.B; Van-Ness.Tr. 228:20-232:25.

      C.     NeoGenomics Has Not Raised A Substantial Question Of Invalidity

             1.     Obviousness

      NeoGenomics does not argue the Natera claims lack novelty. NeoGenomics argues

they are obvious. Opp. 8-11. Obviousness, however, requires (1) motivation to combine

and (2) reasonable expectation of success. Regents Univ. Cal. v. Broad Inst., 903 F.3d

1286, 1291 (Fed.Cir.2018). NeoGenomics makes neither showing.

      NeoGenomics and its expert identify no evidence of motivation to combine. See

generally Van-Ness.Decl., §X; Metzker.Decl, ¶75. That alone defeats NeoGenomics’

arguments. In re Rouffet, 149 F.3d 1350, 1358 (Fed.Cir.1998).

      NeoGenomics also fails to grapple with unpredictability of the art, particularly well-

known obstacles to the use of cell-free DNA (“cfDNA”), which is challenging to

manipulate even with known methods. Metzker.Decl., §II.A; Van-Ness.Tr., 109:25-110:7,

116:19-117:21. In combining disparate teachings, Dr. Van Ness fails to address—even

acknowledge—difficulties in identifying genetic variants in low-abundance, unpredictable

cancer-associated cfDNA (“ctDNA”). Askilled artisan would not be motivated to modify

the prior art to achieve the claimed methods or reasonably expect success doing so.

NeoGenomics’ obviousness combinations all fail. 903 F.3d at 1291.

      NeoGenomics’ technical arguments also lack merit. First, the ’454 claims are not

obvious over Forshew (Opp. 10), as the Examiner recognized during prosecution.



                                            6

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Metzker.Decl., §VI.A.i.a.C. Sequencing each SNV locus 50,000 times or more—which

Forshew does not teach, id.— would not reasonably be expected to identify rare variants

in low-abundance ctDNA above the background “noise” from sequencing-related error

rates. Id. §VI.A.i.a.B.

       Second, it would not have been obvious to modify Bashashati8 to amplify multiple

cfDNA loci in one reaction volume. (Opp. 10). Doing so could generate unwanted

byproducts and hamper the method’s success. Metzker.Decl., §VI.A.ii.a; Van-Ness.Tr.

132:13-133:3.

       Third, the ’035 Patent is not obvious over Kaper’s Access Array system (Opp. 10).

Metzker.Decl., §VI.B.i.      The ’035 Patent teaches away from using Access Array,

disparaging it as “problematic for samples with a limited amount of DNA”—e.g., ctDNA.

Id. §VI.B.i.a.

       Finally, NeoGenomics’ reliance on ARM-PCR fails to teach cfDNA or targeted

amplification of SNP loci in one reaction volume. Id. §§VI.B.ii.a-b.

                 2.    Written Description

       Contrary to NeoGenomics’ argument (Opp. 11-12), the ’454 specification describes

whole genome sequencing (“WGS”) explicitly and in terminology a skilled artisan would

recognize—e.g., “long read sequencing” and “phasing.” Metzker.Decl., §VIII.A; Ariad




       8
            Dkt. 118-14 (’454 Patent, p.8).


                                              7

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Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1352 (Fed.Cir.2010) (written description

“does not demand any particular form of disclosure”).

      NeoGenomics’ other conclusory arguments (Opp. 12) lack merit because the patents

show possession of the inventions and provide examples. Metzker.Decl., §VIII.B. The

patents teach the claimed methods could be performed without selecting primers to avoid

“primer dimer” formation. Id. §VIII.B.i.

             3.     Inventorship

      NeoGenomics’ inventorship argument (opp. at 11-14) is a red herring.

NeoGenomics cannot overcome the presumption that inventorship is accurate. Hess v. Adv.

Cardiovascular Sys., 106 F.3d 976, 980 (Fed.Cir.1997). There is no evidence any allegedly

omitted inventor contributed to conception of the ’454 claims. Ethicon, Inc. v. U.S.

Surgical Corp., 135 F.3d 1456, 1460-61 (Fed.Cir.1998). At most, NeoGenomics suggests

Dr. Jamal-Hanjani articulated the state of the prior art regarding “whole exome

sequencing” (WES) to Natera, but that is not enough to be an inventor. See id., Eli Lilly

and Co. v. Aradign Corp., 376 F.3d 1352, 1359 (Fed. Cir. 2004); Van-Ness.Tr 22:17-24:1.



                                                                     And Natera already

conceived of using WES in the context of the ’454 claims by June 2014, months before

meeting Dr. Jamal-Hanjani. Ex. 1 (NAT-NEO-00884450); Ex. 2 (NAT-NEO-00574120-

22); Ex. 3 (NAT-NEO-00774814, -21, -25); Ex. 4 (Zimmermann.Tr) 109:24-113:19;

100:24-104:8, 105:16-109:13.



                                           8

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        Improper inventorship is rarely grounds for denying a preliminary injunction; it can

be corrected any time—including during litigation and without explanation—without

affecting validity. Stoll.Decl., §VI.D; Egenera v. Cisco Sys., 972 F.3d 1367, 1376

(Fed.Cir.2020); Canon Computer Sys. v. Nu-Kote Int'l, 134 F.3d 1085, 1088

(Fed.Cir.1998). Natera did so during prosecution of the ’035 Patent,9 and during litigation

asserting its ancestor ’220 Patent, which was upheld in Natera v. ArcherDx despite the

same inventorship challenge. Dkt. 109-1 at 10-11.

                 4.     Section 101

        Natera’s response to NeoGenomics’ motion to dismiss (Dkt. 131), incorporated by

reference, explains why the Natera Patent claims are patent-eligible.             See also

Metzker.Decl., §VII.

II.     NATERA WILL SUFFER IRREPARABLE HARM

        A.       Natera Did Not Unreasonably Delay

        NeoGenomics’ “delay” argument (Opp. 15) fails. Delay does not bar an injunction

where, as here, there is good cause. Hybritech v. Abbott Labs., 849 F.2d 1446, 1457

(Fed.Cir.1988). Natera has been litigating to enforce its patents since 2020, and these

asserted patents did not issue until December 2022. See D.Del. case nos. 20-cv-38, 20-cv-

125, 21-cv-56. A patentee facing multiple infringers will often have “good cause for

seeking relief against [a different infringer] first.” Hybritech, 849 F.2d at 1457; Polymer

Techs. v. Bridwell, 103 F.3d 970, 975-76 (Fed.Cir.1996).


        9
             Stoll Decl. ¶¶54-56.


                                             9

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      Further, before July 2023, RaDaR lacked Medicare approval. NeoGenomics

contends (Opp. 16) that Medicare approval does not drive sales, citing a survey. Dkt. 110-

1. That survey found, however, that “reimbursement status” was an important factor

influencing    MRD-test-vendor     choice,    ranking   higher   than    “cost,”   “report

clarity/comprehensiveness,” and “quality of customer support.” Id., NEOGEN4241; see

Ex. 5., Malackowski.Tr., 71

NeoGenomics itself has made a point to publicly announce RaDaR’s Medicare approval

for RaDaR.10

      B.       Natera Will Lose Market Share, First-Mover Advantage, Clinical
               Opportunities, and Biopharmaceutical Partnerships

      NeoGenomics’ argument (Opp., 17) that there is no irreparable harm because of

Natera’s large market share is misplaced. A patentee’s large market share weighs in favor

of an injunction—not against—because the patentee has more to lose from infringement

than the infringer has from injunction. Metalcraft of Mayville v. Toro, 2016 WL 4076894,

*4 (E.D.Wis.2016) (granting PI to patentee with “about 100% of the market”); Arlington

Indus. v. Bridgeport Fittings, 2011 WL 2927817, *10 (M.D.Pa. July 18, 2011) (similar).

Even the report NeoGenomics cites predicts Natera will lose and NeoGenomics will gain

market share. Dkt. 92-1, NEOGEN00004203. Further, NeoGenomics cites only data for




      10
           Dkt. 1-30 at 2.


                                             10

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the overall MRD-test market, not the tumor-informed market,

                                                                                 .11

       NeoGenomics incorrectly contends that “Natera and NeoGenomics do not directly

compete in the MRD market.” Opp. 18.




Malackowski.Tr., 60-62, 71; Dkt. 12-23, 12. The implausibility of NeoGenomics’ position

is illustrated by its contentions that: (1) Natera will not be harmed because Signatera has

“numerous competitors” (Ex. 6 at 3), and (2)


-      . Malackowski Tr., 73-76.12

       Natera’s CEO’s statements that Guardant’s tumor-naïve MRD test is Natera’s

largest competitor and new competitors have “got a very long way to go” (Opp., 18-19)

reflect only that Natera holds the largest share of the overall MRD-test market. They do

not suggest RaDaR’s entrance into the tumor-informed market will not harm Natera.




       11
           NeoGenomics’ contention (Opp., 24) that injunction “would change the status
quo, not preserve it” because RaDaR will lose ill-gotten market share is contrary to law.
Atlas Powder v. Ireco Chems., 773 F.2d 1230, 1231 (Fed.Cir.1985).
       12
          That the parties are the only two significant players in the tumor-informed market
is alone sufficient for irreparable harm. Douglas Dynamics v. Buyers Prods., 717 F.3d
1336, 1345 (Fed.Cir.2013); Robert Bosch v. Pylon Mfg., 659 F.3d 1142, 1151
(Fed.Cir.2011).


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       Nor does the law require specific lost contracts.13 Notwithstanding,

                                     (Sikri.Tr., 134) and Natera identified a lost contract

with Moderna. Dkt. 6, 18. NeoGenomics ignores that: (1) Moderna partnered with

NeoGenomics to use its tumor-informed MRD test, RaDaR; (2)

                                                  (Malackowski.Tr., 60); and (3) because

of RaDaR, Moderna no longer needed Natera.

       Nor has Natera licensed the patents to Clarient. Opp. 21. That license expired in

2018, four years before the asserted patents issued. Even if that license included the

patents, “the fact that a patentee has licensed others under its patents does not mean that

unlicensed infringement must also be permitted while the patents are litigated.” Abbott

Labs. v. Sandoz, 544 F.3d 1341, 1361-62, (Fed.Cir.2008).14

       C.     Natera Will Suffer Reputational Harm

       Rather than dispute it is harming Natera’s reputation, NeoGenomics slings mud.

Opp., 22. That third parties have injured Natera’s reputation does not preclude further

injury by NeoGenomics. Nor has NeoGenomics shown these third-party statements are

independent of its own conduct because many of them occurred after NeoGenomics began



       13
          See Apple v. Samsung Elecs., 2012 WL 2576136, at *5 (N.D.Cal. July 3, 2012)
(“the Federal Circuit has not required proof of specific lost customers”) (citing i4i Ltd.
P’ship v. Microsoft, 598 F.3d 831, 862 (Fed. Cir. 2010)); Canon v. Color Imaging, 292
F.Supp.3d 1339, 1347 (N.D.Ga.2018).
       14
          NeoGenomics cites ActiveVideo Networks v. Verizon Communications, 694 F.3d
1312, 1338 (Fed.Cir.2012), but those parties did not compete and the patentee tried to
license the patent throughout the industry, including to the defendant.


                                            12

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infringing and disparaging Signatera. Infringement is also depriving Natera of

opportunities to improve its reputation because

                          Malackowski.Tr., 121.

         D.    There Is Causal Nexus

         NeoGenomics contends RaDaR’s sales are driven by sensitivity and advanced

bioinformatics, not Natera’s patents. Opp. 24 (citing Dkt.115        ¶44). But the cited

declaration paragraph simply opines RaDaR is sensitive, not that sensitivity drives demand.

RaDaR’s sensitivity is irrelevant because the law requires “only “some connection between

the patented feature and demand for” RaDaR, not that “a patented feature is the one and

only reason for consumer demand.” Apple v. Samsung Elecs., 735 F.3d 1352, 1364

(Fed.Cir.2013).

III.     BALANCE OF HARMS

         Contrary to NeoGenomics’ contention (Opp., 24), the fact that an injunction may

harm its market share or customer relationships is irrelevant. See Pfizer v. Teva Pharms.,

USA, 429 F.3d 1364, 1382 (Fed.Cir.2005); Celsis In Vitro v. CellzDirect, 664 F.3d 922,

931 (Fed.Cir.2012). NeoGenomics’ expert and 30(b)(6) deponent

                                                         . Malackowski.Tr., 121-22. Nor

does NeoGenomics’ investment in purchasing Inivata (RaDaR’s developer),
                                                                               -
                                        work in its favor. i4i, 598 F.3d at 863 (rejecting

defendant’s reliance on development costs); Malackowski Tr., 127.




                                            13

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IV.     PUBLIC INTEREST

        NeoGenomics does not dispute that Natera has capacity to meet increased demand,

weighing in favor of an injunction. Boehringer Ingelheim Vetmedica v. Schering-Plough,

106 F.Supp.2d 696, 707 (D.N.J.2000). NeoGenomics’ unproven claims that RaDaR has

“high sensitivity” and is superior are undermined by its argument that RaDaR will not

capture a large portion of the market. Target Therapeutics v. SciMed Life Sys., 1996 WL

289034 (N.D.Cal.1996) (granting injunction despite argument that physicians preferred

defendant’s catheters; finding patentee’s 85% market share undermined defendant’s claim

to product superiority), vacated on other grounds 113 F.3d 1256 (Fed.Cir.1997). Nor

would an injunction “interfer[e] with prospective trials” or “hurt on-going cancer research”

because of the carve-out in Natera’s proposed injunction for existing patients. Dkt. 5-1 at

2.15 NeoGenomics’ declarant, Mr. Sikri, opines

                (Dkt. 115 at ¶¶15, 31-34, 39, 43, 47), but its expert and 30(b)(6) deponent

                                                                         (Malackowski.Tr.,

136).



                                           By: /s/ Robert C. Van Arnam
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                                           Andrew R. Shores (N.C. Bar No. 46600)



        15
          Cordis Corp. v. Boston Scientific Corp., 99 F.App’x 928, 935 (Fed.Cir.2004),
and Hybritech, 849 F.2d at 1458, are not contrary. Hybritech affirmed without explanation
a record-specific finding. Id. In Cordis, the patentee could not satisfy demand and its
product had “safety or efficacy concerns.” 99 F.App’x at 935.


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                        CERTIFICATE OF WORD COUNT

      The undersigned counsel hereby certifies that this brief complies with the 3,125-

word count limitation of Local Rule 7.3(d).

November 6, 2023

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                            CERTIFICATE OF SERVICE

      I hereby certify that I caused the foregoing document to be served via electronic

mail on all counsel of record for Defendant.


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       EXHIBIT 5
   (Filed Under Seal)




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 1                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 2
 3
        NATERA, INC.,                               )
 4                                                  )
                              Plaintiff,            )
 5                                                  )
                          -vs-                      )   C.A. No. 1:23-cv-629
 6                                                  )
        NEOGENOMICS LABORATORIES, INC.,             )
 7                                                  )
                              Defendant.            )
 8
 9             ** CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY **
10
11                   Video-recorded Rule 30(b)(6) deposition of
12      NEOGENOMICS LABORATORIES, INC., by and through its
13      corporate representative JAMES E. MALACKOWSKI, and JAMES
14      E. MALACKOWSKI, in his personal capacity, taken before
15      TRACY L. BLASZAK, CSR, CRR, and Notary Public, pursuant
16      to the Federal Rules of Civil Procedure for the United
17      States District Courts pertaining to the taking of
18      depositions, at Suite 980, 190 North Wacker Drive, in
19      the City of Chicago, Cook County, Illinois at 12:00 p.m.
20      on the 24th day of October, A.D., 2023.
21
22
23
24

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 1 refer to tumor informed as a market, tumor naïve as a            13:25:42              1 the purpose of citing to this.                       13:29:01
 2 market, et cetera.                             13:25:46                                2        As I indicated within my report, I certainly       13:29:03
 3    Q Products within a market by definition compete              13:25:47              3 make reference to when RaDaR was launched. And there is                 13:29:05
 4 with one another, right?                          13:25:49                             4 no need for me to replicate that here. It's not          13:29:11
 5    A No, they do not. They are going after the same          13:25:51                  5 something I'm trying to avoid in any way. It's not the          13:29:15
 6 end customer, but that doesn't mean that they are            13:25:54                  6 point of this paragraph which is "admitted lack of              13:29:19
 7 competitive.                                  13:25:57                                 7 direct competition."                              13:29:22
 8        So, for example, a Ferrari and a Hyundai are in      13:25:59                   8    Q This document is dated June 6th of 2023, right?             13:29:23
 9 the same market of automobiles, but I would say they              13:26:03             9    A Yes.                                   13:29:29
10 very rarely, if ever, compete.                        13:26:06                        10    Q Between March of 2023 and June 6 is, what, less              13:29:33
11    Q You see also on page 6 this document states,            13:26:37                 11 than three months, two or three months?                      13:29:37
12 "Management says Natera has seen limited competition                13:26:40          12    A Yes.                                   13:29:40
13 from Inivata and NeoGenomics to date"?                      13:26:44                  13    Q How much competition would Natera be expected to                13:29:40
14    A I'm sorry, can you focus me on which paragraph?              13:26:49            14 see in two or three months after the launch of RaDaR?             13:29:43
15    Q Sure. We're on page 6, right?                     13:26:52                       15    MR. NOLAN: Objection.                               13:29:47
16    A Yes.                                   13:26:54                                  16    THE WITNESS: I wouldn't expect Natera to see any                 13:29:52
17    Q The first paragraph of the first section, not        13:26:54                    17 competition because of their market dominance and the              13:29:54
18 the title, maybe line 6 down, first word, "Management."           13:26:57            18 product distinctions between the Natera product and the           13:30:00
19    A I see.                                13:27:01                                   19 NEO product as described within my report.                    13:30:04
20    Q You quote this in your report, don't you?             13:27:01                   20    MR. SMITH: Q Assuming there are no -- were no                   13:30:07
21    A I do.                                 13:27:06                                   21 product distinctions between a new tumor-informed MRD                   13:30:10
22    Q And that's -- but in your report you do not           13:27:08                   22 product and Signatera and that new product is launched             13:30:15
23 include the remainder of this sentence which states,         13:27:12                 23 in March of 2023, how much competition would Signatera                  13:30:19
24 "Though NEO's RaDaR was only launched in March 2023."                   13:27:14      24 be expected to see by June 6th, 2023?                    13:30:23
                                                                               Page 54                                                                                  Page 56

 1    A Well, I make several references to this concept         13:27:21                  1    A Well, that's a hypothetical that doesn't exist       13:30:27
 2 starting with, I believe, Mr. Chapman's testimony or             13:27:25              2 because I think the evidence does suggest that there is          13:30:29
 3 public statements. And then I affirm that the analyst        13:27:29                  3 a difference.                                13:30:32
 4 conformed to that. I don't recall if I included that       13:27:33                    4       But putting that aside an accepting your           13:30:33
 5 last phrase, though I certainly don't dispute it. I       13:27:37                     5 hypothetical assumption, I don't think the evidence of           13:30:34
 6 describe within my declaration exactly when RaDaR was                13:27:43          6 this case would suggest that they would still see any           13:30:37
 7 launched.                                    13:27:46                                  7 competition because of the size of the market and the            13:30:41
 8    Q Well, just for the record, this is paragraph 56       13:27:46                    8 relatively low penetration by Natera and everyone else            13:30:44
 9 of your declaration where the quote appears. Why did              13:27:49             9 combined.                                    13:30:51
10 you not include the remainder of the quote where it              13:27:58             10       There is a lot of virgin territory for a new       13:30:52
11 states, "though NEO's RaDaR was only launched in March                13:28:00        11 competitor to address in a way that wouldn't affect             13:30:55
12 2023"?                                      13:28:04                                  12 Natera and, in fact, they would be economically incented           13:30:59
13    MR. NOLAN: I'm going to object to that question.               13:28:10            13 to do just that. Why go compete directly with someone              13:31:04
14    MR. SMITH: What's the basis for the objection?                13:28:13             14 when you can just go to unmet need where there is no              13:31:10
15    MR. NOLAN: There is a factual error in the                13:28:18                 15 direct competition.                               13:31:13
16 question.                                   13:28:21                                  16    Q What is that virgin territory you are referring         13:31:14
17    MR. SMITH: What's the factual error?                    13:28:22                   17 to? Who are these patients?                           13:31:18
18    MR. NOLAN: That RaDaR was only launched in March of                  13:28:24      18    A It's the representation of the $20 billion MRD           13:31:20
19 2023 as is outlined in the declaration.                 13:28:26                      19 market.                                     13:31:23
20    MR. SMITH: Q Do you remember the question?                      13:28:39           20    Q So is it your position that there is, these         13:31:23
21    A Yes.                                   13:28:43                                  21 patients are out there that are in need of an MRD test          13:31:28
22        My quote from Exhibit 4 is simply a short           13:28:51                   22 that are not receiving any MRD test?                     13:31:33
23 phrase noting that third party research reports confirm          13:28:53             23    A Well, I think that's probably factually true,        13:31:35
24 what Mr. Chapman has publicly admitted. And so that's              13:28:57           24 but the market is transitioning to service them. So           13:31:37
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 1 there is a conversion happening now that is causing all          13:31:42              1     A I don't know. I would have to sit down and try         13:34:37
 2 of the participants to experience increased sales.            13:31:44                 2 to make some calculations.                            13:34:39
 3     Q Is it your position that the patients that         13:31:50                      3     Q But you believe it's above 90 percent at least?       13:34:41
 4 receive a RaDaR MRD test if they were not to receive              13:31:52             4     A For tumor informed?                             13:34:44
 5 that RaDaR MRD test would not receive any MRD test at                13:31:56          5     Q Yes.                                  13:34:47
 6 all?                                      13:32:00                                     6     A Yes, currently.                          13:34:47
 7     A There is no evidence to suggest that their           13:32:01                    7     Q Do you know what percentage of tumor-informed                13:34:48
 8 physicians were considering another test as an                13:32:04                 8 MRD testing within the United States is currently            13:34:49
 9 alternative. I've seen no evidence to suggest that            13:32:06                 9 supplied by NeoGenomics?                                13:34:52
10 there was direct competition for a given account. And            13:32:10             10     A Well, my understanding is it would be                13:34:55
11 so the evidence I've seen suggests that physicians are          13:32:13              11 substantially the residual not supplied by Natera, so        13:34:57
12 adopting for the first time this technology, in part,         13:32:16                12 something less than 10 percent.                        13:35:02
13 because of the unique characteristics of NEO.                 13:32:20                13     Q When you say the residual, basically 100 percent           13:35:07
14     Q When a doctor adopts MRD technology for the                 13:32:24            14 minus whatever Natera's percent is, is that what you're          13:35:11
15 first time, he has to choose an MRD vendor, correct?             13:32:27             15 saying?                                     13:35:15
16     A If that choice is available.                  13:32:33                          16     A Yes. There may be some minor players who are                13:35:15
17        Within my report, for example, I talk about the        13:32:36                17 merging and have some initial penetration, but,             13:35:18
18 difference in the stage of medical attention and whether         13:32:38             18 essentially, at this point it would be either Natera or     13:35:21
19 or not it is the adjuvant stage or the surveillance        13:32:45                   19 NEO for tumor informed.                               13:35:26
20 stage. So if the doctor is in the adjuvant stage, they        13:32:47                20     Q Are you aware of any market share predictions              13:35:31
21 don't have NEO as a logical choice, so they basically           13:32:55              21 relating to a tumor-informed MRD market? Have you seen                13:35:33
22 use Natera.                                  13:32:58                                 22 any of those?                                 13:35:37
23     Q Have you ever heard a doctor say -- Let me               13:33:00               23     A Well, we reviewed certain market share                13:35:38
24 rephrase.                                   13:33:02                                  24 predictions earlier.                           13:35:41
                                                                               Page 58                                                                                  Page 60

 1        Are you aware of any doctor who has used a              13:33:03                1        And just to my last answer, we also do have to       13:35:42
 2 RaDaR MRD test say had RaDaR not been available, I would                 13:33:08      2 take into account Invitae and to the extent that their      13:35:45
 3 not have used any MRD test at all?                       13:33:13                      3 product is also within the same market space.               13:35:51
 4    A I don't recall a doctor using those specific         13:33:15                     4     Q Well, let's go back, then. What percentage of         13:35:57
 5 words.                                                                                 5 the tumor-informed MRD market does Invitae have?                   13:36:01
                                                                                          6     A I don't recall.                        13:36:06
                                                                                          7     Q Do you know how an oncologist goes about                   13:36:10
                                                                                          8 deciding whether to order an MRD test?                     13:36:12
 9    Q Do you know what percentage of tumor-informed                  13:33:48           9     A Are you asking me logistically or from a             13:36:16
10 MRD testing within the United States is performed by              13:33:50            10 decision standpoint?                             13:36:19
11 Natera?                                     13:33:53                                  11     Q From a decision standpoint.                      13:36:21
12    A The vast majority. I think it's like -- cited       13:34:00                     12     A It's based upon their knowledge of what's            13:36:23
13 within my report. But of the sales that are made, they          13:34:05              13 available in the market and their particular patient        13:36:25
14 have approximately 70 percent or so of those sales.            13:34:07               14 condition and their judgment as to whether or not such a          13:36:27
15    Q That's a percentage for tumor informed or MRD               13:34:11             15 test would be cost beneficial.                        13:36:30
16 tests generally?                              13:34:13                                16     Q When oncologists consider whether it would be              13:36:35
17    A MRD tests generally. It would be much higher               13:34:15              17 cost beneficial, do they take into account whether there         13:36:39
18 for tumor informed.                                13:34:17                           18 is insurance coverage for the MRD test?                    13:36:41
19    Q Do you have an estimate for tumor informed                 13:34:20              19     A As a sixth or seventh consideration in their         13:36:47
20 specifically?                                13:34:22                                 20 decision making, not as a primary consideration.             13:36:50
21    A No, I don't present such an estimate, no.            13:34:26                    21     Q What factors influence an oncologist's decision        13:37:04
22    Q Do you think it's above 90 percent?                 13:34:30                     22 when choosing which MRD test to order?                      13:37:10
23    A I would expect it to be.                       13:34:32                          23     A I think it's the same factors I noted before,       13:37:13
24    Q Above 95 percent?                              13:34:34                          24 their knowledge of what's available, the patient's          13:37:15
                                                                               Page 59                                                                                  Page 61

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 1 condition.                                   13:37:18                                 1    THE WITNESS: I would think that would depend upon                 13:39:51
 2        When I talk about cost benefit, too, I wouldn't       13:37:18                 2 the given oncologist and what research and education             13:39:52
 3 limit that to dollar cost. There is certain other          13:37:20                   3 they've been given. I could not speak to that             13:39:55
 4 expenses to the patient in terms of lifestyle, having to       13:37:24               4 generally.                                 13:39:57
 5 have additional blood work taken, the patient's interest        13:37:28              5    MR. SMITH: Q If an adequate tissue sample is not              13:39:57
 6 in receiving interim results and knowing that. All of          13:37:33               6 available from the patient, is a tumor-informed MRD test          13:40:01
 7 that goes into the doctor's decision.                    13:37:37                     7 an acceptable alternative to a tumor-naïve MRD test?           13:40:05
 8     Q Does whether the MRD test is tumor informed or                13:37:41          8    MR. NOLAN: Objection.                              13:40:11
 9 tumor naïve affect -- influence an oncologist's decision        13:37:43              9    THE WITNESS: Could you repeat that question. I                13:40:12
10 about which test to purchase?                          13:37:49                      10 don't know if you misspoke or I just misheard it.           13:40:13
11     A Well, to the extent that a tumor-informed option         13:37:52              11    MR. SMITH: Q Let's imagine a hypothetical where                13:40:13
12 is no longer available because there is no tumor              13:37:55               12 the patient, there is no tissue sample available. You        13:40:15
13 samples, it would effectively be a consideration.             13:37:58               13 with me?                                    13:40:18
14        But the evidence I've seen in this case is that     13:38:01                  14    A Okay.                                  13:40:20
15 doctors aren't making a decision primarily upon that            13:38:04             15    Q The doctor in that situation, could he order a         13:40:20
16 distinction. They're making it based upon sensitivity          13:38:08              16 tumor-informed MRD test?                              13:40:23
17 and other aspects of the test.                      13:38:11                         17    A Well, that's a better question for a technical       13:40:25
18     Q Do you agree that the majority of doctors have a         13:38:15              18 expert, but my understanding is they could not if there       13:40:27
19 preference between tumor informed versus tumor-agnostic               13:38:17       19 was no tissue to study.                          13:40:29
20 MRD tests?                                     13:38:23                              20    Q So in that situation, a tumor-informed MRD test          13:40:33
21     A To the extent tissue is available, I think the        13:38:24                 21 is not an acceptable alternative to a tumor-naïve MRD            13:40:36
22 research shows that all else being equal, doctors            13:38:28                22 test?                                    13:40:43
23 currently have expressed a preference for tumor                13:38:31              23    A Again, I would defer to the technical or            13:40:43
24 informed, that's true.                          13:38:35                             24 physician experts, but my understanding if there is no        13:40:44
                                                                              Page 62                                                                               Page 64

 1     Q So it's not your opinion that doctors don't --        13:38:36                  1 tissue to sample, you can't have a tissue-informed test.      13:40:48
 2 There is a double negative in that, so let me ask a          13:38:38                 2    Q If a tissue sample is available, what are the        13:40:55
 3 different question.                             13:38:41                              3 reasons that an oncologist would order a tumor-naïve MRD            13:40:57
 4        Is it your opinion that doctors care whether an       13:38:42                 4 test instead of a tumor-informed MRD test?                  13:41:03
 5 MRD test is tumor informed or tumor naïve?                     13:38:45               5    MR. NOLAN: Objection, sorry.                          13:41:07
 6     A I don't know how to answer what they care about.            13:38:51            6    THE WITNESS: Again, I think that's a better               13:41:08
 7 My understanding is that's not the first criteria they       13:38:53                 7 question for the technical or physician experts, but I       13:41:10
 8 use to select a test. But if you ask them in a survey        13:38:57                 8 do understand that there may be benefits that are argued         13:41:12
 9 between informed and naïve what's your preference, that             13:39:01          9 by Guardant with respect to false negatives and false         13:41:18
10 all else being equal, they have historically expressed a       13:39:05              10 positives for a given indication, or there may be           13:41:23
11 preference for tumor informed.                           13:39:09                    11 restrictions on what indications are approved.              13:41:26
12     Q What advantages does a tumor-informed MRD test                 13:39:12        12         So it would be a physician-based decision, and       13:41:31
13 have relative to tumor naïve?                        13:39:16                        13 I don't have an opinion as to generally how those are         13:41:34
14     A I think that's more of a clinical question that       13:39:18                 14 classified.                                13:41:37
15 I would defer to the experts, technical experts.            13:39:20                 15    MR. SMITH: Q Can you take a look at your                   13:41:39
16     Q All right. But you agree that tumor-informed            13:39:23               16 declaration, paragraph 36, I think. I'll ask you a few       13:41:55
17 and tumor-naïve approaches each have their own benefits?              13:39:25       17 questions about that.                            13:41:58
18     A My understanding of the record is that there are         13:39:29              18         Are you there?                        13:42:05
19 unique roles within the market for each and that there          13:39:32             19    A I am.                                 13:42:06
20 is, for example, evidence from physicians describing            13:39:35             20    Q Okay. In this paragraph you quote a portion of          13:42:06
21 that, that there is a role for both within the market.       13:39:38                21 Mr. Sikri's declaration where he states, "Tumor-informed          13:42:10
22     Q And oncologists are aware of the benefits and            13:39:41              22 and tumor-naïve MRD assays provide healthcare                  13:42:15
23 drawbacks of tumor-informed and tumor-naïve approaches?                 13:39:43     23 professionals with the flexibility necessary to make         13:42:18
24     MR. NOLAN: Objection.                                13:39:47                    24 informed treatment decisions."                        13:42:21
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1                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
2

3    NATERA, INC.,                   )       CASE NO. 1:23CV629
              Plaintiff,             )
4                                    )
              vs.                    )
5                                    )
     NEOGENOMICS LABORATORIES, INC., )       Greensboro, North Carolina
6             Defendant.             )       November 9, 2023
     ______________________________          2:02 p.m
7

8                   TRANSCRIPT OF THE TUTORIAL HEARING
                 BEFORE THE HONORABLE CATHERINE C. EAGLES
9                      UNITED STATES DISTRICT JUDGE

10   APPEARANCES:

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1                            P R O C E E D I N G S

2               THE COURT:    Good afternoon.    We're here in Natera

3    against NeoGenomics, 23CV629, for you all to educate me a bit

4    on the science involved.

5               I read all the briefing on the motion for preliminary

6    injunction and skimmed the briefing on the Defendant's motion

7    to dismiss, which I think may not be complete.         I can't

8    remember exactly.     But I've read some more stuff about the

9    section -- the patentability argument I'll just say.           But I

10   would be glad to have you all explain this to me better.

11              I did just yesterday see an article -- I think it was

12   in the Guardian -- about some research in London for an at-home

13   blood test they're trying to develop for brain cancer, and it

14   sounded a lot like this; but it might not have been exactly the

15   same.   Obviously that was not scientific literature, but I

16   think it falls into the category of once you know a little

17   something about it, it starts showing up everywhere in your

18   life.   So there it was.

19              Okay.    So I hope you all have agreed on a plan for

20   your use of your time this afternoon.       I have until 5:00, and

21   we will need to take a break if we use all of that time because

22   I can't sit that long without a break.

23              Have you all conferred about how you want to go

24   forward?   No.    Nobody is nodding "yes" or "no."

25        (Indiscernible cross-talk.)

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1               THE COURT:    I'm sorry?

2               MS. HABERNY:    Your Honor, we assumed approximately 30

3    minutes but additional time for questions per side, but there

4    was no formal stipulation or anything.

5               THE COURT:    That sounds great.

6               Well, does Plaintiff want to go first?

7               MR. VAN ARNAM:    Just a couple new faces you haven't

8    seen.   Rob Van Arnam with Williams Mullen, Your Honor.

9               THE COURT:    Oh, yes, and I'm not sure if the court

10   reporter has been with us so everybody introduce themselves.

11              Thank you.

12              MR. VAN ARNAM:    With me is Dr. Haberny -- we got a

13   lot of doctors here -- and Dr. Srinivasan -- and I can get you

14   the spellings if it's not on the record -- Dr. Michael Metzker

15   who will be presenting the tutorial today, and in-house counsel

16   for Natera, Dr. Sean Boyle.

17              THE COURT:    All right.     Great.    Thank you.

18              MR. MORROW:    John Morrow, Your Honor.        Pleased to be

19   here.

20              MS. RYAN:    Liz Ryan.   Unfortunately, no doctors on

21   this side.

22              THE COURT:    And I know Mr. Reines is -- well, he's

23   observing by video, which I was glad to allow him to do.

24              Okay.   Go ahead then for the Plaintiff.

25              MS. HABERNY:    Thank you, Your Honor.       We do have a

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1    slide deck.   I believe we have handed up a copy to Your Honor.

2              THE COURT:    Is that this?

3              MS. HABERNY:     It's the other one.

4              THE COURT:    The other one.      This one?

5              MS. HABERNY:     Yes, Your Honor.

6              And we also have a live PowerPoint that we would like

7    to use for the presentation.        If we can have that turned on?

8              Okay.    So I would like to start with a brief

9    introduction to the Plaintiff, Natera.        So Natera is the

10   Plaintiff in this case.     I would like to briefly introduce

11   Natera and the genesis for the technology that's underlying the

12   patents that are at issue in this proceeding.

13             So Natera was founded in 2004 to focus on noninvasive

14   methods for analyzing genetic conditions.         And Natera has,

15   since, then developed a large number of products, as Your Honor

16   can see here in a year-by-year timeline of product development,

17   and all of these products are intended to test for and address

18   genetic conditions.    So many of them stem from the same basic

19   concept which is analyzing mixed samples of cell-free DNA, and

20   those samples can come from a number of different sources and

21   be used to analyze a number of genetic conditions.           But all of

22   them arise from the same concept of analyzing cell-free DNA

23   that's circulating in the blood and looking for types of

24   cell-free DNA that are very low abundance in the blood.

25             So the first cell-free DNA product that Natera

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1    developed was called Panorama™.      You can see here in 2013 that

2    product was launched.    It's a cell-free DNA test for

3    noninvasive prenatal care, and it looks for fetal abnormalities

4    using the blood from a pregnant woman.

5              And using this similar technology, Natera launched

6    its oncology product which is called Signatera™ in 2017.             And

7    that Signatera™ product looks for tumor-derived cell-free DNA

8    in the blood of a cancer patient.

9              Then using similar technologies, in 2019, Natera

10   launched another cell-free DNA product that's intended to test

11   for organ transplant rejection or organ transplant monitoring,

12   and that one, similarly, looks for cell-free DNA derived from

13   an organ donor in the blood of the organ transplant recipient.

14             So all of these tests are looking for minute amounts

15   of cell-free DNA circulating in the blood.

16             Can we have the next slide, please.

17             So I would like to focus for a moment on the oncology

18   testing which is at issue in this case.         And what these -- what

19   this technology does is it monitors for relapse or recurrence

20   of cancer.   So a person can have cancer and then be treated and

21   go into remission; in which case, almost no or very, very small

22   amounts of tumor-derived cell-free DNA will be in the cancer

23   patient's blood.    But if the cancer patient goes into relapse

24   or if the cancer starts coming back, then you will begin to

25   detect tumor-derived cell-free DNA in the blood.

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1               And so the standard approaches to identify cancer

2    relapse involve x-rays, CT scans, biopsies, using antibodies.

3    These are techniques that are either invasive or not very

4    sensitive.   So what Natera has done is developed ways to get a

5    more sensitive test that does not involve invasive procedures,

6    and there are other companies doing similar things.

7               And there are two basic approaches to monitoring

8    relapse.   One is using what's called a nonpersonalized MRD, or

9    molecular residual disease, test.      And companies like Guardant

10   Health and Personal Genomics use basically an off-the-shelf

11   test looking for -- every patient gets the same test, and they

12   look for the same mutations -- same cancer-related mutations in

13   all patients.

14              And then there is a personalized approach to testing

15   for minimal residual disease, which is the condition that

16   occurs when cancer relapse happens.       And Natera and NeoGenomics

17   offer tests in the personalized MRD testing phase, and what

18   these do is they identify mutations that are unique to a

19   particular patient, and then they specially design a test only

20   to look for those mutations that are unique to the patient.

21              So the patents that are being asserted in this case

22   relate to this personalized minimal residual disease testing,

23   and there are two patents asserted in this case:         One I will

24   refer to as the '454 patent and the other as the '035 patent.

25              So we brought our expert Dr. Michael Metzker here to

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1    explain the basis of the technology, but, quickly, I will just

2    go through the claims and some of the terms that we would like

3    him to address for Your Honor so that you can hear them and

4    have them in mind.

5                The '035 is a method for amplifying and sequencing

6    DNA.    And Dr. Metzker is going to talk about the elements that

7    are highlighted, including tagging isolated cell-free DNA with

8    one or more universal tail adaptors.       That's to generate tagged

9    products.

10               And amplifying the tagged products one or more times

11   where the amplification steps comprise targeted amplification

12   of a plurality of what are called single-nucleotide polymorphic

13   loci, and this is done in a single reaction volume.          And the

14   amplifying steps can introduce a barcode of one or more

15   sequence tags.

16               And then sequencing, the plurality of SNP loci --

17   that's a lot of big words, I know -- on the cell-free DNA with

18   massively parallel sequencing.

19               So our expert is going to go into each of those in

20   detail.

21               Can we have the next slide.

22               Then we have a dependent claim --

23               THE COURT:   I mean, we're not here for claim

24   construction.

25               MS. HABERNY:   We're not.

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1                THE COURT:   I don't want to talk about claim

2    construction.     We're just here for you all to explain these

3    words to me and the background and that kind of thing.

4                MS. HABERNY:   Absolutely, Your Honor.

5                And so we have a dependent claim which recites the

6    universal tail adaptors comprising a first universal tail

7    adaptor and a second universal tail adaptor, so using two

8    universal tail adaptors.

9                And then Dependent Claim 13, further comprising

10   amplifying with a first primer comprising the first tail

11   adaptor; second primer comprising the second universal tail

12   adaptor.

13               Can we go to the second slide.

14               I will just briefly overview the concepts underlying

15   the '454.    So this is a method for preparing a plasma sample.

16   It's useful for detecting one or more single-nucleotide variant

17   mutations in the sample.     It involves several steps.        One of

18   them is performing whole exome sequencing or whole genome

19   sequencing on a tumor sample, and that's to identify

20   tumor-specific single-nucleotide variant mutations.

21               And then performing targeted multiplex amplification,

22   and that's to amplify in multiplex form 10 to 500 target loci

23   encompassing different tumor-specific single-nucleotide variant

24   mutations.    It's done now on cell-free DNA that's isolated from

25   a plasma sample rather than a tissue sample, and that's to

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1    obtain amplicons having this certain length of 50 to 150 bases.

2    That amplification, like the amplification in the '035 patent,

3    happens together in the same reaction volume.          So you're

4    amplifying multiple things together in the same reaction

5    volume.

6              And then sequencing the amplicons to obtain sequence

7    reads and, thereafter, detecting one or more of the

8    tumor-specific mutations that are present and doing this with a

9    sequencing depth of read of at least 50,000 per target locus.

10             So big mouthful.

11             THE COURT:    Yeah.   I don't understand any of it.

12   That's why we're here.     So, I mean, I can read it.

13             MS. HABERNY:     Exactly.     Well, Your Honor, with that,

14   I will just quickly, just to frame it, provide --

15             THE COURT:    I mean, I learned some about it in

16   reading y'all's briefs.     It's not true that I don't understand

17   anything about it.    I did read your briefs.        I do understand

18   some things about it, but not much.

19             MS. HABERNY:     Okay.    Understood, Your Honor.

20             If we could go to the other dependent claims.

21             THE COURT:    I mean, what I am trying to say is it's

22   not very helpful to me for you to read this.          I actually

23   already read the claims that are at issue.

24             MS. HABERNY:     Okay.    Then I will turn it over now to

25   Dr. Metzker.   He has a Ph.D. in molecular human genetics.

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1               THE COURT:    I read his declaration.

2               MR. VAN ARNAM:    Your Honor, would you prefer that he

3    do it from --

4               THE COURT:    Well, he's not a witness.        I mean, I am

5    not going to take this as evidence.        He can do it from right

6    there.

7               DR. METZKER:    Good afternoon, Your Honor.

8               THE COURT:    You do have to speak into a microphone.

9               DR. METZKER:    I've got one right here.        I hope that

10   is loud enough.

11              So if we can go to the next slide.

12              I will try to do this very slowly.         And if you have

13   questions, please feel free to ask them.

14              So we're talking about DNA.       DNA is a molecule that

15   exists in cells.    It's in the center of the cell, as I'm

16   showing here in the nucleus.        It's organized as chromosomes.

17   And what I am showing on the right-hand side is DNA being

18   unwound into what we all know as a double helix.           And I just

19   show the molecule on the right-hand side.         It's a histone, and

20   it's DNA wrapping around a histone.        And that's just part of

21   the way the chromosome is organized within the cell.

22              If we can go to the next slide.

23              So as I mentioned, DNA is a double helix.

24              THE COURT:    I actually do understand about the four,

25   CTGA.

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1               DR. METZKER:    Perfect.     Excellent.

2               THE COURT:    Okay.   I'm with you so far.

3               DR. METZKER:    So let's go to the next slide then.

4               And what's special about the A, C, G, and T is this

5    rule in biology called base pairing.        So we refer to ACGT as

6    bases, and A always pairs with T, and C always pairs with G.

7    And that's important because when you separate those strains,

8    the information in one strain can be used to copy a new strand

9    to make a new double-stranded molecule.           We use that strand

10   information also to determine sequence information from the

11   actual DNA molecule itself.

12              If we can go to the next slide.

13              So we're here to talk about what is cell-free DNA,

14   because I've just told you DNA is found in cells and in the

15   nucleus.   But in normal health, cells die; and when they die,

16   their membranes break open and all the materials within the

17   cell are extruded into the blood.        And I am trying to

18   illustrate that here.     And part of what gets extruded into the

19   blood is that genomic DNA.       We call that genomic DNA, which was

20   in the cell and now goes into the bloodstream.

21              Now, genomic DNA is a very large molecule.            Our

22   genome is made up of 3 billion As, Cs, Gs, and Ts.            The

23   cell-free DNA we're talking about here is small.            It's about

24   140 to 170 letters, or we call those base pairs.            And it is

25   because of that histone where the DNA wraps around it and

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1    protects it when the DNA is extruded into the blood, because we

2    have scissors in our blood that are trying to remove DNA and

3    clear it and go through our kidney system.

4                So in the next slide, most of the cell-free DNA

5    that's found in our bloodstream come from normal cells.              Normal

6    cells also live and die, and the way the body gets rid of dead

7    cells is they break up their membranes and they extrude all of

8    their inners into the bloodstream, and it gets filtered out.

9                But in the case of cancer, cancer cells also live and

10   die.   In fact, cancer cells grow quite rapidly forming tumors,

11   but they do also undergo cell death.       And the genomes in a

12   tumor cell, the DNA in a tumor cell, is different from the DNA

13   in a healthy cell.     The DNA in a tumor cell starts accumulating

14   what we call mutations, or changes, in the As, Cs, Gs, and Ts

15   of our genome.     So the tumor cells also undergo cell death.

16   And cell-free DNA goes into the bloodstream as well.

17               So in a cancer patient, when you take blood and you

18   isolate cell-free DNA from the blood, it is a mixture of

19   healthy cell-free DNA and what we call ctDNA, circulating tumor

20   DNA.    And these circulating tumor DNA molecules are highly

21   specific biomarkers for cancer detection.

22               And the challenge of using cell-free DNA is the ctDNA

23   is in very low abundance.      It's basically trying to find the

24   needle in the haystack.

25               And I will try to go through some more to help you

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1    understand what that means.

2               THE COURT:    It means you have to amplify it.

3               DR. METZKER:    That's part of it, yes.

4               THE COURT:    Okay.   Go ahead.

5               DR. METZKER:    Can we go to the next slide.

6               So, here, we heard that there's normal DNA and

7    there's tumor DNA.    And the way these personalized assays work

8    is a tumor sample is first obtained from an individual -- and

9    we're doing a biopsy here from a breast cancer patient -- and

10   blood is isolated.    We analyze the cell fraction of the tumor

11   first to identify which mutations are in the sample, and we do

12   that by comparing the DNA from the tumor sample with DNA from

13   normal cells, because there is a lot of -- we call it

14   variation, changes in our genomes from individual to

15   individual.   And the point of this test is to find the

16   mutations that are specific to the tumor.

17              THE COURT:    Right, because we all have all kinds of

18   mutations that --

19              DR. METZKER:    That's right.     That's exactly right.

20              So what I am showing you here are now two DNA

21   sequences where we are now comparing tumor DNA and normal DNA.

22   In cancer, we call those somatic mutations.         These are changes

23   that happen after we're born, and we accumulate these

24   throughout our lifetime.

25              THE COURT:    Somatic?

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1               DR. METZKER:    S-O-M-A-T-I-C.

2               And what we're doing here is now identifying by

3    comparing normal DNA and tumor DNA to find the differences,

4    those changes that are associated with the cancer cell.              And

5    those are important biomarkers because personalized assays are

6    then developed specifically for these variants that can then be

7    tested in the blood liquid biopsies, where you take a blood

8    sample and you do the test to try to identify the presence or

9    absence of ctDNA.

10              So if we can go to the next slide.

11              As I mentioned, a tumor sample is identified on the

12   left-hand side.    In the middle is where these variants have

13   been identified.    A personalized test for each patient has been

14   designed to target what we call SNPs or SNVs.         These are

15   single-nucleotide polymorphisms -- can we actually go back one

16   slide.

17              I failed to mention, on this slide, Slide 19,

18   highlighted in yellow would be an example of a

19   single-nucleotide polymorphism.       It's one of the terms in the

20   claim.   We call it an SNP.     And it's where at one location, or

21   one locus, in our genomes the sequence differs by one

22   nucleotide.   That's where single-nucleotide polymorphism comes

23   from, or sometimes it's referred to as a single-nucleotide

24   variant, or an SNV.     And that's very important just to

25   understand what that term means.

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1                THE COURT:   Okay.

2                DR. METZKER:    So we can go forward now.

3                So we've now designed our assays in the middle for

4    those SNPs and those SNVs.       And now on the right-hand side is a

5    timeline of what could happen for the course of a patient where

6    prior to treatment, which is that green rectangular box, a

7    blood sample is now drawn and ctDNA is detected.          And in this

8    example, it's pretty high up on the y-axis.         Treatment is now

9    given.    Another blood test is tested with a personalized assay,

10   and the amount of ctDNA can be measured, and you can see it

11   drops.    Hopefully, the outcome of this patient is you never

12   detect ctDNA again.      And that is a biomarker for the cancer

13   coming back.    The cancer patient relapses over some period of

14   time.    And these tests are powerful because the ctDNA can be

15   detected months before cancer is detected by traditional

16   radiographic imaging or CT scanning or things like that.

17               So if we can go to the next slide.

18               So now I am going to go to some basic molecular

19   biology.    This is amplification.     In our field it's basically

20   copying DNA, making lots of copies.       And the buzzword that we

21   use a lot and in the example I am showing here is called

22   "polymerase chain reaction," or PCR.       And the PCR cycle and the

23   PCR method is well known in the field.        It's been around since

24   the 1980s.   And it really is a test tube full of some reagents

25   that -- you basically change the temperatures; you go up and

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1    you go down, and you manipulate the DNA to make multiple copies

2    of itself.

3                So if we can start the video.

4                The first step is to separate our double-stranded

5    DNA.   So this is cell-free DNA.      We have now separated the

6    double strands into single strands.       You can see all the base

7    pairs there.    Again, I mentioned the base pairs are really

8    important because I can add small little pieces of DNA,

9    synthetic -- you can make them in the laboratory -- called

10   primers.    These primers will hybridize -- if we continue with

11   the animation -- hybridize, or bind, specifically to the region

12   where we have identified the SNP.       Because of those

13   base-pairing rules, we can tell the primers exactly where to go

14   to hybridize on both of the single strands on opposite sides.

15               So as illustrated here, on the top strand the primers

16   hybridized on the right bottom part of the template, or the DNA

17   molecule.    And on the bottom strand, the primer has hybridized,

18   or has bound, to the left-hand side of the bottom strand.

19               This is important because in this mixture -- and we

20   just do this by heating the mixture up, because DNA is not

21   stable when it's hot, and then we cool it back down, and these

22   primers can now bind to the regions of interest.

23               And then there is also an enzyme in there called a

24   polymerase that copies the DNA strand.        Because of the

25   base-pairing rules, it can make a mirror image of both strands

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1    based on what information is in the existing strand.           So now

2    we've gone from one double-stranded DNA molecule to two

3    double-stranded DNA molecules.      We've done our first cycle of

4    PCR.   Now, this is in a test tube, and it's all automated.

5                If we can go to the next slide.

6                We'll go -- there's -- we'll go into more cycles.

7    The PCR method usually involves more than one cycle.           Sometimes

8    it involves as many as 30 cycles of separating the strands,

9    binding the primers, extending with the polymerase, and making

10   two copies into four copies, four copies into eight copies.

11   And over 25 cycles, you've created more than a million copies

12   now in a relatively short period of time.

13               The claim language is up, but I'm actually going to

14   just explain the science behind what is amplifying, which is

15   what we just talked about, and sequencing DNA.

16               So if we can first go to the first claim element:

17   Tagging isolated cell-free DNA to generate tagged products

18   using isolated cell-free DNA from a blood sample.

19               So in the next slide, I'm first illustrating how you

20   isolate circulating DNA from a blood sample.         And on the left,

21   under No. 1, you would go into your doctor's office, and she or

22   he would draw blood.     And then it's sent to the laboratory, and

23   the laboratory technicians can put it into a centrifuge, which

24   can spin and separate the blood into separate layers.           And so

25   the top layer is the plasma layer, which does not have cells.

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1    Because of the density between white blood cells and red blood

2    cells, you can actually separate white blood cells, which is

3    that middle fraction.      And then on the bottom, red blood cells

4    are the heaviest.     They're at the bottom.      You take the top

5    layer, the plasma sample, and you can isolate cell-free DNA

6    from that plasma sample.      And that's what's shown in the last

7    part of that slide.

8                Now, I'll just throw this out.       The white blood cells

9    are also used in this first step because it's the normal DNA

10   that you can then compare to your tumor DNA to identify those

11   variants.

12               If we can go to the next slide.

13               So the claim requires tagging.       In our field that

14   means putting other DNA sequences on the end of our cell-free

15   DNA molecule, and there are at least two ways to do this.              And

16   the first way I'm showing is a method called ligation.

17   Ligation is simply gluing -- physically or chemically gluing

18   together these small little DNA molecules to our circulating

19   cell-free DNA.     And I illustrate it here by using glue, but

20   there are, as you can imagine, other enzymes that are used to

21   do this gluing process.

22               THE COURT:   And what are you gluing it to?

23               DR. METZKER:    The cell-free DNA.     So we are tagging

24   cell-free DNA.     So the middle double-stranded molecule is our

25   cell-free DNA --

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1                THE COURT:   Yes.

2                DR. METZKER:   -- that we just isolated from the

3    plasma.

4                THE COURT:   And what's on the end that you're gluing

5    to it?

6                DR. METZKER:   Those are our tags.      We call those

7    tags.

8                THE COURT:   And what are the tags?

9                DR. METZKER:   They are more DNA molecules, but they

10   have -- they're synthetic.       We designed them in the laboratory,

11   and they are important for the downstream process of either

12   amplifying or sequencing.

13               And if we can go to the next slide.

14               The tagging can also be done through amplification.

15   So we've gone through this a bit.       So if we can advance the

16   slide.    We separate the strands.     We have our little primers

17   that bind specifically to the regions that we want to identify

18   the single-nucleotide polymorphism.       But on your primers we can

19   add additional sequences as well.       We can add tags to the ends

20   of the primer.     And by doing that, when the primer that's now

21   tagged binds to the cell-free DNA and then makes a new copy as

22   a double-stranded -- and if we can go to the end -- we've now

23   tagged the cell-free DNA in the first cycle of PCR, because the

24   primer has a tag that's now attached and now part of the

25   cell-free DNA molecule.

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1               So those are two common ways of tagging DNA

2    molecules.

3         (Pause in the proceedings.)

4               DR. METZKER:    And I see you're taking notes.

5               THE COURT:    Thank you.

6               DR. METZKER:    You're welcome.

7               So if we can go to the next slide.

8               Now, the next step is amplifying the tagged

9    product -- so we just made a tagged product -- and one or more

10   times to generate a final amplification.          And this has two

11   amplification steps wherein one of the amplification steps

12   comprises targeted amplification of the plurality of

13   single-nucleotide polymorphisms.        We went over that.      But it's

14   all done in one tube.     So if I have identified in my cancer

15   patient, let's say, ten different SNPs that we think are

16   related to the tumor, this claim now requires that I am

17   amplifying all ten of those simultaneously in the same tube.

18              So if we can go to the next slide.

19              So I mentioned we'd continue with how the PCR cycle

20   works.   In our first cycle, we've made two molecules from one.

21   They're both tagged.     I would then heat the reaction up, and

22   the DNA molecules separate again into single strands.            I have

23   my primers with their tags on them, and they now bind to the

24   tagged product, and now I'm amplifying the tagged product in

25   this PCR cycle.    So now I've gone from two molecules at the top

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1    of the slide, and I now have four molecules at the bottom of

2    the slide.   And in PCR everything multiplies by two with each

3    cycle.   So the more cycles, the more copies that are made.

4               If we can go to the next slide.

5               And so this is just illustrating -- if we can just

6    continue to go -- the second cycle, I've made four, and the

7    third cycle, I've made eight.       And by 30 cycles, I've made a

8    million or more tagged products in this amplification.

9               Now, this also -- because we're doing a plurality of

10   SNPs, I have to not only do 30 cycles, but I have multiple

11   primers that look at different regions across my genomic DNA.

12   And so what I'm trying to illustrate here are three target

13   locus positions.    These are just three places in our genome.

14   Think of -- we've identified our first SNP on chromosome 1;

15   we've identified our second SNP on chromosome 5, and the third

16   one on chromosome 10.     And in one test tube I want to apply

17   this PRC method to target all three of those simultaneously.

18   We call that multiplex PCR.

19              And what I'm illustrating now is under each locus is

20   a cell-free DNA molecule where I've identified --

21              THE COURT:    A cell what?

22              DR. METZKER:    Cell-free DNA molecule.

23              THE COURT:    I thought you said self-redeeming, and I

24   was very confused.

25              DR. METZKER:    I hope not.

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1               THE COURT:    Okay.   Go ahead.

2               DR. METZKER:    -- three cell-free DNA molecules, and I

3    have boxes where I have found a SNP that is associated with the

4    patient's tumor.    And now I am going to amplify those three

5    different cell-free DNA molecules because I am interested only

6    in those that I have identified when I did my first test of

7    identifying the SNPs.     And because of that amplification, now

8    you end up with a tube full of lots of copies of those three

9    different loci all having SNPs that we're interested in.

10              Now, I'm showing you an example of three, but you can

11   actually multiplex to 10, 20, or even 100 different SNP loci in

12   a single reaction.

13              If we can go next to the next slide.

14              And then there's another step in this amplifying step

15   that introduces a barcode in one or more sequencing tags.

16              If we can go to the next slide.

17              And we can do that, again, through the PCR step by

18   adding on different sequences to our primers.         Our primers are

19   our guide to the genome where if we're interested in Locus 1,

20   our primers take us right there.       They have specific sequences

21   because of the base-pairing rules.

22              But on the ends of those primers, we can add

23   additional sequences in -- on the left-hand side on the top --

24   on my primer that has a blue arrow on the left-hand side, I'm

25   adding a sequencing tag.     And I'll explain what that means in

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1    just a minute.     But I'm just illustrating how that's done.

2               And then on the right-hand side under my -- or at my

3    primer that has the red arrow, on the right-hand side of that,

4    I can introduce what is called a barcode.        And a barcode, if we

5    go to the next slide, is essentially the same thing you use

6    when you go to the grocery store and you're checking out, and

7    they scan and they know that your can of chicken soup is $1.25.

8    But the way we use bars in molecular biology is it's, again,

9    based on DNA sequence.     So we can code -- we can give that

10   particular sequence an identifier.       We can say, okay, Code 1 is

11   going to be AACG, and Code 2 will be TTCA, and Code 3 will be

12   AGAG.   So we know the sequence; and when we can read the

13   sequence, we know what the barcode is.        And that's important

14   because then we can identify which patient the sequencing data

15   is coming from.

16              The other thing that I mentioned are sequence tags.

17   So we're going to go through what massively parallel sequencing

18   is, sometimes referred to as next generation sequencing.             There

19   are several companies that make sequencers that we all use in

20   life sciences.     The one I am going to give an example of is

21   called Illumina, and Illumina is one of the leading

22   manufacturers of massively parallel sequencing.          They have a

23   very specific protocol that you have to follow if you are to

24   run their instrument.     You have to put on what they call

25   sequencing tags.     These are tags that are very specific to

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1    their platform; and if you add the sequence tags, you can run

2    your sample on their platform and get useful data.           If you do

3    not put sequencing tags on the ends of these DNA fragments,

4    their platform doesn't work.        It is an absolute requirement for

5    massively parallel sequencing to have these sequence tags that

6    are specific to the sequencing platform that you're using.

7               So that's what a sequence -- that's why we have a

8    sequence tag.

9               THE COURT:    Okay.

10              DR. METZKER:    Go to the next slide.

11              So the last step is now sequencing, and I'll talk

12   about what that is.     A plurality of SNP loci, those are our

13   single-nucleotide polymorphisms, and the loci is just the

14   position on the genome that we've identified that's associated

15   with this patient's tumor cells.

16              Conducting massively parallel sequencing on the final

17   amplification product where the SNPs comprise anywhere from 25

18   to 2000 loci -- okay.     So I gave an example of three different

19   loci in demonstrating multiplex.        To read on this claim, you

20   would have to do at least 25 and you can do up to 2,000 in a

21   single reaction tube, all having primers that target specific

22   regions and are doing the copying, the amplification step,

23   simultaneously.

24              If we go to the next slide.

25              So this is a real live picture of one of the Illumina

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1    sequencers that is used in our field, and it shows here the

2    amplification product on the left and then there is an arrow

3    that says "Insert into machine."       Well, the only way you can

4    actually do that is you have to put on these sequencing tags on

5    the ends of these amplification products, and there are some

6    other steps that are involved before they go onto the

7    sequencer.

8                Now, the sequencer is a machine that, what we call,

9    reads DNA.    It actually takes the single-stranded amplified

10   product which has all the sequence tags and the barcodes, and

11   it uses, again, a polymerase, because the polymerase can read

12   one strand.    It can read I have an A here; I have a T here; I

13   have a C here.     And it's starting to incorporate, or add,

14   nucleotides to make double-stranded DNA.         So the sequencer not

15   only replicates DNA to make double-stranded DNA, in the process

16   of doing that, it can individually read which base is there,

17   and it determines what the order of the letters are in the DNA

18   sample.   And we call that a sequence read or reading the

19   sequence.

20               And that machine there then spits out information

21   into a computer file that's represented on the right-hand side,

22   and now it's showing you what the sequence is for each

23   cell-free DNA molecule that we amplified, we tagged, and we

24   added sequence tags and barcodes.

25               Now, these are called massively parallel sequencing,

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1    because these sequencers can generate up to a billion or more

2    sequence reads in one run from a sample that came from that

3    test tube.    So we're looking at billions of sequence reads that

4    have all read the cell-free DNA that was in our original

5    sample.

6                All right.   We are just going to briefly talk about

7    some of the terms in '454 just from a technology point of view.

8                So the claim is preparing -- a method of preparing a

9    plasma sample from a subject having cancer or suspected of

10   having cancer for detecting one or more single-nucleotide

11   variants.    So a single-nucleotide variant and a single

12   nucleotide polymorphism are pretty much the same thing.               There

13   are differences between the normal DNA and the cancer DNA at

14   one position, at one letter.        That's why we call them single

15   nucleotide.    Variant is it's just different.        Polymorphism has

16   a little bit of a genetic understanding.          But for purposes

17   here, they are pretty much the same.        And this is isolated from

18   a plasma sample.

19               So if we can go to the next slide.

20               The first step of this -- that was the preamble -- is

21   performing whole exome sequencing or whole genome sequencing of

22   a tumor sample of a subject, and the purpose is to identify

23   these tumor-specific SNVs.      That's a lot right there.

24               So if we go to the next slide, whole exome -- I will

25   try to simplify this.     So I'll do whole genome first.         A whole

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1    genome just means you're just going to read all the DNA that

2    used to be in your cell or -- yeah, that is in your cell,

3    because we're doing tissue samples here.         So you isolate cells;

4    you extract the DNA from the tumor cell, and then you just

5    sequence the entire genome.

6               And I told you the genome is big.        It's like three

7    billion letters.    That's called whole genome sequencing, and

8    that's a way of trying to identify where these tumor specific

9    mutations exist throughout our whole genome.         This is how the

10   personalized test is built.

11              THE COURT:    Because you have to have something to

12   compare it to?

13              DR. METZKER:    Well, you do, but each patient is

14   different.   These are personalized tests.        We don't know where

15   things are in our genomes for any given cancer patient.              So you

16   do that by sequencing their whole genome, and then you compare

17   their tumor genome to their normal genome.         And through that

18   same exercise I showed before, you look for where their

19   differences are.    And then you can say, okay, on my blood test,

20   my liquid biopsy, I'm going to focus on those changes that I

21   think are associated with my tumor.

22              Now, the second is whole exome sequencing.          Our --

23   I'm sure you've heard we have genes.       And genes make proteins.

24   You know, they make our hair color and our eyes and all of

25   that.   Genes in scientific terms are called exomes.          They are

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1    made of exomes.    And the genome is organized in a way that our

2    genes only constitute like 1 or 2 percent of your whole genome.

3               So whole exome sequencing really only focuses on DNA

4    sequences that are responsible for making the proteins in the

5    body, what we call the coding region that makes a gene into

6    some functional product that works in each cell.          So it's kind

7    of a shorthand way of saying I'm only interested in those

8    mutations that affect the way a protein works in my body.

9    That's whole exome sequencing.       So the claim can do one or the

10   other.

11              On the right-hand side, again, the purpose is to find

12   these single-nucleotide variants that are specific to that

13   patient's cancer.    And that's where we then build a

14   personalized test.

15              So that's what those terms mean.

16              If we can go to the next slide.

17              So the second step of this claim is performing

18   targeted multiplex PCR -- and we've talked about what targeted

19   multiplex PCR is, but I'll go over that briefly again to the

20   point that Your Honor understands at least in concept what is

21   happening in the test tube -- amplifying 10 to 500 target loci

22   from cell-free DNA isolated from a plasma sample from a

23   subject.

24              If we can go to the next slide.

25              So, again, this is just the steps of isolating

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1    cell-free DNA from a plasma sample.       We have gone through that.

2               And the next slide.

3               This is the amplification step we've talked about

4    before whether the strands are separated because we heat it up.

5    Then we have our primers in the mix, and they bind and then we

6    can use our enzyme and we can make two copies of

7    double-stranded DNA from one copy, and the second cycle goes to

8    four, the third cycle goes to eight, and now over 30 cycles, we

9    have more than a million amplified molecules in our reaction.

10              THE COURT:    Right.

11              DR. METZKER:    And, again, we've done this by

12   multiplex.    So not only do we have a top primer and a bottom

13   primer, but we have those same pairs by 10, 20, 50 different

14   SNP loci that we're trying to target in our reaction on those

15   that we've identified from whole genome sequencing or whole

16   exome sequencing.    That's the starting point of how we -- the

17   test to build these primer steps to amplify the cell-free DNA

18   comes from.

19              The next slide.

20              So the goal is to obtain amplicons having a length of

21   50 to 150 bases, and that's all based on where -- and we do

22   this in the laboratory.     We design what those sequences are

23   that make a primer where they bind to the genome.          Where the

24   top primer and the bottom primer hybridize, that is the

25   goalpost of how big that amplicon will be.

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1                Now, that's important because you can use that as a

2    way of defining what the length is, and then, as I mentioned

3    before, we can add additional sequences on the ends such as

4    barcodes.   And I know one of the dependent claims is a

5    barcoding step, and that's how that would be introduced in this

6    reaction.

7                If we can go on to the next slide.

8                And now we're going to sequence amplicons.          And it

9    kind of sounds like the last step of the '035, but there is

10   actually an important difference, and I want to highlight that.

11               Sorry.   So if you'll just go back.

12               And where I want to really focus you is where the

13   sequencing has a read depth of at least 50,000 per target loci.

14   So if we go to the next slide, again, this is massively

15   parallel sequencing.      I've tried to explain that it can produce

16   as many as a billion sequence reads from a single sample that's

17   been fed into the machine.        If you look towards the middle of

18   the slide, there's a histogram, and on the x-axis, those

19   numbers are the numbers --

20               THE COURT:    The bar chart?

21               DR. METZKER:    Yes, in the chart.

22               THE COURT:    Okay.

23               DR. METZKER:    So between the machine and the --

24               THE COURT:    Yeah, I see it.    I just didn't know what

25   a histogram was, but I know what a bar chart is.

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1                DR. METZKER:   Bar chart.

2                THE COURT:   Okay.   You can call it a histogram now

3    because now I know what it means.

4                DR. METZKER:   Very good.

5                Okay.   And this is to illustrate the depth of read,

6    and I will try to explain what that means.          But, first, what

7    it's just showing you is that on the x-axis it goes anywhere

8    from 50,000 to, it looks like, 340,000.          The screen is a little

9    blurry, but this is for one SNV loci in our test.           Remember,

10   we're doing 10, 20, 30 different loci in our multiplex targeted

11   amplification step, but now we're reading -- we're reading the

12   DNA.    On that particular SNP, we read that 50,000 times.            So we

13   generate enough reads -- sequence reads.          That's called a read

14   depth.    If you read that SNP 100,000 times, you would say you

15   have a read depth of 100,000 times.

16               Now, this is important because you can't just flip a

17   switch.    I've explained this is massively parallel sequencing.

18   I've explained you can get a billion reads, but you can't just

19   flip a switch and generate a read depth of 50,000 for any

20   particular SNV, and the reason is we're looking for the needle

21   in the haystack.     The ctDNA in the sample is extremely low

22   abundance.   And the machines, which I haven't explained so far,

23   are not perfect.     They make errors.    They make errors in

24   anywhere from a percentage, 1 in 100 to maybe 1 in 500.

25               So when you actually see the sequencing data on your

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1    right-hand side on that computer screen and you see a box and

2    you see a change in the letter, most likely it's an error, not

3    actual information that came from the sample, because the error

4    rate is much higher than the actual ctDNA in the sample.

5                So what enables this is error correction.         There are

6    ways that you can actually identify errors in the sequencing

7    process, remove the errors; and when you can do that, that

8    enables you to now sequence deeply into the sample to find that

9    needle in the haystack.     And so that's why that claim term is

10   important because this is the way you can approach finding the

11   ctDNA that is in very minute proportions.

12               Now, I have two slides on Signatera™ and RaDaR®.           So

13   in the next slide is Signatera™.       And we've kind of walked

14   through these steps.     There is the tumor sample that's

15   obtained.   You can do whole exome sequencing.        You can then

16   identify by comparing normal DNA with tumor DNA, the SNPs that

17   are associated with the cancer.       You build a personalized test

18   now that involves targeted multiplex PCR, only focusing on

19   those SNPs that are tumor specific, draw blood, isolate

20   cell-free DNA, and then you can monitor the outcome of the

21   patient.    This is the Signatera™ process.

22               On the last slide that I have is the RaDaR® process.

23   It also collects normal and tumor tissue.        It does whole exome

24   sequencing on the normal and tumor tissue.        It identifies SNVs

25   by comparing normal and tumor DNA.       It develops a personalized

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1    test that focuses on those single-nucleotide variants, takes a

2    blood draw, isolates cell-free DNA, does targeted multiplex

3    PCR, and then monitors for the presence or absence of ct,

4    circulating tumor, DNA.

5                And I think that's the end of my presentation.             I'm

6    happy to take other questions if Your Honor has any.

7                THE COURT:    Thank you.     We'll see what the Defendants

8    want to tell me and go from there.

9                You want to take a break before you start, or are you

10   ready to go?

11               MS. RYAN:    Well, I do need to grab the clicker that I

12   just dropped.      I believe we'll need to switch over the

13   monitors.   So if Your Honor wants to take a break -- I know we

14   went for more than 30 minutes -- we can.

15               THE COURT:    We'll go ahead.     I don't want to forget

16   what I just learned.

17               MS. RYAN:    Thank you, Your Honor.

18               As I mentioned at the beginning of the hearing, I'm

19   Liz Ryan, and I am not a doctor.         So although I am going to be

20   covering some of the same concepts, I'm going to cover them in

21   the way that I learned them, which I hope will be beneficial to

22   the Court and help the Court understand the technology at issue

23   in this case.

24               The first image that Your Honor can see shows a

25   stomach tumor.      The enlarged image are cells from that tumor

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1    and the blood flow, and you can see that the cells from the

2    tumor are moving into the blood, meaning that genetic material

3    from the tumor is present in the patient's bloodstream.

4               But as Your Honor heard a moment ago, there is also

5    normal genetic material present in the patient's bloodstream,

6    and cell-free DNA comes from the cells that have essentially

7    busted open in the bloodstream and allow that DNA that once was

8    inside the tumor cell to flow out into the bloodstream.              And

9    for quite a long time, scientists have thought that you could

10   use that cell-free DNA, those cancer cells that are floating in

11   the patient's bloodstream, to detect and diagnose cancer.

12              And I know in Your Honor's order you had asked for

13   some prior art references.      This is one.     In fact, the idea of

14   using DNA to monitor or diagnose cancer goes back a very long

15   time.   This is just one example, and it's from the 1990s.             This

16   is a 1999 patent that references using the cell-free DNA to

17   detect cancer.

18              This is a New England Journal of Medicine article.

19   It's a little bit later.     It's from 2013, but it references

20   back to that 1999 prior art patent.

21              So let's talk about the process of how we actually

22   use this cell-free DNA to detect and monitor cancer.           The next

23   few slides are going to use some animation to explain that

24   process.

25              First, we need to determine what genetic mutations

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1    are causing the cancer.     Essentially, we need to get a profile

2    of the tumor's DNA.     Think of it as like obtaining a

3    fingerprint but for the cancer.       To do so, we're going to

4    collect a sample of the actual tumor from the patient.           We're

5    going to put the sample in a tube.       We're going to do this all

6    very slowly because I have to click through it.          We're going to

7    put the sample in the tube, and then we're going to put that

8    sample into the sequencer, which you heard some about, the

9    actual machine that runs the test.       That sequencer is going to

10   give us a readout of the mutations that are showing up in the

11   genetic material.    And those are marked here for Your Honor's

12   reference with the skull and crossbones just to hopefully

13   designate that those are the cancer mutations.

14              So how is it possible to know that those mutations

15   are associated with or caused by cancer as opposed to, as Your

16   Honor pointed out earlier, something else, some other mutation

17   in this patient's genome?      Well, as Your Honor knows, DNA is a

18   code of four letters, A, C, G, and T.       And knowing that, we can

19   look for mutations in principally one of three ways:

20              One, we could look at normal DNA and compare the

21   differences between normal DNA and the DNA from the sample;

22              Two, we can look at a database of known cancer

23   mutations; or

24              Three, we can look at a database of normal DNA

25   reference sequences and compare those to what we're seeing on

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1    the output from our sequencer.

2               Obtaining this sequenced data --

3               THE COURT:     How is that different from the first

4    thing you said?

5               MS. RYAN:     Well, the first thing is to look at the --

6    oh, look at the patient's normal DNA as opposed to looking at a

7    database of other normal DNA.

8               THE COURT:     All right.

9               MS. RYAN:     Obtaining those sequenced data from the

10   tumor is key.      Once you have that data, there's many different

11   ways to identify the mutations from cancer.

12              And it's also important to note, Your Honor, that

13   while I've shown eight here for ease of reference and to not

14   overcomplicate the slide, keep in mind, as Your Honor has

15   probably seen in the written materials that you've read, that

16   Natera uses six.      So Natera would have 16 of these lines

17   showing, and NeoGenomics would show 48.

18              We're going to keep going.        And building on this

19   sequencing concept, as I've just described it, one can take the

20   tumor and sequence the DNA from that tumor to find mutations

21   that are present in the tumor.        That's what we see in the top

22   in the yellow again.

23              Below, I'm showing you three of a person's

24   chromosomes.    Each chromosome has a different cancer mutation

25   present throughout the chromosome.         Again, they're tiny, but

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1    we've got our little red skull and crossbones again.

2               Each -- because each chromosome has different cancer

3    mutations, there are different ways that we can do the

4    sequencing to try to find them.       In one example, as was just

5    mentioned, you could sequence the whole of someone's genome, in

6    other words, all their chromosomes.       Alternatively, you can

7    sequence just some regions of their genome.

8               One very popular example is when you sequence just

9    the genes, which are sometimes called this exome sequencing, so

10   just a small portion that you're looking for.         An exome is

11   about 1 percent of your genome.       People often focus on this

12   as -- that 1 percent because much, if not all, of the important

13   information you need is present there.

14              And why would someone want to focus on only exome

15   sequencing?   Because, as you might imagine, it's much more

16   expensive to sequence the entire genome than it is to sequence

17   just 1 percent.

18              Going back now to our patient, now that you've

19   identified the cancer-specific sequences, that 1 through 8 that

20   we saw in our yellow with our skull and crossbones, essentially

21   our cancer fingerprint, if you will, from the sequencing, we

22   can use to cell-free DNA analysis to see if the cancer patient

23   is coming back, the whole point of doing all of this.           To do

24   so, we're going to take a sample of the patient's blood.

25              Remember, from our first slide --

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1               THE COURT:    This is after the tumor has been

2    removed --

3               MS. RYAN:    Yes, Your Honor.

4               THE COURT:    -- and the radiation and the chemo, or

5    whatever the heck they --

6               MS. RYAN:    Exactly.     Exactly.     Assume for purposes of

7    this presentation our patient went and had her tumor -- her

8    solid tumor removed.     Maybe she needed chemo; maybe she didn't.

9    It depends on the course of treatment, and she is now going to

10   monitor to find out if her cancer is coming back following her

11   treatment.

12              So we've taken a sample of her blood.           Remember, the

13   first slide, as we've shown, we've now got the patient's tumor

14   DNA in her blood.    So we're going to take her blood.           We're

15   going to amplify it.     We're going to look for cell-free DNA.

16        (Reporter requested clarification.)

17              MS. RYAN:    I'm sorry.    I'm mindful of my 30 minutes.

18              THE COURT:    They took longer than 30 minutes.             I

19   never believe you all when you say 30 minutes.

20              MS. RYAN:    We are terrible at estimating our own

21   time.

22              So, remember, from the first slide, the patient now

23   has the DNA in her blood from the tumor.           So we're going to

24   take her blood.    We're going to amplify the cell-free DNA.

25              THE COURT:    So you hope she doesn't have it in her

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1    blood?

2               MS. RYAN:    Well, that's what we're hoping, right.             So

3    in this first sample, because we've amplified her DNA -- let me

4    run through the rest of it -- we're going to do this process

5    and put it in the sequencer.        And just as Your Honor predicted,

6    she's cancer free.     There's no mutation showing up after we did

7    the sample and sequenced.

8               Now, as you can see from the image, unfortunately,

9    her tumor has come back.     It's pretty small right now.

10              In this slide, we're going to show the same process:

11   Blood taken, amplification, sequenced.        And now because that

12   tumor is back and there is DNA floating in her blood, we can

13   see that mutation show up.      We're only seeing one because the

14   tumor is not very big, and there's not a lot of that tumor

15   cell-free DNA floating through her blood.

16              Let's say she doesn't get any treatment and the tumor

17   continues to grow.     We repeat the same process:        Blood drawn,

18   amplification, sequencing.      And now we're going to see more

19   cancer appear in the results.

20              So what is this amplification process, that middle

21   portion that I was showing in the test tube?          This is an

22   example of a fragmented DNA floating in the bloodstream.              It

23   was shown to you earlier as the double helix.          I've shown it

24   here as a ladder because I think for our purposes the ladder is

25   just -- at least for me, it's a little simpler to understand it

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1    this way.

2                This DNA fragment could be from a tumor, or it could

3    be from a person's normal DNA.       And we've got our same four

4    letters.    And as you heard earlier, when you're thinking about

5    DNA, it is helpful to remember -- I learned it as the rule of

6    complementary.     So I learned it a little bit different.           But

7    it's this notion that C always pairs with G, and A always pairs

8    with T.    They are always going to find their friends on the

9    playground.   That's what these slides show.        And we can see

10   them going back into the DNA fragment.

11               Now, we need to take that single fragment of DNA and

12   copy it.    Copying the DNA is what allows us to produce the

13   sequence.   So how are we going to do that?       One cycle, the

14   amplification, refers to the doubling of DNA sequences.              It

15   starts by separating two strands of DNA, and you do that by

16   heating them up.     Then we add primers which are shorter strands

17   of DNA that are complementary to the DNA in the fragment that

18   we have.    The primers bind to the single-stranded DNA where

19   they match, because they are always going to find their friends

20   on the playground.     The primers are specific.      They are

21   designed to be specific to the DNA fragment that we have taken.

22   It's called targeted or sometimes selective amplification.                And

23   this shows that process.

24               Now we're going to add polymerase.       That's a protein

25   that will bind a single-stranded DNA and make it double

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1    stranded by extending it with --

2               THE COURT:     With what?

3               MS. RYAN:     Nucleotides.     The polymerase will only

4    come in at the proper place in the DNA strand.            It attaches to

5    the primer, and then it adds nucleotides to the strand

6    sequentially.      Once the polymerase reaches the end of the

7    fragment, we have two copies of the original DNA fragment, and

8    the cycle is complete.      The process that this creates is called

9    an amplicon.    That's the product of the amplification.

10              Through this amplification, we're going to keep

11   repeating the same cycle, and we can be precise.             We can pick

12   where in the genome we want amplification because the

13   polymerase again will only sit down where the primers match.

14   And, remember, the primers are designed to match at particular

15   locations.   We're trying to be precise.           Think of it almost

16   like creating bookends.      If you book-end into the primer

17   fragment, it will only grow on one side.            So we have one side,

18   and then we are going to do the reverse.            And by having these

19   two bookends, by the second or third replification [sic], we'll

20   end up replicating only the DNA between the bookends, only what

21   we care about.      This is the process of selecting where in the

22   genome we want to copy by having multiple unique primers and

23   then replicating that time after time.

24              After two cycles, we have four copies.            It grows

25   exponentially.      After each cycle, the number of copies is

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1    doubled.    Each amplification step comprises multiple cycles --

2    let me go back one slide -- comprises multiple cycles using the

3    same primers.      So it's going to generate sufficient DNA for

4    sequencing, for plugging in our machine.            We're going to keep

5    doing that, and we can do it exponentially.

6                So what is sequencing?        Now that we have all of the

7    DNA copies, we're amplified.          To create a quantity sufficient

8    for sequencing, we use our DNA sequencer, and we can read out

9    the results to identify the DNA sequence that is present in the

10   sample.

11               So let's now talk about what PCR is, the polymerase

12   chain reaction.

13               Suppose that you want to amplify five different

14   locus, or locations, in the genome.          That's five little spots.

15   It requires five different reactions, and you can put primers

16   in five different tubes.      All the different primers will have

17   different pieces of DNA.      And what I have shown here is what's

18   sometimes called a fiveplex.

19               THE COURT:    A what?

20               MS. RYAN:    A fiveplex.      You might see that in some of

21   the materials.      But let's say I wanted to do six, and I have

22   six tubes.    It's a sixplex.     That's just where that number

23   comes from.

24               All these different primers are different pieces of

25   DNA.    We're going to drop them in our tubes.          And then now

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1    we've got our results ready for sequencing.          We can put all

2    those tubes in our sequencing machine.

3               Targeted multiplex PCR is a different process.             In

4    some settings, there are multiple targets that are of interest.

5    What I am showing you here is five separate pairs of primers

6    that I want to target in five separate regions, so five

7    separate targets.     One approach would be to amplify these

8    regions in separate reactions.       That means that you don't read

9    DNA from other targets.     And you may want to read DNA from

10   other targets.     In multiplex PCR, you're going to target all of

11   these regions in a single reaction, one tube instead of five.

12   We're going to do five things at one time.

13              Creating the primers is not simple, Your Honor.             You

14   have to be unique to where you want to be in the genome.              Here,

15   I'm showing five separate pairs of primers.          Each pair targets

16   a different DNA sequence that's present in the reaction.              These

17   sequences could be cancer specific, like the 1 to 8 on our

18   yellow card with our skull and crossbones that I showed

19   earlier.

20              In the RaDaR® process that NeoGenomics actually uses,

21   it designs primers for up to 48 regions.          Remember, I said that

22   you get a printout with 48, assuming that you really get a

23   printout with --

24              THE COURT:    I'm sorry.     Assuming what?

25              MS. RYAN:    Assuming it's really a printout and not

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1    the computer screen.

2                In multiplex PCR, you can amplify all of these

3    regions in parallel.      This is an example of RaDaR® that allows

4    you to read these copies of the cell-free DNA from these

5    separate regions in one sample to determine if cancer is

6    present in this patient.      So, again, we're showing them all

7    together.

8                As you can see, each of these five specific DNA

9    sequences are amplified and can now be sequenced.           Because

10   we're looking for cancer mutations that are present in tiny

11   quantities, we want to increase the number of copies.

12   Essentially, more copies and searching equals more accurate

13   results.

14               Again, this notion to include many targets in the

15   same tube has been known for quite a while.          This is an example

16   referencing it from 2010.      It's just one example.       And in 2010,

17   people knew that over 9,000 targets in a single tube could be

18   used for sequencing.      It's just one example showing that.

19               Let's talk now about tagging tails and what we call

20   universal PCR, because multiplex PCR is not problem free.

21   There are reactions that could clash if you include too many in

22   a single tube at the same time, thus, the concept of universal

23   PCR.

24               For universal PCR, let's start with what tails or

25   adaptors are.      These are needed for universal PCR to attach

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1    other things, such as barcodes, which I will get to in a

2    minute.   I know that was referenced earlier.        A common way to

3    add tails or adaptors is to ligate or attach them directly to

4    the targeted DNA such as the cell-free DNA.

5               For universal PCR, let's start with what tails or

6    adaptors are.

7               There we go.

8               We're seeing them all in our test tube.         I don't know

9    if Your Honor can see that well on your slide, but you can see

10   that we've added them to the end.

11              THE COURT:    Yes, I can see.

12              MS. RYAN:    And now we've got the primers.        So once

13   the adaptors are present on your region of interest, you can

14   use PCR primers designed to target those specific adaptors.

15   They will amplify all the DNA with these adaptors on them, and

16   they can add extra sequences, as I'm going to show Your Honor

17   in a minute.

18              Universal adaptors are added to different DNA

19   fragments, and the amplification primers are specific to the

20   universal adaptor.     So all fragments within the universal

21   adaptors are amplified.     The amplification step is not specific

22   to any single fragment but to the universal adaptor.

23              And that's what we're showing now.        You can see the

24   primers that are attached to our adaptors, so the tails and

25   tags.

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1                As an alternative to ligating adaptors, we can use

2    PCR to make copies of cell-free DNA that contain universal

3    sequences.   First, primers that have these adaptors on their

4    end bind to the cell-free DNA to make a copy of the cell-free

5    DNA, effectively amplifying it.        That's what we see here.

6                We use primers with tails that don't match the DNA

7    fragment.    You can see how we've got the TTT and the GGG that

8    don't match the DNA fragment to which they are attached.              The

9    polymerase comes in and makes a copy such that new strands have

10   a tail.   As you can see, you have a copy of the cell-free DNA

11   with the adaptor on the end.        We're going to keep repeating

12   that process.

13               In the next PCR cycle, a copy of the cell-free DNA

14   binds to a second primer and makes a copy of a copy.            This

15   creates new molecules with a tail on them, which we can use to

16   introduce a new DNA sequence.        In every PCR cycle, you generate

17   tagged products that are the same, meaning that the tagged

18   products from the tenth cycle are no different than the tagged

19   products from the fifth cycle.        And that's what this shows.

20   We're going to keep doing it.

21               This concept of tagging is also something that's been

22   known for a while.    Here is an example of prior art that

23   references it from 2010.     It's just one example of that.

24               Your Honor's heard some about barcoding, so I wanted

25   to go through that briefly as well.        DNA barcodes can be used

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1    to identify which sample a DNA sequence comes from.            In RaDaR®,

2    which is our product, after we've copied the cell-free DNA with

3    primers that include universal sequences, NeoGenomics then does

4    that universal PCR process that we just walked through adding

5    barcodes.

6                So in this example, say that we have three different

7    patients, and we want to sequence DNA from three different

8    patients all at the same time.        And you're probably asking why

9    would we want to sequence DNA from three different patients all

10   at the same time?    And it goes back to what I mentioned

11   earlier, that it is more cost-effective to do so.

12               Ordinarily, putting multiple patients together in a

13   single tube would, as you might expect, be problematic because

14   how would you know which DNA came from which patient.            The

15   sequencer would simply mix it all together.          But when we do an

16   amplification with a tail, we end up with a different tail for

17   each product -- we end up with a different tail for each

18   patient -- not product, patient -- meaning a different ACGT

19   combination for each patient.        That's what you're looking at in

20   this next slide.    And now we're going to put them in our tubes.

21   It's like putting -- hence, the name -- a barcode on the DNA

22   that you link to a specific patient.

23               Now that we have the barcodes for each patient, we

24   can mix all three patient samples together.          We can put them on

25   our sequencer, and we can tell which DNA came from which

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1    patient.

2                THE COURT:    You can tell what?

3                MS. RYAN:    Which DNA came from which patient.

4                Barcoding concept, also not new.         It's been known

5    since at least 2010.      This is one example of that.

6                Also, for the sake of confusion, I've highlighted 454

7    Barcode Primers.    That's not a patent number, Your Honor.            That

8    is the name of a sequencer, the machine.           The platform that

9    used to exist, it no longer does.         But it's the same thing as

10   the machines that we use now.

11               Finally, Your Honor, I'd like to cover a concept

12   called sequencing depth.      Let's assume we have DNA from someone

13   with cancer.    As we said, there are known cancer mutations on

14   different regions of the chromosome.         Now, if you don't

15   sequence very much of the DNA, you could miss detecting the

16   tumor in the patient, but because --

17               THE COURT:    I'm sorry.     Hold on just one second.

18        (Pause in the proceedings.)

19               THE COURT:    Can you back up?     I'm sorry.

20               MS. RYAN:    Yes, Your Honor.

21               So sequencing depth is the last concept I would like

22   to cover.

23               So, again, Your Honor, we're going to assume that we

24   have DNA from someone with cancer.         There are known cancer

25   mutations on different regions of human chromosomes.             If you

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1    don't sequence very much of the patient's DNA, you could miss

2    detecting the tumor from the patient.        But because most of the

3    DNA on a chromosome comes from normal human genomes, not

4    cancer -- you can see I've got little bitty cancers.            Because

5    most of the DNA comes from the normal human genome and not

6    those cancer mutations, what we want is to sequence over and

7    over to find as many copies of the DNA from various known

8    cancer mutation regions on the chromosome.

9               Sequencing depth, this last concept, refers to the

10   number of times you sequence a region on the chromosome.              A

11   higher sequencing depth means a higher sensitivity, a better

12   read on the sequence, which is helpful in detecting mutations

13   in the cell-free DNA.     And that's what this image is showing.

14   We're putting all this into our sequencer over and over because

15   we're looking for those mutations on the chromosome, and we

16   found one.

17              As with the other concepts we have discussed today,

18   Your Honor, sequencing depth has been known for a long time.

19   This is just one example that references it from 2010.            And

20   this is another example from 2012.

21              That completes my presentation, Your Honor.

22              THE COURT:    All right.     Thank you.

23              Why don't we take a short break.        We'll come back.

24   If you all want to take five minutes for anything else you want

25   to add in light of that and then I will give you a few more

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